     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 1 of 408 PageID #:5923




                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE NORTHERN DISTRICT OF ILLINOIS
                                 (EASTERN DIVISION)

Lisa Calvente                                           )
                Plaintiff,                              )
v.                                                      )
                                                        )      No. 20–cv–3366
Salma Ghanem, and                                       )
DePaul University                                       )
             Defendants.                                )
_________________________________________)

              Lisa Calvente’s Statement of Material Facts Pursuant to Local Rule 56.1
              of the United States District Court for the Northern District of Illinois

         Lisa Calvente (“Dr. Calvente”) submits the following statement of material facts as to

which she states that (i) there is no genuine issue, and (ii) entitle her to a judgment as a matter of

law:

                                                Facts

About Dr. Calvente and Dr. Ghanem.

         1.     Dr. Calvente is an American of African, Latinx, and Asian descent. (Calvente Dec.

¶1, copy attached as Exhibit A.)

         2.     Dr. Calvente’s areas of research are the black diaspora, performance studies, and

cultural studies with a particular interest in how performance and media ethnography can be used

to interrogate discursive formations of racism, classism, and hetero/sexism in order to generate

possibilities of belonging and social justice. (Answer at ¶8, copy attached as Exhibit B.)

         3.     Dr. Calvente is a former tenure–track professor at DePaul University (“DePaul” or

the “University”) in the College of Communication (the “College”). (Calvente Dec. ¶¶4,6; Answer

at 1.)
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 2 of 408 PageID #:5924




       4.        Dr. Calvente’s employment at DePaul ended at the end of the 2019/2020 academ-

ic year, following the denial of her application for tenure during the 2018/2019 academic year and

the conclusion of her terminal contract. (Calvente Dec. ¶4.)

       5.        Between August 1, 2020 and June 30, 2021, Dr. Calvente was unemployed. (Cal-

vente Dec ¶5.)

       6.        Dr. Calvente is currently a tenure–track assistant professor at the University of

North Carolina at Chapel Hill (“UNC”). (Calvente Dec ¶2.)

       7.        Members of the academy see UNC as more prestigious than DePaul University

(“DePaul” or the “University”), and UNC is a Research 1 University as opposed to DePaul, which

is a Research 2 University. (Zaeske Dep. 66:10–14, 70:4–71:11, 93:14–95:4, 186:6–13, 207:10–12,

copy attached as Exhibit G; Calvente Dep. 307:4–310:11, copy attached as Exhibit C.)

       8.        In order to get hired into a tenure track position at a Research 1 University like the

UNC, you must show that your chances of earning tenure are very high. (Zaeske Dep. 82:17–83:3,

83:14–84:1, 186:14–190:8, 192:1–193:14.)

       9.        That Dr. Calvente could earn a tenure–track position at UNC after being denied

tenure at DePaul makes DePaul’s decision to deny tenure to Dr. Calvente highly questionable.

(Zaekse Dep. 71:2–22.)

       10.       Salma Ghanem (“Dr Ghanem”) was the Dean of the College from August 2014

thgouth October 2018, when she was appointed acting provost. (Ghanem Dep. at 16:16–18, 29:9–

10, copy attached as Exhibit D.)




                                                   2
    Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 3 of 408 PageID #:5925




The tenure and promotion process at DePaul.

          11.    Tenure track faculty cannot be terminated at will; rather, they can only be termi-

nated in accordance with the DePaul Faculty Handbook (the “Handbook”). (Ghanem Dep. 11:24–

12:21.)

          12.    In the case of tenure–track but untenured faculty they may be involuntarily termi-

nated for failing to (i) demonstrate that they are making adequate progress towards tenure follow-

ing a pre–tenure review, or (ii) earn tenure. (First Rinehart Dec. ¶¶3, 6, copy attached as Exhibit E,

and Exhibit 1 to the First Rinehart Declaration at §§3.2, §3.3.1.1 (Bates labeled Calvente–DePaul

000028, 30).)1

          13.    A candidate may be evaluated as not making adequate progress towards tenure dur-

ing a formal or informal pre–tenure review, with informal reviews occurring yearly and formal re-

views occurring every two years. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart

Declaration at §§3.3.1.1, 3.3.1.2 (Bates labeled Calvente–DePaul 000030–31).)

          14.    At DePaul, the process for obtaining tenure differs slightly depending on the struc-

ture of a candidate’s local academic unit. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First

Rinehart Declaration at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2, 3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3, 3.5.5.4,

3.5.5.5, 3.5.5.6, 3.5.6.1, 3.5.6.3 (Bates labeled Calvente–DePaul 000036–36, 39–43).)

          15.    In the College, which does not have separate departments, the first step in the ten-

ure process is an evaluation of the candidate’s file by the personnel committee (to which the can-

didate may respond) and then the tenured faculty. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the

First Rinehart Declaration at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2, 3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3,


1
          Dr. Calvente does not attach all of the exhibits to Dr. Rinehart’s declaration to this statement of
facts as they are not necessary to the disposition of the defendants’ motion for summary judgment.


                                                       3
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 4 of 408 PageID #:5926




3.5.5.4, 3.5.5.5, 3.5.5.6, 3.5.6.1, 3.5.6.3 (Bates labeled Calvente–DePaul 000036–36, 39–43).) Af-

ter the tenured faculty vote, the dean makes a separate recommendation as to whether the candi-

date should receive tenure. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart Decla-

ration at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2, 3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3, 3.5.5.4, 3.5.5.5,

3.5.5.6, 3.5.6.1, 3.5.6.3 (Bates labeled Calvente–DePaul 000036–36, 39–43).) After the faculty

votes and the dean makes her recommendation, the candidate’s file—including her complete dossi-

er, the vote of the tenured faculty, the response by the candidate, and the recommendation of the

dean—is sent to the University Board on Promotion and Tenure (the “UBPT”). (First Rinehart

Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart Declaration at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2,

3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3, 3.5.5.4, 3.5.5.5, 3.5.5.6, 3.5.6.1, 3.5.6.3 (Bates labeled Calvente–

DePaul 000036–36, 39–43).)

       16.     In an academic unit that has separate departments (for example, the College of Sci-

ence and Health), the tenured faculty of the department first evaluates the candidate’s file and the

candidate may respond to this evaluation. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First

Rinehart Declaration at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2, 3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3, 3.5.5.4,

3.5.5.5, 3.5.5.6, 3.5.6.1, 3.5.6.3 (Bates labeled Calvente–DePaul 000036–36, 39–43).) Following

the department’s evaluation, the department chair makes a recommendation as to whether the

candidate should receive tenure. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart

Declaration at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2, 3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3, 3.5.5.4, 3.5.5.5,

3.5.5.6, 3.5.6.1, 3.5.6.3 (Bates labeled Calvente–DePaul 000036–36, 39–43).) Next, the tenured

faculty of the college (or a separate committee thereof) evaluates the file and the candidate may

respond to this evaluation. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart Declara-




                                                   4
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 5 of 408 PageID #:5927




tion at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2, 3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3, 3.5.5.4, 3.5.5.5, 3.5.5.6,

3.5.6.1, 3.5.6.3 (Bates labeled Calvente–DePaul 000036–36, 39–43).) The dean of the college then

makes a recommendation as to whether the candidate should receive tenure. (First Rinehart Dec.

¶¶3, 6 and Exhibit 1 to the First Rinehart Declaration at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2,

3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3, 3.5.5.4, 3.5.5.5, 3.5.5.6, 3.5.6.1, 3.5.6.3 (Bates labeled Calvente–

DePaul 000036–36, 39–43).) After these processes, the candidate’s file—including his complete

dossier, the votes of the faculty, and the recommendation of both the department chair and of the

dean—go to the UBPT. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart Declaration

at §§3.5.1.1(a), §3.5.3, 3.5.4, 3.5.4.2, 3.5.4.3, 3.5.5, 3.5.5.2, 3.5.5.3, 3.5.5.4, 3.5.5.5, 3.5.5.6,

3.5.6.1, 3.5.6.3 (Bates labeled Calvente–DePaul 000036–36, 39–43).)

About the UBPT.

         17.    Members of the UBPT are appointed by Faculty Council, which is the unit that

represents the voice of faculty at DePaul with respect to shared governance. (Ghanem Dep. 58:18–

60:5.)

         18.    Shared governance is a process where faculty input is taken in terms of different

decisions at the University. (Ghanem Dep. 60:6–10.)

         19.    Principles of shared governance acknowledge that faculty has a significant role, to-

gether with the administration, in the operation of the University, including the appointment,

tenuring, and promotion of faculty. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart

Declaration at §1.2.1(3) (Bates labeled Calvente–DePaul 000003).)

         20.    DePaul’s system of faculty evaluation “relies heavily on the view of faculty. Exercis-

ing professional judgment, experienced faculty evaluate the work of their colleagues for renewal,




                                                    5
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 6 of 408 PageID #:5928




promotion, and tenure.” (First Rinehart Dec. ¶¶3,6 and Exhibit 1 to the First Rinehart Declara-

tion at §3.1 (Bates labeled Calvente–DePaul 000028).)

       21.     While the provost has a faculty appointment, she is not considered to be faculty for

purposes of shared governance. (Ghanem Dep. 60:11–14.)

       22.     Dr. Ghanem has never lost confidence in any of the members of the UBPT.

(Ghanem Dep. 55:23–56:8.)

       23.     The UBPT’s recommendation is entitled to more weight than any recommendation

that comes out of a local academic unit, and Dr. Ghanem has acknowledged this fact. (Ghanem

Dep. 50:9–51:3.)

       24.     The UBPT only evaluates a candidate for tenure once. (First Rinehart Dec. ¶¶3, 6

and Exhibit 1 to the First Rinehart Declaration at §3.5.6.1 (Bates labeled Calvente–DePaul

000042–43).) This is in contrast to pre–tenure reviews at tenure–track faculty member’s local aca-

demic unit, which occur multiple times before a candidate is evaluated for tenure. (First Rinehart

Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart Declaration at §§3.3.1.1, 3.3.1.2 (Bates labeled

Calvente–DePaul 000030–31).)

       25.     DePaul’s policies are very clear that the provost should overturn the UBPT’s rec-

ommendation only in rare instances and for compelling reasons. (First Rinehart Dec. ¶¶3, 6 and

Exhibit 1 to the First Rinehart Declaration at §3.5.6.3 (Bates labeled Calvente–DePaul 000043);

Answer at ¶10; Ghanem Dep. 48:20–50:18.)

       26.     That the provost should overturn the UBPT’s recommendation only in rare in-

stances and for compelling reasons means that the provost may not simply reject the UBPT’s rec-

ommendation because she disagrees with it. (Ghanem Dep. 57:2–58:8 and Exhibit 18 to Ghanem




                                                6
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 7 of 408 PageID #:5929




Dep. at page 2 (Bates labeled LC004069).) Rather, to overturn the recommendation of the UBPT—

which represents voice of the faculty—the Provost should find that the UBPT recommendation was

manifestly one that was groundless. (Id.) In other words, to overturn the UBPT, the provost must

find that (i) doubt existed where the Board found none, or (ii) where the Board expressed its

doubt, the Provost found that the Board’s reasons for doubt were completely unfounded. (Id.)

       27.     Before granting tenure, the university should have no reasonable doubt about the

faculty member’s demonstrated qualifications and continued capacity to contribute to DePaul’s

distinctive goals and academic mission. (Ghanem Dep. 44:4–45:18; First Rinehart Dec. ¶¶3, 6 and

Exhibit 1 to the First Rinehart Declaration at §§3.1, 3.3.1.3, 4.2 (Bates labeled Calvente–DePaul

000028, 31, 55).) Dr. Ghanem testified that she interpreted this language to mean that there

should be no question about the faculty member’s demonstrated qualifications and continued ca-

pacity. (Ghanem Dep. 45:20–46:2.)

Dr. Calvente’s prior complaints of discrimination and her relationship with Dr. Ghanem.

       28.     After Dr. Calvente was hired at the College, tenured faculty member

directed a so–called joke at Dr. Calvente where the punchline was the word “nigger.” (Calvente

Dep. 267:21–268:23.)

       29.     After Dr. Calvente was hired at the College, tenured faculty member

        made a racist comment about communities of color in the south and west side of Chicago.

(Calvente Dep. at 91:9–93:24, 108:10–19.) Notwithstanding the foregoing, Dr.           was identi-

fied as a peer reviewer for Dr. Calvente. (Calvente Dep. at 91:9–93:24, 108:10–19.)

       30.     The College is small based on the size of its faculty. (Murphy Dep. at 40:20–41:1,

copy attached as Exhibit K.) The faculty within the College are also generally collegial with each

other. (Murphy Dep. 82:12–22.)


                                                7
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 8 of 408 PageID #:5930




       31.     In 2015, after the personnel committee in the College recommended that Dr. Cal-

vente’s contract not be renewed, but before the tenured faculty in the College voted on whether to

recommend Dr. Calvente’s contract be renewed, Dr. Calvente wrote a rebuttal to the personnel

committee that stated that



                                                                                          (Exhibit

No. 50 to Calvente Dep. at Bates label Calvente–DePaul 029085.)

       32.     The tenured faculty at the College twice recommended that Dr. Calvente’s contract

not be renewed before Dr. Calvente applied for tenure: the tenured faculty recommended that Dr.

Calvente’s contract not be renewed in 2015 and the tenured faculty recommended that Dr. Cal-

vente’s contract not be renewed in 2017. (Exhibit No. 50 to Calvente Dep. at Bates label Cal-

vente–DePaul 029086; Calvente Dep. 240:11–14.)

       33.     After each occasion that the tenured faculty at the College recommended that Dr.

Calvente’s contract not be renewed, Dr. Ghanem renewed Dr. Calvente’s contract. (Calvente Dep.

255:10–14, Ghanem Dep. 127:21–128:2.)

       34.     After the first occasion where Dr. Ghanem renewed Dr. Calvente’s contract, she

said that Dr. Calvente was an extraordinary teacher, and she said that Dr. Calvente’s receipt of a

Woodrow Wilson fellowship was “a huge deal.” (Calvente Dep. 221:14–222:10, 300:1–301:3.)

       35.     In 2015, after the tenured faculty at the College recommended that Dr. Calvente’s

contract not be renewed, Dr. Calvente called DePaul’s Office of Institutional Diversity and Equity

(“OIDE”) and raised an internal complaint of discrimination. (E.g., Calvente Dep. at 225:7–15,

230:9–12.)




                                                8
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 9 of 408 PageID #:5931




       36.        OIDE is the organization tasked with investigating internal complaints of discrimi-

nation at DePaul. (Ghanem Dep. 72:24–73:4.)

       37.        In investigating Dr. Calvente’s internal complaint of discrimination, OIDE inter-

viewed fifteen individuals, including ten members of the faculty of the College and each member

of the personnel committee who recommended Dr. Calvente’s contract not be renewed in calen-

dar year 2015. (Diaz Declaration at Exhibit 1 (Bates labeled Calvente–DePaul 0006968), copy at-

tached as Exhibit G.)

       38.        After the second occasion where Dr. Ghanem renewed Dr. Calvente’s contract, Dr.

Calvente told Dr. Ghanem that she wanted to present another claim of discrimination with OIDE.

(Calvente Dec. ¶8.) Ghanem told Dr. Calvente not to follow through with a complaint of discrim-

ination to OIDE, that she should wait until after her tenure vote, and that the then–provost knew

about her case. (Calvente Dep. 256:19–258:3, 262:7–20; Calvente Dec. ¶8.) Dr. Ghanem also told

Dr. Calvente that she would be fine for tenure. (Calvente Dep. 300:1–22.)

An October 10, 2018 conversation between Dr. Calvente, Dr. Dillard, and Dr. Ghanem.

       39.                            was a white tenure track professor in the College who was rec-

ommended for non–renewal in calendar year 2017, and whose contract Dr. Ghanem decided not

to renew before Dr.                applied for tenure. (Ghanem Dep. 143:22–144:2, 163:1–3; Cal-

vente Dec. ¶7.)

       40.        On or around October 10, 2018, Dr. Calvente and                      met with Dr.

Ghanem in her office to discuss discrimination within the College. (Calvente Dep. 270:21–271:6;

Ghanem Dep. 152:4–8.)

       41.        During the meeting Dr.                  name came up. (Calvente Dep. 271:22–

272:14.) Dr. Ghanem said that she did not want to discuss Dr.                  situation because she


                                                   9
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 10 of 408 PageID #:5932




felt that complaints about Dr.              were a challenge to her authority as dean; however, Dr.

Ghanem did let slip that she heard a rumor that she terminated Dr.                   so that she could

later fire women of color with impunity. (Id.) In response, Dr. Calvente told Dr. Ghanem that she

wrote the letter on Dr.                 behalf that made this accusation. (Calvente Dep. 271:22–

272:14, 277:5–278:7.) And the record reveals that Dr. Calvente indeed wrote a letter on Dr.

          behalf stating that Dr.              was caught “in the crossfire” so that the College can

show that it terminates white junior faculty so as to avoid a charge that it unfairly targets faculty of

color. (Calvente Dep. 265:5–266:13 and Exhibit 132 (Bates labeled Calvente–DePaul 0007095).)

       42.     After Dr. Calvente told Dr. Ghanem that she wrote the letter on Dr.

behalf, Dr. Ghanem called Ms. Schaffer at OIDE and left a voice mail stating that Dr.              and

Dr. Calvente believed themselves to be victims of discrimination. (Calvente Dep. 272:15–273:4.)

Then Dr. Ghanem ended the meeting. (Calvente Dep. 273:5–273:7.)

       43.     Dr. Ghanem called OIDE because, as a person in a supervisory position at the Col-

lege, had a duty to report any complaints of discrimination brought to her by faculty to OIDE.

(Ghanem Dep. 73:9–74:4.)

       44.     After the October 10, 2018 meeting, Dr. Calvente and Dr. Ghanem never again

had a meaningful conversation. (Calvente Dec. ¶9.)

Dr. Calvente’s application for tenure.

       45.     During the year that Dr. Calvente applied for tenure, the tenured faculty at the

College recommended that she not receive tenure by a vote of 19–2. (Calvente Dep. 145:13–16.)

       46.




                                                  10
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 11 of 408 PageID #:5933




        47.     After reviewing Dr. Calvente’s file, the UBPT recommended that Dr. Calvente re-

ceive tenure by a vote of 4–3. (Answer at ¶28.)

        48.     In recommending Dr. Calvente receive tenure, the UBPT found that “Dr. Cal-

vente’s teaching, as evidenced by consistently high student evaluations, a strong student report,

and positive peer evaluations, met the standard of consistent effectiveness established in the Facul-

ty Handbook.” (Answer at ¶28 and Exhibit 5 to Complaint at pages 1–2.)

        49.     In recommending that Dr. Calvente receive tenure, the UBPT also examined Dr.

Calvente’s research and scholarly contributions and found that her “total body of work consists of,

at minimum, 3 peer–reviewed articles and 3 peer–reviewed book chapters during the probationary

period, in additional to 6 papers in international conferences and 10 presentations in national

conferences,” and that the “significance and quality of her work were praised by [her] external re-

viewers and echoed by the faculty in the unit report.” (Answer at ¶28 and Exhibit 5 to Complaint

at pages 2–3.) Thus, the UBPT found “scholarship to have met the minimum standard of notable

in the Faculty Handbook.” (Answer at ¶28 and Exhibit 5 to Complaint at page 3.)

        50.     In recommending that Dr. Calvente receive tenure, the UBPT found Dr. Cal-

vente’s overall service contributions to be “sufficiently strong to meet the criteria for service in the

Faculty Handbook.” (Answer at ¶28 and Exhibit 5 to Complaint at page 3.)

        51.     Notwithstanding the UBPT’s recommendation that Dr. Calvente receive tenure,

Dr. Ghanem rejected the recommendation. (Answer at ¶29 and Exhibit 6 to Complaint.) In so

doing, Dr. Ghanem wrote that Dr. Calvente received a careful review at all levels and that experi-




                                                  11
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 12 of 408 PageID #:5934




enced faculty had evaluated her work. (Id.) She also wrote that she did not consider the UBPT’s 4–

3 vote to outweigh the alleged significant concerns raised at the College level, which voted 2–19

against Dr. Calvente. (Id.)

        52.     Dr. Ghanem is aware of Dr. Calvente complaining about discrimination. (72:2–

76:24; Calvente Dep. 271:22–272:14, 277:5–278:7.)

                    application for tenure.

        53.                         is a white professor at DePaul with no record of complaining

about discrimination and who was evaluated for tenure during the 2019/2020 academic year.

(Ghanem Dep. 67:18–21; Diaz Dec. ¶7.)

        54.     Before granting tenure to Dr.            the University was required to have reasona-

ble doubt about Dr.            demonstrated qualifications and continued capacity to contribute to

DePaul’s distinctive goals and academic mission. (Ghanem Dep. 44:4–45:18; First Rinehart Dec.

¶¶3, 6 and Exhibit 1 to the First Rinehart Declaration at §§3.1, 3.3.1.3, 4.2 (Bates labeled Cal-

vente–DePaul 000028, 31, 55).)

        55.     In evaluating Dr.             application and rejecting it by a vote of 6–1, the UBPT

identified significant concerns with Dr.            teaching, including that (i) Dr.            teaching

evaluations are frequently below three on a five–point scale, (ii) there was a pattern in Dr.

evaluations that showed an inability to communicate with the majority of his students, (iii) forty to

fifty percent of Dr.          students rated Dr.            ability to communicate subject matter as

inadequate, and (iv) the regular recurrence of student concerns with communicating his expecta-

tions for performance, the criteria by which performance is to be evaluated, and the timeliness of

his feedback to students, raises questions about the consistent effectiveness of Dr.              teach-

ing. (Ghanem Dep. 102:3–103:9 and Exhibit 27 (Bates labeled Calvente–DePaul 037293–95).)


                                                   12
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 13 of 408 PageID #:5935




         56.   In continuing to evaluate Dr.            application for promotion, the UBPT next

noted significant concerns about Dr.           scholarship, including the quantity of the work, the

consistency of the work, and the quality of the work. (Ghanem Dep. 102:3–103:9 and Exhibit 27

(Bates labeled Calvente–DePaul 037293–95).) More specifically, the UBPT noted that Dr.

          scholarship appeared limited to multi–authored pieces and that the UBPT was not pro-

vided (despite its requests) information concerning Dr.               contributions to those multi–

authored pieces. (Ghanem Dep. 102:3–103:9 and Exhibit 27 (Bates labeled Calvente–DePaul

037293–95).)

         57.   Dr. Ghanem agrees that Dr.            received a careful review at all levels, that expe-

rienced faculty evaluated Dr.          work, and that the UBPT voted overwhelmingly against Dr.

          application for tenure. (Ghanem Dep. 105:16–106:1.) Dr. Ghanem also read the entirety

of the UBPT’s report recommending that Dr.             not receive tenure before she granted tenure

to Dr.           (Ghanem Dep. 102:3–103:9 and Exhibit 27 (Bates labeled Calvente–DePaul

037293–95).)

         58.   Prior to overturning the UBPT’s recommendation that Dr.                 not receive ten-

ure, Dr. Ghanem read the entire UBPT’s report, including the following sentences: “[t]he evalua-

tions of his teaching by students are frequently below three on a five point scale and consistently

below the departmental mean,” “[t]his case is not one of the occasional negative set of evaluations,

but rather a pattern that shows itself in his capacity to communicate with a very large portion of

his students,” “40 to 50 percent of the students rate his capacity to communicate subject matter

content as not adequate,” “[m]oreover the pattern is persistent and the concern has not been re-

lieved over time,” “[h]is recent evaluations, for example, the 2018 evaluations, contain such com-




                                                13
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 14 of 408 PageID #:5936




ments,” and “[i]n addition, the regular recurrence of student concerns with communicating his

expectations for performance, the criteria by which performance is to be evaluated, and the timeli-

ness of his feedback to students raises questions about the consistent effectiveness of Dr.

teaching.” (Ghanem Dep. 102:19–105:15.)

         59.      Dr. Ghanem wrote that she awarded tenure to Dr.                     in recognition of his

“achievements in scholarship, teaching, and service, and in expectation of [his] continued service

to [DePaul’s] students, the university, and [his] field.” (Ghanem Dep. 66:13–67:16 and Exhibit 1

(Bates labeled DePaul–Calvente 013833–34.) Dr. Ghanem did not write that she awarded tenure to

Dr.            because she believed that he failed to receive a fair process. (Id.)

         60.      Dr. Ghanem was asked how, in light of the fact that Dr.                received a careful

review at all levels, that experienced faculty evaluated Dr.              work, and that the UBPT voted

overwhelming against him, that anyone could say that “the university has no reasonable doubt as

to Dr.             demonstrated qualifications and continued capacity to contribute to DePaul's dis-

tinctive goals of academic mission when he received a six–to–one no vote at the UBPT.” (Ghanem

Dep. 105:16–13.) Dr. Ghanem was unable to provide a substantive answer to this question and,

instead, relied on alleged procedural defects in Dr.               process to support her decision. (Id.)

         61.      Dr.          had never before been evaluated by the UBPT before the UBPT reject-

ed his application by a vote of 6–1. (First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart

Declaration at §3.5.6.1 (Bates labeled Calvente–DePaul 000042–43).)

Dr.            application for tenure.

         62.      Philip        is a white professor at DePaul with no record of complaining about

discrimination. (Diaz Dec. ¶7; Ghanem Dep. 69:9–12.)




                                                      14
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 15 of 408 PageID #:5937




         63.     During the 2019/2020 academic year, the UBPT recommended that Dr.               not

receive tenure by a vote of 6–1. (Ghanem Dep. 67:22–69:11; Second Rinehart Declaration, copy

attached as Exhibit I, and document Bates labeled Calvente–DePaul 03806–87.)

         64.     Before granting tenure to Dr.         the university was required to have no reason-

able doubt about the faculty member’s demonstrated qualifications and continued capacity to con-

tribute to DePaul’s distinctive goals and academic mission. (Ghanem Dep. 44:4–45:18; First Rine-

hart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart Declaration at §§3.1, 3.3.1.3, 4.2 (Bates la-

beled Calvente–DePaul 000028, 31, 55).)

         65.     Notwithstanding the UBPT’s recommendation, Dr. Ghanem granted tenure to Dr.

        (Ghanem Dep. 68:11–69:8 and Exhibit 24 (Bates labeled Calvente–DePaul 38092–93).)

         66.     Dr. Calvente’s case is the only case where Dr. Ghanem has rejected the UBPT rec-

ommendation that a candidate should receive tenure. (Ghanem Dep. 71:4–13.) In all other cases

where Dr. Ghanem has rejected the UBPT’s recommendation, the candidate had been recom-

mended not to receive tenure. (See id.)

Dr.             application for tenure.

         67.     Dr.         applied for tenure the same year that Dr. Calvente applied for tenure.

         68.     Dr.         actively attempted to avoid attaching her name to any complaints of

discrimination until October 2018, when Dr.              and Dr. Calvente met with Dr. Ghanem to

complain about discrimination within the College. (Dillard Dep. 64:8–70:2, 74:12, 89:6–94:5.)

         69.     Dr.         never accused Dr. Ghanem of playing racial politics with Dr.

      career.

A limit on the provost’s power.




                                                  15
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 16 of 408 PageID #:5938




       70.     The Handbook does not allow Dr. Ghanem to reject the UBPT’s recommendation

for alleged procedural violations. Rather, that power belongs solely to the University President.

(First Rinehart Dec. ¶¶3, 6 and Exhibit 1 to the First Rinehart Declaration at §5.1.2.3 (Bates la-

beled Calvente–DePaul 000080–81).)

Respectfully submitted,                             /s/ Fitzgerald T. Bramwell
December 23, 2021                                   Fitzgerald T. Bramwell
                                                    LAW OFFICES OF FITZGERALD BRAMWELL
                                                    77 West Wacker Drive, Suite 4500
                                                    Chicago, Illinois 60601
                                                    312–924–2884 (voice)
                                                    bramwell@fitzgeraldbramwell.com




                                               16
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 17 of 408 PageID #:5939




                                      Certificate of Service

       The undersigned, an attorney, certifies that on December 23, 2021, he caused the forego-

ing Lisa Calvente’s Statement of Material Facts Pursuant to Local Rule 56.1 to be electronically

filed with the Clerk of the Court for the United States District Court for the Northern District of

Illinois by using the CM/ECF system. Accordingly, service will be accomplished through CM/ECF

on the following counsel of record:

Anneliese Wermuth, Esq.
Cozen O’Connor, P.C.
123 North Wacker Drive, Suite 1800
Chicago, Illinois 60606
awermuth@cozen.com
Counsel for defendants




                                              /s/ Fitzgerald T. Bramwell
                                              Fitzgerald T. Bramwell
                                              LAW OFFICES OF FITZGERALD BRAMWELL
                                              77 West Wacker, Suite 4500
                                              Chicago, Illinois 60601
                                              312–924–2884 (voice)
                                              bramwell@fitzgeraldbramwell.com
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 18 of 408 PageID #:5940




Index of Exhibits to Lisa Calvente’s Statement of
   Material Facts Pursuant to Local Rule 56.1
   of the United States District Court for the
          Northern District of Illinois
Exhibit A ................................................................................................. Declaration of Lisa Calvente

Exhibit B ................................................................................................................................................
.......... Defendants’ Answers And Affirmative Defenses To Plaintiff’s Complaint And Jury Demand

Exhibit C ......................................................................................... Transcript of Calvente deposition

Exhibit D ......................................................................................... Transcript of Ghanem deposition

Exhibit E......................................................................................... First Declaration of Lucy Rinehart

Exhibit F ....................................................................................................... Declaration of Isabel Diaz

Exhibit G ............................................................................................. Transcript of Zaseke deposition

Exhibit H .......................................................................... Transcript of portion of                            deposition

Exhibit I..................................................................................... Second declaration of Lucy Rinerhart

Exhibit J .............................................................................................. Transcript of Dillard deposition

Exhibit K ....................................................................... Transcript of portion of Murphy desposition
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 19 of 408 PageID #:5941




               Exhibit A
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 20 of 408 PageID #:5942




                        IN THE UNITED STATES DISTRICT COURT FOR
                            THE NORTHERN DISTRICT OF ILLINOIS
                                   (EASTERN DIVISION)

Lisa Calvente                                 )
               Plaintiff,                     )
v.                                            )
                                              )                No. 20–cv–3366
Salma Ghanem, and                             )
DePaul University                             )
               Defendants.                    )
 _____________________________________________)

                                    Declaration of Lisa Calvente

         I, Lisa Calvente, being first duly sworn upon oath, depose and state that this declaration

 is made on personal knowledge. If sworn as a witness I could testify competently to the facts articu-

 lated herein:

         1.      I am an American of African, Latinix, and Asian descent, and I identify as such.

         2.      I am currently a tenure–track assistant professor in the Department of Communi-

 cation in the College of Arts and Sciences at the University of North Carolina at Chapel Hill. I

 have been in this position since July 1, 2021.

         3.      My areas of research are the black diaspora, performance studies, and cultural stud-

 ieswith a particular interest in how performance and media ethnography can be used to interro-

 gate discursive formations of racism, classism, and hetero/sexism in order to generate possibilities

 of belonging and social justice.

         4.      I am a former tenure–track professor at DePaul, and I was hired to teach and to

 research, principally, the uncomfortable subjects of race and racism in the United States. My em-

 ployment at DePaul ended at the end of the 2019/2020 academic year, following the denial of

 my application for tenure and the conclusion of my terminal contract.
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 21 of 408 PageID #:5943




       5.      After the termination of my employment at DePaul, I was unemployed from Au-

gust 1, 2020 through June 30, 2021.

       6.      I increased my service to DePaul University and to my local academic unit, the

College of Communication, between March 2015 and November 2017 review. In addition to my

continued service as affiliated faculty in Latin American & Latino Studies, African and Black

Diaspora Studies, and the African and Black Diaspora Studies Steering Committee, I became

affiliated faculty of DePaul University’s new graduate program in Critical Ethnic Studies and also

became one of the College of Communication representatives for the Liberal Studies Council

Survey Review Subcommittee. For the local unit, I was part of the Communication 103 Syllabi

Review Task Force and was the faculty discussant in performance and cultural studies for Com-

munication Studies 500: Foundations in Graduate Communication Studies taught by Professor Jay

Baglia. I was also an active participant in determining awards for our unit for the Communication

Graduation Ceremony where I presented our graduate studies award to Abigail Escatel, who

worked under my supervision. These additions do not include the various professional and com-

munity service that I did during this time period as a representative of DePaul University.

       7.      I know a former tenure–track professor at DePaul named

       , and I wrote a letter in support of               appeal of Dr. Salma Ghanem’s decision

not to renew his faculty contract at DePaul. I know                  race to be white.

       8.      During a meeting with Dr. Ghanem that occurred on or about December 16,

2017, I told Dr. Ghanem that I wanted to contact Barbara Schaffer in DePaul’s Office of Institu-

tional Diversity and Equity to file a complaint of discrimination in response to the non–renewal

recommendation. Dr. Ghanem called Barbara Schaffer at my request, left her a message, and we
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 22 of 408 PageID #:5944




continued our meeting. Dr. Ghanem advised me during this meeting not to file another complaint

with OIDE until after my tenure review.

        9.      I never had another meaningful conversation with Dr. Ghanem after October

10, 2018.

        10.     When I taught CMN103 at DePaul, I did not use a text book but instead used a

series of materials from texts, articles, chapters, and film. No one ever disapproved of my use of these

materials or my syllabus in this core course.

        11.     During the 2015/2016 academic year, I took leave to focus on my research; how-

ever, this did not extend my tenure clock.

        12.     I am aware of a situation where, during the week ending October 19, 2018, two

students lodged a complaint with Alexandra Murphy against me, and that one of those students

dropped my class while the other stayed in my class. Dr. Murphy never asked me to reach out to

schedule a meeting with the student who stayed in my class.

        FURTHER DECLARANT SAYETH NAUGHT

                             Certification Pursuant to 28 U.S.C. §1746

        I have read the foregoing Declaration of Lisa Calvente and declare under penalty of per-

jurythat the foregoing is true and correct.


                                                                Lisa Calvente
                                                                December 18, 2021
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 23 of 408 PageID #:5945




               Exhibit B
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 241of
                                                             of408
                                                                21 PageID
                                                                   PageID#:217
                                                                          #:5946




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 LISA CALVENTE,                                    )
                                                   )
                         Plaintiff,                )
                                                   )       Case No.: 1:20-cv-03366
         v.                                        )
                                                   )
 SALMA GHANEM and DEPAUL                           )
 UNIVERSITY,                                       )
                                                   )
                         Defendants.               )

                   DEFENDANTS’ ANSWERS AND AFFIRMATIVE DEFENSES
                     TO PLAINTIFF’S COMPLAINT AND JURY DEMAND

        Defendants, Salma Ghanem (“Dr. Ghanem”) and DePaul University (“DePaul” or

“University”), by their attorneys, Cozen O’Connor, hereby submit their answers to Plaintiff’s

Complaint and Jury Demand.

                                             The Parties

        1.     Lisa Calvente (“Dr. Calvente”) resides in Cook County, Illinois. At all times
relevant to this complaint, Dr. Calvente was a tenure-track assistant professor of Intercultural
Communication and Performance Studies within the College of Communication (the “College”)
at DePaul University (“DePaul” or the “University”). Dr. Calvente is an American of African,
Latinx, and Asian descent.

        ANSWER:         Defendants admit at all times relevant to her Complaint, Plaintiff was a

tenure-track assistant professor of Intercultural Communication and Performance Studies in the

College of Communication at DePaul University.             Defendants admit that according to the

University’s records, Plaintiff is a resident of Cook County, Illinois and Plaintiff self-identified as

“Hispanic/Latino.” Defendants lack knowledge or information sufficient to form a belief as to the

truth of the remaining allegations contained in Paragraph 1.




LEGAL\47715392\1
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 252of
                                                             of408
                                                                21 PageID
                                                                   PageID#:218
                                                                          #:5947




         2.      Salma Ghanem (“Dr. Ghanem”) is the former dean of the College of
Communication at DePaul, the former acting provost of DePaul, and the current interim provost
of DePaul. Dr. Ghanem maintains an office in Cook County, Illinois and, on information and
belief, is also a resident of Cook County, Illinois.

        ANSWER:        Defendants admit the allegations of Paragraph 2.



       3.      DePaul is a not-for-profit corporation and is the largest Catholic university in the
United States. At all times relevant to this complaint, DePaul employed over five hundred people
and was an employer as defined in 42 U.S.C. §2000e(b). DePaul’s principal place of business is
in Chicago, Cook County, Illinois.

        ANSWER:        The University admits the allegations of Paragraph 3. The allegations of

Paragraph 3 are not directed to Dr. Ghanem and thus require no answer from Dr. Ghanem.



                                     Jurisdiction and Venue

        4.      This Court has jurisdiction over Dr. Ghanem and DePaul because each of them
committed the acts and omissions that are the subject of this litigation in Cook County, Illinois,
which is in this district. Alternatively, this Court has jurisdiction over the defendants because they
are (on information and belief) both residents of Cook County, Illinois, which is in this district.

        ANSWER:        Defendants admit that this Court has jurisdiction over Dr. Ghanem and the

University because the events giving rise to Plaintiff’s actionable claims allegedly occurred in this

judicial district and Defendants reside in this District. Except as specifically admitted, Defendants

deny the allegations of Paragraph 4 and further deny that they violated any law or committed any

wrongdoing whatsoever.



         5.     Venue is proper in this Court pursuant to U.S.C. §1391(b)(1) because Dr. Ghanem
and DePaul are residents of this district. Alternatively, venue is proper in this Court pursuant to
28 U.S.C. §1391(b)(2) because a substantial part of the acts and omissions giving rise to this
litigation occurred in this district.




                                                  2
LEGAL\47715392\1
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 263of
                                                             of408
                                                                21 PageID
                                                                   PageID#:219
                                                                          #:5948




ANSWER:            Defendants admit that the venue is proper under 28 U.S.C. 1391(b) because the

events giving rise to Plaintiff’s actionable claims allegedly occurred in this judicial district and

Defendants reside in this District. Except as specifically admitted, Defendants deny the allegations

of Paragraph 5 and further deny that they violated any law or committed any wrongdoing

whatsoever.




        6.      This Court has jurisdiction over the subject matter pursuant to 28 U.S.C. §1331
because Counts I and III allege a violation of 42 U.S.C. §1981 and Counts II and IV allege a
violation of 42 U.S.C. §2000e, et seq. This Court has jurisdiction over the state law claim alleged
in Count V pursuant to 28 U.S.C. §1367 because that claim is so related to the federal claims that
it forms the basis for the same case or controversy.

ANSWER:            Defendants admit the allegations of Paragraph 6, but deny they violated any law or

committed any wrongdoing whatsoever.



                                          Factual Allegations

       7.      This litigation seeks redress for significant abuses by Dr. Ghanem and DePaul
University that were alternatively (i) in retaliation for Dr. Calvente’s complaints about racism
within the College of Communication, and (ii) motivated by Dr. Calvente’s race, which abuses
culminated in the denial of Dr. Calvente’s application for tenure and promotion from assistant
professor to associate professor.

        ANSWER:           Defendants deny the allegations of Paragraph 7.



        8.      Dr. Calvente’s areas of research are the black diaspora, performance studies, and
cultural studies with a particular interest in how performance and media ethnography can be used
to interrogate discursive formations of racism, classism, and hetero/sexism in order to generate
possibilities of belonging and social justice. She was hired to teach and to research, principally,
the uncomfortable subjects of race and racism in the United States, a topic that scholarly research
has described as impossible to teach to undergraduate students without causing discomfort. Dr.
Calvente joined DePaul’s faculty at the start of the 2011/2012 academic year.




                                                   3
LEGAL\47715392\1
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 274of
                                                             of408
                                                                21 PageID
                                                                   PageID#:220
                                                                          #:5949




        ANSWER:        Defendants admit that Plaintiff joined DePaul’s faculty at the start of the

2011-2012 academic year, and that she has accurately described her areas of research. Except as

specifically admitted, Defendants deny the allegations of Paragraph 8.



        9.      As is the case in many other universities in the United States, the grant of tenure at
DePaul “creates the presumption of continuing employment ….” (DePaul University Faculty
Handbook dated July 1, 2018 (the “Handbook”) §3.1, a copy of which is attached as Exhibit 1).
Indeed, the Handbook describes the rights and responsibilities of faculty at DePaul and also
articulates the terms and conditions of faculty employment. In addition, the Handbook permits
local academic units to articulate more specific guidelines with respect to their requirements for
tenure and promotion so long as those guidelines are consistent with the Handbook.

        ANSWER:        Defendants admit that Plaintiff has attached to her Complaint a copy of the

July 1, 2018 Faculty Handbook. Defendants admit further that Section 3.1 of the Handbook

provides, in part, that tenure “creates the presumption of continuing employment,” but denies that

Plaintiff has restated here either the full import or the full text of the four paragraphs contained in

Section 3.1 of the Handbook, including any exceptions to the presumption of continued

employment. Defendants admit that the Handbook sets forth the rights, obligations and terms and

conditions of employment of faculty at DePaul. Defendants admit that local academic units have

the responsibility to adopt written guidelines and policies for tenure-line faculty evaluation, which

must be consistent with the University’s criteria and procedures in the Handbook. Except as

specifically admitted, Defendants deny the allegations of Paragraph 9.



        10.     Chapter 3 of the Handbook articulates a multi-step process for evaluating a faculty
member’s application for tenure. As the first step, tenured faculty members of the local academic
unit (in Dr. Calvente’s case, the College) vote on the candidate’s application for tenure. Then, the
file is then sent to the University Board of Promotion and Tenure (the “UBPT”), which is
comprised of seven tenured faculty members from across the University. The UBPT then makes
an independent review of the tenure file and takes an independent vote to grant or deny tenure.
However, as a practical matter, the recommendation of the UBPT is rarely different from that of
the local academic unit. After the UBPT vote, the tenure file goes to the University provost for a


                                                  4
LEGAL\47715392\1
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 285of
                                                             of408
                                                                21 PageID
                                                                   PageID#:221
                                                                          #:5950




final decision on the grant or denial of tenure. Because section 3.5.6.3 of the Handbook requires
the provost to overturn the decision of the UBPT “[o]nly in rare instances and for compelling
reasons,” the decision of the UBPT to grant or deny tenure is typically final.

        ANSWER:        Defendants admit that Chapter 3 of the Handbook explains the multi-step

process for evaluating a faculty member’s application for tenure, and that each level of review is

a substantive one. Defendants admit that the first step of the evaluation is at the local academic

unit, which in Plaintiff’s case was the College of Communication. Defendants admit that after the

local academic unit’s evaluation is complete, the next review is completed by a seven-member

university-wide committee (UBPT), which conducts a substantive review and takes a vote to grant

or deny tenure. Defendants admit that after the UBPT vote, the tenure case goes to the University

provost for a final decision. Except as specifically admitted, Defendants deny the allegations of

Paragraph 10.



        11.    The standards evaluating candidates for tenure and promotion are articulated in
Chapter 3 of the Handbook. As section 3.4.2 of the Handbook states, faculty are to be evaluated
based on teaching and learning (collectively “teaching”) (Handbook §3.4.2.1); scholarship,
research, or other creative activities (collectively “research”) (id. at §3.4.2.2); and service (id. at
§3.4.2.3). Expressly prohibited in evaluating a candidate’s tenure application – both under Chapter
6 of the Handbook and also under state and federal law – are a faculty member’s race or her
opposition to racism within her academic unit or the broader University.

        ANSWER:        Defendants admit that Plaintiff has generally identified the University’s

three criteria for evaluating a candidate for tenure, as set forth in the University’s Faculty

Handbook. Defendants further admit that the University prohibits making tenure decisions based

on race or opposition to unlawful employment practices. Insofar as Paragraph 11 asserts legal

conclusions, no answer by Defendants is required. Except as specifically admitted, Defendants

deny the allegations of Paragraph 11.




                                                  5
LEGAL\47715392\1
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 296of
                                                             of408
                                                                21 PageID
                                                                   PageID#:222
                                                                          #:5951




       12.     A candidate who is unsuccessful in her application for tenure at DePaul is offered
a one-year terminal contract that starts at the beginning of the academic year following the denial.
That candidate is then dismissed from faculty at the end of the terminal contract.

        ANSWER:        Defendants admit that a candidate who is unsuccessful in her tenure

application at DePaul is typically offered a one-year terminal contract for the academic year

following the tenure denial, upon the expiration of which the candidate’s employment at DePaul

ends. Except as specifically admitted, Defendants deny the allegations of Paragraph 12.



        13.    Prior to a faculty member’s formal application for tenure, that faculty member is
periodically and formally reviewed by the tenured faculty, or a subset thereof, in her academic
unit. (Section 3.3.3.1 of the Handbook refers to these as probationary reviews.) The purpose of
these probationary reviews is to report on the faculty member’s progress towards tenure and to
determine whether the faculty member will be renewed. Accordingly, the untenured faculty
member is reviewed based on her teaching, research, and service to her academic unit and the
University. In the College, the Personnel Committee (a subset of the tenured faculty) conducts
these reviews every two years.

        ANSWER:        Defendants admit that a tenure track faculty member is subject to periodic

informal and formal reviews, and that two of the purposes of such reviews are to assess the faculty

member’s progress toward promotion and/or tenure, measured against the teaching, research and

service criteria, and to recommend for or against renewal. Defendants admit further that formal

reviews are to be conducted no less than every two years. Except as specifically admitted,

Defendants deny the allegations of Paragraph 13.



        14.     Probationary reviews are among the only methods of terminating the employment
of a tenure-line faculty member. The other methods of terminating a tenure-line faculty member’s
employment include (i) the denial of tenure following a tenure-line faculty member’s application
for tenure and promotion, and (ii) the process articulated in Chapter 4 of the Handbook.

        ANSWER:        Defendants admit that non-renewal based on a probationary review and

denial of tenure are two bases for terminating the employment of a tenure-track faculty member,



                                                 6
LEGAL\47715392\1
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 307of
                                                             of408
                                                                21 PageID
                                                                   PageID#:223
                                                                          #:5952




as set forth in Chapter 4 of the Handbook. Except as specifically admitted Defendants deny the

allegations of Paragraph 14.



       15.     Dr. Calvente received her probationary reviews in the winter of 2013, in March
2015, and in November 2017. Although the Personnel Committee lodged no objection to Dr.
Calvente in 2013, it is extremely rare for a tenure-track professor at DePaul to be recommended
for non-renewal after one review recycle. In both 2015 and 2017, following changes in its
composition, the Personnel Committee recommended Dr. Calvente’s contract not be renewed.

        ANSWER:       Defendants admit that Plaintiff underwent formal probationary reviews

culminating in reports dated March 1, 2013, March 23, 2015 and November 17, 2017. Defendants

admit further that the Personnel Committee in 2013 recommended renewal by a majority vote and

recommended against renewal in 2015 and 2017, by majority votes. Defendants admit that the

composition of the Personnel Committee changed between 2013 and 2017. Except as specifically

admitted, Defendants deny the allegations of Paragraph 15.



       16.     The March 7, 2015 report from the Personnel Committee recommending Dr.
Calvente’s termination is attached as Exhibit 2.

        ANSWER:       Defendants admit the Personnel Committee recommended termination of

Plaintiff’s employment on March 23, 2015, but deny Exhibit 2 is a true and correct copy of the

final report and recommendation.



         17.    The Personnel Committee’s March 2015 evaluation was problematic for several
reasons. First, with respect to Dr. Calvente’s teaching, the evaluation (willfully) ignored the (i)
supermajority of her qualitative student evaluations, which praised Dr. Calvente’s teaching, and
(ii) her quantitative scores, which surpassed the average scores for all College faculty in several
areas. Indeed, the Personnel Committee’s review of Dr. Calvente’s teaching was so inconsistent
with her file, that a January 15, 2020 report from an independent (i.e., not affiliated with the
College) Faculty Appeals Committee opined that it approached “willful distortion.” (See infra
paragraph 31.) The Personnel Committee, however, did not so unfairly evaluate white faculty
during their probationary reviews.


                                                7
LEGAL\47715392\1
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 318of
                                                             of408
                                                                21 PageID
                                                                   PageID#:224
                                                                          #:5953




        ANSWER:        Defendants deny the allegations of Paragraph 17.



       18.     Notwithstanding the Personnel Committee’s March 2015 recommendation, the
then-dean of the College, Dr. Ghanem, reappointed Dr. Calvente to the College’s faculty.

        ANSWER:        Defendants admit the allegations of Paragraph 18.



        19.     Following the Personnel Committee’s 2015 recommendation of non-renewal, Dr.
Calvente filed a complaint with DePaul’s Office of Institutional Diversity and Equity (“OIDE”) in
June 2015. (As per then-current University policy, OIDE was tasked with investigating claims of
discrimination or harassment on the basis of status protected by federal, state, or local law.) The
complaint highlighted, among other issues, that tenured faculty at the College (i) ignored the
majority of both Dr. Calvente’s qualitative and quantitative teaching evaluations that state that she
is an excellent instructor, which evaluations were not ignored for white tenure-track teachers, (ii)
ignored her evaluation scores, which surpassed all of the faculty averages in various areas, which
it did not do for white tenure-track teachers, (iii) focused on the super minority of qualitative
evaluations labeling her as hostile, which it did not do for white tenure-track teachers, and (iv) that
her mistreatment was similar to mistreatment suffered by another (former) faculty of color in the
College, Lisa Pecot-Hebert, who was ultimately forced out of the College.

        ANSWER:        Defendants admit that in June 2015 Plaintiff made a complaint to OIDE,

which was tasked with investigating claims of discrimination or harassment on the basis of status

protected by federal, state or local law. Defendants admit further that the allegations set forth in

this Paragraph 19 generally describe the nature of her complaints, except that Defendants deny

that Calvente used the phrase “super minority” in her complaint. Defendants deny having engaged

in the conduct set forth in Plaintiff’s 2015 complaint to OIDE.



       20.    OIDE ultimately closed its investigation into Dr. Calvente’s June 2015 complaint
on July 6, 2016, finding insufficient evidence of a violation of the University’s Anti-
Discrimination and Anti-Harassment Policy and Procedures.

        ANSWER:        Defendants admit the allegations of Paragraph 20.




                                                  8
LEGAL\47715392\1
   Case:
  Case:   1:20-cv-03366
        1:20-cv-03366   Document
                      Document #:#:
                                 8911 Filed:
                                    Filed:   08/07/20
                                           12/23/21   Page
                                                    Page 329of
                                                             of408
                                                                21 PageID
                                                                   PageID#:225
                                                                          #:5954




        21.    On November 17, 2017, the Personnel Committee again recommended that Dr.
Calvente’s contract not be renewed, again citing alleged deficiencies with Dr. Calvente’s teaching
and her record of service. With respect to Dr. Calvente’s teaching, the Personnel Committee again
emphasized the qualitative experience of a super-minority (2.5% during academic year 2017) of
students who reported feeling uncomfortable in Dr. Calvente’s class due to the manner in which
Dr. Calvente taught race and American racism, and it again ignored that (i) Dr. Calvente’s
quantitative scores were superior to most of her colleagues within the College, and (ii) the
supermajority of Dr. Calvente’s qualitative scores were very positive.

        ANSWER:       Defendants admit that the Personnel Committee recommended non-renewal

of Plaintiff’s contract on November 17, 2017 and admit further that in its report the Personnel

Committee noted that she was not sufficiently progressing towards tenure in the areas of teaching

and service. Except as specifically admitted, Defendants deny the allegations of Paragraph 21.



       22.     The November 17, 2017 report from the Personnel Committee recommending Dr.
Calvente’s termination is attached as Exhibit 3.

        ANSWER:       Defendants admit the allegations of Paragraph 23.



      23.   Notwithstanding the Personnel Committee’s November 2017 recommendation, Dr.
Ghanem reappointed Dr. Calvente to the College’s faculty.

        ANSWER:       Defendants admit the allegations of Paragraph 23.



       24.     In the fall of 2018, Dr. Calvente and Dr. Sydney Dillard (an untenured member of
the College’s faculty and an American of African Descent) presented a joint complaint to Dr.
Ghanem concerning patterns of racial harassment, bullying, marginalization, and
microaggressions with the College. This fall 2018 meeting was the first claim of racism and racial
harassment that Dr. Calvente made directly to Dr. Ghanem.

        ANSWER:       Defendants admit that Plaintiff and Dr. Dillard, who at the time was an

untenured faculty member in the College and who is an American of African Descent, met with

Ghanem in the fall of 2018, during which meeting Plaintiff and Dr. Dillard raised concerns about




                                                9
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page33
                                                            10ofof408
                                                                   21 PageID #:5955
                                                                             #:226




alleged racial harassment, bullying, marginalization and microaggressions within the College.

Except as specifically admitted, Defendants deny the allegations of Paragraph 24.



       25.     Consistent with then-current DePaul policy concerning complaints of
discrimination, Dr. Ghanem forwarded the concerns raised by Dr. Calvente and Dr. Dillard to
DePaul’s office of Human Resources (“HR”). On information and belief, it was widely known
within the College that (i) Dr. Dillard and Dr. Calvente complained about racism within the
College to Dr. Ghanem, and (ii) HR would be investigating these complaints.

        ANSWER:       Defendants admit that Dr. Ghanem forwarded the concerns raised by

Plaintiff and Dr. Dillard to DePaul’s office of Human Resources. Except as specifically admitted,

Defendants deny the allegations of Paragraph 25.



       26.      HR attempted to schedule a meeting with both Dr. Calvente and Dr. Dillard to
discuss their concerns. Dr. Calvente and Dr. Dillard and a representative from HR ultimately set
a meeting for November 20, 2018; however, Dr. Dillard never showed up for the meeting as she
withdrew her complaint at some unspecified time.

        ANSWER:       Defendants admit that Human Resources scheduled a meeting for

November 20, 2018 with Plaintiff and Dr. Dillard. Except as specifically admitted, Defendants

deny the allegations of Paragraph 26.



        27.     Both Dr. Calvente and Dr. Dillard applied for tenure and promotion from assistant
professor to associate professor during 2018/2019 academic year. Moreover, Dr. Calvente’s tenure
dossier was at least as strong as Dr. Dillard’s in the areas of research and service, and stronger
than Dr. Dillard’s in the area of teaching. Nevertheless, the vote by the College faculty on Dr.
Calvente’s tenure application was 19-2 against the grant of tenure. (A copy of the dean’s summary
of the College’s vote on Dr. Calvente’s application is attached as Exhibit 4.) With respect to Dr.
Dillard’s application, the College recommended that she receive tenure. Dr. Ghanem – who had
been since been reappointed to serve as acting provost (see infra ¶29) – then tenured Dr. Dillard.

        ANSWER:       Defendants admit that both Plaintiff and Dr. Dillard applied for tenure and

promotion from Assistant Professor to Associate Professor during the 2018/2019 academic year.



                                               10
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page34
                                                            11ofof408
                                                                   21 PageID #:5956
                                                                             #:227




Defendants admit further that the College recommended that Dr. Dillard be granted tenure, and

admit further that Dr. Ghanem granted Dr. Dillard tenure. Defendants admit further that the vote

by the College faculty on Plaintiff’s tenure application was 19-2 against the grant of tenure, as set

forth in Exhibit 4 to Plaintiff’s Complaint. Except as specifically admitted, Defendants deny the

allegations of Paragraph 27.



       28.     Following the College’s vote on Dr. Calvente’s tenure application, the UBPT
conducted its independent review of the file. And after that review, the UBPT (which, at the time,
had one member from the College, Bruno Teboul, on it) recommended that Dr. Calvente receive
tenure by a vote of 4-3. On information and belief, had Dr. Teboul abstained from voting, as he
would have been required to do at many other universities, the vote would have been 4-2 in Dr.
Calvente’s favor. (A copy of the UBPT’s recommendation is attached as Exhibit 5.)

        ANSWER:        Defendants admit that the UBPT conducted a substantive review of

Plaintiff’s tenure case after the College’s vote on her case. Defendants admit that Bruno Teboul,

a faculty member in the College, was a member of the UBPT in 2019. Defendants admit that the

UBPT recommended that Plaintiff be granted tenure by a vote of 4-3, and that Exhibit 5 to the

Complaint is a copy of the UBPT’s recommendation. Except as specifically admitted, Defendants

lack knowledge or information sufficient to form a belief as to the truth of the remaining allegations

of Paragraph 28.



        29.    In October 2018, Dr. Ghanem was elevated to the position of Acting Provost of
DePaul. This promotion meant that Dr. Ghanem – who had been dean of the College for much of
Dr. Calvente’s professional life – would decide whether Dr. Calvente would remain employed at
DePaul. Ultimately, Dr. Ghanem sided with her former colleagues and refused to grant tenure to
Dr. Calvente even though Dr. Calvente’s file was at least as strong as that of a professor who
complained about discrimination within Dr. Ghanem’s academic unit and who then retracted that
complaint. Following her decision to deny tenure to Dr. Calvente, Dr. Ghanem wrote that Dr.
Calvente would receive a terminal contract and that her last day as faculty member at DePaul
would be June 30, 2020. (A copy of Dr. Ghanem’s letter denying Dr. Calvente’s application for
tenure and promotion is attached as Exhibit 6.)



                                                 11
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page35
                                                            12ofof408
                                                                   21 PageID #:5957
                                                                             #:228




        ANSWER:       Defendants admit that Dr. Ghanem was promoted to Acting Provost in or

around October 2018. Defendants admit that Dr. Ghanem decided against awarding tenure to

Plaintiff, and notified Plaintiff of her decision and the award of a terminal contract that would

expire on June 30, 2020. Defendants admit that Exhibit 6 is a copy of Dr. Ghamen’s letter to

Plaintiff, notifying Plaintiff of Dr. Ghanem’s decision on her tenure case. Except as specifically

admitted, Defendants deny the allegations of Paragraph 29.



        30.     Chapter 5 of the Handbook permits a faculty member to appeal the denial of her
tenure application. Accordingly, following Dr. Ghanem’s decision to deny her application, Dr.
Calvente appealed to the Faculty Committee on Appeals, which appointed three faculty
unaffiliated with the College to serve as an Appeals Board.

        ANSWER:       Defendants admit the allegations of Paragraph 30.



         31.     After preliminarily investigation, the Appeals Board dismissed two of Dr.
Calvente’s grounds for appeal and investigated a third ground for appeal. Ultimately, the Appeals
Board issued a thirty-four page report to the President of DePaul (copy attached as Exhibit7)
explaining how (i) Dr. Calvente was evaluated unfairly at multiple points in 2015 and 2017, and
(ii) these unfair evaluations were material to the ultimate denial of tenure.

        ANSWER:       Defendants admit that the Appeals Board issued a 34-page report to the

University’s president, which is attached as Exhibit 7. Defendants admit that in its report, the

Appeals Board dismissed two grounds of appeal and made a finding on the third ground.

Defendants deny that Plaintiff has accurately summarized the finding on the third ground. Except

as specifically admitted, Defendants deny the allegations in Paragraph 31.



       32.     It is unusual for an Appeals Board at DePaul to recommend the overturning of the
provost’s decision to deny tenure. However, notwithstanding the Appeals Board’s report and
recommendation, DePaul ultimately decided against the award of tenure to Dr. Calvente, and her
employment at DePaul will end on June 30, 2020.



                                               12
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page36
                                                            13ofof408
                                                                   21 PageID #:5958
                                                                             #:229




        ANSWER:           Defendants admit that the University ultimately decided against the award

of tenure to Plaintiff and that her employment ended on June 30, 2020. Except as specifically

admitted, Defendants deny the allegations of Paragraph 32.



                                           COUNT I
          (Violation of 42 U.S.C. §1981 – retaliation against DePaul and Dr. Ghanem)

        33.        Paragraphs 1-32 are re-alleged and incorporated as if fully set forth herein.

        ANSWER:           Defendants incorporate by reference the answers to each allegation

contained in Paragraphs 1-32 as if fully restated herein.



       34.     By refusing to grant her applications for tenure and promotion, and through the
soon to occur termination of her employment, Dr. Ghanem and DePaul deprived Dr. Calvente of
the same rights and privileges enjoyed by her colleagues who never complained about racial
discrimination, harassment, or marginalization.

        ANSWER:           Defendants deny the allegations of Paragraph 34.



        35.    Dr. Calvente’s complaints about racial discrimination, harassment, and
marginalization within the College were the “but for” factor that caused Dr. Ghanem and DePaul
to terminate her employment.

        ANSWER:           Defendants deny the allegations of Paragraph 34.



       36.     As a result of the denial of tenure and promotion, and as a result of the upcoming
termination of her employment, Dr. Calvente has been denied, and will be denied opportunities to
earn substantial compensation and benefits. Moreover, Dr. Calvente has suffered anguish,
humiliation, distress, inconvenience, and loss of enjoyment of life because of Dr. Ghanem’s and
DePaul’s actions, thereby entitling her to compensatory damages.

        ANSWER:           Defendants deny the allegations of Paragraph 36.




                                                    13
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page37
                                                            14ofof408
                                                                   21 PageID #:5959
                                                                             #:230




        37.    In refusing to tenure and promote her, and through the upcoming termination of her
employment, Dr. Ghanem and DePaul acted with malice and/or reckless indifference to the rights
of Dr. Calvente, thereby entitling Dr. Calvente to an award of punitive damages.

        ANSWER:           Defendants deny the allegations of Paragraph 37.



                                            COUNT II
  (Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e, et seq. – retaliation
                                         against DePaul)

        38.        Paragraphs 1-32 are realleged and incorporated as if fully set forth herein.

        ANSWER:           DePaul incorporates by reference answers to each allegations contained in

Paragraphs 1-32 as if fully restated herein.



       39.     By refusing to grant her applications for tenure and promotion, and through the
soon to occur termination of her employment, DePaul deprived Dr. Calvente of the same rights
and privileges enjoyed by her colleagues who never complained about racial discrimination,
harassment, or marginalization.

        ANSWER:           DePaul denies the allegations of paragraph 39.



      40.     Dr. Calvente’s complaints about racial discrimination, harassment, and
marginalization within the College were the motivating factor that caused DePaul to terminate her
employment.

        ANSWER:           DePaul denies the allegations of Paragraph 40.



        41.    As a result of the denial of tenure and promotion, and as a result of the upcoming
termination of employment, Dr. Calvente has been denied, and will be denied opportunities to earn
substantial compensation and benefits. Moreover, Dr. Calvente has suffered anguish, humiliation,
distress, inconvenience, and loss of enjoyment of life because of Dr. Ghanem’s and DePaul’s
actions, thereby entitling her to compensatory damages.

        ANSWER:           DePaul denies the allegations of Paragraph 41.




                                                    14
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page38
                                                            15ofof408
                                                                   21 PageID #:5960
                                                                             #:231




        42.    In refusing to tenure and promote her, and through the upcoming termination of her
employment, Dr. Ghanem and DePaul acted with malice and/or reckless indifference to the rights
of Dr. Calvente, thereby entitling Dr. Calvente to an award of punitive damages.

        ANSWER:           DePaul denies the allegations of Paragraph 42.



                                          COUNT III
    (Violation of 42 U.S.C. §1981 – racial discrimination against DePaul and Dr. Ghanem)

        43.        Paragraphs 1-32 are re-alleged and incorporated as if fully set forth herein.

        ANSWER:           Defendants incorporate by reference answers to each allegation contained

in Paragraphs 1-32 as if fully restated herein.



       44.     By refusing to tenure and promote her, and through the upcoming termination of
Dr. Calvente, Dr. Ghanem and DePaul deprived Dr. Calvente of the same rights and privileges
enjoyed by her non-mixed race colleagues as to the performance, enjoyment, and all of the benefits
and privileges of her contractual employment relationship with it.

        ANSWER:           Defendants deny the allegations of Paragraph 44.



        45.     Dr. Calvente’s race was the “but for” cause in DePaul’s and Dr. Ghanem’s decision
with respect to the refusal to tenure and promote her, and with respect to the upcoming termination
of her employment.

        ANSWER:           Defendants deny the allegations of Paragraph 45.



        46.   As a result of DePaul’s and Dr. Ghanem’s discrimination, Dr. Calvente has been
denied employment opportunities and the opportunity to earn substantial compensation and
benefits. Moreover, Dr. Calvente has suffered anguish, humiliation, distress, inconvenience, and
loss of enjoyment of life because of Dr. Ghanem’s and DePaul’s actions, thereby entitling her to
an award of compensatory damages.

        ANSWER:           Defendants deny the allegations of Paragraph 46.




                                                    15
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page39
                                                            16ofof408
                                                                   21 PageID #:5961
                                                                             #:232




        47.     In refusing to tenure and promote her, and through the forthcoming termination of
Dr. Calvente’s employment, Dr. Ghanem and DePaul acted with malice and/or reckless
indifference to her rights, thereby entitling Dr. Calvente to an award of punitive damages.

        ANSWER:           Defendants deny the allegations of Paragraph 47.



                                           COUNT IV
 (Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000e – race discrimination
                                         against DePaul)

        48.        Paragraphs 1-32 are re-alleged and incorporated as if fully set forth herein.

        ANSWER:           DePaul incorporates by reference answers to each allegation contained in

Paragraphs 1-32 as if fully restated herein.



       49.     By refusing to tenure and promote her, and through the upcoming termination of
Dr. Calvente, Dr. Ghanem and DePaul deprived Dr. Calvente of the same rights and privileges
enjoyed by her non-mixed race colleagues as to the performance, enjoyment, and all of the benefits
and privileges of her contractual employment relationship with it.

        ANSWER:           DePaul denies the allegations of Paragraph 49.



       50.     Dr. Calvente’s race was the motivating factor in DePaul’s and Dr. Ghanem’s
decision with respect to the refusal to tenure and promote her, and with respect to the upcoming
termination of her employment.

        ANSWER:           DePaul denies the allegations of Paragraph 50.



        51.     As a result of DePaul’s discrimination, Dr. Calvente has been denied employment
opportunities and the opportunity to earn substantial compensation and benefits. Moreover, Dr.
Calvente has suffered anguish, humiliation, distress, inconvenience, and loss of employment of
life because of DePaul’s actions, thereby entitling her to an award of compensatory damages.

        ANSWER:           DePaul denies the allegations of Paragraph 51.




                                                    16
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page40
                                                            17ofof408
                                                                   21 PageID #:5962
                                                                             #:233




        52.     In refusing to tenure and promote her, and through the forthcoming termination of
Dr. Calvente’s employment, Dr. Ghanem and DePaul acted with malice and/or reckless
indifference to her rights, thereby entitling Dr. Calvente to an award of punitive damages.

        ANSWER:           DePaul denies the allegations of Paragraph 52.



                                              COUNT V
                                  (Breach of contract against DePaul)

        53.        Paragraphs 1-32 are re-alleged and incorporated as if fully set forth herein.

        ANSWER:           DePaul incorporates by reference answers to each allegation contained in

Paragraphs 1-32 as if fully restate herein.



        54.    Through the Handbook and other documents referenced therein, DePaul defined
the procedures and criteria for tenure and promotion, and thereby created the terms and conditions
of an employment contract between it and Dr. Calvente.

        ANSWER:           DePaul denies the allegations of Paragraph 54.



       55.    By accepting her appointment as a tenure track faculty member at DePaul, Dr.
Calvente and DePaul agreed that her applications for tenure and promotion were to be governed
by the Handbook’s tenure criteria and procedures.

        ANSWER:           DePaul admits the allegations of Paragraph 55.



       56.     The Handbook requires that a candidate for tenure and promotion be given fair
consideration and evaluation in the areas of teaching, research, and service at all levels.

        ANSWER:           DePaul admits that the Faculty Handbook sets forth a tenure review process

that promotes fairness as a means for avoiding arbitrary decision making. Except as specifically

admitted, DePaul denies the allegations of Paragraph 56.




                                                    17
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page41
                                                            18ofof408
                                                                   21 PageID #:5963
                                                                             #:234




        57.     The Handbook further requires that tenure and promotion decisions not be based
on racial discrimination or based on retaliation for complaining about racial discrimination.

        ANSWER:        DePaul admits that that the Faculty Handbook restates DePaul’s policy

prohibiting discrimination and retaliation in making employment decisions. Except as specifically

admitted, DePaul denies the allegations of Paragraph 57.



        58.    In denying Dr. Calvente’s applications for tenure and promotion, the University
failed to evaluate Dr. Calvente fairly by, among other things, (i) willfully distorting her record
with respect to her teaching, and (ii) failing to provide clear and consistent guidance concerning
expectations for service during formal reviews.

        ANSWER:        DePaul denies the allegations of Paragraph 58.



        59.     Further, in denying Dr. Calvente’s applications for tenure and for promotion, the
University (i) failed to treat her in the same manner as similarly situated persons who did not
complain about racial harassment within the College, and (ii) failed to treat her in the same manner
as similarly situated persons who were not of mixed race.

        ANSWER:        DePaul denies the allegations of Paragraph 59.



        60.     DePaul’s denial of Dr. Calvente’s applications for tenure and promotion breached
its contract with her.

        ANSWER:        DePaul denies the allegations of Paragraph 59.



      61.     As a result of DePaul’s decision to deny Dr. Calvente’s applications for tenure and
promotion, Dr. Calvente has suffered damages including lost wages and benefits.

        ANSWER:        DePaul denies the allegations of Paragraph 61.




                                                18
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page42
                                                            19ofof408
                                                                   21 PageID #:5964
                                                                             #:235




                                         AFFIRMATIVE DEFENSES

          1.       Plaintiff’s allegations are barred insofar as they fail to state a claim upon which

relief can be granted.

          2.       Plaintiff’s Title VII claims are barred to the extent that they exceed the scope of her

EEOC charge.

          3.       Insofar as Plaintiff’s Title VII claims are based on actions that occurred outside of

the applicable limitations period for filing a charge of discrimination, they are time-barred.

          4.       Insofar as Plaintiff’s Section 1981 claims are based on actions that occurred outside

of the applicable statute of limitations period, they are time-barred.

          5.       Plaintiff’s Section 1981 claims are barred to the extent she has not alleged a

protected status under Section 1981.

          6.       At all times pertinent to this case, Defendants made a good faith effort to comply

with the law, and, therefore, are not liable for any alleged intentional, malicious, or grossly

negligent acts of its agents or employees.

          7.       Plaintiff’s claim for damages are barred, in whole or in part, by a failure to mitigate

damages to the extent required by the law.

          8.       Plaintiff’s Title VII and Section 1981 claims are barred, either in whole or in part,

by the ministerial exemption.

          9.       Defendants reserve the right to plead additional defenses as new information and

defenses may arise through the course of discovery in this matter.


          WHEREFORE, Defendants respectfully requests the Court to enter judgment in its favor

on each count of Plaintiff’s Complaint, along with any further relief as the Court deems just and

proper.


                                                     19
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page43
                                                            20ofof408
                                                                   21 PageID #:5965
                                                                             #:236




Dated: August 7, 2020
                                       Respectfully submitted,


                                       By: /s/ Anneliese Wermuth
                                               Attorney for Defendants, Salma Ghanem and
                                               DePaul University
Anneliese Wermuth (#6270970)
Nandini K. Sane
Cozen O’Connor
123 N. Wacker Drive, Ste. 1800
Chicago, IL 60606
Telephone:    312/474-7876
Email: awermuth@cozen.com
Email: nsane@cozen.com

Attorney for Defendants




                                         20
LEGAL\47715392\1
   Case:1:20-cv-03366
  Case:  1:20-cv-03366Document
                       Document#:#:89
                                    11Filed:
                                       Filed:12/23/21
                                              08/07/20Page
                                                       Page44
                                                            21ofof408
                                                                   21 PageID #:5966
                                                                             #:237




                                  CERTIFICATE OF SERVICE


          The undersigned attorney hereby certifies that on August 7, 2020, she electronically filed

the foregoing Defendants’ Answers and Affirmative Defenses to Plaintiff’s Complaint and

Jury Demand with the Clerk of the United States District Court for the Northern District of Illinois

using the ECF system, which will send notification of such filing to the following counsel of

record:

                                       Fitzgerald T. Bramwell
                                       Law Offices of Fitzgerald Bramwell
                                       225 West Washington Street, Ste. 2200
                                       Chicago, IL 60606
                                       bramwell@fitzgeraldbramwell.com



                                               s/ Anneliese Wermuth
                                               Anneliese Wermuth




LEGAL\47715392\1
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 45 of 408 PageID #:5967




           Exhibit 5 to complaint
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page147 of408
                                                      46 of 188PageID
                                                               PageID#:5968
                                                                      #:147




                                                                   University Board on Promotion and Tenure
                                                                   1 East Jackson Boulevard,
                                                                   Chicago, Illinois 60604-2287




TO:            Salma Ghanem, Acting Provost

FROM:          University Board on Promotion and Tenure

DATE:          May 10, 2019

Re:            Lisa Calvente’s Application for Promotion to Associate Professor with Tenure

______________________________________________________________________________

The 2018-2019 University Board on Promotion and Tenure met on Friday, March 8, 2019, to
consider Lisa Calvente’s application for promotion to Associate Professor with tenure. Dr.
Calvente joined DePaul as an Assistant Professor in 2011; her tenure application was deferred
two years due to an approved leave during AY 2012-13 and a URC research leave during AY
2015-16. Professor Calvente holds a PhD from University of North Carolina at Chapel Hill.

Board Members Present: Ruth Gannon Cook (School for New Learning); Nila Hofman
(College of Liberal Arts and Social Sciences); Xiaoping Jia (College of Computing and Digital
Media); Gregory Mark (College of Law); Thomas Miller (School of Music); Sandra Shelton
(College of Business); Bruno Teboul (College of Communication)

Board Members Absent: None

Vote Summary:
College of Communication tenured faculty: 2 – 19 (Support – Oppose)
College of Communication Acting Dean recommendation: Does not support
University Board: 4 – 3 (Support – Oppose)

A majority of the University Board on Promotion and Tenure disagreed with the majority of the
tenured faculty of the College of Communication and the Acting Dean of the College of
Communication, and found that Dr. Calvente has met the criteria for promotion to Associate
Professor with tenure.

In terms of teaching, the Board agreed with the unit’s largely positive assessment of Dr.
Calvente’s overall teaching performance, with a majority of the Board finding that Dr.
Calvente’s teaching, as evidenced by consistently high student evaluations, a strong student
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                                1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page148  of408
                                                      47 of  188PageID
                                                                PageID#:5969
                                                                       #:148




report, and positive peer evaluations, met the standard of consistent effectiveness established in
the Faculty Handbook.

The Board considered each of the principal teaching concerns raised in the unit level review.

Concerns that Dr. Calvente created a ‘harsh, uncomfortable atmosphere for her students’, and
that her students felt intimidated in her classroom. A majority of the Board recognized that while
these are serious concerns, the negative responses to Dr. Calvente’s teaching represented a very
small minority of her students. The Board was encouraged to notice a significant improvement
in the recent years, although negative feelings have still been occasionally expressed by a small
number of students. The Board encourages Dr. Calvente to experiment and innovate with
different and/or mixed pedagogy to accommodate students with different learning styles, to be
open to different perspectives, and to attempt to reach all of her student audience in the future.

Concerns that Dr. Calvente’s CMN 103 was not meeting the needs of the College by not
following curriculum guidelines. The faculty report indicated that Dr. Calvente ignored the
curriculum guidelines of CMN 103 agreed upon by the faculty. However, the additional
documents provided by Dr. Calvente in her response to the College’s decision included an email
from a senior faculty member confirming that the syllabus of CMN 103 designed by Dr.
Calvente was appropriate. A majority of the Board believed that this evidence suggested that the
concerns with not following the curriculum guidelines could very well result from a
misunderstanding between parties regarding the expectations. The Board encourages Dr.
Calvente to recognize the importance of incorporating the feedback and suggestions from her
colleagues into her core courses, and to align CMN 103 with applicable guidelines. The Board
was pleased to learn from Dr. Calvente in the interview with the Board that she would be more
than happy to meet with area faculty to ensure that the content in CMN 103 conforms to the
course guidelines and learning goals.

A minority of the Board members shared the degree of concern expressed by the faculty and the
Dean that some of Dr. Calvente’s students felt intimidated and/or uncomfortable in her
classroom. These Board members felt that while the number of students with negative feelings
represented a small minority, negative responses are still evident and an important part of the
record, with the impact on some of the students being severe. To Board members, these negative
responses cannot be entirely attributed to the subject matter of the courses Dr. Calvente has
taught, since there are other instructors who have taught similarly challenging subject matter
without the volume and severity of negative responses we have seen in Dr. Calvente’s case.
Further, these concerns are indications that there is room for improvement in Dr. Calvente’s
teaching, and the unit’s assessment of Dr. Calvente’s teaching being short of excellent is justified.
The Board encourages Dr. Calvente to learn from her peers who successfully teach similarly
challenging classes and to continue to explore ways to make all students feel welcome and
respected in her classroom regardless of their individual ideology and viewpoints.

In terms of scholarship, the Board recognized that in the categories valued most by the unit, Dr.
Calvente’s total body of work consists of, at minimum, 3 peer-reviewed articles and 3 peer-
reviewed book chapters during the probationary period, in additional to 6 papers in international
conferences and 10 presentations in national conferences. A majority of Board members
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page149 of408
                                                      48 of 188PageID
                                                               PageID#:5970
                                                                      #:149




considered these works alone, without counting Dr. Calvente’s editorial role in her co-edited
book and the public performances by her students, represent a sufficient volume to warrant
promotion and tenure. The significance and quality of her work were praised by the external
reviewers and echoed by the faculty in the unit report. Based on this evidence, a majority of the
Board found Dr. Calvente’s scholarship to have met the minimum standard of notable in the
Faculty Handbook. The Board encourages Dr. Calvente to continue her research trajectory with
more quantity and quality in peer-reviewed articles, and to establish a sustained research stream
with notable contributions to her field.

Some members of the Board shared the concerns by one of the external reviewers that the total
volume of scholarly work completed by Dr. Calvente is “slim” and that Dr. Calvente failed to
meet the unit’s expectation to complete her book project following 2 pre-tenure research leaves
(URC and Woodrow Wilson Career Enhancement Fellowship for Junior Faculty). With these
concerns, a minority of the Board considered that the unit’s assessment of Dr. Calvente’s
scholarship being short of excellent was justified.

In terms of service, some of the Board members shared the concerns of the faculty that a large
portion of Dr. Calvente’s service was outside her home unit. However, the Board agreed that Dr.
Calvente’s overall service contribution was sufficiently strong to meet the criteria for service in
the Faculty Handbook. The Board encourages Dr. Calvente to continue to build on her service
record, in her home unit, as well as at the college and university levels.

The Board recognizes that a local unit may define local standards at a greater level of specificity
and higher expectations in quantity and quality than what is stipulated in the Faculty Handbook.
The unit’s aspiration to excellence by requiring two of the three areas to be excellent is
appropriate and indeed commendable. Given the unit’s aspiration to excellence and the concerns
in teaching and scholarship in Dr. Calvente’s case, the dissenting members of the Board were not
convinced that Dr. Calvente has met the aspiration for excellence set by the unit in either
teaching or scholarship, nor do they find sufficient ground to overturn the judgement of an
overwhelming majority of the faculty and the Dean.

The Board congratulates Dr. Calvente on her accomplishments during her probationary period
and looks forward to a record of sustained excellence in teaching, research, and service in the
years to come.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page150 of408
                                                      49 of 188PageID
                                                               PageID#:5971
                                                                      #:150




This recommendation accurately reflects the University Board on Promotion and Tenure’s
discussion of Lisa Calvente’s application for promotion to Associate Professor with tenure.


_______________________
Gregory Mark
Professor of Law
College of Law


_____________________
Ruth Gannon Cook
Professor
School for New Learning


___________________
Ginger Hofman
Professor of Anthropology
College of Liberal Arts and Social Sciences

_______________________
Xiaoping Jia
Professor of Computer Science and Software Engineering
College of Computing and Digital Media

_______________________
Thomas Miller
Professor of Sound Recording Technology
School of Music

_______________________
Sandra Shelton
Professor of Accountancy
Driehaus College of Business



_______________________
J. C. Bruno Teboul
Professor of Organizational and Multicultural Communication
College of Communication
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 50 of 408 PageID #:5972




           Exhibit 6 to complaint
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page152 of408
                                                      51 of 188PageID
                                                               PageID#:5973
                                                                      #:152




June 10, 2019

Lisa Calvente
6748 N. Glenwood Ave.
Chicago IL 60626

Dear Professor Calvente,

I regret to inform you that I have decided that you will not be granted tenure and promotion to
Associate Professor. This decision is in agreement with a significant majority of your tenured
colleagues in Communication, with the Acting Dean of the College of Communication, and with
three of the seven members of the University Board on Promotion and Tenure (UBPT). My
decision regarding your application for promotion and tenure is based on my review of your
dossier (including your response to the college reports) and my attendance at the UBPT hearing
on your case.

The College of Communication guidelines indicate that, for tenure and promotion to Associate
Professor, the College “e pects e cellence in at least two areas, with the third being rated at
least very good.” The College recommendation on your application for tenure and promotion
evaluates your record as “very good” in the three areas of teaching, research, and service, and
reports a 2-19 vote recommending against your tenure and promotion. The Acting Dean
agreed with these evaluations and, accordingly, has also recommended against your
promotion. In its turn, and with your response to the college reports in hand, the UBPT
evaluated your record, paying particular attention to the issues where there had been
disagreement. Although the UBPT recommendation report did not dispute the tenured
faculty’s and acting dean’s evaluation of your record as “very good,” it notes that the oard’s
dissenting members out of did consider the College of Communication’s above guidelines
in making their decision on the case.

There is every evidence of careful review of this case at all levels. Exercising professional
judgment, experienced faculty colleagues have evaluated your work. Per the handbook, before
granting tenure, “the university should have no reasonable doubt about the faculty member’s
demonstrated qualifications and continued capacity to contribute to e aul’s distinctive goals
and academic mission” emphasis mine The slim majority voting in favor of your application
at the University level does not, in my view, sufficiently answer the significant concerns raised
  Case:1:20-cv-03366
  Case: 1:20-cv-03366Document
                     Document#:
                              #:89
                                1 Filed:
                                   Filed:06/08/20
                                          12/23/21Page
                                                  Page153 of408
                                                       52 of 188PageID
                                                                PageID#:5974
                                                                       #:153




by your colleagues in Communication, concerns which led them to vote against promotion and
tenure by an overwhelming majority.

As noted in the college and dean’s reports and as acknowledged by you in your response, the
concerns that have been raised in this tenure review have been raised in earlier probationary
reviews. Given this, I would like to clarify my own earlier role in the consideration of your case,
as Dean of the College of Communication during your 2015 and 2017 formal reviews. In the
conclusion to your response to the college reports, you referred obliquely to my “assessments”
during those earlier reviews. It is true that I twice overturned recommendations by significant
tenured faculty majorities for contract nonrenewal. I did not do so because I disagreed with
the substantive concerns of your colleagues but because I recognized, as do the College of
Communication guidelines, “that faculty members must have the opportunity to develop
strengths and skills as they progress toward tenure.” I had noted some improvement between
formal reviews and wanted to give you the opportunity to address the remaining stated areas
of concern in all three areas to meet the standards of the college by the time of your tenure
review. In my letters of renewal in 2015 and again in 2017, I encouraged you to heed the
developmental recommendations of your colleagues. Unfortunately, you have not done so to a
sufficient degree to change the evaluation of your colleagues.

This denial of tenure means that the 2019-2020 academic year will constitute your terminal
year of employment at DePaul University, with an effective termination date of June 30, 2020. I
am grateful for your years of service to DePaul University and the College of Communication. I
wish you the best in your future endeavors.

Sincerely,




Salma Ghanem, Acting Provost

cc:    Lexa Murphy, Acting Dean, College of Communication
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 53 of 408 PageID #:5975




           Exhibit 7 to complaint
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page155 of408
                                                      54 of 188PageID
                                                               PageID#:5976
                                                                      #:155




Faculty Appeals Board Report to the President of DePaul University

Date 01/15/20

To A. Gabriel Esteban [President DePaul University]

From Faculty Appeals Board [Brian Boeck, ose Liberti and Bridget Tenner]

CC Lisa B.Y. Calvente [Appellant].



Executive Summary

The Board finds that the Appellant was unfairly evaluated at multiple points during her
probationary period and that procedural deviations were material to the final decision
to deny tenure and promotion.

  egarding ground (2) for appeal “The evaluation of the candidate deviated from procedures in
the Faculty Handbook or in college or local academic unit guidelines, and the deviation was
material to the final decision” the board unanimously decided that the documentation meets
the criteria for a successful appeal.

 egarding ground (3) for appeal “The decision was the result of discriminatory practices
prohibited by university policies or applicable federal, state, or local laws” the board
unanimously decided that the documentation does not meet the criteria for a successful
appeal.



Though the ma ority of allegations advanced in the Appellant s appeal could not be
substantiated by our investigation, three avenues of investigation were central to our
determination. The Board considers two serious allegations to be both substantiated and
material to the decision to deny tenure and promotion 1. deviations from procedures in
the evaluation of teaching, 2. deviations from procedures by failing to provide clear and
consistent guidance regarding service in formal reviews (as mandated in FH
3.3.1). egarding a third serious allegation, the Board could not substantiate a conflict of
interest with respect to the Provost s final decision. Though it believes that the Provost
acted in good faith, serious concerns remain about how the 2015 and 2017 formal reviews
were weighted in the Provost s final decision. The Board finds that both reviews contain
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page156 of408
                                                      55 of 188PageID
                                                               PageID#:5977
                                                                      #:156




misrepresentations related to teaching that were never corrected or addressed in spite of
multiple attempts by the Appellant to draw attention to them.

Summary of Board nvesti ation

In accordance with Chapter 5 of the Faculty Handbook (FH) The Faculty Committee on
Appeals (FCA) received the appeal of Lisa Calvente (hereafter the Appellant) who was
denied tenure and promotion. The FCA selected a three member board (hereafter the
Board) consisting of the above-named faculty members to hear the appeal and make its
recommendation to the president.

Before the Board even received the Appellant’s appeal documentation, it began receiving
communications from concerned individuals from outside of DePaul University. The
Board considers the Appellant’s disclosing of the names of the Board members to
individuals outside the university to be a serious breach of confidentiality under Faculty
Handbook 6.4.2.

Section 5.1.2.3 of the Faculty Handbook states “ faculty member may appeal the decision to
deny an application for tenure and promotion. The appeal must be based on one or more of the
following grounds
      . The decision violated the faculty member s academic freedom.
      . The evaluation of the candidate deviated from procedures in the Faculty Handbook or in
        college or local academic unit guidelines, and the deviation was material to the final
        decision.
     3. The decision was the result of discriminatory practices prohibited by university policies or
        applicable federal, state, or local laws.”

The Appellant argued in “Memorandum of Lisa B.Y. Calvente to the Tenure Appeals
Board” [hereafter the Appeal] that all three grounds for appeal existed and were material
to the Interim Provost’s decision to deny tenure. The Board met for three hours to discuss
this documentation on 9/27/19 and engaged in additional consultations in subsequent
weeks.



In emorandum reliminary eview of r. isa . . alvente ppeal of Tenure and romotion
dated 9/27/19 the Board outlined to A. Gabriel Esteban [President of DePaul University]
its determination that the Memorandum of Appeal and Supporting Documentation did
not satisfy the criteria for ground (1) violation of academic freedom. The vote was 3-0 in
favor of not proceeding with investigation of this ground for appeal. The memorandum
also outlined a timeline for investigating ground (2) for appeal “The evaluation of the
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page157 of408
                                                      56 of 188PageID
                                                               PageID#:5978
                                                                      #:157




candidate deviated from procedures in the Faculty Handbook or in college or local academic unit
guidelines, and the deviation was material to the final decision,” and ground (3) for appeal “The
decision was the result of discriminatory practices prohibited by university policies or applicable
federal, state, or local laws.”

The Board conducted a thorough investigation as mandated by Faculty Handbook 5.1.1.4.
This investigation commenced with a careful and extensive review of the documentation
submitted by the appellant (“Memorandum of Lisa B.Y. Calvente to the Tenure Appeals
Board” consisting of 17 pages and attachment “Supplementary Documentation”
consisting of 133 pages of documentation) as well as documentation from the University
EE office.

The Board consulted with Stephanie Smith, Chief Human esources fficer regarding
claims of discrimination/retaliation, solicited information from three faculty members
with knowledge of the case, questioned the authors of reports that recommended against
renewal or promotion, and reviewed clarifications and additional documentation from
both the appellant and the College of Communication [hereafter the College]. The Board
sent the Appellant, Lisa Calvente, a do en initial questions and three additional requests
for documentation or clarification. The Board sent Alexandra (Lexa) Murphy, Acting
Dean, College of Communication [hereafter Dean], 11 initial questions, 23 follow-up
questions and two requests for additional documentation. The Board sent Interim
Provost, Salma Ghanem [hereafter Provost], 3 initial questions and 2 follow up
questions. It received timely and helpful responses to all of its queries.

The Board also solicited and carefully scrutini ed three groups of additional evidence. It
reviewed the Appellant’s Student Evaluations of Teaching, both quantitative/statistical
and open-ended student comments and responses, for all classes offered at DePaul
through the 2017 formal review. It reviewed all letters from the Appellant’s tenure
dossier documenting her service. It reviewed anonymi ed (all faculty names removed)
copies of the service sections of the C s of all candidates for tenure from the College of
Communication who were ranked by the College Personnel Committee as “excellent” in
service within the previous ten years.

This evidence and documentation was comprehensively discussed by the Board on
 ovember 7, 2019 and subsequent occasions.

    TE Italics will be used when quoting directly from the documentation reviewed by
the Board.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page158 of408
                                                      57 of 188PageID
                                                               PageID#:5979
                                                                      #:158




  round for Appeal        Procedural     iolations

Appellant’s Allegations egarding the Provost

In section one of the appeal the Appellant advances three ma or allegations regarding
procedural violations by the Provost.           (Discrimination/ etaliation allegations
interspersed on pages 1-15 of the appeal will be addressed below in the section devoted
to ground for appeal three).

1 (A, page 2 of appeal) the Appellant alleges that the tenure decision by the Provost failed
to provide a “compelling reason” for overturning the recommendation of the UBPT.

2 (B, page 5 of appeal) the Appellant alleges that the tenure decision by the Provost,
violated the University’s conflict of interest policies.

3. (a, page 3 of appeal) the Appellant alleges that the tenure decision by the Provost relied
upon concerns articulated by the College during formal and informal reviews, and
violates the University’s criteria with regard to tenure and promotion procedures by
failing to allow for university-wide consideration of her tenure case.



The Board’s Findings

  egarding allegation one, the Board finds that the Provost (in the decision letter to the
Appellant dated une 10, 2019) did provide multiple reasons for overturning the
recommendation of the UBPT.

In discussions about whether those reasons were compelling, the Board devoted
particular attention to Dr. Ghanem’s statement in the letter to the Appellant dated une
10, 2019

“The slim ma ority voting in favor of your application at the niversity level does not, in my view,
sufficiently answer the significant concerns raised by your colleagues in ommunication, concerns
which led them to vote against promotion and tenure by an overwhelming ma ority.”

This statement appears to imply that there exists a specific proportion of positive votes
by the UBPT which would have sufficiently answered the concerns raised by faculty
members in the College. Dr. Ghanem’s response to the Board, however, reiterated her
agreement with the evaluation of the UBPT board members who did not assess the
Appellant’s work as excellent in teaching and research. The UBPT recommendation
dated May 10, 2019 clearly conveys the reasons advanced by the dissenting minority.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page159 of408
                                                      58 of 188PageID
                                                               PageID#:5980
                                                                      #:159




The Board discussed whether or not the reasons provided by the Provost for tenure denial
meet the Faculty Handbook’s [3.5.6.3] threshold for providing compelling reasons in a
written explanation. The Board also focused its investigation on determining the extent
to which student comments about intimidating and dismissive’ behaviors (discussed
below) influenced the Provost’s tenure decision. The results of that investigation inform
the Board’s findings regarding other allegations discussed below. The Board does not
find that the Provost violated Section 3.5.6.3 of the Faculty Handbook, though it does find
that flawed personnel documentation informed the Provost’s reasoning. The Appellant’s
case was one of only 3 (out of 47) in which earlier formal or probationary reviews
conducted at the unit or college level were specifically referred to or cited in the Provost’s
letter of decision regarding tenure/promotion.

 egarding allegation two, the Board finds that the tenure decision by the Provost did not
violate the University’s conflict of interest policies. The Board notes that the appeal did
not provide sufficient, specific evidence to substantiate the claim of a conflict of interest.
  or did the Appellant refer to relevant sections of the University Code of Conduct, which
explain or define conflict of interest.’

The Appellant asserts that Dr. Ghanem should have recused herself from consideration
of her tenure case. n Page 6 of the appeal the appellant states “ r. hanem s decision
not to recuse herself from my case constitutes a clear conflict of interest.” The Board disagrees
and notes, for reasons further outlined below, that the specific facts of this case would
not mandate a recusal according to Faculty Handbook [3.5.1.1.h] or university policy.
Moreover, a recusal would potentially have made an unprecedented case even more
procedurally complicated, since Faculty Handbook Chapter 5 provides no clear guidance
for handling an appeal in such circumstances.

The preponderance of evidence submitted to the Board demonstrates that the Provost
acted in good faith and ob ectively evaluated the Appellant’s performance based on the
evidence provided by the Appellant and the College.

  egarding allegation three, the Board finds that the Provost did assign undue weight to
concerns, particularly those about teaching, articulated by the College during earlier, pre-
tenure formal and informal reviews.

In its deliberations regarding allegation three, the Board was particularly concerned by
the unique aspects of this particular case. It finds that Provost Ghanem formally occupied
two distinct roles in the handling of the Appellant’s tenure case within the same academic
year [as a result of the fact that the Provost started the academic year as Dean of the
College of Communication]. Dr. Ghanem states that she did not occupy two distinct roles
because she “did not weigh in at all as dean on r. alvente s tenure and promotion review or
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page160 of408
                                                      59 of 188PageID
                                                               PageID#:5981
                                                                      #:160




that of any of her ommunication colleagues who went up in             .” However, in the
opinion of the Board, the sudden transition of Dr. Ghanem to a new leadership role in the
university created a situation which was unprecedented in recent university practice. In
her newly assumed role as Acting Provost, Dr. Ghanem was significantly more familiar
with Dr. Calvente’s case, as presented through the problematic lens of College personnel
documentation, than with other tenure cases she considered as Provost in AY 201 -2019.
The undue weight assigned to concerns articulated in College personnel documentation
was therefore material to the Provost’s decision.

In its consideration of evidence regarding allegation three, the Board found that a specific
aspect of the Appellant’s argumentation satisfies the criteria for a successful appeal.
Faculty Handbook Section 3.3.1.3 clearly specifies that the tenure review is a university-
wide consideration.

  n page 4 of the appeal the Appellant alleges that the College had a disproportionate say
in her tenure process, in violation of university-wide consideration. She states “ r. alma
  hanem, in her role as nterim rovost then cting rovost of the niversity articulates
concerns that would have been appropriate to her previous role as ean of the ollege of
  ommunication. n the position of nterim rovost, and by privileging ollege concerns, r.
 alma hanem violates the re uirements of university wide consideration.”

The Board finds that the UBPT conducted a substantive review applying current
university-wide standards and criteria as stipulated by Faculty Handbook Section
3.5.6.1.c.

The preponderance of evidence examined by the Board substantiates the Appellant’s
allegation that the Provost’s reasons for overturning the recommendation of the UBPT
assigned greater weight to college concerns than university-wide criteria.



Appellant’s Allegations egarding Bruno Teboul, faculty of College of Communication
and member of the UBPT.

In section one of the appeal the Appellant advances an allegation regarding procedural
violations by a member of the College who served on the UBPT.

  n page 6, marked as b.’ , the Appellant alleges a violation of conflict of interest policies
by a member of the College during her formal and informal reviews and during her UBPT
review.

The Appellant states
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page161 of408
                                                      60 of 188PageID
                                                               PageID#:5982
                                                                      #:161




“The composition of the         T also included a faculty member of the ollege, r. runo Teboul.
  hile the     T voted to recommend tenure, the nterim rovost s letter overturning the              T
recommendation cited the “slim ma ority” of the vote as a reason for the negative outcome. This
further suggests a conflict of interest that should have been e plicitly acknowledged per the Faculty
Handbook.”



The Board’s Findings

The Board questioned Dr. Teboul. It deems his response, which outlined his adherence
to the requirements of the Faculty Handbook Section 3.5.1.1.b, to be credible.

  egarding this allegation, the Board finds that the evidence does not substantiate the
claim of conflict of interest.



Appellant’s Allegations egarding Contract Year In College Pre-Tenure eview

In section one of the appeal the Appellant advances two allegations regarding procedural
violations with respect to determining contract year in College pre-tenure reviews.

1 (C, Page 6 of the appeal) The Appellant alleges that the College failed to follow
University policies and procedures in the evaluation of scholarship, teaching and service
appropriate to Contract Year.

2 (a, Page 7 of the appeal) The Appellant alleges a violation of Section 3.2.2 of the Faculty
Handbook with regards to leaves of absence.



The Board’s Findings

 egarding allegation one, the Board finds it probable that minor procedural errors
occurred, but also finds that these were not material to the outcome of the tenure case.

 egarding allegation two, the Board finds it probable that minor procedural errors
occurred, but also finds that these were not material to the outcome of the tenure case.

Based on a careful evaluation of the evidence, the Board determined that any minor,
unintentional errors or procedural uncertainties about contract year resulting from
leave(s) of absence would not have required a reassessment of the entire file during pre-
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page162 of408
                                                      61 of 188PageID
                                                               PageID#:5983
                                                                      #:162




tenure reviews.



Appellant’s Allegations that the College            iolated Policies in the Evaluation of
Scholarship.

In section one of the appeal the Appellant advances two ma or allegations that the College
violated policies for the evaluation of scholarship.

1 (on page 9, 11) the Appellant alleges that the College violated Faculty Handbook Section
3.5.2.c, which reads “ ll documents considered at each level must be passed on to subse uent
levels,” by failing to send out all of her public performances to external reviewers for
evaluation.

2 (on page 9, 11) the Appellant alleges that the College violated its own criteria for
evaluating scholarship and university policies by not counting her public performances
as scholarship.

The Board focused its investigation on two particular statements in the appeal.

  n page 9 of the appeal, the Appellant states “ t came to my attention after my e ternal
letters had been submitted to the ollege, that in fact the College had violated University
procedure and failed to transmit my dossier to external reviewers. [emphasis in bold
Appellant’s] The ollege did not notify me of this occurrence rather, one of my e ternal letter
writers noted the omissions of the materials in their letter, and this came to my attention after
  cting ean of the ollege le andra urphy sent me copies of the letters.”

The Board notes that there is a ma or difference between failing to transmit an entire
dossier and failing to transmit or reclassifying individual items.



  n page 11 of the appeal, the Appellant states “The ollege s failure to acknowledge my
public performances, which involved community partners and students, and were not restricted
to the classroom, violates both niversity policy and ollege criteria where the evaluation of
scholarship is concerned. oreover, was hired in the ollege as a race and performance scholar.
The ollege s failure to send out my performances for evaluation and its discounting constitutes
a violation of ollege and niversity uidelines. Furthermore, ection . . of the Faculty
Handbook provides that “ t all levels of evaluation the following processes must be followed...c
All documents considered at each level must be passed on to subsequent levels”
[emphasis in bold Appellant’s]. The ollege s failure to send out my performances to the
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page163 of408
                                                      62 of 188PageID
                                                               PageID#:5984
                                                                      #:163




e ternal reviewers for evaluation is also in direct violation of this aspect of the niversity s
policies. t s impact, given that the nterim rovost used the ollege s ranking of “very good” for
my scholarship in order to substantiate her decision to overturn the     T recommendation, had
a direct and negative effect in the outcome of my tenure application.”

To investigate the Appellant’s claims, the Board requested additional clarification from
the Appellant about how the performances were documented.

Faculty Handbook Section 3.6.1.1. includes among Items Supplied by the Candidate’ the
following statement “ single copy of articles, papers, published manuscripts, video and audio
recordings, and other e amples of scholarship and creative activities.” Faculty Handbook
Section 3.5.1.3 provides guidelines for evaluating collaborative work. Therefore the
Board determined that it was the candidate’s responsibility to record and properly
document her contributions to any performances that would be included in the tenure
dossier. It also determined that the format in which the performances were documented
would be crucial to its investigation.


Additional Information Uncovered During Investigation

Extract from the Appellant’s response to the Board dated September 22, 2019.

Board uestion Pages 10-11 discusses how public performances were evaluated. Please
provide a specific description of how each performance was documented at the time of
the performance and the specific formats in which a record of each performance was
preserved.

Appellant s response s part of my pedagogical approach that comes from participatory
performance theater,     re uire all aspects of the documenting and advertising the public
performance to come from the students. ach time one of these performances are held the students
are responsible for recording it because part of the agenda is for the students to find agency and
accountability in these performances. s such each performance was recorded differently. n         ,
the performance was recorded by the now defunct technology services team in the college. n        ,
a friend of a student in the performance recorded it, and provided a outube link to the
performance. n          , the performance was not digitally recorded so in lieu of the actual
performance, provided a letter from ub n lvare ilva, who attended the event and was my
advisory contact from the teans enter for that particular course.               also provided the
advertisement from the students for the performance. n        , a student asked her co worker from
the ollege of omputing and igital edia to film the performance. Helen amon oore, who
attended the event, from the teans enter also had a photographer archive the performance.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page164 of408
                                                      63 of 188PageID
                                                               PageID#:5985
                                                                      #:164




Board uestion How was each performance documented in the dossier

Appellant s response uring each review period that followed a performance, provided the
  ollege with documentation of the performance based on the method of documentation specific to
that particular piece. n my tenure dossier, this took the form of web links to the performances
     letters from those who attended and screened the performances                any relevant
advertisements. ecause each performance has both a scholarly as well as pedagogical component,
the method of documentation and advertising changes according to the will of the student
participants and community partners with whom collaborate to stage these performances. ome
performances were filmed, while others were not. ll, however, were documented in my dossier
according to ollege and niversity guidelines.

End of Extract



The Board also questioned Dean Murphy about the submission of the Dossier.

Extract from Dean’s response dated September 23, 2019.

Board uestion      ho sent out Lisa Calvente’s dossier  n what date was the dossier
transmitted to external reviewers    ere any items in the dossier not transmitted to
external reviewers

Dean s response sent out the dossier to the selected e ternal reviewers. Two dossiers were sent
on         and a third was sent on       .      ouTube link to a class based performance was
not included.

Board uestion If any dossier items were not transmitted to external reviews, what were
those items, who made the decision not to transmit items, and what was the rationale for
this decision

Dean s response s noted above, a link to a class based performance was not included in the
dossier sent to the e ternal reviewers. The link was embedded in the list of the citations of the
articles being sent out and was missed in the compilation of the items.

Board uestion egarding the transmission of Lisa Calvente’s dossier to external
reviewers, on what date did you become aware of allegations that the complete dossier
was not sent out to external reviewers Is it correct that according to College guidelines
the complete dossier should be transmitted to external reviewers Please provide all
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page165 of408
                                                      64 of 188PageID
                                                               PageID#:5986
                                                                      #:165




documentation and correspondence relating to this issue. [Board note                            such
documentation was provided and reviewed].

Dean s response n ctober th, isa alvente let us me and Hai Tran, the chair of the
personnel committee know of her concern that the performance link was not sent out. There is
nothing in the college guidelines that designates that the entire dossier must be sent to the e ternal
reviewers. have included the email correspondence related to this conversation. ou will see in
these e changes, that since there was still time in the review process, offered to rectify the
situation by sending out the performance link to the reviewers. However, in looking at the link,
reali ed that it was a ouTube video with no conte t or e planation for the performance. Therefore,
  asked isa to provide information about the performance that could be sent to the reviewers. y
rationale was that there would be no way for the reviewers to make any assessment of her work on
this without knowing how much she contributed to the scripting and staging of the performance
 versus her students , when and where it was performed, and how many times. These are part of
the norms established by the ational ommunication ssociation erformance tudies ivision
              to help with the evaluation of creative performances as scholarship. one of this was
provided by isa alvente for this or any of the performances.

End of Extract

Dean Murphy also provided to the Board copies of email correspondence with the
appellant regarding the performances and dossier dated ctober 1 , 23, and 24, 201 .

The Board’s Findings

  egarding allegation one, the Board finds that a minor procedural error occurred, but
also finds that this error was not material to the outcome of the tenure case. Dean Murphy
acknowledged that one YouTube video was not provided to external reviewers and
sought to rectify the situation by proposing to transmit it to reviewers in late ctober
201 . The College’s email correspondence with the Appellant demonstrates that the
Appellant elected not to send the YouTube video or additional contextual explanation to
external reviewers in late ctober 201 .

  egarding allegation one, the Board finds that if the Appellant intended to rely on the
public performances as key examples of scholarship/creative activities in her tenure
dossier, the Appellant should have taken more proactive steps to document those
activities and solicit timely evaluations of them from other scholars and DePaul faculty
members as suggested by Faculty Handbook Section 3.4.2.2, which states “ n academic
unit may evaluate oral presentations or creative activities by various means including but not
limited to listening to recordings, e amining drafts, or soliciting the views of other scholars
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page166 of408
                                                      65 of 188PageID
                                                               PageID#:5987
                                                                      #:166




including other members of the   e aul faculty who were in attendance.”

  egarding allegation two, the Board finds that the College did not violate its own criteria
for scholarship by not counting public performances, which involved students and were
documented by students, primarily as scholarship.

 egarding allegation two, the claim that the Appellant was “hired in the ollege as a race
and performance scholar” could not be substantiated by the Board. The original ob
advertisement for the College position in Intercultural Communication and Performance
Studies’ did not specify any explicit expectations for giving public performances.

  egarding allegation two, the Board finds that since the UBPT recommendation dated
May 10, 2019 did not dispute the College’s evaluation of the public performances, any
claim regarding violation of policies or Faculty Handbook Section 3.4.2.2 cannot be
substantiated.




Allegations elating to the 2015 Formal eview

In section one (page 12, 13) and section three (page 17) of the appeal, the Appellant
advances an allegation that starting in 2015 the College violated the Faculty Handbook
Section 3.4.2.1 by engaging in unfair and unsystematic evaluation of her teaching.

The Appellant alleges on pages 2, 6, , 15, and 17 that the 2015 formal review initiated a
pattern of misrepresentation of student comments in assessment of her teaching.

Faculty Handbook Section 3.4.2.1 states “ ffective teaching is the first re uirement in
decisions at all levels on appointment, retention, promotion and tenure. Teaching evaluation
must be done in a systematic, documented manner, including contributions from the candidate s
students and peers.”

Faculty Handbook Section 4.1 states “ very faculty member is entitled to fair and consistent
decision making procedures as a protection against violations of academic freedom or arbitrary
adverse decisions.”

In support of her argument that a pattern of misrepresentation began in 2015 and was
material to the outcome of the tenure case, the Appellant demonstrates through citation
that the Provost (page 3) referenced the 2015 formal review in her tenure decision. The
Appellant also demonstrates through citation (page 12) that a prominent reference to
“intimidating or dismissive” classroom behaviors also appears in the Dean’s
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page167 of408
                                                      66 of 188PageID
                                                               PageID#:5988
                                                                      #:167




recommendation.

Additional Information Uncovered During Investigation

The Board investigated whether or not a pattern of misrepresentation could be traced
backed to the 2015 formal review. It notes that the 2015 formal review introduced
phrasing about intimidating’ classroom behaviors that recurs in subsequent personnel
documentation (including College tenure deliberations).

The Board compared the College 2015 formal review’s claims about patterns in student
comments to the underlying evidence. The Board was disturbed to discover that the
2015 formal review provided a highly selective, negative presentation of patterns in
student comments, the review downplayed (almost to the point of willful distortion)
positive aspects of the candidate’s teaching, and several statements in the review did
not provide a fully accurate representation of actual proportions and patterns in the
evidence. In fact a ma or summary claim of the review “ hile the ma ority of isa s
course evaluations repeat both themes of adamant support appreciation with feelings of
intimidation and dismissal, this tension is elevated in her lower level core classes   ,
   T      ,          .” could not be substantiated by examining the underlying
evidence. The personnel committee seems to have cherry-picked negative comments
(often unrepresentative ones) and made no serious effort to correlate the negative
comments with negative comments qualified in a positive way in question 22 (how the
class could be improved) and positive comments in question 21 (how the class was
helpful). Many more students had an overall positive experience of intellectual growth
than are reflected in this selective representation. Frequent student comments about the
Appellant’s courses promoting critical thinking and/or being challenging in a good way
were either downplayed or ignored. Upon reviewing all of the student evaluations
considered in the 2015 formal review, the Board discovered that although there are
small numbers of explicit student comments in teaching evaluations conducted over
several quarters mentioning an intimidating or uncomfortable classroom environment,
the College did to some extent misrepresent the patterns and proportions of such
comments.

The Board also notes that a long discussion of “ oncerns of students feeling intimidated
and or uncomfortable” preceded the College’s negative tenure vote. The earlier formal
reviews were considered a main reason for discounting the positive improvements
noted in the 201 Personnel Committee report because it “did not ade uately address a
pattern of student concerns about feeling intimidated and or uncomfortable in isa s classroom.”
The College recommendation regarding tenure states “ evertheless, the tenured faculty
e pressed an overarching concern that the narrative [Board ote in the Personnel
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page168 of408
                                                      67 of 188PageID
                                                               PageID#:5989
                                                                      #:168




committee report] underplayed the shortcomings in isa s teaching record that warranted the
  ery ood rating, and by focusing mainly on recent evaluations, it did not fully reflect the
history of the case.”


The Board’s Findings

The preponderance of evidence demonstrates that the 2015 formal review initiated a
pattern of College misrepresentation of student comments in teaching evaluations.

The preponderance of evidence makes it probable that the College violated the Faculty
Handbook’s provisions on fair and systematic evaluation.

The Board finds that misrepresentations in the flawed 2015 formal review were material
to the outcome of the tenure case, because the College elected to emphasi e the history
of the case as a ma or rationale for its vote to deny tenure in fall 201 .



Allegations elating to the Evaluation of Teaching in the 2017 Formal eview

In Section I.D of the appeal, the Appellant advances the allegation that “the rovost and
  ollege failed to follow niversity and ollege olicies and rocedures with respect to the
evaluation of cholarship, Teaching and ervice.”


2 (b, page 11 of the appeal) the Appellant charges that the evaluation of her teaching
violated University and College policies and procedures.



Additional Information Uncovered During Investigation


 egarding the teaching allegation related to the 2017 formal review, the Board finds that
a specific aspect of the Appellant’s argumentation satisfies the criteria for a successful
appeal.

The Appellant attributes College concerns about her teaching to her chosen methods of
“challenging” the students in her courses. The College, on the other hand, characteri es
particular, alleged incidents as “intimidating” to students, which would likely fall
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page169 of408
                                                      68 of 188PageID
                                                               PageID#:5990
                                                                      #:169




outside of the University’s policy describing “challenging students to grow intellectually
and morally” as part of effective teaching [Faculty Handbook Section 3.4.2.1].

The Appellant also references a 2016 Faculty Council proposal to phase out the use of
Student Evaluations in faculty personnel decisions. A detailed review of Faculty
Council Minutes did not indicate that this resolution was ever passed or implemented.

The Appellant argues that the Dean’s statement that “at least one comment that referenced
intimidating or dismissive behavior was seen in of her course evaluations,” citing a statistic
that appeared in the Appellant’s 2017 Formal eview, is incorrect and was used
inappropriately.

In email correspondence between the Appellant and Hai Long Tran, Dr. Tran explained
the 55 calculation in her 2017 Formal eview

Here is the full sentence “ n the current review period, such sentiments were visible every uarter
and mentioned e plicitly and implicitly in more than          percent     out of    of isa s course
evaluations.” n the “ ppendi es to Tenure and romotion eview tatement,” you used a
different method of uantification with a different time frame. Therefore, if your findings were not
consistent with the percentage in the personnel document, it doesn t mean that the number in the
review report was incorrect. nyway, this is not part of your T        review and we ust wanted to
mention it here to clarify.
                                                   Email from Hai Long Tran to Lisa Calvente
                                                           Friday, ovember 02, 201 12 22 PM

“ n the current review period, such sentiments were visible every uarter and mentioned e plicitly
and implicitly in more than      percent out of of isa s course evaluations.” The sentence is
self e planatory. e followed the college T     guideline and identified pertinent mentions in each
course evaluation to see if they were recurring across course evaluations.
                                                   Email from Hai Long Tran to Lisa Calvente
                                                         Monday, ovember 05, 201 1 59 PM

In contrast, the College’s promotion and tenure recommendation submitted to the Dean
characteri ed a notably different atmosphere.

  eferences to an intimidating, harsh, uncomfortable atmosphere for students ability to speak their
mind was reduced to one isolated class among five sets of T s in the past year available for
review. oth peer observers assessed isa s classroom environment to be open and safe. “ t was
instructive to witness how r. alvente corrects students misperceptions unambiguously while
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page170 of408
                                                      69 of 188PageID
                                                               PageID#:5991
                                                                      #:170




maintaining an atmosphere of safety,” r. Foster noted after her visit to isa s pring
ntercultural ommunication class.
   College of Communication ecommendation for Tenure and Promotion to Associate
                                                                                Professor
                                                                         ovember 16, 201

Despite this 201 observation, and despite Dr. Tran’s claim that the 2017 Formal eview
“is not part of your T review,” the 55 statistic was cited in the Appellant’s promotion
and tenure recommendation letter written by the Dean to the University Board on
Promotion and Tenure.

 n the        formal review, the personnel committee claimed that at least one comment that
referenced intimidating and dismissive behavior was seen in    of her course evaluations.
       Letter from Alexandra Murphy to the University Board on Promotion and Tenure
                                                                               anuary 9, 2019

The Board questioned the Dean for specific information about this citation and statistic,
and received the following response.

 relied on the       Formal eview personnel committee s assessment of these comments. asked
the author of that report to provide the original analysis attached to this response .
                                                   Email from Alexandra Murphy to the Board
                                                           Tuesday, ovember 5, 2019 7 10 PM

The Board reviewed the relevant course evaluations, together with the analysis used in
the 2017 Formal eview calculation, as provided by the College. f 21 total comments
in the evaluations of these nine courses, seven comments had been flagged in the 2017
Formal eview. These seven were spread across five of the Appellant’s nine courses, and
it was from this five and nine that the statistic “more than      percent   out of ” was
obtained. Moreover, two of the seven comments did not express negativity on behalf of
the respondent, but were instead written in a sort of hearsay or observational perspective
about the experiences of others. The inclusion of these two comments in the analysis is
open to question, since anyone directly impacted would have had their own opportunity
to provide feedback about the course. Those two comments are included below, with
emphasis added by the Board in bold.

  personally do not feel this way, but other students conveyed to me that they were often
uncomfortable with alvente s teaching style. ne student remarked that the “looks” she would
give in class were “revealing,” and made some students uncomfortable to share. n addition,
similar to a lot of students in this class, do believe r. alvente has a very firm set of ideals. do
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page171 of408
                                                      70 of 188PageID
                                                               PageID#:5992
                                                                      #:171




not think introduction of new material or theory would necessarily change them. Therefore, there
was often a lot of heated tension that went unnoticed between some students and the professor.
  erhaps a less “e pressive” way of articulating what r. alvente thought may have eased some
of the tension. however am only conveying opinions from other students.
            Fall                               HTH       Topic in ntercultural ommunication

The course is great but you certainly come on a little strong. didn t mind it but it s possible
some people didn t feel comfortable opening up because of it.
                                           pring                   ntercultural ommunication

  hile reading through the 21 comments, the Board was struck by the preponderance of
praise and appreciation for the Appellant and for the courses that she taught. These
appeared in evaluations of all nine courses under consideration.

The 2017 Formal eview’s selective reading of these course evaluations gives a
misrepresentative characteri ation of the Appellant’s teaching effectiveness, and does not
account for the full range of qualitative comments that she received. Moreover, this is a
crucial issue in the Appellant’s tenure case because the statistic from that eview was
cited in her promotion and tenure documentation.

The Board notes that the 2017 College Tenured Faculty ecommendation, resulting from
a meeting held on ovember 17, 2017, called qualitative comments pertaining to students
feeling intimidated’ or uncomfortable’ a ma or theme in her teaching’ and cited the 55
percent statistic in support of this conclusion. This clearly indicates that undue weight
was assigned to the flawed statistical conclusion. In addition, the report includes the
following statement “For the faculty members who find such comments to be a ma or reason for
non renewal, there is a point at which the student responses reflect a problematic pattern that
should have been addressed through forms of pedagogy that can invite students to critically
e amine a range of social in ustices.” Crucially, this is the only specific reference to non-
renewal in the 2017 College discussion.


The Board’s Findings

The preponderance of evidence demonstrates that the College placed undue weight
upon the flawed 2017 formal review in its tenure evaluation.

The board finds that misrepresentations in the flawed 2017 formal review were material
to the outcome of the tenure case, because the College and Dean elected to emphasi e
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page172 of408
                                                      71 of 188PageID
                                                               PageID#:5993
                                                                      #:172




the history of the case as a ma or rationale for the College vote to deny tenure in fall
201 .



Appellant’s Allegations egarding Evaluation of Service

1 (c, page 14 appeal) alleges that the College violated university policy in the evaluation
of her service.

Section 3.5.1.1 of the Faculty Handbook states “There are normally three levels of evaluation
prior to the final decisions of the provost the local academic unit, the college, and the university.
 n the absence of departmental or school structures, the local academic unit is the college and thus
there are only two levels the local academic unit and the university.”

The Appellant states “The ollege, in its argument that my service was deficient in providing
service to my unit in the ollege, violates niversity policy that states that in the absence of
departmental or school structures the local academic unit is the ollege. Therefore, the assessment
of my service as not meeting the re uirements for “e cellence” is not in accordance with niversity
policy.

Furthermore, because it is always difficult to ascertain, assign, and weigh the value of ervice,
have compared my record of service to the dossiers of colleagues in the ollege who have shared
their information with me. r. aria e oya, r. ydney illard, and before his departure from
the ollege, r. ou utigliano, have consistently fared better in their rankings. uring my
reviews, have been told to e ercise more in unit service the niversity, however, makes no
distinction between service in the ollege of ommunication and ervice in the ollege s specific
units.”

The Board’s Investigation

The Board’s conducted its own investigation and requested additional materials for
review in addition to the items in the Appellant’s original dossier and supporting
documentation. To analy e the service expectations and contributions to the home unit
and university, the Board questioned the Appellant, Dean Murphy and Provost Ghanem.
The University Board Promotion and Tenure report dated May 10, 2019 provides only
limited insights about its discussions of service.

“ n terms of service, some of the oard members shared the concerns of the faculty that a large
portion of r. alvente s service was outside her home unit. However, the oard agreed that r.
 alvente s overall service contribution was sufficiently strong to meet the criteria for service in
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page173 of408
                                                      72 of 188PageID
                                                               PageID#:5994
                                                                      #:173




the Faculty Handbook. The oard encourages r. alvente to continue to build on her service
record, in her home unit, as well as at the college and university levels.” [UBPT eport p. 3]

The Board found the statement of the UBPT not quite precise as to the service contribution
of the Appellant, so the Board decided to provide more extensive documentation and
uxtaposed it with the Board’s discussions of that evidence.

The material in both formal reviews that took place in 2015 and 2017 and an informal
review from a letter of recommendation of Dr. Alexandra Murphy in 2016 provides
support to the Board’s finding that the Appellant received unclear guidelines about
making progress towards tenure and promotion.



2015 Formal eview and Board Discussion

The following is a complete excerpt of the Service section of the College formal review
dated March 7, 2015, with incorrect contract year noted [page 6] in the dossier of the
Appellant

“ uring her second year review in         , the faculty evaluated isa s service contributions to be
very good, marking her work on a one year search committee, a college task force, and a university
task force. ince her previous review, isa continues as an affiliate to the frican lack iaspora
  tudies rogram and the atino tudies rogram. isa serves on the ollege on Tenure Track
  eview oard and the ocal eview oard of the ollege of ommunication. s part of the ollege
wide symposium on violence in          , e aul Talks, isa was one of the eight event leaders, and
she organi ed one of the spotlight panel discussions, bringing together a panel of scholars and
activists for one of the two evening programs. he works with the ffice of ulticultural tudent
  uccess in the en of olor nitiative for student retention and success, as well as the iberal
  tudies ouncil s Task Force on ersonal Transformation and esponsibility                 lobal and
Transnational rograms.

 he has successfully chaired a college thesis committee, and is currently working as chair of a
second thesis. he has written three comprehensive e am uestions more currently , and has
served as undergraduate senior thesis advisor on two student pro ects. he has served on the
editorial board of ultural tudies since          and Te t and erformance uarterly since            .
 isa reviews for these ournals and also reviews papers for her division in her national
organi ation. n the personnel meeting, it was reiterated that she will need to obtain letters from
committee chairs to describe and detail specific committee work for review processes, as per college
policy.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page174 of408
                                                      73 of 188PageID
                                                               PageID#:5995
                                                                      #:174




The ersonnel ommittee agrees that her service is fair to good and that she is making fair to good
progress toward tenure in this area, although two personnel committee members indicated she was
not making satisfactory progress toward tenure in service.

  onclusion
  ased on the ersonnel ommittee s unanimous evaluation that isa is not making progress
toward tenure in teaching or research, we do not recommend retention and contract renewal.”



The Board discussed that in this document the Appellant’s service is considered fair to
good and that she is making fair to good progress towards tenure in the area of service.
The service contribution appears to have been in good standing, since the
recommendation of termination of the contract is based in teaching and research, and not
on service.

The Board notes that there is no mention in this report that the Appellant should increase
visibility in serving in the home unit. The report mentions that two personnel committee
members indicated that the Appellant was not making satisfactory progress toward
tenure in service, but there is no guidance about specific roles or committees which would
provide constructive feedback to provide the Appellant a service path moving forward,
to achieve tenure.



2017 Formal eview and Board Discussion

The following is a complete excerpt from the ervice section of College’s ecommendation
of Continuation or Termination of Untenured Faculty Contract, dated ovember 2017,
page 7 and

“ n the previous review period, isa s contributions within the ollege of ommunication were
linked to her work as a member of the ontingent Faculty eview oard and the ocal eview
  oard, an event leader of the symposium on violence, a thesis committee chair undergraduate
senior thesis advisor, and a comprehensive e am writer. t the university level, she served as an
affiliate to the frican lack iaspora tudies rogram and the atino tudies rogram and
contributed to the ffice of ulticultural tudent uccess in the en of olor nitiative, as well
as the iberal tudies ouncil s Task Force on ersonal Transformation and esponsibility lobal
and Transnational rograms. n her service to the academy, isa reviewed manuscripts for
 ournals as part of their editorial board ultural tudies, Te t and erformance uarterly and
papers for her national organi ation s conferences. n the current review, isa continued several
of her e isting services and took on some others.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page175 of408
                                                      74 of 188PageID
                                                               PageID#:5996
                                                                      #:175




  t the college level, isa has oined the Term Faculty eview ommittee since pring              and
has begun her actual service since the                 academic year due to her research leave .
  ssociate ean le andra urphy appreciated her valuable, hard work as well as her insights
into the candidate s strengths and areas for improvement. he continued her role as part of the
 ocal eview oard until Fall         , when this service was terminated due to new     procedures.
  nder this service, isa reviewed        applications. ince      , she has chaired graduate thesis
and pro ect committees, advised a master s pro ect, and administered comprehensive e am
 uestions. n Fall        , isa volunteered to help r. ucy u in reviewing the syllabi for
     that non tenure tenure track faculty used for ntercultural ommunication to ensure uality
control. he also participated in some faculty searches and attended the graduation foundation
course, college meetings and other events, such as award ceremonies and alumni receptions.

   t the university level, isa has collaborated actively across programs at e aul. he has both
e pertise and passion for interdisciplinary work across colleges. isa has been an affiliated faculty
of the frican and lack iaspora tudies rogram                  since     and a member of the
   dvisory ommittee since          . ccording to           rogram irector, mor ohli, she has
served actively and thoughtfully and been invested in the broader culture and activity of          .
  ince      , isa has become an affiliate to the ritical thnic tudies        program          in the
  ollege of iberal rts and ocial ciences.            irector aura ina e pressed her appreciation
for isa s commitment as an invaluable member, who has impacted            students in a number of
ways. isa has continued her e isting role as an affiliate to the atino tudies rogram
and has been part of iberal tudies ouncil urvey eview ubcommittee, which according to
   irector of iberal tudies ohn hanahan drafted recommendations based on the eneral
  ducation Task Force report and feedback from colleges in spring          .         hair, ourdes
Torres, acknowledged isa s contributions over the past years, including her participation in a
tenure track hire in the past year. n addition, isa has reached out to the omen and ender
  tudies raduate rogram to offer her service in mentoring their students.

  isa s service record e tends to the academy and the community. s part of the editorial board of
   ournals Te t       erformance uarterly and ultural tudies , she has reviewed appro imately
one manuscript per year for each ournal. n          , isa reviewed the th edition of ames euliep s
 ntercultural communication           conte tual approach age . he has also been active at
conferences as a paper reviewer, panelist, respondent discussant, and a member of the elcome
Team. isa s community service includes her commitment to the hicago lliance against acist
and olitical epression                 , where she has also created community based service learning
for her students. n addition, isa has volunteered at the uvenile ustice rogram to help troubled
youths at the rgani ation for the orth ast                community center.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page176 of408
                                                      75 of 188PageID
                                                               PageID#:5997
                                                                      #:176




  t the interview, isa spoke of her willingness to take on committee work and her decision to
engage in cross college outreach efforts as part of the incentian mission. hile we commend
 isa s dedicated service, there is room for improvement. The ersonnel ommittee emphasi ed to
 isa the need to take a more visible and significant role within her unit and at the college. er
service record at this advanced stage of her probationary period remains quite modest
considering the typical load for her peers. [bold emphasis is this Board’s]

  t the university level, there are several opportunities where isa could make even greater impacts
by serving on university teams, committees, or task forces. The documentation of her service, as
well as the construction of her vita and personal statement, would benefit from a clearer
organi ation. ccording to the college s tenure and promotion guidelines, candidates use the
         s format for the c.v. to maintain college uniformity. The committee suggests isa attend
tenure review workshops, which will continue to reinforce e pectations and best practices in
drafting personal statements, and preparing and organi ing review and promotion materials.

 n sum the ersonnel Committee finds that isa s service record to be very good over
this review period and she is ma ing fair progress toward tenure in the area of service.
[bold emphasis is the Board’s]

In this same report, the tenured faculty recommendation regarding the Appellant’s
service is the following [p.12]

“The ma ority of the tenured faculty found isa s progress toward tenure in the area of service
unsatisfactory. mphasis in the document oting members recounted instances where service
contributions listed in isa s document do not reflect substantial accomplishments. n addition,
  isa has been noticeably absent as a college representative at several re uired, university wide
events such as graduation and convocation. The tenured faculty endorsed the ersonnel
  ommittee s assessment that her service record at this advanced stage of her probationary period
was inade uate as compared with the typical load for her peers. t was emphasi ed at the discussion
that, according to the ollege Tenure and romotion riteria, faculty members who apply for
tenure and promotion to associate professor should have their service focused primarily in their
track program and in the college. f isa is retained, the tenured faculty would need to see
significant changes in her service as evidenced through a track record of substantial contributions
to her unit and meaningful committee work at the college level. reater volunteering for university
committee service is recommended. uch changes should occur before she applies to the tenured
faculty of the college for a tenure recommendation at e aul.”

The Board discussed the fact that there is inconsistency and a lack of guidelines provided
to the Appellant in this report. For example, the Personal Committee mentions that the
Appellant’s service record was very good over this review period and adds that the
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page177 of408
                                                      76 of 188PageID
                                                               PageID#:5998
                                                                      #:177




Appellant is making fair progress towards tenure in the areas of service. Additionally,
the College ecommendation and ationale section in page 1 of the same report states
“ isa s service record to be very good over this review period and she is making fair progress
toward tenure in the area of service.” evertheless, the tenured faculty assessment is
unsatisfactory regarding progress towards service. The Board finds that there is not a
clear elucidation of how in page 1, 7 and the Appellant’s review is very good but in
page 12 becomes unsatisfactory. ne member of the Board noted that this often occurs
in local unit personnel deliberations, but noted a problem of incongruity between
inconsistencies in this document and then-Dean Ghanem’s recommendation to the
appellant. In a letter dated December 13, 2017 regarding 2017 formal review, then-Dean
Ghanem wrote “ n order to be considered for promotion and tenure in the ollege of
  ommunication, stress that you follow all the recommendations of both the ersonnel ommittee
and the tenured faculty outlined in the formal review document dated ovember ,
regarding teaching, research and service.”



The Board discussed guidance by senior colleagues, as demonstrated in documentation
provided by the Appellant, with members unable to clearly determine what is weighted
more or less or what is considered as meaningful’ for local unit level service. The
insertion of attending graduation and convocation into the document was also discussed
with some members finding it strange that the tenured faculty mention those alongside
time-intensive Personnel Committee work. To some members of the Board this insertion
seemed to be a pretextual, insertion into the record of a minor example of the Appellant’s
alleged non-compliance with the Faculty Handbook.

The Board noted that in this second formal review, the Appellant is recommended to
concentrate her efforts in service at the local-home unit level according to the College
Tenure and Promotion Criteria. Surprisingly to some on the Board, the Appellant is
simultaneously recommended to expand her service record at the university level where
the Appellant could have greater impacts by serving on university teams. n this point
the senior colleagues also recommended greater volunteering for university committees.
The report mentions in two places in the excerpts quoted “the typical load of her peers.”
This provides expectations that the Appellant is compared to an optimal or typical level
of service rather than College Criteria. The Board does not find this argument
compelling for a Personnel Committee assessment. The formal review should have
noted exactly what is missing in the Appellant’s service dossier, rather than vaguely
refer to a typical load.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page178 of408
                                                      77 of 188PageID
                                                               PageID#:5999
                                                                      #:178




Documents Created by the Dean and Board Discussion

The Board engaged in discussion of what some members considered the contradictory
and inconsistent documentation presented to the Board a letter the Dean documenting
service, dated August 14, 2016 which starkly differs from the recommendation she wrote
as Dean, as discussed below.
This is an extract from the 2016 letter

“ want to thank you for the service that you have provided over the past several year within the
  ollege of ommunication and for e aul niversity. ince your hire in Fall of            , you have
contributed to the service life of the college in a number of ways. uring your first year, you
participated in the raduate rogram Task Force to brainstorm ideas for the first year seminar.
This initial work evolved into the creation of the Foundations in raduate tudies course, a new
re uired course for all ommunication and edia tudies students. ou spoke with the students
as a guest speaker within this course in Fall of       . ou were an event leader for our ollege s
 ymposium entitled, “ aking eaning of iolence.” For this event, you created a panel on race,
violence, and activism and facilitated a fascinating roundtable session with senior scholars and
activists who speciali e on issues of social ustice, youth activism and violence.

The following year, when was serving as your program chair, needed to find someone to serve
on the iberal tudies ouncil task force on ersonal Transformation and esponsibility and
  lobal and Transnational rograms. thought you were a perfect fit and was very happy you took
on this role. ou also served on the ollege level ocal eview oard for two year where you
reviewed applications for nstitutional eview oard approval for research from ollege of
  ommunication faculty.

  ou have stepped up to aid the college in a number of ways involving personnel including serving
on a faculty search committee for a term faculty member in intercultural communication in pring
       and a unior faculty representative on the personnel committee for two formal reviews in
 anuary       . The personnel committee is a time intensive committee that re uires a detailed read
of candidate materials, participating in meetings, and crafting and reviewing recommendation
letters. ost recently, in terms of personnel, you have been a member of the Term Faculty eview
  ommittee from appointed in pring            , but due to research leave, active member from Fall
      to present . gain, this is a very time intensive committee that involves peer reviews of all
term faculty.

  gain, thank you for the valuable contributions you have provided in terms of service for the past
several years as an assistant professor.”
  Case:1:20-cv-03366
  Case: 1:20-cv-03366Document
                     Document#:
                              #:89
                                1 Filed:
                                   Filed:06/08/20
                                          12/23/21Page
                                                  Page179 of408
                                                       78 of 188PageID
                                                                PageID#:6000
                                                                       #:179




The Board discussed the tenor of this letter, which is thankful for the Appellant’s
involvement at both the Department and College, home academic unit level, and praises
the Appellant’s work on a time-intensive committee like a Personnel Committee. The
Board questioned the Dean about this and compared the responses provided by the Dean
to the two earlier documents.

In her letter to the UBPT, dated anuary 9, 2019, the Dean seems in certain places to be
contradicting the 2016 informal assessment and rationali ing after the fact the decision of
colleagues. This is an excerpt of that recommendation

“ n the area of service, r. alvente is also ranked as “very good” by her peers. r. alvente has
participated in service obligations at the program, college, and university levels. ost of the service
that r. alvente has provided at the program and college levels has been in ad hoc, short term
capacities. For e ample, she helped review syllabi for            , helped solicit feedback from college
advisors on proposed curricular “pathways” for communication studies, and has been a
representative at student open houses and presented student awards. lso, of note is her
participation on a term faculty hiring committee and her work advising students in the atino
  edia and ommunication program. r. alvente also lists other smaller activities such as guest
speaking in the graduate foundations course and participating in various meetings as service. The
one substantive committee that r. alvente has served on in the ollege of ommunication is the
Term Faculty eview ommittee. The committee reviews term faculty on a two year rotation
including peer observations and writing and editing documents. r. alvente has been an active
and valuable member of this committee for the past two years. To receive an “e cellent” rating in
service at the time of tenure of promotion, would re uire that r. alvente would have participated
on more of these kinds of substantive committees in the ollege of ommunication during her
probationary period.

  r. alvente has provided other college level service outside of the ollege of ommunication
where she has served as an affiliate faculty member for several different programs in the ollege of
 iberal rts and ocial ciences including the frican and lack iaspora tudies rogram, the
 atino tudies rogram where she also served on a tenure track hiring committee , and the
 ritical thnic tudies          program. he is a member of the omen s enter dvisory oard.
Her service in these areas is described as conscientious, invaluable, and collaborative. r. alvente
has started building a record of service at the university level. n the past year, she has been a
member of the eneral ducation Task Force eport eview, the ouncil on ommunity
 ngagement, and participated in the           ro ect ased earning workshop.

The ollege of ommunication is a small college that must spread service obligations across a
fewer number of tenure track faculty than many other colleges. Therefore, in the ollege of
  ommunication, candidates ranked as “e cellent” in service have provided much more ongoing,
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page180 of408
                                                      79 of 188PageID
                                                               PageID#:6001
                                                                      #:180




substantial committee work, particularly within the ollege of ommunication and at the
university level where we have re uirements for representation on a number of committees. The
need to significantly increase her service to the ollege in more meaningful ways was
communicated to r. alvente in each prior formal review. This is not to say that the service
contributions provided by r. alvente have not been valuable she is aptly rated as “very good.””

The Board discussed contradictory and imprecise statements in this part of the letter.
Dean Murphy mentions that the Appellant was advised to significantly increase her
service to the College in more meaningful’ ways in each prior formal review. A careful
review of the 2015 formal review shows that there is no recommendation about
 meanin ful service. In fact, the report mentions that the Appellant is making a good
contribution towards tenure in the area of services. The Board concurs that such
statements occur in the 2017 review.

The Board discussed whether the Appellant was informed in any of the 2015 and 2017
formal reviews what is relevant’ or substantial’ or meaningful’ committee work. The
Board could not determine from any of the documentation provided in the original
dossier, investigation and supporting documentation regarding what is defined to be
meaningful or less meaningful committee work. The Appellant was never guided as to
which were the committees she should be participating in order to achieve tenure.

More concerning is the informal review assessment from Murphy in March 2016 praising
the Appellant’s substantive and time-intensive Personnel Committee work, which sent
the signal that expectations were being met.

In its investigation, the Board questioned the Appellant, Dr. Lisa Calvente, Dean Murphy
and Provost Ghanem regarding the service contributions. The Board requested that the
Appellant provide additional documentation referred to in a letter to Isabel Dia dated
  ovember 29, 201 .

In that letter the Appellant stated on page

“ ersonnel has specifically pointed out that my in unit service is lacking however, often
volunteer for in unit service obligations where am either not chosen to serve by my senior
colleagues, or else the pro ect for which volunteered has not come into fruition. can provide
email documentation to that effect.

The appellant provided that documentation. The Board also requested any additional
evidence that could substantiate the following statement that appeared in the ovember
29, 201 letter
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page181 of408
                                                      80 of 188PageID
                                                               PageID#:6002
                                                                      #:181




  often volunteer for in unit service obligations where am either not chosen to serve by my senior
colleagues, or else the pro ect for which volunteered has not come into fruition.

The Board received the following additional documentation from the Appellant

       Email between Dr. illard, Dr. Baglia, and the Appellant for the cancelled search
       Email between Dr. illard and the appellant to volunteer for search committee
       Email between Dr. Lu, Dr. illard and the appellant
       Standard for Chair election process sent by Acting Dean Murphy, Monday,
         ctober 21, 2019
       Email from Acting Dean Murphy

From the analysis of this additional documentation the Board concludes that

   1. The Appellant has volunteered for in-unit service that has been available to her.
      An example of this statement is that the Appellant volunteered to help Dr. Lucy
      Lu, in being the course-keeper for the core course of their unit.

   2. The Appellant served on committees that were suggested by the Dean Murphy
      when she was the Chair of the Department. These committees are highlighted in
      the the 2016 general service letter.

   3. The Appellant volunteered to participate as member of a faculty search committee
      in the Fall of 2014, which was cancelled due to the lack of a line for the appellant’s
      unit.



   4. In academic year 2016-2017, the Appellant volunteered to participate in a Faculty
      Search Committee in the Fall of 2016, but the Chair at time, Dr. illard did not
      choose the appellant.

The Board also discussed whether the Appellant received enough opportunities during
her probationary period to increase her in-unit service exposure. The discussion
emphasi ed that the Board’s investigation uncovered additional evidence which suggests
that the Appellant volunteered for additional in-unit services but was not selected.

The Board also questioned the Dean about the Appellant’s service activities. The Dean
explained this particular case to the Board.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page182 of408
                                                      81 of 188PageID
                                                               PageID#:6003
                                                                      #:182




Board uestion ould it be correct to state that on more than one occasion Dr. Calvente
volunteered for in-unit service obligations but was not chosen to serve by senior
colleagues

Dean s response “ am only aware of one occasion when r. alvente reached out to her
program chair, aniel akagon to volunteer for college and university committee assignments in
the      . he sent her re uest after the call for committees had been out for a while oard s
emphasis in bold and the college level committees had already been filled. r. akagon suggested
she contact the faculty council representative on the committee on committees to see if there were
any remaining openings.“

The Dean did not provide any College documentation to show that the Appellant refused
to participate in any service assignment recommended or requested of her by the unit.

After comparing the service records of faculty from the past 10 years in the College who
were rated as “excellent,” the Board cannot find any clear and compelling substantive
delineation of “meaningful” and “relevant” service. If a faculty member is expected to
participate in a specific standing College committee (e.g. curriculum, assessment,
program review, summer research committee.) during the probationary period, it should
clearly be communicated in the formal reviews.


The Board also questioned the Dean about guidance to the Appellant in terms of her
progress towards promotion and tenure under service

Board uestion Your recommendation to the UBPT dated anuary 9, 2019 states “The
need to significantly increase her service to the College in more meaningful ways was
communicated to Dr. Calvente in each prior formal review.”           hat did you mean
precisely by “more meaningful ways”       ere specific assignments ever proposed

Dean s response “The personnel committee and the tenured faculty consistently recommended
in prior formal reviews that r. alvente increase her service contributions. hile there may be
many lines under service on the vita, the personnel committee and the tenured faculty recogni ed
that much of what is listed are smaller, ad hoc presentations in classes or attending the annual
award brunch and presenting a student with an award e pectations for all our faculty . n another
e ample, the ecurity oncerns roup listed on r. alvente s           consisted of one meeting when
interested faculty were invited to come discuss security concerns in the building. ooking at her
     at the time of her        tenure and promotion review, under the heading of ollege of
  ommunication, the only substantive committee on which she served is the on Tenure Track
  eview ommittee now called the Term Faculty eview ommittee .”
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page183 of408
                                                      82 of 188PageID
                                                               PageID#:6004
                                                                      #:183




The Dean uses the word “consistently,” but the 2015 formal review does not consistently
recommend that the Appellant increase her service contributions. The Board also finds
contradicting evidence by unequally weighting services in an ad-hoc or unsystematic
way.

The Board sought to understand why the Dean commended the Appellant’s services to
the unit and College in August 2016, not expressing concerns she may have had and
would express in early 2019.

Board uestion   hy did not you express those same concerns in the letter you wrote in
August 2016 commending Dr. Calvente’s services to the unit and college

Dean s response          r. alvente asked me to write a letter of support that detailed the service
that she had done up to that point. did not see my role at that time to position this service against
that of her peers. s note in my tenure recommendation, appreciate the work that she has done.
  ut, in conte t and in comparison, with what is typical across the college, and given the consistent
feedback she was given in formal reviews, agreed it was not enough to be rated as “e cellent” in
service.”

The Board discussed this response. Some members found this response insufficient for
understanding the reasons why Dr. Alexandra Murphy provided two diverging
assessments in different documents. ne Board member found that the statement “ did
not see my role at that time to position this service against that of her peers.” creates false
expectations. Another Board member emphasi ed the different purposes of the two
documents and differing guidelines about expectations for them in the Faculty
Handbook. The Board discussed the possible reasons for not positioning the appellant’s
service against that of her peers at that time when Dr. Murphy was commending the
appellant.

  ne Board member concluded that Dr. Murphy did not give precise signals in her 2016
letter and should have raised the issues she raised in the 2019 letter. Another Board
member found that the 2016 letter conformed to what that member would expect from a
letter documenting service rather than a recommendation evaluating service.

  verall, the Board is uncertain as to whether the home academic unit provided enough
support for the Appellant to excel in the area of service at the home level. Given the other
problems with the local unit formal reviews discussed in other sections, the Appellant’s
pursuit of opportunities outside the College which would result in letters from
individuals who had not voted against her case seems ustified.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page184 of408
                                                      83 of 188PageID
                                                               PageID#:6005
                                                                      #:184




The Board determined that the Appellant received inconsistent guidance in informal
reviews




The Board’s Findings

The Board finds that the Appellant’s service was unfairly evaluated at multiple points
during her probationary period and that procedural deviations were material to the final
decision to deny tenure and promotion to the Associate Professor rank on the grounds of
unsatisfactory’ service to both the home academic unit and university.

The Board finds that there were considerable and material deviations from procedures
by the home unit (i.e., the College of Communication) in failing to provide the Appellant
with clear and consistent guidance regarding service in formal reviews as mandated in
the Faculty Handbook Section 3.3.1.

The preponderance of evidence supports the claim that the Appellant did volunteer for
additional service assignments in the College, but that these substantive service
assignments did not materiali e due to factors beyond her control, as outlined in points
1-4 above.

 round for Appeal       Discriminatory Practice Retaliation

Discrimination/ etaliation

Because the appeal links reporting and contacts with Isabel Dia of the EE office to
claims of retaliation, the Board requested that a different member of H staff be assigned
to review claims of discrimination and retaliation. Starting on September 16, 2019, the
board engaged in ongoing consultations with Dr. Stephanie Smith, ice President for H ,
about the appeal as required by Faculty Handbook Section 5.1.1.1. The results of Dr.
Smith’s investigation        it discovered nothing material that supports claims of
discrimination or retaliation were communicated to the Board on December 19, 2019.



Appellant’s Allegations egarding Discrimination



In section three of the appeal the Appellant advances two ma or allegations regarding
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page185 of408
                                                      84 of 188PageID
                                                               PageID#:6006
                                                                      #:185




discrimination.

1 (A, Page 12, 17 in the appeal) the Appellant alleges that College personnel
documentation contains racially insensitive caricatures and stereotypes.’

2 (page 17) the Appellant alleges a pattern of discriminatory practices in the evaluation
of her teaching that violates federal policies regarding non-discrimination against
members of protected classes.



The Board’s Findings



  egarding allegation one, the Board finds that the College did not include racially
insensitive caricatures and stereotypes in personnel documentation. The Board notes that
the appeal did not provide any specific references to racially insensitive terms,
caricatures, or stereotypes.       The Board’s careful review of College personnel
documentation and student evaluations did not uncover any statements that would
substantiate a claim of racial discrimination.

  egarding allegation two, the Board finds that allegations that the College violated
federal policies regarding non-discrimination could not be substantiated. The appeal did
not provide specific information, evidence or statements to substantiate the claim of
discrimination on the basis of race, color, religion, sex (including pregnancy, gender
identity, and sexual orientation), national origin, age (40 or older), disability or genetic
information.


Appellant’s Allegations egarding etaliation by Provost.

In section three of the appeal, the Appellant alleges (page 17 with reference to matters
introduced and discussed on pages 5-6) that the Provost engaged in retaliation against
her for filing EE claims against the College.

The Appellant states on page 17 “ n ection . .a., enumerate the niversity violations that
also constitute retaliatory acts, including by nterest sic rovost r. alam hanem. These acts
should be investigated as retaliatory and therefore discriminatory practices.”

The Appellant makes her own contacts with DePaul EE           officials key to the claim of
retaliation, writing on pages 5-6
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page186 of408
                                                      85 of 188PageID
                                                               PageID#:6007
                                                                      #:186




“ y the time submitted my tenure application to the ollege, however, then ean hanem had
become aware that had asked that the ffice of nstitutional iversity and              uity
investigate my claims against the ollege, and specifically members of the ersonnel ommittee,
of violating e aul niversity s nti iscrimination and nti Harassment olicy and
  rocedures. n ovember of        , wrote a letter detailing the retaliatory actions against me by
the ollege and members of the senior faculty attached . also reported these retaliatory practices
to the    ual mployment pportunity ommission                   , and have since met with the
       .

  submitted my application for tenure and promotion after r. hanem had overturned the
previous contract nonrenewal recommendations of the ollege. y the time submitted my tenure
and promotion application, had also reached out to various non tenured members of the faculty
in the ollege, as well as reached out and met with several members of the tenured niversity
faculty, in order to discuss my path towards tenure and to compare our respective dossiers. r.
  hanem was aware that these meetings were taking place. ot only did never lie about these
occurrences, openly discussed my e periences in the ollege and looked to r. hanem as the
  ean of the ollege to help address these growing concerns. These discussions also included other,
tenure track, unior women of color faculty from the ollege, who shared similar e periences as
my own and similar concerns around the manner in which the ollege evaluated faculty of color
in formal and informal reviews. These included r. aria e oya and r. ydney illard.
should also note the iversity dvocate of the ollege s, r. aria e oya, has substantiated
my concerns formally.

  uring one particular meeting with r. hanem to discuss my tenure dossier and the conflict
that surrounded my case in the ollege which took place after then ean hanem had overturned
the recommendation for contract nonrenewal from the ollege but before filed my application for
tenure , r. hanmen commented on r. incent icchirillo s contract nonrenewal decision by
the ollege. r. hanem implied that was responsible for rumors circulating in the niversity
that suggested that r. icchirillo had been terminated in order that ean hanem would have
 ust cause for later terminating women faculty of color. admitted to r. hanem that had
written in support of incent icchirillo s appeals case, and verbally disclosed the content of my
letter.”



In view of the serious nature of this allegation, the Board in coordination with Dr. Smith
investigated these claims by questioning the Provost and other witnesses. It also closely
examined extensive documentation related to EE claims, including the Appellant’s
email communications with the Employee Engagement and EE Unit, with Dr. Ghanem,
and the Appellant’s letter to the Board regarding Dr. Cichirrillo’s appeal.
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page187 of408
                                                      86 of 188PageID
                                                               PageID#:6008
                                                                      #:187




The Board’s Findings.

The Board’s investigation did not substantiate the claim that the Provost engaged in
retaliation against the appellant for filing EE claims against the College.

The Board’s investigation also uncovered several imprecise or misleading statements on
pages 5-6 of the appeal cited above.

The Board finds that the Appellant’s allegations were never “substantiated formally” by
Dr. Maria DeMoya, Diversity Advocate for the College of Communication.

The Board finds that the Appellant never followed up with a request for additional
information from Isabel Dia and that the case was closed in early 2019 due to the
Appellant’s failure to respond to EE requests.

The Board finds that the Appellant’s characteri ations of her meetings with Dr. Ghanem
in the appeal document cannot be substantiated by the recollections of Dr. Ghanem or
the Appellant’s EE correspondence in the days/weeks after the meeting which took
place on ctober 10, 201 .

The Board finds that phrases such as “Dean Ghanem had become aware” and “Dr.
Ghanem was aware” are not fully consistent with the facts contained in the email
correspondence between the Appellant and Dr. Ghanem, and the Appellant and Barbara
Schaffer. The preponderance of evidence demonstrates that then-Dean Ghanem acted
appropriately in referring the Appellant’s concerns to appropriate university officials.



Allegations of etaliation by the College of Communication

In sections three of the appeal, the Appellant alleges (page 17 with reference to matters
introduced and discussed on pages 5-6) that the College took no action to address
retaliatory actions reported to Isabel Dia .

  n page 6, the Appellant states “These reviews by the ollege, since                , have included
members of the ersonnel ommittee that               investigated for violating niversity policies
with respect to discriminatory practices. later reported retaliatory actions by my senior colleagues
in the ollege to sabel ia , currently the irector of mployment ngagement and ual
  pportunity at e aul. n the ollege, no actions were taken to address this situation.”
 Case:1:20-cv-03366
 Case: 1:20-cv-03366Document
                    Document#:
                             #:89
                               1 Filed:
                                  Filed:06/08/20
                                         12/23/21Page
                                                 Page188 of408
                                                      87 of 188PageID
                                                               PageID#:6009
                                                                      #:188




The Board’s Finding

The Board finds that the preponderance of evidence does not substantiate the Appellant’s
claim.
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 88 of 408 PageID #:6010




               Exhibit C
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 89 of 408 PageID #:6011
                                                                                 Lisa Calvente 02/19/2021
                                                                            Lisa Calvente 02/19/2021
·1· · · · · IN THE UNITED STATES DISTRICT COURT             ·1·   · · · · · · · · · · ·I N D E X
                                                            ·2·   ·WITNESS· · · · · · · · · · · · · · EXAMINATION
·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS
                                                            ·3·   ·LISA CALVENTE
·3· · · · · · · · · ·EASTERN DIVISION                       ·4·   · ·By Ms. Wermuth· · · · · · · · · · · · · 5
·4                                                          ·5
                                                            ·6
·5· ·LISA CALVENTE,· · · · · · ·)
                                                            ·7
·6· · · · · Plaintiff,· · · · · )                           ·8
                                                            ·9
·7· · ·vs.· · · · · · · · · · · ) No. 1:20-CV-03366
                                                            · ·   · · · · · · · · · E X H I B I T S
·8· ·SALMA GHANEM and DEPAUL· · )                           10·   ·NUMBER· · · · · · · · · · · · · · ·MARKED FOR ID
·9· ·UNIVERSITY,· · · · · · · · )                           · ·   · Exhibit No. 1· · · · · · · · · · · · · ·10
                                                            11·   · Exhibit No. 10· · · · · · · · · · · · · 25
10· · · · · Defendants.· · · · ·)                           · ·   · Exhibit No. 11· · · · · · · · · · · · · 27
11                                                          12·   · Exhibit No. 33· · · · · · · · · · · · · 34
                                                            · ·   · Exhibit No. 94· · · · · · · · · · · · · 42
12
                                                            13·   · Exhibit No. 5· · · · · · · · · · · · · ·44
13· · · · · The deposition of LISA CALVENTE, called         · ·   · Exhibit No. 143· · · · · · · · · · · · ·55
                                                            14·   · Exhibit No. 153A· · · · · · · · · · · · 62
14· ·for examination pursuant to the Rules of Civil
                                                            · ·   · Exhibit No. 210· · · · · · · · · · · · ·65
15· ·Procedure for the United States District Courts        15·   · Exhibit No. 141· · · · · · · · · · · · ·68
16· ·pertaining to the taking of depositions via Zoom       · ·   · Exhibit No. 19· · · · · · · · · · · · · 71
                                                            16·   · Exhibit No. 115· · · · · · · · · · · · ·76
17· ·videoconference, on the 19th day of February,
                                                            · ·   · Exhibit No. 186A· · · · · · · · · · · · 79
18· ·2021, at the hour of 9:18 a.m.                         17·   · Exhibit No. 175· · · · · · · · · · · · ·89
                                                            · ·   · Exhibit No. 4· · · · · · · · · · · · · ·116
19
                                                            18·   · Exhibit No. 185· · · · · · · · · · · · ·120
20                                                          · ·   · Exhibit No. 193· · · · · · · · · · · · ·121
21                                                          19·   · Exhibit No. 196· · · · · · · · · · · · ·126
                                                            20
22
                                                            21
23· ·Reported by:· BRENDA K. DUFEK, CSR                     22
                                                            23
24· ·License No.:· 084-003969
                                                            24
                                                        1                                                              3

·1· ·APPEARANCES:                                           ·1· · · ·THE REPORTER:· This deposition is being taken
·2· · · · LAW OFFICES OF FITZGERALD T. BRAMWELL             ·2· ·by means of videoconferencing.· The attorneys
·3· · · · BY:· MR. FITZGERALD T. BRAMWELL                   ·3· ·participating in this deposition acknowledge
·4· · · · 225 West Washington Street, Suite 2200            ·4· ·that I am not physically present in the
·5· · · · Chicago, Illinois· 60606                          ·5· ·deposition and the oath will be administered
·6· · · · (312) 924-2884                                    ·6· ·remotely.· The parties and their counsel consent
·7· · · · bramwell@fitzgeraldbramwell.com                   ·7· ·to this arrangement and waive any objections to
·8· · · · · · ·On behalf of the Plaintiff;                  ·8· ·this manner of reporting.
·9                                                          ·9· · · · · · Will all counsel present please state
10· · · · COZEN O'CONNOR                                    10· ·your name and indicate your agreement on the
11· · · · BY:· MS. ANNELIESE WERMUTH                        11· ·record.
12· · · · · · ·MS. NANDINI SANE                             12· · · ·MR. BRAMWELL:· Fitzgerald Bramwell,
13· · · · 123 North Wacker Drive, Suite 1800                13· ·B-R-A-M-W-E-L-L, confirm.
14· · · · Chicago, Illionis· 60606                          14· · · ·MS. WERMUTH:· Anneliese Wermuth,
15· · · · (312) 382-3100                                    15· ·W-E-R-M-U-T-H, I agree.
16· · · · awermuth@cozen.com                                16· · · · · · · · · ·(Witness sworn.)
17· · · · · · ·On behalf of the Defendants.                 17· · · ·MR. BRAMWELL:· Before we begin, I just have
18                                                          18· ·an objection for the record to Alexandra Murphy
19                                                          19· ·participating in this deposition -- or sitting
20· ·ALSO PRESENT:                                          20· ·in on this deposition.· She's a witness, and I
21· · · · Kathryn Stieber                                   21· ·believe the rule of separation should apply.
22· · · · Salma Ghanem                                      22· · · ·MS. WERMUTH:· Okay.· And if you want to send
23· · · · Alexandra Murphy                                  23· ·me some citation to the rule of separation, I'd
24                                                          24· ·be happy to take a look at that at some point
                             McCorkle Litigation2 Services, Inc.                                                       4
                              Chicago, Illinois· (312) 263-0052
                                McCorkle Litigation Services, Inc.                                                1..4
                                                                                                              YVer1f




                                 Chicago, Illinois· (312) 263-0052                                                         YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 90 of 408 PageID #:6012
                                                                                 Lisa Calvente 02/19/2021
                                                                            Lisa Calvente 02/19/2021
·1· ·today.                                                 ·1· ·should we just use those index numbers as
·2· · · · · · · · · · LISA CALVENTE,                        ·2· ·exhibit numbers or should we mark them as they
·3· ·called as a witness herein, having been first          ·3· ·come in in sequential order.· I'm just worried
·4· ·duly sworn, was examined and testified as follows:     ·4· ·if we have an index number and a separate
·5· · · · · · · · · DIRECT EXAMINATION                      ·5· ·exhibit number, we're going to be confused
·6· ·BY MS. WERMUTH:                                        ·6· ·during the day.· Do you have a preference?
·7· · · ·Q.· ·Dr. Calvente, is there anything that          ·7· · · · · · · · · ·(Whereupon, a discussion was had
·8· ·would prevent you from testifying truthfully or        ·8· · · · · · · · · · off the record.)
·9· ·accurately today?                                      ·9· ·BY MS. WERMUTH:
10· · · ·A.· ·No.                                           10· · · ·Q.· ·All right.· So with that said,
11· · · ·Q.· ·Okay.· I'm just going to do a couple of       11· ·Dr. Calvente, I have sent to you what has been
12· ·quick rules because I know we have a long day          12· ·marked as index number one.· Have you received
13· ·ahead of us and already we're facing our               13· ·that document?
14· ·difficulties today.· So very quickly, if at any        14· · · ·A.· ·Yes, I have received that.
15· ·point in time you need a break, let me know, and       15· · · ·Q.· ·So I would like to -- this is -- can
16· ·I will try to accommodate you as best as I can.        16· ·you identify this document?
17· ·If at any point in time you don't understand one       17· · · ·A.· ·Yes, it is the case complaint.
18· ·of my questions and I don't proclaim to be a           18· · · ·Q.· ·Right, it's the complaint that you
19· ·model of clarity, let me know, and I will do my        19· ·filed --
20· ·best to clarify the question for you.                  20· · · ·A.· ·Yes.
21· · · · · · Also, I think you've heard this by now        21· · · ·Q.· ·-- in connection with this matter,
22· ·in the couple of depositions that you sat in,          22· ·correct?
23· ·it's important for us to not talk over one             23· · · ·A.· ·Yes.
24· ·another.· I will do my best to allow you to            24· · · ·Q.· ·Thank you.
                                                        5                                                               7

·1· ·finish your answers.· If for some reason you           ·1· · · · · · And you reviewed this complaint before
·2· ·haven't finished because you paused, which I do        ·2· ·it was filed to make sure it was accurate?
·3· ·all the time, let me know.· I'd rather you             ·3· · · ·A.· ·Yes.
·4· ·finish your answer than not.· Okay.· Likewise, I       ·4· · · ·Q.· ·Okay.· I would like to direct your
·5· ·will hope that you will also allow me to finish        ·5· ·attention to page 9, Count I.· I just want to
·6· ·my answers -- or my questions, excuse me.· Like        ·6· ·make sure I understand the nature of the claims
·7· ·I said, I pause sometimes so there are going to        ·7· ·you are asserting.· Okay.· So as I understand
·8· ·be times when we talk over each other.· Believe        ·8· ·it, in Count I and Count II, you are alleging
·9· ·me, the court reporter will let us know that she       ·9· ·that DePaul University and Dr. Ghanem retaliated
10· ·can't take a good record if we're doing that.          10· ·against you by denying your application for
11· ·So hopefully there will be times during the day        11· ·promotion and tenure and terminating you.· Do I
12· ·where I'm sure we'll do it.· Hopefully it will         12· ·understand those counts correctly?
13· ·be minimal.· Okay?                                     13· · · ·MR. BRAMWELL:· I'm just going to object on
14· · · ·A.· ·Yes.                                          14· ·best evidence grounds.
15· · · ·Q.· ·Great.                                        15· · · · · · Go ahead.
16· · · ·MS. WERMUTH:· So let me ask you this, I'm          16· · · ·THE WITNESS:· I'm sorry.· Can you repeat
17· ·going to ask you to look at -- let me say this         17· ·that?
18· ·at the beginning of the record too.· I have sent       18· ·BY MS. WERMUTH:
19· ·or tried to send at least to your lawyer I sent        19· · · ·Q.· ·So in Count I, you are alleged that
20· ·a file of documents that I might use in this           20· ·DePaul University and Dr. Ghanem retaliated
21· ·deposition.· Those documents are indexed               21· ·against you by denying your application for
22· ·according to an internal indexing system that my       22· ·tenure and promotion and terminating your
23· ·paralegal set up for me.· So I am asking a             23· ·employment?
24· ·little bit too of the court reporter here,             24· · · ·A.· ·Yes.
                           McCorkle Litigation6 Services, Inc.                                                          8
                            Chicago, Illinois· (312) 263-0052
                              McCorkle Litigation Services, Inc.                                                   5..8
                                                                                                               YVer1f




                               Chicago, Illinois· (312) 263-0052                                                            YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 91 of 408 PageID #:6013
                                                                                 Lisa Calvente 02/19/2021
                                                                          Lisa Calvente 02/19/2021
·1· ·things can be worked out, just apply and let's         ·1· ·don't remember how many people came, but it was
·2· ·see how it goes, so I did.                             ·2· ·definitely not that many people.· It's probably
·3· · · ·Q.· ·Dusty Goltz encouraged you to apply for       ·3· ·maybe a fourth of the college, if that.· At the
·4· ·the position?                                          ·4· ·time, they were recording everything.· So, you
·5· · · ·A.· ·Yes.                                          ·5· ·know, you had the option to go in person or
·6· · · ·Q.· ·And the two of you were familiar with         ·6· ·watch the recordings.
·7· ·one another at that point in time?                     ·7· · · ·Q.· ·Was Dusty Goltz there in person for
·8· · · ·A.· ·Yes.                                          ·8· ·your job talk, do you recall?
·9· · · ·Q.· ·So you were -- had some familiarity           ·9· · · ·A.· ·Yes.
10· ·with his area of specialty?                            10· · · ·Q.· ·And during that job talk was Hai Tran
11· · · ·A.· ·We shared the same umbrella                   11· ·or Tron there in person?
12· ·concentration performance at the time when I met       12· · · ·A.· ·I do not believe he was there, but,
13· ·with -- I met him in graduate school at this,          13· ·again, I don't remember.
14· ·like, performance conference at Northwestern.          14· · · ·Q.· ·Okay.· And in your job talk, you spent
15· ·He was doing -- he said he was doing performance       15· ·time discussing your areas of expertise in
16· ·and cultural studies, same as me.                      16· ·research and scholarship?
17· · · ·Q.· ·Okay.· So you -- he had some                  17· · · ·A.· ·I did more traditional formats, so I
18· ·familiarity with your area of expertise as well        18· ·gave them a theoretical framework of my research
19· ·then?                                                  19· ·trajectory, and then I centered on the specifics
20· · · ·A.· ·Two of them.                                  20· ·of my research.· So ethnographic work based on
21· · · ·Q.· ·Okay.· With your areas of expertise?          21· ·race, racism, and coloniality.
22· · · ·A.· ·Yes.                                          22· · · ·Q.· ·So there was no confusion about your
23· · · ·Q.· ·Okay.· And so he encouraged you to            23· ·research area?
24· ·apply?                                                 24· · · ·A.· ·Absolutely not.
                                                       21                                                               23

·1· · · ·A.· ·Yes.                                          ·1· · · ·Q.· ·Okay.· And you were then offered the
·2· · · ·Q.· ·And so you did?                               ·2· ·job on a tenure track basis; is that right?
·3· · · ·A.· ·Yes.                                          ·3· · · ·A.· ·Yes.
·4· · · ·Q.· ·And when you applied, I assume you had        ·4· · · ·Q.· ·So to Dusty's earlier point that
·5· ·to give like a job talk or some sort of                ·5· ·something could potentially be worked out, there
·6· ·presentation to a search committee or group            ·6· ·was enough enthusiasm among the faculty to bring
·7· ·of --                                                  ·7· ·you on in a tenure track basis?
·8· · · ·A.· ·Yes, because DePaul is a teaching             ·8· · · ·A.· ·Yes.· I forgot to mention that I met
·9· ·university I was required to do not only a job         ·9· ·with Jean Taylor, and I informed her that, you
10· ·talk but also teaching session.· So I did a            10· ·know, I wasn't interested in a one year, yes.
11· ·performance teaching workshop, both of which           11· · · ·Q.· ·Okay.· Do you have any of the documents
12· ·centered on the black diaspora race and racism.        12· ·yet that my paralegal sent to you?
13· · · ·Q.· ·And who participated from DePaul in the       13· · · ·A.· ·Yes, I believe I received batch one and
14· ·job talk?                                              14· ·batch two.
15· · · ·A.· ·Well, there was the search committee,         15· · · ·Q.· ·That's good.
16· ·so I met Dr. Murphy.· I actually don't remember        16· · · · · · Can you -- looks like there is a batch
17· ·if she was on the search committee or I met with       17· ·three that came through.· You don't have that
18· ·her because she was the chair of -- the director       18· ·yet?
19· ·of the communication concentration, but I met          19· · · ·A.· ·I have batch one, batch two, and batch
20· ·with Kimberly Perez, and I met with Dustin             20· ·three.
21· ·Goltz.· So that was basically the one-on-one           21· · · ·Q.· ·Okay.
22· ·meeting.· I also met with Bruno Teboul, Barbara        22· · · ·A.· ·Yes.
23· ·Spiker.· So those were the two people I met on a       23· · · ·Q.· ·In our next break, I will confirm that
24· ·one-on-one basis.· And then in my job talk -- I        24· ·those are the only batches.· Can you take a
                             McCorkle Litigation
                                               22 Services, Inc.                                                        24
                              Chicago, Illinois· (312) 263-0052
                                McCorkle Litigation Services, Inc.                                           21..24
                                                                                                               YVer1f




                                 Chicago, Illinois· (312) 263-0052                                                           YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 92 of 408 PageID #:6014
                                                                               Lisa Calvente 02/19/2021
                                                                          Lisa Calvente 02/19/2021
·1· · · ·MR. BRAMWELL:· Objection, calls for                ·1· ·else was receiving.
·2· ·speculation.                                           ·2· · · ·Q.· ·So my question is, with respect to the
·3· · · ·THE WITNESS:· Yes.                                 ·3· ·link not being sent, what leads you to believe
·4· ·BY MS. WERMUTH:                                        ·4· ·that Lexa purposefully did that as a means for
·5· · · ·Q.·                                                ·5· ·retaliating against you?
                                                            ·6· · · ·MR. BRAMWELL:· Objection, asked and answered.
                                                            ·7· ·BY MS. WERMUTH:
                                                            ·8· · · ·Q.· ·You can answer.
                                                            ·9· · · ·A.· ·So when I received -- when I provided
10· · · · · · · · · ·(Whereupon, Deposition Exhibit         10· ·Lexa, Dr. Murphy, with my dossier to be sent to
11· · · · · · · · · · No. 175 was marked for                11· ·the external reviewers -- and this was prior to
12· · · · · · · · · · identification.)                      12· ·my actual dossier for a tenure, there was
13· ·BY MS. WERMUTH:                                        13· ·already to me a sign that Lexa was
14· · · ·Q.· ·And can you look at Exhibit 175, which        14· ·discriminating against me as opposed to other
15· ·I guess is in batch nine.                              15· ·people that have gone up to -- for tenure.· So
16· · · ·A.· ·Yes, I have it.                               16· ·an example of that would be my reviews, my peer
17· · ·                                                     17· ·observations which occurred in the spring
                                                            18· ·of 20 -- what is that?· The spring quarter
                                                            19· ·before that fall, so the spring of 2018.· And so
                                                            20· ·typically, the way the college worked is you
                                                            21· ·provided a list of interviewers, peer
                                                            22· ·observation colleagues, right, you provide a
23· · · ·MR. BRAMWELL:· Objection, best evidence.           23· ·list of colleagues for your peer observation,
24· · · ·THE WITNESS:· Yes.                                 24· ·and two people that never reviewed you before
                                                       89                                                               91

·1· ·BY MS. WERMUTH:                                        ·1· ·would review you in one of your courses.
·2· · ·                                                     ·2· · · · · · I provided Lexa a list, and Lexa did
                                                            ·3· ·not include anyone on that list.· Well, she
                                                            ·4· ·included one person, but not the other, and then
·5· · · ·MR. BRAMWELL:· Objection, best evidence.           ·5· ·she included -- she included one person, so it
·6· · · ·THE WITNESS:· Yes.                                 ·6· ·was                   who never reviewed me, and
·7· ·BY MS. WERMUTH:                                        ·7· ·then she included an additional person who was
·8· · · ·Q.· ·Okay.· Is it your contention that her         ·8·                                 · I was not very
·9· ·failure to send the link was racially motivated?       ·9· ·happy with this inclusion, but I did not raise
10· · · ·A.· ·I think that it was retaliatory.              10· ·an issue because I already had a reputation for
11· · · ·Q.· ·So you think she intentionally failed         11· ·raising issues in the college, and I did not
12· ·to include it so that -- as a means of                 12· ·want to continue this.
13· ·retaliating against you for complaining of             13· · · · · · So I -- quite frankly, I was tired. I
14· ·discrimination within the college?                     14· ·said okay.· And then when I heard from
15· · · ·A.· ·Yes.                                                                           said that she didn't
16· · · ·Q.· ·And what's your evidence that it was          16· ·want to review me, to make sure that I wasn't
17· ·intentional and retaliatory?· What's the reason        17· ·conducting any performance workshops on the days
18· ·for your belief?                                       18· ·that she reviewed me.· However, it was a
19· · · ·A.· ·There were a series of incidents that         19· ·performance class, and the way my performance
20· ·during my tenure process and during my formal          20· ·class are set up, it would be very difficult to
21· ·reviews that indicated to me that I was being          21· ·navigate around performance workshops.· So I
22· ·held to a different standard than my other             22· ·raised that issue with Dr. Murphy.
23· ·colleagues.· It also indicated to me that I was        23· · · · · · Now, I asked her why she even -- why
24· ·not receiving the same assessments that everyone       24· ·she even included               when she
                              McCorkle Litigation
                                                90 Services, Inc.                                                       92
                               Chicago, Illinois· (312) 263-0052
                                McCorkle Litigation Services, Inc.                                           89..92
                                                                                                               YVer1f




                                 Chicago, Illinois· (312) 263-0052                                                           YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 93 of 408 PageID #:6015
                                                                                 Lisa Calvente 02/19/2021
                                                                            Lisa Calvente 02/19/2021
·1· ·understood that             and I had an
·2· ·incident early on while I was there where
             wrote some racist writing, was called
·4· ·out on it.· Lexa was there.· And she directed
·5· ·all her anger and emotions towards me rather
·6· ·than towards everyone who highlighted it, her          ·6· · · ·Q.· ·Okay.· Now, when you talk about -- you
·7· ·racist depictions of the south side and the west       ·7· ·said previously that when you gave Lexa the
·8· ·side.                                                  ·8· ·tenure dossier to go to the external reviewers,
·9· · · · · · So we already had that issue with the         ·9· ·external reviewers do not get your full dossier,
10· ·peer observation for my tenure and promotion. I        10· ·correct?
11· ·asked other people because Lexa told me that the       11· · · ·A.· ·Correct.
12· ·reason why she included              was because       12· · · ·Q.· ·Okay.· So you are talking about the
13· ·the other people on my list were already tied up       13· ·materials that you selected and asked Lexa to
14· ·with reviews for newer people.· I found it very        14· ·send -- that when you sent your dossier, that's
15· ·strange that if I'm going up for tenure, you           15· ·what you're referring to?
16· ·instead are, you know, safeguarding more junior        16· · · ·A.· ·Yes.
17· ·people than the junior people that are going up        17· · · ·Q.· ·Okay.· Now, let's go back to the issue
18· ·for tenure.                                            18· ·of the performance link because we were looking
19· · · · · · So ultimately she changed                     19· ·at Exhibit 175.·
20· ·and then changed the course that they were
21· ·supposed to observe because I said that I --           21· · · · · · I'm sorry.· Are you on medication or is
22· ·well, I don't know why she changed that, but I         22· ·that just, like, over-the-counter vitamins?· Did
23· ·said I didn't mind which course they observed.         23· ·you just take medication?
24· ·So I already had issues is my answer.                  24· · · ·A.· ·No, I have tea.
                                                       93                                                               95

·1· · · ·Q.· ·Okay.· So just so I understand your           ·1· · · ·Q.· ·I'm sorry.· I thought I saw you take
·2· ·answer because it was very lengthy, you are            ·2· ·medication.· Forgive me.· I was just going to
·3· ·saying that based on the process of selecting          ·3· ·ask about any medications if they would impact
·4· ·peer reviewers in early 2018, that's your basis        ·4· ·your ability to testify?
·5· ·for why you believe Lexa intentionally left your       ·5· · · ·A.· ·I'm not taking any medication.
·6· ·link out of the submission to the external             ·6· · · ·Q.· ·Thank you.
·7· ·reviewers, yes?                                        ·7· · · · · ·
·8· · · ·MR. BRAMWELL:· Objection --
·9· · · ·THE WITNESS:· For my tenure promotion
10· ·process.
11· ·BY MS. WERMUTH:
12· · ·




19· · · ·Q.· ·That's not my question.
20· · ·




                           McCorkle Litigation
                                             94 Services, Inc.                                                          96
                            Chicago, Illinois· (312) 263-0052
                               McCorkle Litigation Services, Inc.                                          93..96
                                                                                                               YVer1f




                                Chicago, Illinois· (312) 263-0052                                                            YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 94 of 408 PageID #:6016
                                                                                Lisa Calvente 02/19/2021
                                                                           Lisa Calvente 02/19/2021
·1· · · ·Q.· ·And when you look at 3.6.1.1 and             ·1· ·contract.· I told her that I would think about
·2· ·3.6.1.2 it doesn't say anything about formal          ·2· ·it, and I would get back to her.
·3· ·probationary reviews, correct?                        ·3· · · ·Q.· ·Well, weren't you interested in
·4· · · ·MR. BRAMWELL:· Objection, best evidence.          ·4· ·accepting the contract?
·5· · · ·THE WITNESS:· That is correct.                    ·5· · · ·A.· ·So with advanced contracts and
·6· ·BY MS. WERMUTH:                                       ·6· ·university presses, they are basically in
·7· · · ·Q.· ·Now, could you also look at -- I'm           ·7· ·control of your manuscript.· So they can hold on
·8· ·going to take you way down to chapter six, page       ·8· ·to it, review it, and decide to publish it and
·9· ·hashtag 109.· Let me know when you are there.         ·9· ·also include in the clause that your next book
10· · · ·A.· ·I'm there.· 109, yes.                        10· ·would be -- they would get first dibs on your
11· · · ·Q.· ·So it's the very beginning of chapter        11· ·next book.· And so it was advised to me by my
12· ·six.· Are you there?                                  12· ·senior colleagues, not at DePaul, that I should
13· · · ·A.· ·Yes.                                         13· ·finish the book first and then shop it around
14· · · ·Q.· ·So in Section 6.1, you will see that         14· ·again to see what kind of better offers I might
15· ·there is some discussion about the religious          15· ·receive.
16· ·heritage of the University in connection with         16· · · ·Q.· ·Did you finish the book before you left
17· ·academic freedom.· Do you see that?                   17· ·DePaul?
18· · · ·A.· ·Yes.· So this is the -- this is              18· · · ·A.· ·I finished a draft of the book.· So
19· ·academic freedom, not the Vincentian -- it's          19· ·basically, I mean, is it the draft that I have
20· ·under academic freedom contributing to the            20· ·now, no.· But would this draft be the draft
21· ·God-given dignity of individual persons, yes.         21· ·that's going to be published, no.
22· · · ·Q.· ·Yeah.· Yeah, there's reference to the        22· · · ·Q.· ·Okay.· I guess my question is, does --
23· ·notion of God-given dignity in this provision of      23· ·it's more simple.
24· ·the handbook, right?                                  24· · · · · · Did you have a full draft before you
                                                     105                                                               107

·1· · · ·MR. BRAMWELL:· Objection.                         ·1· ·left DePaul?
·2· · · ·THE WITNESS:· Yes, for academic freedom.          ·2· · · ·A.· ·Could I have complete -- could I have
·3· ·BY MS. WERMUTH:                                       ·3· ·submitted an entire book when I left DePaul to a
·4· · · ·Q.· ·Okay.· Now, let me go back -- let me         ·4· ·publisher, yes.
·5· ·ask you real quick about that verbal offer of a       ·5· · · ·Q.· ·Okay.· And what about in 2019, by the
·6· ·contract you got on your book in 2018.· Who did       ·6· ·end of 2019, could you have done that?
·7· ·you have that conversation with, do you recall?       ·7· · · ·A.· ·Yes.
·8· · · ·A.· ·I don't recall her name.· It was a --        ·8· · · ·Q.· ·Yes?
·9· · · ·Q.· ·It was a woman from the press?               ·9· · · ·A.· ·Yes.
10· · · ·A.· ·Excuse me?                                   10· · · ·Q.· ·Okay.· Let me ask you quickly:· You
11· · · ·Q.· ·It was a woman from the University           11· ·testified earlier today about a couple of
12· ·Press?                                                12· ·different conversations.· One was with
13· · · ·A.· ·Yes, she has since left there. I                            where she said something offensive about
14· ·believe she is now at Vanderbilt, but I'm not         14· ·communities on the south and west side I think
15· ·quite sure anymore.                                   15· ·you said; is that right?
16· · · ·Q.· ·Okay.· And what were the terms of the        16· · · ·A.· ·Yes.
17· ·advanced contract that she offered you?               17· · · ·Q.· ·When did that occur?· Was that in your
18· · · ·A.· ·It was -- she verbally said that it was      18· ·first year at DePaul?
19· ·a standard advanced contract; that, you know,         19· · · ·A.· ·Yes.
20· ·upon positive reviews of the book, I will then        20· · · ·Q.· ·Okay.· And did you ever complain
21· ·be contracted with Northwestern.                      21· ·outside of the college about that to anyone,
22· · · ·Q.· ·Did you ask her to put the terms in          22· ·like to human resources or the office of equity?
23· ·writing and send you --                               23· · · ·A.· ·No.· I -- this occurred in front of my
24· · · ·A.· ·I was not interested in an advanced          24· ·chair, so I assumed that my chair would be
                            McCorkle Litigation
                                             106 Services, Inc.                                                        108
                             Chicago, Illinois· (312) 263-0052
                               McCorkle Litigation Services, Inc.                                        105..108
                                                                                                              YVer1f




                                Chicago, Illinois· (312) 263-0052                                                            YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 95 of 408 PageID #:6017
                                                                             Lisa Calvente 02/19/2021
                                                                        Lisa Calvente 02/19/2021
·1· ·answer.                                              ·1· · ·
·2· · ·




·6· · · ·MR. BRAMWELL:· Objection, best evidence.         ·6· · · ·MR. BRAMWELL:· Objection, best evidence.
·7· · ·                                                   ·7· · ·


·9· ·BY MS. WERMUTH:                                      ·9· ·BY MS. WERMUTH:
10· · ·                                                   10· · · ·Q.· ·I don't see that in --
                                                          11· · · ·A.· ·In the comments, yes.
                                                          12·


14· · · ·Q.· ·Okay.· Now, you don't meet with the
15· ·full tenured faculty for an interview, correct?
16· · · ·A.· ·Correct.
17· · ·




24· · · ·Q.· ·Okay.
                                                    125                                                               127

·1· · ·                                                   ·


·3· · · · · · · · · ·(Whereupon, Deposition Exhibit
·4· · · · · · · · · · No. 196 was marked for
·5· · · · · · · · · · identification.)
·6· ·BY MS. WERMUTH:
·7· · · ·Q.· ·So we're looking at Exhibit 196 in case     ·7· · · · · · · · · ·(Whereupon, there were technical
·8· ·that's not clear to the court reporter.              ·8· · · · · · · · · · issues and a break was had.)
·9· · · · · ·                                             ·9· ·BY MS. WERMUTH:
                                                          10· · · ·Q.· ·So, Dr. Calvente, we had just finished
                                                          11· ·up with Exhibit 196, and I was just going to go
                                                          12· ·to Exhibit 203 and I think we were all kind of
                                                          13· ·fishing for it.· So do you want to go to
                                                          14· ·Exhibit 203 now.· Tell me when you get there.
                                                          15· · · ·A.· ·I'm not sure if the court reporter -- I
                                                          16· ·don't remember which part was recorded and which
                                                          17· ·wasn't, so I want to make clear that, you know,
                                                          18· ·these performance links, these mistakes with
                                                          19· ·AAUP, even if it's on the regulation, I was the
                                                          20· ·only person in our college that was exposed to
                                                          21· ·these kind of extra rules, these additional
                                                          22· ·rules, and it's because I believe that it's
                                                          23· ·discrimination and retaliation because of my
                                                          24· ·race because I was outspoken.· I want to make
                           McCorkle Litigation
                                            126 Services, Inc.                                                        128
                            Chicago, Illinois· (312) 263-0052
                             McCorkle Litigation Services, Inc.                                      125..128
                                                                                                             YVer1f




                              Chicago, Illinois· (312) 263-0052
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 96 of 408 PageID #:6018
                                                                                  Lisa Calvente 02/19/2021
                                                                            Lisa Calvente 02/19/2021
·1· ·that clear, and I want that on the record.             ·1· · · · · IN THE UNITED STATES DISTRICT COURT

·2· · · ·Q.· ·When you say you were outspoken, you          ·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS
                                                            ·3· · · · · · · · · ·EASTERN DIVISION
·3· ·were outspoken on what?
                                                            ·4
·4· · · ·A.· ·On the issues of racism and
                                                            ·5· ·LISA CALVENTE,· · · · · · ·)
·5· ·discrimination in the college, so the hostile
                                                            ·6· · · · · Plaintiff,· · · · · )
·6· ·environment that two of us faced, right                ·7· · ·vs.· · · · · · · · · · · ) No. 1:20-CV-03366
·7· ·because -- two of us meaning                  and      ·8· ·SALMA GHANEM and DEPAUL· · )

·8· ·myself.· We were the only two there especially         ·9· ·UNIVERSITY,· · · · · · · · )
                                                            10· · · · · Defendants.· · · · ·)
·9· ·in 2018-2017, yes.
                                                            11
10· · · ·Q.· ·Okay.· So we're going to talk about
                                                            12· · ·I, LISA CALVENTE, being first duly sworn, on
11· ·your complaints.· I know you have a long
                                                            13· ·oath say that I am the deponent in the aforesaid
12· ·interrogatory answer.· I don't think there was a       14· ·deposition taken on the 19th day of
13· ·question pending when you gave your statement          15· ·February, 2021; that I have read the foregoing

14· ·just now, but I am going to move to strike it in       16· ·transcript of my deposition, consisting of pages
                                                            17· ·1 through 134 inclusive, and affix my signature
15· ·a moment.· I'm going to shut my door because my
                                                            18· ·to same.
16· ·dogs.· And I'm sorry.
                                                            19· · · · · · · · · · ______________________________
17· · · · · ·
                                                            · · · · · · · · · · · LISA CALVENTE
                                                            20
                                                            · · ·Subscribed and sworn to
                                                            21· ·before me this ________ day
                                                            · · ·of ______________, 2021.
                                                            22
                                                            · · ·__________________________
                                                            23· ·Notary Public
24· · · ·MR. BRAMWELL:· Objection, misstates her            24

                                                      129                                                               131

·1· ·testimony.                                             ·1· ·STATE OF ILLINOIS· · ·)

·2· ·BY MS. WERMUTH:                                        ·2· · · · · · · · · · · · ·)· ·SS:

·3· · · ·Q.· ·You can answer.                               ·3· ·COUNTY OF C O O K· · ·)

·4· · · ·A.· ·Can you rephrase the question, please,        ·4· · · · · I, BRENDA K. DUFEK, a Certified Shorthand

·5· ·or reask?                                              ·5· ·Reporter within and for the County of Cook and

·6· · · ·MS. WERMUTH:· So I think you just                  ·6· ·State of Illinois, do hereby certify that

·7· ·testified -- do we have two reporters here             ·7· ·heretofore, to-wit, on the 19th day of

·8· ·now?                                                   ·8· ·February, 2021, personally appeared before me

·9· · · · · · · · · ·(Whereupon, a discussion was had       ·9· ·via Zoom videoconference, LISA CALVENTE, in a

10· · · · · · · · · · off the record.)                      10· ·cause now pending and undetermined in the United

11· · · · · · · · · ·(Whereupon, Brenda Dufek, CSR          11· ·States District Court, Northern District of

12· · · · · · · · · · exited the deposition                 12· ·Illinois, Eastern Division, wherein Lisa

13· · · · · · · · · · proceedings and Michelle Barta,       13· ·Calvente is the Plaintiff, and Salma Ghanem is

14· · · · · · · · · · CSR entered the deposition            14· ·the Defendant.

15· · · · · · · · · · proceedings.)                         15· · · · · I further certify that the said LISA

16                                                          16· ·CALVENTE was first duly sworn to testify the

17                                                          17· ·truth, the whole truth and nothing but the truth

18                                                          18· ·in the cause aforesaid; that the testimony then

19                                                          19· ·given by said witness was reported

20                                                          20· ·stenographically by me in the presence of the

21                                                          21· ·said witness, and afterwards reduced to

22                                                          22· ·typewriting by Computer-Aided Transcription, and

23                                                          23· ·the foregoing is a true and correct transcript

24                                                          24· ·of the testimony so given by said witness as

                             McCorkle Litigation
                                              130 Services, Inc.                                                        132
                              Chicago, Illinois· (312) 263-0052
                                McCorkle Litigation Services, Inc.                                        129..132
                                                                                                               YVer1f




                                 Chicago, Illinois· (312) 263-0052
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 97 of 408 PageID #:6019
                                                                                  Lisa Calvente 02/19/2021

                                                                            Lisa Calvente 02/19/2021
·1· · · · · IN THE UNITED STATES DISTRICT COURT             ·1·   · · · · · · · · · · · I N D E X
                                                            ·2·   ·WITNESS· · · · · · · · · · · · · · · · ·PAGE
·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS                ·3·   ·LISA CALVENTE
·3· · · · · · · · · ·EASTERN DIVISION                       ·4·   · EXAMINATION BY MS. WERMUTH· · · · · · · 138
                                                            ·5·   · EXAMINATION BY MR. BRAMWELL· · · · · · ·298
·4· ·LISA CALVENTE,· · · · · ·)                             ·6
                                                            ·7
·5· · · · · Plaintiff,· · · · )                             · ·   · · · · · · · · · ·E X H I B I T S
                                                            ·8
·6· · ·vs.· · · · · · · · · · ) Case No. 1:20-CV-03366
                                                            · ·   ·NUMBER· · · · · · · · · · · · · ·IDENTIFICATION
·7· ·SALMA GHANEM and· · · · ·) (Volume II)                 ·9
                                                            · ·   ·   Exhibit No. 203· · · · · · · · · · · · ·144
·8· ·DEPAUL UNIVERSITY,· · · ·)                             10·   ·   Exhibit No. 204· · · · · · · · · · · · ·147
                                                            · ·   ·   Exhibit No. 215· · · · · · · · · · · · ·155
·9· · · · · Defendants.· · · ·)
                                                            11·   ·   Exhibit No. 217· · · · · · · · · · · · ·168
10                                                          · ·   ·   Exhibit No. 219· · · · · · · · · · · · ·172
                                                            12·   ·   Exhibit No. 50· · · · · · · · · · · · · 189
11· · · · · The deposition of LISA CALVENTE, called         · ·   ·   Exhibit No. 23· · · · · · · · · · · · · 209
                                                            13·   ·   Exhibit No. 134-A· · · · · · · · · · · ·214
12· ·for examination pursuant to the Rules of               · ·   ·   Exhibit No. 51· · · · · · · · · · · · · 220
13· ·Civil Procedure for the United States District         14·   ·   Exhibit No. 31· · · · · · · · · · · · · 224
                                                            · ·   ·   Exhibit No. 57· · · · · · · · · · · · · 226
14· ·Courts pertaining to the taking of depositions,        15·   ·   Exhibit No. 53· · · · · · · · · · · · · 228
                                                            · ·   ·   Exhibit No. 78· · · · · · · · · · · · · 231
15· ·taken before Michelle L. Barta, a certified            16·   ·   Exhibit No. 85· · · · · · · · · · · · · 236
                                                            · ·   ·   Exhibit No. 108· · · · · · · · · · · · ·241
16· ·shorthand reporter in the State of Illinois,
                                                            17·   ·   Exhibit No. 102· · · · · · · · · · · · ·242
17· ·via Zoom videoconference on the 19th day of            · ·   ·   Exhibit No. 109· · · · · · · · · · · · ·244
                                                            18·   ·   Exhibit No. 112· · · · · · · · · · · · ·255
18· ·February, 2021, at the hour of 1:36 p.m.               · ·   ·   Exhibit No. 123· · · · · · · · · · · · ·258
                                                            19·   ·   Exhibit No. 132· · · · · · · · · · · · ·265
19
                                                            · ·   ·   Exhibit No. 144· · · · · · · · · · · · ·267
20                                                          20·   ·   Exhibit No. 145· · · · · · · · · · · · ·269
                                                            · ·   ·   Exhibit No. 173· · · · · · · · · · · · ·273
21                                                          21·   ·   Exhibit No. 202· · · · · · · · · · · · ·276
                                                            · ·   ·   Exhibit No. 211· · · · · · · · · · · · ·278
22· ·Reported by:· Michelle L. Barta, C.S.R., R.P.R.        22·   ·   Exhibit No. 95· · · · · · · · · · · · · 284
23· ·License No:· 084-004033                                · ·   ·   Exhibit No. 88· · · · · · · · · · · · · 287
                                                            23·   ·   Exhibit No. 231· · · · · · · · · · · · ·288
24                                                          · ·   ·   Exhibit No. 3· · · · · · · · · · · · · ·288
                                                            24·   ·   · · (Exhibit 53 retained by Ms. Wermuth)
                                                      135                                                             137

·1· · ·APPEARANCES (via Zoom):                              ·1· · · · · · · · · · LISA CALVENTE,
·2                                                          ·2· ·having been first previously duly sworn, was
·3· · · · · LAW OFFICES OF FITZGERALD T. BRAMWELL, by       ·3· ·examined and testified via Zoom videoconference
·4· · · · · MR. FITZGERALD T. BRAMWELL                      ·4· ·as follows:
·5· · · · · 225 West Washington Street, Suite 2200          ·5· · · · · · · · · · · EXAMINATION
·6· · · · · Chicago, Illinois· 60606                        ·6· ·BY MS. WERMUTH:
·7· · · · · (312) 924-2884                                  ·7· · · ·Q.· ·Dr. Calvente, and forgive me if I
·8· · · · · bramwell@fitzgeraldbramwell.com                 ·8· ·misunderstood your testimony, but I thought that
·9· · · · · · · ·Representing the Plaintiff;                ·9· ·you testified that you were being held to
10                                                          10· ·different standards as it related to the AAEP
11· · · · · COZEN O'CONNOR, by                              11· ·guidelines and as it related to the review of
12· · · · · MS. ANNELIESE WERMUTH                           12· ·your research -- or I am so sorry, the review of
13· · · · · MS. NANDINI SANE                                13· ·your performances as research or as scholarship.
14· · · · · 123 North Wacker Drive, Suite 1800              14· ·Did I understand your testimony correctly?
15· · · · · Chicago, Illinois· 60606                        15· · · ·A.· ·I was -- Well, I believe that
16· · · · · (312) 382-3100                                  16· ·Dr. Murphy excluding my performance link and
17· · · · · awermuth@cozen.com                              17· ·then requiring me to do something that was not
18· · · · · · · ·Representing the Defendants.               18· ·required of anyone else was discriminatory and
19                                                          19· ·retaliatory, yes.
20· ·ALSO PRESENT:                                          20· · · ·Q.· ·Okay.· So then it's not your position
21· ·Ms. Kathryn Stieber                                    21· ·that contextualizing the performances was
22· ·Ms. Salma Ghanem                                       22· ·discriminatory or retaliatory?
23· ·Ms. Alexandra Murphy                                   23· · · · · · MR. BRAMWELL:· Objection, misstates her
24                                                          24· ·testimony.
                            McCorkle Litigation Services, Inc.
                                              136(312) 263-0052
                             Chicago, Illinois·                                                              YVer1f
                                                                                                                      138

                               McCorkle Litigation Services, Inc.                                         135..138
                                Chicago, Illinois· (312) 263-0052                                                           YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 98 of 408 PageID #:6020
                                                                                Lisa Calvente 02/19/2021

                                                                         Lisa Calvente 02/19/2021
·1· · · · · · THE WITNESS:· I disagree with how you        ·1· ·about this.· You received a copy of the final
·2· ·are reading that -- that last section and are         ·2· ·college report on your tenure case on
·3· ·also measured on the basis of scholarly reviews       ·3· ·December 14th of 2018, right?
·4· ·and grants and awards relating to the work.           ·4· · · ·A.· ·Yes.
·5· ·That doesn't say that they are not counted.           ·5· · ·
·6· ·That just says that they are measured in a
·7· ·particular way based on these outside reviews.
·8· ·That is correct.                                      ·8· · · ·Q.· ·And in order under college guidelines
·9· ·BY MS. WERMUTH:                                       ·9· ·to be qualified for tenure you needed to have
10· · · ·Q.· ·But if you don't have the outside            10· ·two of those categories rated as excellent, is
11· ·reviews it can't be -- it can't be evaluated,         11· ·that right?
12· ·right?                                                12· · · ·A.· ·Yes.
13· · · · · · MR. BRAMWELL:· Objection.                    13· · ·
14· · · · · · THE WITNESS:· I couldn't agree that.
15· ·BY MS. WERMUTH:
16· · · ·Q.· ·Okay.· So you have a different
17· ·interpretation of the college guidelines?             17· · · ·Q.· ·Now, in the -- in the first several
18· · · ·A.· ·I have a different interpretation of         18· ·pages that's the personnel committee's write-up,
19· ·how you are using are also measured.· So an           19· ·is that right?
20· ·example of that is, you know, in other -- in the      20· · · · · · MR. BRAMWELL:· Objection, best
21· ·College of Liberal Arts and Sciences they             21· ·evidence.
22· ·measure performances and creative work based on       22· ·BY MS. WERMUTH:
23· ·exactly this.· Right?                                 23· · · ·Q.· ·That's a bad question.· Let me start
24· · · · · · So if you weren't -- If you didn't have      24· ·over.
                                                     143                                                           145

·1· ·performances that were reviewed or that had           ·1· · · · ·
·2· ·grants and awards, they still counted.· They
·3· ·just weren't measured as heavy or as weighted as      ·3· · · · · · MR. BRAMWELL:· Is there a question
·4· ·the other performances.· So that's how I              ·4· ·pending?
·5· ·understand measure.                                   ·5· ·BY MS. WERMUTH:
·6· · · ·Q.· ·Okay.· By looking at how another             ·6· · ·
·7· ·college at the university interprets that             ·7· · · · · · MR. BRAMWELL:· Objection, best
·8· ·language?                                             ·8· ·evidence.
·9· · · ·A.· ·Yes.                                         ·9· · · · · · THE WITNESS:· What was that last page?
10· · · ·Q.· ·Did you ever ask anybody in the college      10· ·I am sorry.
11· ·about hey, you know, is this sufficient to just       11· ·BY MS. WERMUTH:
12· ·send you these links or should I -- is there
13· ·something else I should be doing?· Did you have
14· ·conversations with anybody about that?
15· · · ·A.· ·I assumed because they were already
16· ·under research prior to that they were submitted
17· ·as such, that they were going to be evaluated as
18· ·such.
19· · · · · · · · · ·(Whereupon, Exhibit No. 203 was       19· ·Hang on here.
20· · · · · · · · · · marked for identification.)          20· · · · · · MR. BRAMWELL:· We didn't lose Anna, did
21· ·BY MS. WERMUTH:                                       21· ·we?
22· · · ·Q.· ·Okay.· Can we go to Exhibit No. 203?         22· · · · · · MS. WERMUTH:· No.· I am sorry.· I lost
23· · · ·A.· ·I am there.                                  23· ·my thought for a moment, so just bear with me.
24· · · ·Q.· ·Okay.· So we were starting to talk           24· ·It's a very long document.· I am sorry.· Just
                             McCorkle Litigation Services, Inc.
                                               144(312) 263-0052
                              Chicago, Illinois·                                                          YVer1f
                                                                                                                   146

                               McCorkle Litigation Services, Inc.                                       143..146
                                Chicago, Illinois· (312) 263-0052                                                        YVer1f
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 99 of 408 PageID #:6021
                                                                             Lisa Calvente 02/19/2021

                                                                         Lisa Calvente 02/19/2021
                                                           ·1· ·BY MS. WERMUTH:
                                                           ·2· ·



                                                           ·5· · · ·A.· ·Can you tell me which batch number that
·6· · · ·A.· ·Yes.                                         ·6· ·is?· Oop, I found it.· Sorry.
·7· · · ·Q.· ·All right.· Let's just get that into         ·7· · · ·Q.· ·No worries.
·8· ·the record.· Exhibit --                               ·8·
·9· ·




20· · · ·Q.· ·Are you arguing with me?· What I am
21· ·trying to --
22· · · · · · MR. BRAMWELL:· No, she is not.
23· ·Absolutely -- No, no, no, no, no.· She is -- I        23· · · · · · MR. BRAMWELL:· Objection, best
24· ·object to the characterization of my client           24· ·evidence.
                                                     219                                                           221

·1· ·doing any arguing.                                    ·1· · · · ·
·2· · · · · · MS. WERMUTH:· There is no question
·3· ·pending.
·4· · · · · · MR. BRAMWELL:· She has behaved
·5· ·remarkably well.
·6· · · · · · MS. WERMUTH:· There is no question
·7· ·pending.
·8· · · · · · MR. BRAMWELL:· But that is not -- that
·9· ·is not arguing.· The only person that -- Well,
10· ·let's just leave it at that.· You know,
11· ·Dr. Calvente, has not been arguing with you.
12· ·BY MS. WERMUTH:
13· · ·



                                                           16· · · · · · MR. BRAMWELL:· Objection.
                                                           17· · · · · · THE WITNESS:· Yes.
                                                           18· · · · · · MR. BRAMWELL:· Best evidence.
                                                           19· ·BY MS. WERMUTH:
                                                           20· · ·


22· · · · · · · · · ·(Whereupon, Exhibit No. 51 was
23· · · · · · · · · · marked for identification.)
24
                          McCorkle Litigation Se
                                            220(312) 263-0052
                           Chicago, Illinois·                                                             YVer1f
                                                                                                                   222

                               McCorkle Litigation Services, Inc.                                    219..222
                                Chicago, Illinois· (312) 263-0052                                                        YVer1f
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 100 of 408 PageID #:6022
                                                                               Lisa Calvente 02/19/2021

                                                                        Lisa Calvente 02/19/2021
·1· ·                                                     ·1· · ·
·2· · · · · · MR. BRAMWELL:· Objection, best
·3· ·evidence.
·4· · · · · ·



                                                                                 talk about your -- Now, after
                 .                                        ·8· ·you -- after you got your 2015 performance -- I
·9· · · · · · MR. BRAMWELL:· Objection, best              ·9· ·am sorry, probationary -- formal probationary
10· ·evidence.                                            10· ·value and after you got Salma's letter extending
11· ·BY MS. WERMUTH:                                      11· ·your contract you filed a discrimination charge
12· · · ·Q.· ·Okay.                                       12· ·against the personnel committee with the
13· · ·                                                   13· ·Internal Office of Equity at DePaul, is that
                                                          14· ·right?
                                                          15· · · ·A.· ·Yes.
                                                          16· · · ·Q.· ·And you told Salma you were going to do
                                                          17· ·that, right?
                                                          18· · · ·A.· ·Yes.
                                                          19· · · ·Q.· ·So Salma knew at the time that you were
                                                          20· ·filing that complaint?
                                                          21· · · ·A.· ·Yes.
                                                          22· · · · · · MR. BRAMWELL:· Objection, asked and
                                                          23· ·answered.
                                                          24
                                                    223                                                            225

·1                                                        ·1· ·BY MS. WERMUTH:
                                                          ·2· · · ·Q.· ·And shortly after you filed that
·3· · · · · · · · · ·(Whereupon, Exhibit No. 31 was       ·3· ·complaint -- That was in the summer of 2015 that
·4· · · · · · · · · · marked for identification.)         ·4· ·you filed that complaint, right?
·5· ·BY MS. WERMUTH:                                      ·5· · · ·A.· ·I don't recall.· I thought it was the
·6· · · ·Q.· ·All right.· So speaking of personal         ·6· ·spring, but it could have been the beginning of
·7· ·statements, let's take a quick look at your 2015     ·7· ·summer.· I believe it was the spring.
·8· ·personal statement.· I am sorry, I didn't give       ·8· · · ·Q.· ·Okay.· So let's -- and I guess it's
·9· ·the number.· 31.· Let me know when you're there      ·9· ·relative.
10· ·please.                                              10· · · · · · · · · ·(Whereupon, Exhibit No. 57 was
11· · · ·A.· ·I am there.                                 11· · · · · · · · · · marked for identification.)
12· · ·                                                   12· ·BY MS. WERMUTH:
                                                          13· · · ·Q.· ·So can you look at Exhibit 57?· That
                                                          14· ·would be in Batch 2, the very last one.
                                                          15· · · ·A.· ·Yes.
                                                          16· · · ·Q.· ·Let me know when you're there.
                                                          17· · · ·A.· ·Oh, I am here.
                                                          18· · · ·Q.· ·Okay.· So it looks like at least your
                                                          19· ·allegations were reduced to writing between you
                                                          20· ·and Barbara Schaffer in early June of 2015.
                                                          21· ·Does that sound right?
                                                          22· · · ·A.· ·Yes.· There was -- So there was a
                                                          23· ·meeting prior to that --
                      .                                   24· · · ·Q.· ·Okay.
                            McCorkle Litigation Services, Inc.
                                              224(312) 263-0052
                             Chicago, Illinois·                                                           YVer1f
                                                                                                                   226

                              McCorkle Litigation Services, Inc.                                       223..226
                               Chicago, Illinois· (312) 263-0052                                                         YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 101 of 408 PageID #:6023
                                                                                Lisa Calvente 02/19/2021

                                                                          Lisa Calvente 02/19/2021
·1· · · ·A.· ·-- yeah, which was why I say this            ·1· ·take a minute, let me switch gears for just a
·2· ·reflects exactly what we have discussed, and          ·2· ·quick moment.· In your -- When you responded to
·3· ·prior to that that were phone calls, and this is      ·3· ·your Answers to Interrogatories last fall you
·4· ·all in the spring quarter, the end of the spring      ·4· ·had indicated that you had applied for two jobs
·5· ·quarter.                                              ·5· ·or, you know, jobs at two different
·6· · · ·Q.· ·Understood.· Okay.· But after you got        ·6· ·institutions.
·7· ·your letter from Salma?                               ·7· · · · · · Have you applied to more jobs since
·8· · · ·A.· ·Yes.                                         ·8· ·then, Dr. Calvente?
·9· · · ·Q.· ·Okay.· Got it.· And when did you start       ·9· · · ·A.· ·I am sorry.· I am doing two things at
10· ·your leave then?· Like the spring quarter, is it      10· ·once.· So should I open this E-mail from you
11· ·done right around early June?                         11· ·first or answer your question?
12· · · ·A.· ·Well, that's why I couldn't really           12· · · ·Q.· ·Did you get it?· Did you get the
13· ·remember because I wasn't teaching in that            13· ·E-mail?
14· ·spring quarter.                                       14· · · ·A.· ·Yes.·
15· · · ·Q.· ·Okay.
16· · · ·A.· ·Right.· So I front-loaded my courses         16· · · ·Q.· ·Nope.
17· ·and I actually contacted I believe it was             17· · · ·A.· ·Sorry.
18· ·Liz Ortiz at the time and then it was referred        18· · · · · · MR. BRAMWELL:· I just got it.
19· ·to Barbara Schaffer after the meeting with            19· ·BY MS. WERMUTH:
20· ·Salma.· When I told Dr. Ghanem that I was going       20· · · ·Q.· ·Okay.· Let's just stick with the E-mail
21· ·to file it was immediately after.· I left her         21· ·then.· Let me know when you get it.
22· ·office and then went to my office --                  22· · · ·A.· ·Okay.· Got it.· I am opening it now.
23· · · ·Q.· ·Okay.                                        23· · · ·Q.· ·Okay.· And if you scroll all the way
24· · · ·A.· ·-- and called.                               24· ·down there is a transcription of what appears to
                                                     227                                                          229

·1· · · ·Q.· ·Got it.                                      ·1· ·be your first voice message to Barbara Schaffer?
·2· · · ·A.· ·So I didn't receive her letter yet.          ·2· · · ·A.· ·Yes.
·3· · · ·Q.· ·Oh, I see.· So you're saying it was          ·3· · · ·Q.· ·Okay.· And it looks like you called
·4· ·March 30th, like the same day that you met with       ·4· ·her --
·5· ·Salma that you --                                     ·5· · · ·A.· ·Equal.· So it wasn't immediately after.
·6· · · ·A.· ·I began to call.· I believe so.· I went      ·6· ·I am sorry.
·7· ·to my office.· I told her that I was going to         ·7· · · ·Q.· ·No, that's okay.
·8· ·file.                                                 ·8· · · ·A.· ·I am remembering falsely.
·9· · · ·Q.· ·Okay.· Here, this is going to clarify        ·9· · · ·Q.· ·So the letter from Salma was April 2nd
10· ·it for us.· Can you look at Exhibit 53?· Did I        10· ·and then this -- you called Barbara on
11· ·include that in your packet?                          11· ·April 16th, right?
12· · · ·A.· ·Excuse me?                                   12· · · ·A.· ·Yes.
13· · · · · · MR. BRAMWELL:· I do not have 53.             13· · · ·Q.· ·Okay.
14· · · · · · MS. WERMUTH:· You don't have it?             14· · · ·A.· ·Yes.
15· · · · · · MR. BRAMWELL:· No, I don't.                  15· · · ·Q.· ·Got it.· All right.· Now, you were on
16· · · · · · MS. WERMUTH:· Okay.· Here.· Let me send      16· ·leave for that year, but Barbara did investigate
17· ·you 53.                                               17· ·your concern; right?
18· · · · · · THE WITNESS:· I do not have it, yeah.        18· · · ·A.· ·Yes.
19· · · · · · MS. WERMUTH:· Okay.· I will send it to       19· · · · · · MR. BRAMWELL:· Objection, calls for
20· ·you.                                                  20· ·speculations as to what Barbara did.
21· · · · · · · · · ·(Whereupon, Exhibit No. 53 was        21· ·BY MS. WERMUTH:
22· · · · · · · · · · marked for identification.)          22· · · ·Q.· ·And you received a closing letter the
23· ·BY MS. WERMUTH:                                       23· ·following summer I think.· Let's get that into
24· · · ·Q.· ·While that's coming because it always        24· ·the record.
                           McCorkle Litigation Services, Inc.
                                             228(312) 263-0052
                            Chicago, Illinois·                                                           YVer1f
                                                                                                                  230

                               McCorkle Litigation Services, Inc.                                      227..230
                                Chicago, Illinois· (312) 263-0052                                                       YVer1f
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 102 of 408 PageID #:6024
                                                                             Lisa Calvente 02/19/2021

                                                                      Lisa Calvente 02/19/2021
·1· ·evidence.                                          ·1· · · · · · · · · ·(Whereupon, Exhibit No. 108 was
·2· · · · · · THE WITNESS:· Yes.                        ·2· · · · · · · · · · marked for identification.)
·3· ·BY MS. WERMUTH:                                    ·3· ·BY MS. WERMUTH:
·4· · ·                                                 ·4· · · ·Q.· ·So 108 which should be in Batch 5, the
                                                        ·5· ·first
                                                        ·6· ·one --
                                                        ·7· · · ·A.· ·Yes, I am there.
                                                        ·8· · · ·Q.· ·Okay.· Thank you.
                                                        ·9· · · · · ·




                                                        15· · · · · · MR. BRAMWELL:· Objection, best
16· · · ·Q.· ·Okay.                                     16· ·evidence.
17· · · · · · MR. BRAMWELL:· Objection, best            17· · · · · ·
18· ·evidence.                                          18· ·BY MS. WERMUTH:
19· ·BY MS. WERMUTH:                                    19· · · ·Q.· ·By the way, did you ever go to any of
20· · · ·                                               20· ·the tenure workshops that were being hosted by
                                                        21· ·the college?
                                                        22· · · ·A.· ·Yes.
                                                        23· · · ·Q.· ·How many did you go to?
                                                        24· · · ·A.· ·I believe I went to -- For the college?
                                                  239                                                            241

                                                        ·1· · · ·Q.· ·Um-hum, yes.
                                                        ·2· · · ·A.· ·I can recall -- I don't know if this
                                                        ·3· ·was the exact number, but I can recall going to
                                                        ·4· ·two.
                                                        ·5· · · ·Q.· ·And when was the last one that you went
                                                        ·6· ·to?· Do you remember?
                                                        ·7· · · ·A.· ·No.
                                                        ·8· · · ·Q.· ·Had you ever asked anybody for like a
                                                        ·9· ·sample personnel statement or a sample CV?
                                                        10· · · ·A.· ·Yes.· So I had -- I asked the diversity
                                                        11· ·rep for her personnel statement.· I also had
                                                        12· ·Sydney's personnel statement.· I also took the
                                                        13· ·advice of Barb Willard for my 2015 personnel
                                                        14· ·statement.
                                                        15· · · ·Q.· ·Okay.· Did I send Exhibit 102 to you
                                                        16· ·for example?
                                                        17· · · · · · MR. BRAMWELL:· Yeah, I have it.
                                                        18· · · · · · · · · ·(Whereupon, Exhibit No. 102 was
                                                        19· · · · · · · · · · marked for identification.)
                                                        20· ·BY MS. WERMUTH:
21· · · ·Q.· ·Right.· Thank you.                        21· · · ·Q.· ·Okay.· Can you open that up?
22· · · · · · Okay.· So let's just get that stuff in    22· · · ·A.· ·I am sorry.· Which is Exhibit 102?
23· ·the record.· I won't spend all our time on it.     23· · · ·Q.· ·Correct.
24                                                      24· · · ·A.· ·You sent it separately?· Which one is
                          McCorkle Litigation Services, Inc.
                           Chicago, Illinois   312) 263-0052                                            YVer1f
                                                                                                                 242

                             McCorkle Litigation Services, Inc.                                      239..242
                              Chicago, Illinois· (312) 263-0052                                                        YVer1f
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 103 of 408 PageID #:6025
                                                                                Lisa Calvente 02/19/2021

                                                                         Lisa Calvente 02/19/2021
·1· ·can't find it.· Oh, 111.                              ·1· · · ·Q.· ·What was that?· Can you tell me about
·2· · · ·A.· ·111?                                         ·2· ·that?
·3· · · ·Q.· ·Yes.                                         ·3· · · ·A.· ·Sorry about that.· I cut you off to
·4· · · ·A.· ·Is that in Batch 6 maybe?                    ·4· ·start explaining.
·5· · · ·Q.· ·Batch 5.                                     ·5· · · · · · So I go to the meeting.· I sent this
·6· · · · · · MR. BRAMWELL:· You can use the screen        ·6· ·E-mail after I make the appointment and I start
·7· ·share, too, if you would like.                        ·7· ·going through this and I say that, you know, I
·8· · · · · · THE WITNESS:· I have it.                     ·8· ·am going to file with Barbara Schaffer or I am
·9· ·BY MS. WERMUTH:                                       ·9· ·going to file for retaliation and
10· · ·                                                    10· ·discrimination, and at some point I just -- I
                                                           11· ·just break down.· I start like uncontrollably
                                                           12· ·bawling, crying.· She gives me tissue -- or I
13· · · ·Q.· ·And after you got that letter you met        13· ·think I had tissue and then she gave me tissue,
14· ·with her to express concerns to her that you          14· ·I don't remember.· But I was really shook up and
15· ·felt like you were being discriminated and            15· ·said that you know -- I was like this is time, I
16· ·retaliated against, is that right?                    16· ·am wasting time doing this when I could be doing
17· · · ·A.· ·I expressed concerns in an E-mail and        17· ·other things and junior faculty, that's all they
18· ·then I absolutely say that in our discussion.         18· ·have is time and this is really eating up my
19· · · ·Q.· ·Okay.· And the E-mail where you mention      19· ·time.· You know, now I have to think about
20· ·that is Exhibit 112?                                  20· ·service.· So I am going on and on.· I am crying
21· · · ·A.· ·Yes.                                         21· ·and she says, you know, for me not to worry,
22· · · · · · · · · ·(Whereupon, Exhibit No. 112 was       22· ·that the provost already knows about my file,
23· · · · · · · · · · marked for identification.)          23· ·about my case, that I should not file a claim
24                                                         24· ·and wait until -- No, wait.· She said that
                                                     255                                                            257

·1· ·BY MS. WERMUTH:                                       ·1· ·first, that I should not file a claim and wait
·2· · · ·Q.· ·And that first line says, "Thank you         ·2· ·until after tenure and the provost already knows
·3· ·for agreeing to meet with me tomorrow."· Do you       ·3· ·about my case.
·4· ·see that?                                             ·4· · · · · · · · · ·(Whereupon, Ms. Stieber enters
·5· · · ·A.· ·Yes.                                         ·5· · · · · · · · · · the proceedings.)
·6· · · ·Q.· ·Okay.· So you met with her on                ·6· ·BY MS. WERMUTH:
·7· ·December 16th?                                        ·7· · · ·Q.· ·Did she tell you what she meant about
·8· · · ·A.· ·Yes.                                         ·8· ·that, the provost knows about your case?
·9· · · ·Q.· ·And during this conversation you told        ·9· · · ·A.· ·She did not.
10· ·her that you wanted to file again with the            10· · · · · · · · · ·(Whereupon, Exhibit No. 123 was
11· ·Office of Equity?                                     11· · · · · · · · · · marked for identification.)
12· · · ·A.· ·Yes.· I actually already reached out to      12· ·BY MS. WERMUTH:
13· ·Barbara Schaffer.                                     13· · · ·Q.· ·Can you look at Exhibit 123?· Are you
14· · · ·Q.· ·Oh, you had?                                 14· ·there?
15· · · ·A.· ·Yes.                                         15· · · ·A.· ·Yes.
16· · · ·Q.· ·Did you tell Salma that you had done         16· · · ·Q.· ·Oh, I am sorry.· Okay.· Next time just
17· ·that?                                                 17· ·let me know.· I wait for you because I want to
18· · · ·A.· ·I don't recall.· I don't recall.             18· ·make sure that you're there and I don't want to
19· · · ·Q.· ·Now, after that meeting -- Well, strike      19· ·waste my minutes.
20· ·that.                                                 20· · · · · · So looking at this E-mail trail, going
21· · · · · · So you indicated that Salma in this          21· ·to the bottom if you would to Page 8248 --
22· ·meeting told you about a conversation she had         22· · · ·A.· ·Yes.
23· ·with then Provost Marten denBoer?                     23· · · ·Q.· ·-- this is an E-mail from
24· · · ·A.· ·Yes.· So I don't --                          24· ·Barbara Schaffer to you on Monday,
                             McCorkle Litigation Services, Inc.
                                               256(312) 263-0052
                              Chicago, Illinois·                                                           YVer1f
                                                                                                                    258

                                McCorkle Litigation Services, Inc.                                   255..258
                                 Chicago, Illinois· (312) 263-0052                                                        YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 104 of 408 PageID #:6026
                                                                                Lisa Calvente 02/19/2021

                                                                        Lisa Calvente 02/19/2021
·1· ·December 18th.· Do you see that?                      ·1· ·Barbara Schaffer reaches out to you on
·2· · · ·A.· ·Yes.                                         ·2· ·December 18th of 2017; right?
·3· · · ·Q.· ·So you had met with Salma, I guess, on       ·3· · · ·A.· ·Yes, but I went back to that first
·4· ·the 16th which was a Saturday; is that right?         ·4· ·document with the E-mail with Salma to see if it
·5· · · ·A.· ·Yes.                                         ·5· ·was -- if we met on a Saturday and we did not.
·6· · · ·Q.· ·Okay.                                        ·6· · · ·Q.· ·What are you looking at to determine
·7· · · ·A.· ·Wait.· Did I meet with her on a              ·7· ·that?
·8· ·Saturday?· That doesn't seem right.                   ·8· · · ·A.· ·The E-mail -- The document that you --
·9· · · ·Q.· ·Well, the E-mail that you sent that we       ·9· ·Let's see.· 25975.
10· ·just looked at was sent on December 15th and it       10· · · ·Q.· ·Okay.· Right.· It says I can meet
11· ·said, "I look forward to meeting you tomorrow."       11· ·Friday at 9:00 or 12:30, right?
12· ·Do you recall?                                        12· · · ·A.· ·Yes.
13· · · ·A.· ·Yeah, but that might have -- Why would       13· · · ·Q.· ·But then you E-mail her on Friday
14· ·I go to school on a Saturday?                         14· ·saying, "Thank you for agreeing to meet me
15· · · ·Q.· ·Okay.· Well, let me ask you this             15· ·tomorrow."· That's where the confusion comes in.
16· ·question whether it was -- You met with her           16· ·Do you see?
17· ·either that Friday the 15th or the Saturday the       17· · · ·A.· ·It's weird.
18· ·16th?                                                 18· · · ·Q.· ·Okay.· So you met with her either the
19· · · ·A.· ·I don't believe that we would have met       19· ·15th or the 16th?
20· ·on a Saturday because it was a weekend. I             20· · · ·A.· ·Yeah.· It wasn't a Saturday.· That I
21· ·don't -- Yeah.· But I could be wrong.· I don't        21· ·know.
22· ·recall.                                               22· · · ·Q.· ·Okay.· So let's look at Exhibit 123.
23· · · ·Q.· ·This is the -- Monday the 18th is the        23· · · ·A.· ·Okay.
24· ·first business day after your meeting with            24· · · ·Q.· ·Look at the first E-mail on Page 8248
                                                     259                                                           261

·1· ·Salma, right?                                         ·1· ·from Barbara Schaffer.· According to this E-mail
·2· · · · · · MR. BRAMWELL:· And I am sorry, my            ·2· ·Barbara Schaffer learned from Dean Ghanem that
·3· ·screen kicked me out of my PDF viewer.· Can you       ·3· ·you had -- that you had expressed concerns to
·4· ·give me not the previous exhibit but the              ·4· ·Dean Ghanem about discrimination and
·5· ·previous one?· Was it 117?                            ·5· ·retaliation, right?
·6· · · · · · MS. WERMUTH:· No.· The previous one          ·6· · · ·A.· ·Yes.
·7· ·being the E-mail with Salma?                          ·7· · · ·Q.· ·Okay.· So according to this E-mail
·8· · · · · · MR. BRAMWELL:· Yeah.                         ·8· ·Dean Ghanem after the meeting with you reached
·9· · · · · · MS. WERMUTH:· Let me dig up old stuff        ·9· ·out to Barbara Schaffer?
10· ·and waste my precious time here that you won't        10· · · ·A.· ·I -- I -- If I recall correctly and
11· ·give me.                                              11· ·obviously, I mean, I thought I E-mailed
12· · · · · · MR. BRAMWELL:· Well, we can talk about       12· ·Barbara Schaffer, but she called -- I say yes, I
13· ·all the -- all the best evidence documents            13· ·want to file.· Then we talk about the provost.
14· ·but --                                                14· ·I have that breakdown.· I still say I want to
15· · · · · · MS. WERMUTH:· I like to lay foundation,      15· ·file and then she explains the tenure process to
16· ·Jerry.· I like to make sure that the witness it       16· ·me.· She explains that the provost knows my case
17· ·actually going to tell me she received a              17· ·and then she says, you know, you talk about
18· ·document or authored a document.                      18· ·time, do not file now, wait until you go up for
19· · · · · · MR. BRAMWELL:· Yeah, it's Mr. Bramwell       19· ·tenure.· I agree and then I tell Barbara that I
20· ·and -- on the record, and we could have               20· ·do not want to meet.
21· ·stipulated to a lot of it.                            21· · · ·Q.· ·Okay.· But according to this E-mail
22· ·BY MS. WERMUTH:                                       22· ·from Barbara to you, despite Dean Ghanem at the
23· · · ·Q.· ·So, Dr. Calvente, going back to              23· ·time telling you not to file she filed on your
24· ·Exhibit 123 which is where we were,                   24· ·behalf or she notified Barbara Schaffer anyway;
                          McCorkle Litigation Services, Inc.
                                            260(312) 263-0052
                           Chicago, Illinois·                                                             YVer1f
                                                                                                                   262

                             McCorkle Litigation Services, Inc.                                        259..262
                              Chicago, Illinois· (312) 263-0052                                                          YVer1f
    Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 105 of 408 PageID #:6027
                                                                               Lisa Calvente 02/19/2021

                                                                        Lisa Calvente 02/19/2021
·1· ·right?                                               ·1· ·
·2· · · · · · MR. BRAMWELL:· Objection, calls for         ·2· · · · · · · · · ·(Whereupon, Exhibit No. 132 was
·3· ·speculation and best evidence.                       ·3· · · · · · · · · · marked for identification.)
·4· · · · · · THE WITNESS:· I -- I do not recall.         ·4· ·BY MS. WERMUTH:
·5· ·BY MS. WERMUTH:                                      ·5· · · ·Q.· ·Okay.· So can you look at Exhibit 132?
·6· · · ·Q.· ·I am just asking you what the E-mail --     ·6· · · ·A.· ·Yes.
·7· ·what the communication from Barbara to you           ·7· · ·
·8· ·provides, that she learned about concerns from
·9· ·Dean Ghanem.
10· · · · · · MR. BRAMWELL:· Again, I am going to
11· ·object on best evidence grounds.· The document
12· ·says what it says.· We will stipulate that the
13· ·document says what it says.                          13· · · · · · MR. BRAMWELL:· Objection, best
14· · · · · · MS. WERMUTH:· Perfect.· Stipulation         14· ·evidence.
15· ·accepted.· I will move on.                           15· ·BY MS. WERMUTH:
16· ·BY MS. WERMUTH:                                      16· · ·
17· · ·




                                                    263                                                           265

·




                                                          14· · · ·Q.· ·Right.· Okay.· Now, fast forwarding to
                                                          15· ·the spring of 2018, so now you're getting ready
                                                          16· ·for your tenure review and you filed with
                                                          17·                  an anonymous complaint; is that
                                                          18· ·right?
                                                          19· · ·



                                                          22· · · ·Q.· ·Okay.· So were you pursuing a complaint
                                                          23· ·with her or you just read the document because
                                                          24· ·she wanted to complain?
                                              Services, Inc.
                                           264(312) 263-0052
                          Chicago, Illinois·                                                             YVer1f
                                                                                                                  266

                             McCorkle Litigation Services, Inc.                                      263..266
                              Chicago, Illinois· (312) 263-0052                                                         YVer1f
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 106 of 408 PageID #:6028
                                                                                Lisa Calvente 02/19/2021

                                                                          Lisa Calvente 02/19/2021
·1· · · ·A.· ·No.· I agreed that I would do it with        ·1· ·BY MS. WERMUTH:
·2· ·her.                                                  ·2· · · ·Q.· ·It was just that word, okay.
·3· · · · · · · · · ·(Whereupon, Exhibit No. 144 was       ·3· · · · · · All right.· Now, there was an E-mail
·4· · · · · · · · · · marked for identification.)          ·4· ·follow up -- By the way, does DePaul -- Well,
·5· ·BY MS. WERMUTH:                                       ·5· ·strike that.
·6· · · ·Q.· ·Okay.·                                       ·6· · · · · · · · · ·(Whereupon, Exhibit No. 145 was
                                                           ·7· · · · · · · · · · marked for identification.)
                                                           ·8· ·BY MS. WERMUTH:
·9· · · ·Q.· ·And that's Exhibit 144?                      ·9· · · ·Q.· ·Can you look at Exhibit 145?
10· · · ·A.· ·Can you tell me what batch that is?          10· · · ·A.· ·I am sorry.· Can you give me the batch
11· · · ·Q.· ·Batch 8.                                     11· ·please?
12· · · ·A.· ·Yes.                                         12· · · ·Q.· ·It should be that same batch I think.
13· · ·                                                    13· ·Hang on.· We were just at 144.· Batch 8.
                                                           14· · · ·A.· ·Okay.· I am sorry, Ms. Wermuth.
                                                           15· · · ·Q.· ·Call me Anna.· I have got no pride in
                                                           16· ·that.· I have enough pride that I didn't change
                                                           17· ·my last name when I married, but I don't need to
                                                           18· ·be titular.
                                                           19· · · ·A.· ·Okay.
                                                           20· · · ·Q.· ·Do you have 145 open?
                                                           21· · · ·A.· ·Yes.
                                                           22· · · ·Q.·



                                                     267                                                            269

·1· · · ·Q.· ·Any other racial epithets that you
·2· ·haven't told us about?
·3· · · ·A.· ·No.
·4· · · ·Q.· ·And was that joke directed to you?
·5· · · ·A.· ·Directed to me?· Yes.· He told it
·6· ·directly to me.
·7· · · ·Q.· ·Okay.· Do you remember what the joke
·8· ·was?
·9· · · ·A.· ·I do not remember the joke.· I remember
10· ·the punch line.
11· · · ·Q.· ·And what was the punch line?
12· · · · · · MR. BRAMWELL:· Okay.· Asked and
13· ·answered.
14· · · · · · Do we need it in the record again?
15· · · · · · MS. WERMUTH:· I haven't asked her the
16· ·punch line before.
17· · · · · · MR. BRAMWELL:· Yes, you did.· She told
18· ·you early in the deposition, but go ahead --
19· · · · · · MS. WERMUTH:· I know it involved the
20· ·racial slur, but I don't know if it was like a
21· ·whole sentence or if it was just that word.
22· · · · · · THE WITNESS:· The punch line was
23· ·nigger.
24
                          McCorkle Litigation Se
                                            268(312) 263-0052
                           Chicago, Illinois·                                                              YVer1f
                                                                                                                    270

                              McCorkle Litigation Services, Inc.                                        267..270
                               Chicago, Illinois· (312) 263-0052                                                          YVer1f
    Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 107 of 408 PageID #:6029
                                                                                  Lisa Calvente 02/19/2021

                                                                            Lisa Calvente 02/19/2021
·                                                            ·1· ·for a long time, that she wants to continue the
                                                             ·2· ·conversation, it's a very significant
                                                             ·3· ·conversation, and that we should schedule
                                                             ·4· ·another meeting.
                                                             ·5· · · ·Q.· ·Okay.
                                                             ·6· · · ·A.· ·And then we -- You know, then we got to
·7· · · ·Q.· ·And the three of you met together for          ·7· ·go.· She says, you know, the meeting is over.
·8· ·three hours or so, two or three hours?                  ·8· · · ·Q.· ·And then she also E-mails
·9· · · ·A.· ·It was a long meeting.                         ·9· ·Barbara Schaffer to notify her and copied you on
10· · · ·Q.· ·And Salma listened to you?                     10· ·that as well, right?
11· · · ·A.· ·Salma listened.· She -- I believe              11· · · ·A.· ·Yes.
12· ·that -- especially in the beginning -- If I can         12· · · ·Q.· ·Okay.· And where the heck is that?
13· ·recall correctly, like she went over her time           13· ·Give me a second.
14· ·slot so she could stay with us and hear our             14· · · · · · · · · ·(Whereupon, Exhibit No. 173 was
15· ·complaints.                                             15· · · · · · · · · · marked for identification.)
16· · · ·Q.· ·And did you accuse Salma directly in           16· ·BY MS. WERMUTH:
17· ·that meeting of being discriminatory toward you         17· · · ·Q.· ·173.· Can we just get that marked for
18· ·or --                                                   18· ·the record?
19· · · ·A.· ·No.                                            19· · · ·A.· ·173?
20· · · ·Q.· ·Okay.                                          20· · · ·Q.· ·That would be in Batch --
21· · · ·A.· ·I did not.                                     21· · · ·A.·
22· · · ·Q.· ·And did you accuse Salma directly of
23· ·being retaliatory towards you?
24· · · ·A.· ·No.· So in that meeting         brought
                                                       271                                                           273

·1· ·up                        name and that's when          ·1· · · ·Q.· ·All right.· So could you go to
·2· ·Salma kind of cut         off and was like she          ·2· ·Exhibit -- You just said it and now I have to
·3· ·didn't want to hear about                               ·3· ·click over -- 173.
·4· ·because then we were questioning her leadership         ·4· · · ·A.· ·Okay.· 173 is an E-mail to Hai.· Is
·5· ·and authority, and then she added that she heard        ·5· ·that it?
·6· ·a rumor that she was -- she terminated                  ·6· · · ·Q.· ·No.
·7· ·contract so she can fire women of color, so she         ·7· · · ·A.· ·Am I looking at the wrong thing?
·8· ·could terminate women of color.· That's when I          ·8· · · ·Q.· ·173 is the October --
·9· ·told her that I wrote the letter on                     ·9· · · ·A.· ·Oh, sorry.· I --
10· ·behalf.                                                 10· · ·
11· · · ·Q.· ·Okay.· So you acknowledged that that
12· ·was not a rumor but was something that you had          12· · · · · · MS. WERMUTH:· Do you have it,
13· ·actually suggested to            appeals board?         13· ·Mr. Bramwell?
14· · · ·A.· ·Yes.                                           14· · · · · · MR. BRAMWELL:· Yeah, I do.
15· · · ·Q.· ·Okay.                                          15· · · · · · THE WITNESS:· Oh, sorry.· I clicked on
16· · · ·A.· ·She then says that she -- She called           16· ·173-A.
17· ·Barbara right in front of us.· So she does              17· · · · · · MS. WERMUTH:· Oh.
18· ·report, you know, that we came and we talked            18· · · · · · MR. BRAMWELL:· It's Bates labeled 8251,
19· ·about, you know, hostile, race-based environment        19· ·right?
20· ·in the college, that we talked about extreme            20· · · · · · THE WITNESS:· Yes, I have it.· 8251.
21· ·bullying.· So she reports that to Barbara, but          21· ·BY MS. WERMUTH:
22· ·she leaves a recording.· So Barbara didn't              22· · ·
23· ·answer.· She leaves a recording and then she            23· ·
24· ·tells us that she -- You know, we were talking
                             McCorkle Litigation Se
                                               272(312) 263-0052
                              Chicago, Illinois·                                                            YVer1f
                                                                                                                     274

                               McCorkle Litigation Services, Inc.                                         271..274
                                Chicago, Illinois· (312) 263-0052                                                          YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 108 of 408 PageID #:6030
                                                                                Lisa Calvente 02/19/2021

                                                                          Lisa Calvente 02/19/2021
·1· · ·                                                    ·1· ·E-mailed it on --
                                                           ·2· · · ·A.· ·No.
·3· · · ·Q.· ·Okay.· And in November you and               ·3· · · ·Q.· ·-- is that fair?
·4· ·were going to meet with Barbara together,             ·4· · · ·A.· ·That is fair, yes.
·5· ·correct?                                              ·5· · · ·Q.· ·Let me go back to a quick question
·6· · · ·A.· ·Yes.                                         ·6· ·about          and what you and Salma discussed
·7· · · ·Q.· ·And ultimately you met with Barbara          ·7· ·when it came to        .· Did you tell her that
·8· ·individually?                                         ·8· ·you were in your letter accusing her of using --
·9· · · ·A.· ·I showed up as Barbara Schaffer told me      ·9· ·you know,
10· ·that          was no longer going to come -- she                                                     This is
11· ·withdrew her complaint.                               11· ·so not very helpful.· Let me start over.
12· · · ·Q.· ·That's what Barbara told you?                12· · · · · · What I am trying to get at is in the
13· · · ·A.· ·Yeah.· She said she was no longer going      13· ·conversation with Salma on October 10th of 2018,
14· ·to see this through.                                  14· ·did you say to her that you believe the
15· · · ·Q.· ·Barbara told you that?                       15· ·personnel committee or your senior colleagues
16· · · ·A.· ·She said this in front of Isabel Diaz.       16· ·were recommending                       as a way
17· · · · · · MR. BRAMWELL:· Objection, asked and          17· ·to avoid claims from you or did you tell her
18· ·answered.                                             18· ·that you believe she was doing that?
19· ·BY MS. WERMUTH:                                       19· · · ·A.· ·I did not tell her either one of those
20· · · ·Q.· ·And after you met with Barbara you were      20· ·things.· She said that she heard a rumor, she
21· ·asked to provide the supporting materials that        21· ·explained the rumor and I said I wrote the
22· ·you had, right?                                       22· ·letter.
23· · · ·A.· ·I came to that meeting with the              23· · · ·Q.· ·Okay.· And tell me -- I am sorry.· Just
24· ·supporting materials.                                 24· ·so I understand what the rumor was that she
                                                     275                                                            277

·1· · · ·Q.· ·Oh, you physically handed them to her?       ·1· ·explained.
·2· · · ·A.· ·Yes.                                         ·2· · · ·A.· ·She said I heard a rumor that I
·3· · · ·Q.· ·I see.· And then you also followed up        ·3· ·terminated          so I can terminate women of
·4· ·later with some additional information, right?        ·4· ·color.
·5· · · ·A.· ·Yes.· So I met with Barbara and Isabel       ·5· · · ·Q.· ·Okay.· So she was referring to the
·6· ·and then I met with Barbara alone on the same         ·6· ·rumor vis-?-vis her being the discriminator?
·7· ·day without Isabel, and then I was told to            ·7· · · ·A.· ·Yes.
·8· ·follow up with a formal outline.                      ·8· · · ·Q.· ·Okay.· And did you tell her that you
·9· · · · · · · · · ·(Whereupon, Exhibit No. 202 was       ·9· ·agreed that it was her conduct that you were
10· · · · · · · · · · marked for identification.)          10· ·worried about or did you just say I wrote the
11· ·BY MS. WERMUTH:                                       11· ·letter?
12· · · ·Q.· ·Okay.· And is that formal outline what       12· · · ·A.· ·I said exactly I wrote the letter.
13· ·we see in Exhibit No. 202 which would be in           13· · · ·Q.· ·That's all you said, okay.
14· ·Batch 11?                                             14· · · · · · And did you give her a copy of the
15· · · ·A.· ·Yes.                                         15· ·letter?
16· · · ·Q.· ·And so you provided that outline, is         16· · · ·A.· ·No.
17· ·that right?                                           17· · · · · · · · · ·(Whereupon, Exhibit No. 211 was
18· · · ·A.· ·Yes.                                         18· · · · · · · · · · marked for identification.)
19· · · ·Q.· ·And do you know when you provided it?        19· ·BY MS. WERMUTH:
20· · · ·A.· ·I do not, but I believe that I E-mailed      20· · · ·Q.· ·All right.· So can you look at
21· ·this.· So -- Oh, there it is.· I don't -- I           21· ·Exhibit No. 211?
22· ·wrote it on November 29th and then I E-mailed         22· · · ·A.· ·Yes.
23· ·it.                                                   23· · ·
24· · · ·Q.· ·You just don't know what day you
                             McCorkle Litigation Se
                                               276(312) 263-0052
                              Chicago, Illinois·                                                           YVer1f
                                                                                                                    278

                               McCorkle Litigation Services, Inc.                                      275..278
                                Chicago, Illinois· (312) 263-0052                                                         YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 109 of 408 PageID #:6031
                                                                                 Lisa Calvente 02/19/2021

                                                                        Lisa Calvente 02/19/2021
·1· ·you wrote the letter.· How did she react when          ·1· ·file specifically for teaching and service and
·2· ·you said that?                                         ·2· ·listed what we did for service as, you know, on
·3· · · ·A.· ·Her demeanor changed when            name     ·3· ·par with tenure.
·4· ·was brought up.· So she went from, you know,           ·4· · · ·Q.· ·Okay.· And did she say anything else
·5· ·going through the tenure cases with us to -- to        ·5· ·about whether you were likely to obtain tenure?
·6· ·listening to us, actively listening to being           ·6· · · ·A.· ·I said that we -- you know, that I was
·7· ·flustered and, you know, she was like no, this         ·7· ·more concerned about the environment in the
·8· ·is what I heard and then that's when our meeting       ·8· ·college and the discriminatory behavior, the
·9· ·was over.· She basically said -- ushered us out        ·9· ·hostile behavior and extreme bullying that we
10· ·and said that we were going to continue this at        10· ·were receiving than with tenure because both
11· ·another time --                                        11· ·      and I surpassed the standards for tenure.
12· · · ·Q.· ·Did you ever have another time -- I am        12· · · ·Q.· ·And Dr. Ghanem told you that?
13· ·sorry.                                                 13· · · ·A.· ·She didn't disagree.
14· · · ·A.· ·-- and --                                     14· · · · · · MS. WERMUTH:· Objection, misstates the
15· · · ·Q.· ·I have going to ask you did you ever          15· ·evidence.
16· ·have another conversation with Dr. Ghanem?             16· ·BY MR. BRAMWELL:
17· · · ·A.· ·No.                                           17· · · ·Q.· ·I am sorry.· I couldn't hear your
18· · · ·Q.· ·And I am sorry you said and.· Please          18· ·answer over the objection.· I am sorry.· It's
19· ·continue your thought.· I didn't mean to cut you       19· ·because of my hearing issues.
20· ·off.· I am sorry.                                      20· · · ·A.· ·When I said that, she did not disagree.
21· · · ·A.· ·She said that our meeting had already         21· · · ·Q.· ·Okay.· Now, you were asked about the
22· ·gone for hours and that, yeah, she kind of --          22· ·Vincentian Mission.· Do you remember that
23· ·she pretty much just ushered         and I out         23· ·earlier this morning?
24· ·and said that we can continue this another time.       24· · · ·A.· ·Yes.
                                                      299                                                           301

·1· · · ·Q.· ·Okay.· During your career at DePaul did       ·1· · · ·Q.· ·Does the Vincentian Mission mean that
·2· ·Dr. Ghanem ever offer an opinion to you about          ·2· ·you need to shield students from uncomfortable
·3· ·your likelihood of success concerning tenure and       ·3· ·information?
·4· ·promotion?                                             ·4· · · ·A.· ·No.
·5· · · ·A.· ·So when I met with her in 2015 she said       ·5· · · ·Q.· ·Would you agree that part of obtaining
·6· ·that I was an extraordinary teacher.· When I met       ·6· ·an education involves being exposed to and
·7· ·with her about the Woodrow Wilson Fellowship she       ·7· ·wrestling with information that can make you
·8· ·said that that was a huge deal and asked if            ·8· ·uncomfortable?
·9· ·anyone else received this in the college.              ·9· · · ·A.· ·Absolutely, and as a matter of fact,
10· ·That's why I began to put in my personal               10· ·under academic freedom according to the AAUP
11· ·statement that I was only one -- at the time           11· ·they do state that you can you know -- you can
12· ·only one of two faculty members in the entire          12· ·incorporate controversial issues into your
13· ·university who received the Woodrow Wilson. I          13· ·teaching as long as it is part of that teaching
14· ·believe now there is a third.· So that goes --         14· ·method and as long as it's part of your
15· ·speaks to research.                                    15· ·specialization, so that is more than academic
16· · · · · · She went through -- Again, in 2017 she        16· ·freedom.
17· ·went through the three processes, teaching --          17· · · ·Q.· ·Do you recall the material you taught
18· ·the three categories, teaching, research and           18· ·in Communication 103 was more complex than what
19· ·service.· This is when she mentioned the provost       19· ·other teachers taught?
20· ·knew about my case and she indicated that I            20· · · ·A.· ·In my college?
21· ·would be okay, that I was fine for tenure,             21· · · ·Q.· ·Yes, in your college.
22· ·right?· And then again when I met with her with        22· · · ·A.· ·For the most part, yes, except for
23·                   she went through the process of       23· ·those that I trained.
24· ·tenure again and went through both          and my     24· · · ·Q.· ·Okay.· Yeah, you mentioned training
                            McCorkle L    ation Services, Inc.
                                              300(312) 263-0052
                             Chicago, Illinois·                                                            YVer1f
                                                                                                                    302

                               McCorkle Litigation Services, Inc.                                     299..302
                                Chicago, Illinois· (312) 263-0052                                                         YVer1f
  Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 110 of 408 PageID #:6032
                                                                                Lisa Calvente 02/19/2021

                                                                        Lisa Calvente 02/19/2021
·1· ·highlighted specific student complaints.              ·1· ·objections with best -- or all improper
·2· · · ·Q.·            is -- what is his race?            ·2· ·questions concerning the best evidence.
·3· · · ·A.· ·He is white.                                 ·3· ·BY MR. BRAMWELL:
·4· · · ·Q.· ·Okay.· Now, you mentioned earlier that       ·4· · · ·Q.· ·Anyway, Dr. Calvente, do you reserve
·5· ·the UNC was not a peer school of DePaul?              ·5· ·that right?
·6· · · ·A.· ·No.                                          ·6· · · ·A.· ·Yes.
·7· · · ·Q.· ·You sort of chuckled a little bit when       ·7· · · ·Q.· ·Okay.· Now, if you have a tenure track
·8· ·you answered that.· Can you explain why you           ·8· ·position at a superior institution and you could
·9· ·chuckled a little bit?                                ·9· ·not obtain tenure at an inferior institution,
10· · · ·A.· ·If you look at the U.S. rankings, UNC        10· ·does that suggest to you that discrimination or
11· ·is, I believe, this year ranked at No. 28 and         11· ·retaliation may be at play?
12· ·DePaul University is ranked at 124.· If you           12· · · ·A.· ·Yes.
13· ·divide the schools because one is private and         13· · · · · · MS. WERMUTH:· I am going to -- Hang on.
14· ·one is public, UNC comes in in the Wall Street        14· · · · · · I am sorry, Dr. Calvente.· I have to
15· ·Journal as No. 3 in U.S. rankings and it comes        15· ·get my objection in before you answer, so
16· ·in, I believe, at No. 8 in the U.S. rankings.         16· ·forgive me.
17· · · ·Q.· ·What about in your field?· Does UNC          17· · · · · · I object because it calls for
18· ·enjoy a superior reputation?                          18· ·speculation particularly insofar as you have not
19· · · · · · MS. WERMUTH:· Objection, relevance.          19· ·been awarded tenure at UNC.
20· · · · · · THE WITNESS:· Absolutely.                    20· · · · · · MR. BRAMWELL:· Nobody said she had
21· · · · · · MR. BRAMWELL:· Oh, we will get there.        21· ·been.
22· ·BY MR. BRAMWELL:                                      22· ·BY MR. BRAMWELL:
23· · · ·Q.· ·Now, see now my train of thought has         23· · · ·Q.· ·Now you can answer the question please.
24· ·been derailed.                                        24· · · ·A.· ·I am sorry.· I -- Can you please repeat
                                                     307                                                            309

·1· · · · · · All right.· So if you were to obtain --      ·1· ·the question?
·2· ·You remember you were asked about why you             ·2· · · ·Q.· ·Yeah.· Maybe we have the court reporter
·3· ·believe there was discrimination and retaliation      ·3· ·read it back.· This way I don't have -- we don't
·4· ·and you got that question, I don't know, maybe        ·4· ·have another objection that comes flying
·5· ·100 times in the last 7 hours?· You recall those      ·5· ·through.
·6· ·lines of questioning?                                 ·6· · · · · · · · · ·(Whereupon, the record was read
·7· · · ·A.· ·Yes.                                         ·7· · · · · · · · · · as requested.)
·8· · · ·Q.· ·Now, do you reserve, of course, the          ·8· · · · · · THE WITNESS:· Yes, that solidifies my
·9· ·right to use any evidence as it may be continued      ·9· ·belief that I was discriminated against and
10· ·to be developed in discovery and to make any          10· ·retaliated against.· It solidifies that my -- my
11· ·argument supported by that evidence?                  11· ·packet is as strong as I believed it to be.
12· · · ·A.· ·Yes.                                         12· ·BY MR. BRAMWELL:
13· · · · · · MS. WERMUTH:· Objection, total pure          13· · · ·Q.· ·And if your packet is that strong and
14· ·argument.· That has no place in a deposition.         14· ·you're outspoken on issues of discrimination,
15· · · · · · MR. BRAMWELL:· Ms. Wermuth --                15· ·then that suggests that you're retaliated
16· · · · · · MS. WERMUTH:· You reserve the right          16· ·against; right?
17· ·to --                                                 17· · · · · · MS. WERMUTH:· Objection, argument.
18· · · · · · MR. BRAMWELL:· Ms. Wermuth?                  18· ·BY MR. BRAMWELL:
19· ·Ms. Wermuth mouth I am asking questions to my --      19· · · ·Q.· ·You can answer.
20· ·to this witness now.                                  20· · · · · · Now, remember that Ms. Wermuth asked
21· · · · · · MS. WERMUTH:· Improper questions.            21· ·you lots and lots of questions about why you
22· ·Objection.                                            22· ·believed that -- Actually, strike that.
23· · · · · · MR. BRAMWELL:· Well, you know, we will       23· · · · · · MR. BRAMWELL:· Why don't we take five
24· ·trade this one off for all your improper              24· ·minutes?· I just want to review and make sure
                             McCorkle Litigation Services, Inc.
                                               308(312) 263-0052
                              Chicago, Illinois·                                                           YVer1f
                                                                                                                    310

                               McCorkle Litigation Services, Inc.                                    307..310
                                Chicago, Illinois· (312) 263-0052                                                         YVer1f
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 111 of 408 PageID #:6033
                                                                               Lisa Calvente 02/19/2021

                                                                         Lisa Calvente 02/19/2021
·1· ·that there is nothing else I want to get on and         ·1· ·STATE OF ILLINOIS· · ·)

·2· ·then we can enjoy our weekends.                         ·2· · · · · · · · · · · · ·)· ·SS:

·3· · · · · · MS. WERMUTH:· Okay.                            ·3· ·COUNTY OF C O O K· · ·)

·4· · · · · · MR. BRAMWELL:· Come back at 6:03.              ·4· · · · · I, MICHELLE L. BARTA, a certified

·5· · · · · · MS. WERMUTH:· Got it.                          ·5· ·shorthand reporter for the State of Illinois, do

·6· · · · · · · · · ·(Whereupon, a break was taken           ·6· ·hereby certify that heretofore, to-wit, on the

·7· · · · · · · · · · from 5:58 p.m. to 5:59 p.m.)           ·7· ·19th day of February 2021, appeared before me

·8· · · · · · MR. BRAMWELL:· All right.· Are we back         ·8· ·via Zoom videoconference, LISA CALVENTE, in a

·9· ·on?                                                     ·9· ·cause now pending and undetermined in the

10· · · · · · THE COURT REPORTER:· Yes.                      10· ·United States District Court, Northern District

11· · · · · · MR. BRAMWELL:· I have nothing further.         11· ·of Illinois, Eastern Division, wherein

12· ·We reserve.                                             12· ·LISA CALVENTE is the Plaintiff, and SALMA GHANEM

13· · · · · · MS. WERMUTH:· Okay.· Thank you for your        13· ·and DEPAUL UNIVERSITY are the Defendants.

14· ·time today, Dr. Calvente.                               14· · · · · I further certify that the said

15· · · · · · MR. BRAMWELL:· Thank you.                      15· ·LISA CALVENTE was first duly sworn to testify

16· · · · · · (FURTHER DEPONENT SAITH NOT.)                  16· ·the truth, the whole truth and nothing but the

17· · · · · · · · · ·(Whereupon, the proceedings             17· ·truth in the cause aforesaid; that the testimony

18· · · · · · · · · · adjourned at 6:00 p.m.)                18· ·then given by said witness was reported

19                                                           19· ·stenographically by me and afterwards reduced to

20                                                           20· ·typewriting by Computer-Aided Transcription, and

21                                                           21· ·the foregoing is a true and correct transcript

22                                                           22· ·of the testimony so given by said witness as

23                                                           23· ·aforesaid.

24                                                           24· · · · · I further certify that the signature to

                                                       311                                                            313

·1· · · · · IN THE UNITED STATES DISTRICT COURT              ·1· ·the foregoing deposition was reserved by counsel
·2· · · · · · ·NORTHERN DISTRICT OF ILLINOIS                 ·2· ·for the respective parties.
·3· · · · · · · · · ·EASTERN DIVISION                        ·3· · · · · I further certify that I am not counsel
·4· ·LISA CALVENTE,· · · · · ·)
                                                             ·4· ·for nor in any way related to the parties to
·5· · · · · Plaintiff,· · · · )
                                                             ·5· ·this suit, nor am I in any way interested in the
·6· · ·vs.· · · · · · · · · · )· Case No. 1:20-CV-03366
                                                             ·6· ·outcome thereof.
·7· ·SALMA GHANEM and· · · · ·)· (Volume II)
                                                             ·7· · · · · IN TESTIMONY WHEREOF:· I have hereunto
·8· ·DEPAUL UNIVERSITY,· · · ·)
                                                             ·8· ·set my verified digital signature this 13th day
·9· · · · · Defendants.· · · ·)
                                                             ·9· ·of March, 2021.
10
11· · · · · I, LISA CALVENTE, being first duly sworn,        10

12· ·on oath say that I am the deponent in the               11

13· ·aforesaid deposition taken on the 19th day of           12
14· ·February 2021; that I have read the foregoing           13
15· ·transcript of my deposition, consisting of Pages        14· · · · · · · ·__________________________· ________
16· ·135 through 312 inclusive, and affix my                 15· · · · · · · ·MICHELLE L. BARTA, C.S.R., R.P.R.
17· ·signature to same.                                      16· · · · · · · ·LIC. NO. 084-004033
18
                                                             17
19· · · · · · · · · · ______________________________
                                                             18
· · · · · · · · · · · · · ·LISA CALVENTE
                                                             19
20
                                                             20
21· ·Subscribed and sworn to
                                                             21
· · ·before me this· · · · ·day
22· ·of· · · · · · · · · · , 2021                            22

23                                                           23

24· ·Notary Public                                           24
                          McCorkle Litigation Services, Inc.
                                            312(312) 263-0052
                           Chicago, Illinois·                                                                YVer1f
                                                                                                                      314

                               McCorkle Litigation Services, Inc.                                      311..314
                                Chicago, Illinois· (312) 263-0052
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 112 of 408 PageID #:6034




           Exhibit 50 to Calvente
                Deposition
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 113 of 408 PageID #:6035




Confidential                                                                         Calvente-DePaul 029078
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 114 of 408 PageID #:6036




Confidential                                                                         Calvente-DePaul 029079
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 115 of 408 PageID #:6037




Confidential                                                                         Calvente-DePaul 029080
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 116 of 408 PageID #:6038




Confidential                                                                         Calvente-DePaul 029081
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 117 of 408 PageID #:6039




Confidential                                                                         Calvente-DePaul 029082
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 118 of 408 PageID #:6040




Confidential                                                                         Calvente-DePaul 029083
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 119 of 408 PageID #:6041




Confidential                                                                         Calvente-DePaul 029084
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 120 of 408 PageID #:6042




Confidential                                                                         Calvente-DePaul 029085
               Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 121 of 408 PageID #:6043




Confidential                                                                         Calvente-DePaul 029086
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 122 of 408 PageID #:6044




          Exhibit 132 to Calvente
                Deposition
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 123 of 408 PageID #:6045




CONFIDENTIAL                                        Calvente-DePaul 0007093
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 124 of 408 PageID #:6046




CONFIDENTIAL                                        Calvente-DePaul 0007094
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 125 of 408 PageID #:6047




CONFIDENTIAL                                        Calvente-DePaul 0007095
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 126 of 408 PageID #:6048




CONFIDENTIAL                                        Calvente-DePaul 0007096
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 127 of 408 PageID #:6049




CONFIDENTIAL                                        Calvente-DePaul 0007097
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 128 of 408 PageID #:6050




CONFIDENTIAL                                        Calvente-DePaul 0007098
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 129 of 408 PageID #:6051




CONFIDENTIAL                                        Calvente-DePaul 0007099
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 130 of 408 PageID #:6052




CONFIDENTIAL                                        Calvente-DePaul 0007100
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 131 of 408 PageID #:6053




               Exhibit D
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 132 of 408 PageID #:6054



                                                                      Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                            EASTERN DIVISION
 3
 4         LISA CALVENTE,                            )
                                Plaintiff;           )
 5                                                   )
                                                     )
 6                                                   )
                -v-                                  )No. 20 CV 3366
 7                                                   )
                                                     )
 8                                                   )
                                                     )
 9         SALMA GHANEM and DEPAUL                   )
           UNIVERSITY,                               )
10                              Defendants.          )
11
12              The Discovery Deposition of SALMA GHANEM, having
13         been called by the Plaintiff for examination, taken
14         before Beth Radtke, RPR, CRR, within and for the
15         State of Illinois, pursuant to the Federal Rules of
16         Civil Procedure, conducted via Zoom virtual
17         videoconference, commencing at the hour of 9:00 a.m.
18         on the 24th day of March, 2021.
19
20
21
22
23         Reported By Beth Radtke, RPR, CRR
24         License No. 084-004561

                                 Veritext Legal Solutions
     www.veritext.com                                                    888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 133 of 408 PageID #:6055


                                                      Page 2                                                      Page 4
   1            APPEARANCES                                     1          (Witness sworn.)
   2
   3 LAW OFFICE OF FITZGERALD BRAMWELL                          2                 SALMA GHANEM,
     By Mr. Fitzgerald T. Bramwell                              3   having been first duly sworn, was examined and
   4   225 West Washington Street
       Suite 2200                                               4   testified as follows:
   5   Chicago, Illinois 60606                                  5                 EXAMINATION
       bramwell@fitzgeraldbramwell.com
   6   (312)924-2884                                            6   BY MR. BRAMWELL:
       Appeared on behalf of the Plaintiff;                     7      Q. Can you please introduce yourself for the
   7
   8 COZEN O’CONNOR, P.C.                                       8   court reporter?
     By Ms. Anna Wermuth                                        9      A. My name is Salma Ghanem G-H-A-N-E-M.
   9  Ms. Nandini Sane
       123 North Wacker Drive
                                                               10      Q. So it's pronounced Ghanem?
  10   Suite 1800                                              11      A. Yes.
       Chicago, Illinois 60606
                                                               12      Q. Dr. Ghanem, I have a little bit of hearing
  11   awermuth@cozen.com
       nsane@cozen.com                                         13   problems, so can I just ask you to keep your voice
  12   Appeared on behalf of the Defendants.                   14   up?
  13
     ALSO PRESENT:                                             15      A. I will try my best.
  14                                                           16      Q. Okay, thank you.
     Ms. Kathryn Stieber, General counsel, DePaul
  15 University                                                17          So it's Salma, S-A-L-M-A?
  16 Ms. Lisa Calvente                                         18      A. Correct.
  17
                  *****                                        19      Q. Ghanem, G-H-A-N-E-M?
  18                                                           20      A. Correct.
  19
  20                                                           21      Q. Dr. Ghanem, you've just taken an oath to
  21                                                           22   tell the truth, do you understand that?
  22
  23
                                                               23      A. Yes, I do.
  24                                                           24      Q. Have you ever been deposed before?
                                                      Page 3                                                      Page 5
   1              INDEX
   2
                                                                1      A. No, I have not.
   3   WITNESS                    PAGE                          2      Q. I'll give you some ground rules then.
   4   SALMA GHANEM
       Examination By Mr. Bramwell     4                        3         I'll ask you questions, you'll give me
   5                                                            4   answers that are true, complete, and accurate. The
   6   EXHIBITS
                                                                5   court reporter is taking down everything that we say,
                                                                6   therefore, we have to be careful not to talk over
                                                                7   each other.
                                                                8         Do you understand that?
                                                                9      A. Yes, I do.
                                                               10      Q. Okay. That just means that when I ask a
                                                               11   question, please let me get my question out. There
                                                               12   may or may not be an objection to the question. Let
                                                               13   those objections come out, and then, you know, you
                                                               14   have to answer the question.
                                                               15         Is that understood?
                                                               16      A. Yes, it is.
                                                               17      Q. Okay. I will try not to talk over your
                                                               18   answer. If -- sometimes I do that; it's just because
                                                               19   I think you might be finished. If you're not
                                                               20   finished, please let me know, say, hey, I'm not
  20   CERTIFIED QUESTION                                      21   finished, let me finish.
  21   Page 93 Line 15-18
  22                                                           22         Are we agreed?
                  *****                                        23      A. Yes. Yes.
  23
  24                                                           24      Q. Okay, good.

                                                                                                       2 (Pages 2 - 5)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                     888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 134 of 408 PageID #:6056


                                                         Page 6                                                          Page 8
   1          You need to give clear answers because we       1        deposition?
   2   have a court reporter transcribing this; we're not     2            A. I met with counsel on Monday.
   3   doing it via video, because video is obscenely         3            Q. And counsel being outside counsel for DePaul
   4   expensive. That means that words like "uh-huh" and 4            and inside counsel for DePaul?
   5   "uh-uh," they look a lot alike on a transcript, so if  5            A. Yes.
   6   I tell you that you need to give a clear answer or     6            Q. Was anybody there other than your counsel?
   7   that doesn't show up on the transcript, I'm not doing 7             A. No.
   8   that to be a jerk, I just want a good clean record.    8            Q. And you're being represented by counsel here
   9          Do you understand that?                         9        today?
  10      A. I do.                                           10            A. Yes, I am.
  11      Q. If you do not understand a question, please     11            Q. Both in your personal capacity and your
  12   ask me to clarify it, and I will try to rephrase it.  12        individual capacity -- sorry, that doesn't make any
  13          Are we agreed?                                 13        sense. Let's try that question again.
  14      A. Yes.                                            14              Both in your personal capacity and your
  15      Q. If you answer a question, I'm going to          15        official capacity?
  16   assume, and it will be assumed that you understood 16               A. Yes.
  17   that question.                                        17            Q. Other than counsel, have you spoken with
  18          Are we agreed?                                 18        anybody else at DePaul about your testimony?
  19      A. Yes.                                            19            A. No, I have not.
  20      Q. Okay. Obviously counsel is here this            20            Q. Other than counsel, have you spoken with
  21   morning. I'm sure she's going to choose to object to 21         anyone at DePaul about Dr. Calvente's lawsuit?
  22   certain questions I ask you. If she chooses to        22            A. No, I have not.
  23   object to a question, we're going to let her get that 23            Q. You have not spoken with Alexa Murphy about
  24   objection on the record, but unless she instructs you 24        it?
                                                         Page 7                                                          Page 9
   1   not to answer, do you understand that you still need        1      A. No, I have not.
   2   to answer the question?                                     2      Q. You have not spoken with the president about
   3      A. Yes, I do.                                            3   it?
   4      Q. Some of the documents I'm going to show you           4      A. No, I have not.
   5   today are marked confidential pursuant to a                 5      Q. And by the president, I mean the president
   6   protective order entered by the Court.                      6   of DePaul.
   7          If you receive such a document, do you               7         You haven't spoken with any members of the
   8   understand that you have to delete and destroy it           8   faculty of the College of Communication?
   9   following the deposition?                                   9      A. No, I have not.
  10      A. Will do.                                             10      Q. Has anyone promised anything for your
  11      Q. Okay. Is there anything preventing you from          11   testimony here today?
  12   testifying truthfully, completely, and accurately          12      A. No.
  13   here today?                                                13      Q. Have you ever been arrested?
  14      A. No.                                                  14      A. No.
  15      Q. Okay. Are you taking any medication or any           15      Q. You are currently the provost of DePaul
  16   other drug that affects your ability to testify            16   University?
  17   truthfully, completely, and accurately?                    17      A. I'm currently the interim provost at DePaul
  18      A. No.                                                  18   University.
  19      Q. Have you had anything alcoholic to drink in          19      Q. What's the difference between being interim
  20   the past eight hours?                                      20   provost and provost?
  21      A. No.                                                  21      A. The interim provost is usually an
  22      Q. Are you sick at all today?                           22   appointment that was done without a search until they
  23      A. No.                                                  23   decide on a permanent provost.
  24      Q. What did you do to prepare for today's               24      Q. Does the fact that you're interim provost

                                                                                                             3 (Pages 6 - 9)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                            888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 135 of 408 PageID #:6057


                                                      Page 10                                                          Page 12
   1   limit your powers or abilities in any way, shape, or      1   staff?
   2   form?                                                     2      A. Yes, I do.
   3      A. No, they do not.                                    3      Q. What about to terminate nontenure line
   4      Q. Okay. For the sake of just brevity, can we          4   faculty?
   5   say that you are the provost, just between ourselves?     5      A. Following the processes, yes, I do.
   6   We'll understand that your actual title is interim        6      Q. And the processes are the processes in the
   7   provost, but it will save a little bit of time.           7   university handbook?
   8         Can we agree on that?                               8      A. Depending if it is a faculty or a staff.
   9      A. Yes.                                                9      Q. I'm sorry, I was asking about faculty, but I
  10      Q. Okay, good.                                        10   appreciate you asking for the clarification.
  11         So, Dr. Ghanem, what are your                      11      A. Yes.
  12   responsibilities as provost?                             12      Q. Okay. So you can terminate both -- let's
  13      A. I oversee the entire academic enterprise.          13   just make sure we have this very clean.
  14      Q. Okay. What does that involve?                      14          You can terminate -- I'm sorry. You can
  15      A. That involves overseeing all the colleges,         15   terminate nontenure line faculty, provided you follow
  16   the associate provosts, as well as the vice president    16   the processes in the faculty handbook?
  17   for enrollment and for student affairs.                  17      A. That is correct.
  18      Q. What are your -- okay. What are your               18      Q. And can you terminate -- or rather can you
  19   day-to-day responsibilities?                             19   terminate tenure line faculty provided that you
  20      A. Everything that I just mentioned. I oversee        20   follow the processes in the handbook?
  21   what is happening in the various colleges, work with     21      A. Yes, I can.
  22   enrollment, and work with student affairs to advance     22      Q. I have just sent both you and Ms. Wermuth an
  23   the academic portion of the university.                  23   exhibit that I have marked Exhibit 23. Please let me
  24      Q. How many colleges are there at DePaul?             24   know when it arrives.
                                                      Page 11                                                          Page 13
   1      A. Ten. They are colleges and schools.                 1       A. I just received it.
   2      Q. Colleges and schools? What's the difference         2       Q. Okay.
   3   between a college and a school?                           3          MS. WERMUTH: Give me just a moment, please.
   4      A. Not much. Just a difference in the name.            4   I haven't received it yet.
   5   So it's the school of theater, but it's the College       5          MR. BRAMWELL: I'll just identify the
   6   of Communication, for example.                            6   exhibit, and let me know when it comes.
   7      Q. Okay.                                               7          This is a document that is -- was attached
   8      A. But they are standalone units.                      8   to our complaint. It has got a caption up top, and
   9      Q. And there's no difference really in the             9   it's page 16 through 118 of Dr. Calvente's complaint
  10   hierarchy or administration of those standalone          10   in this case.
  11   units?                                                   11   BY MR. BRAMWELL:
  12      A. No, there isn't.                                   12       Q. Dr. Ghanem, are you familiar with this
  13      Q. Okay. Are you an officer of DePaul?                13   document?
  14      A. Yes, I am.                                         14       A. Yes, I am.
  15      Q. You have the ability to sign contracts?            15       Q. What is this document?
  16      A. Yes, I do.                                         16       A. Let me just check it.
  17      Q. And you have the ability to speak to the --        17       Q. Yeah, take your time.
  18   I'm sorry, you have the ability to speak for the         18       A. It is the faculty handbook.
  19   university on matters of policy?                         19       Q. And is this the -- when is this faculty
  20          MS. WERMUTH: Objection, vague, overbroad.         20   handbook operative?
  21   BY MR. BRAMWELL:                                         21       A. At all times.
  22      Q. You can answer.                                    22       Q. Okay. When did this faculty handbook become
  23      A. I assume so, yes.                                  23   effective?
  24      Q. Okay. Do you have the ability to terminate         24       A. Well, according to this document, it says

                                                                                                        4 (Pages 10 - 13)
                                              Veritext Legal Solutions
  www.veritext.com                                                                                          888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 136 of 408 PageID #:6058


                                                   Page 14                                                        Page 16
   1   July 1, 2018.                                          1   BY THE WITNESS:
   2      Q. Okay. So would you agree that's when it          2      A.
   3   became effective?                                      3   BY MR. BRAMWELL:
   4      A. Yes.                                             4      Q. Well,                                     but I
   5      Q. Okay. Now as provost, you have a role in         5   guess of all the people in all the world that DePaul
   6   the tenure process, correct?                           6   could have appointed to that position, how was it
   7      A. I do.                                            7   you?
   8      Q. And that role is prescribed by the faculty       8         MS. WERMUTH: Objection, foundation.
   9   handbook?                                              9   BY THE WITNESS:
  10         MS. WERMUTH: Salma, you are muted for some      10      A. The president talked to me and I believe he
  11   reason.                                               11   talked to a few other people and asked me if I would
  12         THE WITNESS: Oh, I'm sorry, I don't know        12   serve in that role.
  13   how that happened.                                    13   BY MR. BRAMWELL:
  14   BY THE WITNESS:                                       14      Q. And that president was Dr. Esteban?
  15      A. Yes, I do.                                      15      A. That is correct.
  16   BY MR. BRAMWELL:                                      16      Q. Okay. And how long have you been in the
  17      Q. And I'm sorry, Dr. Ghanem, I didn't get your    17   role as provost, either as acting or interim?
  18   answer.                                               18      A. Since October of 2018.
  19      A. Can you repeat the question?                    19      Q. Okay. And, Dr. Ghanem, what is the month
  20      Q. Sure. Actually, I'll just ask the court         20   and year of your birth?
  21   reporter to read it back.                             21      A.
  22         (Record read as follows: And that role is       22      Q. I'm also an            baby.
  23         prescribed by the faculty handbook?)            23         All right. So, Dr. Ghanem, as provost, do
  24                                                         24   deans of the various colleges and schools ever lobby
                                                   Page 15                                                        Page 17
   1   BY THE WITNESS:                                        1   you on behalf of junior faculty outside of the formal
   2      A. Yes, it is.                                      2   tenure process?
   3   BY MR. BRAMWELL:                                       3         MS. WERMUTH: Objection, vague, ambiguous.
   4      Q. Do you have any role in the tenure process       4   BY THE WITNESS:
   5   that is not prescribed by the faculty handbook?        5      A. Can you clarify what you mean by "lobby"?
   6      A. No, I do not.                                    6   BY MR. BRAMWELL:
   7      Q. I'm sorry, I missed your answer.                 7      Q. Sure. So we've established that you have a
   8      A. No, I do not.                                    8   role in the tenure process, correct?
   9      Q. Now is this your first provost job?              9      A. That is correct.
  10      A. Yes, it is.                                     10      Q. According to Section 3.5.6.3 of the faculty
  11      Q. Dr. Ghanem, you just went mute.                 11   handbook, you make the final decision on tenure and
  12      A. I did, sorry, it was the dog.                   12   promotion; is that correct?
  13      Q. Oh, okay.                                       13      A. That is correct.
  14          Dr. Ghanem, how did you prepare to be the      14      Q. Now do -- I imagine -- or strike that.
  15   provost of DePaul University?                         15         Has a dean of a college or a school ever
  16      A. I did not really prepare to be the provost      16   come to you outside of the formal tenure process to
  17   of DePaul University, I was appointed to serve as     17   advocate on behalf of a junior tenure line but
  18   acting provost when our then-provost had to go on     18   untenured faculty member?
  19   medical leave.                                        19         MS. WERMUTH: Objection, vague.
  20      Q. The then-provost was Marten denBoer?            20   BY THE WITNESS:
  21      A. That is correct.                                21      A. I would have to ask you again, what do you
  22      Q. Why were you appointed as -- try that again.    22   mean by advocate? Advocate in terms of the tenure
  23          Why were you appointed at acting provost?      23   process or advocate for what?
  24          MS. WERMUTH: Objection, foundation.            24

                                                                                                    5 (Pages 14 - 17)
                                            Veritext Legal Solutions
  www.veritext.com                                                                                      888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 137 of 408 PageID #:6059


                                                         Page 18                                                         Page 20
   1   BY MR. BRAMWELL:                                             1   provost to interim provost?
   2      Q. Advocate for their tenure promotion.                   2      A. I believe it was July 1, 2019.
   3      A. Not -- not that I recall, no.                          3      Q. Do you ever remember talking with Dr. Murphy
   4      Q. What about -- I asked you about deans. What            4   about Dr. Calvente's tenure case outside of the
   5   about associate deans?                                       5   formal tenure process?
   6      A. No.                                                    6      A. No, I do not.
   7      Q. What about assistant deans?                            7      Q. You mentioned previously that you were the
   8      A. No.                                                    8   dean of the College of Communications?
   9      Q. So you never have lunch or coffee or                   9      A. That is correct.
  10   meetings or other conversations, by way of example,         10      Q. Prior to being dean of the College of
  11   with a member of the administration at an academic          11   Communications, were you on faculty at the College of
  12   unit where this member of administration talks to you       12   Communications?
  13   about a particular candidate's tenure case?                 13      A. No, I was not.
  14      A. Not that I recall, no.                                14      Q. How did you become -- all right. So you
  15      Q. Okay. Do you know Alexa Murphy?                       15   just came to DePaul as dean of the College of
  16      A. I do.                                                 16   Communications from outside?
  17      Q. How do you know Alexa Murphy?                         17      A. That is correct.
  18      A. She served as associate dean when I was dean          18      Q. From where did you come?
  19   of the College of Communications.                           19      A. From Central Michigan University.
  20      Q. Do you know what she's doing now?                     20      Q. Is Central Michigan University a research
  21      A. She is currently serving as acting dean of            21   one?
  22   the College of Communication.                               22      A. No, it is not.
  23      Q. Okay. Is she a friend of yours?                       23      Q. What is it?
  24      A. I would say yes.                                      24      A. It is a regional university.
                                                         Page 19                                                         Page 21
   1     Q. Okay. I understand that you had lunch with              1      Q. What does that mean, to be a regional
   2   Dr. Murphy on May 15, 2019.                                  2   university?
   3         Do you recall that?                                    3      A. That means it is not the flagship university
   4     A. No, I do not.                                           4   of that particular state.
   5     Q. Okay. So you don't remember what you talked             5      Q. How does it compare to DePaul?
   6   about?                                                       6         MS. WERMUTH: Objection, vague, relevance.
   7     A. No, I really do not.                                    7   BY THE WITNESS:
   8     Q. Okay. Do you have lunch with her often?                 8      A. It depends on what kind of comparison we're
   9     A. Not very often, no.                                     9   looking at.
  10     Q. Okay. Do you deny having lunch with her on             10   BY MR. BRAMWELL:
  11   May 15, 2019?                                               11      Q. On what does it depend?
  12     A. I do not deny it, but I do not recall it.              12      A. Could be size of the university, it could be
  13     Q. Okay. Did you ever speak with Dr. Murphy               13   the type of programs that are offered at that
  14   outside of the formal process about Dr. Calvente's --       14   university, and so on.
  15   actually, let's strike that.                                15      Q. All right. So size, how does it compare?
  16         You know Lisa Calvente?                               16      A. Size I would say is very similar.
  17     A. Yes.                                                   17      Q. Programs, how does it compare?
  18     Q. How do you know Dr. Calvente?                          18      A. It was -- they had more in the health
  19     A. She was a faculty member in the College of             19   sciences, and they were in the process of starting a
  20   Communication when I served there as dean.                  20   medical school, which DePaul does not have.
  21     Q. And also when you were acting provost?                 21      Q. Okay. When did you --
  22     A. Well, I knew her back then, so I did know              22      A. Sorry.
  23   her as acting provost as well.                              23      Q. I'm sorry, go ahead. I'm sorry. See we
  24     Q. Okay. When did your title go from acting               24   already had our first -- I thought you were done, and

                                                                                                           6 (Pages 18 - 21)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                             888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 138 of 408 PageID #:6060


                                                      Page 22                                                       Page 24
   1   I kept going.                                             1      A. Whatever you decide to show me.
   2         Please continue your answer. I'm sorry.             2      Q. Well, I'm asking what would refresh your
   3      A. They had an engineering school also, which          3   recollection.
   4   DePaul does not.                                          4      A. If I see a ranking by an association, I can
   5      Q. Is there anything else?                             5   tell you if I've seen it before or not.
   6      A. It was a public institution, and DePaul is a        6      Q. Okay. What association should I be looking
   7   private institution.                                      7   at?
   8      Q. Anything else?                                      8      A. There are multiple associations in
   9      A. No.                                                 9   communication. There is the Association for
  10      Q. What about the academic reputations of those       10   Education in Journalism and Mass Communication, there
  11   two schools?                                             11   is International Communication Association, there's
  12         MS. WERMUTH: Objection, vague, foundation.         12   the National Communication Association. There are
  13   BY THE WITNESS:                                          13   multiple associations.
  14      A. When you say "academic reputation" that's          14      Q. Okay. Any other associations?
  15   very vague.                                              15      A. Not that I recall at this moment.
  16   BY MR. BRAMWELL:                                         16      Q. Okay. Would anything refresh your
  17      Q. Why is it vague?                                   17   recollection?
  18      A. Because there are so many different criteria       18      A. If you mention some other names, maybe it
  19   by which you evaluate universities. You evaluate it      19   will refresh my recollection.
  20   depending on size, you evaluate it depending on          20      Q. Okay. With respect to top ranked, what
  21   endowment, you evaluate it depending on admission        21   about general rankings with respect to the
  22   rates, and so on.                                        22   university?
  23      Q. What else do you evaluate it based on?             23      A. U.S. News and World Report does give
  24      A. Again, it could be about certain programs          24   national rankings.
                                                      Page 23                                                       Page 25
   1   being top ranked, it could be in terms of diversity       1      Q. Okay. Are the U.S. News and World Report
   2   of the student body, it could be in terms of number       2   rankings a valid metric to evaluate the prestige of a
   3   of faculty. There is a whole bunch of ways of             3   university?
   4   looking at different universities.                        4         MS. WERMUTH: Objection, vague, assumes
   5      Q. You mentioned top ranked. What do you mean          5   facts not of record.
   6   by top ranked?                                            6   BY THE WITNESS:
   7      A. Sometimes you will have programs that are           7      A. They are debatable. Some people look at
   8   top ranked in particular areas by specific                8   them, some people don't.
   9   associations or organizations that rank them.             9   BY MR. BRAMWELL:
  10      Q. What organizations or associations rank            10      Q. Okay. Do you look at them?
  11   communications programs?                                 11      A. I might pay attention to them just to know,
  12      A. I don't believe there is one that ranks all        12   but I don't worry about the rankings.
  13   of the communication programs. There is -- for           13      Q. If you don't worry about the rankings, why
  14   example, PR Week ranks public relations programs.        14   would you pay attention to them just to know?
  15   But there isn't one for all communication programs       15      A. Just out of curiosity to see where an
  16   that I am aware of.                                      16   institution might fall.
  17      Q. Are there other -- you said PR Week. Are           17      Q. Any other reasons?
  18   there other associations or organizations that rank      18      A. No.
  19   various segments of communication programs?              19      Q. You mentioned U.S. News and World Report.
  20      A. There might be, but nothing that I can             20   Are there any other places that rank universities?
  21   recall.                                                  21      A. I think there is one called the Princeton
  22      Q. Would anything refresh your recollection?          22   Review, if I am not mistaken.
  23      A. I -- perhaps.                                      23      Q. Okay. Anything else?
  24      Q. What would that thing be?                          24      A. But I'm -- those are the ones that come to

                                                                                                      7 (Pages 22 - 25)
                                              Veritext Legal Solutions
  www.veritext.com                                                                                        888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 139 of 408 PageID #:6061


                                                       Page 26                                                    Page 28
   1   mind.                                                      1      A. If it is work related, yes.
   2      Q. Okay. Now you mentioned that you were                2      Q. Okay. And faculty, I imagine, when you were
   3   previously the dean of the College of Communications.      3   dean, came to you with work-related grievances?
   4   What was your job as the dean?                             4      A. Sorry, I did not hear you.
   5      A. To oversee the various programs within the           5      Q. That's okay. I'll try again.
   6   College of Communications.                                 6         Faculty, while you were dean, came to you
   7      Q. Is that it?                                          7   with work-related grievances?
   8      A. Yeah, I basically oversee the college.               8      A. Can you, again, define what you mean by
   9      Q. What does overseeing the college entail?             9   "grievance"?
  10      A. It entails overseeing that we are adhering          10      Q. Sure. What does the word "grievance" mean
  11   to the curriculum needs of the students to faculty        11   to you?
  12   evaluations to addressing issues of the college with      12      A. Grievance usually refers, to me, as a
  13   upper administration to fundraising to overseeing         13   complaint.
  14   processes and policies within the college and over --     14      Q. Okay, good. We have the same definition.
  15   as well as overseeing the staff in the college.           15      A. Yeah, faculty could come to me to talk about
  16      Q. Do you -- is part of your job to manage             16   complaints of things that might be happening in the
  17   faculty?                                                  17   college.
  18      A. Are you referring to when I was dean?               18      Q. And you would help try to fix those
  19      Q. As dean, correct.                                   19   complaints or solve those complaints?
  20      A. Okay. Can you please clarify, what do you           20      A. If it's within my purview, yes.
  21   mean by "manage"?                                         21      Q. Do you help junior faculty -- again, while
  22      Q. What does the word "manage" mean to you?            22   you were dean, did you help junior faculty navigate
  23      A. Manage means oversee the processes.                 23   the tenure process?
  24      Q. Okay. We'll just pull up the trusty                 24         MS. WERMUTH: Objection, vague.
                                                       Page 27                                                    Page 29
   1   dictionary here. Webster's New World College               1   BY THE WITNESS:
   2   Dictionary here. I think I had it college, actually,       2      A. I -- I had always an open-door policy if any
   3   so it's a little old.                                      3   of them had any questions about the process, yes.
   4          MR. BRAMWELL: Ms. Wermuth, you just went            4   BY MR. BRAMWELL:
   5   dark.                                                      5      Q. And did that include -- well, strike that.
   6          MS. WERMUTH: Yes, I'm still here. I just            6          You were dean, and I don't remember if I
   7   need to let my dog out of the room.                        7   asked this or not, so I hope I'll get a little
   8          MR. BRAMWELL: Okay.                                 8   latitude here.
   9   BY MR. BRAMWELL:                                           9          You were dean from when to when?
  10      Q. So "manage" means to handle, it means to            10      A. I believe August 2014 until October 2018.
  11   have charge of, to direct, to administer.                 11      Q. Okay. And are you -- were you reading
  12          So using those definitions, was one of your        12   anything there?
  13   jobs as dean to manage the faculty?                       13      A. No.
  14      A. I administer different aspects of the               14      Q. While you were dean, did the College of
  15   college that would affect the faculty, yes.               15   Communications have a formal mentoring program?
  16      Q. Okay. And you are responsible for helping           16      A. It didn't have a formal mentoring program,
  17   faculty members get along with each other?                17   but it did hold, like, a symposium or a panel
  18      A. I'm sorry, but I really don't understand            18   discussion on how to prepare for tenure.
  19   your question.                                            19      Q. Okay. What about how -- what about other
  20      Q. Okay. Are you -- do faculty members always          20   sort of mentoring activities?
  21   get along?                                                21          MS. WERMUTH: Objection, vague.
  22      A. Not necessarily, no.                                22   BY THE WITNESS:
  23      Q. So when faculty members are not getting             23      A. There wasn't an official mentoring system
  24   along, do you help mediate the disputes?                  24   within the college, so faculty were not paired with

                                                                                                     8 (Pages 26 - 29)
                                               Veritext Legal Solutions
  www.veritext.com                                                                                      888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 140 of 408 PageID #:6062


                                                        Page 30                                                     Page 32
   1   another faculty member, no.                                 1   court reporter, and I'm sure she will remind us
   2   BY MR. BRAMWELL:                                            2   later, do you know how to spell Rutigliano?
   3      Q. Okay. What about -- so I guess then it is             3       A. I think Lou is L-O-U. Rutigliano, I think
   4   fair to say that you were not anyone's formal mentor        4   it's -- I'm not sure, but R-U-T-I-G-L-I-A-N-O.
   5   when you were the dean?                                     5   That's as close as I can get.
   6      A. That is correct.                                      6       Q. Now with respect to your interactions with
   7      Q. I imagine if the College of Communication is          7   Dr. Calvente, did you ever help -- did you ever offer
   8   like most workplaces that informal mentorship --            8   to help her with her -- actually, let's strike that.
   9   strike that. Let me try again.                              9   I'm sorry.
  10          I imagine, if the College of Communication          10           When somebody goes through the tenure
  11   is like most workplaces, that informal mentoring           11   process, I understand there are multiple steps, even
  12   relationships formed?                                      12   at the local academic unit level; is that right?
  13          MS. WERMUTH: Objection to the narrative.            13       A. That is correct.
  14   BY THE WITNESS:                                            14       Q. And one of those steps involves meeting with
  15      A. I would believe so, yes.                             15   the personnel committee?
  16   BY MR. BRAMWELL:                                           16       A. That is correct.
  17      Q. Did you have any informal mentoring                  17       Q. Okay. And prior to that meeting with
  18   relationships with junior faculty while you were           18   personnel, the candidate would prepare a statement?
  19   dean?                                                      19       A. That is correct.
  20      A. I have talked with several junior faculty            20       Q. A written statement?
  21   about the tenure process, yes.                             21       A. That is correct.
  22      Q. Who do those faculty include?                        22       Q. Would the candidate prepare that written
  23      A. Lisa Calvente. I believe Kendra Knight.              23   statement for each of their meetings with personnel?
  24   Trying to think who else. Lou Rutigliano. Those are        24           MS. WERMUTH: Objection, vague.
                                                        Page 31                                                     Page 33
   1   a few names that come to mind.                              1   BY THE WITNESS:
   2      Q. Okay. Now I asked you if you had a                    2      A. Every time they have a formal review, they
   3   mentoring relationship with them. You mentioned that        3   prepare a narrative, yes.
   4   you had spoken to certain junior faculty, but I'll          4   BY MR. BRAMWELL:
   5   put the question to you again.                              5      Q. Okay. And just again, so the record is
   6         Did you consider that relationship to be a            6   clear, that narrative is a written narrative?
   7   mentoring relationship?                                     7      A. Yes.
   8      A. I would say I was there to offer guidance             8      Q. Okay. Did you ever help Dr. Calvente with
   9   and direction.                                              9   her written narrative?
  10      Q. And you helped them to -- you provided               10      A. Yes.
  11   guidance and direction into the sorts of things that       11      Q. When did you help Dr. Calvente with her
  12   one needs to do to obtain tenure?                          12   written narrative?
  13      A. Depending on the situation, yes.                     13      A. I believe it was in her second formal review
  14      Q. Did do you that -- you mentioned Kendra              14   since I became dean. So it might have been her third
  15   Knight, Lou Rutigliano, and Lisa Calvente. Did you         15   formal review.
  16   have conversations with each of them about the sorts       16      Q. Okay. What help did you give her?
  17   of things they would need to do to obtain tenure?          17      A. I offered to read it and to have a -- to
  18      A. We talked about the -- the three areas,              18   tell her whether it was -- and to provide feedback to
  19   research, teaching, and service.                           19   that narrative.
  20      Q. Did you talk about other areas in which --           20      Q. Why did you do that?
  21   did you talk about other things they would need to do      21      A.
  22   to obtain tenure?
  23      A. No. I'm not sure what you mean, but no.
  24      Q. So while we're on it, and because we have a                                                     .

                                                                                                       9 (Pages 30 - 33)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 141 of 408 PageID #:6063


                                                       Page 34                                                       Page 36
   1      Q. Okay. I'm sorry, I have a frog in my                 1      Q. Okay. What about Bree McEwan?
   2   throat.                                                    2      A. No, I was not.
   3          I guess my question is, why did you do that?        3      Q. I'm going to send you now a document that I
   4      A. To provide her with support and possible             4   have marked as Exhibit No. 19. This document is
   5   guidance.                                                  5   Bates labeled Calvente-DePaul-0038241
   6      Q. Okay. And this is not a trick question. I            6   through 0038260.
   7   assume that you did your very best for her to help         7          Please let me know when it arrives.
   8   her with her personnel statement?                          8      A. Okay, I received an e-mail from you.
   9      A. I looked at it, I read it, and I told her            9          MS. WERMUTH: I don't yet have it.
  10   that it sounded okay.                                     10          MR. BRAMWELL: All right. Well, I've given
  11      Q. Okay. How much time did you spend with her          11   the Bates numbers, and Dr. Ghanem, just open it up
  12   on it?                                                    12   and I'll wait until Ms. Wermuth gets it before I
  13      A. We had a meeting. I do not recall how long          13   start asking questions.
  14   the meeting was.                                          14          MS. WERMUTH: So I have it now. So it's
  15      Q. Was it more than an hour?                           15   038241 through 038260?
  16      A. I really do not recall.                             16          MR. BRAMWELL: Correct.
  17      Q. More than two hours?                                17          MS. WERMUTH: Okay.
  18      A. I don't believe so. It would have been              18          THE WITNESS: Could you repeat the numbers
  19   probably less than two hours, but I do not recall.        19   again? 038241 to what?
  20      Q. Did you ever offer to help Dr. Calvente             20   BY MR. BRAMWELL:
  21   prepare for her interviews with the personnel             21      Q. Sure. Through 38260.
  22   committee?                                                22          Do you have it in front of you, Dr. Ghanem?
  23      A. No, I did not.                                      23      A. I do, but I'm scrolling -- yeah, 38260.
  24      Q. Is this advice that you gave Dr. Calvente,          24   Yes, I do.
                                                       Page 35                                                       Page 37
   1 is this something you would have offered to any              1       Q. Okay. Are you familiar with this document?
   2 junior faculty member?                                       2       A. Let me look at it. I do not recall this
   3    A. Yes, I would have.                                     3   document.
   4                                                              4       Q. Okay. So you've never seen this document
                                                                  5   before?
                                                                  6       A. I do not recall it.
                                                                  7       Q. Okay. I'm sending you now a document that I
                                                                  8   have marked as Exhibit 22.
                                                                  9          Please let me know when you receive it.
                                                                 10   It's document Calvente-DePaul-0007152 through 7159.
                                                                 11       A. I just received an e-mail.
                                                                 12       Q. All right.
                                                                 13          MS. WERMUTH: I don't yet have it.
                                                                 14          Okay, Exhibit 22 just came, and let me check
                                                                 15   the numbers. 7152 through 7159.
                                                                 16   BY MR. BRAMWELL:
                                                                 17       Q. All right. Dr. Ghanem, I'd like you to
                                                                 18   ignore the first page of this exhibit and look at
                                                                 19   pages 2 through 8.
  20    Q. Okay. Did you ever try to mentor Sydney               20          MS. WERMUTH: You want her to ignore a page,
  21 Dillard?                                                    21   is that what you said?
  22    A. I met multiple times with Sydney Dillard,             22          MR. BRAMWELL: Madam Court Reporter, can you
  23 but I don't believe there was a mentorship issue            23   please read back my last statement?
  24 there.                                                      24          (Record read as requested.)

                                                                                                     10 (Pages 34 - 37)
                                               Veritext Legal Solutions
  www.veritext.com                                                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 142 of 408 PageID #:6064


                                                    Page 38                                                         Page 40
   1 BY MR. BRAMWELL:                                          1   with both, but I'll only ask you about your
   2    Q. Dr. Ghanem, have you seen pages 2 through 8         2   conversations with Ms. Reinhart.
   3 of this exhibit?                                          3        What did you say to Ms. Reinhart and she to
   4    A. Yes, I have.                                        4   you?
   5    Q. What are pages 2 through 8 of this exhibit?         5        MS. WERMUTH: Before you answer, Salma, let
   6                                                           6   me just object to the extent your conversations with
                                                               7   Lucy also involved Kathy, I would direct you not to
                                                               8   answer, if they were together.
   9      Q. Okay. And again, looking at pages 2               9   BY THE WITNESS:
  10   through 8, is this document true, complete, and        10
  11   accurate in all respects?
  12         MS. WERMUTH: I'm going to object to the
  13   question. I don't -- foundation.                       13   BY MR. BRAMWELL:
  14   BY MR. BRAMWELL:                                       14      Q. Okay. Do you stand by the answers that you
  15      Q. You can answer.                                  15   have given in this document, again on pages 2
  16      A. As far as I can tell -- oh, sorry, could you     16   through 8?
  17   repeat the question? I want to make sure I'm           17      A. Is there a specific question you want me to
  18   answering it correctly.                                18   look at? It's a long document.
  19         MR. BRAMWELL: Sure. Madam Court Reporter,        19      Q. All of them. Do you stand by the answers
  20   can I ask to you please repeat the question?           20   that you gave?
  21         (Record read as requested.)                      21      A. I would have to go through each of the
  22   BY THE WITNESS:                                        22   questions. Would you --
  23      A. As far as I can tell, yes.                       23      Q. Sure.
  24                                                          24      A. I will need some time to do that.
                                                    Page 39                                                         Page 41
   1   BY MR. BRAMWELL:                                        1      Q. Sure. Do you want to take five minutes?
   2      Q. Did you write the answers to the questions        2   You can go through them, and we can come back, let's
   3   again listed in -- on pages 2 through 8?                3   say at 9:55, so six minutes?
   4      A. Yes, I did.                                       4      A. That would be fine. Can I turn off the
   5      Q. When did you prepare them?                        5   video at that time?
   6      A. I do not recall. Whenever the appeals             6          MR. BRAMWELL: Sure, you can turn off the
   7   committee sent me that e-mail asking for those          7   video right now, and we'll come back at 9:55.
   8   responses. I do not recall the date.                    8          THE WITNESS: Sounds good.
   9      Q. Okay. How long did it take you to answer          9          (A short break was taken.)
  10   the questions?                                         10   BY MR. BRAMWELL:
  11      A. I do not recall how long it took.                11      Q. Dr. Ghanem, you've now had an opportunity to
  12      Q. Would it have been half a day?                   12   review for, by my clock, six minutes, Exhibit No. 22.
  13      A. I really do not recall.                          13          I asked you before we went off if you stood
  14      Q. Would it have been a full day?                   14   by your answers. Do you stand by your answers to
  15      A. I really do not recall.                          15   that -- to those?
  16      Q. Would anything refresh your recollection?        16      A. Yes, I do.
  17      A. I don't believe so.                              17      Q. Okay. Nothing you would change?
  18      Q. Did you answer the questions in one sitting,     18      A. I don't believe so, no.
  19   or did you space it out over multiple sittings?        19
  20      A. I believe over multiple sittings.
  21      Q. Did anybody help you write your answers?
  22      A. I might have reached out to Lucy Reinhart,
  23   as well as Kathy Stieber.
  24      Q. I'm very interested in your conversations

                                                                                                    11 (Pages 38 - 41)
                                            Veritext Legal Solutions
  www.veritext.com                                                                                       888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 143 of 408 PageID #:6065


                                                        Page 42                                                         Page 44
   1                                                               1   be times when I would consult it weekly, and then
                                                                   2   there might be times that I wouldn't consult it for
                                                                   3   several weeks.
                                                                   4      Q. And the faculty handbook spells out the
                                                                   5   terms and conditions for employment for faculty at
                                                                   6   DePaul?
                                                                   7      A. Yes.
                                                                   8      Q. And chapter 3 of the handbook articulates
                                                                   9   the process for obtaining tenure at DePaul?
  10      Q. Okay. Dr. Ghanem, what is the -- let me try          10      A. Let me review if that's in chapter 3. I
  11   that again.                                                11   don't remember the chapter names. I'm looking at the
  12         What is the University Board on Promotion            12   handbook. Chapter 3 deals with promotion and tenure
  13   and Tenure?                                                13   standards and procedures.
  14      A. It is a committee made of full professors            14      Q. Okay. Now section 3.1 of the faculty
  15   representing different disciplines of the university.      15   handbook, I'd like to direct your attention there, if
  16      Q. What is the University Board on Promotion            16   I may.
  17   and Tenure's purpose?                                      17         Please let me know when you're there. It's
  18      A. It is another level of review of tenure and          18   page 28 of 103 of Exhibit No. 23.
  19   promotion cases.                                           19      A. Page, can you say the page number again?
  20      Q. Okay. Now can we call the University Board           20      Q. Sure. It's page 28 of 103, and that's the
  21   on Promotion and Tenure, can we call that the UBPT?        21   big PDF.
  22      A. That's fine.                                         22      A. Because I have it here. The overview is
  23      Q. The UBPT is sanctioned by the faculty                23   page 43 of 188. Am I looking at --
  24   handbook?                                                  24      Q. Oh, okay, yeah, that will also work if
                                                        Page 43                                                         Page 45
   1      A. Yes, it is.                                           1   you're looking at 43 of 188 at the top.
   2      Q. All right. I asked you earlier about the              2      A. Yes.
   3   faculty handbook. That's Exhibit No. 23.                    3      Q. Then we're at the same place.
   4          Do you recall when I asked you about that?           4         I'm going to do something that I still think
   5      A. Yes, I do.                                            5   is really cool and share my screen with you.
   6      Q. Okay. And you're familiar with the faculty            6      A. Okay.
   7   handbook?                                                   7      Q. Do you see -- first of all, have I
   8      A. Yes, I am.                                            8   successfully shared my screen?
   9      Q. How are you familiar with it?                         9      A. Yes, you have.
  10      A. I refer to it a lot, and I look at it for            10      Q. Okay. Now I've highlighted some language
  11   different aspects -- for different processes at the        11   here on section 3.1, lines 19 through 21. I've
  12   university.                                                12   highlighted one sentence. That sentence I've
  13      Q. You said you refer to it a lot. What do you          13   highlighted is: Before granting tenure, the
  14   mean by "a lot"?                                           14   university should have no reasonable doubt about the
  15      A. Whenever there is a question that comes up           15   faculty member's demonstrated qualifications and
  16   that I -- or a process that I need to clarify, I will      16   continued capacity to contribute to DePaul's
  17   go look in the faculty handbook.                           17   distinctive goals and academic mission.
  18      Q. Would you say you consult it daily?                  18         Do you see that there?
  19      A. No.                                                  19      A. Yes, I do.
  20      Q. Weekly?                                              20      Q. What does it mean to you that the university
  21      A. I've been at DePaul six, seven years. No, I          21   should have no reasonable doubt about the faculty
  22   do not consult it weekly.                                  22   member's demonstrated qualifications and continued
  23      Q. How often do you consult it?                         23   capacity?
  24      A. It depends on -- on the time. There might            24      A. That there should be no question about the

                                                                                                        12 (Pages 42 - 45)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                            888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 144 of 408 PageID #:6066


                                                      Page 46                                                      Page 48
   1   faculty member's demonstrated qualifications and          1      A. At least two and as many as four, I believe.
   2   continued capacity.                                       2      Q. Okay. So there will be between two and four
   3      Q. How does one make this determination?               3   recommendations at the local academic unit for
   4      A. It is based on the dossier of the faculty           4   tenure, is that correct?
   5   member as well as the guidelines in the local             5      A. Correct.
   6   academic unit and the faculty handbook.                   6      Q. I'm sorry --
   7      Q. So the college review and the UBPT review?          7      A. Correct.
   8      A. And the dossier.                                    8      Q. Okay, good.
   9      Q. And the dossier. But the dossier is what            9         And then all of that information would go to
  10   the college and the UBPT review, correct?                10   the UBPT?
  11      A. That is correct.                                   11      A. Correct.
  12      Q. What's more important, the college or the          12      Q. And the UBPT would evaluate all of that
  13   UBPT?                                                    13   information and then make a recommendation?
  14         MS. WERMUTH: Objection, assumes facts not          14      A. That is correct.
  15   of record.                                               15      Q. Okay. Now if I understood you correctly,
  16   BY THE WITNESS:                                          16   you believe that what goes on in the college is just
  17      A. I believe they are all important.                  17   as important as what goes on in the UBPT?
  18   BY MR. BRAMWELL:                                         18      A. Technically, according to the handbook, the
  19      Q. Well, okay, they're all important, but is          19   UBPT carries a little bit more weight.
  20   one of them more important than the other?               20      Q. That's right, because in section 3.5.6.3 of
  21      A. I don't believe so.                                21   the handbook, it says that only in rare instances and
  22      Q. No? I'd like to talk a little bit then             22   for compelling reasons will the provost overturn a
  23   about the tenure process.                                23   promotion or tenure recommendation made by the UBPT,
  24         If I understand correctly, the first thing         24   right?
                                                      Page 47                                                      Page 49
   1   you do is that the college -- or sorry, let's strike      1         MS. WERMUTH: What page, Mr. Bramwell, were
   2   that.                                                     2   you reading from?
   3         I understand the first thing you have is the        3         MR. BRAMWELL: Madam Court Reporter, would
   4   local academic unit votes and makes a recommendation,     4   you please read back my question?
   5   correct?                                                  5         (Record read as follows: That's right,
   6      A. Correct.                                            6         because in section 3.5.6.3 of the handbook,
   7      Q. All right. And then after the local                 7         it says that only in rare instances and for
   8   academic unit makes its recommendation, then the dean     8         compelling reasons will the provost overturn
   9   weighs in and makes a recommendation?                     9         a promotion or tenure recommendation made by
  10      A. It depends on the college. There are               10         the UBPT, right?)
  11   colleges with departments and there are several other    11         MS. WERMUTH: Right, and Mr. Bramwell, I was
  12   reviews. So it will be -- could be the personnel         12   just asking what page you were referring to.
  13   committee, then the faculty within the department,       13   BY MR. BRAMWELL:
  14   and then it could be the chair of the department, and    14      Q. Dr. Ghanem, you can answer.
  15   then it could be a college-wide committee, and then      15         MS. WERMUTH: You're not going to provide
  16   it could be the dean and then UBPT.                      16   that information, Mr. Bramwell? You're not going to
  17      Q. Okay. So you have a bunch of                       17   answer my question?
  18   recommendations then at the local academic unit,         18         I would suggest that the witness be
  19   right?                                                   19   permitted to review the material that you are asking
  20      A. If there is -- again, if the local academic        20   her about.
  21   unit is the department or is the college, it makes a     21         MR. BRAMWELL: Nobody stopped her from doing
  22   difference.                                              22   that.
  23      Q. Okay. So there could be at least two and as        23         MS. WERMUTH: So I will provide the page
  24   many as five in the local academic unit?                 24   number. It is page 58 of 188, if you look at the

                                                                                                    13 (Pages 46 - 49)
                                              Veritext Legal Solutions
  www.veritext.com                                                                                       888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 145 of 408 PageID #:6067


                                                       Page 50                                                       Page 52
   1   blue marking on the top.                                   1          MS. WERMUTH: Objection, asked and answered.
   2          THE WITNESS: Okay, I just got to it. Thank          2   BY THE WITNESS:
   3   you.                                                       3      A. I can overturn UBPT if my reading of the
   4          And to Mr. Bramwell, could you tell me which        4   dossier is different than their reading. I am not
   5   section you were looking at again?                         5   saying that they're wrong, I'm saying that I read it
   6   BY MR. BRAMWELL:                                           6   and evaluated it differently than they did.
   7      Q. Sure. 3.5.6.3.                                       7   BY MR. BRAMWELL:
   8      A. I found it. What was the question?                   8      Q. So if you disagree with them for any reason,
   9          MR. BRAMWELL: Can I ask the court reporter          9   you can overturn them?
  10   to read it back one more time?                            10          MS. WERMUTH: Objection, misstates and
  11          (Record read as follows: That's right,             11   mischaracterizes her testimony.
  12          because in section 3.5.6.3 of the handbook,        12   BY THE WITNESS:
  13          it says that only in rare instances and for        13      A. It would be -- have to be based on the
  14          compelling reasons will the provost overturn       14   merits of the dossier.
  15          a promotion or tenure recommendation made by       15   BY MR. BRAMWELL:
  16          the UBPT, right?)                                  16      Q. During your time as provost, have you ever
  17   BY THE WITNESS:                                           17   lost faith in the UBPT as a whole -- or actually,
  18      A. That is correct.                                    18   strike that.
  19   BY MR. BRAMWELL:                                          19          Before you answer that, are there any other
  20      Q. Okay. So if this is what the handbook says,         20   compelling reasons for overturning a UBPT
  21   can you please explain -- or does that -- let's           21   recommendation?
  22   strike that.                                              22          MS. WERMUTH: Objection, calls for
  23          If this is what the handbook says, do you          23   speculation.
  24   still believe that the college is just as important       24
                                                       Page 51                                                       Page 53
   1   as the UBPT?                                               1   BY THE WITNESS:
   2      A. The college is important, but according to           2      A. Again, it depends on what is in the dossier.
   3   this, the UBPT is -- has more weight.                      3   BY MR. BRAMWELL:
   4      Q. Okay. Now I think we would all agree that,           4      Q. So -- and I'm not sure I understand your
   5   as provost, you have the right to overturn the UBPT's      5   answer, so I'm going to try to unpack it a little
   6   recommendation, right?                                     6   bit, or probe a little bit more.
   7      A. Yes, I do.                                           7          Is it just if you disagree with the UBPT's
   8      Q. But you can only do it in rare instances and         8   reading of the dossier, or are there other compelling
   9   for compelling reasons?                                    9   reasons that would permit you to overturn a UBPT
  10      A. That is correct.                                    10   recommendation?
  11      Q. Okay. Can you give me some examples of what         11          MS. WERMUTH: Objection, asked and answered,
  12   might be a compelling reason to overturn a UBPT           12   calls for speculation.
  13   recommendation?                                           13   BY THE WITNESS:
  14      A. It could be if I differ with them in terms          14      A. I'm really having difficulty understanding
  15   of my assessment of the dossier.                          15   your question.
  16      Q. So if you believe the UBPT just got it              16          We look -- I look at the dossier of the
  17   wrong, you can overturn them?                             17   candidate, the different levels of review, as well as
  18      A. If my assessment of the dossier is different        18   the review of UBPT, and based on all of that, I make
  19   than UBPT, yes, I can overturn them.                      19   a decision.
  20      Q. Okay, but that's not the question I asked.          20   BY MR. BRAMWELL:
  21   I asked a yes or no question.                             21      Q. Okay. But I'm trying to understand your
  22          MR. BRAMWELL: Could I ask the court                22   understanding of what a compelling reason is. I may
  23   reporter to read it back, please?                         23   have gotten this wrong, right? I'm human; I make
  24          (Record read as requested.)                        24   mistakes too.

                                                                                                      14 (Pages 50 - 53)
                                               Veritext Legal Solutions
  www.veritext.com                                                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 146 of 408 PageID #:6068


                                                         Page 54                                                        Page 56
   1         But from your testimony so far, I understand           1         MS. WERMUTH: Objection, vague, relevance.
   2   that the only reason -- the only compelling reason is        2   BY THE WITNESS:
   3   if you disagree with the UBPT's assessment of the            3      A. No, I have not.
   4   dossier. Are there other compelling reasons that             4   BY MR. BRAMWELL:
   5   would lead you to overturn a UBPT recommendation?            5      Q. What about any of its members?
   6      A. There was one instance --                              6         MS. WERMUTH: Same objections.
   7         MS. WERMUTH: Hang on. Let me object.                   7   BY THE WITNESS:
   8   Asked and answered, calls for speculation.                   8      A. No, I have not.
   9   BY MR. BRAMWELL:                                             9   BY MR. BRAMWELL:
  10      Q. Go ahead.                                             10      Q. Okay. Could you ask a member of the UBPT to
  11                                                               11   resign?
                                                                   12      A. I don't know. I've never confronted that.
                                                                   13         THE WITNESS: Mr. Bramwell, could I have a
                                                                   14   humanity break?
                                                                   15         MR. BRAMWELL: Absolutely. 10:25 come back?
                                                                   16         THE WITNESS: I don't need that long.
                                                                   17         MR. BRAMWELL: That's just a nice round
                                                                   18   number.
                                                                   19         MS. WERMUTH: That's fine. Thank you.
                                                                   20         THE WITNESS: Okay, thank you.
                                                                   21         (A short break was taken.)
                                                                   22   BY MR. BRAMWELL:
                                                                   23      Q. All right. So Dr. Ghanem -- did I pronounce
                                                                   24   that correctly?
                                                         Page 55                                                        Page 57
                                                                    1      A. Yes.
                                                                    2      Q. Okay, good. I apologize, it's one of my
                                                                    3   quirks, for whatever issues that exist, I always want
                                                                    4   to make sure I get people's names correct.
   5      Q. Okay. Are there any other cases or any                 5         I have e-mailed you a document that's Bates
   6   other situations you can think of that might                 6   labeled LC-0004068 through 4076. Please let me know
   7   constitute compelling reasons for overturning a UBPT         7   when it arrives. This is Exhibit No. 18.
   8   recommendation?                                              8      A. Can you repeat the numbers again?
   9         MS. WERMUTH: Calls for speculation.                    9      Q. Sure, it's LC, as in Lima, Charlie, 0004068
  10         Go ahead.                                             10   through 4076.
  11   BY THE WITNESS:                                             11      A. I received it.
  12                                                               12         MR. BRAMWELL: Ms. Wermuth, have you
                                                                   13   received it?
                                                                   14         MS. WERMUTH: Yes.
                                                                   15         MR. BRAMWELL: Okay, good.
                                                                   16   BY MR. BRAMWELL:
                                                                   17      Q. Dr. Ghanem, what is this document?
  18   BY MR. BRAMWELL:                                            18      A. This is the required end-of-year report from
  19      Q. Okay. So if you think somebody did not                19   UBPT to me.
  20   receive proper procedure or if you disagree with the        20      Q. All right. Is it true, complete, and
  21   reading of the dossier. Anything else?                      21   accurate in all respects?
  22      A. No.                                                   22      A. Yes, with the exception of one thing that
  23      Q. Okay. During your time as provost, have you           23   they don't mention.
  24   ever lost faith in the UBPT as a whole?                     24      Q. Okay. What is inaccurate about this

                                                                                                        15 (Pages 54 - 57)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                           888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 147 of 408 PageID #:6069


                                                          Page 58                                                        Page 60
   1   document?                                                     1   governance at DePaul?
   2      A. They do not mention that the candidate can              2      A. Yes.
   3   write a rebuttal to the UBPT recommendation, which I          3      Q. Okay. And faculty council appoints members
   4   also look at when I'm making my deliberations.                4   of the UBPT?
   5      Q. Okay. So you believe the document should                5      A. Yes.
   6   contain more information, but you don't disagree that         6      Q. And now shared governance, what is shared
   7   the document is what it purports to be?                       7   governance?
   8      A. That is correct.                                        8      A. Shared governance is where faculty input is
   9      Q. Okay. When did                     join the UBPT,       9   taken in terms of different decisions at the
  10   if you know?                                                 10   university.
  11      A.                                                        11      Q. Okay. Now as the provost, are you
                                                      .             12   considered faculty?
  13      Q. Did you have in role in Dr.           becoming a       13      A. I have a faculty appointment, but no, I am
  14   member of the UBPT?                                          14   not considered faculty.
  15      A. No, I did not.                                         15      Q. Okay. So then the UBPT is appointed by
  16      Q. Let's take a look at page 2 of Exhibit                 16   faculty council. Did we get that correct?
  17   No. 18.                                                      17      A. That is correct.
  18         Before we do that, though, do you know how             18      Q. And the UBPT, then, is faculty's voice with
  19   one gets on the UBPT?                                        19   respect to who should be tenured and who should not
  20         MS. WERMUTH: Let me -- hang on just a                  20   be tenured?
  21   minute. I'm going to object to examination on this           21      A. Based on that committee, yes, but there are
  22   record, or on this Exhibit 18 insofar as it was              22   also other committees where faculty voices are
  23   improperly obtained outside of the formal discovery          23   included, such as the local academic unit.
  24   procedures.                                                  24      Q. Okay. So you have committees at the local
                                                          Page 59                                                        Page 61
   1   BY MR. BRAMWELL:                                              1   academic unit, and the only university-level unit is
   2      Q. Dr. Ghanem, I await your answer.                        2   the UBPT; is that right?
   3      A. Sorry, can you repeat the question?                     3      A. That is correct.
   4         MR. BRAMWELL: Sure. Madam Court Reporter,               4      Q. Okay. Now let's take a look at Exhibit
   5   could you please repeat it?                                   5   No. 18, please, the second page of this exhibit, if
   6         (Record read as follows: Before we do that,             6   we may.
   7         though, do you know how one gets on the                 7      A. Is that number 4069?
   8         UBPT?)                                                  8      Q. Correct, Bates label 4069.
   9   BY THE WITNESS:                                               9      A. Okay.
  10      A. It is through the faculty council.                     10      Q. And I'm going to share my screen, in part
  11   BY MR. BRAMWELL:                                             11   because it's easier, and in part because I still
  12      Q. Okay. And what is faculty council?                     12   think it's cool.
  13      A. Faculty council is a body of faculty                   13          Have I shared my screen successfully?
  14   composed of faculty from different colleges and              14      A. Yes, you have.
  15   schools at the university.                                   15      Q. Okay. I'm going to highlight a sentence
  16      Q. What is faculty council's purpose?                     16   that's in the middle of the last paragraph. The
  17      A. To ensure faculty governance and to review             17   sentence is as follows:
  18   -- there are certain aspects where faculty have
  19   primary responsibility.
  20      Q. Okay.
  21      A. As outlined in the faculty handbook.
  22      Q. All right. So faculty council -- is it fair
  23   to say that faculty council is the unit that                 23       Do you see that sentence?
  24   represents faculty's voice with respect to shared            24     A. I do.

                                                                                                         16 (Pages 58 - 61)
                                                 Veritext Legal Solutions
  www.veritext.com                                                                                             888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 148 of 408 PageID #:6070


                                                        Page 62                                                          Page 64
   1     Q. Do you agree with that sentence?                       1   to highlight it here.
   2     A. I find that sentence to be kind of vague.              2
   3     Q. How is it vague?
   4     A.

                           .                                       6         Do you see that sentence that I've
   7     Q. I'm not sure I follow. Can you please                  7   highlighted there?
   8   unpack that for me?                                         8     A. I do.
   9        MS. WERMUTH: Objection, vague.                         9     Q. Do you agree or disagree with that sentence?
  10   BY THE WITNESS:                                            10     A. I disagree with that sentence.
  11     A.                                                       11     Q. Why?
                                                                  12     A.




  16   BY MR. BRAMWELL:
  17      Q. That's right, you are not a voting member of         17     Q. Okay. I asked you about a professor in the
  18   the board as the provost.                                  18   College of Communications earlier; her name was
  19      A. That's correct.
  20      Q. In fact, when the UBPT is deliberating,              20       Do you know her?
  21   you're not even supposed to comment on the                 21     A. Yes, I do.
  22   deliberation, correct?                                     22     Q. How do you know her?
  23      A. That is correct.                                     23     A. As a faculty member in the College of
  24      Q. So would you agree, then, with the -- I              24   Communications.
                                                        Page 63                                                          Page 65
   1   guess it would be just a phrase, or just a part of          1     Q. Do you know her race?
   2   the sentence. Would you agree that the decision to          2     A. I believe she's
   3   overturn may not be based -- sorry, let's try that          3     Q. Okay.
   4   again.
   5         Would you agree that the decision to
   6   overturn may not be made simply because the provost
   7   would have voted differently had the provost been a
   8   voting member of the board? Would you agree or
   9   disagree with that?
  10         MS. WERMUTH: Objection, asked and answered.          10     Q. And do you know a gentleman by the name of
  11   BY THE WITNESS:                                            11
  12      A. As I said, the sentence does not make sense          12     A.   I do not know him.                          .
  13   to me.                                                     13     Q.   Okay.                                      ?
  14   BY MR. BRAMWELL:                                           14     A.   Yes.
  15      Q. Is English your first language?                      15     Q.   What does that mean?
  16      A. Yes, it is.                                          16     A.
  17      Q. Okay. And you speak, read, and write it
  18   fluently?
  19      A. Yes, I do.                                           19     Q. Okay. Did you have any other interactions
  20      Q. Okay. And it's your testimony that you just          20   with         -- strike that.
  21   don't understand that sentence?                            21
  22      A. The sentence -- yes, I do not understand
  23   this sentence.
  24      Q. Okay. Going to the next sentence, I'm going

                                                                                                       17 (Pages 62 - 65)
                                                 Veritext Legal Solutions
  www.veritext.com                                                                                          888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 149 of 408 PageID #:6071


                                                    Page 66                                                           Page 68
   1      A. No, I did not.
   2      Q. Did you ever have any telephone
   3   conversations with him?
   4      A. No, I did not.                                    4      Q. The following year so, that would be
   5      Q. And by the way, I mean in the same time           5   academic year '19/'20?
   6   period.                                                 6      A. I believe so, yes.
   7         Same time period, ever exchange e-mail with       7      Q. And I realize that was kind of an odd way to
   8   him?                                                    8   phrase it. It would be academic year 2019/2020,
   9      A. Not that I recall, no.                            9   correct?
  10      Q. Okay. Ever communicate with somebody on his      10      A. That is correct.
  11   behalf?                                                11      Q. All right. I'm sending you Exhibit No. 24.
  12      A. Not that I recall, no.                           12   Please let me know when it arrives. It is Bates
  13      Q. Okay. I'm going to send you a document that      13   labeled Calvente-DePaul-38092 through 38093.
  14   I have marked as Exhibit No. 1. Please let me know     14      A. I just received Exhibit 24.
  15   when it arrives. It's Bates labeled                    15      Q. Okay.
  16   Calvente-DePaul-013833 through 013834.                 16         MR. BRAMWELL: Ms. Wermuth?
  17         Please let me know when it arrives.              17         MS. WERMUTH: I have it.
  18      A. I just received the e-mail.                      18   BY MR. BRAMWELL:
  19         MR. BRAMWELL: Ms. Wermuth?                       19      Q. Okay. Dr. Ghanem, are you familiar with
  20         MS. WERMUTH: Actually, now I have it.            20   Exhibit No. 24?
  21         MR. BRAMWELL: Okay, fantastic.                   21      A. Let me review it real quickly.
  22         THE WITNESS: Can you repeat the number           22      Q. Mm-hmm, take your time.
  23   again?                                                 23      A. Yes, I am.
  24                                                          24      Q. How are you familiar with it?
                                                    Page 67                                                           Page 69
   1   BY MR. BRAMWELL:
   2      Q. Sure. It's Calvente-DePaul-01383 through
   3   013834.                                                 3    Q. And is it true, complete, and accurate in
   4      A. I have it.                                        4 all respects?
   5      Q. Okay. Did you write -- are you familiar           5    A. Yes.
   6   with this document?                                     6    Q. As you sit here today, do you agree with its
   7      A. Yes, I am.                                        7 content?
   8      Q. Did you write it?                                 8    A. Yes, I do.
   9      A. Yes, I did.
  10      Q. Is it true, complete, and accurate in all
  11   respects?
  12      A. Yes, it is.
  13      Q. As you sit here today, do you agree with its     13      Q. Okay. I'm sending you a document that I've
  14   content?                                               14   labeled as Exhibit No. 2. This is a document that's
  15      A. Yes, I do.                                       15   Bates labeled Calvente-DePaul-013836 through 013837.
  16      Q. Would you change anything about it?              16         Please let me know when it arrives.
  17      A. No, I would not.                                 17      A. I just received an e-mail titled Exhibit 2.
                                                              18         MR. BRAMWELL: Ms. Wermuth?
                                                              19         MS. WERMUTH: Yes.
                                                              20   BY MR. BRAMWELL:
                                                              21      Q. Okay. Dr. Ghanem, are you familiar with
                                                              22   Exhibit No. 2?
                                                              23      A. Let me review.
                                                              24         Yes, I am.

                                                                                                   18 (Pages 66 - 69)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                       888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 150 of 408 PageID #:6072


                                                          Page 70                                                          Page 72
   1    Q. Is it true, complete, and accurate in all                 1
   2 respects?                                                       2      Q. Are you aware of Dr. Calvente ever lodging a
   3    A. Yes, it is.                                               3   complaint internally or externally about racial
   4    Q. You wrote this letter?                                    4   discrimination?
   5    A. Yes, I did.                                               5      A. Yes, I am.
   6    Q. When did you write it?                                    6      Q. What -- when did she do this?
   7                                  .                              7
   8    Q. I didn't ask when it was dated, I asked when
   9 you wrote it.
  10    A. I do not recall if it was a few days before
  11 that when I was preparing all the letters.
  12

                                                                    14     Q. Okay. How were you familiar with that?
                                                                    15     A. I believe I might have been interviewed
                                                                    16   about that one. It was a -- if I recall, it was
                                                                    17   lodged against the personnel committee.
  18   Q. The letter that you wrote to             as               18     Q. Who would have interviewed you about it?
  19 Exhibit No. 1, did you run that by counsel?                    19     A. Most likely -- well, I do believe it was
  20   A. No, I did not.                                            20   Barbara Schaffer.
  21   Q. What about the letter at Exhibit No. 24, did              21     Q. At OIDE?
  22 you run that by counsel?                                       22     A. Yes.
  23   A. Was that the         one?                                 23     Q. And what is OIDE?
  24   Q. That was.                                                 24     A. Office of Institutional Diversity and
                                                          Page 71                                                          Page 73
   1     A. No, I did not.                                           1   Equity.
   2     Q. Is Dr. Calvente the only letter that -- I'm              2      Q. Is that the organization that's tasked with
   3   sorry, let's strike that.                                     3   investigating complaints of discrimination at DePaul?
   4                                                                 4      A. That is correct.
                                                                     5      Q. Now did you hear about Dr. Calvente's OIDE
                                                                     6   complaint in 2015/2016, did you hear about that from
                                                                     7   any other sources?
                                                                     8      A. No, I did not.
                                                                     9      Q. Okay. Are you familiar with -- I'm sorry,
                                                                    10   let's try this again.
                                                                    11          Are you aware of any other occasions where
                                                                    12   Dr. Calvente lodged any complaints about racial
                                                                    13   discrimination?
  14     Q. Okay. Now going back to Exhibit No. 2,                  14      A. Following the second formal review, I
  15                                      , and I just              15   reached out to OIDE on behalf of Dr. Calvente.
  16   don't remember if I asked this, so I apologize.              16      Q. Why did you reach out to OIDE after the
  17         As you sit here today, you agree with the              17   second formal review?
  18   content of Exhibit No. 2?                                    18      A. Because Dr. Calvente met with me and
  19     A. Yes, I did.                                             19   indicated that she believed that she was subject to
  20     Q. Yes, you did sounds like --                             20   discrimination, and I have an obligation to report
  21     A. Sorry. Yes, I do.                                       21   that.
  22     Q. Okay, that's fine.                                      22      Q. What obligation do you have to report -- or
  23                                                                23   sorry.
                                                                    24          What is the source of your obligation to

                                                                                                          19 (Pages 70 - 73)
                                                  Veritext Legal Solutions
  www.veritext.com                                                                                              888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 151 of 408 PageID #:6073


                                                     Page 74                                                         Page 76
   1   report allegations of discrimination?                 1         Q. Okay. Do you recall anything else about
   2      A. As the dean of the college, or in a             2      that meeting?
   3   supervisory position, I have to report any case that  3         A. I believe that's the meeting when she was
   4   comes to me alleging discrimination.                  4      very upset and she was crying.
   5      Q. Okay. So you reported that -- all right.        5         Q. Okay. She was very upset and she was
   6   I'm sorry, I've gotten a little bit discombobulated.  6      crying. What else do you recall?
   7   Forgive me if I mess up here.                         7         A. Nothing specific comes to mind.
   8         So this was after the second formal review.     8         Q. Does anything generally come to mind?
   9   That would have been when, December of '17?           9         A. I'm trying to visualize. I think we were
  10      A. Most likely.                                   10      sitting around the -- I had a round table in my
  11      Q. Okay. And Dr. Calvente came to you and told 11         office, and I think we were sitting around there and
  12   you she believed she was a victim of discrimination? 12      she was very upset, and I was mainly listening to
  13      A. Yes, she did.                                  13      what she had to say.
  14      Q. When was this?                                 14         Q. Did you take notes?
  15      A. I don't recall the exact date. Maybe around 15            A. No, I did not.
  16   December sometime. I don't recall.                   16         Q. Do you believe that her allegations of
  17      Q. Do you remember if it was before or after      17      discrimination were valid?
  18   Christmas?                                           18         A. I did not have an opinion on whether they
  19      A. No, I -- well, probably before, because        19      were valid or not. I would -- I was listening to
  20   we're closed for Christmas.                          20      what she had to say.
  21      Q. Okay. And where did this meeting occur?        21         Q. Did you ever do any investigation?
  22      A. I believe it was in my office.                 22         A. No, I did not.
  23      Q. Okay. And how long did this meeting last? 23              Q. What about with the 2015/2016 complaint, did
  24      A. Meetings are usually scheduled for about an 24         you ever do any investigation?
                                                     Page 75                                                         Page 77
   1   hour, but I don't recall.                                1      A. No.
   2      Q. Was this a scheduled meeting or was this a         2      Q. Going back to the December 2017, do you know
   3   pop-in?                                                  3   whether Dr. Calvente ever followed through on her --
   4      A. I don't recall.                                    4   or do you know whether Dr. Calvente ever followed
   5      Q. What did you say to Dr. Calvente and she to        5   through with OIDE?
   6   you that made you believe you had an obligation to       6      A. That I do not know.
   7   report to OIDE?                                          7      Q. Were you ever interviewed by OIDE?
   8         MS. WERMUTH: Asked and answered.                   8      A. I don't recall being interviewed for that
   9   BY MR. BRAMWELL:                                         9   one.
  10      Q. You can answer.                                   10      Q. Okay. Did you ever discourage Dr. Calvente
  11      A. I believe she indicated that she felt             11   from filing -- or from making another claim of
  12   discriminated against by the recommendation of the      12   discrimination?
  13   personnel committee and that's why I reported it.       13      A. I didn't discourage her. I told her it was
  14      Q. All right. She indicated. What did she say        14   up to her. But -- and she had indicated to me that
  15   to indicate?                                            15   it was taking up a lot of her time, and I told her is
  16      A. I don't remember the specifics.                   16   this how she wants to spend her time. But it's up to
  17      Q. Okay. How did you respond when -- I'm             17   her whether she wants to file or not.
  18   sorry, I don't think I asked -- started that question   18      Q. Okay. You told her it was up to her. Did
  19   off right. Let me try it again.                         19   you offer any other advice as to whether she should
  20         How did you, Dr. Ghanem, respond when             20   file?
  21   Dr. Calvente indicated she was the victim of            21      A. I might have said is it worth filing now, or
  22   discrimination?                                         22   is it better to file once she goes up for tenure, if
  23      A. I really don't recall my -- what my response      23   it doesn't go her way.
  24   was.                                                    24      Q. Okay. That's what you told her?

                                                                                                     20 (Pages 74 - 77)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                        888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 152 of 408 PageID #:6074


                                                        Page 78                                                          Page 80
   1      A. I believe so.                                         1   what Dr. Calvente told personnel in 2018?
   2      Q. Okay. You didn't tell her anything else?
   3      A. Not that I recall.
   4      Q. Okay. Now did Dr. Calvente, after this
   5   December '17 event, did she make any other complaints
   6   about discrimination?
   7      A. She met with me as well as with                       7      Q. Okay. Now are you aware of any other
                I think it was October 2018, but it was not        8   occasions where Dr. Calvente made complaints of
   9   in reference to her tenure, it was in reference to a        9   discrimination prior to her going up for tenure?
  10   college meeting.                                           10      A. No, I am not.
  11      Q. Okay. And -- all right. How long did that            11      Q. Okay. I want to talk a little bit -- I want
  12   meeting last?                                              12   to shift gears a little bit and talk about the tenure
  13      A. That one was a long meeting. That I                  13   process and the UBPT's work. Can we do that?
  14   remember.                                                  14      A. Yes.
  15      Q. Okay.                                                15      Q. Okay. We mentioned earlier that there will
  16      A. But how long exactly, I don't know. But it           16   be between two and four different groups that vote at
  17   was quite long.                                            17   a local academic unit, right?
  18      Q. Two hours?                                           18      A. That is correct.
  19      A. I would say about two hours.                         19      Q. Okay. And then afterwards, those
  20      Q. Okay. And it was just Dr. Calvente,                  20   recommendations and the dossier go up to the UBPT?
  21               , and you?                                     21      A. That is correct.
  22      A. That is correct.                                     22      Q. And the UBPT interviews both the dean of the
  23      Q. Going back to -- and I'm sorry to keep               23   college and the candidate?
  24   jumping around, but going back to the December '17         24      A. And in the case of colleges that have
                                                        Page 79                                                          Page 81
   1   meeting that was just you and                               1   department chairs, they will interview the department
   2      A. No, me and Dr. Calvente.                              2   chair as well.
   3      Q. I'm sorry. I'm sorry, you're right. Maybe             3      Q. Okay. The College of Communications does
   4   I need more coffee.                                         4   not have a department -- or sorry, let's strike that.
   5          You and Dr. Calvente in December '17, right?         5         The College of Communications does not have
   6      A. Yes.                                                  6   department chairs, correct?
   7      Q. No one else?                                          7      A. That is correct.
   8      A. Not that I recall, no.                                8      Q. So for Dr. Calvente's case, it would have
   9      Q. Okay. Did Dr. Calvente make any other                 9   been interview Lisa Calvente and interview Alexa
  10   complaints about discrimination at DePaul?                 10   Murphy?
  11      A. Not that I'm aware of.                               11      A. That is correct.
  12      Q. Are you aware of Dr. Calvente ever telling           12      Q. And you're sitting in the room as well?
  13   the personnel committee in 2018 that retaliation was       13      A. That is correct.
  14   illegal?                                                   14      Q. So I want to take you back in time to the
  15      A. I was not at the personnel committee. I              15   interview -- strike that.
  16   don't attend the personnel committee.                      16         Did you normally interview the dean first
  17      Q. Were you aware of any rumors or did anybody          17   and then the candidate or the candidate and then the
  18   tell you that she said that?                               18   dean?
  19      A. I do not recall.                                     19      A. The candidate, then the chair, if there is
  20      Q. Would anything refresh your recollection?            20   one, then the dean.
  21      A. Perhaps, but I don't know what that would
  22   be.
  23      Q. And I used the specific phrase "retaliation
  24   is illegal." Were you aware of anything regarding

                                                                                                         21 (Pages 78 - 81)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                            888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 153 of 408 PageID #:6075


                                          Page 82                                                       Page 84




                                                     9      Q. Okay. All right. So after the UBPT makes a
                                                    10   recommendation on the file, what do you do?
                                                    11      A. I get all the recommendations of UBPT, I go
                                                    12   back and I review the files again, and then I start
                                 vague.             13   writing my letters.
  14 BY THE WITNESS:                                14      Q. All right. So you said you get all the
                                                    15   recommendations, review the file again, and start
                                                    16   writing the letters.
                                                    17         Did I get that right?
                                                    18      A. That is correct.
                                                    19      Q. So get all recommendations, that means the
                                                    20   UBPT and any college level recommendations?
  21     MS. WERMUTH: Objection, vague.             21      A. No, I'm talking about the UBPT
  22 BY MR. BRAMWELL:                               22   recommendation. The college recommendations and
  23                                                23   everything else is in a SharePoint file, kind of a
                                                    24   SharePoint system where I can go back and look.
                                          Page 83                                                       Page 85
                                                     1      Q. And so that's an electronic system where you
                                                     2   can just log on from anywhere and review documents?
                                                     3      A. Yes.
                                                     4      Q. Is the UBPT recommendation uploaded to the
                                                     5   SharePoint file?
                                                     6      A. Yes.
                                                     7      Q. Now the -- all right. So you review the
                                                     8   UBPT recommendation, but -- and you review the file
                                                     9   again. What does review the file again mean?
                                                    10      A. Just I look at the letter from UBPT and if
                                                    11   there is any questions that I might have, I go back
                                                    12   and look into the file again.
                                                    13         And I want to clarify something. SharePoint
                                                    14   site was the first year and then the second year we
                                                    15   used something called Interfolio.
                                                    16      Q. Sorry, go ahead. I'm sorry, I cut you off.
                                                    17      A. So there was a SharePoint site for, I think
                                                    18   it was '18/'19. For '19/'20 we used a different
                                                    19   system called Interfolio.
                                                    20      Q. Is there any material difference between
                                                    21   Interfolio and SharePoint?
                                                    22      A. No.
                                                    23      Q. So you review -- if I understand correctly,
                                                    24   you review the UBPT recommendation and then if you

                                                                                        22 (Pages 82 - 85)
                                   Veritext Legal Solutions
  www.veritext.com                                                                            888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 154 of 408 PageID #:6076


                                                      Page 86                                                        Page 88
   1   have questions, you go back and review the rest of        1   and then I will go back and review the files again at
   2   the file?                                                 2   times. So I'm not sure -- your question is not
   3      A. I go back again, yes.                               3   making sense to me.
   4          MS. WERMUTH: Hang on. Sorry, let me just           4   BY MR. BRAMWELL:
   5   object. Misstates her testimony.                          5      Q. Okay, you're right, and I'm having -- just
   6          MR. BRAMWELL: I'm sorry, I missed your             6   because I'm having a very hard time understanding the
   7   answer, Dr. Ghanem.                                       7   process, so forgive me, please.
   8          THE WITNESS: Can you repeat the question?          8          All right. Maybe I should start from ground
   9          MR. BRAMWELL: Sure, Madam Court Reporter?          9   zero, because I think I might have made some
  10          (Record read as follows: If I understand          10   assumptions that are not warranted.
  11          correctly, you review the UBPT                    11          So why don't you do this: Why don't you
  12          recommendation and then if you have               12   walk me through your process for evaluating a file
  13          questions, you go back and review the rest        13   for tenure.
  14          of the file?                                      14      A. The -- usually the meetings with UBPT take
  15          Answer: I go back again, yes.)                    15   place on Fridays. I try to carve out time before
  16   BY MR. BRAMWELL:                                         16   each meeting of UBPT where I go through and review
  17      Q. Here's where I'm having a little bit of a          17   the files and look at the faculty member's record.
  18   hard time. Are you saying that you treat files           18          Then I take notes, and I -- about the --
  19   differently, different files differently?                19   about the dossier. Then I sit in UBPT and take notes
  20      A. No, I don't believe I treat different files        20   based on the discussion that is happening.
  21   differently. If there might be something that I          21          Then I do that for the following week and
  22   don't recall, then I might want to go back in and        22   the following week, and it's usually over -- I don't
  23   look at it again.                                        23   remember how many Fridays; it depends on the number
  24      Q. I guess here's the question: What would            24   of cases that we have for that year. It's a
                                                      Page 87                                                        Page 89
   1   constitute you wanting to go back and look at the         1   whole-day process.
   2   file again?                                               2         Then I wait for the letters from UBPT. I
   3          MS. WERMUTH: Objection, asked and answered.        3   look at the letters from UBPT and what their
   4          MR. BRAMWELL: Actually, strike that. That          4   recommendations are, and I draft my recommendations
   5   was -- I did not ask that question correctly.             5   and send the letters to the candidates.
   6   BY MR. BRAMWELL:                                          6      Q. Is it fair to say you have a decent idea how
   7      Q. What would cause you to go back and look at         7   you're going to vote -- strike that.
   8   the file again?                                           8         I understand the UBPT has a straw poll?
   9          MS. WERMUTH: Same objection.                       9      A. Yes, they do.
  10   BY THE WITNESS:                                          10      Q. What is a straw poll?
  11      A. I have -- I looked at 47 files that year, so       11      A. Usually after they look at the -- after they
  12   sometimes I would need to refresh my recollection        12   conduct the interviews with each candidate, they do
  13   about something and I would go back in.                  13   an anonymous straw poll, and based on the straw poll,
  14   BY MR. BRAMWELL:                                         14   they will decide whether in their -- at the end of
  15      Q. So are you telling me that you review the          15   the UBPT meetings if they will have a deliberation to
  16   dossier first, come up with your own sort of             16   discuss the cases that were not unanimous in favor.
  17   thoughts, and then review the UBPT's recommendation      17      Q. Okay. And do you have something similar for
  18   and then try to reconcile those?                         18   yourself? Do you have sort of your own personal
  19          MS. WERMUTH: Objection to the form.               19   straw poll?
  20   BY THE WITNESS:                                          20         MS. WERMUTH: Objection to form.
  21      A. No, you're outlining a process that might          21   BY THE WITNESS:
  22   not be the case.                                         22      A. No, I don't. I would have -- if, when I'm
  23          I review the files, I listen to what UBPT         23   reading the dossier I'm having questions about
  24   has to say, regardless of the recommendation of UBPT,    24   certain things in the dossier, I might make a note

                                                                                                     23 (Pages 86 - 89)
                                              Veritext Legal Solutions
  www.veritext.com                                                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 155 of 408 PageID #:6077


                                                       Page 90                                                       Page 92
   1   about it in my notes.                                      1   BY MR. BRAMWELL:
   2   BY MR. BRAMWELL:                                           2      Q. Before you get the UBPT results, let's say.
   3      Q. When do you decide how you are going to --           3      A. I will make a note if it was -- what the
   4   when do you make your decision on a candidate's file?      4   local academic unit's votes are, whether it's in
   5      A. After I've received all the documents,               5   favor, not in favor, split, and so on.
   6   including the UBPT recommendations and any letters --      6      Q. Okay. Will do you anything else with that
   7   I have to wait for letters from the candidate, if          7   information?
   8   there are any, that they might have added in rebuttal      8      A. No.
   9   of the UBPT recommendation.                                9      Q. Do you weigh the college more heavily than
  10      Q. And so you receive -- you receive all of            10   you weigh the UBPT?
  11   that and then you read all of it and then you make a      11      A. No, I do not.
  12   decision?                                                 12      Q. Do you weigh the UBPT more heavily than the
  13      A. Yes.                                                13   college?
  14      Q. Okay. You don't come to a decision before           14      A. I look at the entire dossier and all the
  15   then?                                                     15   votes holistically. I wouldn't say I have one area
  16      A. No.                                                 16   where I weigh more than the other. I look at it all
  17      Q. What about a -- you know, sort of a                 17   holistically.
  18   preliminary decision? Do you have any preliminary         18      Q. Okay. So the answer to the question then is
  19   leanings?                                                 19   no, you do not weigh the UBPT more heavily than the
  20         MS. WERMUTH: Objection, vague, calls for            20   college?
  21   speculation.                                              21         MS. WERMUTH: Objection, misstates her
  22   BY THE WITNESS:                                           22   testimony, asked and answered.
  23      A. I -- I don't make a decision. I really try          23   BY THE WITNESS:
  24   to be as receptive to all the information that comes      24      A. I weigh the entire dossier.
                                                       Page 91                                                       Page 93
   1   in, including the candidate's letter, which it             1   BY MR. BRAMWELL:
   2   happens even after the UBPT deliberations.                 2      Q. Okay. I know you said you weigh the entire
   3   BY MR. BRAMWELL:                                           3   dossier. I'm asking how you weigh various components
   4      Q. Okay. I don't know that that answers my              4   of the dossier, and I'd like an answer to that
   5   question, though. I asked if you had any leanings          5   question, please.
   6   one way or another.                                        6          MS. WERMUTH: Asked and answered.
   7      A. There are -- the leanings would be there are         7   BY THE WITNESS:
   8   some cases that would be more clear-cut than others.       8      A. As I said, I've already answered that
   9      Q. And those would be cases where the college           9   question. I can't say how do I take one area and
  10   level voted overwhelmingly one way or another?            10   give it an extra point here or an extra point there.
  11      A. It will depend, again, on the dossier as            11   I don't do it that way. I look at it all
  12   well as all the levels of review, including UBPT.         12   holistically, as well as the arguments presented in
  13         MR. BRAMWELL: Can you, Madam Court                  13   all the levels.
  14   Reporter, please read back my question?                   14   BY MR. BRAMWELL:
  15         (Record read as requested.)                         15      Q. If the handbook says you should only
  16   BY MR. BRAMWELL:                                          16   overturn the UBPT decision in rare and compelling
  17      Q. It's a yes or no question.                          17   circumstances, why don't you weigh the UBPT more
  18         MS. WERMUTH: She answered the question.             18   heavily than the college?
  19   Objection, asked and answered.                            19      A. I did not say that I don't weigh the UBPT
  20   BY THE WITNESS:                                           20   more heavily than the college. I read very carefully
  21      A. Mr. Bramwell, I'm not sure at what point you        21   what the UBPT says and based on the overall
  22   want me to address. Am I looking at this after I get      22   evaluation of everything, I make a decision.
  23   the UBPT results or before the UBPT results? I'm not      23      Q. Yeah, I know you've said that now a few
  24   sure I understand.                                        24   times, and I appreciate that information, but I've

                                                                                                      24 (Pages 90 - 93)
                                               Veritext Legal Solutions
  www.veritext.com                                                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 156 of 408 PageID #:6078


                                                       Page 94                                                        Page 96
   1   asked a different question.                                1          THE WITNESS: It's not there.
   2         MR. BRAMWELL: Can I ask the court reporter           2          MS. WERMUTH: Gosh, I hope I sent it to the
   3   to read it back, please, and then you can answer it.       3   right place.
   4         (Record read as follows: If the handbook             4          THE WITNESS: Okay, I just received it.
   5         says you should only overturn the UBPT               5          MR. BRAMWELL: All right, excellent.
   6         decision in rare and compelling                      6          THE WITNESS: The attachment -- there it is.
   7         circumstances, why don't you weigh the UBPT          7   That's Bree McEwan?
   8         more heavily than the college?)                      8   BY MR. BRAMWELL:
   9         MS. WERMUTH: Asked and answered.                     9      Q. That's right. This is her tenure file.
  10   BY THE WITNESS:                                           10          Now really, I guess what I should have done
  11      A. I believe I have answered your question.            11   is broken out a piece of this, but I guess as I was
  12         MR. BRAMWELL: Please certify that question.         12   preparing for this deposition, it was easier just to
  13   BY MR. BRAMWELL:                                          13   grab the entire file.
  14      Q. I asked you earlier about a woman named Lucy        14          I'm interested, really, in two pages of this
  15   Reinhart. Do you know her?                                15   file. If you can move, please, to Bates number 10340
  16      A. Yes, I do.                                          16   to 10341.
  17      Q. How long have you known Dr. Reinhart?               17      A. That's -- it's 300 pages.
  18      A. I believe I've known Dr. Reinhart the entire        18      Q. 301 pages, yes.
  19   time I've been at DePaul.                                 19      A. Okay, hold on. It's page 268 of 301 and 269
  20      Q. Are you familiar with her signature?                20   of 301. Could you tell me the number again?
  21      A. I'm not sure I am.                                  21      Q. Sure.
  22      Q. Okay.                                               22      A. What page number on the bottom? I'm looking
  23         THE WITNESS: Mr. Bramwell, I'm going to             23   at the bottom.
  24   need a three-minute break.                                24      Q. Sure. The Bates numbers are 10340 to 10341.
                                                       Page 95                                                        Page 97
   1          MR. BRAMWELL: Oh, sure. Let's come back             1   A. Okay.
   2   then at 11:21. Is that all right?                          2   Q. Okay. So are you familiar with these two
   3          THE WITNESS: Sounds good. Thank you.                3 pages of               file?
   4          MR. BRAMWELL: Thank you.                            4   A. Yes, I am.
   5          (A short break was taken.)                          5   Q. How are you familiar with it?
   6          MR. BRAMWELL: You know, I should have sent          6   A. They were part of her tenure and promotion
   7   this before the break. I apologize for wasting a           7 dossier.
   8   little bit of time.                                        8   Q. And you reviewed this?
   9   BY MR. BRAMWELL:                                           9   A. Yes, I have.
  10       Q. I'm sending you, Dr. Ghanem, a document that       10   Q. When did you review it?
  11   is -- I've marked as Exhibit No. 28.                      11   A. When I was reviewing her file.
  12          MS. WERMUTH: Sorry, 20 or 28?
  13          MR. BRAMWELL: 28. This is Bates labeled
  14   Calvente-DePaul-010073 through 01373.
  15   BY MR. BRAMWELL:
  16       Q. Let me know when it's arrived, please.
  17       A. Will do.
  18       Q. Has it arrived yet?
  19       A. No, it has not.
  20       Q. Okay. It's a large file.
  21          MS. WERMUTH: I just got it.
  22          THE WITNESS: I have not.
  23          MR. BRAMWELL: Consider checking your spam
  24   folder?

                                                                                                       25 (Pages 94 - 97)
                                               Veritext Legal Solutions
  www.veritext.com                                                                                          888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 157 of 408 PageID #:6079


                                                           Page 98                                                           Page 100
                                                                      1   come through, it is based on the student report, it
                                                                      2   is based on the peer observations of classes, and it
                                                                      3   is based on the syllabus, as well as any other
                                                                      4   materials that the faculty member includes in their
                                                                      5   dossier to document their teaching.




                                                                      9         MS. WERMUTH: Objection to the form of the
                                                                     10   question.
                                                                     11   BY THE WITNESS:




                                                                     15   BY MR. BRAMWELL:
                                                                     16      Q. Are there other parts of it?
  17      Q. I have sent you also Exhibit No. 26. This               17      A. The report that is written by the student,
  18   is Bates labeled Calvente-DePaul-001046 through               18   there is a report that's done by students after -- of
  19   001047.                                                       19   students who had already taken her classes as well,
  20         Please let me know when that's arrived.                 20   as well as materials in terms of syllabi and class
  21      A. I have it.                                              21   assignments and that kind of stuff.
  22      Q. Okay. Now are you familiar with that                    22      Q. Okay. Anything else?
  23   document?                                                     23      A. That is what I recall.
  24      A. I haven't been able to open it. Hold on.                24      Q. Okay. I'm sending you a document that I
                                                           Page 99                                                           Page 101
   1       Yes.                                                       1   have Bates labeled as Exhibit No. 27. Please do not
   2     Q. How are you familiar with it?                             2   open it yet. But just so that we have a record of
   3                                                                  3   it, Exhibit 27 is Bates labeled Calvente-DePaul-37293
   4     Q. Okay. And you are familiar with it?                       4   through 37295, but please don't open it yet.
   5     A. Yes, I am.                                                5

                                                                      7       MS. WERMUTH: Objection, vague.
                                                                      8   BY THE WITNESS:
                                                                      9

                                                                     11   BY MR. BRAMWELL:




                                                                     15       MS. WERMUTH: Objection to form.
                                                                     16   BY THE WITNESS:

  18     Q. I'm sorry, not only in the numerical scores
  19   on what?
  20     A. OTEs.                                                    20   BY MR. BRAMWELL:
  21     Q. And what does OTE stand for?
  22     A. Online teaching evaluations.
  23     Q. Okay. What else is it based on?
  24     A. It is based on the qualitative comments that

                                                                                                            26 (Pages 98 - 101)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                                 888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 158 of 408 PageID #:6080


                                                        Page 102                         Page 104



   3     Q. Okay. Let's take a look now at Exhibit
   4   No. 27, if we may.
   5     A. You want me to open it?
   6     Q. Please.
   7     A. Okay.
   8     Q. Now are you familiar with this document?
   9     A. Yes, I am.
  10     Q. Okay.




  14     Q. So looking at -- I'd like you to go to
  15   page 2, and I'll share my screen with you too. That
  16   might be easy.
  17
  18




                                                        Page 103                         Page 105
   1     Q. Okay. And Exhibit No. 27, is it true,
   2   complete, and accurate in all respects?
   3     A. Yes, I believe so.
   4




                                                                            27 (Pages 102 - 105)
                                                 Veritext Legal Solutions
  www.veritext.com                                                                888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 159 of 408 PageID #:6081


                                                Page 106                                                       Page 108
                                                            1      A. No, I do not know how she reacted.
                                                            2   BY MR. BRAMWELL:
                                                            3      Q. No? Did you ever have a conversation with
                                                            4   her about this?
                                                            5      A. I do not recall if we had a conversation
                                                            6   about this one.
                                                            7      Q. Okay. But you know that Dr. Calvente filed
                                                            8   a complaint with OIDE?
                                                            9      A. I do.
                                                           10      Q. Okay. Do you believe Dr. Calvente should
                                                           11   have reacted differently after receiving this
                                                           12   recommendation?
                                                           13         MS. WERMUTH: Objection to the form.
                                                           14         Go ahead.
                                                           15   BY THE WITNESS:
                                                           16      A. I do not have an opinion in terms of how she
                                                           17   should have or not have reacted.
                                                           18   BY MR. BRAMWELL:
                                                           19      Q. No? No opinion at all?
                                                           20      A. No, I think it is up to her to react the way
                                                           21   she deems fit.
                                                           22      Q. If you were in Dr. Calvente's place as a
                                                           23   junior tenure track but untenured faculty and you
                                                           24   believed that personnel had recommended your
                                                Page 107                                                       Page 109
                                                          1     nonrenewal for racially discriminatory reasons, would
                                                          2     you have responded by filing with OIDE?
   3      Q. I'm sending you a document that's been       3           MS. WERMUTH: Objection, improper
   4   marked as Exhibit No. 4.                           4     hypothetical, calls for speculation.
   5         Please let me know when it arrives, and you  5     BY THE WITNESS:
   6   may open it. This is a document Bates labeled      6        A. Again, you're asking me to put myself in her
   7   Calvente-DePaul-013346 through 013443.             7     shoes, which is kind of impossible to do. But if I
   8         Has it arrived yet?                          8     believed I was the recipient of discrimination, yes,
   9      A. I just got it. Exhibit No. 4 you said?       9     I would file.
  10      Q. That's correct.                             10     BY MR. BRAMWELL:
  11      A. And you said it's okay to open it?          11        Q. Okay.
  12      Q. Please.                                     12        A. That is her right to do so.
  13      A. Okay.                                       13        Q. Okay. Do you know if Dr. Calvente's
  14      Q. Are you familiar with this document?        14     complaint was the subject of conversation by or among
  15      A. Let me review it.                           15     members of the faculty?
  16         Yes, I am.                                  16        A. I do not know.
  17      Q. Is it true, complete, and accurate in all   17        Q. And so I just want to understand your
  18   respects?                                         18     testimony correctly. You don't recall whether you
  19      A. Yes, it is.                                 19     had a conversation with Dr. Calvente -- I'm sorry, go
  20      Q. Do you know how Dr. Calvente reacted when 20       ahead.
  21   she received word of the nonrenewal?              21        A. No, go ahead.
  22         MS. WERMUTH: Objection.                     22        Q. It looked like you were leaning in and about
  23                                                     23     to say --
  24   BY THE WITNESS:                                   24        A. No, go ahead.

                                                                                             28 (Pages 106 - 109)
                                          Veritext Legal Solutions
  www.veritext.com                                                                                    888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 160 of 408 PageID #:6082


                                                       Page 110                                                   Page 112
   1      Q. You don't recall whether you had a                    1 discussed with Dr. Calvente?
   2   conversation with Dr. Calvente vis-à-vis the
   3   nonrenewal in 2015?
   4      A. I really don't recall if we had a meeting or
   5   not about this one.
   6      Q. Okay. I'm sending you that document that's
   7   been marked as Exhibit No. 8. Please feel free to
   8   open it when you get a shot -- or please feel free to
   9   open it when it arrives. I'm sorry.
  10          This is a document Bates labeled --                 10      Q. And did members of the faculty communicate
  11      A. Sorry, say it again?                                 11   this to you in any way, other than the letter at
  12      Q. Sure, not at all. Do you need a minute?              12   Exhibit No. 4?
  13      A. No, I'm fine.                                        13      A. I sat on the committee -- on the tenured
  14      Q. This is a document Bates labeled                     14   faculty committee when they discussed her case.
  15   Calvente-DePaul-013855 through 013856.                     15      Q. Okay. Did you participate in those
  16          MS. WERMUTH: Sorry, I don't have it yet.            16   discussions, or were you just an observer?
  17          THE WITNESS: Yeah, I don't have it either.          17      A. Just an observer.
  18   Mr. Bramwell, could you tell me the numbers once I         18      Q. Okay. Dr. Ghanem, what is your race?
  19   receive it, because I can't remember the number when       19      A. I am half Egyptian and half Dutch.
  20   I get it to go back in.                                    20      Q. Okay. And were you born in this country?
  21          MR. BRAMWELL: I can corroborate them, but           21      A. No, I was not.
  22   I'm doing it so that we're making a little bit better      22      Q. Where were you born?
  23   use of time for the court reporter.                        23      A. I was born in Egypt.
  24          THE WITNESS: Okay. So it's Exhibit No. 8?           24      Q. Okay. I'm the grandchild of immigrants.
                                                       Page 111                                                   Page 113
   1      MR. BRAMWELL: Correct.                                   1   When did you immigrate?
   2      THE WITNESS: Can you repeat the number?                  2      A. I came to the United States in 1981.
   3      MR. BRAMWELL: Sure, 013855 through 013856.               3      Q. Okay. For school?
   4      THE WITNESS: Got it.                                     4      A. No. I came at that time with my daughter
   5 BY MR. BRAMWELL:                                              5   and followed by my then-husband.
   6    Q. Okay. Are you familiar with this document?              6      Q. Okay. Did you, during this 2015 meeting,
   7    A. Let me review it.                                       7   this March 15, 2015 meeting with Dr. Calvente, did
   8      Yes, I am.                                               8   you -- did you ever tell her that you had once been
   9    Q. Is it true, complete, and accurate in all               9   called intimidating?
  10 respects?                                                    10      A. I do not recall.
  11    A. Yes, it is.                                            11      Q. Okay. Did you tell her about speaking out
  12    Q. What is it?                                            12   against that accusation by writing a letter to the
                                                                  13   provost?
                                                                  14      A. I'm not following you. About what
                                                                  15   accusation?
                                                                  16      Q. Let's do this: I normally do this earlier,
                                                                  17   but I have not done this in this case.
                                                                  18         You came to the U.S. in 1981 you said?
  19       Do you see that?                                       19      A. Correct.
  20    A. Yes, I do.                                             20      Q. You would have been approximately 21?
  21    Q. Okay. Does that refresh your recollection              21      A. 20.
  22 as to whether you discussed the --                           22      Q. 20, okay.
  23    A. Yes, it does.                                          23         Had you completed your education by that
  24    Q. Okay. So again I'll ask you what you                   24   point in time?

                                                                                                  29 (Pages 110 - 113)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                        888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 161 of 408 PageID #:6083


                                                   Page 114                                                        Page 116
   1     A. No, I had not.                                     1   what did you do?
   2     Q. When did you earn your undergraduate degree?       2      A. Actually, before I finished my Ph.D., I
   3     A. I think in 1987.                                   3   moved back to south Texas and started teaching at the
   4     Q. Okay. Where did you earn -- from where did         4   University of Texas Pan American.
   5   you earn your undergraduate degree?                     5      Q. Okay. As a member of the faculty there?
   6     A. From the University of Texas Pan American.         6      A. As a term faculty member, or what they would
   7     Q. Where is UT Pan American located?                  7   refer to as a lecturer, a nontenure track position.
   8     A. Edinburg, Texas. It doesn't exist anymore.         8      Q. Okay. And how long were you in that role?
   9   They changed the name.                                  9      A. About two years.
  10     Q. What's the name now?                              10      Q. Okay. So from approximately '95 to '97?
  11     A. UT Rio Grande Valley.                             11      A. '94 to '96, I believe.
  12     Q. What was your undergraduate degree in?            12      Q. '94 to '96, all right.
  13     A. I made -- when I finally got my degree, it        13         What did you do after that?
  14   was in communication.                                  14      A. I was able to get a tenure track position.
  15     Q. Okay.                                             15      Q. Where was that?
  16     A. I had several majors prior to that.               16      A. Also at the University of Texas Pan
  17     Q. And that's a BA?                                  17   American.
  18     A. Yes.                                              18      Q. Okay. And did you earn tenure there?
  19     Q. Then did you go right to graduate school?         19      A. Yes, I did.
  20     A. No, I don't think it was immediately after.       20      Q. Okay. When did you earn tenure?
  21   There might have been a gap of a couple of years.      21      A. I can send you my CV, because that's when I
  22     Q. Okay. What did you do during that gap of a        22   became associate professor. I think it was '97.
  23   couple of years?                                       23      Q. Okay. If Ms. Wermuth will not object, we
  24     A. I think that's when I had my second child.        24   can just -- you can send me the CV and we can mark it
                                                   Page 115                                                        Page 117
   1      Q. Okay.                                             1   as an exhibit. If she does object, we can just
   2      A. And then we moved to Temple, Texas, and I         2   continue going through.
   3   worked for a while at Scott & White Hospital.           3         MS. WERMUTH: We produced to you, Jerry.
   4      Q. And then when did you start your graduate         4         MR. BRAMWELL: Mr. Bramwell.
   5   work?                                                   5         MS. WERMUTH: I'm sorry, Mr. Bramwell.
   6      A. You know, I really don't remember the exact       6         MR. BRAMWELL: All right. So then we'll
   7   year. Maybe 1990.                                       7   just continue going through.
   8      Q. Okay. So 1990, approximately, you start           8   BY MR. BRAMWELL:
   9   your graduate work. Do you go straight through?         9      Q. So you earned tenure at Pan American, and
  10      A. Yes, I got my master's and my Ph.D.              10   when did you leave Pan American?
  11      Q. From where?                                      11      A. It's when I went to Central Michigan
  12      A. UT Austin.                                       12   University. I think I was at Pan American for about
  13      Q. I love Austin. It's a really nice down.          13   15 years.
  14         When did you earn these degrees?                 14      Q. Okay. So then when did you start at Central
  15      A. I got my Ph.D. in '96, and I think my MA in      15   Michigan?
  16   '92, but I would have to check my resume. It's a       16      A. I think 2009.
  17   long time ago.                                         17      Q. Okay. And were you a tenured faculty member
  18      Q. Okay. And what's your Ph.D. in?                  18   there, or did you start as an administrator?
  19      A. In journalism.                                   19      A. I was an administrator, but I was tenured
  20      Q. In journalism, okay.                             20   with the rank of full professor there.
  21         Is that a subfield within the field of           21      Q. Okay. When did you become an administrator?
  22   communications?                                        22      A. I started being a program chair and then
  23      A. Yes, it is.                                      23   department chair at the University of Texas Pan
  24      Q. Okay. And then after you earned your Ph.D.,      24   American, and then dean when I moved to Central

                                                                                                 30 (Pages 114 - 117)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                       888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 162 of 408 PageID #:6084


                                                    Page 118                                                       Page 120
   1   Michigan University.                                     1   Q. What did you say to Dr. Calvente and she to
   2      Q. Okay. So Central Michigan was your first           2 you?
   3   deanship?                                                3   A. I --
   4      A. That is correct.                                   4      MS. WERMUTH: Objection, asked and answered.
   5      Q. Do you recall, while you were at Pan               5 BY THE WITNESS:
   6   American, ever being called too intimidating?
   7      A. Yes.
   8      Q. What was the -- what was that in connection
   9   with?
  10      A. I think it was in connection to my
  11   requirements in the class.                              11   BY MR. BRAMWELL:
  12      Q. Were you tenured at that point in time or         12      Q. And what did Dr. Calvente say to you?
  13   nontenured?                                             13      A. Dr. Calvente indicated that she will work on
  14      A. I don't recall.                                   14   making it a more welcoming environment to students.
  15      Q. Do you remember when you were called too          15      Q. Did she say how she was going to do that?
  16   intimidating?                                           16      A. I do not recall.
  17      A. I remember once there was a -- a gathering        17      Q. Do you believe Dr. Calvente did make it a
  18   of students and faculty and they gave us each           18   more welcoming environment to students?
  19   different certificates, and mine was called The         19      A. Can you repeat that?
  20   Intimidator.                                            20      Q. Sure. Do you believe Dr. Calvente did make
  21      Q. Who is "they"?                                    21   it a more welcoming environment to students?
  22      A. Students.                                         22      A. I believe in her following formal review,
  23      Q. And students called you The Intimidator?          23   there was an indication that the number of
  24      A. Mm-hmm.                                           24   qualitative comments had decreased.
                                                    Page 119                                                       Page 121
   1      Q. "Mm-hmm" doesn't show up on the transcript.        1      Q. I'm sorry, can you please repeat that?
   2      A. I'm sorry, I was getting a drink of water.         2      A. I believe that in the following formal
   3   Yes.                                                     3   review, there was an indication that the number of
   4      Q. Okay. No worries, we all do it. I just             4   intimidating -- of negative qualitative comments had
   5   want a clear record because it doesn't show up.          5   decreased.
   6         And how did you respond to that accusation         6      Q. Okay. Did Dr. Calvente, during that
   7   of being calling The Intimidator?                        7   March 2015 meeting, also tell you that she treats all
   8      A. As I said, it was done at a party, so there        8   of her students equally?
   9   was no need for me to respond.                           9      A. I do not recall that.
  10      Q. Okay.                                             10      Q. Did she tell you that personnel lied?
  11      A. But it was never part of my evaluative            11      A. I do not recall that.
  12   processes.                                              12      Q. Did Dr. Calvente cry during that meeting?
  13      Q. Going back to the conversation you had with       13      A. I don't believe she did.
  14   Dr. Calvente on March 30, 2015, do you remember how     14      Q. Did you make any comments to Dr. Calvente
  15   long the conversation lasted?                           15   about her skills as a teacher?
  16      A. No, I do not.                                     16      A. I did indicate that her quantitative scores
  17      Q. Do you remember where it occurred?                17   were excellent.
  18      A. Most likely in my office.                         18      Q. Did you make any other comments?
  19      Q. What did you -- who else would have been          19      A. I do not recall.
  20   there?                                                  20      Q. You look like you're looking down and
  21      A. I believe it would have been just the two of      21   reading something. Are you looking down and reading
  22   us.                                                     22   something?
  23      Q. Just you and Dr. Calvente?                        23      A. I'm reading the exhibit that you had given
  24      A. That is correct.                                  24   me about the March -- where it says based on our

                                                                                                 31 (Pages 118 - 121)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                        888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 163 of 408 PageID #:6085


                                                   Page 122                                                       Page 124
   1   discussion on March 30, 2015. It's exhibit...
   2      Q. Exhibit No. 8?
   3      A. It doesn't show. It just has a little --
   4   oh, yeah, Exhibit No. 8.
   5      Q. Okay. Did Dr. Calvente tell you she was           5      Q. Have I sent you Exhibit No. 5? I don't know
   6   going to file with OIDE during that meeting?            6   that I have. I have not.
   7      A. I think she might have. I believe she did.        7          I'm going to send you a document that I've
   8      Q. Did she tell you that she had spoken to an        8   marked Exhibit No. 5. This is a document Bates
   9   attorney?                                               9   labeled Calvente-DePaul-13444 through 13455.
  10      A. No, I do not recall that.                        10          But before we get to that document, I have a
  11      Q. Did she tell you that she went to the            11   few more questions about Exhibit No. 4 and 8 and the
  12   ombudsman?                                             12   reappointment.
  13      A. I do not recall that.                            13      A. I'm sorry, I have Exhibit 8. I don't know
  14      Q. Did you tell Dr. Calvente -- did you make        14   where I can find Exhibit 4.
  15   any other comments to Dr. Calvente about her           15      Q. Exhibit No. 4 was Bates labeled --
  16   teaching?                                              16      A. There's just so many. 26 -- hold on. It
  17         MS. WERMUTH: Asked and answered.                 17   might be easier to find it via my e-mail.
  18   BY THE WITNESS:                                        18      Q. Probably.
  19      A. I do not recall anything else.                   19      A. Okay. You said -- which exhibits? 4 and 8?
  20   BY MR. BRAMWELL:                                       20      Q. No. 4 and 8, yes.
  21      Q. Did you tell Dr. Calvente she was an             21      A. Okay, I have both e-mails.
  22   extraordinary teacher?                                 22      Q. Okay. Both documents, right?
  23      A. I don't remember necessarily saying the word     23      A. They're e-mails from you with an attached
  24   "extraordinary." I do remember commenting very         24   document, yes.
                                                   Page 123                                                       Page 125
   1   positively about her quantitative scores.               1      Q. The e-mails are not exhibits, the documents
   2      Q. Did you make any comments to Dr. Calvente         2   are exhibits. I just want to make sure that's clear.
   3   about her research?                                     3      A. Okay.
   4      A. I do not recall.                                  4      Q. Why did you reappoint Dr. Calvente to the
   5      Q. What about her service?                           5   faculty after the 2015 nonrenewal recommendation?
   6      A. I do not recall.                                  6      A. I felt that Dr. Calvente had potential, and
   7      Q. Would anything refresh your recollection?         7   with modifications to her teaching and if she were --
   8      A. Perhaps if you can remind me of things that       8   that she would have a good chance of progressing the
   9   might have been said, that might refresh my memory.     9   way she should be.
  10      Q. During that March 30, 2015 meeting, did you      10      Q. When you say she has potential, what do you
  11   offer to help review Dr. Calvente's personnel          11   mean by that?
  12   statement prior to her next review?                    12      A. Well, as I mentioned, her quantitative
  13         MS. WERMUTH: Objection, asked and answered.      13   scores were good. She was a passionate teacher, and
  14   BY THE WITNESS:                                        14   while there were areas she needed to address, I
  15      A. I believe I did, yes.                            15   believed that, with time, she could address them.
  16   BY MR. BRAMWELL:                                       16      Q. What areas did she need to address?
  17      Q. Why did you make that offer?                     17      A. Can I go back and look at Exhibit 4?
  18         MS. WERMUTH: Asked and answered. We're           18      Q. If you would like to.
  19   covering old ground.                                   19      A. Thank you.
  20   BY THE WITNESS:                                        20      Q. If that will help you answer the question.
  21      A. To make sure that she addressed the concerns     21      A. Okay. In terms of research, she had several
  22   brought up by her colleagues.                          22   projects underway. She would have needed to continue
  23   BY MR. BRAMWELL:                                       23   on those projects. Then I need to look at my letter.
  24      Q. Why did she need your help to do that?           24   Is that Exhibit No. 5 or was that Exhibit No. 8?

                                                                                                32 (Pages 122 - 125)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                       888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 164 of 408 PageID #:6086


                                                        Page 126                                                       Page 128
   1      Q. No. 8.
   2      A. Yeah, so there was a -- I did address the
   3   research that, at that time, she had -- since the
   4   last review, she had published one co-authored essay
   5   and presented at three conferences, and that she
   6   would need peer-reviewed material, and to also
   7   increase her service activities on the program,
   8   college, and university levels.
   9      Q. Okay. I've just sent you Exhibits No. 5 and
  10   7; we might as well mark them together.                     10     Q. Okay. This is not a trick question. Did
  11      A. Okay.                                                 11   you like Lisa?
  12      Q. Exhibit No. 5 is Calvente-DePaul-13444                12     A. I did. I do.
  13   through 13455, and Exhibit No. 7 is                         13     Q. You did and you do?
  14   Calvente-DePaul-13853 through 13854.                        14     A. I did and I do.
  15          They both should have arrived by now.                15
  16      A. I do have them both.
  17      Q. Okay. With -- both with respect to Exhibit            17         MS. WERMUTH: Objection, vague.
  18   No. 5 and Exhibit No. 7, are you familiar with each         18   BY THE WITNESS:
  19   of these documents?                                         19      A. Personal reasons in terms of...
  20      A. I will need to review them.                           20   BY MR. BRAMWELL:
  21      Q. Take your time.                                       21      Q. Just the fact that you like her.
  22      A. Exhibit No. 7 is my decision on her -- on             22      A. No, no. I -- it has nothing to do with
  23   the formal tenure process review, and Exhibit No. 5         23   liking or not liking.
  24   is the college's formal review evaluation.                  24         MS. WERMUTH: Mr. Bramwell, can I propose
                                                        Page 127                                                       Page 129
   1      Q. Okay. Are both Exhibit No. 5 and Exhibit               1   that we break for lunch relatively soon?
   2   No. 7 true, complete, and accurate in all respects?          2          MR. BRAMWELL: Yes, you can. We'll break
   3      A. I believe so, yes.                                     3   for lunch probably in another five or six minutes, if
   4      Q. Did I ask whether Exhibit No. 4 and Exhibit            4   that's okay.
   5   No. 8 were true, complete, and accurate in all               5          MS. WERMUTH: That's perfect. Thank you.
   6   respects?                                                    6          MR. BRAMWELL: Actually, you know what? We
   7      A. Are you asking me, or are you asking the               7   should probably break now, that way we won't have to
   8   court reporter?                                              8   -- yeah, let's break now. We'll come back at 1:00.
   9      Q. Well, you're right. Let's just do it this              9   Is that enough time?
  10   way, and I apologize. If you could go back to               10          MS. WERMUTH: That's fine. Thank you.
  11   Exhibit No. 4 and Exhibit No. 8, are both of those          11          (A lunch break was taken.)
  12   true, complete, and accurate in all respects?               12   BY MR. BRAMWELL:
  13      A. I'm reviewing them.                                   13      Q. Dr. Ghanem, thank you for coming back. I
  14         Yes, they are.                                        14   hope you enjoyed lunch.
  15      Q. And you're familiar with both documents?              15          I'm going to be sending you a document that
  16      A. Yes, I am.                                            16   I have marked as Exhibit No. 14. Please don't open
                                                                   17   it yet. Actually, yeah, you might as well open it.
                                                                   18          MS. WERMUTH: Mr. Bramwell, while we're
                                                                   19   waiting, I'll give notice to the court reporter that
                                                                   20   Kathy Stieber will not be able to join again until
                                                                   21   like 2:00 or so. She may be knocking in an hour.
                                                                   22          THE COURT REPORTER: Very good.
                                                                   23          MR. BRAMWELL: Sounds good to me.
                                                                   24

                                                                                                     33 (Pages 126 - 129)
                                                 Veritext Legal Solutions
  www.veritext.com                                                                                           888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 165 of 408 PageID #:6087


                                                        Page 130                                                         Page 132
   1   BY MR. BRAMWELL:                                             1      Q. Okay. Is there -- I asked if it was true,
   2      Q. While we're waiting for the internet to                2   complete, and accurate. Is there anything missing
   3   work, the document labeled Exhibit 14 is                     3   from this e-mail? I'm not asking if you agree with
   4   Calvente-DePaul-025974 through 025976.                       4   the e-mail, I'm asking if the e-mail is true,
   5         Please let me know when it arrives and you             5   complete, and accurate?
   6   can feel free to open it when you get it.                    6      A. I believe so, yes.
   7      A. I just received it.                                    7      Q. Okay. I asked you earlier about a meeting
   8         MS. WERMUTH: I don't yet have it.                      8   that you had with Dr. Calvente in December of 2017.
   9         MR. BRAMWELL: Has it arrived yet?                      9          Do you recall that line of questioning?
  10         MS. WERMUTH: No. Is it a big one or no?               10      A. I do.
  11         MR. BRAMWELL: It's three pages. Check your            11      Q. And you, if I understood correctly, you said
  12   spam folder, please.                                        12   you did not recall when you met with Dr. Calvente; is
  13         MS. WERMUTH: I don't know that I can do               13   that right?
  14   that. I think my firm does that, so they collect            14      A. That is correct.
  15   anything that shouldn't come through and then they          15      Q. Does this Exhibit No. 14 refresh your
  16   send me a report at the end of the day.                     16   recollection as to when you met with Dr. Calvente?
  17         Maybe if Dr. Ghanem wants to send it to me,           17      A. I assume, based on this e-mail, that I met
  18   maybe I'll get it that way.                                 18   with her on the 15th.
  19         THE WITNESS: I can forward it to you. Do              19      Q. The 15th of December?
  20   you want me to do that?                                     20      A. Correct.
  21         MS. WERMUTH: Mr. Bramwell, are you                    21      Q. Okay. Now how did this meeting come to be
  22   comfortable with that, or would you rather not?             22   arranged?
  23         MR. BRAMWELL: I'm fine with her doing that.           23      A. She must have contacted me to meet with me.
  24         MS. WERMUTH: Why don't you copy                       24   I do not recall.
                                                        Page 131                                                         Page 133
   1   Mr. Bramwell on it just so...                                1      Q. Would she have e-mailed you or would she
   2          THE WITNESS: Okay, let me see.                        2   have called you or would she have run into you in the
   3          Okay, I just sent it to both of you.                  3   hall?
   4          MS. WERMUTH: Thank you.                               4      A. Lisa usually -- Dr. Calvente usually
   5          The other option is if you can give me a              5   e-mailed me.
   6   sense of what the document is, I bet Nandini can pull        6      Q. Okay. And so you two set up a time to meet
   7   it for me.                                                   7   for December -- it looks like it would have been
   8          MR. BRAMWELL: I've given you the Bates                8   December 16th, right?
   9   range. It's Calvente-DePaul-025974 through 025976.           9      A. No, if you notice, she sent the e-mail at
  10          MS. WERMUTH: But if you can tell me -- oh,           10   1:42 a.m.
  11   it just came from you, Mr. Bramwell. I have it now.         11      Q. Okay.
  12          MR. BRAMWELL: I'm glad your firm hasn't              12      A. So I'm assuming she meant tomorrow but it
  13   locked me out completely. I'm glad somebody                 13   was really today.
  14   appreciated that joke.                                      14      Q. Okay, that makes sense.
  15   BY MR. BRAMWELL:                                            15         All right. So you met with her on
  16       Q. Okay. Dr. Ghanem, I've sent you a document           16   December 15th. Do you know -- all right.
  17   marked as Exhibit No. 14. I think I've read the             17         And this is an e-mail where Dr. Calvente
  18   Bates label a few times, so we should be good there.        18   asks you some questions concerning -- or she's
  19          Are you familiar with this document?                 19   requesting feedback from you, right?
  20       A. Yes, I am.                                           20      A. During the meeting, correct.
  21       Q. Is it true, complete, and accurate in all            21      Q. Did you read this e-mail before the meeting?
  22   respects?                                                   22      A. I believe I did.
  23       A. It is true that this is the e-mail I                 23      Q. Okay. And did you have sufficient time to
  24   received from Dr. Calvente.                                 24   reflect on Dr. Calvente's questions before the

                                                                                                      34 (Pages 130 - 133)
                                                 Veritext Legal Solutions
  www.veritext.com                                                                                             888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 166 of 408 PageID #:6088


                                                       Page 134                                                        Page 136
   1   meeting?                                                    1      Q. What else -- so you remember she was very
   2      A. Probably not, because we met on the same day          2   upset. What else do you remember?
   3   as she sent me the e-mail.                                  3      A. I remember -- this might have been the
   4      Q. Do you remember when the meeting was?                 4   meeting when she suggested that she might file again.
   5      A. No, I don't.                                          5      Q. Okay. And remind me how you responded.
   6      Q. Do you remember if it was the morning or the          6         MS. WERMUTH: Asked and answered.
   7   afternoon?                                                  7   BY MR. BRAMWELL:
   8      A. No, I do not.                                         8      Q. Go ahead.
   9      Q. Do you have your calendar handy?                      9         MS. WERMUTH: We've been through this, just
  10      A. I do.                                                10   for the record.
  11      Q. Can you check for December 15, 2017?                 11   BY MR. BRAMWELL:
  12      A. I can. Let me check. I have to go back               12      Q. Go ahead.
  13   month by month.                                            13      A. I remember her telling me how much time
  14      Q. I understand. Take your time.                        14   filing -- filing a complaint takes, and I told her
  15      A. According to the calendar, I met with her at         15   whether it would be a good idea for her to be
  16   12:30.                                                     16   spending her time on that or whether she should focus
  17      Q. Okay. And how long did the meeting last?             17   on strengthening her dossier.
  18      A. It is scheduled for, I think, 45 minutes             18      Q. Okay. So it's your recollection that you
  19   because I have a meeting at 1:45.                          19   did not go through each point in this e-mail in
  20      Q. Okay. Did the meeting with Dr. Calvente              20   Exhibit 14 at the beginning of the meeting?
  21   last 45 minutes or was it longer, shorter?                 21      A. No, I do not believe I did.
  22      A. I do not recall.                                     22      Q. So you never provided her any advice about
  23      Q. So at the top of this Exhibit 14, I guess,           23   -- well, here, let's -- maybe it's easier to do it
  24   is an e-mail chain. So at the very top of the chain,       24   this way.
                                                       Page 135                                                        Page 137
   1   that's the last e-mail in the chain from Dr. Calvente       1         I've shared my screen so you can now see --
   2   to you, she asks questions regarding her research           2   I hope I've done it correctly.
   3   evaluation, her teaching evaluation, and her service        3      A. I see it.
   4   evaluation.                                                 4      Q. Okay, good.
   5          Do you see those?                                    5         So you are now looking at Exhibit No. 14?
   6      A. Yes, I do.                                            6      A. Yes.
   7      Q. What did you discuss vis-à-vis her research           7      Q. So let's just jump down to service.
   8   evaluation?                                                 8         Did you print out this e-mail, Exhibit
   9      A. If I recall, that was the meeting when                9   No. 14, prior to meeting with Dr. Calvente?
  10   Dr. Calvente was crying quite a bit and was very           10      A. I do not recall if I did or not.
  11   upset. I don't believe we addressed the contents of        11      Q. Okay. Upon review -- upon reading the
  12   this e-mail.                                               12   review of my service, I'm concerned that I haven't
  13      Q. Okay. Did you ever address the contents of           13   been given any clear guidelines on what constitutes
  14   this e-mail at any other time?                             14   an excellent ranking.
  15      A. I don't believe we did.                              15         Do you see where I've highlighted that?
  16      Q. Okay. What do you recall then about that             16      A. I do.
  17   meeting?                                                   17      Q. Did you provide any of that information to
  18          MS. WERMUTH: Objection, asked and answered.         18   Dr. Calvente?
  19   BY MR. BRAMWELL:                                           19      A. I do not believe we went through this, no.
  20      Q. You can answer.                                      20      Q. Okay. Dr. Calvente then goes through a
  21      A. That was of the meeting, I believe, when she         21   litany of service that she performed at the college.
  22   was very upset, and --                                     22   Do you see how I've highlighted that?
                                                                  23         And then she asks: Was this counted as
                                                                  24   service to the college?

                                                                                                     35 (Pages 134 - 137)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                           888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 167 of 408 PageID #:6089


                                                       Page 138                                                         Page 140
   1         Did you discuss that at all?                          1    A. I usually alert the provost when there are
   2      A. No, I don't believe we did.                           2 issues coming up in tenure -- tenure folders. So I
   3      Q. Looking at the teaching evaluation section,           3 talked to him about two cases.
   4   I've highlighted a piece: For example, is the goal          4    Q. What was the other case?
   5   improved quantitative scores (which would then be           5
   6   akin to me -- sorry, let's try that again.
   7         For example, is goal improved quantitative
   8   scores (which would then be akin to asking me to
   9   perform far beyond what is required of other faculty,
  10   since I tend to score above the college average)? Or       10      Q. Okay. What do you recall with respect to
  11   making every student comfortable with discussing the       11   your conversation about -- I'm sorry, let's try this
  12   uncomfortable subject of racism?                           12   again.
  13         Did you discuss these issues with                    13         What do you recall about your conversation
  14   Dr. Calvente?                                              14   with Dr. denBoer on the morning of December 15th?
  15      A. No, we did not.                                      15      A. I recall mentioning that there are two cases
  16      Q. Did you discuss them at any other point in           16   that are of issue in the college.
  17   the -- this December 15, 2017 meeting?                     17      Q. Okay. And those cases were                   and
  18      A. Not that I recall.                                   18   Calvente?
  19      Q. Do you recall discussing any of the topics           19      A. That is correct.
  20   raised in Exhibit 14 at any time with Dr. Calvente?        20      Q. Okay. What did you tell Dr. denBoer about
  21      A. No, I do not.                                        21   Dr. Calvente?
  22      Q. During the December 14th -- I'm sorry,               22      A. I believe I alerted him to what the college
  23   December 15, 2017 meeting, did you ever offer an           23   vote was and the negative recommendation.
  24   opinion about Dr. Calvente's skills as a teacher?          24      Q. And what did Dr. denBoer say to you?
                                                       Page 139                                                         Page 141
   1     A. I do not recall.                                       1      A. He listened. I don't believe he said
   2     Q. What about her research?                               2   anything in particular.
   3     A. I do not recall.                                       3      Q. Why did you alert him to these issues then?
   4     Q. What about her service?                                4      A. Because I believe, as my supervisor, he
   5     A. I do not recall.                                       5   needs to know about potential difficult cases that
   6     Q. Do you know an individual by the name of               6   are happening in the college.
   7   Marten denBoer?                                             7      Q. Did you make this a practice to alert
   8     A. Yes.                                                   8   Dr. denBoer about difficult cases in your college?
   9     Q. And that's D-E-N-B-O-E-R?                              9
  10     A. That is correct. I don't know if there is a
  11   space between the Den and the Boer or not.                 11      Q. Ever during your time as dean?
  12     Q. Well, we don't need to get into that now.             12      A. I believe so.
  13                                                              13      Q. Did you tell Dr. denBoer anything else about
                                                                  14   Dr. Calvente's case?
  15      A. That is correct. That is correct.                    15      A. Not that I recall.
  16      Q. Did you ever speak with Dr. denBoer about            16      Q. Did you tell Dr. denBoer that you wanted his
  17   Dr. Calvente's tenure file?                                17   support for Dr. Calvente's case?
  18      A. I did.                                               18      A. I don't believe that that is -- was an issue
  19      Q. When did you speak with Dr. denBoer?                 19   where I needed to bring up with him whether I would
  20      A. Actually, right before my meeting that day           20   have his support or not. I'm not sure I understand
  21   with Dr. Calvente, I had a meeting with Dr. denBoer,       21   the question.
  22   a scheduled meeting.                                       22      Q. Well, I'm curious, and here's one of the
  23      Q. Why did you bring up Dr. Calvente to                 23   reasons I'm curious.
  24   Dr. denBoer?                                               24         I asked you early in this deposition whether

                                                                                                     36 (Pages 138 - 141)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                            888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 168 of 408 PageID #:6090


                                                        Page 142                                                           Page 144
   1   you, in your role as provost, had conversations about
   2   a candidate's tenure -- I'm sorry.
   3         I asked you earlier in this deposition
   4   whether you, currently as provost, entertained                                         e and Lisa's cases on
   5   conversations from administrators about particular           5   December 15th of '17?
   6   cases. I thought the answer was no.                          6       MS. WERMUTH: Asked and answered.
   7      A. That is correct.                                       7   BY THE WITNESS:
   8         MS. WERMUTH: I'm going to object because
   9   the question actually misstates the prior question
  10   and the responsive answer.
  11   BY MR. BRAMWELL:                                            11   BY MR. BRAMWELL:
  12      Q. So if you didn't have -- if you don't                 12      Q. Okay. What else?
  13   currently have those conversations with                     13          MS. WERMUTH: Asked and answered.
  14   administrators in your -- if you don't currently have       14   BY THE WITNESS:
  15   those conversations with administrators, why are you        15      A. I don't recall specific details.
  16   having this conversation as dean with Dr. denBoer?          16   BY MR. BRAMWELL:
  17         MS. WERMUTH: Well, hang on. I'm going to              17      Q. Did you ever tell Dr. denBoer that there was
  18   object. Your prior questions were about advocating          18   a rumor that you failed to renew                  as a
  19   and lobbying cases. That's -- you're asking a               19   -- to give you cover to terminate faculty of color?
  20   different question now, and so your facts                   20      A. I don't believe I ever said that to
  21   mischaracterize your prior question and her prior           21   Dr. denBoer.
  22   answer.                                                     22      Q. Did you ever use words to that effect, even
  23   BY MR. BRAMWELL:                                            23   if you didn't use that exact language?
  24      Q. Do you need the question read back to you?            24      A. No, I never had such a conversation with
                                                        Page 143                                                           Page 145
   1      A. Yes, please.                                           1   Dr. denBoer.
   2         MR. BRAMWELL: Madam Court Reporter?                    2     Q. Did you ever talk to Dr. denBoer about
   3         (Record read as follows: So if you didn't
   4         have -- if you don't currently have those              4     A. No, I don't believe I did.
   5         conversations with administrators in your --           5     Q. Why not?
   6         if you don't currently have those
   7         conversations with administrators, why are
   8         you having this conversation as dean with
   9         Dr. denBoer?)
  10   BY THE WITNESS:                                             10      Q. Did Dr. denBoer advise you with respect to
  11      A. I think we have to realize the timing. The            11   the nonrenewal issues on Dr.               or
  12   timing is reversed. This conversation with                  12   Dr. Calvente?
  13   Dr. denBoer was before I became provost.                    13      A. No, he did not.
  14         When I became provost, the deans present me           14      Q. All he did was listen to you?
  15   with an agenda, and I don't recall in any of the            15      A. Yes.
  16   agendas were there any cases that were discussed with       16      Q. How long did that meeting last?
  17   me. So I do not know, I did not know what the               17      A. Usually when I met with the provost, it's
  18   practice is from other deans when they met with the         18   usually about -- it's scheduled for about an hour,
  19   previous provost if they discussed such cases with          19   and there are other items on the agenda that we would
  20   him or not.                                                 20   be discussing.
  21   BY MR. BRAMWELL:                                            21      Q. What else did you discuss with Dr. denBoer
                                                                   22   that morning?
                                                                   23      A. I do not recall.
                                                               .   24      Q. Did you have standing meetings with the

                                                                                                        37 (Pages 142 - 145)
                                                 Veritext Legal Solutions
  www.veritext.com                                                                                               888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 169 of 408 PageID #:6091


                                                  Page 146                                                      Page 148
   1   provost?                                               1      A. No, I did not.
   2      A. I did.                                           2      Q. Do you recall who said what to whom?
   3      Q. Did you tell the provost that Dr. Calvente       3      A. I recall that they were upset about a
   4   had previously filed complaints with OIDE?             4   college meeting that took place earlier in that
   5      A. I don't know if I told him or not. I do not      5   academic year, that -- I believe that         did a
   6   recall.                                                6   lot of the talking in that meeting regarding
   7      Q. During the December 15th meeting with            7   microaggressions that they experienced and that
   8   Dr. Calvente, did she tell you she was planning on     8   Sydney experienced in particular in that college
   9   going back to OIDE?                                    9   meeting.
  10      A. I believe she --                                10      Q. What else do you recall?
  11         MS. WERMUTH: Asked and answered.                11
  12         THE WITNESS: Sorry, go ahead.
  13         MS. WERMUTH: Asked and answered.
  14         We've been through this this morning, but
  15   you can answer again.
  16   BY THE WITNESS:
  17      A. Okay. I believe she said she was thinking
  18   about it.
  19   BY MR. BRAMWELL:
  20      Q. Okay. Did you discourage her from doing
  21   that?
  22         MS. WERMUTH: Asked and answered.
  23   BY THE WITNESS:
  24      A. I didn't --
                                                  Page 147                                                      Page 149
   1   BY MR. BRAMWELL:
   2      Q. I'm sorry?
   3      A. I didn't discourage her. She was indicating     3       Q. Okay. What else do you recall about the
   4   to me that it was taking up a lot of her time, and I  4    October 10, 2018 meeting?
   5   told her whether that's the best use of her time.     5       A. There was also Dr. Dillard mentioned there
   6      Q. Did you tell Dr. Calvente that you had          6    was a PowerPoint where we said, you know, who are the
   7   spoken to Dr. denBoer about her case?                 7    new members of our college and members of the college
   8      A. Yes, I did.                                     8    who had left, and     made reference that there was a
   9      Q. Why did you tell her that?                      9    faculty member who was not mentioned as having left
  10      A. It had just happened that I spoke to him       10    the college.
  11   about the case, so I just informed her that the      11       Q. Okay. Why did she mention that faculty
  12   provost is aware of this case.                       12    member?
  13      Q. Now I understand that you had a meeting with 13            MS. WERMUTH: Objection, calls for
  14   Dr. Calvente and               on October 10, 2018? 14     speculation.
  15      A. Yes, I did.                                    15          Go ahead.
  16      Q. We discussed that a little bit this morning,   16    BY THE WITNESS:
  17   but you mentioned that was a long meeting?           17       A. Because that faculty member was a faculty of
  18      A. Yes, it was.                                   18    color.
  19      Q. Approximately two hours?                       19    BY MR. BRAMWELL:
  20      A. Yes.                                           20       Q. And how did you respond to that?
  21      Q. And there were only three people there:        21       A. I apologized that it was an omission, but I
  22   You, Dr. Calvente, and               ?               22    did not share with her the -- the potential reasons
  23      A. Yes.                                           23    why that person might not have been mentioned.
  24      Q. Did you take notes?                            24       Q. What else do you recall about that

                                                                                               38 (Pages 146 - 149)
                                            Veritext Legal Solutions
  www.veritext.com                                                                                     888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 170 of 408 PageID #:6092


                                                       Page 150                                                      Page 152
   1   December 10, 2018 meeting?                                  1          MR. BRAMWELL: Oh, I'm sorry. Hopefully
   2      A. It was -- both              and Dr. Calvente          2   that's just a blip.
   3   were very upset, and there was a sense that every           3   BY MR. BRAMWELL:
   4   action that was happening in the college had a              4      Q. If I understand correctly, during the
   5   discriminatory explanation to it. And I was trying          5   October 10th meeting,               and Dr. Calvente
   6   to explain to them that not everything is necessarily       6   were both expressing that the college is racist; is
   7   discriminatory the way they were perceiving it, but         7   that correct?
   8   they -- they were doing most of the talking.                8      A. I would say so, yes.
   9      Q. Not everything is discriminatory in the way           9      Q. Okay.
  10   that they were perceiving it. How were they                10      A. And -- yeah, I do recall something else.
  11   perceiving it?                                             11          They did mention other faculty of color who
  12      A. For example, that the faculty member who was         12   either were not tenured or who had left the college.
  13   omitted from the PowerPoint slide about faculty who        13      Q. Okay. And they said also that that was a
  14   left was not a result of discrimination, for example.      14   demonstration of how and why the College of
  15      Q. Okay. Were there other -- other examples?            15   Communication was racist?
  16      A. I believe               might have talked            16      A. In their opinion, yes.
  17   about how she had to go -- undergo several -- or           17      Q. Do you agree at all with them?
  18   additional formal review that she believed it was          18      A. No, I don't agree with them, because for the
  19   required of her and not of other people.                   19   cases that they were bringing up, there was a good
  20      Q. What else?                                           20   reason why a particular faculty member had left the
  21      A. I recall it was -- they were very upset. I           21   college. I did not share some of those reasons as
  22   was very saddened by their perception of -- of the         22   they were confidential for the faculty member
  23   college. I was sad for them.                               23   involved.
  24      Q. Do you think that their perception of the            24      Q. Did you tell them, though, that there were
                                                       Page 151                                                      Page 153
   1   college was accurate?                                       1   good reasons, or did you just leave it lie?
   2      A. No, I don't.                                          2      A. I believe I tried to say there were reasons.
   3         THE WITNESS: Sorry about that.                        3      Q. Okay. Dr. Ghanem, do you consider yourself
   4         MR. BRAMWELL: I love cats, actually.                  4   a person of color?
   5         MS. WERMUTH: That's pretty cat.                       5      A. I definitely do not see myself as Caucasian,
   6         THE WITNESS: He is a COVID cat.                       6   no.
   7         MR. BRAMWELL: Off the record briefly, if we           7      Q. What do you see yourself as?
   8   may.                                                        8      A. I see myself as Middle Eastern,
   9         (A brief discussion was had off the record.)          9   predominantly.
  10   BY MR. BRAMWELL:                                           10      Q. Okay. In the October 10, 2018 meeting, did
  11      Q. You mentioned that Dr. Dillard did most of           11   anybody mention                       ?
  12   the talking. What, if anything, did Dr. Calvente           12      A. I think I did.
  13   say?                                                       13      Q. You did?
  14      A. I don't recall.                                      14      A. I -- yes. I was trying to explain that not
  15      Q. Now you mentioned, and I don't remember if I         15   every action needs to be seen through this
  16   asked this or not before I got distracted by the cat.      16   discriminatory lens.
  17         You mentioned, and I'll paraphrase, that you         17         For example, I heard a rumor that the reason
  18   believe during the October 10, 2018 meeting that           18   that his -- was not recommended for reappointment
  19               and Dr. Calvente expressed that the            19   was to be able to make a case later on against
  20   College of Communication was -- had a race problem.        20   Dr. Calvente, and I was trying to explain that that
  21   Am I expressing that correctly?                            21   is absurd.
  22         MS. WERMUTH: I'm sorry, I couldn't hear you          22      Q. Okay. How did Dr. Calvente respond?
  23   for a minute.                                              23      A. You know, I do not recall a response by
  24         THE WITNESS: You were going in and out.              24   Dr. Calvente on that.

                                                                                                    39 (Pages 150 - 153)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                          888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 171 of 408 PageID #:6093


                                                       Page 154                                                     Page 156
   1     Q. So she just sat there, stone-faced?                    1      Q. Only vaguely?
   2     A. That's what I believe, yes.                            2      A. Yes. I mean, I have never really had a
   3     Q.                                                        3   one-on-one meeting with them. I have seen them at
                                                                   4   faculty council.
                                                                   5      Q. You were familiar with --               was
                                                                   6   brought up on charges under chapter 4 of the faculty
                                                                   7   handbook?
   8      A. I am totally fine with that, because I would          8         MS. WERMUTH: Objection, relevance.
   9   not be able to spell it.                                    9   BY MR. BRAMWELL:
  10      Q. Okay.                                                10      Q. You can answer.
  11         MS. WERMUTH: This is Anna. For the record,           11      A. Yes, I was, because -- not at the time when
  12   I don't think there is an E in there, it's an I, but       12   she was brought up, but I believe that the case
  13   there are records that will demonstrate the correct        13   extended into when I was acting or interim provost.
  14   spelling and we can be sure --                             14      Q. And you actually had some negotiations
  15         THE WITNESS: I think you're correct, and I           15   during -- well, I think you said the case extended
  16   don't think there is an E.                                 16   while you were interim provost, Dr.          case did?
  17         MR. BRAMWELL: Okay.                                  17      A. Yes, it did.
  18         THE WITNESS: Mr. Bramwell, the cat is                18      Q. And did -- during the October 10, 2018
  19   showing up again, so I apologize.                          19   meeting -- or actually, strike that.
  20         MR. BRAMWELL: Don't apologize at all. I              20
  21   like him. It brings warmth -- it brings true warmth
  22   to me. I love cats, I really do.                           22       MS. WERMUTH: Objection. This is totally
  23         THE WITNESS: And off the record, but he              23 irrelevant.
  24   will do this more and more as the afternoon                24 BY THE WITNESS:
                                                       Page 155                                                     Page 157
   1   progresses.                                                 1
   2         MR. BRAMWELL: Of course he will. When my
   3   cat was around, he would jump on my desk and help me
   4   write my briefs.
   5   BY MR. BRAMWELL:                                            5 BY MR. BRAMWELL:
   6      Q. You mentioned a rumor that -- that you                6
   7   non-renewed                       so that you could
   8   terminate faculty -- so that you could terminate
   9   Lisa? Was that the rumor?
  10      A. Well, I'm not sure that the rumor was about
  11   me, that the rumor was more that the college did that
  12   to justify their recommendation, their negative
  13   recommendation of -- of Lisa. I don't believe the
  14   rumor was that I am the one who did that.
  15      Q. Okay. Who else in the college -- I'm sorry.
  16         Who else in the college would do that?
  17      A. That it was the tenured faculty. The rumor           17         MS. WERMUTH: I'm going to object to this
  18   was that the tenured faculty recommendation was            18   entire line of questioning. There's nothing about
  19   negative for             to make a case against            19                employment or litigation or internal
  20   Calvente.                                                  20   proceedings that have any relevance to this case.
  21      Q. Okay, I see.                                         21         MR. BRAMWELL: I'll wait until you finish
  22         Did -- you're familiar with                          22   your drink before I continue. Seriously, take your
                                                                  23   time.
  24     A. Vaguely. Not well.                                    24         THE WITNESS: No, I'm good.

                                                                                                   40 (Pages 154 - 157)
                                                  Veritext Legal Solutions
  www.veritext.com                                                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 172 of 408 PageID #:6094


                                                        Page 158                                                      Page 160
   1 BY MR. BRAMWELL:                                               1          THE WITNESS: May I open it?
   2   Q. Okay, good.                                               2          MR. BRAMWELL: Please.
   3      During the October 10, 2018 meeting, did                  3          MS. WERMUTH: I have it now.
   4 Dr. Calvente or             mention                            4          MR. BRAMWELL: Okay. Why don't we do this.
                     ?                                              5   Why don't we come back at 1:50.
   6   A. I do not recall, and if they did, I did not               6          Dr. Ghanem, if you can, during the break,
   7 comment on anything. I do not recall it.                       7   just read through it and I'll have some questions for
   8                                                                8   you.
                                                                    9          THE WITNESS: Actually, during the break,
                                                                   10   I'm going to take a humanity break. I'll read it
                                                                   11   when I come back.
  12     A. Can you repeat the question? I'm not sure I            12          MS. WERMUTH: Jerry, I don't think it's
  13   understand it.                                              13   appropriate to have the witness -- I mean if you want
  14        MR. BRAMWELL: Sure. Madam Court Reporter,              14   to ask her questions about an exhibit, I think that
  15   could I ask you to...                                       15   she's entitled to --
  16        (Record read as requested.)                            16          MR. BRAMWELL: I don't --
  17   BY THE WITNESS:                                             17          MS. WERMUTH: -- on the record, read the
  18     A. No, I do not recall them asking that.                  18   exhibit.
  19        Did you hear my answer?                                19          MR. BRAMWELL: -- address me as Jerry.
  20   BY MR. BRAMWELL:                                            20          Do you want to come back at 1:55?
  21     Q. Yes, I did. I'm sorry, I'm looking at                  21          MS. WERMUTH: We can come back at 1:55, but
  22   another screen, because that's the joy of doing a           22   she's going to read this on the record, because
  23   deposition via Zoom, right?                                 23   you're going to be asking her questions on the
  24        Now we were mentioning, talking earlier                24   record, Mr. Bramwell.
                                                        Page 159                                                      Page 161
   1   about this rumor about                    and the            1         MR. BRAMWELL: That's fine. Then let's just
   2   fact he was not renewed to give cover for ultimately         2   take five minutes and we'll come back and she can
   3   denying tenure to Dr. Calvente.                              3   read it on the record.
   4         MS. WERMUTH: Object to form, argumentative.            4         THE WITNESS: Okay, so 1:50?
   5   BY THE WITNESS:                                              5         MR. BRAMWELL: Yes, please.
   6                                                                6         MS. WERMUTH: Yeah, 1:50.
                                                                    7         (A short break was taken.)
                                                                    8   BY MR. BRAMWELL:
                                                                    9      Q. Dr. Calvente -- I'm sorry. I did not mean
                                                                   10   to address you by the wrong name.
  11   BY MR. BRAMWELL:                                            11         Dr. Ghanem, I sent you before the break a
  12      Q. Okay.                                                 12   document that I have marked as Exhibit 20.
  13      A. She was not up for tenure at that time.               13         Have you ever seen that document before?
  14      Q. Did that rumor upset you at all?                      14      A. Let me have a look at it.
  15      A. It didn't upset me, I was using it to show            15      Q. Take your time. It's a long document.
  16   both Dr. Calvente and              that not every           16      A. No, I have not seen this document before.
  17   action can be interpreted as discriminatory against         17      Q. I hear a lot of banging in the background.
  18   faculty of color.                                           18   Who is that?
  19      Q. I'm going to send you a document that I have          19      A. It's my husband in the other room. I
  20   labeled as Exhibit No. 20. This is labeled                  20   apologize.
  21   Calvente-DePaul-25709 through 25714.                        21      Q. Oh, that's quite all right. Is he able to
  22         Please let me know when you receive it.               22   hear these proceedings?
  23      A. I just received it.                                   23      A. No, not with this going on.
  24         MS. WERMUTH: I don't yet have it.                     24      Q. Okay. And just for the record, you pointed

                                                                                                     41 (Pages 158 - 161)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                           888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 173 of 408 PageID #:6095


                                                        Page 162                                                               Page 164
   1   to earbuds?                                                  1   faculty, right?
   2      A. That's correct.                                        2      A. That is correct.
   3      Q. Okay. What was that?                                   3      Q. So even if the rest of the faculty said we
   4      A. That's now my dog.                                     4   should renew, you could say no?
   5      Q. All right.                                             5      A. That is correct.
   6      A. The joys of Zoom.                                      6      Q. And even if -- and if the faculty said no,
   7      Q. Absolutely.                                            7   you can say yes?
   8      A. If you don't mind, I'm going put a collar on           8      A. That is correct.
   9   him that keeps him quiet. I'll be right back.                9      Q. You don't have to consider, at all, their
  10      Q. Absolutely.                                           10   opinions?
  11         (Brief pause.)                                        11      A. It is definitely part of my deliberation.
  12         THE WITNESS: I apologize.                             12   That's why they make a recommendation to me.
  13         MR. BRAMWELL: Our animals make our lives              13      Q. Okay. But you can do -- you have unfettered
  14   richer, but they don't understand our commitments, do       14   access as dean; this is not one where you can only
  15   they.                                                       15   overturn --
  16   BY MR. BRAMWELL:                                            16         (Reporter clarification.)
  17      Q. Let's see. Let me see if I can fix this.              17         MR. BRAMWELL: Oh, I'm sorry. Let me ask it
  18         I'm going to send you a document that I've            18   again.
  19   marked Exhibit No. 29. Please don't open it yet.            19   BY MR. BRAMWELL:
  20         With respect to Exhibit No. 20 I just sent            20      Q. As dean, you do not need to demonstrate rare
  21   you, does that -- after reviewing it, does that cause       21   or compelling circumstances to overturn the
  22   you to change your answer at all with respect to the        22   recommendation of faculty on a nonrenewal, correct?
  23   rumor about                  ?                              23      A. It does not go to UBPT, that is correct.
  24      A. I'm not sure I understand your question.              24      Q. I didn't ask whether it went to UBPT. I
                                                        Page 163                                                               Page 165
   1     Q. You're right, it was not a very good                    1   asked whether you need to demonstrate rare or
   2   question.                                                    2   compelling circumstances.
   3                                                                3     A. I don't believe there's anything in the
                                                                    4   handbook that says so.




  22     Q. Now as the dean of the College of
  23   Communication, you obviously had the power to               23      Q. Okay. Now I understand that faculty have
  24   override a recommendation to renew or not renew             24   three obligations at -- within their college, right?

                                                                                                        42 (Pages 162 - 165)
                                                   Veritext Legal Solutions
  www.veritext.com                                                                                                888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 174 of 408 PageID #:6096


                                                        Page 166                                                        Page 168
   1   They have the obligation to teach, to do research,           1          MS. WERMUTH: Hang on.
   2   and to perform service; is that correct?                     2          Objection, assumes facts not of record.
   3      A. That is correct.                                       3   BY THE WITNESS:
   4      Q. Do they have other obligations?                        4      A. We do not have a formula that says how many
   5      A. I would say all of their obligations would             5   hours should be devoted to teaching.
   6   fall under those categories.                                 6   BY MR. BRAMWELL:
   7      Q. Teaching, research, and service?                       7      Q. Okay. I assume, then, there's no formula
   8      A. Correct.                                               8   for research or service either?
   9      Q. Okay. How many class hours are junior                  9      A. In terms of number of hours, no.
  10   faculty expected to teach?                                  10      Q. How does one differentiate between excellent
  11      A. Tenure track faculty are expected to teach            11   and merely very good in the area of service?
  12   two classes every quarter.                                  12      A. It is a combination of quantity and quality
  13      Q. Two classes every quarter, and that's what,           13   of work. There are committees that don't require
  14   two hours per class?                                        14   that much work and there are committees that require
  15      A. I think it is three hours per week.                   15   a lot of work, and it is -- so it varies in that
  16      Q. Okay.                                                 16   sense.
  17      A. Per class.                                            17      Q. Are there any quantitative metrics with
  18      Q. So they're supposed to teach six hours a              18   respect to service?
  19   week then?                                                  19      A. Not in the sense that it would have to be so
  20      A. That is correct.                                      20   many committees or so many hours, no.
  21      Q. Okay. And that's in the College of Comm,              21      Q. Are there quantitative metrics in other
  22   right?                                                      22   senses?
  23      A. It is also in -- that is the standard for             23      A. Can you repeat the question, please?
  24   all colleges, usually.                                      24          MR. BRAMWELL: Madam Court Reporter?
                                                        Page 167                                                        Page 169
   1      Q. Only six hours a week of teaching?                     1          (Record read as follows: Are there
   2      A. Six hours a week of teaching does not mean             2          quantitative metrics in other senses?)
   3   six hours a week of work. There is a lot of work             3   BY THE WITNESS:
   4   that happens outside of the classroom.                       4       A. No, there is not.
   5      Q. Okay. And that goes to teaching?                       5   BY MR. BRAMWELL:
   6      A. A lot of it is prepping for the classes,               6       Q. How does one obtain service opportunities?
   7   grading for the classes, as well as the work that            7       A. They can be in a variety of ways, either if
   8   they spend on research and service.                          8   it is a college committee, there could be a call for
   9      Q. Okay. Well, I'm just asking about teaching             9   people to serve on different committees. If there is
  10   right now, and I'll get into research and service.          10   a university-wide committee, it would be a call by
  11         But on teaching, it's six hours of teaching,          11   faculty council to serve on committees, as well as
  12   so then -- or rather six hours actually in the              12   volunteering to participate in various events that
  13   classroom. About how much additional time, then, is         13   take place in the college.
  14   spent preparing and all those other things that go          14       Q. Are there quantitative metrics with respect
  15   into teaching?                                              15   to research?
  16      A. It depends on the classes that they're                16       A. Again, it is a holistic approach, and it's a
  17   teaching. If it's the same class, if they're                17   combination of both quantity and quality.
  18   different classes, how large the classes are, if it's       18       Q. Okay. So how do I know if I'm excellent
  19   a new prep, if it's an old prep, if they're revamping       19   versus merely very good?
  20   their classes. That varies from faculty to faculty.         20       A. A lot of it will be through the formal
  21      Q. If there is a 40-hour workweek,                       21   reviews would be one way of calibrating and knowing
  22   approximately how much time is a faculty member             22   where you are in terms of your progress.
  23   supposed to be devoting to teaching?                        23       Q. Okay. Formal review, that would be the
  24      A. We do not have --                                     24   reviews with personnel?

                                                                                                      43 (Pages 166 - 169)
                                                 Veritext Legal Solutions
  www.veritext.com                                                                                            888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 175 of 408 PageID #:6097


                                                       Page 170                                                    Page 172
   1       A. With personnel and the -- the report by the          1   break, so if we could come back at, like, 2:20, we
   2   tenured faculty, correct.                                   2   can hopefully finish up pretty quickly after that,
   3       Q. Would you agree that the purpose of the              3   okay?
   4   reviews by personnel, the reports by tenured faculty,       4         THE WITNESS: Thank you.
   5   that the purpose of those --                                5         (A short break was taken.)
   6       A. I cannot hear you. I lost you for a moment.          6         MS. WERMUTH: We have no -- we have no
   7       Q. Oh, I'm sorry. I'm sorry, can you hear me            7   questions.
   8   now?                                                        8         We will reserve signature, Ms. Radtke.
   9       A. Yes, I can.                                          9         MR. BRAMWELL: We'll order regular delivery,
  10       Q. Okay. I'm sorry. I'll try to speak up a             10   and I will e-mail the exhibits.
  11   little bit.                                                11         (Deposition concluded at 2:19 p.m.)
  12          Would you agree that the purpose of the             12
  13   interviews with personnel and the report of the            13
  14   tenured faculty during the probationary reviews are        14
  15   to tell the candidate what she needs to do to              15
  16   successfully make a case for tenure?                       16
  17       A. It has two parts: One is exactly as you             17
  18   outlined, and another one is an actual vote where          18
  19   they believe if that candidate is making adequate          19
  20   progress towards tenure.                                   20
  21       Q. Okay.                                               21
  22       A. And that is the recommendation for                  22
  23   reappointment or non-reappointment. So it's both.          23
  24       Q. Okay. Has anyone ever accused you of making         24
                                                       Page 171                                                    Page 173
   1   an employment decision for discriminatory reasons?          1              CERTIFICATE OF
   2      A. Not that I recall, no.                                2          CERTIFIED SHORTHAND REPORTER
   3      Q.               never did that?                         3      I, Beth Radtke, a Certified Shorthand
   4      A. No.                                                   4   Reporter of the State of Illinois, CSR License No.
   5      Q. Has anyone ever accused you of making an              5   084-004561, do hereby certify:
   6   employment decision for retaliatory reasons?                6      That previous to the commencement of the
   7      A. No.                                                   7   examination of the aforesaid witness, the witness
   8      Q.               never did that?                         8   was duly sworn by me to testify the whole truth
                                                                   9   concerning the matters herein;
   9      A. No.
                                                                  10      That the foregoing deposition transcript was
  10      Q. Did anyone at Central Michigan ever accuse
                                                                  11   stenographically reported by me and was thereafter
  11   you of discrimination or retaliation?
                                                                  12   reduced to typewriting under my personal direction
  12      A. No.
                                                                  13   and constitutes a true and accurate record of the
  13      Q. Have you ever been accused of academic
                                                                  14   testimony given and the proceedings had at the
  14   dishonesty?
                                                                  15   aforesaid deposition;
  15      A. No, I have not.
                                                                  16      That I am not a relative or employee or attorney
  16         MR. BRAMWELL: I'd like a few minutes to              17   or counsel for any of the parties herein, nor am I
  17   collect my thoughts, if you don't mind. We can come        18   interested directly or indirectly in the outcome of
  18   back, let's say, at 2:11.                                  19   this action.
  19         MS. WERMUTH: Okay.                                   20      IN WITNESS WHEREOF, I do hereunto set my hand at
  20         (A short break was taken.)                           21   Chicago, Illinois, this 7th day of April, 2021.
  21         MR. BRAMWELL: I have nothing further at              22
  22   this point, and I'll pass you to Ms. Wermuth.              23               <%2112,Signature%>
  23         MS. WERMUTH: Oh, terrific, okay. You know                             Beth Radtke, RPR, CRR
  24   what then? I'm going to just request a very short          24               License No. 084-004561

                                                                                                   44 (Pages 170 - 173)
                                                Veritext Legal Solutions
  www.veritext.com                                                                                          888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 176 of 408 PageID #:6098


                                                                       Page 174                                                                       Page 176
   1                   Veritext Legal Solutions                                    1          DEPOSITION REVIEW
                        1100 Superior Ave                                                    CERTIFICATION OF WITNESS
   2                      Suite 1820                                               2
                       Cleveland, Ohio 44114                                               ASSIGNMENT REFERENCE NO: 4510632
   3                    Phone: 216-523-1313                                        3       CASE NAME: Calvente, Lisa v. Ghanem, Salma, et al.
                                                                                           DATE OF DEPOSITION: 3/24/2021
   4
                                                                                   4       WITNESS' NAME: Salma Ghanem
       April 7, 2021
                                                                                   5       In accordance with the Rules of Civil
   5                                                                                   Procedure, I have read the entire transcript of
       To: Anna Wermuth, Esq.                                                      6   my testimony or it has been read to me.
   6                                                                               7       I have listed my changes on the attached
       Case Name: Calvente, Lisa v. Ghanem, Salma, et al.                              Errata Sheet, listing page and line numbers as
   7                                                                               8   well as the reason(s) for the change(s).
       Veritext Reference Number: 4510632                                          9       I request that these changes be entered
   8                                                                                   as part of the record of my testimony.
     Witness: Salma Ghanem            Deposition Date: 3/24/2021                  10
   9                                                                                     I have executed the Errata Sheet, as well
  10 Dear Sir/Madam:                                                              11 as this Certificate, and request and authorize
                                                                                     that both be appended to the transcript of my
  11
                                                                                  12 testimony and be incorporated therein.
     Enclosed please find a deposition transcript. Please have the witness
                                                                                  13 _______________           ________________________
  12                                                                                 Date              Salma Ghanem
     review the transcript and note any changes or corrections on the             14
  13                                                                                     Sworn to and subscribed before me, a
     included errata sheet, indicating the page, line number, change, and         15 Notary Public in and for the State and County,
  14                                                                                 the referenced witness did personally appear
     the reason for the change. Have the witness’ signature notarized and         16 and acknowledge that:
  15                                                                              17     They have read the transcript;
     forward the completed page(s) back to us at the Production address                  They have listed all of their corrections
  16 shown                                                                        18         in the appended Errata Sheet;
  17 above, or email to production-midwest@veritext.com.                                 They signed the foregoing Sworn
  18                                                                              19         Statement; and
                                                                                         Their execution of this Statement is of
     If the errata is not returned within thirty days of your receipt of
                                                                                  20         their free act and deed.
  19
                                                                                  21     I have affixed my name and official seal
     this letter, the reading and signing will be deemed waived.                  22 this ______ day of_____________________, 20____.
  20                                                                              23         ___________________________________
  21 Sincerely,                                                                              Notary Public
  22 Production Department                                                        24
  23                                                                                         ___________________________________
  24 NO NOTARY REQUIRED IN CA                                                     25         Commission Expiration Date

                                                                       Page 175                                                      Page 177
   1           DEPOSITION REVIEW                                                   1            ERRATA SHEET
              CERTIFICATION OF WITNESS
   2                                                                                        VERITEXT LEGAL SOLUTIONS MIDWEST
           ASSIGNMENT REFERENCE NO: 4510632                                        2          ASSIGNMENT NO: 4510632
   3       CASE NAME: Calvente, Lisa v. Ghanem, Salma, et al.
                                                                                   3   PAGE/LINE(S) /    CHANGE       /REASON
           DATE OF DEPOSITION: 3/24/2021
   4       WITNESS' NAME: Salma Ghanem                                             4   ___________________________________________________
   5       In accordance with the Rules of Civil                                   5   ___________________________________________________
       Procedure, I have read the entire transcript of
   6   my testimony or it has been read to me.                                     6   ___________________________________________________
   7       I have made no changes to the testimony                                 7   ___________________________________________________
       as transcribed by the court reporter.                                       8   ___________________________________________________
   8
     _______________           ________________________                            9   ___________________________________________________
   9 Date              Salma Ghanem                                               10   ___________________________________________________
  10     Sworn to and subscribed before me, a
     Notary Public in and for the State and County,
                                                                                  11   ___________________________________________________
  11 the referenced witness did personally appear                                 12   ___________________________________________________
     and acknowledge that:                                                        13   ___________________________________________________
  12
         They have read the transcript;                                           14   ___________________________________________________
  13     They signed the foregoing Sworn                                          15   ___________________________________________________
             Statement; and                                                       16   ___________________________________________________
  14     Their execution of this Statement is of
             their free act and deed.                                             17   ___________________________________________________
  15                                                                              18   ___________________________________________________
         I have affixed my name and official seal
  16                                                                              19
     this ______ day of_____________________, 20____.                                _______________     ________________________
  17                                                                              20 Date          Salma Ghanem
             ___________________________________
  18         Notary Public                                                        21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
  19         ___________________________________                                  22 DAY OF ________________________, 20______ .
             Commission Expiration Date
                                                                                  23       ___________________________________
  20
  21                                                                                       Notary Public
  22                                                                              24
  23
  24                                                                                       ___________________________________
  25                                                                              25       Commission Expiration Date

                                                                                                                                    45 (Pages 174 - 177)
                                                              Veritext Legal Solutions
  www.veritext.com                                                                                                                              888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 177 of 408 PageID #:6099




             Exhibit 1 to Ghanem
                 Deposition
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 178 of 408 PageID #:6100
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 179 of 408 PageID #:6101
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 180 of 408 PageID #:6102




           Exhibit 18 to Ghanem
                Deposition
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 181 of 408 PageID #:6103




                                                                     University Board on Promotion and Tenure
                                                                     1 East Jackson Boulevard,
                                                                     Chicago, Illinois 60604-2287


To:            Salma Ghanem, Provost

From:          University Board on Promotion and Tenure, 2019-2020 (Mojdeh Bayat (College
               of Education); Elena Boeck (College of Liberal Arts and Social Sciences); Dana
               Hall (School of Music); Ginger Nila Hofman (College of Liberal Arts and Social
               Sciences); Xiaoping Jia (College of Computing and Digital Media); Gregory
               Mark (College of Law); Sandra Shelton (College of Business)

cc:            Lucy Rinehart, Associate Provost for Academic Planning and Faculty
               Scott Paeth, President, Faculty Council

Date:          September 23, 2020

Re:            Required end-of-year report

Based on the experiences during the 2019-2020 academic year and as required by the Faculty
Handbook 3.5.7.5, the University Board on Promotion and Tenure (UBPT or Board) hereby
provides the Provost, the Faculty Council, and units with our suggestions and concerns regarding
promotion and tenure processes, practices, and rules. With each suggestion or concern, the
Board has identified the entity or entities it understands are in the best position to resolve the
issue. In the case of changes to the Faculty Handbook, or in cases where definitive
interpretations are suggested, the Faculty Council is the appropriate entity to evaluate and, where
agreement exists, to implement, the suggestions, with the assistance and concurrence of the
Provost.

The new Faculty Handbook has been in effect for several years. This year the UBPT has also
reviewed the year-end letters since the adoption of the new Faculty Handbook and, as the last
portion of the letter, will summarize our continuing concerns, even when the particular concerns
may not have generated any specific problems in this cycle. Additionally, the Board begins this
report with general concerns that several cycles of the promotion and tenure process have
generated. Finally, the report has several unit-specific suggestions contained in individual
addenda to the report. In each case a practice or policy came to our attention during the review
of a candidate or candidates file(s) that either violated provisions of the Faculty Handbook or
misinterpreted a provision of the Faculty Handbook (FH). See FH 3.5.6.1, where the UBPT is
charged with “applying university-wide standards and criteria” [subsection c] and examining
“the application of lower-level guidelines to the candidate” [subsection d]. The UBPT has a
growing concern that these errors and misinterpretations redound to the detriment of individual
candidates. The UBPT is charged with review of unit policies under FH 3.5.7.5. See also FH

                                                 1


                                                                                                         LC0004068
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 182 of 408 PageID #:6104




3.4.3. The Board believes that these issues in the “evaluation guidelines, criteria and
procedures” of units should not wait on the Board’s general reviews of unit policies. (The Board
reviews some, though not all, unit policies annually, ideally in the fall term.) The Board
therefore includes several addenda to the general year-end report. Each addendum addresses
unit-specific concerns and should be forwarded from the Provost’s office to the relevant Dean.

GENERAL CONCERNS:

Provost decisions to overturn UBPT recommendations

The adoption of the new Faculty Handbook, which became effective July 1, 2015, signaled the
importance of the faculty’s role in the promotion and tenure process. Consistent with the
faculty’s understanding of its role as “the primary creators of a vibrant academic community,”
the “system of faculty evaluation ... relies heavily on the views of the faculty. Exercising
professional judgment, experienced faculty evaluate the work of their colleagues for ...
promotion, and tenure” (FH 3.1). The aim of the process is explicit. The hurdle is necessarily
high, especially for tenure: “Before granting tenure, the university should have no reasonable
doubt about the faculty member’s demonstrated qualifications” (FH 3.1). See also 3.3.1.3 (“The
Tenure Review”). It is for these reasons that the Faculty Handbook establishes multiple levels of
review, each with the full freedom, indeed the responsibility, to evaluate a candidate anew at
each level (FH 3.5.1.1f). After the first level of review, the review of a file also encompasses
consideration of the “method and care of application of the approved guidelines by lower-level
unit(s) and the disciplinary expertise of the local academic units. Relevant issues include matters
of stringency, consistency among candidates, and fairness, as well as the implications the
decision may have at the college, school, or university level” (FH 3.5.1.1f). The Faculty
Handbook does not provide for deference to reviews at any level, except one.

The Provost “makes the final decision on tenure or promotion” (FH 3.5.6.3). Unlike every other
level of review, however, the Faculty Handbook provides not just for deference to a lower level
of review, but for a very high degree of deference in two respects. The UBPT recommendation
may be overturned only in “rare instances” (FH 3.5.6.3). Moreover, the reason for overturning
the UBPT recommendation must be “compelling” (FH 3.5.6.3). Neither “rare” nor
“compelling” are self-defining. The language, especially because both conditions are required,
powerfully suggests that the decision to overturn may not be made simply because the provost
would have voted differently had the Provost been a voting member of the Board. The language
powerfully suggests that the decision to overturn may not be made simply because the Provost
interprets part or all of a file differently than the UBPT. Moreover, when read in conjunction
with the “no doubt” language quoted earlier regarding the tenure decision, that language, at least
in cases of tenure, powerfully suggests that in order to overturn the recommendation of the
Board, the faculty representatives, the Provost should find that the UBPT recommendation was
manifestly one that was groundless. In other words, doubt existed where the Board found none,
or where the Board expressed its doubt, the Provost found that the Board’s reason(s) for doubt
were completely unfounded. In the case of promotion to full professor, the requirements are
even more explicit and particularized. The requirements for promotion to full professor are
unequivocal statements of quality of performance: recognition by “peers inside and outside the
university” of scholarship or creative activities, “notable” service “at the university level,” and a

                                                  2


                                                                                                        LC0004069
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 183 of 408 PageID #:6105




“mandatory” requirement for “effective teaching,” thus, the rank “is reserved for those with
recognized academic achievement” (FH 3.4.1).

The UBPT recognizes that the Faculty Council is not privy to either the UBPT recommendations
or to the Provost’s written decisions. At first glance, moreover, the number of decisions to
overturn may not appear to be numerous, and, especially in this past cycle, with only about half
as many candidates as usual, the year may present an unusual sample. (The Provost’s office
provided the UBPT with the following numbers of overturns: 2016/2017 5/51; 2017/2018 zero;
2018/2019 3/47; 2019/2020 3/23.) The UBPT notes, however, that the percentage of decisions
to overturn suggests something other than that the decisions are rare. The UBPT has also spent
hours discussing the rationale(s) embodied in the Provost’s decisions. In nearly every case, the
rationale(s) are ones the Board has already considered during its initial deliberations. By
definition, most members of the UBPT did not find the rationale(s) compelling when made
during deliberations. Had the members found the rationale(s) compelling, the vote would have
been different. In other words, the rationale(s) might be plausible, even persuasive to some, but
not compelling in the sense that the word is usually used in such a context, meaning
overwhelming or at least sufficiently powerful to convince even a bare majority of the Board.
Had the drafters of the Faculty Handbook, and the faculty approving the Faculty Handbook,
understood compelling as meaning simply coming to a different conclusion, then the Faculty
Handbook could have provided for simple disagreement as a basis for not accepting the
recommendation of the UBPT. Neither the drafters nor the faculty reviewing the draft so
provided. Moreover, to reiterate, at no other level of evaluation does the Faculty Handbook
embody any level of deference, as noted above, except for the Provost towards the UBPT.

The UBPT understands that the Faculty Council cannot actually review the back-and-forth
between the Board members and the provost. Moreover, the Board understands that this
concern embodies the Board’s perspective as the faculty’s representatives. The UBPT is not a
policy-making body. After five years under the guidance of the new Faculty Handbook,
however, the Board believes a clearer understanding of what “only in rare instances and for
compelling reasons” (FH 3.5.6.3) means should be provided, if for no other reason than to
provide a continuity of understanding.

Unit errors that affect a file

Over the past several years, during review of candidate files, the UBPT has noted that certain
academic units have had rules or practices that are not consonant with the Faculty Handbook.
They therefore engage in practices that violate the Faculty Handbook, or misinterpret the Faculty
Handbook, which supersedes unit rules where they are inconsistent. See FH 3.4.2 and 3.4.3:
Unit rules “provide unit- and discipline-specific articulations of university-wide criteria”; unit
“guidelines must be consistent with the university’s criteria and procedures specified in the
Faculty Handbook.” These errors, practices, or interpretations are not ones the Board can
address unless the Board has reviewed the unit’s rules, an annual and on-going process. In the
case of misinterpretation, only when the Board sees the file or hears the candidate, the chair, or
the dean, can the Board become aware of the difficulty. The Board has regularly mentioned
these matters to the chairs and deans who appear before the Board. In many cases, however,
upon review of unit policies, the Board discovers that necessary changes have not been made. In

                                                3


                                                                                                     LC0004070
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 184 of 408 PageID #:6106




part, for this reason, the UBPT adopts in this cycle the unit-specific addenda mentioned earlier.
The Board also suggests that the Faculty Council and the Provost formalize a process to require
review of policies and practices before they might have an adverse impact on a candidate’s
future. At a minimum, units should ensure that if they have any candidates eligible for tenure
that they ensure their policies are consistent with the Faculty Handbook long before the
candidates begin to prepare their files.

SCHOLARSHIP AND CREATIVE WORK

1. Pay to publish. The UBPT supports the Handbook amendment approved by Faculty Council
   in the Spring concerning the growing issue of pay-to-publish and pay-to-present. This matter
   is one best defined in the disciplines each unit encompasses. By way of clarification, the
   UBPT has never been concerned about questions of paying either membership dues or
   conference fees in order to be able to participate, and therefore present, at conferences. Such
   dues or fees would only be of concern if a differential fee applied to those who presented, for
   example, or if fee payment resulted in more favorable consideration. The concern of the
   Board has been and continues to be those conferences wherein everyone pays, gets quickly
   approved, no one is rejected, reviews are pro forma or non-existent, or no audience ever is in
   a position to listen or view a presentation, especially of concern where few or no records are
   kept of the method of presentation, the academic or professional audience attending, or any
   of the other indicia of integrity characteristic of regular proceedings. Similarly, the concern
   of the Board where publications are at stake centers on publications in journals that have
   sham editorial boards and processes, charge excessive fees for consideration, review, and
   publication, those journals where paying for expedited review amounts to paying to get in, or
   those journals adopting names very similar to respectable journals such that a misimpression
   can be generated about the quality of an academic record. The Board urges local units to
   address these matters quickly.
2. Citation counts. The Board appreciates that citations are not a definitive, much less the
   definitive, method to evaluate the quality and impact of academic work. Nonetheless,
   citation counts are widely recognized and accepted as an important index of a scholar’s
   impact, all the more so if a piece is cited favorably over a long course of time. Therefore, to
   the extent that citation counts form part of a candidate’s record, it is incumbent on the
   candidate, and the administrative officers, to be able to say what constitutes a good or notable
   citation record. Indeed, if citation counts are recognized and accepted in a field, that
   evaluation should be part of the record.
3. Acceptance rates for journals and conferences, journal ratings, and similar measurements.
   As with citation counts, to the extent that such metrics are recognized and accepted, the
   record should explain what they mean so that those outside of the immediate discipline can
   better understand them and ask appropriate questions. Simply stating what the rate of
   acceptance is rarely conveys, by itself, any information about quality or impact.
4. External letters--substance. Especially where a candidate is being considered for promotion
   to full professor, the external evaluations should be written by full professors. In general,
   external evaluations should be written by full professors who, by definition, have achieved
   the profession’s highest recognition for accomplishment and are therefore well-placed to
   evaluate the quality and impact of a candidate’s work. The Board reiterates its continuing
   concern that external evaluators should be chosen not because they are in “universities of

                                                4


                                                                                                      LC0004071
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 185 of 408 PageID #:6107




   similar ranking,” a phrase the Board has heard on occasion, but rather solely because they are
   well-suited to evaluate the candidate’s work, to discuss the contribution the work makes to
   the field, to summarize and contextualize the work, and to clarify its strengths and
   weaknesses. Evaluations that simply state conclusions are of very little utility to the Board’s
   effective functioning, no matter how glowing the conclusion, or conversely, no matter how
   dismissive the conclusion.
5. External letters--procedure. Additionally, again this year the Board was confronted with
   difficulties in the process of selecting external evaluations in some units. To be specific,
   units should never allow candidates to strike evaluators from a list. Doing so identifies every
   possible reviewer and completely compromises confidentiality. At the same time,
   candidates must be provided with copies of the letters, redacting identifying information
   about the evaluator and the evaluator’s institution. This year the Board noted instances in
   which candidates had been provided the list of potential evaluators and other instances where
   they claimed not to have seen the letters of external evaluators. (For articulation of the
   concerns that have arisen in prior years and have not been addressed, see below.)

SERVICE

1. Defining university service. The Faculty Handbook differentiates service to departments,
   colleges, and the university in specifying what is expected for different ranks. To become an
   Associate Professor a candidate “should show significant involvement in university activities
   at the local academic unit and beyond” (FH 3.4.1). The Board has consistently recognized
   that service to a department, cross-departmental service as in a domain committee in Liberal
   Arts, and service at the college level qualifies. Service on university-wide boards,
   committees, and organizations also clearly qualifies. While service to professional,
   academic, and other organizations outside the university are important and valued, the Board
   has consistently understood “university activities” to mean the life and activity within DePaul
   University.

   By contrast, for promotion to Full Professor a candidate must show “notable contributions at
   the university level” (FH3.4.1). The Board has consistently understood this requirement to
   encompass university-level boards and committees and service to boards and committees
   outside one’s own college. The Board has also consistently understood “notable” to mean
   more than attendance on such boards and committees, but rather to reflect the relative
   importance of some boards and committees to the university’s existence and prosperity or the
   candidate’s taking leading roles on university-wide boards and committees. The Board has
   consistently held the position that local service, even when such service assists the university
   overall, such as in student recruitment for one’s unit, or program development for one’s unit,
   is to be understood as unit and not university service. The Board’s rationale is simple. All
   local service contributes to the functioning of the whole. To conflate the local service with
   university impact and university service is to efface the difference between unit and
   university. Moreover, “at the university level” means something different than helping the
   university. See, for example, FH 3.4.2.3, which distinguishes in the first bullet service to
   “university and its academic units,” and similarly later states the requirement that “faculty
   members must serve in their local academic unit,” as distinct from “[u]niversity service” in
   prior sentence. Deans, chairs, and candidates should understand these distinctions. In the

                                                5


                                                                                                      LC0004072
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 186 of 408 PageID #:6108




   past several years candidates have made the claim that local or college service is university
   service. Some chairs have made similar, albeit less vociferous, claims. Of course, if the
   Faculty Council and the Provost believe that the Board is in error, then clarification through
   an interpretive Q&A or an amendment of current Faculty Handbook language would be
   appropriate.

   Similarly, in the past three years, a few candidates have claimed that professional service that
   enhances the university’s reputation is “notable university service.” The Board has not
   accepted that claim. It has not accepted the claim because university service is defined as
   “contributions to the enhancement of the institution’s internal processes and its relationships
   with external bodies” (FH 3.4.2.3). That service is explicitly distinguished from professional
   service, which “consists of contributions to the organizations or associations of the faculty
   member’s academic discipline or the professoriate” (FH 3.4.3.2). The Faculty Handbook
   provides further clarification in the next sentence, “Professional service may have a
   component of scholarship or creative activities” (FH 3.4.3.2). The Board has understood
   such activities to include, but not be limited to, manuscript reviews, editorial positions,
   journal management, and similar activities. The Faculty Handbook thus goes out of its way
   to distinguish between service to professional external bodies, which is to be considered
   under scholarship and creative activities, and service to non-academic and non-professional
   external bodies. Read any other way would also render meaningless the sentence describing
   to which entities “[s]ervice may be provided,” to wit, “the university, the profession, and the
   community” (FH 3.4.2.3). Because the Faculty Handbook describes service in separate
   paragraphs discussing “external bodies” and “organizations or associations of the faculty
   members’s academic discipline or the professoriate,” the Board has understood “external” to
   mean governmental entities; non-professional organizations dealing with the application of
   research to policy, including philanthropic organizations; religious bodies; organizations,
   activist and volunteer, providing community services; and other organizations, both formal
   and informal. See also the first bullet of FH 3.4.2.3. As with the Board’s understanding of
   the distinctions the Faculty Handbook makes for intra-university service, the same
   understanding of extra-university service should be understood by candidates and unit
   officers. In the case of community service the Faculty Handbook explicitly puts the burden
   on the candidate “to make the case demonstrating that the activity qualifies as service as the
   term is used here” (FH 3.4.2.3). The Board, however, also suggests that the Faculty Council
   and the Provost either provide an interpretation of community service that clarifies how the
   UBPT, and every other body charged with evaluation of a candidate, should weigh such
   service or an amendment specifying how the UBPT should weigh “[c]ommunity service
   activities” and the benefit provided by extra-institutional but non-professional service.

CONTINUING CONCERNS ARTICULATED IN PRIOR YEARS’ LETTERS

1. Teaching effectiveness. At least as far back as 2017 the Board has articulated its concern that
   the meaning of “effective teaching” is opaque and should be better articulated. Specifically,
   the Board has been concerned that effectiveness is too often assumed when online teaching
   evaluation (OTE) numbers appear good, and even, perhaps especially, in those instances,
   “good” is also undefined. Easy cases are clear: response rates are consistently high;
   absolute numbers on the OTEs are high and outperform others, not just locally but across the

                                                6


                                                                                                      LC0004073
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 187 of 408 PageID #:6109




   university; the numbers are consistent with thoughtful comments by students and the
   retrospective understanding of former students embodied in the student reports; and, taken as
   a whole, the numbers and comments suggest the ongoing value of the content of the courses
   and the faculty member’s capacity to enrich and contextualize student understanding of the
   content. Also valuable are the honest reflections of faculty members who admit to episodes
   of ineffective teaching and act to correct such episodes. That reflection, and those efforts,
   speak as much to effective pedagogy as those faculty members for whom effectiveness
   appears to be (but is not) effortless. But, only rarely has the Board read such reviews
   embodied in unit reports. Overwhelmingly those reports simply repeat what the Board
   members can read, and do read, for themselves. Similarly, with exceptions standing out
   because they are so rare, those units that engage in peer review of teaching do so without
   explanation of either evaluative method or the evaluative criteria. The result is predictable:
   the evaluations are laudatory and perfunctory, and almost never address the issues raised by
   careful review of the OTEs. To quote the 2017 UBPT report, “useful feedback is notably
   absent in many peer evaluations, even in cases where a candidate is experiencing challenges
   ... in several instances, more attention, it seems, is paid to explaining away teaching
   difficulties ... than to offering insights.”
2. Process concerns. The UBPT receives large files containing a great deal of data. Unit
   reports, including those of chairs and deans, that simply repeat what is contained in the file
   are not helpful. Often, repetition obscures much that could be valuable in the report by
   leaving unclear what are a candidate’s strengths as well as weaknesses. Every UBPT letter
   has made the point, to one degree or another, that repeating what is in the file, including
   repeating what is in the reports filed at lower levels, is of no value. What is valuable is when
   the unit report explains a candidate’s trajectory as a teacher, value to the unit because of
   effectiveness with students, value due to curricular enrichment, and willingness to help other
   faculty members become more effective; summarizes and evaluates a candidate’s
   contribution to the academy and profession, situates a candidate’s work in the work of the
   appropriate professional and academic communities, explains what academic and
   professional reputation means in those communities and how it is recognized, and predicts,
   based on a thoroughgoing understanding of a candidate’s work, the pace of that work, and
   ambitions, what future contributions might be hoped for; explains not that a candidate has
   served on committees, but what the candidate added in value to that work.

   A candidate is not well-served by reports that make assertions and claims without
   explanation, or that are questionable. Insofar as teaching is concerned, for example, units
   sometimes assert their own rigor to excuse what appear to be weak OTEs, but rigor is
   undefined. Moreover, without reference to something that lacks rigor, the assertion of rigor
   is just that. Especially when asserted with reference to other units, the assertion is
   problematic. It is problematic because most faculty members are not and have not been in a
   position to evaluate in any wide, much less comprehensive, manner, teaching quality in other
   units. The assertion becomes especially problematic when made to the Board, the members
   of which are treated to thousands of evaluations of dozens of candidates, each with lengthy
   histories in the classroom, over the widest range of colleges and local units within the
   university, multiplied in many cases by years of service of the Board. Other claims are often
   made to, as the 2017 letter suggests, “explain away” weak teaching. Especially troubling is
   when candidates from the same unit, who have taught the same or similar courses, present

                                                7


                                                                                                      LC0004074
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 188 of 408 PageID #:6110




  very different sets of evaluations, including OTEs, and no explanation is provided, which to
  the Board violates the requirement of the Faculty Handbook for “consistency among
  candidates” (FH 3.5.1.1).

  Insofar as scholarly work is concerned, equivalent examples trouble the Board. To reiterate
  what the Board wrote in 2018, external reviews “that offer only general, summative or
  conclusory statements about the candidate’s work” are “only marginally helpful.” A review
  that has not explained the candidate’s work, analyzing it as called for by the Faculty
  Handbook (FH 3.6.2.2), should not be relied on by the unit or unit officers. The Board notes
  that when such conclusions are negative and unsupported, the unit has no trouble dismissing
  them. Doing so raises the question, why should they be relied on when conclusions are
  positive and dismissed when they are negative? We reiterate the suggestion that the Faculty
  Council draft a sample letter making clear what it is that is sought in these letters. Similarly,
  as noted briefly above, this year the Board was troubled by instances in which both the
  selection of reviewers and the disclosure of the letters was mishandled. Units are free to
  solicit suggestions, both negative and positive, from candidates and the candidate is free to
  explain those suggestions. The unit is not permitted, either as a matter of explicit policy nor
  by practice, to be bound to honor any or all of those suggestions (FH 3.6.2.1, FH 3.6.2.3).
  Especially troubling this year were the units that prepared lists of external reviewers and then
  shared that list with the candidate. Doing so violates FH 3.6.2.3, regarding the necessity of
  protecting “the identity of external reviewers.” The UBPT is of the view that a unit violating
  FH 3.6.2.1 or 3.6.2.3 vitiates the utility of the external reviews, to the detriment of the
  candidate.

  In particular, the UBPT reiterates, without prejudice to the other suggestions remaining to be
  considered, the first suggestion in the 2016 letter, advice to unit officers and candidates
  concerning notable university service for candidates for full professor; the 8th suggestion to
  unit officers and candidates, concerning candidates reading chapter 3 to ensure that their files
  conform to the Faculty Handbook requirements; and the recommendation to the Provost
  concerning discussion of these guidelines with the Deans, especially now that the university
  has hired two new deans who are unfamiliar with DePaul’s practices.

  From the 2017 letter, the Board reiterates on the same basis the 2nd and 3rd suggestions,
  concerning peer teaching evaluations; the 6th suggestion, regarding notable service
  contributions for full professor candidates (which repeats that above from the 2016 letter);
  the 9th suggestion, concerning unit evaluations of a candidate; the 10th suggestion, concerning
  a summary of a candidate’s relevant DePaul history in the unit report; and the 14th
  suggestion, concerning peer evaluations and conflicts of interest.

  From the 2018 letter, the Board reiterates on the same basis the first suggestion regarding
  peer evaluations; the 4th and 5th suggestions, regarding external reviewer selection in their
  entirety; the 6th suggestion, regarding discipline-specific quality metrics; and the first
  suggestion regarding service standards service, repeating concerns regarding notable service
  for candidates for Full Professor; and the final suggestion regarding the specification of the
  candidate’s time in rank in unit reports, which itself reiterates suggestion 10 from 2017.



                                                8


                                                                                                      LC0004075
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 189 of 408 PageID #:6111




   From the 2019 letter, the UBPT notes that important suggestions made in that letter have
   been acted upon and appreciates the efforts made by the Faculty and the Provost to render the
   tenure and promotion processes more transparent, clearer to the candidate, and useful to the
   future of the university.

Unit-specific addenda are provided separately and will be shared by the Provost with the deans
of those units.




                                               9


                                                                                                   LC0004076
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 190 of 408 PageID #:6112




           Exhibit 27 to Ghanem
                Deposition
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 191 of 408 PageID #:6113




                                                                    University Board on Promotion and Tenure
                                                                    1 East Jackson Boulevard
                                                                    Chicago, Illinois 60604-2287




TO:            Salma Ghanem, Acting Provost

FROM:          University Board on Promotion and Tenure

DATE:          May 10, 2019

Re:                        Application for Promotion to Associate Professor with Tenure
______________________________________________________________________________

The 2018-2019 University Board for Promotion and Tenure met on Friday, April 12, 2019, to
consider Timothy           application for promotion to Associate Professor with tenure. Dr.
       joined DePaul as a Visiting Assistant Professor in 2012 and was hired as an Assistant
Professor in 2014 with one year of credit towards tenure. He holds a Ph.D. from Yale University.

Board Members Present:




Board Members Absent: None

Vote Summary:
Department of Chemistry and Biochemistry tenured faculty: 4 – 4 (Support – Oppose)
Department of Chemistry and Biochemistry Chair recommendation: Supports
College of Science and Health Personnel Committee: 2– 4 – 1 (Support – Oppose – Recused)
College of Science and Health Interim Dean recommendation: Supports
University Board: 1 – 6 (Support – Oppose)

The University Board for Promotion and Tenure concurs with the tenured faculty of the
Department of Chemistry and with the College of Science and Health Personnel committee, but
does not concur with chair of the Department of Chemistry or with the dean of the College of
Science and Health concerning the recommendation to promote Dr.              to associate professor
with tenure. While the vote of the departmental faculty was a tie, that vote constitutes a negative
recommendation, with which the Board concurs. The Board believes that Dr.               has met the
requirements in the category of service, but has consistent concerns about both teaching and
scholarship.




CONFIDENTIAL                                                      Calvente-DePaul 037293
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 192 of 408 PageID #:6114




The university requires that a candidate for the rank of associate professor with tenure “must
demonstrate consistently effective teaching.” In the judgment of the Board, Dr.              has not
so demonstrated. The evaluations of his teaching by students are frequently below 3 on a 5-point
scale, and consistently below the departmental means. This case is not one of the occasional
negative set of evaluations but rather a pattern that shows itself in his capacity to communicate
with a very large portion of his students. Forty to fifty per cent of the students rate his capacity
to communicate subject matter content as not adequate. Moreover, the pattern is persistent and
the concern has not been relieved over time. His recent evaluations, for example, the 2018
evaluations, contain such comments. In addition, the regular recurrence of student concerns with
communicating his expectations for performance, the criteria by which performance is to be
evaluated, and the timeliness of his feedback to students, raises questions about the consistent
effectiveness of Dr.           teaching. The burden is on the candidate to “demonstrate
consistently effective teaching.” The record does not suffice and the Board believes that Dr.
          teaching has not met the university criterion.

The Board also has concerns about Dr.              scholarship. The Board’s concerns extend both
to the quantity of the work, and its consistency, as well as its quality, which was difficult to
address for lack of definitive evidence of his contributions to multi-authored pieces. In only one
piece is he the corresponding author, and that is in a proceedings publication. Understanding the
scholarly impact of published proceedings requires a clear statement of the value of particular
types of proceedings. Notwithstanding inquiries from members, the Board did not receive
information sufficient to enable the Board’s members to evaluate either the quality (the particular
venue accepts almost seventy-five per cent of submissions, for example) of the work or its
effective dissemination to the academic world. The other pieces published are all multi-authored;
two pieces – a two-part article – have thirty-one authors. While in those pieces his contributions
were made clear – they were methodological – at least some members could not find that the
contribution provided “evidence of notable scholarship [or] research.” The external evaluators
also did not provide information enabling the Board to determine his contributions and their
importance. While he is also a contributor to two books, neither the department nor the College
considers such works as counting for promotion purposes for lack of clear evidence of peer
review.

In sum, the Board has concerns that Dr.       meets neither of the university’s requirements for
teaching or scholarship and thus cannot recommend him for promotion to Associate Professor
with tenure.




CONFIDENTIAL                                                      Calvente-DePaul 037294
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 193 of 408 PageID #:6115




This recommendation accurately reflects the University Board on Promotion and Tenure’s
discussion of                 application for promotion to Associate Professor with tenure.




CONFIDENTIAL                                                   Calvente-DePaul 037295
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 194 of 408 PageID #:6116




                Exhibit E
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 195 of 408 PageID #:6117




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 LISA CALVENTE,                                    )
                                                   )
                           Plaintiff,              )
                                                   )     Case No.: 1:20-cv-03366
         v.                                        )
                                                   )
 SALMA GHANEM and DEPAUL                           )
 UNIVERSITY,                                       )
                                                   )
                           Defendants.             )


                             DECLARATION OF LUCY RINEHART


        1.         My name is Lucy Rinehart. I am over the age of eighteen (18) years and fully

capable of making this Declaration.

        2.         The facts in this Declaration are within my personal knowledge and are true and

correct, and I am qualified to make the statements in this Declaration.

        3.         I am currently employed by DePaul University as the Associate Provost for

Academic Planning and Faculty, and I am a custodian of records for certain business records of

DePaul University. The documents attached hereto as Exhibits 1-7 are business records of DePaul

University. These documents are kept in the regular course of business, and it was the regular

course of business of DePaul University, for an employee or representative, with knowledge of the

act, event, condition, or opinion recorded, to make the record or to transmit information thereof to

be included in such documents; and the documents were made at or near the time of the act, event,

condition or formation of the opinion, or reasonably soon thereafter. These documents are

duplicates of the original with the exception of any redactions made for confidentiality purposes.




LEGAL\55163807\2
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 196 of 408 PageID #:6118




        4.         From May 2021 to present, Dr. Salma Ghanem has been serving as the Provost for

DePaul University. Prior to this, Dr. Ghanem served as the Acting Provost from October 2018 to

July 2019 and Interim Provost from July 2019 to May 2021.

        5.         From July 2017 to present, Dr. Gabriel Esteban has been serving as the President

for DePaul University.

        6.         DePaul has a Faculty Handbook that sets forth its principles of shared governance

with its faculty, and also governs the evaluation of faculty, including the process by which tenure

track faculty can be considered for promotion and tenure. The full and complete Faculty Handbook

for DePaul University is attached as Exhibit 1 to this Declaration, and is Bates Stamped Calvente-

DePaul 00001-000103.

        7.




        8.         In September 2018, Dr. Calvente timely submitted her tenure application and

accompanying materials. The document Bates Stamped DePaul – Calvente 000796-001889, is the

full and complete tenure and promotion file maintained by the Academic Affairs Office for Dr.

Calvente.

        9.         The document Bates Stamped DePaul 10073-10373, is the full and complete tenure

and promotion file maintained by the Academic Affairs Office for                  . Exhibit 2 to this

Declaration contains documents from                     tenure and promotion file.

        10.        The document Bates Stamped DePaul 008594-009701, is the full and complete

tenure and promotion file maintained by the Academic Affairs Office for                   . Exhibit 3

to this Declaration contains documents from                  tenure and promotion file.



                                                   2
LEGAL\55163807\2
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 197 of 408 PageID #:6119




        11.                           is a Caucasian faculty member in the College of Science and

Health who was up for tenure during the academic year 2018-2019. The document Bates Stamped

DePaul 36929-37299, is the full and complete tenure and promotion file maintained by the

Academic Affairs Office for                 . Exhibit 4 to this Declaration contains documents from

               tenure and promotion file.

        12.        Dr.                  is a Latina faculty member in the College of Science and

Health, School of Nursing who was up for tenure during the academic year 2019-2020. The

document = Bates Stamped DePaul 34653-36928, is the full and complete tenure and promotion

file maintained by the Academic Affairs Office for Dr.                   Exhibit 5 to this Declaration

contains documents from Dr.                 tenure and promotion file.

        13.                        is a Caucasian faculty member in in the College of Science and

Health, Department of Mathematical Science who was up for tenure during the academic year

2019-2020. The document Bates Stamped DePaul 37300-38093, is the full and complete tenure

and promotion file maintained by the Academic Affairs Office for Dr.                 Exhibit 6 to this

Declaration contains documents from Dr.                 tenure and promotion file.

        14.        Among the individuals who obtained tenure during the 2018-2019 academic year,

are:                                                                             Dr. Calvente was the

sole candidate to be denied tenure in 2019.

        15.        Dr.                  was a Caucasian tenure-track faculty member in the College

of Communication. In 2017, the College of Communication’s Personnel Committee and tenured

faculty recommended the non-renewal of                                   , and Dr. Ghanem accepted the

recommendation for non-renewal. A copy of these documents are attached as Exhibit 7 and

Exhibit 8 to this Declaration, and are Bates Stamped Calvente-DePaul 10006-10016 and 10017-



                                                    3
LEGAL\55163807\2
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 198 of 408 PageID #:6120
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 199 of 408 PageID #:6121




                        EXHIBIT 1
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 200 of 408 PageID #:6122
                                                                                                                                July 1, 2018


1    CHAPTER 1. FACULTY GOVERNANCE AND PARTICIPATION IN
2    GOVERNANCE
3

4    1.1 Principles of Governance .......................................................................................................... 2

5    1.2 Governance Structure ................................................................................................................ 2

6       1.2.1 Primary Responsibilities of the Faculty ............................................................................. 3

7       1.2.2 Participatory Responsibilities ............................................................................................. 3

8    1.3 The Faculty Council and Its Delegated Authority .................................................................... 4

9       1.3.1 Members of the Faculty Council ........................................................................................ 4

10      1.3.2 Officers of the Faculty Council .......................................................................................... 5

11      1.3.3 Meetings of the Council ..................................................................................................... 6

12      1.3.4 Notice to the Faculty of Council Meetings ........................................................................ 6

13      1.3.5 Conduct of Meetings .......................................................................................................... 6

14      1.3.6 Communication of Decisions ............................................................................................. 6

15      1.3.7 Responsibility to the Faculty .............................................................................................. 7

16      1.3.8 Conduct of Meetings of the Council of the Whole ............................................................ 7

17   1.4 Committees of the Faculty Council .......................................................................................... 7

18      1.4.1 General Duties of Committees ........................................................................................... 8

19      1.4.2 Standing Committees of the Faculty Council..................................................................... 8

20      1.4.3 University Committees with Faculty Representation......................................................... 9

21   1.5 Amendment of the Faculty Handbook .................................................................................... 10

22




                                                                         1

                                                                                                 Calvente-DePaul 000001
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 201 of 408 PageID #:6123
                                                                                                     July 1, 2018


 1   CHAPTER 1. FACULTY GOVERNANCE AND PARTICIPATION IN
 2   GOVERNANCE

 3
 4   1.1 Principles of Governance
 5
 6   Within general university norms and specific regulations of the Board of Trustees and the university
 7   President, faculty members participate in governance on an institution-wide basis and in the particular
 8   academic units with which they are affiliated.
 9
10   Faculty initiative and participation in governance are a vital part of academic life. Moreover, the general
11   well-being of the university is dependent on the time and talents the faculty contribute in the roles of
12   decision makers and consultants.
13
14   Faculty participate in all areas of university governance. They have primary responsibilities over
15   academic and scholarly activities, faculty personnel matters, and education interests and policies. They
16   have participatory or advisory responsibilities in other areas.
17
18   Full-time faculty members who are not on special appointment are expected to participate in governance
19   as a normal faculty obligation. Consequently, only for sufficiently serious reasons may they refuse
20   appointments or active service on various committees or in their departments. Part-time faculty members
21   and full-time faculty members on special appointment may be invited to participate in certain governance
22   processes to the extent that their time and other responsibilities permit.
23
24   As a general rule, full-time faculty members are entitled to participate and vote in decisions made in the
25   academic departments, schools, and colleges with which they are affiliated. Some matters before a
26   department, school, or college such as promotion and tenure, may be restricted to the deliberation of a
27   limited number of faculty.
28
29   1.2 Governance Structure
30
31   The faculty of DePaul University shall bear its share of responsibility of shared governance according to
32   the following principles.
33
34       1. DePaul University is a community sharing a common interest in the welfare of the institution.
35       2. DePaul is a university community which has adopted this country’s tradition of collegial
36          governance. The university’s own philosophy encourages faculty and staff to be concerned with
37          university-wide issues, to prevent barriers from separating different divisions of the university,
38          and otherwise to work for a type of unity that the term “community” implies.
39       3. As a corporation, the university has a formal structure of governance described principally by its
40          Charter and Bylaws. The latter document assigns certain responsibilities and authority to the
41          Board of Trustees and to particular officers of the university, but it assumes that much of the
42          authority will be shared by a process of delegation.

                                                          2

                                                                             Calvente-DePaul 000002
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 202 of 408 PageID #:6124
                                                                                                        July 1, 2018


 1      4. For the university to be well governed, the diverse interests and perspectives of faculty, staff,
 2          students, and administration must be considered and incorporated in a timely fashion in the
 3          decision making processes of the institution.
 4      5. By tradition and training, the faculty are expected to make judgments about the academic
 5          integrity of the curriculum and the professional requirements of faculty status. Therefore,
 6          curriculum, academic programs, and faculty status questions shall be considered primary
 7          responsibilities of the faculty. It is understood that in order to carry out these responsibilities, the
 8          faculty will work closely with the academic administrators and the officers of the university.
 9          They will also seek the advice of students, part-time faculty, and staff. While the President and
10          the Board of Trustees have the authority to reverse the decision of the faculty regarding their
11          primary responsibilities, it is expected that they would do so only in exceptional circumstances
12          and would communicate the reasons to the faculty.
13      6. Faculty governance regarding academic programs, curriculum, and faculty status regularly takes
14          place through departments, programs, colleges, and schools. Primary governance of those bodies
15          shall reside within the bodies. Some institutional mechanism is required for university faculty to
16          make decisions on all educational matters and policies regarding faculty status which concern
17          more than one college or school or which are otherwise of general interest.
18      7. Needed, too, is a mechanism for the university faculty to make recommendations to the president
19          and the provost regarding matters outside the primary responsibilities of the faculty.
20   The Faculty Council has been established to ensure full and equal participation of faculty in university
21   governance.
22
23   1.2.1   Primary Responsibilities of the Faculty
24
25   The faculty is vested with primary governance responsibility of academic and scholarly activities and
26   faculty personnel matters within the university, including the following:
27
28       1. Curriculum matters, including establishment, dissolution, and substantial changes of degree
29          programs; and reorganization of the general university academic structure.
30       2. Academic freedom, including rights and responsibilities.
31       3. Standards and procedures concerning faculty promotion, tenure, appointments, retention, and
32          performance.
33       4. Adjudication of grievance and disputes in all matters involving a faculty member or members.
34       5. Standards and procedures concerning instruction.
35       6. Regulations regarding attendance, examinations, grading, scholastic standing, honors, and general
36          admission and graduation standards.
37       7. Matters pertaining to research, and to scholarly and creative activities.
38       8. Academic principles underlying the academic calendar.
39       9. In general, any educational interests and policies.
40
41   1.2.2   Participatory Responsibilities
42
43   The faculty will advise or otherwise participate regularly with the administration and other appropriate
44   bodies in university matters including the following:

                                                            3

                                                                               Calvente-DePaul 000003
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 203 of 408 PageID #:6125
                                                                                                        July 1, 2018


 1
 2       1. Establishment of university priorities.
 3       2. Formulation of policy with regard to allocation and utilization of the university’s human, physical
 4          and fiscal resources and the principles underlying the development of the budget.
 5       3. Oversight of administrators, establishment or dissolution of administrative offices, and major
 6          changes in administrative structure.
 7       4. Establishment of policies for the regulation of inter-collegiate athletes.
 8       5. Recommendation of candidates for honorary degrees.
 9       6. The establishment or elimination of colleges, schools, or local academic unit.
10       7. Conducting of commencement exercises and honors convocations.
11       8. Other matters inseparably associated with traditional faculty responsibilities.
12       9. Any matters of interest to the faculty or pertaining to the university and its purpose.
13
14   1.3 The Faculty Council and Its Delegated Authority
15
16   The authority of the faculty to carry out its responsibilities for university-wide issues is delegated to the
17   Faculty Council, except when a meeting of the Council of the Whole is held at the call of the university
18   president, the provost, the Faculty Council, or on written petition to the Faculty Council by at least fifty
19   full-time members of the faculty.
20
21   For the purposes of this Council’s representation, the university’s regular full-time faculty consists of all
22   tenure-line and term faculty and excludes the president, the provost, the university’s vice presidents, the
23   deans of the colleges or schools, and other faculty members whose roles in the judgment of the President
24   of the Faculty Council, are predominantly administrative.
25
26   1.3.1   Members of the Faculty Council
27
28   All colleges shall have representation on Faculty Council. The overall size of Faculty Council, the
29   number of seats for members and alternates, and the distribution of those seats by college shall be
30   determined by Faculty Council according to its bylaws.
31
32   Members shall be elected by the full-time faculty of the various colleges and schools respectively. The
33   term for a regularly elected member of Faculty Council shall be from September 1st of the calendar year
34   in which he or she is elected until August 31st of the calendar year in which his or her term expires. Each
35   calendar year, unit elections for the regular seats and alternate seats held by members whose terms expire
36   in that year shall take place on or after April 1st and by a date that will allow the results to be reported to
37   the chair of the Committee on Committees for presentation at the June meeting of the Council. Members
38   elected at that time shall begin their terms on September 1st of that year.
39
40   Council members shall hold office for three years with staggered terms so that one-third of the
41   membership is eligible for election each year. The office of a Council member shall become vacant on
42   incapacity, resignation, or the absence of said council member from the meeting of the Council for four
43   consecutive months. The college dean shall call a special election to fill an existing vacancy.
44

                                                            4

                                                                               Calvente-DePaul 000004
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 204 of 408 PageID #:6126
                                                                                                       July 1, 2018


 1   Alternate members shall hold office for one-year terms. In the event of an anticipated absence of a
 2   council member from a Council meeting, the council member shall designate an alternate to participate in
 3   his/her stead with full rights of a Council member.
 4
 5   The Faculty Council Committee on Committees shall review the composition of Faculty Council
 6   membership by February 29th of every leap year and make a recommendation to Faculty Council during
 7   the subsequent March meeting to maintain or adjust the composition of membership to take effect for the
 8   coming academic year.
 9
10   1.3.2   Officers of the Faculty Council
11
12   The Council shall elect a president as presiding officer, a vice president, and a secretary from among its
13   elected members. These officers may be from any school or college. An additional officer shall be the
14   chair of the Committee on Committees, who shall be elected from among the COC members themselves,
15   subject to the approval of Council.
16
17   The Council president shall represent Council in university business that Council deems appropriate. She
18   or he shall call the monthly meetings of Council, preside over Faculty Council Executive Committee
19   meetings, and otherwise organize the business of Council in consultation with the other officers. The
20   Council president does not vote on Council resolutions except to break a tie vote or to create a tie vote. In
21   the case of secret ballot, the president may vote on all matters on the secret ballot.
22
23   The vice president shall represent Council in university business deemed appropriate or in instances in
24   which the president is unable to attend. The vice president shall be the working liaison between Council
25   and specific standing committees as designated by the president and shall organize the Faculty Council
26   Executive Committee meetings.
27
28   The secretary shall keep the minutes at the Council meetings, monitor the website, maintain the archival
29   records of Council, and report findings or decisions of Council to the appropriate administrative bodies
30   for action.
31
32   The chair of the Committee on Committees shall organize the appointment of faculty (subject to
33   Council’s approval) to all faculty slots on university and Council committees. She or he shall maintain
34   the records of current and previous faculty appointments, oversee the process of Council elections in the
35   various colleges, and perform other organizational duties as designated by the president and the Faculty
36   Council Executive Committee.
37
38   The duties of Faculty Council officers are further specified in Faculty Council’s bylaws.
39
40   The president, vice president and secretary of the Council shall be elected at each June meeting. It is not
41   precluded, but it is also not an assumption, that the vice president will necessarily succeed the president.
42   Terms for all officers are one year, subject to re-election. The president and vice president must
43   collectively represent at least two (2) colleges or schools. Should any officer be unable to fulfill her or his


                                                           5

                                                                              Calvente-DePaul 000005
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 205 of 408 PageID #:6127
                                                                                                   July 1, 2018


 1   term, the Committee on Committees shall determine by next Council meeting a proper process for
 2   succession.
 3
 4   1.3.3   Meetings of the Council
 5
 6   The Council shall generally meet on the first Wednesday of each month during the academic year
 7   (September through June, inclusively), and as needed at the call of the president of the university, the
 8   provost, the Faculty Council president, or at the call of the majority of the Council members. Minutes of
 9   each meeting shall be posted promptly on the FC website by the Council secretary.
10
11   At least five days before every meeting, the Council secretary shall send to Council members notice of the
12   forthcoming Council meeting, together with documents pertaining to the agenda of the meeting, including
13   the text of any proposed legislation.
14
15   1.3.4   Notice to the Faculty of Council Meetings
16
17   The Council secretary shall post to Council’s website and send notice and agenda of each meeting of the
18   Council to all faculty members, together with documents pertaining to the agenda of the meeting,
19   including the text of any proposed legislation.
20
21   1.3.5   Conduct of Meetings
22
23   The presence of 50% or more of the voting eligible members of the Faculty Council shall constitute a
24   quorum of the Council.
25
26   Decisions are to be made by majority vote of the Council members present, provided that the votes in
27   favor of a resolution shall number more than one-third of the voting eligible members.
28
29   All faculty members may attend meetings of the Council, excluding executive sessions. Chairs of
30   committees of the Faculty Council may offer motions and speak on behalf of their committees.
31
32   The Council may, by decision of the president or a majority of the Council members present, permit other
33   persons not on the Council to speak on agenda items.
34
35   An executive session may be called by the president of the Faculty Council at his/her discretion, which
36   may be overruled by a majority of the Faculty Council members present. Sessions dealing with matters
37   involving the right to privacy of individuals normally shall be executive sessions. Executive sessions
38   may be used for obtaining information and for deliberation; but final policy decisions shall be made in
39   open Faculty Council meetings.
40
41   1.3.6   Communication of Decisions
42



                                                         6

                                                                           Calvente-DePaul 000006
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 206 of 408 PageID #:6128
                                                                                                       July 1, 2018


 1   All decisions and recommendations of the Faculty Council shall be forwarded to the president of the
 2   university (or the provost as designee) for approval.
 3
 4   In the event the president of the university (or the provost as designee) disapproves any Faculty Council
 5   decision or recommendation, the president (or provost as designee) shall communicate the reasons to the
 6   Faculty Council.
 7
 8   1.3.7   Responsibility to the Faculty
 9
10   The Council secretary shall regularly send a summary of Council’s actions to the provost and post to
11   Council’s website all records of actions and responses from the university president (or provost as
12   designee).
13
14   At the request of a majority of voting members present at a Faculty Council meeting, but no fewer than
15   one-third of Council’s total voting membership, any matter must be submitted to the faculty for
16   consideration. The Council shall establish the manner by which the faculty shall vote by mail, electronic
17   ballot or otherwise on any such matter. A vote by the majority of the full-time faculty members of the
18   university shall be binding on the Faculty Council.
19
20   1.3.8   Conduct of Meetings of the Council of the Whole
21
22   Twenty-five (25) percent of full-time faculty members shall constitute a quorum of the Council of the
23   Whole. Meetings of the Council of the Whole shall be chaired by the president of the Faculty Council.
24   Decisions of the Council of the Whole shall be made by a majority of the full-time faculty members
25   present, subject to ratification by a vote of the majority of all full-time faculty members in a special mail
26   or electronic ballot.
27
28   1.4 Committees of the Faculty Council
29
30   The Faculty Council is empowered to establish committees of the Faculty Council. The Faculty Council
31   appoints the members of the Committee on Committees from among the members of Faculty Council.
32
33   Membership on other Faculty Council committees is not limited to Faculty Council members. The
34   Faculty Council shall prescribe the terms of office for members of all committees. In the case of standing
35   committees, the terms of office shall normally be staggered to permit a reasonable degree of continuity.
36
37   The Faculty Council shall prescribe the duration of any ad hoc committees. Any standing or ad hoc
38   committee which fails to meet or does not otherwise act or file a report for a period of one year shall be
39   discontinued automatically.
40
41   Each committee of the Faculty Council shall select its own chair. With the approval of the Committee on
42   Committees, each committee may appoint subcommittees from its own members or from among other
43   members of the full time and part time faculty and such members of the administration, staff, and students
44   as shall be helpful in its deliberations.

                                                           7

                                                                              Calvente-DePaul 000007
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 207 of 408 PageID #:6129
                                                                                                    July 1, 2018


 1
 2   The standing rules and operating procedures for Faculty Council committees and subcommittees are
 3   further specified in Council’s bylaws.
 4
 5   1.4.1   General Duties of Committees
 6
 7   Committees shall recommend to the Faculty Council new policies and changes in policies in their areas of
 8   responsibility.
 9
10   They shall receive and consider proposals in their areas of responsibility from the Faculty Council, the
11   administration, Student Government Association, staff, and other relevant sources. Committees shall
12   present their recommendations to the Faculty Council. In their deliberations, committees and
13   subcommittees shall seek advice, information, or materials from other members of the university
14   community.
15
16   They shall review annually sections of the Faculty Handbook pertaining to their areas of concern and
17   make recommendations for revision.
18
19   They shall meet frequently and maintain liaison with appropriate committees and groups established by
20   the academic units, the Student Government Association, the Staff Council, and other university
21   constituencies.
22
23   1.4.2   Standing Committees of the Faculty Council
24
25   Currently the Faculty Council has fifteen (15) standing committees. Committee charges are detailed in
26   Council’s bylaws:
27
28       •   Committee on Academic Policy (CAP)
29       •   Committee on Committees (COC)
30       •   Committee on Contingent Faculty (CCF)
31       •   Committee on Online Learning (COOL)
32       •   Committee on Curriculum and Programs (CCP)
33       •   Committee on Learning and Teaching (COLT)
34       •   Committee on Research Policy (CORP)
35       •   Committee on the Status of Faculty (SOF)
36       •   Faculty Committee on Appeals (FCA)
37       •   Faculty Council Budget Committee (FCBC)
38       •   Faculty Council Executive Committee (FCEC)
39       •   Faculty Council Handbook Committee (FCHC)
40       •   Liberal Studies Council (LSC)
41       •   Physical Environment Committee (PEC)
42       •   Promotion and Tenure Policy Committee (PTPC)
43

                                                          8

                                                                            Calvente-DePaul 000008
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 208 of 408 PageID #:6130
                                                                                                       July 1, 2018


 1   1.4.3   University Committees with Faculty Representation
 2
 3   University committees dealing with matters in which the faculty have governance responsibility or
 4   interest shall have faculty representation. Faculty representatives on such committees shall be responsive
 5   to the Faculty Council to the extent appropriate.
 6
 7   To the extent that any boards or committees not under the auspices of the Faculty Council address areas
 8   of primary faculty responsibility and report directly to the university president or other university officers,
 9   those boards or committees shall be subject to the policies of the Faculty Council and to review by the
10   Faculty Council.
11
12   Faculty are represented on the following university committees and boards:
13
14       •   403(b) Investment and Plan Administrative Committee
15       •   Academic Advising Award Committee
16       •   Academic Affairs Committee - Board of Trustees
17       •   Academic Integrity Board
18       •   Academic Integrity Student Consultants
19       •   Academic Program Review Committee
20       •   All University Judicial Board
21       •   Campus Recreation Advisory Committee
22       •   Campus Violence Prevention Committee
23       •   Committee on Conflict of Interest in Sponsored Programs
24       •   Comprehensive Internationalization Committee
25       •   Continuing and Professional Education
26       •   Faculty Grievance and Appeals Panel
27       •   Fair Business Practices Committee
28       •   Grade Challenge Review Board
29       •   Institutional Biosafety Committee (IBC)
30       •   Issues Review Board (for staff grievances)
31       •   Library Review Board
32       •   Public Service Council
33       •   Quality of Instruction Council
34       •   Strategic Resource Allocation Committee
35       •   Student Activity Fee Board
36       •   Student Welfare Taskforce
37       •   Teaching Learning and Technology Committee
38       •   Tuition Pricing Committee
39       •   University Athletic Board
40       •   University Benefits and Compensation Committee
41       •   University Board on Faculty Promotion and Tenure
42       •   University Institutional Animal Care and Use Committee


                                                           9

                                                                               Calvente-DePaul 000009
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 209 of 408 PageID #:6131
                                                                                               July 1, 2018


 1      •   University Institutional Review Board for the Protection of Human Subjects (IRB)
 2      •   University Research Council
 3      •   University-wide Honors Program Committee
 4
 5   1.5 Amendment of the Faculty Handbook
 6
 7   The Faculty Handbook may be amended by the faculty. Changes to the Faculty Handbook take effect
 8   when accepted by the university president.
 9
10   The Faculty Handbook may be amended in either of two ways:
11
12      1. By the affirmative vote of least sixty percent (60%) of the members of the Faculty Council
13         present at the meeting, provided that those votes represent at least 50% of the total Faculty
14         Council membership; or
15      2. By submission of a proposed amendment over the signature of 10% of the regular full-time
16         faculty as a whole for ratification. The Committee on Committees will then task a committee to
17         oversee a referendum within 14 days. The amendment will be approved if a majority of the full-
18         time faculty cast referendum ballots and if at least two-thirds of the faculty members casting
19         ballots vote in favor of the amendment.




                                                      10

                                                                        Calvente-DePaul 000010
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 210 of 408 PageID #:6132

                                                                                                                       July 1, 2018


 1     CHAPTER 2. RECRUITMENT, APPOINTMENT, AND
 2     CATEGORIES OF FACULTY
 3
 4     2.1 Recruitment Policies ..................................................................................................... 2
 5     2.2 Initial Academic Appointments .................................................................................... 3
 6        2.2.1 General Criteria and Policies ................................................................................. 3
 7        2.2.2 Hiring With Tenure upon Initial Appointment ...................................................... 4
 8     2.3 Full-Time Faculty Appointments.................................................................................. 5
 9        2.3.1 Tenure-line Faculty ................................................................................................ 5
10        2.3.2. Term Faculty ......................................................................................................... 6
11            2.3.2.1. Definitions and Scope .................................................................................... 6
12            2.3.2.2 Term Faculty Ranks ........................................................................................ 7
13            2.3.2.3 Functional Titles ............................................................................................. 7
14            2.3.2.4 Responsibilities and Participation in Governance .......................................... 8
15            2.3.2.5 Hiring and Contracts ....................................................................................... 8
16            2.3.2.6 Reappointment and Termination..................................................................... 8
17        2.3.3 Special Appointments ............................................................................................ 9
18        2.3.4 Annual Performance Review ............................................................................... 10
19     2.4 Adjunct Faculty Appointments ................................................................................... 11
20        2.4.1 General Principles ................................................................................................ 11
21        2.4.2 Retired Faculty ..................................................................................................... 11
22        2.4.3 Professors Emeriti and Emeritae .......................................................................... 12
23     2.5 Other Instruction-Related Positions ............................................................................ 12
24        2.5.1 Academic Support Appointments ........................................................................ 12
25        2.5.2 Graduate Assistants and Fellows ......................................................................... 12
26     2.6 Change of Affiliation or Status ................................................................................... 12
27        2.6.1 Change of Affiliation ........................................................................................... 12
28        2.6.2 Change of Status .................................................................................................. 13
29     2.7 Summer Session Appointments .................................................................................. 13
30     2.8 Orientation of Faculty ................................................................................................. 14
31     2.9 Annual Reporting ........................................................................................................ 14


                                                                      1

                                                                                               Calvente-DePaul 000011
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 211 of 408 PageID #:6133

                                                                                               July 1, 2018


 1     CHAPTER 2. RECRUITMENT, APPOINTMENT, AND
 2     CATEGORIES OF FACULTY
 3
 4     This chapter defines categories of faculty and sets out DePaul University's policies for
 5     recruitment, appointment, and review of faculty members. It also addresses change of faculty
 6     affiliation or status and summer session appointments. As stated in Section 1.1 of this Handbook,
 7     the faculty as a whole is vested with primary governance responsibility for academic and
 8     scholarly activities and faculty personnel matters within the university. As a general rule, full-
 9     time faculty members (both tenure-line and term) are entitled to participate and vote in decisions
10     made in the academic programs, departments, schools, and colleges with which they are
11     affiliated. However, some matters including faculty hiring, tenure, promotion, and review are
12     restricted exclusively to tenure-line faculty.

13     2.1 Recruitment Policies
14
15     Academic deans, local academic unit officers, and academic program directors have
16     responsibility for initiating the process for faculty appointments, with the exception of the
17     position of dean.
18
19     Consultation with the tenure-line faculty of the local academic unit, as defined by the unit’s
20     written policies, is required for the appointment of all full-time faculty and local academic unit
21     officers. Only in rare instances and for compelling reasons will an appointment be made over the
22     expressed opposition of the local academic unit faculty. In such circumstance, the dean shall, in
23     writing, inform the local academic unit of the specific reasons for overturning the judgment of the
24     faculty.
25
26     Faculty involved in the search process are individually accountable for following the university’s
27     equal employment opportunity policies.
28
29     DePaul University provides equal employment opportunities to all employees and applicants for
30     employment. As an Equal Opportunity Employer, DePaul does not discriminate or permit
31     discrimination on the basis of race, color, religion, national origin, age, disability, sexual
32     orientation, gender identity, military or veteran status, genetic information, marital status, parental
33     status, ancestry, source of income, or any other classes protected by local, state, and federal law.
34
35     In order to provide for the most diverse and highest quality faculty, DePaul is committed to
36     searches conducted in the broadest possible markets.
37
38     Entry-level hiring for tenure-line positions presumes a national search. A national search is
39     defined by the practices of the disciplinary or interdisciplinary field and generally includes
40     advertisements as customary in the discipline, recruitment at national conventions, and similar
41     wide outreach.
42
43     In limited cases the requirements for a national search may be waived if a scholar of exceptional
44     merit has already been identified as a target of opportunity hire, particularly if that scholar would
45     enhance DePaul’s diversity profile or bring difficult to find expertise to the University.
46
47     A local academic unit’s written request to waive the search requirement for an
48     academic appointment must be approved by its tenure-line faculty. The request must convince the
49     dean and the provost that the candidate is fully qualified for the position. Evidence of the

                                                         2

                                                                             Calvente-DePaul 000012
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 212 of 408 PageID #:6134

                                                                                                July 1, 2018

 1     candidate's significant accomplishments and a rigorous review of the candidate's qualifications in
 2     teaching, research and other creative activities, and service are expected in the subsequent
 3     preparation of the appointment recommendation.

 4     2.2 Initial Academic Appointments

 5     2.2.1 General Criteria and Policies
 6
 7     The faculty has a major responsibility for fulfilling the principal functions of the university:
 8     teaching, scholarship, research and other creative activities, and service. DePaul appoints its
 9     faculty on the basis of scholarly achievement and the promise of continuing academic growth,
10     competencies directly related to the university’s academic goals and programs, and acceptance of
11     the principles as stated in the Employment Policies and Procedures section of this Handbook.
12
13     The principal criteria for initial appointment and promotion in academic rank are: quality of
14     teaching; scholarship, research or other creative activities; and service.
15
16     General university criteria are subject to further specification standards adopted by colleges,
17     schools and local academic units. Criteria, which are approved by and included in official
18     documents of the academic units, are as binding on the members of those units as are the general
19     university standards for which they provide explication. Should there be a difference between the
20     two sets of criteria, those of the university shall prevail.
21
22     Authority to appoint faculty rests with the university president. In practice, this authority is
23     regularly delegated to the provost, who carefully reviews the terms of the proposed faculty
24     contract before it is approved and issued. The review is to assure that the terms of the proposed
25     faculty contract are compatible with university policies, accepted academic standards, and
26     principles of equity with respect to other DePaul faculty members in comparable positions.
27
28     The Office of the Provost has overall responsibility for monitoring academic appointments. This
29     office establishes policies and procedures related to faculty employment that are compatible with
30     the general university guidelines. These guidelines assume, however, that most of the initial
31     responsibility for the selection process resides with academic deans, local academic officers, and
32     directors of academic offices.
33
34     Initial appointments are in contract form, each including:
35
36     1. Salary
37     2. Length of contractual service
38     3. Academic rank
39     4. Tenure status
40     5. Affiliation with an academic unit, that is, a particular college/school, academic department, or
41     academic program.
42
43     The offer letter to the faculty member includes specific terms, which are then incorporated into
44     the formal contract. The initial contract may be for one, two, or three years on the
45     recommendation of the academic dean and with the approval of the provost.
46
47     If the initial contract comes with tenure, it must meet the criteria of section 2.2.2 below. An initial
48     contract may not result from a Change of Status (2.6.2).


                                                         3

                                                                             Calvente-DePaul 000013
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 213 of 408 PageID #:6135

                                                                                                July 1, 2018

 1
 2     Two or more members of the same family may be given faculty appointments, even in the same
 3     college/school or local academic unit. However, such an appointment will not be made in a
 4     situation in which one member of the family holds an administrative position that requires a
 5     judgment on the other member’s qualifications for appointment and salary. Similarly, after the
 6     initial appointment, one member of a family is not eligible for an administrative appointment in a
 7     unit of the university that would require the above-mentioned judgments on the qualification of
 8     another member of the family.

 9     2.2.2 Hiring With Tenure upon Initial Appointment
10
11     The granting of tenure upon initial appointment shall be at the discretion of the local academic
12     unit officer, the dean, and the provost, after a rigorous peer review by the local academic unit’s
13     tenured faculty. The personnel committee of the unit (or equivalent) shall conduct an evaluation
14     of the candidate applying the unit’s tenure and promotion guidelines (which themselves must be
15     consistent with the university criteria) and shall report to the tenured faculty prior to the vote. All
16     initial appointments with tenure must include a vote of the local academic unit tenured faculty
17     with a recommendation for or against tenure.
18
19     The university hires a candidate with tenure upon initial appointment only if the individual
20     satisfies one or more of the following criteria:
21
22     1. Prior academic achievement comparable to incoming rank at DePaul;
23     2. Extensive, relevant non-academic experience; or
24     3. Appointment to provost, dean or local academic unit officer positions.
25
26     Persons who are already full-time or part-time employees of DePaul University in any capacity
27     (except “Visiting Faculty” as defined in Section 2.3.3) are not eligible for initial appointments
28     with tenure under this section, but must instead be first appointed without tenure to the tenure-line
29     faculty and subsequently evaluated under the tenure process outlined in Chapter 3 of this Faculty
30     Handbook.
31
32     Faculty hired with tenure at the rank of Associate Professor or Professor upon initial appointment
33     must have appropriate qualifications and prior experience. Only a candidate with an exceptional
34     record may be appointed with tenure under this section if the candidate has not previously been
35     granted tenure at another institution.
36
37     In order to appoint a new faculty member at the rank of full professor who has not previously
38     held that rank at a recognized college or university, there must be an evaluation of the candidate’s
39     scholarly or creative record by the local academic unit’s tenured faculty and a minimum of three
40     outside experts who have been sent the appropriate materials. Selection of reviewers and the
41     appropriate materials to submit to the reviewers follows the external review procedure described
42     in Chapter 3.
43
44     In order to appoint with tenure a candidate whose experience is primarily nonacademic, the
45     tenured faculty of the unit must include in the departmental vote and request for an appointment a
46     written case for the strength of the candidate’s non-academic experience.
47
48     Individuals under consideration for appointment to provost, dean, or local academic unit officer
49     positions can be appointed with tenure. These candidates must have demonstrated scholarly and

                                                          4

                                                                             Calvente-DePaul 000014
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 214 of 408 PageID #:6136

                                                                                                July 1, 2018

 1     academic credentials or extensive relevant experience. The administration initiates appointments
 2     with tenure to these positions. For dean or local academic unit officer positions, the provost, with
 3     a consultative vote of the tenured faculty on the issue of tenure within the appropriate unit, will
 4     make the initial appointment with tenure. When appointing a provost, the president, with a
 5     consultative vote of the tenured faculty on the issue of tenure within the appropriate unit, will
 6     make the initial appointment with tenure. When appointing a president, the Board of Trustees,
 7     with a consultative vote of the tenured faculty on the issue of tenure within the appropriate unit,
 8     will make the initial appointment with tenure. The university would normally provide an
 9     additional permanent position and funding to the local academic unit if and when the dean,
10     provost or president returns to a faculty position.

11     2.3 Full-Time Faculty Appointments
12
13     All full-time faculty fall into three categories: tenure-line faculty, term faculty and special
14     appointments.

15     2.3.1 Tenure-line Faculty
16
17     Tenure-line appointments may be at the rank of instructor awaiting terminal degree conferral,
18     assistant professor, associate professor, or full professor. All tenure-line appointments shall
19     involve an evaluation of the candidate’s qualification based on the approved policies and
20     procedures of the local academic unit, as well as a vote of the tenure-line faculty of the unit,
21     except under circumstances stipulated in Section 2.2.2.
22
23     Instructor Awaiting Terminal Degree Conferral
24
25     Candidates who are hired into tenure-line positions but have not successfully completed all
26     requirements for the terminal degree may be appointed to this rank with the stated expectation
27     that, upon conferral of the degree, the faculty member will be appointed to a tenure-line position
28     at the rank of assistant professor. Typically, the period of time as an instructor in this category
29     would be one year, and only under rare and compelling circumstances should it exceed two years.
30     Time in rank as instructor in this category may count towards tenure; the probationary period is
31     determined by an agreement between the dean and the faculty member in the initial contract as
32     assistant professor. The annual performance review process (Section 2.3.4) will be used to
33     determine whether contract renewal for the next academic year is appropriate and desired. The
34     tenure clock would start the September after the university receives confirmation of the
35     candidate’s terminal degree.
36
37     Assistant Professor. The doctorate or other terminal degree is required for this rank. Exceptions
38     are made for candidates who have already attained recognition for scholarly or other relevant
39     professional achievements and who give promise of continued academic development. The
40     assistant professor should demonstrate a potential for becoming an effective teacher, for pursuing
41     scholarship, research, and/or other creative activities, and for service.
42
43     Associate Professor. In addition to the requirements for assistant professor, the candidate must
44     demonstrate consistently effective teaching performance. The candidate should also show
45     evidence of notable scholarship, research, and/or other creative activities, and service. For this
46     rank, the candidate should show significant involvement in university activities at the local
47     academic unit and beyond. This rank is reserved for those with recognized academic
48     achievements.

                                                          5

                                                                             Calvente-DePaul 000015
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 215 of 408 PageID #:6137

                                                                                             July 1, 2018

 1
 2     Professor. In addition to the requirements for associate professor, candidates must give evidence
 3     of continued scholarship, research, and/or other creative activities, the quality of which is
 4     recognized by their peers inside and outside the university. Candidates for this rank must also
 5     show a record of notable service contributions at the university level. Effective teaching remains
 6     mandatory for this rank. This rank is reserved for those with recognized academic achievements.
 7
 8     Tenure-line Joint Appointments
 9
10     A faculty member may receive a joint appointment or affiliation in two local academic units. For
11     a joint appointment in two units, a candidate for initial appointment must be evaluated and
12     recommended by the faculty of both local academic units. The criteria for determining eligibility
13     for such a joint appointment are those for the usual initial appointment.
14

15     2.3.2. Term Faculty
16     2.3.2.1. Definitions and Scope
17
18     Term faculty positions are full-time, non-tenure-line, and do not lead to tenure.
19
20     The university uses term faculty positions to:
21        • Retain a cadre of effective and committed teachers who can provide instructional
22            continuity;
23        • Maintain flexibility in allocating resources for faculty positions;
24        • Bring in outstanding individuals who will enrich the learning experience through their
25            professional qualifications and experiences from careers outside academia;
26        • Provide additional time for scholarly pursuits of tenure-line faculty;
27        • Deal with exigent circumstances, such as replacing faculty on leave, filling vacancies that
28            occur too late to conduct an appropriate search for a tenure-line faculty appointment,
29            filling a vacancy resulting from an unsuccessful search for a tenure-line faculty member,
30            or staffing a new and developing program;
31        • Teach in and administer programs that would be too time consuming for tenure-line
32            faculty to oversee and/or require specialized skills or knowledge to run.
33
34     The university does not use term faculty positions to:
35
36         •   Permanently replace a tenure-line position;
37         •   Avoid adding new tenure-line positions when merited; or
38         •   Provide a safe harbor for faculty whose tenure status is in jeopardy. (Section 2.6.2)
39
40     The percentage of term faculty in a local academic unit should not be more than 30% of the full-
41     time faculty in that unit. Units may exceed 30% if approved by majority votes of the unit’s
42     tenure-line faculty and by the Faculty Council. Such exemptions are typically granted to: (i) units
43     with new or developing programs; (ii) units whose primary instructional programs involve
44     clinical and similar professional activities not usually covered by tenure-line faculty, and (iii)
45     units whose primary instructional obligations are not typically met by tenure-line faculty due to
46     extraordinary responsibility for service-level courses.
47
48     Term faculty may use the grievance and appeals processes set out in Chapter 5, except as
49     delimited by Section 2.3.2.6.

                                                        6

                                                                           Calvente-DePaul 000016
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 216 of 408 PageID #:6138

                                                                                               July 1, 2018

 1     2.3.2.2 Term Faculty Ranks
 2
 3     Term faculty may be appointed at the ranks of Instructor, Professional Lecturer, and Senior
 4     Professional Lecturer.
 5
 6     Instructor: A term faculty member without a terminal degree is usually hired at the rank
 7     of Instructor. Such faculty members are normally hired to satisfy short-term curricular
 8     needs and to provide support in staffing skills-oriented areas of the curriculum. The
 9     primary responsibility of instructors is teaching, and their duties usually do not involve
10     service to the unit or other professional activities. Instructors may be called upon to carry
11     out minor administrative functions to help support programmatic and teaching-related
12     activities. The College of Law, in keeping with the general practice of law schools, may
13     use the title Visiting Assistant Professor for individuals hired at the rank of Instructor.
14
15     Professional Lecturer: This rank is reserved for term faculty who satisfy one or more of the
16     following criteria:
17
18         •   Hold a terminal degree in their instruction area;
19         •   Have satisfactorily taught at the rank of instructor for three years; or
20         •   Possess professional qualifications and achievements equivalent to a terminal degree in
21             the relevant field.
22
23     The primary responsibility of professional lecturers is teaching, and their duties include service to
24     the unit and other professional activities deemed appropriate by the unit and the dean.
25     Professional Lecturers may be called upon to carry out minor administrative functions to help
26     support programmatic and teaching-related activities. An academic unit may also appoint to this
27     rank those who have equivalent professional experience upon initial hiring. After five years of
28     satisfactory service and upon a formal review by the unit, professional lecturers are eligible for
29     promotion to the rank of Senior Professional Lecturer.
30
31     Senior Professional Lecturer: This rank recognizes the contributions of term faculty who have
32     served at the rank of professional lecturer and have demonstrated superior performance as a
33     teacher. Senior Professional Lecturers may be called upon to carry out minor administrative
34     functions to help support programmatic and teaching-related activities. An academic unit may
35     also appoint to this rank those who have equivalent professional experience upon initial hiring.
36     After five years of satisfactory service and upon a formal review by the unit, professional
37     lecturers are eligible for promotion to this rank.
38
39     An academic unit may also appoint to this rank an individual who, upon initial appointment, has
40     equivalent professional experience. Senior professional lecturers have the same duties as
41     professional lecturers.

42     2.3.2.3 Functional Titles
43
44     Colleges may confer upon term faculty members functional titles to reflect their particular status
45     or role within the unit. The terms “Assistant Professor,” “Associate Professor,” and “Professor”
46     must only be used with a modifier. Such titles will not affect the person’s rank and should be set
47     out explicitly in his or her contract. Functional titles should not be created on an ad hoc basis, but
48     created and defined by each local academic unit to reflect its programs and special needs. The


                                                         7

                                                                            Calvente-DePaul 000017
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 217 of 408 PageID #:6139

                                                                                             July 1, 2018

 1     titles themselves, but not individual appointments, shall be approved in writing by the unit
 2     faculty, the dean and the provost.

 3     2.3.2.4 Responsibilities and Participation in Governance
 4
 5     The primary responsibility of term faculty will be teaching and, as such, term faculty
 6     appointments generally carry higher teaching loads than tenure-line appointments. However, term
 7     faculty also have a responsibility for continued professional development, for which the units
 8     must provide appropriate support. Continued professional development is a criterion for
 9     evaluation of term faculty.
10
11     Term faculty at the rank of professional lecturer or above may be involved in the typical service
12     activities of faculty in the unit. These activities may include advising and the creation and
13     supervision of the curriculum, based on the unit’s written policies. Term faculty have the right to
14     participate in faculty governance except in matters related to hiring, retention, promotion and
15     tenure. The local academic unit officer should ensure a fair balance of the term faculty members’
16     teaching load, service and administrative responsibilities, as well as the unit’s expectations for
17     continued professional development.
18
19     2.3.2.5 Hiring and Contract Duration
20
21     Term faculty members are initially hired on one- or two-year contracts.
22
23     An evaluation of the candidate’s qualifications and input by faculty of the local academic unit, as
24     specified in the unit’s personnel policies, must precede the initial hiring of a term faculty
25     member. In the absence of personnel policies regarding faculty input, hiring will require a vote of
26     the unit’s tenure-line faculty.
27
28     For initial appointment (and any subsequent reappointments), the duties of the term faculty
29     member and evaluation criteria must be specified in writing and approved by the unit or its
30     personnel committee.
31
32     Term faculty may be reappointed to one- or two-year terms as described in the following section.
33     The specific peer review and evaluation process for each unit or college will be developed by the
34     faculty and specified as part of the unit’s personnel policies. There is no limit to the number of
35     reappointments.
36
37     Upon the satisfactory completion of at least three years of service, a term faculty member will be
38     eligible for, and may apply for, a longer-term contract ranging from three to five years, with
39     specific length and duties determined based on the needs of the unit in consultation with unit
40     faculty. The application will be reviewed according to Section 2.3.2.6. Long-term contracts may
41     be renewed, with each renewal following the same formal review process used for the initial
42     appointment to a long-term contract. If the candidate is reappointed without a long-term contract
43     due to the candidate’s performance, he or she may reapply after two additional consecutive years
44     of service. If the candidate is reappointed without a long-term contract for any reason other than
45     the candidate’s performance, the candidate may reapply the following year.

46     2.3.2.6 Reappointment and Termination
47
48     Term faculty appointments carry no right of reappointment at the conclusion of a contract.

                                                        8

                                                                           Calvente-DePaul 000018
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 218 of 408 PageID #:6140

                                                                                             July 1, 2018

 1
 2     The dean or local academic unit officer shall give term faculty appropriate notice before a
 3     decision is made on reappointment. Term faculty may submit supporting materials for
 4     reappointment to the dean or the local academic unit officer, according to the unit’s performance
 5     review process.
 6
 7     The dean or local academic unit officer shall give term faculty written notice of the decision for
 8     reappointment or non-reappointment by April 10. The faculty member may report failure to
 9     provide timely notice of the decision to the next level academic officer. That notice shall be
10     provided within ten business days of the report of failure to provide timely notice.
11
12     Consideration of a long-term appointment for a term faculty member shall include an evaluation
13     by the unit (based on the unit’s written personnel policies), an opportunity for the candidate to
14     submit supporting documentation, a vote of the unit’s tenure-line faculty, and review by the dean
15     and provost.
16
17     Non-reappointment of an instructor or professional lecturer shall involve input by the faculty of
18     the local academic unit as specified in the unit’s personnel policies. In the absence of such
19     personnel policies regarding faculty input or review, the decision rests with the local academic
20     unit officer. Non-reappointment of senior professional lecturers requires a formal review process
21     by the unit.
22
23     Term faculty may not grieve the university decision’s not to reappoint. Term faculty may appeal
24     the university’s decision not to reappoint only on the grounds of academic freedom violation or
25     discriminatory practices prohibited by university policies or applicable federal, state, or local
26     laws. Term faculty appeal procedures are detailed in Chapter 5.
27

28     2.3.3 Special Appointments
29
30     Special appointments may take the form of visiting faculty, research faculty (for example, post-
31     doctoral fellows), and University Professors. These positions are so designated because the
32     appointment has a definite time limitation or is an appointment whose continuation is directly
33     connected to the faculty member’s program.
34
35     During the period of the visit, the university may consider appointing faculty holding a special
36     appointment for a tenure-line faculty appointment. Consideration for appointment with tenure
37     must follow procedures in Section 2.2.2. Consideration for appointment into a tenure-line but
38     untenured position must follow procedures in Section 2.3.1. The university’s requirement for an
39     outside search must be met, unless waived under the waiver standards of Section 2.1.
40
41     University Professor
42
43     The president may make special full-time university appointments. Such appointments are limited
44     to (i) high-level administrative staff, the nature of whose responsibilities include supervision of
45     academic policies or (ii) special honorific appointments in furtherance of the university’s goals
46     and mission. Special appointments are made by a formal contract which indicates the scope of
47     responsibilities and limitations attached to the appointment.
48


                                                        9

                                                                           Calvente-DePaul 000019
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 219 of 408 PageID #:6141

                                                                                             July 1, 2018

 1     Faculty appointed as university professor are not affiliated with any academic unit and may not
 2     participate in the governance, service, or educational activities of the unit except with the
 3     expressed consent of the tenure line faculty of the unit.
 4
 5     Visiting Faculty
 6
 7     Appointment as a visiting faculty member is reserved exclusively for faculty members who are
 8     employed by a home institution other than DePaul and retain that employment relationship during
 9     a full or part-time appointment at DePaul. The home institution of the visiting faculty member
10     will ordinarily be another institution of higher education, but may be a foundation, a corporation
11     or a government agency or other appropriate body. In rare cases, artists or scholars of national
12     stature who do not have a home academic institution may be considered for visiting faculty
13     positions.
14
15     Visiting faculty members may have the titles Visiting Assistant Professor, Visiting Associate
16     Professor, or Visiting Professor. The qualifications for each rank are the same as for initial
17     appointment of tenure-line faculty. Visiting faculty may be offered contracts not to exceed two
18     years, with approval of the tenure-line faculty of the relevant unit and of the dean and provost.
19
20     The College of Law, in keeping with the general practice of law schools, may use the title
21     Visiting Assistant Professor for individuals hired at the rank of Instructor.
22
23     Research Faculty
24
25     The university may grant a research faculty position to a person engaged primarily in scholarship
26     or professional activities relevant to the work of the university. The local academic units
27     recommend research faculty appointments and reappointments based on established policies and
28     procedures of the unit, subject to the approval of the dean and the provost. These appointments
29     may be at the rank of research assistant professor, research associate professor, or research
30     professor, provided that the research faculty member possesses the educational and scholarship
31     qualifications appropriate to the particular rank. The local academic unit will specify the nature
32     and extent of the duties research faculty members in consultation with the director of the relevant
33     center, institute, or group with which the research faculty member will be associated. The
34     university will provide the description of duties in a letter of appointment. The research faculty
35     should not expect employment beyond the contract period. These appointments carry no
36     implication of, or credit towards, academic tenure.
37
38     Research faculty will normally have sources outside the university to fund their salaries, such as
39     external grants or funds provided through other institutions. Exceptions will require the provost’s
40     written approval upon recommendation of the local academic unit. Research faculty receive
41     resources and access to university facilities as determined by the local academic unit officer or
42     the director of the center, institute, or group with which they have affiliated.

43     2.3.4 Annual Performance Review
44
45     All tenure-line and term faculty are reviewed annually. This annual process consists of a review
46     and evaluation of performance during the preceding academic year based on the local academic
47     unit’s criteria and responsibilities. The review may serve one or more of the following purposes:
48


                                                       10

                                                                           Calvente-DePaul 000020
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 220 of 408 PageID #:6142

                                                                                             July 1, 2018

 1     1. to provide an opportunity for feedback on performance during the preceding year, to
 2     communicate expectations, and to develop goals for the coming year;
 3     2. to determine salary recommendations;
 4     3. in the instance of term faculty and instructor awaiting terminal degree conferral, to determine
 5     whether contract renewal for the next academic year is appropriate and desired.
 6
 7     Reviews of performance are written processes implemented by the local academic unit officer or
 8     dean.
 9     Salary recommendations, while part of the annual review process, may use criteria and
10     considerations somewhat different from decisions on contract renewal or promotion and tenure.
11     Salary decisions are made in accordance with university budget guidelines and usually are made
12     at a different time during the academic calendar year. Salary decisions may result in a merit
13     increase when budgets allow. Salary decisions may include increases for such things as equity
14     and market adjustments. The academic dean of the respective college or school makes salary
15     recommendations to the provost.
16     A faculty member with a formal faculty appointment in more than one academic unit shall be
17     evaluated by the home unit and shall be evaluated independently by the second unit if it so
18     chooses or if requested to do so by either the candidate or by the home unit.
19

20     2.4 Adjunct Faculty Appointments
21
22     An adjunct faculty appointment allows an individual to contribute to the instructional program of
23     a local academic unit, center, or institute. Adjunct faculty are appointed on a course-by-course
24     basis. The appointments are part-time and do not lead to tenure.

25     2.4.1 General Principles
26
27     The dean of a college appoints adjunct faculty to provide instruction in specific courses.
28     Appointment of adjunct faculty should involve input by the local academic unit. The university is
29     not obligated to reappoint adjunct faculty. Adjunct faculty may use the grievance process set out
30     in Chapter 5.

31     2.4.2 Retired Faculty
32
33     A retired faculty member may be offered a limited faculty assignment with adjunct status.
34     The usual reasons for offering such an assignment are:
35
36     1. the need of the college or local academic unit for the specific and unusual competencies of the
37     retired faculty member and;
38     2. quality of teaching or other academic endeavors, with reference to current developments in the
39     field.
40
41
42     The decision to offer a limited assignment to a retired faculty member rests principally with the
43     academic dean, following local academic unit consultation. The dean shall submit his or her
44     written decision to the provost for final approval.



                                                       11

                                                                           Calvente-DePaul 000021
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 221 of 408 PageID #:6143

                                                                                              July 1, 2018


 1     2.4.3 Professors Emeriti and Emeritae
 2
 3     The university may bestow the title of Professor Emeritus or Professor Emerita upon retirement.
 4     Those eligible for emeritus status are tenured faculty members who have contributed substantially
 5     to the university’s mission and who have ordinarily served at least seven years as a faculty
 6     member. Exceptions to these criteria must be approved by the provost.
 7
 8     Prior to the individual’s retirement, the tenured members of the local academic unit may
 9     recommend the retiring faculty member for the honorary status of Professor Emeritus or
10     Professor Emerita by sending a letter to the dean describing the person’s contributions. The dean
11     forwards his or her recommendation to the provost who, in turn, makes a recommendation to the
12     president, who then makes the final appointment.
13

14     2.5 Other Instruction-Related Positions

15     2.5.1 Academic Support Appointments
16
17     Members of the staff whose duties include teaching are not members of the full-time faculty.

18     2.5.2 Graduate Assistants and Fellows
19
20     Graduate assistants and graduate teaching fellows are appointed by the appropriate dean on the
21     recommendation of the local academic unit officer. They do not possess faculty status.
22     The appointment of a graduate assistant or graduate teaching fellow is subject to the approval by
23     the dean.
24

25     2.6 Change of Affiliation or Status

26     2.6.1 Change of Affiliation
27
28     With the written agreement of the faculty member, the faculty member’s affiliation may be
29     changed to a different local academic unit. The contract will reflect the new affiliation.
30
31     Transfer of affiliation may be initiated by the faculty member, by the dean, or by the local
32     academic unit officer to which the transfer is proposed. Eligibility is determined by the same
33     criteria used for an initial faculty appointment.
34
35     The faculty member will normally retain the same rank following the transfer. In special
36     situations, the faculty and local academic unit officer in the accepting unit may require the faculty
37     member to accept a lower rank. In no instance may a faculty member receive a promotion
38     through a change of affiliation.
39
40     A tenured faculty member transferring to another unit retains tenure. An untenured faculty
41     member must complete the same number of probationary years as remained in the former unit.
42     The number of years of probationary service may be extended upon agreement with the faculty
43     member.
44

                                                        12

                                                                           Calvente-DePaul 000022
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 222 of 408 PageID #:6144

                                                                                             July 1, 2018

 1     A member of a local academic unit may request an additional affiliation, resulting in a joint
 2     appointment. In such cases, the faculty, the dean, and the local academic unit officer in which the
 3     second appointment is to be made are responsible for evaluating and recommending the joint
 4     appointment. Joint appointments require the qualifications necessary for appointment at the
 5     tenure status and rank according to each unit’s standards.

 6     2.6.2 Change of Status
 7
 8     Any change in rank or tenure is a change of status. All changes of status must follow established
 9     procedures. A change of status does not confer tenure, unless the process meets the tenure
10     procedures in this Handbook.
11
12     A change of status occurs if a tenure-line faculty member is not renewed. Such a faculty member
13     is not eligible for a full-time faculty position for a period of five years. Faculty members denied
14     tenure shall never be eligible for any faculty appointment.
15
16     A change of status also occurs if a full-time or part-time faculty member who is not a tenure-line
17     faculty member seeks to become a tenure-line faculty member. The change of status from non-
18     tenure-line to tenure-line requires evidence of a national search or a request from the local
19     academic unit’s faculty for a waiver from a national search. A waiver request must come from a
20     majority of the local academic unit’s tenure-line faculty and be approved by the dean and the
21     provost. The change of status from non-tenure-line to tenure-line also requires participation of the
22     local academic unit’s tenure-line faculty, including at least a majority vote of that faculty as
23     determined by procedures laid out in the local academic unit guidelines and the Faculty
24     Handbook.
25

26     2.7 Summer Session Appointments
27
28     The dean, after consultation with the local academic unit officers, and considering the resources
29     and needs of the college, decides which courses, workshops or other programs will be offered in
30     the summer sessions and which faculty members will conduct them. Faculty members with a ten-
31     month contract may accept or decline courses offered to them during the summer. The university
32     does not guarantee summer session appointments.
33
34     University policy regarding summer course assignments consists of the following principles:
35
36     1. Two courses running concurrently constitute a full load; the dean’s explicit approval is
37     required for any overload assignment.
38     2. Faculty members receiving full summer compensation from an external grant may not be
39     assigned summer courses unless such instruction is among the terms of the grant. Faculty
40     members receiving partial summer compensation from an external grant may have a
41     partial summer course assignment, provided that the combined compensation does not exceed the
42     amount they could receive for a full summer course load.
43     3. Within the bounds established by principles #1 and #2, assignments should be made on an
44     equitable basis.
45
46     Within the standards set by general university policy, each college develops its own policy for
47     determining the programs to be offered over the summer and for making summer session
48     appointments.

                                                       13

                                                                           Calvente-DePaul 000023
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 223 of 408 PageID #:6145

                                                                                            July 1, 2018

 1
 2     For summer students enrolled for semester credit (4.5 quarter hours), faculty are expected to
 3     assign additional work commensurate with the additional credit.
 4
 5     Full-time faculty members with ten-month contracts receive additional salary for teaching in the
 6     summer. The rate of summer compensation is subject to periodic review involving the
 7     participation of faculty members. Teaching in a summer session may be part of the normal
 8     assignment of faculty members who have a 12-month contract, in which case no additional salary
 9     is paid. Adjunct faculty members who teach in a summer session will receive the same
10     compensation as for a course offered during the academic year.
11

12     2.8 Orientation of Faculty
13
14     The Office of Academic Affairs offers a yearlong series of orientations for new full-time faculty,
15     including an introductory orientation at the beginning of each academic year. The Office of
16     Human Resources also offers frequent workshops describing personnel policies, benefits, and
17     general employee information. Colleges and academic units may offer additional academic
18     orientation.
19
20     Local academic units, colleges, and university offices are encouraged to provide comprehensive
21     orientation and ongoing development support for their term and adjunct faculty in order to
22     welcome and acculturate them to the DePaul community.

23     2.9 Annual Reporting
24
25     The provost will annually report to Faculty Council on the composition of the faculty including
26     tenure-line, term, and adjunct faculty; percentages of tenure-line, term, and adjunct faculty
27     appointments by academic units and colleges; current titles in use; and any other pertinent
28     information concerning faculty appointments. Academic deans shall report the same information
29     to their respective faculties annually.




                                                       14

                                                                          Calvente-DePaul 000024
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 224 of 408 PageID #:6146

                                                                                                                          July 1, 2018




 1     CHAPTER 3. PROMOTION AND TENURE STANDARDS AND
 2     PROCEDURES
 3
 4     3.1      Overview .................................................................................................................. 4
 5     3.2      Probationary Service ................................................................................................ 4
 6       3.2.1 Length of Probationary Period ............................................................................... 4
 7            3.2.1.1 Assistant Professors Credit for Prior Service.................................................. 5
 8            3.2.1.2 Associate or Full Professors Credit for Prior Service ..................................... 5
 9            3.2.1.3 Non-tenure-line Full-Time Appointments ...................................................... 5
10       3.2.2 Leaves of Absence ................................................................................................. 5
11     3.3      Types of Review for Tenure-Line Faculty............................................................... 5
12       3.3.1 Probationary Tenure-Line Reviews ....................................................................... 6
13            3.3.1.1        Formal Tenure-line Probationary Reviews ............................................... 6
14            3.3.1.2 Informal Tenure-line Probationary Reviews .................................................. 7
15            3.3.1.3        The Tenure Review ................................................................................... 7
16       3.3.2 Promotion in Rank ................................................................................................. 7
17     3.4.     Criteria for Promotion and Tenure ........................................................................... 7
18       3.4.1.       Requirements by Rank...................................................................................... 7
19       3.4.2        University-wide Criteria ................................................................................... 8
20            3.4.2.2        Scholarship, Research, or Other Creative Activities ................................. 8
21            3.4.2.3        Service ..................................................................................................... 10
22       3.4.3        Local Academic Unit and College Guidelines ............................................... 10
23       3.4.4        Institutional Considerations ............................................................................ 11
24     3.5       Process for Tenure and Promotion........................................................................ 11
25       3.5.1 General Principles ................................................................................................ 11
26            3.5.1.1 Common Processes ....................................................................................... 11
27            3.5.1.2 Guidelines Specific to Multi-Unit Appointments ......................................... 13
28            3.5.1.3 Guidelines for Evaluating Collaborative Work ............................................ 14
29       3.5.2          Processes Common to All Evaluation Levels................................................ 14
30            3.5.2.1        Signing Statement ................................................................................... 15
31            3.5.2.2        Minority Report ....................................................................................... 15
32       3.5.3 Local Academic Unit ........................................................................................... 15
33       3.5.4          Local Academic Unit Is College ................................................................... 16


                                                                        1

                                                                                                 Calvente-DePaul 000025
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 225 of 408 PageID #:6147

                                                                                                                          July 1, 2018


 1           3.5.4.1 Personnel Committee (optional) ................................................................... 16
 2           3.5.4.2         Tenured Faculty of the College ............................................................... 16
 3           3.5.4.3         Dean ........................................................................................................ 16
 4           3.5.4.4         Candidate Response to College Review.................................................. 16
 5       3.5.5        Local Academic Unit Is Not College ............................................................. 17
 6           3.5.5.1         Local Academic Unit Personnel Committee (Optional) ......................... 17
 7           3.5.5.2         Tenured Faculty of the Local Academic Unit ......................................... 17
 8           3.5.5.3         Local Unit Academic Officer (Unit Chair or Director)........................... 17
 9           3.5.5.4         Candidate Response to Local Academic Unit Review ........................... 17
10           3.5.5.5         College-Level Personnel Committee ...................................................... 18
11           3.5.5.6         Dean ........................................................................................................ 18
12           3.5.5.7 Candidate Response to College Review ....................................................... 18
13       3.5.6        University Review .......................................................................................... 18
14           3.5.6.1 University Board on Promotion and Tenure ................................................. 18
15           3.5.6.2 Candidate Response to UBPT ....................................................................... 19
16           3.5.6.3 Provost Decision ........................................................................................... 19
17       3.5.7 Detailed Procedures ............................................................................................. 19
18           3.5.7.1         Committees.............................................................................................. 19
19           3.5.7.2         Local Academic Unit (Not College) Personnel Committees .................. 19
20           3.5.7.3         Tenured Faculty of the Local Academic Unit ......................................... 20
21           3.5.7.4         College Personnel Committees ............................................................... 20
22           3.5.7.5         University Board on Promotion and Tenure ........................................... 20
23     3.6     Materials ................................................................................................................ 21
24       3.6.1 Dossier ................................................................................................................. 21
25           3.6.1.1 Items Supplied By Candidate........................................................................ 21
26           3.6.1.2 Items Supplied By Academic Unit and College ........................................... 21
27           3.6.1.3 Additions to the Dossier ............................................................................... 22
28       3.6.2 External Letters .................................................................................................... 22
29           3.6.2.1         Authors of External Letters ..................................................................... 23
30           3.6.2.2         External Letter Contents.......................................................................... 23
31           3.6.2.3         Confidentiality of External Letters .......................................................... 23
32           3.6.2.4         Suggested Sample Letter ......................................................................... 23
33       3.6.3 Student Input ........................................................................................................ 24
34           3.6.3.1 Student Input Instrument............................................................................... 24


                                                                       2

                                                                                                 Calvente-DePaul 000026
    Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 226 of 408 PageID #:6148

                                                                                                                         July 1, 2018


1           3.6.3.2 Evaluation and Submission of Student Input Data ....................................... 25
2     3.7     Appeal .................................................................................................................... 25
3     3.8 Schedule for Informal and Formal Reviews ............................................................... 26
4     3.9     Schedule for Promotion and Tenure ...................................................................... 27
5
6




                                                                      3

                                                                                                Calvente-DePaul 000027
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 227 of 408 PageID #:6149

                                                                                            July 1, 2018


 1     CHAPTER 3. PROMOTION AND TENURE STANDARDS AND
 2     PROCEDURES
 3

 4     3.1     Overview
 5
 6     Faculty members contribute to DePaul University as the primary creators of a vibrant academic
 7     community. The university seeks to foster an environment that provides professors with enriching
 8     opportunities to guide students, pursue scholarship and creative activities, and advance the
 9     institution's well-being.
10
11     DePaul honors and rewards faculty members for their professional achievements. It maintains a
12     system of faculty evaluation that relies heavily on the views of faculty. Exercising professional
13     judgment, experienced faculty evaluate the work of their colleagues for renewal, promotion, and
14     tenure.
15
16     Tenure is the foundation of academic freedom and the quality of the university. It is neither an
17     end in itself nor a privilege exempting the individual from the obligation to make future
18     contributions. It is, rather, a status that society recognizes as promoting the common good.
19     Before granting tenure, the university should have no reasonable doubt about the faculty
20     member’s demonstrated qualifications and continued capacity to contribute to DePaul’s
21     distinctive goals and academic mission. Tenure creates the presumption of continuing
22     employment, unless the university, using established procedures and faculty guidance, proves that
23     countervailing circumstances exist.
24
25     This chapter sets out DePaul University's standards and procedures for evaluating its tenure-line
26     faculty.
27

28     3.2     Probationary Service
29
30     The probationary period is defined as the candidate’s time of continuous service in full-time
31     tenure track at DePaul, at the end of which the tenure decision is made. During the probationary
32     period, a tenure-line faculty member undergoes annual formal or informal evaluations for
33     contract renewal or nonrenewal. In the final year of probationary service, the faculty member may
34     apply for tenure and promotion. An unsuccessful candidate for tenure will not be offered a
35     contract renewal, but will be offered a terminal contract of one year for the academic year
36     following the academic year in which the faculty member applied for tenure.
37

38     3.2.1 Length of Probationary Period
39
40     The maximum probationary period is six years excluding certain types of leaves that suspend the
41     clock as described in Section 3.2.2. The probationary period may be reduced by agreement based
42     on full-time prior academic service. The initial tenure-line contract must state any agreed-upon
43     credit for prior service.
44
45

                                                       4

                                                                          Calvente-DePaul 000028
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 228 of 408 PageID #:6150

                                                                                             July 1, 2018

 1     3.2.1.1 Assistant Professors Credit for Prior Service
 2
 3     A prospective faculty member recruited to DePaul as an assistant professor may have previously
 4     held a full-time faculty appointment at another college or university. The length of the
 5     probationary period at DePaul may be reduced by one, two, or three years, upon agreement of the
 6     individual and the university at the time of appointment. The initial faculty contract must state
 7     any agreed-upon credit for prior service.
 8
 9     3.2.1.2 Associate or Full Professors Credit for Prior Service
10
11     A prospective faculty member recruited to DePaul as an associate or full professor may receive
12     an appointment without tenure. Upon agreement of the individual and the university at the time of
13     appointment, one, two, three, or four years of prior full-time faculty service at another college or
14     university may be credited to the probationary period at DePaul. The faculty member's initial
15     contract must reflect the agreed-upon amount of credit for prior service and the review schedule.
16     Regardless of the amount of credit, the individual will not be evaluated for tenure without having
17     had at least one formal probationary evaluation at DePaul prior to the tenure evaluation.
18
19     3.2.1.3 Non-tenure-line Full-Time Appointments
20
21     As a general norm, the years a faculty member has spent at DePaul University in a non-tenure-
22     line full-time appointment (e.g., instructor or visiting professor) do not count toward the
23     probationary period. If a faculty member’s status changes to a tenure-line appointment, the
24     individual and the university may agree to credit one or more years of special appointments
25     toward the probationary period. The faculty member's initial contract for a tenure-line full-time
26     appointment must reflect the agreed-upon amount of credit for the prior service at DePaul.
27     Regardless of the amount of credit, the individual will not be evaluated for tenure without having
28     had at least one formal probationary evaluation at DePaul prior to the tenure evaluation.
29

30     3.2.2 Leaves of Absence
31
32     A leave of one quarter or longer may interrupt the faculty member’s probationary period.
33
34     If an untenured tenure-line faculty member takes a leave as defined by DePaul policies, including
35     family or medical leave, research leave, teaching leave, or military service leave, the year during
36     which the leave occurs is normally not considered as a year of probationary service, and the leave
37     does not break the required continuity of full-time service. If the candidate, however, wishes for
38     the leave not to affect the length of the probationary period, he or she must notify the dean in
39     writing within six months upon return from the leave.
40     Faculty sometimes request and are granted a personal leave that does not fall into any of the
41     categories covered in the prior paragraph. If a candidate takes such a leave, the provost makes the
42     decision on how the leave affects the probationary period. (Section 6.7.)
43

44     3.3     Types of Review for Tenure-Line Faculty
45


                                                        5

                                                                           Calvente-DePaul 000029
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 229 of 408 PageID #:6151

                                                                                             July 1, 2018


 1     3.3.1 Probationary Tenure-Line Reviews
 2
 3     During the probationary period, the probationary tenure-line faculty member will be subject to
 4     annual probationary reviews conducted by the faculty member’s local academic unit. In colleges
 5     with departments, the local academic unit is, in colleges with departments, the department or
 6     similar body. In other colleges, it is the lowest-level body conducting reviews for tenure and
 7     promotion.
 8
 9     Probationary reviews serve three major purposes:
10
11     1.      To a           ssess the faculty member's progress toward promotion
                                                                             /or tenure,
                                                                                    and measuring the
12     individual against the established criteria
13
14     2.      To provide clear and consistent guidance and develop priorities for the faculty member
15     toward fully satisfying the criteria, and
16
17     3.      To recommend for or against renewal.
18
19     Three types of probationary reviews apply to tenure-line faculty who are untenured: informal,
20     formal, and the tenure review. Each evaluation leads to a decision for renewal or nonrenewal (see
21     also Section 4.2).
22
23     The dean normally makes a recommendation on annual renewal and nonrenewal. If the dean does
24     not concur in the recommendation of a local academic unit, the dean shares his or her
25     recommendation with the local academic unit. The local academic unit may appeal the dean’s
26     recommendation to the provost. In such cases, the dean and the department or unit provide the
27     provost with written reasons for their respective positions. The provost makes the final decision
28     and reports it to the candidate. A faculty member who is not renewed may file an appeal.
29     (Chapter 5)
30
31     A formal review must precede a decision in year five to issue a terminal contract. In case of
32     nonrenewal, the candidate is not eligible to apply for tenure or promotion.

33     3.3.1.1 Formal Tenure-line Probationary Reviews
34
35     A formal probationary review is designed to prepare a faculty member for the tenure process and
36     to document areas that need the faculty member's attention. In a formal review, the local
37     academic unit considers the candidate’s personal statement and CV, evidence of scholarship or
38     documentation of creative activity, student evaluations, evidence of service, and other materials
39     specified by policies of the local academic unit or college.
40
41     Each local academic unit or its personnel committee conducts a formal review of untenured
42     tenure-line faculty no less often than every two years. The tenured faculty of the local academic
43     unit then vote by separate secret ballots on (1) adequate progress toward tenure and (2) renewal.
44     The faculty prepare a report that clearly details areas of strength and areas for improvement. The
45     report is explicit about the faculty member's progress towards tenure. Copies of this report are
46     forwarded to the candidate and the dean. The dean writes a separate letter to the provost with a
47     recommendation regarding renewal or nonrenewal. If a formal review raises serious concerns
48     about the candidate’s potential for attaining promotion or tenure, the local academic unit faculty,
49     local academic unit officer, or dean may mandate that the next year’s annual review be formal.


                                                        6

                                                                           Calvente-DePaul 000030
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 230 of 408 PageID #:6152

                                                                                            July 1, 2018


1
 2     3.3.1.2 Informal Tenure-line Probationary Reviews
 3
 4     The purpose of an informal review is to recommend for or against contract renewal and to address
 5     progress towards tenure in review periods when a formal review is not conducted.
 6
 7     In years in which a formal review is not conducted, the chair, dean, or, where applicable,
 8     appropriate committee conducts an informal review of the faculty member, according to
 9     processes specified in local academic unit or college policies, that results in a written
10     recommendation to the provost, with a copy to the candidate.
11
12     3.3.1.3 The Tenure Review

13
14     The tenure review is the final review during the probationary period. It begins with the
15     candidate’s tenure application and concludes with the provost’s decision to grant or deny tenure.
16     It is a formal review involving university-wide consideration under detailed procedures. It
17     includes solicitation of opinions from external reviewers and from students. The tenure review
18     examines the faculty member’s accomplishments and assesses the likelihood of future
19     accomplishments.
20
21     Before granting tenure, the university should have no reasonable doubt about the faculty
22     member’s demonstrated qualifications and continued capacity to contribute to DePaul’s
23     distinctive goals and academic mission.

24     3.3.2 Promotion in Rank
25
26     Ordinarily, an assistant professor applies for tenure and promotion simultaneously. The candidate
27     receives either both promotion to associate professor and tenure or neither promotion nor tenure.
28     Only an associate professor may apply for promotion for full professor.
29
30     A faculty member ordinarily serves three to six years in a given rank before promotion. See
31     Section 3.5.1.1 (m) for details.
32
33     There is no limit to the number of times a faculty member may apply for promotion to full
34     professor. In the event of a denial of promotion, the faculty member may not re-apply for
35     promotion in the year immediately following the denial.

36     3.4.    Criteria for Promotion and Tenure

37     3.4.1. Requirements by Rank
38
39     Assistant Professor. The doctorate or terminal degree is required for this rank. Exceptions are
40     made for candidates who have already attained recognition for scholarly or other relevant
41     professional achievements and who give promise of continued academic development. The
42     assistant professor should demonstrate a potential for becoming an effective teacher, for pursuing
43     scholarship, research, and/or other creative activities, and for service.
44

                                                        7

                                                                          Calvente-DePaul 000031
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 231 of 408 PageID #:6153

                                                                                               July 1, 2018

 1     Associate Professor. In addition to the requirements for assistant professor, the candidate must
 2     demonstrate consistently effective teaching performance. The candidate should also show
 3     evidence of notable scholarship, research, and/or other creative activities, and service. For this
 4     rank, the candidate should show significant involvement in university activities at the local
 5     academic unit and beyond. This rank is reserved for those with recognized academic
 6     achievements.
 7
 8     Professor. In addition to the requirements for associate professor, candidates must give evidence
 9     of continued scholarship, research, and/or other creative activities – the quality of which is
10     recognized by their peers inside and outside the university. Candidates for this rank must also
11     show a record of notable service contributions at the university level. Effective teaching remains
12     mandatory for this rank. This rank is reserved for those with recognized academic achievements.

13     3.4.2   University-wide Criteria
14
15     DePaul University appoints, retains, promotes, tenures, and rewards faculty who best help the
16     university fulfill its mission, as articulated in the university's Mission Statement and Faculty
17     Handbook. The principal criteria for tenure and advancement in academic rank are: teaching and
18     learning; scholarship, research, or other creative activities; and service. In evaluating faculty for
19     promotion or tenure, local academic units specify more detailed guidelines that provide unit- and
20     discipline-specific articulations of the university-wide criteria (Section 3.4.3.)
21
22     3.4.2.1 Teaching and Learning
23
24     Effective teaching is the first requirement in decisions at all levels on appointment, retention,
25     promotion, and tenure. Teaching evaluation must be done in a systematic, documented manner,
26     including contributions from the candidate's students and peers. Effective teaching involves:
27
28                 •    Command of material
29                 •    Effective communication of subject matter
30                 •    Development and articulation of appropriate and thorough learning objectives for
31                      each course taught
32                 •    Delivery of course content that is appropriate to the level of the course, its
33                      description in the course catalog, and its student audience
34                 •    Probing and fair methods of evaluating students
35                 •    Success in bringing students to an acceptable level of performance and in
36                      challenging them to grow intellectually and morally
37
38     Instructional activities outside the classroom, such as course development (individual or
39     collaborative), academic advisement, accessibility to students, supervision of independent study,
40     and contributions to meeting departmental instructional needs, are also relevant.
41
42     3.4.2.2 Scholarship, Research, or Other Creative Activities

43
44     Throughout their professional lives, all tenure-line faculty members should engage in scholarship,
45     research, or other creative activities. Each requires disseminating the results of completed projects
46     in academic and artistic arenas outside DePaul.
47

                                                         8

                                                                            Calvente-DePaul 000032
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 232 of 408 PageID #:6154

                                                                                                 July 1, 2018

 1     The university evaluates untenured tenure-line faculty based on their total output of work.
 2
 3     Scholarship, while including research, is a broader concept. Research traditionally refers to
 4     discovery using the disciplinary methodologies for investigation and production of new
 5     knowledge in the humanities, social and natural sciences, and mathematics. Research is usually
 6     shared through presentations at professional meetings and academic publications. Scholarship is
 7     a broader term encompassing the four separate but overlapping functions of a quality faculty
 8     member: discovery, integration, application, and teaching.
 9
10                  •   Original discovery advances knowledge within the context of a disciplinary or
11                      multi-disciplinary field and practice, contributing significantly to knowledge and
12                      the intellectual life of the university. Research falls into the category of
13                      discovery.
14                  •   Integration develops knowledge through cross- and multi-disciplinary
15                      investigations, allowing new fields of inquiry to develop.
16                  •   The application of knowledge uses research findings in responsible ways to
17                      address contemporary societal problems through interaction with the larger
18                      community.
19                  •   The study of teaching experiences leads to the development of better pedagogical
20                      methods and tools.
21
22     Creative activities refer to activities other than scholarship. Creative activities result in products
23     in the fine arts, such as the visual arts, the literary arts, and the performing arts, and their
24     combinations and supportive activities. These can also be addressed as objects of scholarship
25     through any of the four functions listed above.
26
27     Evidence of research, scholarship, or creative activities should include, at a minimum:
28                • A current and complete curriculum vitae
29                • Copies of the project results where feasible
30                • If applicable, documentation sufficient to substantiate the candidate’s
31                     contributions to collaborative projects, as specified in the local academic unit
32                     guidelines
33                • Assessment of the contributions by professional peers and other experts in the
34                     field
35                • Self-assessment concerning scholarly or creative growth and development
36
37     The University evaluates research, scholarship, and creative activities in light of their:
38                • Originality
39                • Contribution to knowledge
40                • Conceptual or artistic sophistication
41                • Intellectual rigor or artistic skills
42                • Effective application of knowledge to address human problems or needs
43                • Effective communication of knowledge to audiences beyond the classroom
44
45     Scholarship or creative activities that cannot be evaluated by these criteria will not be considered
46     for promotion and tenure. An academic unit may evaluate oral presentations or creative activities
47     by various means including (but not limited to) listening to recordings, examining drafts, or
48     soliciting the views of other scholars (including other members of the DePaul faculty) who were
49     in attendance.
50

                                                          9

                                                                              Calvente-DePaul 000033
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 233 of 408 PageID #:6155

                                                                                               July 1, 2018

 1     Activities conducted solely within the candidate's classes, or designed merely to keep a candidate
 2     abreast of scholarly development in a field, are considered in evaluating the candidate's teaching,
 3     not in evaluating his or her contributions in scholarship, research, or other creative activities.
 4
 5     3.4.2.3 Service
 6
 7     Service consists of documented activities that
 8                 • Benefit the university and its academic units, professional associations, the
 9                     community, or the broader public
10                 • Are consistent with the university's mission
11                 • Clearly benefit from the expertise of the faculty member -- either the specialized
12                     expertise of the faculty member's field or the professional skills possessed by all
13                     members of the faculty
14
15     Service may be provided to the university, the profession, and the community. The amount and
16     nature of service are correlated with academic rank.
17
18     University service consists of contributions to the enhancement of the institution's internal
19     processes and its relationships with external bodies. All faculty members must serve in their local
20     academic unit (unless assigned to a position such as associate dean that precludes such service).
21
22     Professional service consists of contributions to the organizations or associations of the faculty
23     member's academic discipline or the professoriate. Professional service may have a component of
24     scholarship or creative activities.
25
26     Community service activities contribute to the public welfare outside the institution, consistent
27     with the Vincentian tradition of DePaul University. Activities consistent with a faculty member's
28     expertise but that could be done by someone without that expertise do not qualify as community
29     service. In some instances, it will not be obvious whether an activity counts as community
30     service. In those cases, it is the responsibility of the candidate to make the case demonstrating that
31     the activity qualifies as service as the term is used here.
32

33     3.4.3   Local Academic Unit and College Guidelines
34
35     Local academic units and colleges have the responsibility to adopt written guidelines and policies
36     for tenure-line faculty evaluation. These guidelines have two purposes: (1) they provide unit- or
37     college-specific articulations of university-wide criteria based on the professional discipline,
38     field, or interdisciplinary area, including collaborative work, as applicable; and (2) they describe
39     unit- or college-specific procedures and processes used for promotion and tenure. The guidelines
40     must be consistent with the university’s criteria and procedures specified in this Faculty
41     Handbook. In the absence of approved unit or college guidelines, the guidelines of the higher
42     level will apply.
43
44     The faculty of the local academic unit bear the primary responsibility for developing and
45     amending guidelines. Guidelines should include at least these elements:
46                 Criteria
47                 a) Statement of discipline-specific articulations for university-wide criteria and
48                      expectations for teaching, research and creative activities, and service

                                                        10

                                                                            Calvente-DePaul 000034
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 234 of 408 PageID #:6156

                                                                                              July 1, 2018

 1                 b) Specification of standards for different forms of scholarship within the discipline
 2                    (or interdisciplinary field)
 3
 4                 Process
 5                 a) Uniform policies detailing the process used for evaluations
 6                 b) Composition of the personnel committee, if any
 7                 c) Policies on remote participation in meetings
 8                 d) Explanation of participation by, or exclusion of, faculty who are unavailable at
 9                     the time of the evaluation for reasons such as illness or leaves of absence.
10                     (Reviewers allowed to participate must have read the dossier in advance.)
11                 e) Guidance on whether reviewers must have attained at least the rank that the
12                     candidate seeks
13                 f) Process for amending guidelines
14
15     College guidelines should reflect the input of their constituent academic units, where applicable.
16
17     The University Board on Promotion and Tenure reviews changes in the guidelines prepared by
18     local academic units and colleges. The UBPT determines whether the guidelines are clear and
19     consonant with the general university-wide criteria and procedures for promotion and tenure. If
20     the UBPT finds local academic unit or college guidelines to be unclear or inconsistent with
21     university requirements, it will inform the local academic unit or college in writing with the
22     expectation that the guidelines will be revised. In the absence of guidelines or if the guidelines
23     have not been approved by the UBPT, the guidelines of the higher level will be used.
24
25     Approved guidelines included in official documents of academic units are binding, as are the
26     university-wide criteria and processes. Should there be inconsistencies in the guidelines and
27     criteria of different evaluation levels, those of the higher level prevail.
28

29     3.4.4   Institutional Considerations
30
31     Merit is not the sole consideration for professional advancement at DePaul University.
32     Institutional need also plays a role in the renewal and tenure of untenured faculty. In planning the
33     number and qualifications of faculty to meet future needs and the resources required to support
34     the faculty, the university may – after consultation with the faculty – limit the number or
35     proportion of tenured positions in the university or in any of its academic units. In such instances,
36     tenure would not be granted regardless of the faculty member’s qualifications and length of
37     service. The university will notify affected faculty members promptly upon the adoption of any
38     such limitation.
39

40     3.5      Process for Tenure and Promotion

41     3.5.1 General Principles
42
43     The following general principles guide promotion and tenure reviews:
44
45     3.5.1.1 Common Processes
46

                                                        11

                                                                            Calvente-DePaul 000035
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 235 of 408 PageID #:6157

                                                                                           July 1, 2018

 1          a) There are normally three levels of evaluation prior to the final decision of the provost:
 2             the local academic unit, the college, and the university. In the absence of departmental
 3             or school structures, the local academic unit is the college and thus there are only two
 4             levels: the local academic unit and the university.
 5
 6          b) An individual faculty member may vote or advocate for or against a candidate only at
 7             one level in the review process. Members of UBPT must vote only on the UBPT. In
 8             units where the local academic unit is not the college, college policy must specify
 9             whether college personnel committee members vote at the college or the local
10             academic unit level. However, members of a local academic unit personnel committee
11             may fully participate and vote in both the personnel committee's evaluation and the
12             local academic unit evaluation.
13
14          c) All votes are by secret ballot and the numerical results are recorded. A tie vote will be
15             interpreted as a recommendation against renewal or against an award of tenure or
16             promotion.
17
18          d) Candidates receive the written reports and vote counts at each step in the process
19             promptly as those materials become available. Candidates receive external letters with
20             information identifying the reviewer redacted.
21
22          e) Candidates receive copies of any additions to a dossier.
23
24          f) Each level of evaluation is substantive and judges the candidate on the merits
25             according to the university's criteria and the guidelines of that level of review. In
26             addition to substantive review, reviewers after the initial level consider the method
27             and care of application of the approved guidelines by lower-level unit(s) and the
28             disciplinary expertise of the local academic unit. Relevant issues include matters of
29             stringency, consistency among candidates, and fairness, as well as the implications the
30             decision may have at the college, school, or university level.
31
32          g) All individuals participating in the process at any stage must respect its
33             confidentiality. They must not reveal votes, the names or views of referees, the
34             contents of discussions, or the contents of the dossier to anyone. Intentional or
35             continuing breaches of confidentiality are considered to be serious violations of
36             professional ethics. Local academic units and colleges must take appropriate steps to
37             maintain confidentiality, including during the physical preparation of the dossier and
38             dossier storage. It is unwise to make a broad electronic distribution of the dossier;
39             instead password-protected web sites can be used. All documentation will be retained
40             in accordance with the Records Management policy.
41
42          h) Faculty members should always avoid conflicts of interest in evaluating individual
43             faculty members for appointment, renewal, tenure, or promotion. The university
44             expects the provost, deans, local academic unit administrators, and all other internal
45             faculty reviewers to acknowledge such conflicts openly and to abstain from
46             participation whenever conflicts arise.
47
48          i)   Faculty members receive tenure only upon affirmative award by DePaul University.
49               Each year, eligible tenure-line faculty may apply for tenure and/or promotion. By
50               April 1, the Office of Academic Affairs will notify eligible faculty in writing of the
51               deadline for submitting an application for promotion and tenure or promotion for the

                                                      12

                                                                          Calvente-DePaul 000036
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 236 of 408 PageID #:6158

                                                                                              July 1, 2018

 1                following year. The faculty member must submit his or her request to the local
 2                academic unit officer, academic dean, and the Office of Academic Affairs by the
 3                stated deadline, typically May 1.
 4
 5           j)   Requests for tenure submitted before the year of eligibility will not be accepted. If a
 6                faculty member eligible for tenure consideration fails to apply by the application
 7                deadline he or she forfeits the opportunity for tenure consideration and receives a
 8                terminal contract of no more than one year's duration.
 9
10           k) Failure to meet the application deadline for promotion to full professor postpones
11              consideration until the next academic year. There is no limit to the number of times a
12              faculty member may apply for promotion to full professor, except that a candidate
13              may not re-apply in the year immediately following a decision denying promotion.
14
15           l)   The provost will acknowledge receipt of applications for promotion, for tenure, or for
16                promotion and tenure, no later than May 15. For candidates with tenure who are
17                seeking promotion to full professor, the provost will advise all candidates of the right
18                to withdraw an application for promotion at any time, without prejudice to future
19                applications.
20
21           m) Faculty members are normally expected to serve a minimum of three to six years,
22              depending on the practice of their college, in a given rank before promotion to the next
23              rank. Exceptions to the norm are allowed only when the dean and, if one exists,
24              college personnel committee, certify that the candidate’s extraordinary performance,
25              under departmental, school, and college guidelines, warrants early application for
26              promotion.
27
28           n) Candidates may continue through all stages of evaluation, regardless of a negative
29              recommendation at any stage.
30
31
32     3.5.1.2 Guidelines Specific to Multi-Unit Appointments
33
34           a) If a faculty member has a formal appointment in more than one academic unit, the
35              home academic unit specified in the appointment letter evaluates the candidate. The
36              second unit evaluates the candidate if it so chooses, or if requested to do so by either
37              the candidate or the home unit. The second unit conducts an independent evaluation
38              and makes a recommendation based on the candidate’s responsibilities in that unit.
39              The second unit may review the reference letters and student input from the home
40              academic unit. The report of the second unit will be forwarded to the home unit for its
41              consideration and inclusion in the dossier.
42
43           b) A faculty member who changes formal appointments during the period under
44              evaluation shall be evaluated by both academic units. Either unit may, upon request,
45              have access to the other unit's documentation. Each academic unit sends the
46              candidate's supporting documents and the unit's evaluation to the next higher level
47              unit.
48
49           c) A faculty member with a formal appointment in only one department or local
50              academic unit may have formally assigned duties in one or more other units. In

                                                       13

                                                                           Calvente-DePaul 000037
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 237 of 408 PageID #:6159

                                                                                            July 1, 2018

 1                evaluating the faculty member, the home unit shall invite the other units to submit
 2                evaluations, which the home unit will include with its evaluation. At each stage in the
 3                review process, the evaluations will receive weight in the approximate portion of the
 4                workload assignment to each entity. Ultimately, the recommendation to the next level
 5                of review rests with the home academic unit.
 6
 7     3.5.1.3 Guidelines for Evaluating Collaborative Work
 8
 9     Collaborative activities within and across units are valued at DePaul. If collaborative
10     work is submitted as part of the dossier, it must be evaluated as part of tenure and
11     promotion review. Individual contributions to collaborative work should be described
12     specifically by the candidate and documented by team members. Evaluators should
13     consider that collaborative work may be especially labor-intensive, may be disseminated
14     in non-traditional forms, and may blur the conventional distinctions between research and
15     teaching and service. Local Academic Units should specify in their guidelines the
16     processes and policies governing the evaluation and weight of collaborative work in the
17     tenure and promotion review.
18

19     3.5.2   Processes Common to All Evaluation Levels
20
21     At all levels of evaluation the following processes must be followed:
22
23             a) Additions to the dossier may be made in accordance with the guidelines in this
24                chapter.
25
26             b) The reviewing body's numerical vote must be reported to all subsequent levels.
27
28             c) All documents considered at each level must be passed on to subsequent levels. The
29                candidate has access to all documents being considered, but the candidate’s copies of
30                the external reviewer letters must have the reviewer’s identifying information
31                redacted.
32
33             d) The local academic unit officer (e.g., department chair) or academic dean, as
34                applicable, informs the candidate of the decision, numerical vote, and all grounds for
35                the decision before transmitting the dossier to the next level.
36
37             e) All decisions or recommendations shall be reported promptly to the academic
38                administrator of the prior level, along with the reasons for any recommendations
39                differing from the prior level’s recommendation.
40
41             f) All tenured faculty members of a candidate’s local academic unit, members of the
42                college personnel committee, and members of the UBPT are permitted and expected
43                to vote by a secret ballot at a meeting in which the candidate’s application is
44                reviewed and discussed, exempting those faculty who may be unable to participate
45                due to approved leaves of absence. Under no circumstances may a vote be cast
46                through a proxy at any level in the retention, promotion or tenure process. However,
47                faculty in absentia may vote only if they use technology that permits simultaneous
48                participation in the review meeting and conveyance of their secret ballot at the time

                                                      14

                                                                         Calvente-DePaul 000038
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 238 of 408 PageID #:6160

                                                                                                July 1, 2018

 1                 of the vote. Moreover, faculty who vote in absentia are required to have reviewed a
 2                 candidate’s materials before the academic unit’s official vote. Only those faculty
 3                 having a valid excuse as defined in the unit guidelines may attend and vote using
 4                 technology. Likewise, no faculty member is permitted to add his or her vote or
 5                 change his or her vote after the votes have been tallied.
 6
 7             g) The report on a recommendation shall fully discuss both strengths and weaknesses in
 8                the record so as to provide an explanation for positive and negative votes. All faculty
 9                participating in the decision will read the final report of the unit’s recommendation
10                and sign one of two forms. One form indicates that the faculty member agrees that
11                the report accurately describes the discussion of the unit. The other form indicates
12                that the report does not accurately describe the unit’s discussion. The faculty
13                member’s signature does not reflect his or her vote. Faculty who sign the form
14                indicating inaccuracy of the report must provide a signed statement, known as a
15                signing statement, explaining why they believe the report does not accurately
16                describe the discussion. In the event a faculty member is unwilling or unable to sign
17                one of the two forms, the report will go forward with an explanation from the person
18                responsible for gathering the signatures.
19
20     3.5.2.1 Signing Statement
21
22     A faculty member who believes that an evaluation level report did not accurately reflect the
23     discussion during deliberation for promotion or tenure must prepare a signing statement. The
24     signing statement explains the individual’s disagreement with the report’s characterization of the
25     meeting. It is restricted to how the evaluating unit or committee report allegedly mischaracterized
26     the discussion. The statement may not present information or opinions about the candidate
27     beyond those offered during the meeting. It need not indicate the author’s position on the
28     candidacy.
29
30     Signing statements must be shared with both the candidate and all faculty members of the unit or
31     committee who were involved in the discussion at issue. Signing statements are due five business
32     days after the recommendation goes to the next level.

33     3.5.2.2 Minority Report
34
35     An allegation that an evaluating unit violated its guidelines, criteria, or processes, or those of the
36     university, takes the form of a minority report.
37
38     A minority report is restricted to how the evaluating unit or committee violated guidelines,
39     process, or criteria. It may not present information or opinion about the candidate beyond that
40     offered during the meeting.
41
42     Minority reports must be shared with both the candidate and all faculty members of the unit or
43     committee. The deadline for the minority report is five business days after the recommendation
44     goes to the next level. The evaluating unit or committee has five business days to respond to the
45     minority report. These documents must be added to the dossier for subsequent levels of review.

46     3.5.3 Local Academic Unit
47

                                                         15

                                                                             Calvente-DePaul 000039
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 239 of 408 PageID #:6161

                                                                                               July 1, 2018

 1     The local academic unit is the unit that conducts the first level of review in the promotion and
 2     tenure process. Some colleges are the local academic unit. In other colleges, the local academic
 3     unit might be a school, a department, or a program. A college may have departments that do not
 4     function as local academic units. For example, in the 2012-2013 academic year, the following
 5     colleges functioned as local academic units: College of Communication, College of Law, School
 6     of Music, The Theatre School, and The School for New Learning.

 7     3.5.4    Local Academic Unit Is College
 8
 9     When the local academic unit is the college, the two levels of review are the college and the
10     university. The college must follow uniform, written guidelines describing the evaluation process.
11     Participation in the tenure and promotion review process is limited to tenured faculty.
12
13     3.5.4.1 Personnel Committee (optional)
14
15     A local academic unit may choose to convene a personnel committee consisting of a subset of the
16     tenured faculty of the unit, excluding the dean. The committee must have at least three members.
17     The personnel committee, if one exists, evaluates the candidate, votes by secret ballot, and
18     submits a signed report for the dossier. The personnel committee vote cannot be used in lieu of
19     any full tenured faculty vote.
20
21     3.5.4.2 Tenured Faculty of the College
22
23     The tenured faculty of the local academic unit evaluates the candidate, votes by secret ballot, and
24     provides a report for the dossier. This report may adapt or adopt a personnel committee’s report,
25     but it must reflect the unit’s discussion. Unit guidelines may limit the right to vote on a candidate
26     to tenured faculty who hold a higher rank than the candidate. Members of the unit’s personnel
27     committee vote in the evaluation by the unit’s tenured faculty.
28
29     3.5.4.3 Dean
30
31     The approved procedures of the local academic unit must stipulate whether the dean may attend
32     the meeting of the tenured faculty of the college in the two-level process. If the dean attends, he
33     or she may participate but not advocate or vote. The dean writes a separate report for the dossier
34     expressing his or her evaluation.
35
36     3.5.4.4 Candidate Response to College Review
37
38     After the dean provides the candidate with all reports from the college review, the candidate has
39     the option to write a response which will be placed in the dossier for review by the UBPT. The
40     response, if any, must be submitted to the Office of Academic Affairs and the dean at least two
41     business days prior to the scheduled date of the candidate’s hearing by the UBPT. The hearing
42     must be scheduled to provide the candidate with at least five business days to respond to the
43     report. A response may address only the candidate’s issues or concerns with the college-level
44     reports.
45
46     The next evaluation level is the university level.

                                                        16

                                                                            Calvente-DePaul 000040
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 240 of 408 PageID #:6162

                                                                                             July 1, 2018


1      3.5.5   Local Academic Unit Is Not College
2
3      If the local academic unit is not the college, it is typically a department, school, or program
4      subordinate to a college. The three levels of review are: local academic unit, college, and
5      university. Each level of review must follow uniform, written guidelines describing the evaluation
6      process. If there is an insufficient number of tenured faculty available in the local academic unit,
7      the dean may appoint tenured faculty from related academic units to the review process.
8      Participation in the tenure and promotion review process is limited to tenured faculty.
9
10     3.5.5.1 Local Academic Unit Personnel Committee (Optional)
11
12     A local academic unit may choose to convene a personnel committee consisting of a subset of the
13     tenured faculty of the unit. The committee must have at least three members. The local academic
14     unit officer may not be a member but may attend. The personnel committee, if one exists,
15     evaluates the candidate, votes by secret ballot, and submits a signed report for the dossier. The
16     personnel committee vote cannot be used in lieu of a vote by the unit’s entire tenured faculty.

17
18     3.5.5.2 Tenured Faculty of the Local Academic Unit
19
20     The tenured faculty of the local academic unit evaluates the candidate, votes by secret ballot, and
21     provides a report for the dossier. This report may adapt or adopt a personnel committee’s report
22     but must reflect the unit’s discussion. Units may establish written procedures limiting the vote on
23     a candidate to tenured faculty who hold a higher rank than the candidate. Members of the unit’s
24     personnel committee vote as part of the evaluation by the unit’s tenured faculty. If the local
25     academic unit has fewer than five eligible tenured faculty members, the dean, after consultation
26     with members of the unit, will appoint tenured faculty of the appropriate rank to the evaluation
27     committee from related academic units.
28
29     3.5.5.3 Local Unit Academic Officer (Unit Chair or Director)
30
31     The local unit academic officer may participate in the discussion by tenured faculty of the unit,
32     but will not vote on or advocate for or against the candidate’s promotion or tenure. The unit
33     academic officer will write a separate report for the dossier expressing his or her evaluation.
34
35     3.5.5.4 Candidate Response to Local Academic Unit Review
36
37     After the local academic unit officer provides the candidate with all reports from the review, the
38     candidate has the option to write a response which will be places in the dossier for all subsequent
39     levels of review. The response, if any, must be submitted to the dean and the local academic unit
40     officer at least two business days prior to the prior to the scheduled date of the candidate’s
41     hearing by the college personnel committee. The hearing must be scheduled to provide the
42     candidate with at least five business days to respond to the report. A response may address only
43     the candidate’s issues or concerns with the local academic unit’s reports.
44



                                                       17

                                                                           Calvente-DePaul 000041
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 241 of 408 PageID #:6163

                                                                                              July 1, 2018

 1     3.5.5.5 College-Level Personnel Committee
 2
 3     In colleges with a college-level personnel committee, this committee conducts a separate
 4     evaluation of the candidate, votes by secret ballot, and writes a report for the dossier. The college
 5     personnel committee is a subset of the tenured faculty from the college with broad representation
 6     from different units within the college. The minimum number of members on any college
 7     personnel committee is five. Only tenure-line faculty may vote in membership elections for those
 8     committees that are elected. The college-level committee must have representation from tenured
 9     faculty at the rank of full professor. Members of the college personnel committee who voted at
10     the local academic unit may not vote at the college level. If so specified in the college’s
11     guidelines, the dean may participate in the meeting of the college personnel committee, but may
12     not vote or advocate for or against a candidate. The report of the college personnel committee is
13     provided to the dean of the college. There is no college-wide tenured faculty vote.

14     3.5.5.6 Dean
15
16     The dean provides a separate evaluation of the candidate for the dossier.
17
18     3.5.5.7 Candidate Response to College Review
19
20     After the dean provides the candidate with all reports from the review, the candidate has the
21     option to write a response which will be placed in the dossier for the UBPT. The response, if any,
22     must be submitted to the Office of Academic Affairs and the dean at least two business days prior
23     to the scheduled date of the candidate’s hearing by the UBPT. The hearing must be scheduled to
24     provide the candidate at least five business days to respond to the report. A response may address
25     only the candidate’s issues or concerns with the college’s reports.
26
27     The next evaluation level is the university review.

28     3.5.6   University Review
29
30     3.5.6.1 University Board on Promotion and Tenure
31
32     The University Board on Promotion and Tenure (UBPT) evaluates the candidate, votes by secret
33     ballot on tenure, promotion, or both and provides a written report summarizing the basis of its
34     recommendation, including the vote count. In evaluating the candidate, the UBPT takes the
35     following steps:
36
37                 a. Reviews the full dossier.
38
39                 b. Conducts a hearing, with five of the seven appointed faculty members
40                    constituting a quorum. The provost is expected to be present when a candidate is
41                    being reviewed. In exceptional circumstances, a designee may attend in the
42                    provost’s absence. The candidate, the local academic unit officer (when
43                    applicable), and the college dean are expected to appear before the UBPT.
44
45                 c. Conducts a substantive review applying current university-wide standards and
46                    criteria for tenure and promotion.
47
                                                        18

                                                                            Calvente-DePaul 000042
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 242 of 408 PageID #:6164

                                                                                             July 1, 2018

 1                 d. Examines the application of lower-level guidelines to the candidate.
 2
 3                 e. Prepares its recommendation, which it shares with the candidate and the provost.

 4     3.5.6.2 Candidate Response to UBPT
 5
 6     The candidate has the option to write a response to the UBPT evaluation which will be added to
 7     the file and sent to the provost for his or her consideration. A response must focus only on issues
 8     or concerns the candidate may have with the UBPT report. The deadline for this response appears
 9     in the calendar.

10
11     3.5.6.3 Provost Decision
12
13     The provost makes the final decision on tenure or promotion. Only in rare instances and for
14     compelling reasons will the provost overturn a promotion or tenure recommendation made by the
15     UBPT.
16
17     If the provost's decision differs from the UBPT recommendation, the provost must prepare a
18     written explanation of the decision and provide it to the UBPT, the candidate, the dean, and the
19     local unit academic officer (if different from the dean).

20     3.5.7 Detailed Procedures
21     3.5.7.1 Committees
22
23     The following rules apply to the various committees conducting reviews for tenure and
24     promotion.
25
26     Only tenured faculty may sit on any committee evaluating a faculty member for tenure or
27     promotion at any level of evaluation; only tenure-line faculty may vote in membership elections
28     for those committees that are elected.
29
30     Except where otherwise provided in this chapter, a local academic unit or college may adopt
31     written standards for its evaluative committees that address tenure and promotion. The standards
32     may address, among other topics:
33         • Committee membership
34         • Criteria for chairing the committee
35         • Rank and status of faculty who may elect members of the committee
36         • Rank of members who may vote on promotion to full professor
37         • Term length for committee membership
38         • Process for election of the committee chair
39
40     3.5.7.2 Local Academic Unit (Not College) Personnel Committees
41
42     Members must be tenured and at least associate rank. The committee must have at least three
43     members. The tenure-line faculty of the local academic unit elect the personnel committee, and
44     the personnel committee elects its chairperson. The local academic unit academic officer may not


                                                       19

                                                                          Calvente-DePaul 000043
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 243 of 408 PageID #:6165

                                                                                           July 1, 2018

 1     be a member of this committee. The officer may participate in committee meetings but shall not
 2     advocate for or against the candidate or vote.
 3
 4     3.5.7.3 Tenured Faculty of the Local Academic Unit
 5
 6     All and only tenured faculty of at least associate rank are expected to participate in votes for
 7     tenure and promotion at the local academic unit level. For promotion to full professor, the local
 8     academic unit may limit votes to full professors. If the local academic unit has fewer than five
 9     eligible tenured faculty members, the dean, after consultation with members of the unit, will
10     appoint tenured faculty of the appropriate rank to the evaluation committee from related academic
11     units.
12
13     The tenured faculty of the local academic unit elect a chair to conduct these promotion and tenure
14     meetings and to organize the reports. The chairperson may not be the local academic unit
15     academic officer. If the local academic unit is not the college, the local academic unit officer
16     may participate at promotion and tenure meetings but shall not vote or advocate for or against the
17     candidate. If the local academic unit is the college, college procedures should stipulate whether
18     the dean may attend the meeting of the tenured faculty. If the dean attends, he or she may
19     participate but not advocate or vote for or against the candidate.
20
21     3.5.7.4 College Personnel Committees
22
23     Only tenured faculty may serve on a college personnel committee. College guidelines may limit
24     the membership to full professors. College guidelines should also address how to convene an
25     adequate number of full professors for deciding promotion to full professor. The minimum
26     number of members on any college personnel committee is five. Terms are three years and are
27     staggered. The committee members elect a chairperson for a one-year term. The chairperson
28     conducts meetings of the committee and organizes the committee’s reports. The dean shall not be
29     the chairperson of the committee. The dean may participate in college personnel committee
30     meetings but shall not vote or advocate for or against a candidate.
31
32     3.5.7.5 University Board on Promotion and Tenure
33
34     The UBPT members must be tenured full professors. Associate deans, deans, and local academic
35     unit officers (e.g., department chairs) are ineligible to serve. The seven members of the UBPT
36     serve as representatives of disciplines across the university, not as representatives of their
37     colleges. Members are selected by open nominations and self-nominations across colleges,
38     reviewed by Faculty Council Committee on Committees, and interviewed and elected by Faculty
39     Council. Terms are for three years and are staggered. The UBPT members elect a chairperson
40     annually. The provost or his or her designee is expected to be present at all UBPT meetings where
41     candidates are reviewed; he or she shall not vote or advocate for or against any candidate.
42
43     The UBPT has two additional responsibilities. First, it reviews changes to evaluation guidelines,
44     criteria and procedures developed by local academic units, departments, schools, and colleges for
45     clarity and consonance with university-wide criteria. Second, at the conclusion of each year’s
46     proceedings, the UBPT shares any recommendations it may have with the provost regarding the
47     board’s future functioning.
48

                                                      20

                                                                         Calvente-DePaul 000044
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 244 of 408 PageID #:6166

                                                                                               July 1, 2018

 1     The provost and the chair of the UBPT refer any policy matter raised by UBPT members to the
 2     Faculty Council; the provost also makes available to the full faculty an annual statistical summary
 3     of the university’s final tenure and promotion decisions.
 4

 5     3.6       Materials
 6

 7     3.6.1 Dossier
 8
 9     3.6.1.1 Items Supplied By Candidate
10
11     A candidate for promotion and/or tenure supplies the following materials:
12
13           •   Complete professional curriculum vitae, paginated with the candidate's name on each
14               page
15           •   A statement of up to 3,000 words in which the candidate emphasizes those achievements
16               or qualifications to which evaluators should particularly attend
17           •   Evidence of collaborative work, if applicable
18           •   Evidence of teaching effectiveness beyond course evaluations and peer reviews,
19               including, at a minimum, selected syllabi, course assignments, and exams
20           •   Evidence of service, including, at a minimum, description of individual contributions and
21               supporting documentation such as letters from committee chairs
22           •   Other evidence he or she may wish to submit, e.g., awards and special recognitions
23           •   A single copy of articles, papers, published manuscripts, video and audio recordings, and
24               other examples of scholarship and creative activities
25
26     3.6.1.2 Items Supplied By Academic Unit and College
27
28     The local academic unit and college committee add the following materials to the dossier:
29
30           •   Local academic unit and college guidelines
31           •   The written recommendation(s) from the reviews conducted at each level, including
32               signature forms
33           •   Signing statements and minority reports, if any
34           •   Candidate responses, if any
35           •   Data obtained by the college through the student input instrument
36           •   Documentation that substantiates according to the local academic unit guidelines, and
37               with sufficient detail, the faculty member’s contributions to any collaborative work
38               submitted in the Dossier.
39           •   For tenure, an evaluation of the candidate’s scholarship, research, and/or other creative
40               activities by at least two external experts
41           •   For promotion to full professor, an evaluation of the candidate’s scholarship, research,
42               and/or other creative activities by a minimum of three external experts
43           •   For tenure decisions, all teaching evaluations for all courses. For promotion, all teaching
44               evaluations while in current rank
45           •   Internal peer reviews of teaching, if any

                                                         21

                                                                             Calvente-DePaul 000045
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 245 of 408 PageID #:6167

                                                                                             July 1, 2018

 1
 2     Review is limited to these items, unless the local academic unit approves any additions to the
 3     dossier. Unsolicited material will not be added to the dossier.
 4
 5     3.6.1.3 Additions to the Dossier
 6
 7     Because of the length of the review process, it is possible that a candidate's record may change
 8     significantly or that other information pertinent to a case may come to light during the course of
 9     the review.
10
11     After the initial submission of the dossier to the local academic unit, the candidate may request
12     the addition of new information to the dossier at any level of the review process prior to the final
13     vote by the UBPT. The request for additions to the dossier must be made to the local unit
14     academic officer and must include supporting documentation to verify the accuracy of the new
15     information. The local academic unit officer must rule on the request within five business days of
16     receiving it.
17
18     The local unit academic officer will determine whether the new information should be added to
19     the dossier based on one or more of the following criteria:
20
21         •   The new information constitutes an update to the status of scholarly or creative work
22             already mentioned in the dossier.
23         •   The new information constitutes a significant development, such as the announcement of
24             a major award or recognition, related to the candidate’s work already reported in the
25             dossier.
26         •   The new information is not related to work previously reported in the dossier but, in the
27             judgment of the local unit academic officer, may have significant impact on the outcome
28             of the case.
29
30     The local academic unit officer of the originating unit must formally transmit all new material
31     approved for addition to the dossier directly to the level at which the case is currently under
32     review and include with the new material an explanation of the reasons for the addition and at
33     what level of review the new information became available. The entity currently reviewing the
34     case should add these new items to the candidate's dossier, evaluate them along with the rest of
35     the dossier, and provide them to subsequent levels of review.
36
37     The local academic unit officer shall also supply copies of the explanatory memorandum to the
38     candidate and to the individual in charge of each level already completed at the time the material
39     is added.
40

41     3.6.2 External Letters
42
43     By June 1, candidates must submit to the local academic unit officers their CV and selected
44     publications/documentation of creative activities for transmittal to external reviewers. Local
45     academic units should identify an initial list of potential external reviewers by June 15. Local
46     academic units will ask external reviewers to prepare letters over the summer for receipt prior to
47     candidate review in the fall.
48

                                                       22

                                                                           Calvente-DePaul 000046
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 246 of 408 PageID #:6168

                                                                                              July 1, 2018

 1     3.6.2.1 Authors of External Letters
 2
 3     Local academic units should obtain letters from persons whose judgment is respected in the
 4     candidate’s field of expertise and who can provide an impartial assessment of the candidate’s
 5     scholarship or creative activities. The candidate may nominate external reviewers. The local
 6     academic unit may select from the candidate's nominations or from other sources. When
 7     identifying external reviewers, candidates and committees should take into account both the
 8     objectivity of the reviewer and the reviewer's rank, reputation, and stature. The local academic
 9     unit has full discretion in selecting external reviewers.
10
11     If a candidate has done collaborative work, a separate set of letters can be solicited and submitted
12     from collaborators in addition to, but not as a substitute for, the external review letters. The
13     university's letters to collaborators should request that they describe the division of labor and
14     nature of the collaborative effort.
15
16     3.6.2.2 External Letter Contents

17
18     The solicitation letter to a potential reviewer should be neutral, asking only for an objective
19     assessment of the candidate’s research or creative activities and requesting that the reviewer
20     eschew advocacy for or against tenure and promotion. The solicitation letter should also ask the
21     reviewer to explain the nature of the reviewer’s relationship to the candidate. The letter should
22     ask the evaluator to cover the following general ground:
23
24         •   the nature of the evaluator’s professional interactions with the candidate
25         •   the quality of the candidate’s work
26         •   the impact of the candidate’s work
27
28     Readers will disregard any portions of an external letter advocating for or against tenure and
29     promotion.

30     3.6.2.3 Confidentiality of External Letters
31
32     Under Illinois state law, a candidate may see the contents of his or her personnel file, with an
33     exception applicable to external review letters. To ensure that reviewers provide fully candid
34     assessments, the university protects the identity of the external reviewers. Therefore, any citations
35     of the external review letters in department or chair reports and the reports of subsequent
36     reviewing levels must be redacted, eliminating any and all information that would identify the
37     reviewer to the candidate. Local academic units must also ensure that external review letters
38     given to the candidates are redacted to protect the authors’ identities.
39
40     3.6.2.4 Suggested Sample Letter
41
42     Dear Dr. AA:
43
44     As you are a recognized authority in your field, I am writing to request your assistance. Dr. BB is
45     due to be reviewed for promotion to Associate Professor in academic year YYYY-YYYY. I
46     solicit your evaluation of the research [creative activities] of Dr. BB. Please only evaluate the
47     candidate’s research or creative activities and refrain from rendering a judgment on whether the

                                                        23

                                                                           Calvente-DePaul 000047
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 247 of 408 PageID #:6169

                                                                                              July 1, 2018

 1     candidate should be promoted or tenured. Your identity will be kept confidential to the extent
 2     legally practicable.
 3
 4     In particular, please address the following:
 5
 6         •   the quality of the publications or creative activities of the candidate
 7         •   the impact of the candidate’s work
 8         •   the quality of the journals in which the candidate has published
 9         •   the nature of your professional interaction with the candidate, if applicable, and
10         •   comments, should you have any, of the candidate’s collaboration with other scholars in
11             the field.
12
13     To assist in your evaluation, I am enclosing the following information: Dr. BB’s latest curriculum
14     vitae; the three papers or book manuscript listed below, selected by Dr. BB; and a brief summary
15     of the department's [local academic unit’s] promotion criteria.
16
17     Although Illinois state law allows employees to view their personnel files, there is an exception
18     for external review letters. Any information that would identify you will be redacted from all
19     documents seen by the candidate.
20
21     I realize that this information is rather extensive and will require considerable effort on your part
22     to review. Your assistance in helping us evaluate Dr. BB’s credentials will be greatly appreciated
23     and will constitute an important element in the overall evaluation. I would be very grateful if you
24     could respond to us in writing no later than [DATE]. If possible, kindly send your reply, along
25     with a copy of your most recent CV, electronically to ........@depaul.edu as an attachment.
26
27
28     Sincerely,
29     DD
30     Chair
31     Personnel Committee
32     [Name of Dept. and Unit]
33     Enclosures: [List the selected works]
34

35     3.6.3 Student Input
36
37     Student input must be part of a candidate’s dossier. Committees will acquire student input from
38     course evaluations and information collected through an instrument such as a survey. The college
39     will design the instrument with student input. The instrument will generally solicit opinions from
40     one or more of the following groups: alumni, past students who have taken a class from the
41     candidate, student advisees, or students who have been supervised by the candidate in research
42     projects or independent study.
43
44     3.6.3.1 Student Input Instrument
45
46     Each college personnel committee, or in the absence of a college-level committee, the local unit
47     personnel committee, shall have an instrument for collecting data from students, a process of
48     gathering data, and a template for reporting the results. These elements must be created by a

                                                        24

                                                                           Calvente-DePaul 000048
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 248 of 408 PageID #:6170

                                                                                           July 1, 2018

 1     committee of at least two students (preferably including both graduate and undergraduate) and at
 2     least two tenured faculty members.
 3
 4     The instrument will be used to gather additional data from students beyond the standard course
 5     evaluations. The report should clearly specify:
 6
 7           •   the type of methodology used for data collection and analysis
 8           •   the targeted groups surveyed, and
 9           •   the questions asked of survey participants.
10
11     The college personnel committee must approve the instrument, process, report template and any
12     subsequent modifications. Before approval, the college personnel committee should solicit and
13     consider input from the college’s local academic units.

14     3.6.3.2 Evaluation and Submission of Student Input Data
15
16     The college bears responsibility for data collection. A student review committee then analyzes
17     data collected via this process for each promotion and tenure candidate, as well as aggregate
18     information on course evaluations provided by the unit. The student review committee consists of
19     up to three students, none of whom is currently enrolled in a class with the candidate under
20     review. After analyzing the collected data, the review committee provides a written report, along
21     with all the raw data, to the personnel committee of the local academic unit and to the candidate.
22     The student input data becomes part of the candidate’s dossier. The personnel committee may
23     request a meeting with a representative from the student review committee, if the committee
24     deems it necessary.
25
26     Once student representatives furnish their report to the local academic unit, they do not appear
27     before subsequent evaluative bodies. The student report will be forwarded with other promotion
28     and tenure materials to each review level.
29

30     3.7       Appeal
31
32     Appeal procedures for a tenure-line faculty member who has been reviewed for tenure,
33     promotion, or promotion and tenure by the University Board on Promotion and Tenure
34     are found in Chapter 5 Section 5.1.2.3.
35
36




                                                        25

                                                                           Calvente-DePaul 000049
    Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 249 of 408 PageID #:6171

                                                                                     July 1, 2018


1     3.8 Schedule for Informal and Formal Reviews
2
3

                       PROBATIONARY REVIEWS FOR TENURE-LINE FACULTY
                            WITH SIX-YEAR PROBATIONARY PERIOD*

                                                                            Notice to Faculty
      Year at DePaul           Timing and             Type of Review       Member of Renewal
                             Contract Year                                   or Nonrenewal
                          Winter quarter of                                March 1
                          first year at DePaul, May be informal or
             1st          for Year 2 contract      formal
                          renewal
                          Fall quarter of          One of these 2            December 15
             2nd          second year at           reviews must be
                          DePaul, for Year 3       formal; the other may
                          contract renewal         be informal or formal.
                          Spring quarter of                                  June 30
                          second year at
                          DePaul, for Year 4
                          contract renewal
                          During third year at May be informal or            June 30
                          DePaul, with timing formal
             3rd          per college’s
                          schedule, for Year 5
                          contract renewal
                          During fourth year       Formal                    June 30
                          at DePaul, with
             4th          timing per college’s
                          schedule, for Year 6
                          contract renewal
                          During fifth year at     May be informal or        June 30
                          DePaul, with timing formal. Must be
             5th          per college’s            formal if non-
                          schedule, for year 7 reappointment is
                          contract renewal         realistic possibility.
                          Sixth Year at            Promotion and             June 30
             6th          DePaul, with timing Tenure Review
                          per Faculty
                          Handbook calendar
4     *The contract renewal schedule for tenure-line faculty who come in with years of credit
5     towards tenure is the same as for other tenure-line faculty, but the year of the promotion
6     and tenure review varies. The initial faculty contract stipulates the year of the promotion
7     and tenure review.


                                                   26

                                                                    Calvente-DePaul 000050
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 250 of 408 PageID #:6172

                                                                                                July 1, 2018


 1     3.9     Schedule for Promotion and Tenure
 2
 3     3.9.1 University Promotion and Tenure Schedule
 4
 5     The following is the suggested schedule for the university promotion and tenure process.
 6     Whenever possible, the university will abide by the proposed timetable. Any changes to this
 7     calendar must provide at least the allotted time period for candidate responses, minority reports,
 8     and signing statements.
 9
10     April 1
11     Letter of notification as to the eligibility to apply for promotion and tenure sent to the faculty
12     member from the provost
13
14     May 1
15     Letter requesting consideration for promotion and/or tenure submitted by the faculty member to
16     the provost, the academic dean, and the head of the academic unit
17
18     May 15
19     Provost acknowledges receipt of applications for promotion, for tenure, or for promotion and
20     tenure.
21
22     June 1
23     Candidate provides CV and selected publications/documentation of creative activities to local
24     academic unit officers for submission to external reviewers
25
26     June 15
27     Local academic unit identifies an initial list of potential external reviewers
28
29     First day of fall quarter
30     Candidate’s complete materials due to the local academic unit
31
32     January 15
33     Report from the academic unit submitted to the academic dean and to the candidate.
34
35     January 31
36     Report from the academic dean and the academic unit of the following colleges and schools
37     submitted to the Office of Academic Affairs and to the candidate
38
39     • College of Communication
40     • College of Computing and Digital Media
41     • College of Law
42     • School of Music
43     • School for New Learning
44     • The Theatre School
45
46     March 1
47     Reports from the academic deans of the College of Commerce and the College of Education and
48     all relevant materials submitted to the Office of Academic Affairs and to the candidate
49
50     March 15

                                                         27

                                                                             Calvente-DePaul 000051
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 251 of 408 PageID #:6173

                                                                                          July 1, 2018

 1     Reports from the academic deans of the College of Liberal Arts & Social Sciences and the
 2     College of Science and Health and all relevant materials submitted to the Office of Academic
 3     Affairs and to the candidate.
 4
 5     Winter/Spring Quarter
 6     University Board on Faculty Promotion and Tenure meets with faculty candidates
 7
 8     Five business days from the last UBPT meeting but no later than May 15
 9     UBPT reports due to candidates
10
11     Two weeks from the date UBPT reports are sent to candidates
12     Optional candidate response due to UBPT
13     UBPT report and all relevant materials for all candidates submitted to provost
14
15     June 15
16     Decision of the university provost
17     Notification to candidate of the provost’s decision follows in a timely fashion
18
19




                                                       28

                                                                          Calvente-DePaul 000052
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 252 of 408 PageID #:6174

                                                                                                                                 July 1, 2018


 1     CHAPTER 4. DISCIPLINARY ACTION, SUSPENSION,
 2     TERMINATION, RESIGNATION, AND RETIREMENT
 3
 4     4.1 Overview ....................................................................................................................... 3
 5     4.2 Nonrenewal of Non-Tenured Tenure Line Faculty ...................................................... 3
 6     4.3 Tenured Faculty ............................................................................................................ 5
 7     4.4 Disciplinary Actions Including Dismissal or Suspension for Misconduct ................... 5
 8        4.4.1 Misconduct ............................................................................................................. 5
 9        4.4.2 Categories of Disciplinary Sanctions: .................................................................... 6
10        4.4.3 Initiation of Disciplinary Actions in All Disciplinary Cases Involving Faculty: .. 6
11        4.4.4 Formal Hearing in Cases Involving Major Sanctions Against Tenure-Line
12        Faculty............................................................................................................................. 7
13            4.4.4.1 Initiation of a formal hearing .......................................................................... 7
14            4.4.4.2 Rules and procedures for the Hearing Committee .......................................... 7
15        4.4.5 Appealing the Decision of the Hearing Committee in Cases Involving Major
16        Sanctions Against a Tenure-Line Faculty Member ........................................................ 9
17     4.5 Emergency Suspension ................................................................................................. 9
18     4.6 Termination Due to Financial Exigency ..................................................................... 10
19        4.6.1 Financial Exigency............................................................................................... 10
20        4.6.2 Provost Statement ................................................................................................ 10
21        4.6.3 Financial Exigency Committee ............................................................................ 11
22        4.6.4 Retrenchment Committee .................................................................................... 12
23        4.6.5 Termination Committee(s) ................................................................................... 13
24        4.6.6 University Obligations upon Termination of Tenured Faculty............................ 14
25        4.6.7 Appeal of Termination ......................................................................................... 15
26     4.7 Termination of Tenured Faculty Due to Discontinuance or Substantial Reduction of
27     an Academic Unit or Program .......................................................................................... 15
28        4.7.1 Step 1 ................................................................................................................... 16
29        4.7.2 Step 2 ................................................................................................................... 16
30        4.7.3 Step 3 ................................................................................................................... 16
31        4.7.4 Step 4 ................................................................................................................... 17
32        4.7.5 Step 5 ................................................................................................................... 17
33        4.7.6 University Obligations upon Termination of Tenured Faculty............................ 18
34        4.7.7 Appeal of Termination ......................................................................................... 19
35     4.8 Termination of Tenured Faculty Due to Medical Leave Exceeding Thirty-Six Months
36     ........................................................................................................................................... 19

                                                                             1

                                                                                                       Calvente-DePaul 000053
    Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 253 of 408 PageID #:6175

                                                                                                                        July 1, 2018


1     4.9 Resignation ................................................................................................................. 20
2     4.10 Retirement ................................................................................................................. 20
3




                                                                       2

                                                                                               Calvente-DePaul 000054
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 254 of 408 PageID #:6176

                                                                                              July 1, 2018


 1     CHAPTER 4. DISCIPLINARY ACTION, SUSPENSION,
 2     TERMINATION, RESIGNATION, AND RETIREMENT
 3     4.1 Overview
 4
 5     This chapter summarizes the policies and processes to be followed in disciplinary cases involving
 6     faculty as well as those governing the termination of faculty members. Every faculty member is
 7     entitled to fair and consistent decision-making procedures as a protection against violations of
 8     academic freedom or arbitrary adverse decisions. Tenured faculty may be dismissed only under
 9     provisions set out in this Handbook.
10
11     The term “appointment” refers to the initial contract issued to all faculty. The terms
12     “reappointment” and “non-reappointment” apply to full-time non-tenure line faculty (see Chapter
13     2). The terms “renewal” and “nonrenewal” apply to non-tenured tenure-line faculty.
14
15     Reviews and decisions for appointment, reappointment, renewal, promotion, and tenure are
16     separate actions. Appointment does not guarantee reappointment or renewal, nor does
17     appointment at any rank confer tenure, except where specifically provided in the contract.
18     Promotion at any time from any rank to any other rank does not confer tenure.

19     4.2 Nonrenewal of Non-Tenured Tenure Line Faculty
20
21     When deciding whether to renew the contract of a non-tenured tenure-line faculty member the
22     university follows two general principles:
23
24         1. To select, given available resources, faculty members who will best contribute to its
25            distinctive goals and academic mission. Consequently, the university has the authority
26            and discretion, within the limits of academic freedom, to determine which non-tenured
27            tenure-line faculty members will be retained.
28
29         2. To have no reasonable doubt as to the faculty member’s qualifications for tenure before it
30             reaches a favorable decision on the renewal that results in tenure. The quality of
31             academic programs and therefore the good of the university require careful selectivity in
32             renewal based on the individual faculty member’s qualifications and the needs of the
33             university. Anything that undermines the selective process erodes tenure and quality.
34
35     Non-tenured tenure-line faculty members are subject to an annual probationary review (see
36     Chapter 3). Renewal decisions are made in conjunction with the annual probationary review.
37     Although there is no guarantee of renewal, non-tenured tenure line faculty are entitled to
38     consideration for renewal. Nonrenewal decisions must be based on criteria as described in this
39     Faculty Handbook, and selected from those listed below:
40
41         1. Teaching and learning;
42         2. Scholarship, research, or other creative activities;
43         3. Service;
44         4. Professional advancement, such as the completion of a terminal degree or certificate.
45            This criterion is especially applicable when there is a particular interest or a previous
46            understanding with the faculty member regarding this advancement;

                                                        3

                                                                           Calvente-DePaul 000055
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 255 of 408 PageID #:6177

                                                                                             July 1, 2018

 1         5. Responsible participation in university processes and activities that are generally
 2            considered faculty responsibilities;
 3         6. Change in academic program, such as:
 4                 o   termination or reduction in size of the academic program to which a faculty
 5                     member is assigned;
 6                 o   change in an area of specialization or in emphasis in a program;
 7         7. Financial conditions of the university as a whole or in any particular part, requiring
 8            reduction in the size of the faculty;
 9         8. Professional and ethical conduct.
10
11     Nonrenewal may rest on a single criterion or a combination of several criteria, reflecting the
12     faculty member’s role in the academic unit and the needs of the university. The rationale for the
13     renewal decision must be explained and supported with evidence and with reference to the
14     appropriate criteria.
15
16     The dean and the faculty of the local academic unit must follow the procedures specified in
17     Chapter 3 in making renewal recommendations. Every faculty member in an academic unit is
18     entitled to be judged according to consistent criteria and documentation. Conflicts of interest must
19     be avoided in all faculty evaluations. Any judgment based on a faculty member’s ideological and
20     political positions is a violation of academic freedom.
21
22     As detailed in Chapter 3, the local academic unit normally makes a recommendation on annual
23     renewal and nonrenewal. If the dean does not concur in the recommendation of a local academic
24     unit, the dean shares his or her recommendation with the local academic unit. The local academic
25     unit may appeal the dean’s recommendation to the provost. In such cases, the dean and the local
26     academic unit must provide the provost with written reasons for their respective positions. The
27     provost makes the final decision and reports it to the candidate. A faculty member who is not
28     renewed may file an appeal. (See Chapter 5).
29
30     The non-tenured tenure-line faculty member is entitled to:
31
32     (a) an opportunity to submit materials supporting renewal. The non-tenured tenure-line faculty
33     member will be notified at least 28 calendar days before the local academic unit’s review. The
34     candidate must submit supporting materials to the local academic unit officer at least 14 calendar
35     days prior to the local academic unit review;
36
37     (b) written notification of the decision on renewal. The notification must include the reasons for
38     the decision. A notification to renew should include an assessment of the faculty member’s
39     qualifications, noting those conditions which should be fulfilled for future renewal or tenure. A
40     notification of nonrenewal must include the reasons for the decision, the faculty member’s appeal
41     rights, and the procedures for such appeals as described in Chapter 5.
42
43     The university follows the AAUP guidelines for notice of renewal. Notice of nonrenewal, or of
44     intention not to recommend renewal, should be given in writing in accordance with the following
45     standards and the calendar specified in Chapter 3.
46



                                                        4

                                                                          Calvente-DePaul 000056
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 256 of 408 PageID #:6178

                                                                                                July 1, 2018

 1     1. On or before March 1 of the first academic year of service, if the appointment expires at the
 2        end of that year; or, if a one year appointment terminates during an academic year, at least
 3        three (3) months in advance of its termination.
 4     2. On or before December 15 of the second academic year of service, if the appointment expires
 5        at the end of that year; or, if an initial two year appointment terminates during an academic
 6        year, at least six (6) months in advance of its termination.
 7     3. At least twelve (12) months before the expiration of an appointment after two (2) or more
 8        years in the institution. Notices of reappointments and contract renewal are based on the
 9        university’s annual budget cycle.
10
11     Notification by these dates shall constitute sufficient notification for not offering another contract
12     even though appeal and subsequent review might mean that the final decision is rendered less
13     than a year before the end of the final contract.
14
15     A non-tenured tenure-line faculty member informed that his or her contract is not to be
16     renewed may appeal the decision not to renew. See Chapter 5, Appeals and Grievances.
17

18     4.3 Tenured Faculty
19
20     Tenure creates the presumption of continuing employment. Tenured faculty may be dismissed
21     only under provisions set out in this handbook. Tenured faculty are not renewed annually.
22
23
24     4.4 Disciplinary Actions Including Dismissal or Suspension for Misconduct

25     4.4.1 Misconduct
26     The university’s response to allegations of faculty misconduct may vary according to the nature
27     of the misconduct, its seriousness, its impact on the university’s reputation or the well-being of
28     other members of the university community, and any prior record of misconduct by the faculty
29     member. Disciplinary sanctions may apply to any full-time faculty member, including, but not
30     limited to, all tenure-line faculty. Faculty members who hold administrative appointments are
31     subject to these provisions with respect to their role as faculty members.
32
33     Misconduct includes, but is not limited to, violations of university policies, including the Faculty
34     Handbook and anti-discrimination and anti-harassment policies; violations of academic or
35     scholarly integrity; a pattern or practice of failing to meet university contractual obligations; or a
36     pattern of extreme intimidation and aggression towards other members of the university
37     community.
38
39     Disciplinary proceedings are reserved for situations that warrant the imposition of a major or a
40     minor sanction. Inadequate performance in teaching, scholarship/research/creative activities, or
41     service that does not rise to the level of misconduct must be dealt with during the standard
42     processes for faculty review and/or reappointment/renewal.
43
44     All procedures are to be carried out as expeditiously as is reasonably possible. All time guidelines
45     in this section refer only to calendar or business days within regular academic terms — Fall,
46     Winter, and Spring quarters or Fall and Spring semesters— and are to be construed as
47     recommended maximums.


                                                         5

                                                                             Calvente-DePaul 000057
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 257 of 408 PageID #:6179

                                                                                            July 1, 2018


1      4.4.2 Categories of Disciplinary Sanctions:
2
3          •   Minor sanctions: sanctions short of suspension or dismissal
4          •   Major sanctions: suspension or dismissal
5

 6     4.4.3 Initiation of Disciplinary Actions in All Disciplinary Cases Involving Faculty:
 7
 8         1. The dean initiates an investigation of alleged faculty misconduct, except in situations
 9            where initiation of disciplinary action is based on OIDE findings, in which case the dean
10            will work in consultation with OIDE.
11         2. The dean should attempt to resolve the issue through an informal process resulting in
12            both parties agreeing with the outcome.
13         3. If informal resolution fails, the dean will present the faculty member with a statement of
14            charges. The faculty member will be provided an opportunity to submit a rebuttal within
15            two weeks of the presentation of the statement of charges. If the faculty member
16            perceives that the dean has a conflict of interest, he or she may simultaneously request in
17            writing that the dean appoint a designee. The dean may deny the request with written
18            reasons.
19         4. After the statement of charges is presented, either party may invite a DePaul colleague to
20            act as an advisor. The advisor may attend but not participate in any meeting related to the
21            case. Within four weeks of the presentation of the charges, the dean or the designee will
22            conduct a detailed review of the charges and the rebuttal, if any, and prepare a report.
23         5. The faculty member may examine the report and any evidence referenced in the report
24            and will be given two weeks to provide a final statement before a decision is reached.
25         6. In all cases, the burden of proof is with the dean and a recommendation for sanctions
26            must be supported by a preponderance of evidence.
27         7. The dean shall make a decision within eight weeks of the presentation of the charges.
28            This decision may be one of the following: (1) to dismiss the case; (2) to impose a minor
29            sanction; or (3) to refer the case to the provost for major sanctions.
30
31     The dean shall file with the office of the provost the statement of charges, the faculty member’s
32     rebuttal, the report, the final statement by the faculty member and the dean’s own written
33     decision. The office of the provost shall maintain this information
34
35     In cases involving minor sanctions:
36     The dean makes the decision on the sanctions to be imposed. The faculty member may grieve the
37     decision according to the grievance procedures of Chapter 5. To the extent possible, the dean and
38     the provost will not release any information about the sanctions.
39
40     In cases involving major sanctions:
41     If the dean’s written decision includes a recommendation for major sanctions, the provost (or
42     designee) will conduct a detailed review of the charges and any evidence provided by the parties
43     at the college level. The provost (or designee) may interview the parties or consult additional
44     experts and request additional evidence from the parties.
45
46     The provost will make a decision within ten weeks of the presentation of the statement of the
47     charges.
48
49     The provost’s decision will be one of the following:

                                                        6

                                                                          Calvente-DePaul 000058
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 258 of 408 PageID #:6180

                                                                                              July 1, 2018

 1
 2         1. dismiss the case; or
 3         2. issue a minor sanction; or
 4         3. (in the case of term faculty only) impose a major sanction without a formal hearing (in
 5            this case, the term faculty member has the right to appeal to the Faculty Committee on
 6            Appeals according to procedures in Chapter 5); or
 7         4. (in the case of tenure-line of faculty) refer the case for a formal faculty hearing with a
 8            recommendation for a major sanction (see below for detailed procedure).

 9     4.4.4 Formal Hearing in Cases Involving Major Sanctions Against Tenure-Line
10     Faculty
11
12     4.4.4.1 Initiation of a formal hearing
13         1. The provost will notify the faculty member of the intent to refer the case for a formal
14              faculty hearing with a recommendation for a major sanction. The faculty member may
15              waive the right to the hearing and choose to have the case decided by the provost. In that
16              case, the provost’s decision will be final and may not be appealed or grieved further.
17              Otherwise, the provost will initiate a request for a formal Hearing Committee and appoint
18              a designee to serve as complainant (“university representative”) in the disciplinary
19              proceeding. If a conflict of interest is perceived, the faculty member may request, with
20              justification, a different university representative which can be denied by the provost with
21              written reasons.
22         2. The university representative must file a detailed statement of charges with the Faculty
23              Council President, a copy of which will simultaneously be provided to the faculty
24              member.
25         3. The faculty member will have four weeks to submit a written response to the charges
26              once they have been filed with Faculty Council.
27         4. The university representative will forward the following information to the Hearing
28              Committee: (a) the statement of charges; (b) the response; (c) a list of individuals who
29              may have pertinent information about the case; (d) and the records of any earlier
30              investigations or decisions.
31         5. The burden of proof rests with the university. The charges against the faculty member
32              must be established by a preponderance of evidence.
33
34     4.4.4.2 Rules and procedures for the Hearing Committee
35         1. The Hearing Committee will be comprised of three tenured faculty members selected in
36             the following manner: Faculty Council shall identify a panel of nine tenured faculty
37             members not affiliated with the college or school of the faculty member. Faculty Council,
38             in conjunction with both parties will develop a process for interviewing the nine selected
39             faculty members. In alternating fashion, with the university going first, each party
40             excludes three members from the panel. The remaining members of the panel constitute
41             the Hearing Committee. The committee shall select its own chair.
42         2. The Hearing Committee shall not disclose the evidentiary record, including deliberations
43             and findings, except to those with a legitimate need to know.
44         3. The Hearing Committee may attempt an informal resolution of the case before
45             proceeding to a formal hearing. If it cannot resolve the matter informally, then it will
46             schedule a formal hearing.
47         4. The university will assume all costs directly incurred by the Hearing Committee.
48         5. The Hearing Committee will conduct a prehearing meeting with the faculty member and
49             the university representative to clarify the issues, stipulate facts, finalize the list of

                                                        7

                                                                           Calvente-DePaul 000059
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 259 of 408 PageID #:6181

                                                                                             July 1, 2018

 1              individuals who may have information relevant to the hearing, provide for the exchange
 2              of documentary or other information, and identify other appropriate objectives to make
 3              the hearing fair, effective, and expeditious. The committee will provide both parties with
 4              a written record of its decisions.
 5        6.    The chair of the Hearing Committee will notify all concerned parties of the time and
 6              location of the hearing. Notice of the hearing must be in writing and made at least two
 7              weeks prior to the hearing. Time extension or rescheduling requests by the faculty
 8              member or the university representative may be granted by the chair for good reason.
 9        7.    At any time before the start of the hearing, the faculty member may choose not to
10              participate in person but may choose to submit a written response to the specific charges.
11              In the event the faculty member does not participate in person he or she may still deny
12              the charges or assert that the charges do not support a finding for a major sanction.
13        8.    The hearing will proceed in the absence of either the faculty member or the university
14              representative who fails to appear at the hearing after receiving notification. Only
15              circumstances that are beyond a party’s control and that prevent a party’s attendance at
16              the hearing will constitute good reason to reschedule the hearing. The Hearing
17              Committee will make the determination as to whether there is good reason for the
18              absence.
19        9.    The Hearing Committee (on its own or at the request of either party) may invite persons
20              from inside or outside the university to give testimony relevant to the matter. University
21              personnel will make every effort to cooperate with the committee in securing witnesses
22              and making evidence available. The parties shall have the right to cross-examine all
23              witnesses.
24        10.   The faculty member may receive the assistance of counsel of her or his choosing and at
25              her or his cost. If the faculty member employs an attorney for the hearing, and the
26              decision is not for a major sanction, the University will reimburse the faculty member for
27              at least one-half of the reasonable legal expenses, the precise proportion to be decided by
28              the Hearing Committee, depending on the degree to which the University case had merit.
29        11.   All hearings are closed to the public. The Hearing Committee, at its sole discretion, may
30              remove participants in the hearing who disrupt the process.
31        12.   The hearing will be transcribed. At the conclusion of the hearing, the parties shall have
32              unrestricted access to the full evidentiary record and a copy of the complete transcript.
33              The parties will be given a reasonable period of time, specified by the committee, to
34              examine this record. After examining the record, the faculty member and the university
35              may file closing statements, copies of which will be provided by the chair to the other
36              parties.
37        13.   Subsequent to filing the closing statements, the Hearing Committee will deliberate in a
38              closed session.
39        14.   The findings of the Hearing Committee may be only one of the following: (1) adequate
40              cause for dismissal, (2) adequate cause for suspension, (3) adequate cause for a minor
41              sanction, or (4) adequate cause has not been established for major or minor sanctions. If
42              the finding is for a sanction other than dismissal, the Hearing Committee shall include in
43              its report recommendations for appropriate sanctions.
44        15.   The findings and the decision of the Hearing Committee on appropriate sanctions must be
45              supported by a majority vote and be specified in a written report. The chair of the
46              Hearing Committee will submit the report to the provost and the faculty member.
47        16.   The provost (or president if the provost has a conflict of interest) may either accept the
48              decision of the Hearing Committee or resubmit this decision to the committee with
49              specific objections. In the latter case, the committee will then reconsider only points to
50              which the provost has objections, receiving new evidence if necessary. After its


                                                        8

                                                                           Calvente-DePaul 000060
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 260 of 408 PageID #:6182

                                                                                                  July 1, 2018

 1             reconsideration, the Hearing Committee will deliver its final decision to the provost (or
 2             president if the provost has a conflict).
 3

 4     4.4.5 Appealing the Decision of the Hearing Committee in Cases Involving Major
 5     Sanctions Against a Tenure-Line Faculty Member
 6
 7     In cases involving major sanctions against tenure-line faculty either party (the provost/president
 8     on behalf of the university or the faculty member) has the right to appeal a decision by the
 9     Hearing Committee to an Appeals Board.
10
11     Grounds for appeal could be one or more of the following:
12        1. Procedural violations that compromised the ability of a party to present arguments or
13            evidence or to do so in a timely manner; procedural violations that compromised the
14            committee’s consideration of the evidence and arguments presented;
15        2. Failure of the committee to apply appropriate standards under which the charges were
16            brought and under which the charges should have been considered; failure of the
17            committee to consider relevant evidence actually presented;
18        3. Arbitrary decisions of the committee that could not reasonably follow under the standards
19            applied and given the evidence presented.
20
21     Makeup of the Appeals Board:
22        1. Two deans (excluding the dean involved in the case) selected by the Council of Deans.
23        2. Two faculty members (without a conflict of interest in the case) selected by the Faculty
24           Council from among the twelve members of the Faculty Committee on Appeals.
25        3. One additional member selected jointly by the president of the university and the
26           president of Faculty Council.
27
28     The Appeals Board may take one of the following actions:
29        1. Accept the decision of the Hearing Committee; or
30        2. Send back the matter to the Hearing Committee with specific recommendations for
31           additional actions or changes. This action should be taken if the Appeals Board believes
32           that the decision was influenced by the procedural or standards violations, but those
33           violations can be remedied by the Hearing Committee. In this case the Hearing
34           Committee shall take appropriate action taking into account the Appeals Board’s
35           recommendations and issue a revised report with a final decision; or
36        3. Reject the Hearing Committee’s decision and conduct a new hearing. This action may
37           only be taken if the Appeals Board can demonstrate that no reasonable decision-maker
38           could have arrived at the conclusion of the Hearing Committee based on the facts
39           presented, or the procedural violations were so egregious that they compromised the
40           integrity of the process. Should the Appeals Board initiate such a rehearing, it must issue
41           a written opinion with its findings regarding the deficiencies in the Hearing Committee
42           decision before commencing its rehearing. In conducting a rehearing the Appeals Board
43           will follow the same operating procedures required of the Hearing Committee.
44
45     In all three cases, there is no further appeal from this decision within the university.
46

47     4.5 Emergency Suspension
48

                                                         9

                                                                             Calvente-DePaul 000061
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 261 of 408 PageID #:6183

                                                                                             July 1, 2018

 1     In an emergency where potentially serious harm must be prevented and immediate action must be
 2     taken before initiating the disciplinary procedures set out in this chapter, the provost may suspend
 3     a faculty member. The provost shall inform the faculty member in writing of the terms of the
 4     suspension. Within a reasonable timeframe of issuing the written notice, the provost shall either
 5     lift the suspension or initiate the formal disciplinary procedures. The suspension will not continue
 6     beyond the time required to remove the actual or potential harm, ordinarily not beyond the
 7     academic year.
 8
 9     A faculty member may grieve a suspension under this section only if the dean declines to initiate
10     formal disciplinary procedures. SEE CHAPTER 5 APPEALS AND GRIEVANCES.
11
12     The faculty member suspended from active service to the university will receive full
13     compensation during the suspension until the time of justifiable dismissal for misconduct.

14     4.6 Termination Due to Financial Exigency

15     4.6.1 Financial Exigency
16
17     Termination of an appointment with tenure may occur due to financial exigency of the
18     university. Financial exigency is a financial crisis that fundamentally compromises the
19     academic integrity of the institution as a whole. The crisis usually results from substantial
20     and recurring financial deficits that cannot be offset by prudent use of the university’s
21     reserves.
22
23     Prior to declaring exigency, the university president, provost, and executive vice
24     president will retrench operations in all areas before taking steps that could lead to the
25     termination of tenured faculty. These retrenchments will be made up to the point where
26     there would be a danger of seriously jeopardizing the academic quality or the essential
27     operations of the university.
28
29     With the exception of the work of the identified committees, all of the steps specified
30     below in Subsections 4.6.2 thru 4.6.7 (inclusive) must be initiated, conducted, and
31     completed within the regular academic year calendar – from the opening date of regular
32     day and evening Autumn quarter classes to the date of the last final exam in Spring
33     quarter. Any steps that remain uncompleted at the close of business on the date of the last
34     final exam in Spring quarter shall be suspended until the following autumn quarter
35     commences.
36

37     4.6.2 Provost Statement
38
39     The provost shall issue a formal statement to the president of the Faculty Council and the
40     president of the Staff Council, indicating and providing documentary support of the
41     existence of financial exigency. The statement will address the following points:
42
43     1. Evidence of financial exigency and the need for serious retrenchments involving the
44         termination of tenured faculty;

                                                       10

                                                                           Calvente-DePaul 000062
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 262 of 408 PageID #:6184

                                                                                       July 1, 2018


1      2. Evidence in support of assumptions underlying projections of future revenues and
2          costs;
3      3. Dollar amount and distribution of the retrenchments that have been made or can be
4          made in all parts of the university without terminating tenured faculty appointments,
5          including possible administrative salary reductions; and
6      4. Dollar amount of decrease in expenditures to be realized in colleges that will result in
7          the termination of tenured faculty appointment(s).
8

 9     4.6.3 Financial Exigency Committee
10
11     The statement by the provost shall be reviewed by a Financial Exigency Committee to
12     determine whether there is sufficient evidence to declare financial exigency. The
13     committee shall consist of four tenured faculty members (none of whom hold
14     administrative appointments at the level of Associate Dean or above), one staff member,
15     one student, one representative of the Board of Trustees, the executive vice president and
16     the provost (ex officio). The committee will select one of its members to act as chair.
17     Faculty Council will appoint the faculty members; Staff Council will select the staff
18     member; Student Government Association will select the student member; and the Board
19     of Trustees will select its representative. Members of the committee may be chosen from
20     any area of the university. The executive vice president shall convene the committee
21     within two weeks upon receipt of the statement from the provost.
22
23     Within two weeks of request, the university shall provide the Financial Exigency
24     Committee with all university data necessary to evaluate the provost’s statement. This
25     data must include (1) records of current and past operations and financial position, and
26     (2) projections of future operations and financial position. When necessary, the
27     committee may also invite faculty, staff, or other knowledgeable persons to provide
28     information. The committee shall keep a formal record of its deliberations and votes
29     within 30 days of receipt of the requested financial information, the committee will
30     evaluate the financial data, and vote on whether a condition of financial exigency exists
31     that requires the termination of tenured faculty. The committee will issue a report. If the
32     committee finds that financial exigency exists, its report on financial reductions shall
33     consider the university’s complete set of financial statements, not simply revenues and
34     costs. The committee shall carefully consider whether and how the university’s real
35     estate and other assets might be sold, refinanced or otherwise reallocated.

36     If the committee concludes that such financial exigency exists, the report must include
37     the amount of reduction needed (1) in the areas of academic affairs that are not part of the
38     schools and colleges, and (2) in the colleges and schools. If the committee concludes that
39     no such financial exigency exists, the report must include a rationale for this conclusion.
40
41     The report of this committee will be sent to the Faculty Council, Staff Council, and the
42     Student Government Association for review and comment. All comments are due to the
43     Financial Exigency Committee within 30 days of receipt. The Financial Exigency
44     Committee will send its report and any comments from the councils and SGA to the
45     university president for final decision.
                                                    11

                                                                      Calvente-DePaul 000063
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 263 of 408 PageID #:6185

                                                                                       July 1, 2018


 1
 2

 3     4.6.4 Retrenchment Committee
 4
 5     In the event that the president of the university concludes that financial exigency exists,
 6     the provost will prepare a proposal indicating the specific methods for dealing with the
 7     financial exigency, including (1) the amount of the financial reductions outside of the
 8     schools and colleges, (2) the amount of financial reductions within each school and
 9     college, (3) the nature and timing of the retrenchments, and (4) the effects of these
10     retrenchments on specific academic programs.
11
12     This proposal will be submitted to a Retrenchment Committee consisting of three tenured
13     faculty members (none of whom hold administrative appointments at the level of
14     Associate Dean or above) appointed directly by the Faculty Council, one college dean
15     chosen by the Dean’s Council, and the provost. The committee will select one of its
16     members to act as chair. The three tenured faculty members must be chosen from
17     different colleges within the university. Members of the committee must understand and
18     agree that they do not represent their academic units. They must take into account the
19     seriousness of the situation and make decisions based on the best long-term interests of
20     the university.
21
22     The provost shall also submit the proposal to the dean of each affected school or college
23     who, after consulting with his/her faculty, may present a written recommendation to the
24     Retrenchment Committee as to how the required reduction could be achieved.
25
26     Before the Retrenchment Committee reaches any decision, it must provide the affected
27     faculty and staff the recommendations and the opportunity to respond in writing to the
28     provost’s and deans’ recommendations. The Retrenchment Committee will also convene
29     a meeting open to all tenured faculty, at which it will consult the faculty and respond to
30     their concerns. The provost’s recommendation, as well as any dean’s recommendation,
31     must be made available to the tenured faculty no less than two weeks before the open
32     meeting.

33
34     To achieve the specified amount of financial reduction, the Retrenchment Committee will
35     make a final decision that states:
36
37     1. The dollar amount of reduction required of each school or college, other than by
38        termination of full-time faculty;
39     2. The dollar amount of reduction in each college through the termination of full-time
40        faculty; and
41     3. A list of academic units financially capable of absorbing faculty transfers/affiliation
42        from other units including an estimate of the number of tenured positions that could
43        be accommodated in each.



                                                    12

                                                                      Calvente-DePaul 000064
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 264 of 408 PageID #:6186

                                                                                      July 1, 2018


 1     The Retrenchment Committee shall send its final decision to the provost, the deans of
 2     affected colleges and schools, the president of Faculty Council, the president of Staff
 3     Council, and the president of the Student Government Association.

 4     4.6.5 Termination Committee(s)
 5
 6     Based on the decision of the Retrenchment Committee, Faculty Council shall constitute a
 7     Termination Committee for each college that must terminate faculty due to the
 8     retrenchment. Each Termination Committee shall consist of three tenured faculty
 9     members appointed directly by Faculty Council; the members shall be drawn from
10     outside the affected college and shall not be affiliated with the programs or departments
11     in which retrenchments have been mandated. Faculty members who hold administrative
12     appointments at the level of associate dean or above are ineligible to serve. The
13     Committee shall select one of its own members as chair.

14     The chair of each Termination Committee shall call for the dean of the affected college to
15     consult with local academic unit officers and then submit to the Termination Committee a
16     proposal specifying which faculty will be terminated. If a college is to be phased out or if
17     colleges are to be merged, the provost shall submit the proposal after consultation with
18     the local academic unit officers and relevant deans.

19     Faculty from affected units will be given the opportunity to submit written statements,
20     including CVs and other relevant materials that discuss their qualifications and the
21     rationale for their retention.

22     The dean or provost, in making his or her proposals for termination, and the Termination
23     Committee, in evaluating the proposals, are to decide according to the following criteria
24     and in this order of priority:
25
26        1. Program viability: faculty required for a viable academic program may be
27           retained if the program itself is not to be phased out. Quality of faculty
28           performance may be considered in evaluating whether a faculty member is
29           required for a viable academic program. In extraordinary circumstances, where a
30           serious distortion of the academic program would otherwise result, one or more
31           non-tenured faculty members may be retained. Materials submitted by the
32           affected faculty member(s) must be considered by the Termination Committee
33           along with other relevant material.
34        2. Tenure: tenured faculty are to be retained over non-tenured faculty; and
35        3. Seniority: more senior faculty are to be retained over less senior faculty. Seniority
36           is defined first by rank and second by years in rank.
37
38     In evaluating the proposals and the application of the above criteria, the Termination
39     Committee will comply with the university’s equal employment opportunity policies and
40     procedures.
41


                                                   13

                                                                     Calvente-DePaul 000065
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 265 of 408 PageID #:6187

                                                                                     July 1, 2018


 1     The Termination Committee(s) will submit their recommendations to the provost, the
 2     deans of the affected units, the department chairs or program heads, and the president of
 3     the Faculty Council.
 4
 5     The provost makes the final determination on termination. Only in rare instances and for
 6     compelling reasons will the provost overturn a recommendation made by the Termination
 7     Committee. If the provost’s decision differs from the recommendation, the provost must
 8     prepare a written explanation and provide it to the deans of the affected units, the
 9     department chairs or program heads, and the president of the Faculty Council.
10

11     4.6.6 University Obligations upon Termination of Tenured Faculty
12
13        1. If a tenured faculty member designated for termination believes he or she is
14           qualified to be transferred, he or she must identify at least one local academic unit
15           or college which was identified by the retrenchment committee as capable of
16           absorbing faculty transfers. The affected faculty member will have the
17           opportunity to submit a written statement regarding his or her fitness to serve as a
18           tenured faculty member in each of the identified units. The faculty member is
19           entitled to attach to his or her written statement any relevant documents or
20           materials. The faculty member may describe any additional training that might be
21           appropriate. The faculty member has the right to access all relevant available
22           information within the university to assist in identifying the units in which he or
23           she would be qualified to serve and to assist in preparing the written statement.
24
25            If the faculty member designated for termination requests a transfer, the local
26            academic unit officer of each of the identified units
27            a) Must call a meeting of all the eligible faculty of that unit to vote on the
28                 transfer of the faculty member to that unit,
29            b) Must circulate, prior to that meeting, to all such eligible faculty, on a
30                 confidential basis, the faculty member’s written statement,
31            c) Must provide an opportunity for the faculty member to make an oral
32                 presentation to the eligible faculty of the unit and to answer questions,
33            d) Must hold a vote of eligible faculty when a quorum is present. A majority vote
34                 of the eligible tenured faculty in attendance is necessary and sufficient to
35                 accept the faculty member.
36
37        Should more than one unit accept the faculty member, the faculty member must select
38        one. Upon the faculty member’s selection of a unit for transfer, the provost will take
39        necessary steps to effectuate the transfer.
40
41     2. Should no unit accept the faculty member, then the terminated faculty member shall
42        be entitled to no less than twelve months’ notice of termination or a payment equal to
43        the faculty member’s contract salary and benefits for an equal length of time. A
44        faculty member who has been tenured at the university for fifteen years or more of
45        continuous tenured service shall be entitled to a minimum of twenty-four months’

                                                   14

                                                                    Calvente-DePaul 000066
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 266 of 408 PageID #:6188

                                                                                           July 1, 2018


 1         notice of termination or a payment equal to the faculty member’s contract salary and
 2         benefits for an equal length of time.
 3
 4     3. The university is obligated not to approve new full-time faculty hires in a terminated
 5        faculty member’s areas of expertise (defined as courses that the faculty member has
 6        either previously taught or is qualified and willing to teach) within a three-year period
 7        unless the terminated faculty member has been offered reinstatement with reasonable
 8        time in which to accept or decline. Within this three-year period after retrenchment
 9        and termination, no more than three additional quarter-length or two semester-length
10        course sections per year may be offered by adjunct or term faculty within the
11        terminated faculty member’s areas of expertise. In instances where the University
12        finds compelling need to offer more than three additional quarter-length or two
13        semester-length course sections per year in a terminated faculty member’s areas of
14        expertise through the use of adjunct or term faculty, the provost will bring a proposal
15        to Faculty Council for its approval.
16
17     4. The university is obligated not to approve additional full-time faculty positions
18        outside of terminated faculty members’ areas of expertise, including in other
19        academic programs or units of the university over a three-year period except in
20        extraordinary circumstances where such faculty appointments are needed to sustain
21        growth or maintain academic programs. In such instances, the provost will bring a
22        proposal to Faculty Council for its review. Only in rare instances and for compelling
23        reasons will the provost overturn the recommendations of Faculty Council.
24

25     4.6.7 Appeal of Termination
26
27     A tenured faculty member notified of termination because of financial exigency has a
28     right to appeal to a faculty committee regarding the selection of the area and type of
29     retrenchment and selection of specific faculty appointments to be terminated. See
30     Chapter 5.

31     4.7 Termination of Tenured Faculty Due to Discontinuance or Substantial
32     Reduction of an Academic Unit or Program

33
34     The university may discontinue or substantially reduce an academic unit or program. Such
35     decisions must be based on educational concerns and the institution's overall educational mission.
36     If a proposal for discontinuance or substantial reduction involves curricular change but not
37     termination of tenured faculty, it shall be vetted according to Faculty Council’s regular policies
38     and procedures. If the proposal does involve termination of tenured faculty, then the following
39     steps must be followed instead.
40
41     All of the specified steps must take place during the normal academic year.
42



                                                      15

                                                                         Calvente-DePaul 000067
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 267 of 408 PageID #:6189

                                                                                              July 1, 2018


 1     4.7.1 Step 1
 2     The dean of the college responsible for the academic unit in question or the provost shall submit a
 3     formal proposal (“the Proposal”) to the Faculty Council. The dean or provost shall also share the
 4     Proposal with the faculty of the unit(s) affected by the proposed changes.
 5
 6     The Proposal should address the following:
 7
 8     1. The extent and scope of the discontinuance or substantial reduction of the academic unit or
 9        program, including the number of faculty to be terminated and the nature of the curricular
10        change, if any;
11     2. Justification and rationale for the proposed reduction or discontinuance of the academic unit
12        or program (including criteria typically used to evaluate the discontinuance or substantial
13        reduction of programs);
14     3. Justification and rationale for the termination of faculty as a result of the discontinuance or
15        substantial reduction of the academic unit or program;
16     4. Explanation of how the discontinuance or substantial reduction of the academic unit or
17        program, including the termination of faculty, aligns with the university’s academic priorities
18        and educational mission;
19     5. Description of how the discontinuance or substantial reduction of the academic unit or
20        program, including the termination of faculty, will affect the academic quality of the
21        institution;
22     6. Description of the specific steps to be taken in restructuring or phasing out the unit and a
23        proposed timeline (e.g., merging with another unit, shrinking or discontinuing a particular
24        program within or across units).
25

26     4.7.2 Step 2
27     Faculty Council shall constitute a Review Committee of five tenured faculty members to evaluate
28     the Proposal and prepare a report and recommendations for the Faculty Council. No member of
29     the Review Committee may be from a unit to be affected by the discontinuance or substantial
30     reduction. The Review Committee shall submit the Proposal and its report to the Faculty Council
31     and to the tenure-line faculty members attached to any unit directly affected by the proposed
32     reductions or eliminations. The tenured faculty members also have a right to submit, individually
33     and/or as a group, a statement to Faculty Council. This statement must be submitted, within
34     twenty calendar days of the receipt of the documents, to Faculty Council.
35

36     4.7.3 Step 3
37     Faculty Council, after receiving the report of the Review Committee and statements from tenured
38     faculty members at the Faculty Council meeting, will vote on the Proposal within two months.
39     All votes on discontinuance or substantial reduction must be conducted by secret ballot. If
40     Faculty Council accepts the Proposal from the dean/provost, it will forward its decision to the
41     university president.
42
43     If Faculty Council rejects the Proposal, it will provide its reasons and rationale and make specific
44     recommendations for revision to the dean/provost. It may also request a meeting with
45     dean/provost in order to discuss its concerns and make its reservations clear. The dean/provost
46     may then revise the Proposal in light of these recommendations and resubmit the Proposal to
47     Faculty Council for its final vote.
48

                                                        16

                                                                           Calvente-DePaul 000068
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 268 of 408 PageID #:6190

                                                                                              July 1, 2018


 1     4.7.4 Step 4
 2     If Faculty Council accepts the Proposal, it will forward its decision to the university president and
 3     full-time faculty members of all affected units or programs. The tenure-line faculty members
 4     attached to any unit directly affected by the proposed reductions or eliminations have a right to
 5     the records used in the deliberation process. The tenured faculty members also have a right to
 6     submit, individually or as a group, within twenty calendar days of the Faculty Council decision, a
 7     statement to the university president explaining a position contrary to that decision.
 8
 9     The university president shall not make a decision without considering the statements submitted
10     by the tenured faculty members affected by proposed discontinuance or substantial reduction. The
11     university president shall either accept the Proposal or, under exceptional circumstances, revise
12     the Proposal and resubmit to Faculty Council for a vote within thirty calendar days of notification
13     of the Faculty Council decision.
14
15     Faculty Council will make the final decision on the Proposal.

16     4.7.5 Step 5
17     Should the Proposal be accepted by the university president, Faculty Council, within fifteen
18     calendar days, shall constitute a Termination Committee of three tenured faculty members; the
19     members shall be drawn from outside the affected college and shall not be affiliated with the
20     affected academic units or programs. Faculty members who hold administrative appointments at
21     the level of associate dean or above are ineligible to serve. The Termination Committee shall
22     select one of its own members as chair.
23
24     Within fifteen calendar days of the president’s decision, the dean of the affected college, in
25     consultation with local academic unit officers, will submit to the Termination Committee a
26     proposal (“Termination Proposal”) specifying which faculty affiliated with the affected program
27     or unit will be terminated. If a college is to be eliminated or if colleges are to be merged, the
28     provost shall consult with the local academic unit officers and relevant deans and then submit the
29     Termination Proposal to the Termination Committee.

30     The tenured faculty members from affected units will be given the opportunity to submit written
31     statements, including CVs and other relevant materials that discuss their qualifications and the
32     rationale for their retention to the Termination Committee.
33
34     The dean or provost, in making his or her Termination Proposal, and the Termination Committee,
35     in evaluating the Termination Proposal, are to decide according to the following criteria and in
36     this order of priority:
37
38         1. Program viability: faculty required for a viable academic program may be retained if the
39            program itself is not to be phased out. Quality of faculty performance may be considered
40            in evaluating whether a faculty member is required for a viable academic program. In
41            extraordinary circumstances, where a serious distortion of the academic program would
42            otherwise result, one or more non-tenured faculty members may be retained. In such
43            circumstances the Termination Committee must explain why a particular faculty
44            member’s expertise is no longer needed. Materials submitted by the affected faculty
45            member(s) must be considered by the Termination Committee along with other relevant
46            material.
47         2. Tenure: tenured faculty are to be retained over non-tenured faculty; and


                                                        17

                                                                           Calvente-DePaul 000069
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 269 of 408 PageID #:6191

                                                                                               July 1, 2018

 1         3. Seniority: more senior faculty are to be retained over less senior faculty. Seniority is
 2            defined first by rank and second by years in rank.
 3
 4     In evaluating the Termination Proposal and the application of the above criteria, the Termination
 5     Committee will comply with the university’s equal employment opportunity policies and
 6     procedures.
 7
 8     The Termination Committee, within thirty calendar days of receiving the Termination Proposal,
 9     will submit its recommendations to the provost, the deans of the affected units, the department
10     chairs or program heads, and the president of the Faculty Council.
11
12     The provost makes the final determination on termination. Only in rare instances and for
13     compelling reasons will the provost overturn a recommendation made by the Termination
14     Committee. If the provost’s decision differs from the recommendation, the provost must prepare a
15     written explanation and provide it to the deans of the affected units, the department chairs or
16     program heads, and the president of the Faculty Council.
17

18     4.7.6 University Obligations upon Termination of Tenured Faculty
19         1. If a tenured faculty member designated for termination believes he or she is qualified to
20            be transferred, he or she must identify at least one local academic unit or college. The
21            affected faculty member will have the opportunity to submit a written statement
22            regarding his or her fitness to serve as a tenured faculty member in each of the identified
23            units. The faculty member is entitled to attach to his or her written statement any relevant
24            documents or materials. The faculty member may describe any additional training that
25            might be appropriate. The faculty member has the right to access all relevant available
26            information within the university to assist in identifying the units in which he or she
27            would be qualified to serve and to assist in preparing the written statement. Within thirty
28            calendar days of receipt of the information from the university, the faculty member must
29            submit a request for transfer to each of the identified units.
30
31             If the faculty member designated for termination requests a transfer, the provost must
32             inform the local academic unit officers of each of the identified units. Within forty five
33             calendar days of the provost’s notification, the local academic unit officers of the
34             identified units;
35             a) Must call a meeting of all the eligible faculty of that unit to vote on the transfer of the
36                  faculty member to that unit;
37             b) Must circulate, prior to that meeting, to all such eligible faculty, on a confidential
38                  basis, the faculty member’s written statement;
39             c) Must provide an opportunity for the faculty member to make an oral presentation to
40                  the eligible faculty of the unit and to answer questions;
41             d) Must hold a vote of eligible faculty when a quorum is present. A majority vote of the
42                  eligible tenured faculty in attendance is necessary and sufficient to accept the faculty
43                  member.
44
45                 Should more than one unit accept the faculty member, the faculty member must
46                 select one. Upon the faculty member’s selection of a unit for transfer, the provost will
47                 take necessary steps to effectuate the transfer.
48


                                                        18

                                                                            Calvente-DePaul 000070
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 270 of 408 PageID #:6192

                                                                                                July 1, 2018

 1     2. Should no unit accept the faculty member, the university will make every effort to place the
 2        faculty member concerned in another suitable university position for which the person is
 3        qualified. If placement in another university position would be facilitated by a reasonable
 4        period of training, financial and other support for such training will be proffered.
 5
 6     3. If no position is available within the institution, with or without retraining, or if the faculty
 7        member chooses not to pursue another position within the university, the tenured faculty
 8        member's appointment will be terminated. The terminated tenured faculty member shall be
 9        entitled to a severance payment equal to twenty-four months’ contract salary and benefits.
10
11     4. The university is obligated not to approve new full-time faculty hires in a terminated faculty
12        member’s areas of expertise (defined as courses that the faculty member has either previously
13        taught or is qualified and willing to teach in any academic unit) within a three-year period
14        unless the terminated faculty member has been offered reinstatement with reasonable time in
15        which to accept or decline. Within this three-year period, no more than three additional
16        quarter-length or two semester-length course sections per year may be offered by tenured or
17        non-tenured faculty within that faculty member’s areas of expertise. In instances where the
18        university finds compelling need to offer more than three additional quarter-length or two
19        semester-length course sections per year in a terminated faculty member’s areas of expertise
20        through the use of tenured or non-tenured faculty, the provost will bring a proposal to Faculty
21        Council for its approval.
22

23     4.7.7 Appeal of Termination
24     A tenured faculty member notified of termination because of discontinuance or substantial
25     reduction of an academic unit or program has the right to appeal to a faculty committee regarding
26     the selection of his or her specific faculty appointment for termination. See Chapter 5.
27

28     4.8 Termination of Tenured Faculty Due to Medical Leave Exceeding Thirty-Six
29     Months
30
31     If illness or disability prevents a faculty member from performing his or her university
32     obligations and duties, the faculty member may request a medical leave under the university’s
33     Family and Medical Leave Act policy and the Sick Pay, Short and Long Term Disability policy.
34     All medical leaves are subject to the policies and procedures of the applicable leave and benefit
35     programs, including physician certification of illness or disability and ability to return to work.
36     Information about university leave and benefit programs are described at the Human Resources
37     website.
38
39     A tenured faculty member who goes on approved Long Term Disability leave may resume his or
40     her university position at any time within thirty-six consecutive months of the first day of Short
41     Term Disability leave if the faculty member is able to fulfill his or her university obligations and
42     duties, with or without reasonable accommodation. If, after the thirty-six month period, the
43     tenured faculty member remains unable to fulfill his or her university obligations and duties, with
44     or without a reasonable accommodation, the tenured appointment may be terminated.
45
46     If a faculty member’s appointment is terminated under this section and he or she thereafter
47     becomes able to return to work and resume the obligations and duties of a tenured faculty
48     member, and the faculty member’s former appointment is vacant, he or she will be returned to the

                                                         19

                                                                             Calvente-DePaul 000071
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 271 of 408 PageID #:6193

                                                                                           July 1, 2018

 1     former appointment at the same rank. If the former appointment is no longer available and there
 2     is a vacant faculty appointment for which he or she is qualified, the university will give the
 3     former faculty member’s application strong consideration. Such a faculty member, if appointed,
 4     shall be appointed at his or her prior rank and at the salary associated with the vacant faculty
 5     appointment.
 6
 7     A tenured faculty member whose appointment is terminated under this section may appeal the
 8     termination. See Chapter 5.
 9

10     4.9 Resignation
11
12     A faculty member who wishes to resign shall do so by submitting a written notice of resignation
13     to the dean and local academic unit officer with a proposed effective date.
14

15     4.10 Retirement
16
17     A faculty member who wishes to retire shall do so by submitting a written notice of retirement to
18     the dean and local academic unit officer with a proposed effective date. DePaul University has no
19     mandatory retirement age for faculty.




                                                      20

                                                                         Calvente-DePaul 000072
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 272 of 408 PageID #:6194

                                                                                                                                     July 1, 2018


 1   CHAPTER 5. APPEALS AND GRIEVANCES
 2
 3   5.1 Appeals ..................................................................................................................................... 2
 4      5.1.1 Appeals Committee and General Process .......................................................................... 2
 5        5.1.1.1 Faculty Committee on Appeals ............................................................................... 2
 6        5.1.1.2 Notification of Intent............................................................................................... 2
 7        5.1.1.3 Preliminary Review ................................................................................................ 3
 8        5.1.1.4 Investigation and Determination ............................................................................. 3
 9        5.1.1.5 Modified Procedures When Academic Freedom Violation is Alleged (Term
10        Faculty) 3
11        5.1.1.6 Modified Procedures When Academic Freedom Violation is Alleged (Tenure-Line
12        Faculty) 4
13      5.1.2 Tenure-Line Faculty Appeals ........................................................................................... 6
14        5.1.2.1 Nonrenewal of Untenured Tenure-Line Faculty Prior to the Tenure Decision ..... 6
15        5.1.2.2 Dismissal of Untenured Tenure-Line Faculty During the Term of a Probationary
16        Period Contract for Reasons Other than Misconduct.............................................................. 7
17        5.1.2.3 Denial of Promotion or Tenure .................................................................................. 8
18        5.1.2.4 Termination of Tenured Faculty Due to Medical Leave Exceeding Thirty-Six
19        Months 9
20        5.1.2.5 Termination of Tenured Faculty Due to Financial Exigency .................................. 10
21        5.1.2.6 Termination of Tenured Faculty Due to Discontinuance or Substantial Reduction of
22        an Academic Unit ................................................................................................................. 11
23        5.1.3.2 Non-Reappointment of Term Faculty ................................................................... 14
24      5.1.4 Other Faculty .................................................................................................................. 14
25   5.2 Grievances.............................................................................................................................. 16
26      5.2.1 Definition ........................................................................................................................ 16
27      5.2.2 Procedures for Faculty Grievances ................................................................................. 17
28        5.2.2.1 Administrative Grievance Process ........................................................................... 17
29        5.2.2.2 Grievance Board Procedures .................................................................................... 18
30      5.3. Right to Review Personnel Records ................................................................................. 19
31




                                                                             1

                                                                                                      Calvente-DePaul 000073
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 273 of 408 PageID #:6195

                                                                                                    July 1, 2018


 1   CHAPTER 5. APPEALS AND GRIEVANCES
 2
 3   Appeal procedures are limited to: dismissal or nonrenewal of contract for tenure-line faculty;
 4   denial of tenure and promotion for tenure-line faculty; dismissal during the contract term for
 5   term faculty, and non-reappointment of term faculty.
 6
 7   Grievance procedures are available to all faculty for issues other than denial of promotion and
 8   tenure, dismissal, nonrenewal and non-reappointment. A grievance is a written complaint
 9   concerning a decision made by a person with authority in the University. The grievance must be
10   filed by the individual adversely affected by the decision.
11

12   5.1 Appeals
13
14   Appeals are to be conducted in accordance with the procedures specified below. Each procedure is
15   specific to the type of appeal.

16   5.1.1 Appeals Committee and General Process
17
18   The faculty member bears the burden of proof. Failure by the faculty member to submit requested
19   materials within designated deadlines shall constitute a failure to meet the burden of proof. The standard
20   of proof is preponderance of the evidence.
21
22   5.1.1.1 Faculty Committee on Appeals
23
24   The Faculty Committee on Appeals is a standing committee of the Faculty Council. It comprises twelve
25   tenured faculty members selected by the Faculty Council through the usual committee selection process.
26   If the committee finds that, in a given case, a member has either a conflict of interest or the appearance of
27   one, the committee will exclude the member from participation. Grounds for recusal include serving in
28   the appellant’s local academic unit, participating in evaluation of the appellant, or having a significant
29   personal relationship with the appellant.
30
31   The Faculty Committee on Appeals will assign three of its members to serve as an Appeals Board to hear
32   a case.
33
34   If the appellant raises an allegation of discrimination, the Appeals Board must refer the discrimination
35   allegation to University EEO Resources which, in coordination with the Appeals Board, will conduct an
36   investigation and submit a report to the Appeals Board in a timely manner.
37
38   5.1.1.2 Notification of Intent
39
40   A faculty member begins an appeal by filing a written notice of intent to appeal with the president of
41   Faculty Council who will forward the notice to the chair of the Faculty Committee on Appeals. The notice
42   must specify the grounds for appeal. The appellant may not add or change appeal grounds after
43   submitting the notice of intent to appeal.
44


                                                           2

                                                                              Calvente-DePaul 000074
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 274 of 408 PageID #:6196

                                                                                                     July 1, 2018

 1   5.1.1.3 Preliminary Review
 2
 3   When a faculty member appeals, the Appeals Board will conduct a preliminary review to determine
 4   whether the allegations as stated in the appeal, if fully substantiated after investigation, could reasonably
 5   be found to establish one or more of the grounds for appeal. If one of the grounds is discrimination, the
 6   Appeals Board must consult with the Office of Employee Engagement and Equal Employment
 7   Opportunity or the Title IX Coordinator, as appropriate (“University EEO Resources”)before making a
 8   determination on that ground. Each ground appealed requires a separate determination as to whether the
 9   appeal will go forward on that ground. If, after the preliminary review, the Appeals Board determines
10   that an appeal should go forward on one or more grounds, it will then investigate the faculty member’s
11   allegations.
12
13   If the Appeals Board decides by a majority that an appeal does not satisfy the criteria, the Appeals Board
14   will forward its recommendation to the appropriate academic officer (either the provost or the president),
15   with a copy to the faculty member and the lower-level academic officers. The recommendation must state
16   the reasons for not considering the appeal. The appropriate academic officer (either the provost or the
17   president) may affirm the Appeals Board’s recommendation or remand the case to the Faculty Committee
18   on Appeals. If the case is remanded, the Faculty Committee on Appeals will assemble an alternate
19   Appeals Board from the remaining members to investigate the faculty member’s allegations.
20
21   The Appeals Board transactions are confidential and not open to persons other than those explicitly
22   invited to participate. Written minutes shall be kept of its meetings which shall be available only to the
23   appropriate academic officer (either the provost or the president).

24   5.1.1.4 Investigation and Determination
25
26   If an appeal moves forward, the Appeals Board may request interviews with, and materials from, the
27   faculty member, the dean, and any evaluating committee. The Appeals Board may take any reasonable
28   action that it deems appropriate or helpful to its deliberations. In every case the Appeals Board must
29   interview the author of any report that recommended against renewal or promotion and tenure and any
30   academic officer who recommended dismissal. The Appeals Board is charged only with reviewing the
31   basis of the appeal; it does not perform an independent evaluation of the faculty member’s qualifications.
32   Each ground appealed requires a separate determination.
33
34   5.1.1.5 Modified Procedures When Academic Freedom Violation is Alleged (Term Faculty)
35
36   A term faculty member’s allegation of an academic freedom violation is serious, not to be made or
37   received lightly.
38
39   The university has no obligation to reappoint term faculty members beyond the terms of their contracts.
40
41   If a term faculty member alleges a violation of academic freedom, the Appeals Board will conduct a
42   preliminary review as described in Section 5.1.1.3. If the Appeals Board concludes that the appeal does
43   not satisfy the criteria for a violation of academic freedom, the faculty member will have the option to
44   submit a written response to the report which must be provided to the provost and the Appeals Board for
45   inclusion in the appeal record. The provost may affirm the Appeals Board’s recommendation or remand
46   the case to the Faculty Committee on Appeals. If the case is remanded, the Faculty Committee on
47   Appeals will assemble an alternate Appeals Board from the remaining members to investigate the faculty
48   member’s allegations.
49

                                                           3

                                                                              Calvente-DePaul 000075
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 275 of 408 PageID #:6197

                                                                                                 July 1, 2018

 1   If an appeal moves forward on this ground, the Appeals Board shall receive from the complaining term
 2   faculty member a written statement indicating the basis for the academic freedom allegation. The
 3   Appeals Board shall receive from the faculty member’s dean a written statement of the reason(s) for the
 4   challenged decision and/or a statement of the procedures followed in reaching the challenged decision.
 5   The dean must submit these items to the Appeals Board within ten business days after the chair of the
 6   Appeals Board requests them. The Appeals Board will afford the term faculty member and the dean the
 7   opportunity to respond in writing and may also request further information.
 8
 9   For the Appeals Board to conclude that the challenged decision violated the faculty member’s academic
10   freedom, a majority of the Board must find that the violation was the causal basis for non-reappointment
11   or termination.
12
13   The Appeals Board will prepare a written analysis and conclusion regarding the allegation of an academic
14   freedom violation. This written analysis and conclusion and all relevant documentation will be sent to the
15   provost for final decision, with copies to the faculty member and dean.
16
17   5.1.1.6 Modified Procedures When Academic Freedom Violation is Alleged (Tenure-Line Faculty)
18
19   A tenure-line faculty member’s allegation of an academic freedom violation is serious, not to be made or
20   received lightly.
21
22   The university has no obligation to renew the contracts of untenured tenure-line faculty members.
23   Tenured faculty have the right to a continuous appointment except as provided in Chapter 4 of the Faculty
24   Handbook.
25
26   If a tenure-line faculty member alleges a violation of academic freedom, the Appeals Board will conduct
27   a preliminary review on this ground. If the Appeals Board decides by a majority that an appeal does not
28   satisfy the criteria for a violation of academic freedom, the Appeals Board will forward its
29   recommendation to the appropriate academic officer (either the provost or the president), with a copy to
30   the faculty member and the lower-level academic officers. The recommendation must state the reasons for
31   not considering the appeal. The faculty member will have the option to submit a written response to the
32   report which must be provided to the appropriate academic officer (either the provost or the president)
33   and the Appeals Board for inclusion in the appeal record.
34   The appropriate academic officer (either the provost or the president) may affirm the Appeals Board’s
35   recommendation or remand the case to the Faculty Committee on Appeals. If the case is remanded, the
36   Faculty Committee on Appeals will assemble an alternate Appeals Board from the remaining members to
37   investigate the faculty member’s allegations.
38
39   If an appeal moves forward on this ground, the Appeals Board shall receive from the complaining faculty
40   member a written statement indicating the basis for the allegation of an academic freedom violation. The
41   Appeals Board shall receive from the faculty member’s dean or provost, where applicable, a written
42   statement of the reason(s) for the challenged decision and/or a statement of the procedures followed in
43   reaching and reviewing the challenged decision. The dean or provost must submit these items to the
44   Appeals Board within ten business days after the request by the chair of the Appeals Board.
45
46   Upon receipt of the written statements, the Appeals Board will conduct a formal hearing in order to make
47   a recommendation on the alleged academic freedom violation.
48
49   The two parties have the following prerogatives in the formal hearing:
50

                                                         4

                                                                              Calvente-DePaul 000076
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 276 of 408 PageID #:6198

                                                                                                    July 1, 2018

 1           1.      To obtain in advance of the hearing a list of witnesses the other party intends to call;
 2
 3           2.      Upon written request, to inspect before the formal hearing all documents that the Appeals
 4                   Board in its prehearing meetings has collected and deemed relevant to its deliberations, in
 5                   a manner determined by the Appeals Board (provided that the Appeals Board shall
 6                   require both parties to keep the contents in strict confidence);
 7
 8           3.      To select an academic advisor or counsel of their own choosing, provided that advisor or
 9                   counsel may not participate in the hearing but may be present;
10
11           4.      To cross examine witnesses;
12
13           5.      To have sufficient time to prepare evidence and to have adjournments upon the valid
14                   claim of unforeseen occurrences during the hearing.
15
16   The faculty member has the following additional prerogatives in the formal hearing:
17
18           1.      To decline to testify, without prejudice, at the hearing without restricting the prerogative
19                   of supporting evidence;
20
21           2.      To invite a representative of a responsible educational association as an observer to the
22                   hearing.
23
24   The responsibilities and prerogatives of the hearing Appeals Board in conducting its procedures are:
25
26           1.      It has the right to all the information and documents it needs, without being obligated by
27                   strict rules of legal evidence and legal procedures, exercising due precaution not to
28                   divulge the contents of documents normally considered confidential;
29
30           2.      It may conduct prehearing meetings to clarify issues and otherwise provide for an
31                   effective and efficient hearing;
32           3.      It may take whatever time is required for a fair and complete hearing, while avoiding
33                   unnecessary delays;
34
35           4.      It may formulate its own additional rules of procedure not contrary to the procedures of
36                   this document;
37
38           5.      It shall keep a verbatim record of the hearings, which shall be available to the parties
39                   without cost.
40
41   The university will assume all costs directly incurred by the hearing Appeals Board. If the faculty
42   member employs an attorney for the hearing, and the appeal is upheld, the university will reimburse the
43   faculty member for at least one-half of the reasonable legal expenses incurred during the formal hearing,
44   the precise proportion to be decided by the Appeals Board.
45
46   During the process of the hearing, neither party may make public statements about the proceedings. The
47   Appeals Board may make public statements regarding the status of the proceedings.
48
49   In order for the Appeals Board to come to the conclusion that the challenged decision violated the faculty
50   member’s academic freedom, a majority of the Appeals Board must find that the violation was the causal
51   basis for the challenged decision.

                                                          5

                                                                             Calvente-DePaul 000077
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 277 of 408 PageID #:6199

                                                                                                  July 1, 2018

 1
 2   The Appeals Board will prepare a written analysis and conclusion regarding the alleged academic
 3   freedom violation. This written analysis and conclusion and all relevant documentation will be sent to the
 4   provost or president, as appropriate, for final decision, with copies to the faculty member and dean.
 5

 6   5.1.2 Tenure-Line Faculty Appeals
 7
 8   Untenured tenure-line faculty may appeal:
 9
10           1.      Nonrenewal prior to the tenure decision (Section 5.1.2.1)
11
12           2.      Dismissal during the contract period prior to tenure (Section 5.1.2.2)
13
14           3.      Denial of promotion or tenure (Section 5.1.2.3)
15
16   Appeals Board recommendations on appeals for denials of promotion and tenure go to the president for
17   final decision. Appeals Board recommendations on other types of appeals for untenured tenure line
18   faculty go to the provost for final decision.
19
20   Tenured faculty may appeal:
21
22           1.      Termination due to Medical Disability or for Medical Reasons (Section 5.1.2.4)
23
24           2.      Termination due to Financial Exigency (Section 5.1.2.5)
25
26           3.      Termination due to Discontinuance or Substantial Reduction of an Academic Unit
27                   (Section 5.1.2.6)
28
29           4.      Denial of Promotion (Section 5.1.2.3)
30
31   Tenured faculty may not appeal suspension or termination for misconduct but have the right to pre-
32   dismissal and pre-suspension hearings as described in Chapter 4.
33
34   Appeals Board recommendations on appeals go to the provost or president, as specified in the applicable
35   section, for final decision.

36   5.1.2.1 Nonrenewal of Untenured Tenure-Line Faculty Prior to the Tenure Decision

37   Grounds for Appeal
38   An untenured tenure-line faculty member may appeal the decision not to renew his or her probationary
39   period contract. The appeal must be based on one or more of the following grounds:
40
41           1.      The nonrenewal violated the faculty member’s academic freedom.
42
43           2.      The evaluation of the candidate deviated from procedures in the Faculty
44                   Handbook or in college or local academic unit guidelines, and the deviation was material
45                   to the final decision.
46
47           3.      The nonrenewal was the result of discriminatory practices prohibited by

                                                         6

                                                                            Calvente-DePaul 000078
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 278 of 408 PageID #:6200

                                                                                                   July 1, 2018

 1                   university policies or applicable federal, state, or local laws.
 2
 3   The Appeals Board will conduct a preliminary review, and if appropriate, an investigation and submit its
 4   findings in a report to the faculty member, the dean, and the provost that includes the majority and any
 5   minority views. The faculty member will have the option to submit to the provost and dean a written
 6   response to the report.

 7   Final Decision
 8   The final decision on the appeal rests with the provost. The provost must state the grounds for his or her
 9   decision in writing to the faculty member and the relevant lower-level academic officers. If the provost
10   affirms the appeal, he or she may determine the appropriate remedy for the matter based on the facts and
11   circumstances presented by the appeal, including but not limited to renewing the faculty member’s
12   contract. The provost’s decision is final.

13   Calendar for the Appeals Process
14   By June 30, the faculty member must state his or her intent to appeal in writing to the provost and the
15   president of Faculty Council. By the first day of fall term of the following academic year, the faculty
16   member must submit the written appeal and all supporting documentation to the Faculty Council
17   President who will then forward it to the Appeals Board.
18
19   By September 30, the Appeals Board must establish a clear timeline for each case, which it will distribute
20   to the faculty member, the local academic unit officer, the dean, the provost, the Faculty Council
21   president, and when appropriate, University EEO Resources.
22
23   The Appeals Board must send its final written recommendation to the provost no later than January 15.
24   The provost must issue a final decision by January 31.
25
26   All review procedures are to be carried out as expeditiously as is reasonably possible, consistent with
27   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above
28   refer only to calendar or business days within regular academic terms — Fall, Winter, Spring quarters or
29   Fall and Spring semesters— and are to be construed as recommended maximums. However, a failure by
30   the affected faculty member to adhere to any time guidelines, except under extraordinary circumstances,
31   shall result in forfeiture of all review rights.

32   5.1.2.2 Dismissal of Untenured Tenure-Line Faculty During the Term of a Probationary Period
33   Contract for Reasons Other than Misconduct

34   Untenured tenure line faculty have no right of appeal under this section in cases in which they have had a
35   hearing under section 4.4

36   Grounds for Appeal
37   An untenured tenure-line faculty member may appeal dismissal during the term of a probationary period
38   contract. The appeal must be based on one or more of the following grounds:
39
40           1.      The dismissal violated the faculty member’s academic freedom.
41
42           2.       The process by which the decision to dismiss was made applied inappropriate standards,
43                   applied appropriate standards unfairly, or failed to meet reasonable standards of
44                   thoroughness.
45

                                                           7

                                                                              Calvente-DePaul 000079
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 279 of 408 PageID #:6201

                                                                                                    July 1, 2018

 1           3.      The dismissal was the result of discriminatory practices prohibited by university policies
 2                   or applicable federal, state, or local laws.
 3
 4   The Appeals Board will conduct a preliminary review, and if appropriate, an investigation and submit its
 5   findings in a report to the faculty member, the dean, and the provost that includes the majority and any
 6   minority views. The faculty member will have the option to submit to the provost and dean a written
 7   response to the report.

 8   Final Decision
 9   The final decision on the appeal rests with the provost. The provost must state the grounds for his or her
10   decision in writing to the faculty member and the relevant lower-level academic officers. If the provost
11   affirms the appeal, he or she may determine the appropriate remedy for the matter based on the facts and
12   circumstances presented by the appeal, including but not limited to reinstating the faculty member for the
13   remainder of the contract term. The provost’s decision is final.

14   Calendar for the Appeals Process
15   Within 10 business days of being informed in writing of the dismissal, the faculty member must state his
16   or her intent to appeal in writing to the provost, and the president of Faculty Council. Within 20 business
17   days of submitting the written notice of intent to appeal, the candidate will submit their supporting
18   documentation. Within 10 business days upon receipt of this documentation, the chair will convene the
19   preliminary review by the Appeals Board.
20
21   At this preliminary review, the Appeals Board must establish a clear timeline for this appeal, which it
22   will distribute to the faculty member, the local academic unit officer, the dean, the provost, the Faculty
23   Council president, and when appropriate, University EEO Resources.
24
25   The written recommendation from the Appeals Board must be sent to the provost within 30 business days
26   of the preliminary review. The provost must issue a final decision no later than 10 business days after
27   receipt of the Appeals Board’s written recommendation.
28
29   All review procedures are to be carried out as expeditiously as reasonably possible, consistent with
30   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above
31   refer only to calendar or business days within regular academic terms — Fall, Winter, Spring quarters or
32   Fall and Spring semesters — and are to be construed as recommended maximums. However, a failure by
33   the affected faculty member to adhere to any time guidelines, except under extraordinary circumstances,
34   shall result in forfeiture of all review rights.

35   5.1.2.3 Denial of Promotion or Tenure
36

37   Grounds for Appeal
38   A faculty member may appeal the decision to deny an application for tenure or promotion. The appeal
39   must be based on one or more of the following grounds:
40
41           1.      The decision violated the faculty member’s academic freedom.
42
43           2.      The evaluation of the candidate deviated from procedures in the Faculty
44                   Handbook or in college or local academic unit guidelines, and the deviation was material
45                   to the final decision.
46

                                                           8

                                                                              Calvente-DePaul 000080
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 280 of 408 PageID #:6202

                                                                                                   July 1, 2018

 1           3.      The decision was the result of discriminatory practices prohibited by
 2                   university policies or applicable federal, state, or local laws.
 3
 4   The Appeals Board will conduct a preliminary review, and if appropriate, an investigation and submit its
 5   findings in a report to the president. The faculty member will have the option to submit to the president a
 6   written response to the report.

 7   Final Decision
 8   The final decision on the appeal rests with the president. The president must state the grounds for his or
 9   her decision in writing to the faculty member, the provost, and the relevant lower-level academic officers.
10   If the president affirms the appeal, he or she may determine the appropriate remedy for the matter based
11   on the facts and circumstances presented by the appeal, including but not limited to awarding tenure or
12   promotion. The president’s decision is final.

13   Calendar for the Appeals Process
14   By June 30, the faculty member must state his or her intent to appeal in writing to the president and the
15   president of Faculty Council. By the first day of fall term of the following academic year, the faculty
16   member must submit the written appeal and all supporting documentation to the Faculty Council
17   President who will then forward it to the Appeals Board.
18
19   By September 30, the Appeals Board must establish a clear timeline for each case, which it will distribute
20   to the faculty member, the local academic unit officer, the dean, the provost, the president, the Faculty
21   Council president, and when appropriate, University EEO Resources.
22
23   The Appeals Board must send its final written recommendation to the president no later than January 15.
24   The president must issue a final decision by January 31.
25
26   All review procedures are to be carried out as expeditiously as is reasonably possible, consistent with
27   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above
28   refer only to calendar or business days within regular academic terms — Fall, Winter, Spring quarters or
29   Fall and Spring semesters— and are to be construed as recommended maximums. However, a failure by
30   the affected faculty member to adhere to any time guidelines, except under extraordinary circumstances,
31   shall result in forfeiture of all review rights.
32
33   5.1.2.4 Termination of Tenured Faculty Due to Medical Leave Exceeding Thirty-Six Months

34   Grounds for Appeal
35   A tenured faculty member may appeal termination under Chapter 4, Section 4.8. The appeal must be
36   based on one or more of the following grounds:
37
38           1.      The termination violated the faculty member’s academic freedom.
39
40           2.      The process by which the decision to terminate was made applied inappropriate
41                   standards, applied appropriate standards unfairly, or failed to meet reasonable standards
42                   of thoroughness.
43
44           3.      The termination was the result of discriminatory practices prohibited by university
45                   policies or applicable federal, state, or local laws.
46

                                                          9

                                                                             Calvente-DePaul 000081
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 281 of 408 PageID #:6203

                                                                                                     July 1, 2018

 1   The Appeals Board will conduct a preliminary review, and if appropriate, an investigation and will submit
 2   its findings in a report to the faculty member, the provost, and the president that includes the majority and
 3   any minority views. The faculty member will have the option to submit to the president, provost and dean
 4   a written response to the report.

 5   Final Decision
 6   The final decision on the appeal rests with the president. The president must state the grounds for his or
 7   her decision in writing to the faculty member and the relevant lower-level academic officers. If the
 8   president affirms the appeal, he or she may determine the appropriate remedy for the matter based on the
 9   facts and circumstances presented by the appeal. The president’s decision is final.

10   Calendar for the Appeals Process
11   Within 10 business days of being informed in writing of the dismissal, the faculty member must state his
12   or her intent to appeal in writing to the provost, and the president of Faculty Council. Within 20 business
13   days of submitting the written notice of intent to appeal, the candidate will submit their supporting
14   documentation. Within 10 business days upon receipt of this documentation, the chair will commence the
15   preliminary review by the Appeals Board.
16
17   At the preliminary review, the Appeals Board must establish a clear timeline for the appeal and
18   distribute it to the faculty member, the local academic unit officer, the dean, the provost, the Faculty
19   Council president, and when appropriate, University EEO Resources.
20
21   The written recommendation from the Appeals Board must be sent to the president within 30 business
22   days of the preliminary review. The president must issue a final decision no later than 10 business days
23   after receipt of the Appeals Board’s written recommendation.
24
25   All review procedures are to be carried out as expeditiously as is reasonably possible, consistent with
26   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above
27   refer only to calendar or business days within regular academic terms — Fall, Winter, Spring quarters or
28   Fall and Spring semesters — and are to be construed as recommended maximums. However, a failure by
29   the affected faculty member to adhere to any time guidelines, except under extraordinary circumstances,
30   shall result in forfeiture of all review rights.
31
32   5.1.2.5 Termination of Tenured Faculty Due to Financial Exigency

33   Grounds for Appeal
34   A tenured faculty member notified of termination because of financial exigency has a right to appeal. The
35   appeal must be based on one or more of the following grounds:
36
37       1. The selection of the area and type of retrenchment was not in accordance with the
38           procedures set out in Chapter 4, Section 4.6.

39       2. The selection of specific faculty appointments to be terminated was not in accordance with
40       the procedures set out in Chapter 4, Section 4.6.

41       3. The dismissal was the result of discriminatory practices prohibited by university policies
42       or applicable federal, state, or local laws.



                                                          10

                                                                              Calvente-DePaul 000082
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 282 of 408 PageID #:6204

                                                                                                    July 1, 2018


1        4. The university failed to meet its obligations as specified in Section 4.6.6 of the Faculty
2        Handbook. A unit’s vote not to accept the faculty member may be appealed only for failure
3        to satisfy one or more of the criteria listed in section 4.6.6 (1)(a-d).

4
5    The Appeals Board will conduct a preliminary review, and if appropriate, an investigation and will submit
6    its findings in a report to the faculty member, the provost, and the president that includes the majority and
7    any minority views. The faculty member will have the option to submit to the president, provost and dean
8    a written response to the report.
9

10   Final Decision
11   The final decision on the appeal rests with the president. The president must state the grounds for his or
12   her decision in writing to the faculty member and the relevant lower-level academic officers. If the
13   president affirms the appeal, he or she may determine the appropriate remedy for the matter based on the
14   facts and circumstances presented by the appeal. The president’s decision is final.

15   Calendar for the Appeals Process
16   Within 10 business days of being informed in writing of the dismissal, the faculty member must state his
17   or her intent to appeal in writing to the provost, and the president of Faculty Council. Within 20 business
18   days of submitting the written notice of intent to appeal, the candidate will submit his or her supporting
19   documentation. Within 10 business days upon receipt of this documentation, the chair will commence the
20   preliminary review by the Appeals Board.
21
22   At this preliminary review, the Appeals Board must establish a clear timeline for the appeal, which it
23   will distribute to the faculty member, the local academic unit officer, the dean, the provost, the Faculty
24   Council president, and when appropriate, University EEO Resources.
25
26   The written recommendation from the Appeals Board must be sent to the president within 30 business
27   days of the preliminary review. The president must issue a final decision no later than 10 business days
28   after receipt of the Appeals Board’s written recommendation.
29
30   All review procedures are to be carried out as expeditiously as reasonably possible, consistent with
31   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above
32   refer only to calendar or business days within regular academic terms — Fall, Winter, Spring quarters or
33   Fall and Spring semesters — and are to be construed as recommended maximums. However, a failure by
34   the affected faculty member to adhere to any time guidelines, except under extraordinary circumstances,
35   shall result in forfeiture of all review rights.
36
37   5.1.2.6 Termination of Tenured Faculty Due to Discontinuance or Substantial Reduction of an
38   Academic Unit

39   Grounds for Appeal
40   A tenured faculty member notified of termination because of discontinuance or substantial reduction of an
41   academic unit or program has the right to appeal the selection of his or her specific faculty appointment
42   for termination. The appeal must be based on one or more of the following grounds:
43
44
45

                                                          11

                                                                              Calvente-DePaul 000083
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 283 of 408 PageID #:6205

                                                                                                    July 1, 2018

 1           1.      The selection of specific faculty appointments to be terminated was not in accordance
 2                   with the procedures set out in Chapter 4, Section 4.7.
 3
 4           2.      The dismissal was the result of discriminatory practices prohibited by university policies
 5                   or applicable federal, state, or local laws.
 6
 7           3.      The university failed to meet its obligations as specified in Section 4.7.6 of the Faculty
 8                   Handbook. A unit’s vote not to accept the faculty member may be appealed only for
 9                   failure to satisfy one or more of the criteria listed in Section 4.7.6 (1)(a-d).
10
11           4.      The termination decision violated the faculty member’s academic freedom.
12
13   The Appeals Board will conduct a preliminary review, and if appropriate, an investigation and will submit
14   its findings in a report to the faculty member, the provost, and the president that includes the majority and
15   any minority views. The faculty member will have the option to submit to the president, provost and dean
16   a written response to the report.
17

18   Final Decision
19   The final decision on the appeal rests with the president. The president must state the grounds for his or
20   her decision in writing to the faculty member and the relevant lower-level academic officers. If the
21   president affirms the appeal, he or she may determine the appropriate remedy for the matter based on the
22   facts and circumstances presented by the appeal. The president’s decision is final.

23   Calendar for the Appeals Process
24   Within 10 business days of being informed in writing of the termination, the faculty member must state
25   his or her intent to appeal in writing to the provost, and the president of Faculty Council. Within 20
26   business days of submitting the written notice of intent to appeal, the candidate will submit supporting
27   documentation. Within 10 business days upon receipt of this documentation, the chair will commence the
28   preliminary review by the Appeals Board.
29
30   At this preliminary review, the Appeals Board must establish a clear timeline for the appeal, which it will
31   distribute to the faculty member, the local academic unit officer, the dean, the provost, the Faculty
32   Council president, and when appropriate, University EEO Resources.
33
34   All review procedures are to be carried out as expeditiously as is reasonably possible, consistent with
35   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above
36   refer only to calendar or business days within regular academic terms — Fall, Winter, Spring quarters or
37   Fall and Spring semesters — and are to be construed as recommended maximums. However, a failure by
38   the affected faculty member to adhere to any time guidelines, except under extraordinary circumstances,
39   shall result in forfeiture of all review rights.
40
41   5.1.3 Term Faculty Appeals
42
43   Term faculty are limited to appeals of: (1) major sanctions during the contract term, and (2) non-
44   reappointment on the grounds of a violation of academic freedom or discrimination in violation of
45   university policies or federal, state, and local laws.
46
47   5.1.3.1 Major Sanctions within the Contract Period
48

                                                          12

                                                                             Calvente-DePaul 000084
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 284 of 408 PageID #:6206

                                                                                                   July 1, 2018

 1   Grounds for Appeal
 2
 3   The appeal must be based on one or more of the following grounds:
 4
 5   1. The major sanction violated the faculty member’s academic freedom.
 6
 7   2. The process by which the major sanction was imposed applied inappropriate standards, applied
 8   appropriate standards unfairly, or failed to meet reasonable standards of thoroughness.
 9
10   3. The imposition of the major sanction was the result of discriminatory practices prohibited by university
11   policies or applicable federal, state, or local laws.
12
13   The Appeals Board will conduct a preliminary review, and if appropriate, an investigation and submit its
14   findings in a report to the faculty member, the dean, and the provost that includes the majority and any
15   minority views. The faculty member will have the option to submit to the provost and dean a written
16   response to the report.
17
18

19   Final Decision
20   The final decision on the appeal rests with the provost. The provost must state the grounds for his or her
21   decision in writing to the term faculty member and the dean. If the provost affirms the appeal, he or she
22   may determine the appropriate remedy for the matter based on the facts and circumstances presented by
23   the appeal, including but not limited to reinstating the term faculty member for the remainder of the
24   contract term. The provost’s decision is final.

25   Calendar for the Appeals Process
26   Within 10 business days of being informed in writing of the dismissal, the faculty member must state his
27   or her intent to appeal in writing to the provost, and the president of Faculty Council. Within 20 business
28   days of submitting the written notice of intent to appeal, the candidate will submit their supporting
29   documentation. Within 10 business days upon receipt of this documentation, the chair will convene the
30   preliminary review by the Appeals Board.
31
32   At this preliminary review, the Appeals Board must establish a clear timeline for the appeal, which it will
33   distribute to the faculty member, the local academic unit officer, the dean, the provost, the Faculty
34   Council president, and when appropriate, University EEO Resources.
35
36   The written recommendation from the Appeals Board must be sent to the provost within 30 business days
37   of the preliminary review. The provost must issue a final decision no later than 10 business days after
38   receipt of the Appeals Board’s written recommendation.
39
40   All review procedures are to be carried out as expeditiously as reasonably possible, consistent with
41   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above
42   refer only to calendar or business days within regular academic terms — Fall, Winter, Spring quarters or
43   Fall and Spring semesters — and are to be construed as recommended maximums. However, a failure by
44   the affected faculty member to adhere to any time guidelines, except under extraordinary circumstances,
45   shall result in forfeiture of all review rights.




                                                         13

                                                                             Calvente-DePaul 000085
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 285 of 408 PageID #:6207

                                                                                                    July 1, 2018

 1   5.1.3.2 Non-Reappointment of Term Faculty

 2   Grounds for Appeal
 3   A term faculty member may appeal the decision not to reappoint him or her. The appeal must be based on
 4   one or both of the following grounds:
 5
 6           1.      The non-reappointment violated the faculty member’s academic freedom.
 7
 8           2.      The non-reappointment was the result of discriminatory practices prohibited by university
 9                   policies or applicable federal, state, or local laws.
10
11   The Appeals Board will conduct a preliminary review, and if appropriate, an investigation and submit its
12   findings in a report to the faculty member, the dean, and the provost that includes the majority and any
13   minority views. The faculty member will have the option to submit to the provost and dean a written
14   response to the report.

15   Final Decision
16   The final decision on the appeal rests with the provost. The provost must state the grounds for his or her
17   decision in writing to the faculty member and the relevant lower-level academic officers. If the provost
18   affirms the appeal, he or she may determine the appropriate remedy for the matter based on the facts and
19   circumstances presented by the appeal, including but not limited to renewing the faculty member’s
20   contract. The provost’s decision is final.

21   Calendar for the Appeals Process
22   By June 30, the faculty member must state his or her intent to appeal in writing to the provost and the
23   president of Faculty Council. By the first day of fall term in the following academic year, the faculty
24   member must submit the written appeal and all supporting documentation to the Faculty Council
25   President who will then forward it to the Appeals Board.
26
27   By September 30, the Appeals Board must establish a clear timeline for the case, which it will distribute
28   to the faculty member, the local academic unit officer, the dean, the provost, the Faculty Council
29   president, and when appropriate, University EEO Resources.
30
31   The Appeals Board must send its final written recommendation to the provost no later than January 15.
32   The provost must issue a final decision by January 31.
33
34   All review procedures are to be carried out as expeditiously as reasonably possible, consistent with
35   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above
36   refer only to calendar or business days within regular academic terms — Fall, Winter, Spring quarters or
37   Fall and Spring semesters— and are to be construed as recommended maximums. However, a failure by
38   the affected faculty member to adhere to any time guidelines, except under extraordinary circumstances,
39   shall result in forfeiture of all review rights.
40

41   5.1.4 Adjunct Faculty Appeals
42
43   Adjunct faculty are limited to appeals of suspension or dismissal during the contract period. The contract
44   period is defined in the adjunct faculty’s letter of appointment and is defined on a course by course basis.
45   .
46   5.1.4.1 Suspension or Dismissal During the Contract Period

                                                         14

                                                                             Calvente-DePaul 000086
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 286 of 408 PageID #:6208

                                                                                                   July 1, 2018

 1
 2   Grounds for Appeal
 3   The appeal must be based on one or more of the following grounds:
 4
 5   1. The suspension or dismissal violated the faculty member’s academic freedom.
 6
 7   2. The process by which the suspension or dismissal was imposed applied inappropriate standards,
 8   applied appropriate standards unfairly, or failed to meet reasonable standards of thoroughness.
 9
10   3. The imposition of the suspension or dismissal was the result of discriminatory practices prohibited by
11   university policies or applicable federal, state, or local laws.
12
13   As outlined in Section 5.1.1.1, the Appeals Board will included three tenured faculty members. For an
14   adjunct faculty appeal, the Faculty Committee on Appeals will select an adjunct faculty member who will
15   act as a non-voting consultant to the Appeals Board. The role of the consultant will be to provide
16   expertise on issues that uniquely affect adjunct faculty.
17
18   The Appeals Board will conduct a preliminary review, and if appropriate, an investigation. The Appeals
19   Board shall submit its findings in a report to the faculty member, the dean, and the provost that includes
20   the majority and any minority views. The preliminary review will follow the process described in the
21   Faculty Handbook Section 5.1.1.3. The faculty member will have the option to submit to the provost and
22   dean a written response to the report.

23   Final Decision
24   The final decision on the appeal rests with the provost. The provost must state the grounds for his or her
25   decision in writing to the adjunct faculty member and the dean. If the provost grants the appeal, he or she
26   may determine the appropriate remedy for the matter based on the facts and circumstances presented by
27   the appeal. If the appeal is granted, the adjunct faculty member will be paid the amount due under the
28   original contract appointment. The provost’s decision is final.
29
30   Calendar for the Appeals Process
31   Due to the timing of adjunct faculty appointments, which frequently occur on a term-by-term basis, an
32   expedited appeals process is necessary.
33
34   Within 5 business days of being informed of the suspension or dismissal, the adjunct faculty member
35   must write to the provost and the president of Faculty Council, stating the adjunct’s intent to appeal.
36   Within 10 business days of submitting the written notice of intent to appeal, the adjunct faculty member
37   will submit his or her supporting documentation. Within 5 business days of receipt of this
38   documentation, the chair of the Faculty Committee on Appeals will convene the preliminary review by
39   the Appeals Board.
40
41   The written recommendation from the Appeals Board must be completed and sent to the provost within
42   10 business days of the preliminary review. An allegation of discrimination will follow the timeline used
43   in University EEO Resources. The provost must issue a final decision no later than 5 business days after
44   receipt of the Appeals Board’s written recommendation.
45
46   All review procedures are to be carried out as expeditiously and reasonably as possible, consistent with
47   obtaining sound judgments and qualified, balanced review panels. All time guidelines set forth above are
48   to be construed as maximums.
49

                                                         15

                                                                             Calvente-DePaul 000087
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 287 of 408 PageID #:6209

                                                                                                      July 1, 2018

 1   A failure by the affected adjunct faculty member to adhere to any time guidelines, except under
 2   extraordinary circumstance, shall result in forfeiture of all review rights. A failure by the Appeals Board
 3   or provost to adhere to any time guidelines, except under extraordinary circumstances, shall result in the
 4   adjunct faculty member being paid the amount due under the original contract appointment.
 5
 6   5.1.5 Other Faculty
 7   Faculty with special appointments (as defined in 2.3.3) may not appeal reappointment or dismissal during
 8   their contract terms.

 9   5.2 Grievances
10
11   Grievance procedures are available to all faculty (including all full-time and adjunct faculty) for issues
12   other than denial of promotion and tenure, dismissal, nonrenewal, and non-reappointment. The grievance
13   must be filed by the individual adversely affected by the decision.
14
15   Grievances are to be conducted in accordance with the procedures specified below.
16

17   5.2.1 Definition
18
19   A grievance is a written complaint concerning a decision made by a person with authority in the
20   university. Grievances are limited strictly to the questioned decision and are open only to the persons
21   directly and adversely affected by that decision. Grievances may not be used to question or change policy.
22   A decision being grieved remains in effect unless the decision is suspended.
23
24   A decision is grievable if it meets all of the three following criteria:
25
26           1.     It adversely affects the interests of an individual;
27           2.     The affected individual is being treated differently from other persons of similar
28           circumstances or the decision violates any policy of the university or the relevant academic unit;
29           and
30
31           3.       There is insufficient justification for the different treatment or the failure to comply with
32                    policy.
33
34   Specifically outside the scope of the grievance process are:
35
36           1.       University policies.
37
38           2.       Policy crafted by a deliberative faculty body.
39
40           3.       Allegations of violations of the university’s Anti-discrimination and Anti-harassment
41                    policy, which are handled by University EEO Resources.
42
43   Persons involved in the grievance process may share information concerning the process and substance of
44   a grievance with other persons having a legitimate need for the information. Wider distribution creates
45   potential risks to fairness and privacy. The grievance process is a key element of the university’s shared
46   governance. Deterioration of fairness and privacy, or even the perception of deterioration, would
47   undermine the effectiveness of the university’s faculty grievance process.
48

                                                            16

                                                                                Calvente-DePaul 000088
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 288 of 408 PageID #:6210

                                                                                                  July 1, 2018

 1   A tenured faculty member has the right to a formal grievance hearing after the fact if suspended by the
 2   provost without a prior hearing (Chapter 4, Section 4.4).
 3

 4   5.2.2 Procedures for Faculty Grievances
 5
 6   Prior to initiating a formal grievance, a faculty member should seek to resolve complaints with the
 7   individual who made the decision in question.
 8
 9   A formal grievance must be filed in writing with the faculty member’s dean within 60 days after
10   communication of the decision.
11
12   The grievance procedure has two steps:
13
14           1.      Formal administrative grievance process
15
16           2.      Faculty Grievance Board process
17
18   Faculty grievances begin with formal administrative process. This must be completed before the faculty
19   member proceeds to the Faculty Grievance Board.
20
21   If a faculty member alleges discrimination at any point in a grievance, the dean or the Grievance Board
22   must refer the grievance to University EEO Resources which, in consultation with the dean (if raised
23   during the formal administrative process) or Grievance Board (if raised during the Grievance Board), will
24   conduct an investigation and submit a report to the dean or Grievance Board in a timely manner.
25
26   5.2.2.1 Administrative Grievance Process
27
28   The dean of a college conducts the formal administrative grievance process. If the grievance challenges a
29   decision of the faculty member’s dean, the grievance will be heard by another dean selected by the
30   provost with approval of the aggrieved faculty member.
31
32   Throughout the formal administrative grievance process, the burden of proof rests on the faculty member.
33
34   The faculty member must submit to the dean hearing the grievance a written statement explaining:
35
36           1.      the precise nature of the grievance
37
38           2.      information and evidence supporting the faculty member’s position
39
40           3.      a description of all informal attempts to resolve the complaint and the reasons why any
41                   proposed resolutions identified during the informal procedures were unsatisfactory to the
42                   faculty member, and
43
44           4.      the remedies that the faculty member would consider satisfactory.
45
46   At the same time, the faculty member will provide a copy to the individual whose decision is being
47   challenged. That individual may submit a written statement to the dean within ten business days of
48   receipt of the faculty member’s statement, with a copy to the faculty member.
49

                                                           17

                                                                            Calvente-DePaul 000089
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 289 of 408 PageID #:6211

                                                                                                     July 1, 2018

 1   The dean hearing the grievance provides a written report to the faculty member and the individual whose
 2   decision is being challenged within thirty calendar days after receiving their written statements. In the
 3   written report, the dean shall state the decision and what action, if any, is required to implement the
 4   decision.
 5
 6   Either party may appeal the dean’s decision to the provost within ten business days of receiving the
 7   decision. The appeal must be in writing and supported by reasons for not accepting the dean’s decision.
 8   The appealing party must provide the other party with a copy of the appeal to the provost. The provost
 9   may conduct another review and. will enter a written decision, within thirty calendar days after receipt of
10   the appeal. The provost must send the written decision to both parties.
11
12   5.2.2.2 Grievance Board Procedures
13
14   If the faculty member who filed the grievance is unsatisfied with the provost’s decision, he or she may,
15   within ten business days of receiving the provost’s decision, refer that decision to the judgment of faculty
16   peers. The faculty member must submit a written request to the president of the Faculty Council to direct
17   the Faculty Council Committee on Committees to select three tenured faculty members to serve as a
18   Grievance Board. For a term or adjunct faculty grievance, the Committee on Committees will select a
19   corresponding term or adjunct faculty member who will act as a non-voting consultant to the Grievance
20   Board. The role of the consultant will be to provide expertise on issues that uniquely affect adjunct or
21   term faculty. Faculty chosen for the Grievance Board may not serve in a grievant’s local academic unit or
22   have a significant personal relationship with the grievant. In cases brought to a Grievance Board, the
23   burden of proof rests on the faculty member to establish that the administrative decision was unfair.
24

25   Within five business days of the establishment of the Grievance Board, the faculty member must submit
26   to the Grievance Board and the provost a statement indicating the reasons why the decision of the provost
27   is unfair. The provost may submit a response to the faculty member’s statement within an additional five
28   business days. The Grievance Board must request, and the provost must provide, the written record of the
29   formal administrative process. New complaints, new evidence, and other new matters not addressed
30   during the formal administrative process may not be introduced for the first time to the Grievance Board.

31   Preliminary Review
32   Upon receipt of the faculty member’s grievance submission, the chair of the Grievance Board shall
33   schedule the grievance for a preliminary review by the Grievance Board as soon as practicable. The
34   Grievance Board has sole and unreviewable discretion whether to schedule the preliminary review
35   meeting during the spring or summer break or wait until the university is back in regular session.
36
37   At the preliminary review meeting, the Grievance Board will determine:
38
39           1.      whether the grievance is timely;
40
41           2.      whether the matter grieved about is grievable under the procedures;
42
43           3.      whether the formal administrative grievance process has been followed; and
44
45           4.      whether the grievance materials submitted to the Grievance Board, if fully
46                   substantiated after investigation, could reasonably be found to satisfy the criteria set forth
47                   in this chapter.
48

                                                          18

                                                                              Calvente-DePaul 000090
      Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 290 of 408 PageID #:6212

                                                                                                   July 1, 2018

 1   If the Grievance Board decides by a simple majority that the grievance is not timely, is not grievable, did
 2   not follow the formal administrative grievance process, or could not reasonably be found to satisfy the
 3   criteria, the Grievance Board will forward its written decision to the provost, with a copy to the faculty
 4   member. The decision must state the reasons for not considering the grievance.

 5   Investigation and Review
 6   If, after the preliminary review, the Grievance Board determines that the grievance warrants further
 7   consideration, the Grievance Board will conduct a review. If, in the opinion of the Grievance Board, the
 8   materials already submitted are not sufficient to make a determination, the Grievance Board may request
 9   interviews with, or materials from, the faculty member or other individuals named in the grievance. The
10   Grievance Board may take any other reasonable actions that it deems appropriate or helpful to its
11   deliberations.
12
13
14   The Grievance Board will prepare a written report of its findings and recommendation, including the
15   majority and any minority views. The Grievance Board will forward the report to the president, with
16   copies provided to the faculty member and the provost.
17
18   If a tenured faculty member has grieved over a sanction imposed on him or her and if the Grievance
19   Board declines to affirm the grievance, the faculty member may ask the president to make a final
20   determination. Otherwise, the decision of the Grievance Board is final.
21
22   If implementing the decision of the Grievance Board requires financial resources beyond what is usually
23   and customarily allocated to similarly situated faculty, the Grievance Board shall seek the approval of the
24   provost. If the provost does not approve the expenditure on the ground that sufficient resources are not
25   immediately available, the provost must provide in writing a reasonable timeline for implementing the
26   Grievance Board’s decision or seek mutually agreed upon alternative ways to address the inequity or
27   remedy the unfair decision against the grievant.
28

29   5.3. Right to Review Personnel Records
30
31   Illinois law governs the right of employees to review their own personnel records. University policy
32   establishes the process for requesting such records.




                                                         19

                                                                             Calvente-DePaul 000091
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 291 of 408 PageID #:6213

                                                                                                                         July 1, 2018


1
2      CHAPTER 6. FACULTY RIGHTS AND RESPONSIBILITIES
3
4      6.1 Academic Freedom ...................................................................................................... 3
 5     6.2 Diversity Guidelines ..................................................................................................... 3
 6     6.3 Academic Support ......................................................................................................... 3
 7        6.3.1 Faculty Development and Research....................................................................... 3
 8        6.3.2 Memberships .......................................................................................................... 4
 9        6.3.3 Travel Expenses ..................................................................................................... 5
10     6.4 Faculty Responsibilities ................................................................................................ 5
11        6.4.1 Members of the Academic Profession ................................................................... 5
12        6.4.2 Members of DePaul University ............................................................................. 6
13        6.4.3 Teacher of Students................................................................................................ 6
14        6.4.4 Academic Administrators ...................................................................................... 6
15     6.5 Instructional Responsibilities ....................................................................................... 7
16        6.5.1 Class Attendance ................................................................................................... 7
17        6.5.2 Class Cancellation .................................................................................................. 7
18        6.5.3 Inability to Meet a Class/Substitute Teaching ...................................................... 7
19        6.5.4 Class Hours ............................................................................................................ 8
20        6.5.5 Syllabus Requirements........................................................................................... 8
21        6.5.6 Course Examinations ............................................................................................ 8
22        6.5.7 Time for Submitting Final Grades ........................................................................ 8
23     6.6 Workload....................................................................................................................... 8
24        6.6.1 Faculty Assignments ............................................................................................. 9
25        6.6.2 Responsibility for Assignments ............................................................................ 9
26        6.6.3 Teaching ................................................................................................................ 9
27            6.6.3.1 Full-time and Part-time Faculty ...................................................................... 9
28            6.6.3.2 Administrators................................................................................................ 9
29            6.6.3.3 Graduate Assistants and Fellows ................................................................. 10
30            6.6.3.4 Summer Session Assignments ..................................................................... 10
31        6.6.4 Activities Outside the University ........................................................................ 10
32     6.7 Leaves of Absence ...................................................................................................... 11

                                                                        1

                                                                                                 Calvente-DePaul 000092
    Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 292 of 408 PageID #:6214

                                                                                                                           July 1, 2018


1     6.8 Salaries ........................................................................................................................ 12
2     6.9 Academic Policies ....................................................................................................... 12
3     6.10 Establishing a New University Policy ...................................................................... 12
4




                                                                         2

                                                                                                  Calvente-DePaul 000093
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 293 of 408 PageID #:6215

                                                                                            July 1, 2018


 1     CHAPTER 6. FACULTY RIGHTS AND RESPONSIBILITIES
 2
 3
 4     DePaul University generally follows AAUP guidelines, except in instances where a policy is
 5     otherwise defined in this Handbook.
 6

 7     6.1 Academic Freedom
 8
 9     DePaul accords academic freedom a prominent position as an integral part of the university’s
10     scholarly and religious heritage. The university attempts to create an environment in which
11     persons engaged in learning and research exercise this freedom and respect it in others as
12     contributing to the God-given dignity of individual persons and enhancing the academic process.
13     University precept and tradition protect this freedom from infringement. Not only the faculty but
14     also students and other members of the university community enjoy this freedom as they
15     participate in the various forms of open inquiry and debate, as for example, classroom
16     presentation and discussion, research and publication, public statements made as a citizen in
17     one’s own name, and other forms of creative expression.
18
19     DePaul University is guided by the AAUP 1940 Statement of Principles on Academic Freedom
20     and Tenure (with 1970 Interpretive Comments). However, the university expressly reserves the
21     right to amend, alter, modify, and delete the same with the assent of the Faculty Council.
22

23     6.2 Diversity Guidelines
24
25     DePaul University has a long-standing commitment to ethnic and cultural diversity of its faculty,
26     staff, and student body. As a university with a strong Catholic and Vincentian heritage, this
27     commitment is particularly integral to our mission. It is also recognized that a multicultural
28     experience is an essential part of DePaul.
29
30     Consistent with the Catholic and Vincentian heritage, DePaul University is committed to
31     preserving an environment that respects the personal rights and dignity of each member of the
32     community. Therefore, DePaul University does not tolerate harassment or discrimination, as, for
33     example, set forth in the Anti-Discrimination and Anti-Harassment Policy and Procedures.
34

35     6.3 Academic Support
36

37     6.3.1 Faculty Development and Research
38     Since the university’s mission statement places “highest priority on programs of instruction and
39     learning.” To further this objective, university sponsors a variety of professional development
40     programs and awards recognizing outstanding achievement in teaching, scholarship, and/or
41     creative activities, and service. Development opportunities and awards include, among others:
42
43         •   Paid faculty leaves
44         •   University Excellence in Teaching Award
45         •   Spirit of Inquiry Award

                                                       3

                                                                         Calvente-DePaul 000094
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 294 of 408 PageID #:6216

                                                                                            July 1, 2018

 1         •   Competitive instructional grants
 2         •   Summer stipends
 3         •   Departmental initiative grants
 4         •   Competitive research grants
 5         •   Research conference program.
 6

 7     The Office of Faculty Development & Research seeks to fulfill the university’s commitment to
 8     academic excellence by developing teacher/scholars at all academic career levels. The Office has
 9     responsibility for programs, resources, and guidelines that support development, promotion, and
10     retention of talented and diverse faculty. Through the Office of Faculty Development &
11     Research, the provost provides internal grants to support faculty development initiatives and
12     sponsors awards to recognize outstanding faculty achievements.

13     The Office of Faculty Development and Research provides university-wide support for faculty
14     development through the Quality of Instruction Council (QIC), the University Research Council
15     (URC), and the Public Service Council (PSC). The Associate Vice President for the Office of
16     Faculty Development and Research chairs the three councils, which are composed of faculty and
17     academic administrators.

18     The Office also sponsors other opportunities, including new faculty orientation, tenure and paid-
19     leave workshops, and select international faculty language immersion programs. All programs
20     are intentionally competitive in nature to ensure the best use of available funds and to encourage
21     the development of proposal-writing skills. Applications regularly exceed available funding, and
22     applicants are encouraged to submit well-crafted projects that advance their scholarly objectives.

23     Faculty grants, awards, stipends, and leaves are peer reviewed by one of three academic councils.
24     The Associate Vice President for Faculty Development & Research chairs all three academic
25     councils. Council members are appointed by Faculty Council. The University Research Council
26     (URC) reviews and awards research grants, leaves, and the Spirit of Inquiry Awards. The Quality
27     of Instruction Council (QIC) reviews and awards instructional grants and leaves and the
28     Excellence in Teaching Awards. The Public Service Council (PSC) reviews and awards
29     instructional and research grants related to service learning courses and university-community
30     research projects. The PSC also reviews Excellence in Public Service Awards.

31     A more complete listing of professional development initiatives and guidelines can be found at
32     the Office of Faculty Development and Research.
33

34     6.3.2 Memberships
35
36     Although professional membership fees are the responsibility of individual faculty, the university
37     may reimburse individual a full-time faculty member up to $50.00 per membership for up to three
38     professional organizations per year, provided that the faculty member pays the first $25 of each
39     fee. The university does not pay for memberships in private clubs except with the president’s
40     approval.
41




                                                       4

                                                                          Calvente-DePaul 000095
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 295 of 408 PageID #:6217

                                                                                               July 1, 2018


 1     6.3.3 Travel Expenses
 2
 3     The university provides each academic unit with a travel budget to support faculty participation in
 4     meetings of learned societies. Top priority for travel support belongs to the faculty member who
 5     presents a paper, serves on a panel, acts as an officer of the society, represents the university (on
 6     the authority or request of the chair or dean) in recruiting faculty, or serves in another official
 7     capacity. Travel support is provided only from travel funds within the budget of the academic unit
 8     and upon approval of the chair or dean, who is responsible for distributing travel funds among the
 9     faculty who travel in an official role. Depending on the amount of money available in the travel
10     budget and the demands for these funds, the faculty members may receive partial or no support.
11
12     Travel compensation may be given for national or regional meetings. For meetings in the
13     metropolitan Chicago area, support is limited to incidentals such as registration fees. In all
14     instances, the university reimburses actual expenses for allowable items.
15     Faculty who attend meetings without taking one of the active roles listed above are usually
16     expected to cover their own expenses. However, if travel funds remain in the budget, the chair or
17     dean may approve support for not more than half of the travel expenses. Faculty members are
18     encouraged to plan travel as far in advance as possible and to keep chairs and deans advised to
19     these plans before budgets are prepared. For specific procedures, forms and guidelines, see the
20     Office of Financial Affairs.
21

22     6.4 Faculty Responsibilities
23
24     Membership in the academic profession, in professional societies and associations of higher
25     education, and in DePaul University entails special responsibilities. The more important of these
26     responsibilities are summarized here as a code of professional ethics. They are subject to
27     amendment from time to time through appropriate university action. Failure to comply with these
28     responsibilities renders a faculty member liable to appropriate sanction within the procedural
29     safeguards and provision for peer judgment.
30

31     6.4.1 Members of the Academic Profession
32
33     As a member of the academic profession, the faculty member has these obligations:
34
35         1. To seek truth; to improve scholarly competencies for this purpose; to engage in
36            productive scholarship, research or other creative activities; and to uphold the scholarly
37            standards of one’s academic discipline.
38         2. To practice intellectual honesty; to acknowledge academic debts to others; and to
39            exercise impartiality in passing professional judgments on colleagues.
40         3. To respect the rights of other persons to hold and express different intellectual positions;
41            and to protect the rights, well-being, and privacy of persons involved in scientific inquiry.
42         4. To be accurate in making public statements in one’s own name and to be mindful that in
43            making such statements the public may judge the faculty member’s profession and
44            institution from these statements.


                                                         5

                                                                            Calvente-DePaul 000096
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 296 of 408 PageID #:6218

                                                                                             July 1, 2018

1

 2     6.4.2 Members of DePaul University
 3
 4     As members of DePaul University, the faculty member has these obligations:
 5
 6         1. To respect the religious character of the university and the religious beliefs of persons
 7            affiliated with the university.
 8         2. To adhere to non-discriminatory norms in [interacting with other university personnel].
 9         3. To preserve confidentiality in personnel and administrative deliberations when
10            confidentiality is explicitly required.
11         4. To avoid unauthorized use of university resources or facilities for personal, commercial,
12            or political purposes.
13         5. To assume a fair share of faculty responsibilities for university governance and to accept
14            and fulfill committee appointments and other responsibilities associated with faculty
15            status.
16         6. To comply with duly approved regulations and procedures.
17         7. To attend general university commencements and convocations.

18

19     6.4.3 Teacher of Students
20
21     As a teacher, a faculty member has these obligations:
22
23         1. To present to students subject matter compatible with course descriptions appearing in
24            official university bulletins and catalogues; to avoid significant intrusion of material
25            unrelated to the course; and to meet classes and hold examinations as scheduled.
26         2. To evaluate students only on the basis of academic performance and to evaluate their
27            work without undue or unexcused delay.
28         3. To hold office hours, to be available to students enrolled in the faculty member’s courses,
29            and to serve as a faculty advisor to other students according to the policies of the
30            academic unit.
31         4. To avoid any exploitation of students for personal advantage or any coercion of the
32            judgment or conscience of students.

33

34     6.4.4 Academic Administrators
35
36     A member of the faculty who holds an administrative position has these obligations:
37
38         1. To establish adequate means of communication for matters that materially affect the
39            members of the particular academic unit and to be reasonably available for the faculty
40            and staff of the unit.



                                                       6

                                                                         Calvente-DePaul 000097
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 297 of 408 PageID #:6219

                                                                                                 July 1, 2018

 1         2. To provide opportunity for joint planning and effort where appropriate and to set up and
 2            apply the structures necessary for joint action.
 3         3. To make personnel decisions impartially; to give responses as soon as circumstances
 4            allow; and to give reasons for refusing a request if asked to do so by the person refused
 5            unless the disclosure of the reason would breach confidentiality.
 6         4. To remain current with developments in higher education related to the sphere of the
 7            particular administrative position.

 8

 9     6.5 Instructional Responsibilities
10
11     At times it is important for faculty to convey messages to students through announcements made
12     in class. Instructors’ cooperation in making these announcements is appreciated.

13     6.5.1 Class Attendance
14
15     Instructors are expected to take attendance during the first week of class and again after receipt of
16     an “update” roster (approximately the fifth week of class). This helps academic officers to
17     identify and correct errors before grade sheets are printed. Individual faculty have the prerogative
18     to establish course attendance guidelines. These should be stated in the course syllabus.
19

20     6.5.2 Class Cancellation
21
22     It is imperative that instructors meet classes for each scheduled class. In the event that an
23     instructor is unable to attend a class because of illness or unplanned absence, he/she must inform
24     the local academic unit officer at the first opportunity. The local academic unit officer will then
25     make arrangements to provide continued student learning during the instructor’s absence.
26

27     6.5.3 Inability to Meet a Class/Substitute Teaching
28
29     A faculty member who is unable to meet a class is responsible for seeing that students are not
30     thereby deprived of learning opportunities. This responsibility may be met by scheduling the
31     necessary number of make-up classes at a time convenient to the students, requesting the
32     assignment of a substitute instructor, or making other appropriate arrangements. In all instances
33     of absence, the faculty member must inform the local academic unit officer of the facts regarding
34     the absence, the reasons for it, and the measures taken to provide the students with the requisite
35     learning experiences. The local academic unit officer may require the faculty member to provide
36     this information in writing.
37
38     If a class is to be cancelled, the instructor shall inform the students beforehand, if at all possible.
39     When the students have not been informed, the local academic unit officer will attempt to let the
40     students know that the class has been cancelled, particularly an evening class attended
41     predominantly by part-time students.
42


                                                          7

                                                                              Calvente-DePaul 000098
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 298 of 408 PageID #:6220

                                                                                             July 1, 2018


1      6.5.4 Class Hours
2
3      It is essential that students have a minimum of three hours of contact time per week with their
4      instructor in each four quarter hour course. Faculty members are expected to conduct class for the
5      full period and to begin and end at scheduled times.
6

 7     6.5.5 Syllabus Requirements
 8
 9     All faculty are required to prepare written course syllabi for each course they teach at DePaul. At
10     a minimum, syllabi should contain the following information:
11
12         1. A rationale for the course stated in the context of the aims of the local academic unit;
13         2. A statement on the types of instruction (i.e., lecture; lecture-discussion; lab; etc.);
14         3. Specific materials required for the course (books, pamphlets, library materials, etc.);
15         4. Proposed major and minor topics to be covered in the course;
16         5. Specific required readings, and written and oral assignments (inclusion of tentative dates
17            for such assignments is desirable);
18         6. Specific descriptions of the criteria and methods to be used by the instructor in
19            evaluating students’ academic performance, such as the nature of quizzes and
20            examinations;
21         7. Statement on plagiarism; and,
22         8. Instructor’s office number and office hours for the term in which the course is being
23            offered.

24     Each faculty member must, by the first class session, make available to each student a copy of the
25     syllabus that satisfies the guidelines outlined above. A copy must be submitted to the college or
26     school.
27

28     6.5.6 Course Examinations
29
30     In all courses at the midpoint of the quarter, students will be informed of their achievement to
31     date. Normally courses conclude with a final examination. To provide additional flexibility for
32     faculty members, a formal mid-term or final examination is not required if the instructor has other
33     comparable ways of evaluating student achievement.
34

35     6.5.7 Time for Submitting Final Grades
36
37     As a matter of administrative policy, all final grades are to be submitted within five business days
38     of the last examination in all academic units of the university, except for the College of Law,
39     which follows a different calendar.
40

41     6.6 Workload
42

                                                        8

                                                                           Calvente-DePaul 000099
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 299 of 408 PageID #:6221

                                                                                             July 1, 2018


1      6.6.1 Faculty Assignments
2
3      Formal assignments comprise only part of a faculty member’s academic life. As professionals,
4      faculty members are expected to engage in many activities that are not official duties, particularly
5      those that contribute to the good of the public and the university, their academic discipline, and
6      their own professional development.
7

 8     6.6.2 Responsibility for Assignments
 9
10     The local academic unit officer makes faculty assignments, subject to approval by the dean.
11

12     6.6.3 Teaching
13

14     6.6.3.1 Full-time and Part-time Faculty
15
16     The primary function of DePaul University is instruction; hence, teaching constitutes the majority
17     of faculty assignments. The normal teaching load is nine full courses per academic year, usually
18     three per quarter. Exceptions may arise if, for example, the established policy of a given academic
19     unit or a particular faculty contract specifies the contrary. This load may be reduced if particular
20     faculty courses place especially extensive demands on faculty time or if faculty members receive
21     formal assignment in other functions. Only in exceptional instances is a faculty member asked to
22     teach more than a normal load. In such instances, the faculty member receives additional
23     compensation not less than the salary paid to a part-time faculty member for teaching a
24     comparable course.
25
26     A teaching assignment may include student advisement, which requires that faculty members
27     keep a sufficient number of regularly scheduled office hours at times that are of mutual
28     convenience and appropriate for the needs of the students. A teaching assignment also entails
29     services normally associated with faculty status and responsibilities. Supervision of independent
30     study is entirely voluntary and is not calculated as part of the teaching load. Faculty receive no
31     pay for supervising independent study. However, supervision of independent study is considered
32     as an element of faculty performance in evaluations for salary adjustment, contract renewal, and
33     tenure or promotion.
34
35     Faculty assignments to off-campus instruction generally are incorporated into the regular teaching
36     load, warranting no additional compensation. Part-time faculty may be assigned to off-campus
37     instruction on the same basis as on-campus assignments.
38

39     6.6.3.2 Administrators
40
41     Administrators may have teaching assignments; however, they normally are not entitled to
42     additional compensation for teaching. Administrators or staff personnel whose responsibilities do
43     not include teaching, and who almost invariably do not have faculty status, may, in special
44     instances, be assigned to teach a course. This teaching assignment is normally considered an



                                                        9

                                                                           Calvente-DePaul 000100
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 300 of 408 PageID #:6222

                                                                                              July 1, 2018

 1     integral part of the person’s responsibilities for which the university provides no additional
 2     compensation.
 3
 4     Should another higher education institution invite an administrator to teach a course, he or she
 5     would be under the same restrictions applicable to faculty teaching outside the university.
 6
 7     Administrative personnel who have faculty status may receive a teaching assignment during the
 8     summer session. As the university considers the assignment to replace some administrative
 9     functions during this period, the administrator is not entitled to additional compensation.
10

11     6.6.3.3 Graduate Assistants and Fellows
12
13     Assignment of full responsibility of teaching a course is limited to persons who have full-time or
14     part-time faculty appointments in the university. In exceptional cases a graduate assistant may be
15     given such an assignment if the graduate assistant is in a doctoral program and has already
16     successfully completed the Master’s degree or its equivalent.
17

18     6.6.3.4 Summer Session Assignments
19
20     Faculty members with 10-month contracts may accept or decline courses offered to them during
21     the summer.
22

23     6.6.4 Activities Outside the University
24
25     Faculty members are encouraged to pursue activities outside the university that contribute to
26     DePaul’s mission, including social, civic, and religious activities, and service to one’s professions
27     and professional associations. However, because a full-time faculty appointment implies a full
28     commitment to DePaul University, outside activities must conform to the following limits:
29
30         1. They must not interfere with the faculty member’s commitment to the full academic life
31            of the university, including teaching, research, student advisement, governance, and
32            related responsibilities.
33         2. During the regular academic year, the faculty member must give precedence to university
34            responsibilities.
35         3. Two additional limits apply to outside activities for which the faculty member receives
36            remuneration:

37
38             •   They must be professional activities that contribute to the professional development
39                 of the faculty member or provide expertise to the community; and

40
41             •   Over the course of a year, they must not exceed the equivalent of one day per work
42                 week.

43

                                                        10

                                                                           Calvente-DePaul 000101
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 301 of 408 PageID #:6223

                                                                                              July 1, 2018

 1         4. The faculty member will arrange privately for whatever support services his or her
 2            outside activities may require. Only with prior approval of the dean may a faculty
 3            member enlist the services of university personnel or employ university supplies and
 4            equipment for outside activities.
 5
 6         5. Each January, faculty members must submit an annual report on their work-related
 7            activities with any outside firm, agency, or institution if they (i) serve on a continuing
 8            basis as a consultant or in a similar role; (ii) are continuing members or officers of the
 9            outside entity, or (iii) normally provide services for the outside entity at least once a
10            week, even if for less than a full day. The report goes to the dean, with a copy to the
11            local academic unit officer in colleges organized into departments.
12
13         6. The faculty member is primarily responsible for determining whether outside activities
14            are compatible with the responsibilities of a faculty member. Nevertheless, the dean must
15            ultimately decide whether a faculty member’s outside activities conform to the limits
16            enumerated above. Deans may place specific restrictions on outside activities in order to
17            satisfy policy requirements.
18
19         7. Teaching at another higher education institution while under contract at DePaul is
20            permitted only in those specific instances for which the dean has given written approval.
21
22         8. Material violation of this policy is considered a violation of the faculty contract and could
23            be cause for abrogation of contract and termination of tenure in accordance with the
24            policies and procedures in Chapter 4.

25     6.7 Leaves of Absence
26
27     Leaves of absence may be granted for advanced study and research, a temporary position
28     elsewhere compatible with one held at DePaul, medical need or disability in accordance with
29     university policy, or personal reasons. The duration of a leave may be a full academic year or one
30     or more terms. Only in exceptional cases will a leave be granted for more than one year.
31     Non-medical leaves are generally granted without salary. For other types of leave, the salary is
32     reduced by one-third for each quarter of leave; for faculty of the College of Law, salary is
33     reduced by one-half for each semester of leave.
34     University sponsored paid leaves are available through the Quality of Instruction Council and the
35     University Research Council. These types of leaves have their own unique policies and
36     procedures. For further details, please see the guidelines and applications forms for the Quality of
37     Instruction Council and University Research Council.
38     A request for a full year of leave should be submitted in writing on or before January 15 of the
39     preceding academic year. A request for leave for an academic term should be submitted in writing
40     no later than the beginning of the term preceding the one for which leave is sought.
41     The local academic unit officer, the college dean, and the provost must approve a leave. They
42     consider, among other factors, the effect of the faculty member’s absence on the department or
43     college and the possibility of finding a qualified replacement on a temporary basis. In granting
44     leaves, the university accords priority to projects that will contribute to the faculty member’s

                                                        11

                                                                           Calvente-DePaul 000102
     Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 302 of 408 PageID #:6224

                                                                                             July 1, 2018

 1     professional development and to projects for which the faculty member has obtained funding
 2     from external sources. The university does not normally grant simultaneous leaves to more than
 3     one faculty member of an academic unit.
 4
 5     University policies and procedures on renewal and termination apply to faculty on leave.
 6     Information regarding the continuation of employee benefits during a leave is available in the
 7     Office of Human Resources and should be confirmed prior to the start of the leave.
 8     If a college or department sponsors a separate leave program, a faculty member can obtain details
 9     through the college or departmental office.

10     6.8 Salaries
11
12     The university makes decisions regarding salary in accordance with its budget guidelines.
13     Normally, salary decisions result in a merit increase and, when budgets permit, may include
14     increases for such things as equity and market adjustments. The salary recommendation is made
15     by the college dean.
16
17     Full-time faculty are paid on a biweekly basis in twenty-six payments per fiscal year. Part-time
18     faculty are paid biweekly during each quarter in which they are teaching (usually five pay periods
19     per quarter). During summer sessions, faculty are paid in two or three equal payments per
20     summer session. The Payroll Department determines payroll dates.
21

22     6.9 Academic Policies
23

24     In fulfillment of its governance role as defined in section 1.2.1 of the Faculty Handbook: Primary
25     Responsibilities of the Faculty, Faculty Council has its own proper guidelines to govern the
26     creation of academic policies, leading to approval of proposed policies and policy revisions by
27     the President.

28     After approval of policies and procedures that fall within Faculty Council’s areas of
29     responsibility, the documents should be integrated into the university’s online policy and
30     procedures manual. While the President and the Board of Trustees have authority to reverse
31     faculty decisions that fall within areas of primary faculty responsibility, the university expects
32     that they would do so only in exceptional circumstances and would communicate the reasons to
33     the faculty.

34     6.10 Establishing a New University Policy

35     Except with respect to the establishment of academic policies under Faculty Council authority,
36     the Office of the Secretary coordinates the establishment, archiving, revision, approval, and
37     publication of all university policies and procedures.

38     Details on academic policy and process appear on the University Policies and Procedures web
39     site.
40

                                                       12

                                                                           Calvente-DePaul 000103
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 303 of 408 PageID #:6225




                Exhibit F
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 304 of 408 PageID #:6226




                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 LISA CALVENTE,                                     )
                                                    )
                           Plaintiff,               )
                                                    )      Case No.: 1:20-cv-03366
         v.                                         )
                                                    )
 SALMA GHANEM and DEPAUL                            )
 UNIVERSITY,                                        )
                                                    )
                           Defendants.              )


                                DECLARATION OF ISABEL DIAZ


        1.         My name is Isabel Diaz. I am over the age of eighteen (18) years and fully capable

of making this Declaration.

        2.         The facts in this Declaration are within my personal knowledge and are true and

correct, and I am qualified to make the statements in this Declaration.

        3.         I am currently employed by DePaul University as an HR Employee Relations &

EEO Director, and I am a custodian of records for certain business records of DePaul University.

The document attached hereto as Exhibit 1 is a business record of DePaul University. This

document was kept in the regular course of business, and it was the regular course of business for

an employee or representative, with knowledge of the act, event, condition, or opinion recorded,

to make a record or to transmit information thereof to be included in such documents; and the

document was made at or near the time of the act, event, condition or formation of the opinion, or

reasonably soon thereafter. This document is a duplicate of the original with the exception of any

redactions made for confidentiality purposes.




LEGAL\55162937\1
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 305 of 408 PageID #:6227




        4.         While Dr. Calvente was on research leave during the 2015-2016 academic year,

OIDE conducted a full investigation into Dr. Lisa Calvente’s complaints of discrimination and

harassment and found no evidence of discrimination or harassment. Barbara Schaffer, former

Associate Vice President of OIDE prepared a memorandum summarizing the investigation, and a

true and complete copy of that memorandum is attached to this Declaration as Exhibit 1.

        5.         DePaul University has no record of an internal complaint of discrimination filed by

Dr.                    .

        6.         On July 5, 2019, OIDE closed its investigation of Dr.           internal complaint

of race discrimination.

        7.         The individuals listed below have the following races, according to DePaul’s

records:

                   •




                   •




                                                    2
LEGAL\55162937\1
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 306 of 408 PageID #:6228




                   •   Xiaoping Jia (Asian);
                   •




        8.         I have knowledge of the facts stated herein and I declare under penalty of perjury

pursuant to 28 USC § 1746 that the foregoing is true and correct to the best of my knowledge,

information and belief.



        Executed on this ___ day of November, 2021.




                                                Isabel Diaz




                                                   3
LEGAL\55162937\1
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 307 of 408 PageID #:6229




                        EXHIBIT 1
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 308 of 408 PageID #:6230



TO:             Salma Ghanem, Dean, College of Communication

FROM:           Barbara Schaffer, Associate Vice President, OIDE

CC:             Dr. Elizabeth Ortiz, Vice President, OIDE

Date:           July 4, 2016

RE:             Calvente.Personnel Committee Case #00965

OIDE does not find the members of the Personnel Committee reviewing Dr. Calvente in violation of
the Anti-Discrimination and Anti-Harassment Policy. There is insufficient evidence to support Dr.
Calvente’s allegations that she has been discriminated and harassed on the basis of race and
gender, or that the Personnel Committee had discriminatory intent when reviewing Dr. Calvente.

Background
On May 5, 2015 Dr. Liz Ortiz received an email from Dr. Lisa Calvente alleging discrimination on the
basis of her race and gender by the Personnel Committee in the College of Communication. Barbara
Schaffer met with the complainant on Tuesday, May 12, 2016. The procedures for opening an
investigation require that the complainant approve all allegations brought to the respondent(s), and after
approval, notification letters were sent to members of the Personnel Committee on September 29, 2015.
Calvente indicated that she would be on leave for the entire 2015-2016 school year.

At Calvente’s second formal review the Personnel Committee voted 6-1 to terminate Calvente’s contract
and they did not recommend retention or contract renewal “[b]ased on the Personnel Committee’s
unanimous evaluation that Lisa is not making progress towards tenure in teaching… or… research….”
They further concluded that Calvente was making “poor to fair progress towards tenure in
service.”(College of Communication Recommendation of continuation or termination of Untenured
Faculty Contract, March 7, 2015). As per COC procedures, the college then voted on the retention and
renewal of Calvente; 13 tenured faculty voted in favor of termination, 5 in favor off continuation, and 2
abstentions. The Dean overturned the recommendation and renewed Calvente’s contract, based upon her
conversation with Calvente on March 30, 2015, in which the Dean was assured that she would address the
issues brought up in her teaching, scholarship and service. Calvente was given specific measures to
address the issues brought up in the report.

Complaint
Dr. Calvente alleges that the Personnel committee discriminated and harassed her on the basis of her
gender and race during her formal review, February, 2015. She further alleges that the committee has
treated her differently from other faculty members, and that these discriminatory behaviors are consistent
with the mistreatment of a previous faculty member of color seeking tenure. She also alleges that the
committee has ignored her accomplishments as a DePaul University faculty member and exhibited
hostility in her 3rd. year faculty evaluations.
Specifically, she alleges that:
    1. She is the only brown American woman in the college who specializes in black/brown politics in
         the U.S. and that the Personnel Committee takes issue with the political approaches and teaching
         practices, labeling her as “hostile” and “intimidating” as a result of her color;
    2. No women of color have been tenured in the college;
    3. The Committee ignored the majority of both qualitative and quantitative evaluations, which state
         that she is “an excellent instructor” (Student Report 2014), which were not ignored for white
         instructors seeking tenure;


                                                                                                             1

CONFIDENTIAL                                                          Calvente-DePaul 0006967
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 309 of 408 PageID #:6231



   4. The Committee ignored her evaluation scores, which surpass all of the faculty averages in the
      following categories: overall quality of the course, overall teaching effectiveness, the increase of
      knowledge, and command of the subject;
   5. By your choosing to focus on the minority of evaluations labeling her as “hostile”, the committee
      has engaged in behaviors that unfairly scrutinize faculty of color who are primarily women;
   6. The Committee blatantly violated procedure by reviewing her as a 4th year faculty member,
      ignoring her FMLA personal leave between 2012-2013, which cannot be counted and was not a
      research leave, while                 , a white male who was hired the same year as she and was
      reviewed at the same time, was reviewed by the Personnel Committee, and was told by the
      Committee at this review to be sure to stop his clock for his research leave the year before.
   7. The Committee included “conversations” in the “College of Communication Recommendation of
      Continuation or Termination of Untenured Faculty Contract” Report of March 7, 2015, that were
      not documented and are not included as evidence, as per College and University policy. The
      conversation that occurred during the interview with Dr. Calvente was out of context, inaccurate,
      or both and the statements from the student reporter were not from the student report but
      allegedly stated by the student during his conversation with Personnel before Dr. Calvente’s
      interview. The student reporter’s quoted statements contradict the Student Report.

METHODOLOGY
Interviews and email exchanges:




Documents reviewed:
   • Emails
   • Calvente formal review SharePoint documents, to include:
      1. “Student Assessment of Faculty Performance” report
      2. Personnel Committee’s College of Communication Recommendation of Continuation or
          Termination of Untenured Faculty Contract
      3. Calvente response document to the Personnel committee’s document
      4. Dean’s letter of reappointment
      5. College vote document
      6. Teaching evaluations
   • Faculty Handbook
   • College of Communication Criteria for Promotion and Tenure
   •            Personnel Committee’s COC Recommendation of Continuation or Termination of
      Untenured Faculty Contract
   • Dean’s tenure review letter of named comparator, Rutigliano, and subsequent letter of non-
      renewal
   •               Personnel Committee’s COC Recommendation of Continuation or Termination of
      Untenured Faculty Contract
   • Historical List of Faculty of tenure status of faculty of color in the College of Communication
   • College Committee Service & University Committee Service list, College of Communication




                                                                                                         2

CONFIDENTIAL                                                        Calvente-DePaul 0006968
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 310 of 408 PageID #:6232



FINDINGS

As noted above, OIDE does not find the Personnel Committee, either individually or as a group, in
violation of the University’s Anti-Discrimination and Anti-Harassment Policy. The evidence does not
support that the decision not to renew was made with discriminatory intent nor had she been subject to
different treatment from white faculty members in making their decision. The crux of the decision by the
faculty rested upon Lisa's attitudes and responses towards the committee's attempts to address what they
perceived as weaknesses in her tenure case and her refusal to listen to or take constructive criticism in
both her interview with the Personnel Committee and her written response to the tenure document, her
poor progress in scholarship, and her fair to good service.

Allegation 1: She is the only brown American woman in the college who specializes in black/brown
politics in the U.S. and that the Personnel Committee takes issue with the political approaches and
teaching practices, labeling her as “hostile” and “intimidating” as a result of her color. NO
FINDING

Calvente contends that not only does the subject matter in and of itself leads to hostility, but that she, as a
black woman, has experienced “structural racism,” which has resulted in disparate treatment of her by the
personnel committee and their labeling her as hostile and intimidating. All members of the Personnel
Committee denied this allegation. Two committee members indicated that the words, hostile and
intimidating were words that students used to describe her class, not words that the committee ascribed to
her, and these words were confirmed to have come from the evaluations themselves.

While the investigation did confirm that Calvente is the only black/brown American woman in the college
whose research specializes in black/brown politics, two members of the committee pointed out that
faculty members in the College (and in the academy, in general) have their own particular research
specialty, which is not duplicated by others, to maintain breadth in both subject area and research agenda.
In addition, multiple members of the committee indicated that they, as well as other faculty members
within the college, including faculty of color, include race, racism and white privilege in their courses,
and that they, too, discuss critical race theory, which is identified as the “political” premise to which
Calvente identifies. The Chair stated that some of the faculty of color were offended when Calvente
stated to them that she was the only faculty of color to teach what she teaches. The difference, every
member agreed, was her attitude towards her teaching of students, not the subject itself.

Every committee member confirmed in interview that they were taken aback by Calvente’s personnel
interview required for tenure and her subsequent response in writing to the formal review document. One
member described the interview as “the worst formal review in which they had ever participated” and
another was “appalled” by it. One member described being shell-shocked after the meeting, and every
member interviewed said that they had never experienced a meeting where the candidate was as
argumentative and obstructionist regarding the questions being asked or requests for information that is
the norm for formal reviews in the college. Rather than address the questions, some members felt that she
affirmed the thread of negative comments: that she created an environment that was hostile and
intimidating to the committee members, and that Calvente was not willing to engage in constructive
dialogue.

They stated that the practices in the department for these types of meetings is to ask for responses to the
weaknesses in their portfolio, and they asked Calvente about a thread of comments that labeled her as

                                                                                                              3

CONFIDENTIAL                                                            Calvente-DePaul 0006969
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 311 of 408 PageID #:6233



hostile. In reviewing the evaluations, I was able to support the committee’s contention that a thread of
negative comments did exist in the evaluations. Teaching effectiveness, as defined in the T & P
Guidelines, is “working to foster a classroom that reinforces values inherent in the University mission.”
 Each member of the committee referred to Calvente as lacking a Vincentian approach to teaching,
stating more than once that she asked students to drop, did not want certain students in her class, and did
not feel that it was her obligation to engage all students or make all students welcome. While it is true
that much in her pedagogy is uncomfortable for many students, in reviewing the evaluations, it was clear
that it was not the subject matter that made students uncomfortable, but her teaching methods of that
subject matter. As one committee member stated, “It wasn’t about her politics, but [about] pedagogy.”

More than one member of the committee reiterated that the purpose of these interviews is to address
perceived weaknesses in the areas judged for tenure. The Chair indicated that CoC is the only unit to “let
people go” if the issues brought up by the committee are not addressed. In fact, the issues they felt were
weak in               tenure case, his research, led to his renewal of his contract only upon addressing the
this issue, and placed upon him the requirement that he have another review prior to his tenure contract.
Subsequently, he was told that he would not renewed.

 The personnel committee also felt her teaching practices were inconsistent with the Vincentian Mission,
as well as inconsistent with the values of the department. When reviewing the other formal review
documents of both                                          , both referenced in Calvente’s complaint,
references to the Vincentian mission are also found and it is clear that adherence to Vincentian values and
the mission figured greatly in their discussion of these candidates, as well, indicating the importance of
the incorporation of these values into the pedagogy of the candidate. In fact, the opening sentence of
Picot-Herbert’s section of teaching in her Recommendation…report is: “Lisa’s remarkable teaching is
informed by the Vincentian mission of our university.”

In addition, this focus by the Personnel Committee members on the weaknesses of the portfolio was
exhibited in             s documents as well, although the subject of his weaknesses—his research
record—was different from the weaknesses in Calvente’s tenure portfolio. That the committee focused
upon weaknesses in both candidates’ files supports the conclusion that there was no discriminatory intent
or discrimination in the review of the candidate.

The committee felt that another issue with Calvente’s tenure review was her obstructionist and combative
view towards the process and the committee. Calvente refused to upload her documents prior to the
interview meeting, and in interview, some committee members stated that they were frustrated, annoyed,
and confused by this. Committee members stated that she said that she had no obligation to upload her
documents. While the personnel committee is reconstituted every three (?) years, many of the members
stated that they had previously sat on other personnel committees and were upset that they did not have
the complete dossier to review at the time of the interview.                 confirmed dates that
documents were uploaded, and some of those documents were uploaded after the interview.

There is no evidence to support that race or systemic racism was a factor in the decision of the
faculty not to retain Calvente.




                                                                                                              4

CONFIDENTIAL                                                          Calvente-DePaul 0006970
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 312 of 408 PageID #:6234



Allegation 2: No women of color have been tenured in the college: NO FINDING

A list of the faculty indicates that as of the 2014-2015 school year, 10 faculty members are women of
color. Of these 10 faculty members, 4 are tenured, and 6 are untenured. Two women identify their
race/ethnicity as unknown. Of these two women, one was tenured. During the 2014-2015 year, one of the
tenured women faculty members took a position at another institution. Some women of color of the
faculty were upset at the notion that they were not considered women of color. Calvente was referring to
“black/brown” women of color, and is not including Asians as women of color in her allegations. She is
correct that there are few black/brown women of color in CoC, but in one case a faculty member resigned
to take another position at another university, and                    , and comparator of Calvente’s states
that her problem was with the University board and her research, and she did not believe it was a “color
issue.”                 is teaching an online course for the college now. It is the suggestion of OIDE that
CoC make a concerted effort to hire and retain women of color, mentoring them, once hired, through the
tenure process. Two females of Asian descent are currently tenured, and one of Hipsanic/Latino descent
(See Appendix I).

Allegation 3: The Committee ignored the majority of both qualitative and quantitative evaluations,
which state that she is “an excellent instructor” (Student Report 2014), which were not ignored for
white instructors seeking tenure. NO FINDING

In a review of the College of Communication Recommendation of Continuation or Termination of
Untenured Faculty Contract it is clear that the college did not ignore the high praise Calvente received
from students, and acknowledged her “consistently strong” evaluations. In reviewing the evaluations
themselves, I concur with their assessment that quantitatively the evaluations are “routinely keeping in
close range to the college’s very high numbers…” but that “qualitatively… [Lisa’s] course evaluations
indicate a range of recurrent and somewhat polarizing themes….” In interview, the Chair of the
committee indicated that most complaints of teaching of previous faculty—white faculty or faculty of
color—center around topics like organization of the course, but never, could she remember, issues of
climate to such an extent having been raised. In addition,               course evaluations focused upon
his passion for his subject and did not contain any negative climate issues. There is no evidence to suggest
that the committee applied different standards to             for as mentioned above, a reference to
Vincentian values constitute a major standard when reviewing teaching. Again, this standard was used in
                     evaluation of her teaching.

In addition, the investigation uncovered that in 2014 a white faculty member                   ) had his
first formal review in 2014 and his evaluations indicated that his teaching was so concerning that they
required that he be reviewed again in spring 2015. He acknowledged that there was something to be fixed
and he listened to the feedback, indicating that all instructors—white and of color—are required to meet
the same teaching standards.

Allegation 4: The Committee ignored her evaluation scores, which surpass all of the faculty averages
in the following categories: overall quality of the course, overall teaching effectiveness, the increase of
knowledge, and command of the subject. NO FINDING

This allegation cannot be substantiated. While many students found Calvente an excellent teacher, a
review of the evaluations used for her tenure review reveal that she did not surpass all of the faculty
averages in the four categories she alleges (See Appendix II for a summary of findings).




                                                                                                          5

CONFIDENTIAL                                                          Calvente-DePaul 0006971
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 313 of 408 PageID #:6235



Allegation 5: By [your] choosing to focus on the minority of evaluations labeling her as “hostile”, the
committee has engaged in behaviors that unfairly scrutinize faculty of color who are primarily women
of color. NO FINDING

There is no evidence to support Calvente’s contention that different standards apply to faculty women of
color. As noted in the discussion of Allegation 3, similar standards were applied to
              did not receive tenure as a result of her research agenda, and all three candidates were
judged on the same criteria and there is no evidence to support that she was unfairly scrutinized as a
faculty of color.

Allegation 6: The Committee blatantly violated procedure by reviewing her as a 4th year faculty
member, ignoring her FMLA personal leave between 2012-2013, which cannot be counted and was not
a research leave, while Lou Rutigliano, a white male who was hired the same year as she and was
reviewed at the same time, was reviewed by the Personnel Committee, and was told by the Committee at
this review to be sure to stop his clock for his research leave the year before. NO FINDING

Emails and interviews confirm that there was a great deal of confusion surrounding what review year this
was for Calvente, and at first the committee did have the incorrect year—4th year review instead of 3rd
year review. However, this confusion stemmed from a procedural miscommunication and a mistake, and
was not a result of any racial bias. Calvente’s time clock coincided with many changes in the College.
When Calvente began her employment with DePaul, Jackie Taylor was Dean of the College.
         was the Associate Dean and head of Personnel. These positions were combined and he kept track
of all faculty and where they were in the tenure process. Unfortunately, there were multiple changes
during the time after Taylor left, and the tracking of where individuals were in the process were not
updated.

 When Taylor was Dean she had a practice of granting a faculty member fall quarter off if they had a baby
in the summer. Typically, faculty are on a 10-month contract, and so when an individual has a baby in
summer, it does not interfere with an academic appointment, and so technically, one is not eligible for a
leave. Taylor would extend an “off record” leave, and she would give the faculty member the quarter off
from teaching. Because this could not be considered a formal leave, it did not involve “stopping the
clock” for tenure. Two faculty members before Calvente--                                     (who let
before she went for tenure) — did not stop their tenure clocks. If Calvente had not taken a formal leave,
she would have been in her 4th year. So, while the committee did know that Calvente was out, they took
it for granted that they were given the correct information when informed that it was her fourth year
review. Calvente requested a leave and requested to “stop her clock,” which is confirmed in an email.
She was granted the leave through the Reed Group. However, this information never reached the
personnel committee.

To compound this confusion,                , in Academic Affairs, mistakenly sends two separate emails
confirming two different years. One email states that Calvente is in her fourth year and another, her third
year.

Therefore, there is no evidence to support that the confusion surrounding Calvente’s review year was a
result of her race.




                                                                                                           6

CONFIDENTIAL                                                          Calvente-DePaul 0006972
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 314 of 408 PageID #:6236



Allegation 7: The Committee included “conversations” in the “College of Communication
Recommendation of Continuation or Termination of Untenured Faculty Contract” Report of March 7,
2015, that were not documented and are not included as evidence, as per College and University policy.
The conversation that occurred during the interview with Dr. Calvente was out of context, inaccurate,
or both and the statements from the student reporter were not from the student report but allegedly
stated by the student during his conversation with Personnel before Dr. Calvente’s interview. The
student reporter’s quoted statements contradict the Student Report. NO FINDING

The process for choosing the student representatives is handled by                , Assistant Dean of the
College.          sends an Email explaining the process for the volunteer position. If a student responds,
         meets with them regarding the report. Ten students were recruited and matched to a case. The
students did not know who they would be assigned to until meeting with Ramsey. Ramsey held an
informal meeting with the students following the case meeting.

The student representative,                     , wrote a report and met with the personnel Committee.
Calvente is correct that the student did not mention any negative comments in the report, and when
interviewed, could not remember many specifics about the meeting. He recalled saying that “she was a
tough teacher with a unique teaching style, but they appreciated her.” He could not recall specifics about
what the committee asked him, but he does remember using vague words like “intimidating” and “nice.”
The committee asked him to expound on these terms, and in the interview with the Investigator, he
pointed out some of the comments he remembered mentioning. He also mentioned an incident regarding
a harsh response she gave to a student, but while searching for that comment in the interview with the
Investigator, he could not find it. When asked why he didn’t include any negative comments in his
report, he didn’t have an answer.

The new faculty handbook states that materials submitted from the college consists of “data supplied by
the college through the student input instrument.” The CoC did update their policies to comply with the
new handbook, but there were no changes to the section regarding student interviews. It has been the
practice to include comments during the student interview in the College of Communication
Recommendation of Continuation or Termination of Untenured Faculty Contract document. The Dean
confirms that there has never been a policy explicitly forbidding information from the interview with the
student representative in the review.




                                                                                                             7

CONFIDENTIAL                                                          Calvente-DePaul 0006973
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 315 of 408 PageID #:6237



                                      Appendix I

Faculty Name    Rank                  Tenure Track   Ethnicity          Disposition
                                      Status

2009-2010


                Associate Professor   UT             Hispanic/Latino
                Assistant Professor   UT             Asian Pacific      Resigned
                Professor             T              Asian Pacific
                Associate Professor   T              African American
                Assistant Professor   UT             African American
                Assistant Professor   UT             African American
                Instructor ABD        UT             Unknown
                Assistant Professor   UT             Asian Pacific      Resigned
                Assistant Professor   UT             Unknown
                Assistant Professor   UT             Asian Pacific

2010-2011


                Assistant Professor   UT             Hispanic/Latino
                Assistant Professor   UT             Asian Pacific
                Professor             T              Asian Pacific
                Associate Professor   T              African American
                Assistant Professor   UT             African American
                Assistant Professor   UT             African American
                Instructor ABD        UT             Hispanic/Latino
                Assistant Professor   UT             Asian Pacific
                Assistant Professor   UT             Asian Pacific


2011-2012


                Assistant Professor   UT             Hispanic
                Assistant Professor   UT             Hispanic
                Assistant Professor   UT             Asian Pacific
                Instructor ABD        UT             Foreign
                Professor             T              Asian Pacific
                Associate Professor   T              African American
                Assistant Professor   UT             African American
                Assistant Professor   UT             African American
                Instructor ABD        UT             Hispanic           Resigned ABD

                                                                                   8

CONFIDENTIAL                                           Calvente-DePaul 0006974
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 316 of 408 PageID #:6238



                Assistant Professor   UT          Asian Pacific
                Assistant Professor   UT          Asian Pacific

2012-2013


                Assistant Professor   UT          Hispanic
                Assistant Professor   UT          Hispanic
                Assistant Professor   UT          Asian Pacific
                Assistant Professor   UT          Unknown
                Associate Professor   UT          Unknown
                Assistant Professor   UT          Asian
                Instructor ABD        UT          Foreign
                Professor             T           Asian
                Associate Professor   T           African American
                Assistant Professor   UT          African American
                Assistant Professor   UT          African American
                Assistant Professor   UT          Foreign
                Assistant Professor   UT          Asian

2013-2014


                Assistant Professor   UT          Hispanic/Latino
                Assistant Professor   UT          Hispanic/Latino
                Assistant Professor   UT          Asian
                Assistant Professor   UT          Hispanic/Latino
                Assistant Professor   UT          Unknown
                Associate Professor   UT          Unknown
                Assistant Professor   UT          Asian
                Assistant Professor   UT          Foreign              Ph.D.
                Professor             T           Asian
                Professor             T           African American     Promotion
                Assistant Professor   UT          African American
                Assistant Professor   UT          African American
                Assistant Professor   UT          Foreign
                Associate Professor   T           Asian                Tenure/Promotion

2014-2015


                Associate Professor   T           Hispanic/Latino      Tenure/Promotion
                Assistant Professor   UT          Hispanic/Latino
                Assistant Professor   UT          Asian

                                                                                   9

CONFIDENTIAL                                        Calvente-DePaul 0006975
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 317 of 408 PageID #:6239



                Assistant Professor   UT          Hispanic/Latino
                Assistant Professor   UT          Unknown
                Associate Professor   UT          Unknown
                Assistant Professor   UT          Asian
                Assistant Professor   UT          Foreign
                Professor             T           Asian
                Professor             T           African American     Resigned
                Assistant Professor   UT          African American
                Assistant Professor   UT          African American     Denied
                                                                       Tenure/Resigned
                Assistant Professor   UT          Foreign              Resigned
                Associate Professor   T           Asian

2015-2016


                Associate Professor   T           Hispanic/Latino
                Assistant Professor   UT          Hispanic/Latino
                Assistant Professor   UT          Asian
                Assistant Professor   UT          Hispanic/Latino
                Assistant Professor   UT          Unknown
                Associate Professor   T           Unknown              Tenure
                Assistant Professor   UT          Asian
                Assistant Professor   UT          Foreign
                Professor             T           Asian
                Assistant Professor   UT          African American
                Associate Professor   T           Asian




                                                                                  10

CONFIDENTIAL                                        Calvente-DePaul 0006976
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 318 of 408 PageID #:6240



                                                   Appendix II

                         Calvente Teaching Evaluations: Student Report Analysis

CLASSES BELOW DEPARTMENT AVERAGE ON QUESTIONS 1, 2, 3, or 6
Question 1: Given your experience at DePaul, rate the overall quality of the course
Question 2: Given your experience at DePaul, rate the instructor’s overall teaching effectiveness
Question 3: This course increased my knowledge and skills
Question 6: The instructor demonstrated a command of the subject matter

ABD 290, Section: 401 [African & Black Diaspora Studies]
Questions: 1, 2, & 3

CMNS 330, Section: 401 [Communication Studies]
Questions: 2

“The instructor at times puts people down unknowingly I think. She would be really grumpy
some days and other days really happy and you never knew which but her mood would affect
how she ran the class”

LSP 200, Section: 402 [Sophomore Seminar]
Questions: 1, 2, 3, & 6

“One thing that always made me uneasy was the feeling that if I said the wrong thing, I would
look stupid in front of the class”

CMN 103, Section: 403 [Communication]
Questions: 1, 2, 3, & 6

INTC 230, Section: 501 [Intercultural Communication]
Questions: 1, 2, & 3

CMN 103, Section: 502 [Communication]
Questions: 1 & 2

“If your opinion did not match the teachers, she did not want to hear what you had to say.
Because of this, I know that I attempted to cater my opinion, paper, projects, to her opinion
because I feared for my grade”

“I found it very difficult to participate in class because I was afraid of the condescending remarks
she made about other students’ ideas. I wouldn’t raise my hand because even if I understood the
theory because I didn’t know if the parallel I had drawn in my mind would be acceptable to
share. I overall was very discouraged in this class and felt I had no way to succeed”

“I think it great how passionate the professor is on this subject however, I think she needs to let
the students get their point across and without coming across as somewhat “attacking” a student
for their opinion”


                                                                                                    11

CONFIDENTIAL                                                                Calvente-DePaul 0006977
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 319 of 408 PageID #:6241




“The teacher is very knowledgeable on this subject but if you do not agree with her, she tends to
make you feel like you’re an idiot. She will listen to your differing views but doesn’t encourage
them”

COMMENTS IN COURSES ABOVE DEPARTMENT AVERAGE EVALUATIONS

CMN 103, Section: 401
“I don’t think there is a way to make social theories on ethnicity or gender any more depressing”

CMN 103, Section: 402
“I think that a lot of students (myself included) thought that she should slow down but were
intimidated to ask her. She is a very nice woman and a great professor, but can be slightly
intimidating which affects students’ approach to her”

“Even though I really enjoyed the course and learned a lot, I felt nervous about speaking up at
times. I participate a lot in my courses; however I felt that in this course I was intimidated to
speak up in fear of being wrong. I felt that the classroom environment could be a bit depressing
at times. I felt very anxious about the course at times and I think this could be changed by a more
positive atmosphere. I think the course could benefit from more encouragement from the
instructor and letting us know when we are doing well instead of intimidating us or reminding us
how challenging the course is”

“It was challenging for some students to freely state their opinion without Dr. Calvente
immediately shutting them down or making a face indicating how wrong they were”
“At times I felt as though the environment became hostile and sensitive when discussing issues
making other classmates feel uncomfortable”

“I think the professor really needs to work on her arrogance and her attitude which made her
very unapproachable”

“Dr. Calvente was insistent on students dropping the class on the first day and was shocked when
students hadn’t the second day. A little more encouragement from her about what she expected
from us would have been nice”

INTC 230, Section: 601
“The instructor seemed to favor certain students among others, which grew tiresome. I feel that
some of the feedback offered regarding performance workshops was based on personal
preference, rather than being constructive. The professor displayed a hostile attitude during some
of the in class debates, which discouraged the facilitation of ideas”

CMN 290, Section: 501
“Instructor often made students feel inferior. She rolled her eyes at some questions asked and
often misunderstood students concern. Students eventually became afraid to speak at all in fear
of ridicule”




                                                                                                  12

CONFIDENTIAL                                                    Calvente-DePaul 0006978
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 320 of 408 PageID #:6242




“I would have like to interact with some of my classmates in smaller groups because I believe
sometimes people were afraid to speak in front of such a large group”

INTC 308, Section: 801
“I got the strong impression that Dr. Calvente was trying to prove something with this class. Her
syllabus and her formal introduction during the first couple of the course came off overly
ambitious and aggressive”


STUDENT ASSESSMENT OF FACULTY PERFORMANCE
Opportunities
      “There is room to create a more positive class environment”
      “Criticism can sometimes be intimidating and abrasive; need for diplomacy”




                                                                                                13

CONFIDENTIAL                                                   Calvente-DePaul 0006979
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 321 of 408 PageID #:6243




               Exhibit G
        Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 322 of 408 PageID #:6244


                                                                                       Page 1
                                                                                      Page 1
· · ·· · · · IN THE UNITED STATES DISTRICT COURT
· · ·· · · ·FOR THE NORTHERN DISTRICT OF ILLINOIS
· · ·· · · · · · · · ·EASTERN DIVISION

·

·   ·   ·LISA CALVENTE,· · · · · · · · ·)
·   ·   ·· · · · · · · · · · · · · · · ·)
·   ·   ·· · ·PLAINTIFF,· · · · · · · · )
·   ·   ·· · · · · · · · · · · · · · · ·)
·   ·   ·VS.· · · · · · · · · · · · · · ) NO. 1:20-CV-03366
·   ·   ·· · · · · · · · · · · · · · · ·)
·   ·   ·SALMA GHANEM AND DEPAUL· · · · )
·   ·   ·UNIVERSITY,· · · · · · · · · · )
·   ·   ·· · · · · · · · · · · · · · · ·)
·   ·   ·· · ·DEFENDANTS.· · · · · · · ·)
·

·

· · ·· · · · · The Zoom webconference discovery

· · ·deposition of DOCTOR SUSAN ZAESKE taken by Gina

· · ·Marie Zangara, C.S.R., on July 8th, 2021, at the

· · ·hour of 10:02 a.m.

·

·

·

·

·

·

·

·

·

·


                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                     YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 323 of 408 PageID #:6245


                                                                                                                        Page 2..5
                                                        Page 2                                                             Page 4
·1    APPEARANCES REMOTELY VIA ZOOM:
·2
                                                                 ·1   · · · · · · · COURT REPORTER:· All parties are
· ·   ··   ·   ·LAW OFFICES OF FITZGERALD BRAMWELL               ·2   aware that the witness will be sworn in remotely.
·3     ·   ·   ·BY MR. FITZGERALD T. BRAMWELL                    ·3   The parties agree not to challenge the validity
· ·   ··   ·   ·225 West Washington Street
·4     ·   ·   ·Chicago, Illinois 60606
                                                                 ·4   of any oath administered by the court reporter,
· ·   ··   ·   ·(312) 924-2884                                   ·5   even if the court reporter is not physically
·5     ·   ·   ·bramwell@fitzgeraldbramwell.com                  ·6   present with the witness and not a notary public
· ·   ··   ·   ·appeared on behalf of the Plaintiff;
·6                                                               ·7   in the state where the witness resides.
·7     ·   ·   ·COZEN O'CONNOR                                   ·8   · · · · · · · · · ·Here begins the webconference
· ·   ··   ·   ·BY MR. ANNELIESE WERMUTH                         ·9   deposition of Doctor Susan Zaeske in the matter
·8     ·   ·   ·123 North Wacker Drive, Suite 1800
· ·   ··   ·   ·Chicago, Illinois 60606                          10    of Lisa Calvente versus Salma Ghanem and DePaul
·9     ·   ·   ·(312) 474-7900                                   11    University.
· ·   ··   ·   ·Awermuth@cozen.com
10     ·   ·   ·Appeared on behalf of the Defendants.
                                                                 12    · · · · · · · · · ·Today's date is July 8th, 2021
11                                                               13    and the time is 10:02 a.m.· My name is Gina
12     ALSO PRESENT:· KATHRYN STIEBER                            14    Zangara of Thompson Court Reporters.· Beginning
· ·   ·· · · · · · · ·LISA CALVENTE
13
                                                                 15    with the noticing party, will the parties
14    · · · · · · · · · ·I N D E X                               16    introduce themselves, state whom they represent
15                                                               17    and stipulate to the swearing in of the witness
16     WITNESS:· · · · · · · · · · · · · · · · PAGE:
17     DOCTOR SUSAN ZAESKE                                       18    remotely.
18     · · ·Examination by Ms. Wermuth· · · · ·5, 206            19    · · · · · · · MS. WERMUTH:· This is Anna Wermuth.
· ·   ·· · ·Examination by Mr. Bramwell· · · 181, 207
19
                                                                 20    I represent DePaul University and Doctor Ghanem.
20                                                               21    · · · · · · · MR. BRAMWELL:· Good morning.· This
21                                                               22    is Jerry Bramwell, B R A M W E L L, representing
22
23
                                                                 23    Doctor Calvente.
24                                                               24    · · · · · · · · · ·(Witness so sworn)

                                                        Page 3                                                             Page 5
·1                                                               ·1 · · · · · · · ·DOCTOR SUSAN ZAESKE:
·2                                                               ·2 CALLED AS A WITNESS HEREIN, HAVING BEEN FIRST
· · ·EXHIBITS MARKED:· · · · · · · · · · · · PAGE:               ·3 DULY SWORN, WAS EXAMINED UNDER OATH AND TESTIFIED
·3                                                               ·4 AS FOLLOWS:
·4    EXHIBIT 1· · · SUBPOENA· · · · · · · · · 12                ·5 · · · · · · · · · EXAMINATION
·5    EXHIBIT 2· · · ZAESKE CV· · · · · · · · ·32
                                                                 ·6 · · · · · · · · BY MS. WERMUTH:
·6    EXHIBIT 3· · · ZAESKE REPORT· · · · · · ·66
                                                                 ·7 · · Q.· ·Good morning, Doctor Zaeske.· I had the
·7    EXHIBIT 3.1· · CARNEGIE· · · · · · · · ·107
                                                                 ·8 presence of mind to ask Mr. Bramwell how to
·8    EXHIBIT 3.2· · DEPAUL CRITERIA· · · · · 143
                                                                 ·9 pronounce your name, so hopefully I am doing that
·9    EXHIBIT 3.3· · UNC CRITERIA· · · · · · · 73
                                                                 10 correctly.
10    EXHIBIT 4· · · CALVENTE OFFER LETTER· · ·60
                                                                 11 · · A.· ·Wonderful.· Thank you.
11    EXHIBIT 5· · · LC4086-90· · · · · · · · ·61
                                                                 12 · · Q.· ·Okay, good.· Do you prefer that I refer
12    EXHIBIT 7· · · CARNEGIE· · · · · · · · ·100
                                                                 13 to you as Doctor Zaeske then throughout this
13    EXHIBIT 11· · ·CARNEGIE· · · · · · · · ·114
                                                                 14 deposition?
14    EXHIBIT 14· · ·WASHINGTON POST· · · · · 115
                                                                 15 · · A.· ·That would be great.
15    EXHIBIT 15· · ·JOBS AFTER DENIAL· · · · 135
16    EXHIBIT 16· · ·LIFE AFTER DENIAL· · · · 132
                                                                 16 · · Q.· ·Okay, terrific.· I will do that.· You

17    EXHIBIT 21· · ·TEMPLATE· · · · · · · · ·140                17 are welcome to call me Anna if you need to refer
18    EXHIBIT 22· · ·INSIDE HIGHER ED· · · · ·118                18 to me, okay?
19    EXHIBIT 23· · ·CHRONICLE OF HIGHER ED· ·130                19 · · A.· ·Thank you.
20                                                               20 · · Q.· ·Can you please, as we are getting
21                                                               21 started here, state your full name for the
22                                                               22 record?
23                                                               23 · · A.· ·My full name is Susan Zaeske.
24                                                               24 · · Q.· ·Can you spell your last name for us?



                                       Thompson Court Reporters, Inc.
                                            thompsonreporters.com                                                                   YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 324 of 408 PageID #:6246


                                                                                                   Page 6..9
                                               Page 6                                                     Page 8
·1   · · A.· ·Spelled Z as in zebra, A, E as in           ·1   thing I'll add here is I do not pretend to be a
·2   elephant, S as in Sam, K, E as in elephant.          ·2   paragon of clarity.· I'm just an employment
·3   · · Q.· ·Doctor Zaeske, have you ever had your       ·3   lawyer.· So if there is something I ask you that
·4   deposition taken before?                             ·4   you don't understand, please let me know that,
·5   · · A.· ·No, I have not.                             ·5   and I'll do my best to ask a question that you
·6   · · Q.· ·Okay.· So I'm going to go over just a       ·6   can answer and that you do understand.· Is that
·7   couple of what I'm going to call groundrules, and    ·7   fair?
·8   you know, this is not intended to be a marathon      ·8   · · A.· ·Thank you.· Yes, I'll do that.
·9   today.· So number one, if you need a break, just     ·9   · · Q.· ·Okay.· Terrific, good.· So we are just
10    let me know, okay, and I'll try to accommodate      10    going to jump in now.· I'm going to start asking
11    that.· We are human.· We need water.· We need       11    you some questions.· As you know, I represent
12    food.· We need bathroom breaks.· So feel free to    12    DePaul University.· So Doctor Zaeske, I hate to
13    let me know when you need to take a break.· Okay?   13    ask these questions, but I need to do so.· Are
14    · · A.· ·Thank you.                                 14    you on any medication today that could impair
15    · · Q.· ·And I'll try to accommodate your request   15    your ability to testify accurately and honestly?
16    as quickly as possible.· One of the really          16    · · A.· ·No, I am not.
17    important things about today is that we get a       17    · · Q.· ·Thank you.· Have you consumed any drugs
18    clean record, which means it is important that we   18    or alcohol in the last 24 hours?
19    don't speak over one another.· I personally tend    19    · · A.· ·No, I have not.
20    to be slow in my presentation, and I pause, so it   20    · · Q.· ·Thank you.· Where are you physically
21    will -- it is conceivable that you will start       21    sitting today, Doctor Zaeske?
22    answering before I am done asking a question.       22    · · A.· ·I'm sitting in my home office.· Do you
23    That's also human.· It is what we do when we are    23    want my address in Madison?
24    communicating with one another.                     24    · · Q.· ·No, that's okay.· I'm just trying to

                                               Page 7                                                     Page 9
·1   · · · · · · · · · · · ·And so I will just let you    ·1   understand if you were on campus, if you were at
·2   know if I'm not done with my question, okay?· And    ·2   home today.· We are in this new world of doing
·3   that helps the court reporter because it's hard      ·3   things remotely, so I just needed to know where
·4   for her to take down what I am saying if you are     ·4   you were.
·5   also talking at the same time.· Is that fair?        ·5   · · A.· ·Yes.
·6   · · A.· ·Absolutely.                                 ·6   · · Q.· ·Is there anyone in the room with you?
·7   · · Q.· ·Okay.· And in the reverse, I'm going to     ·7   · · A.· ·No, there is not.
·8   do my best to allow you to fully finish your         ·8   · · Q.· ·Will you let us know if someone enters
·9   answer before I start talking, okay?· And if you     ·9   the room?
10    have not finished your answer, will you please      10    · · A.· ·Certainly, yes.
11    let me know?                                        11    · · Q.· ·Thank you.· And do you have any
12    · · A.· ·Certainly.                                 12    documents or materials with you today?
13    · · Q.· ·Thank you.· It is also, I think in terms   13    · · A.· ·No.
14    of getting a clear record, it is important that     14    · · Q.· ·Okay.· Did Mr. Bramwell send to you
15    your answers are verbal.· So we often communicate   15    yesterday a packet of potential exhibits for
16    as someone who is a scholar in communication        16    today's deposition?
17    probably knows through verbal cues.· Because we     17    · · A.· ·I think he sent them yesterday. I
18    are going to have a black and white transcript,     18    checked my Gmail this morning.· So I don't know
19    the court reporter can't take down uh-huhs or       19    what time they arrived.
20    nods of the head, okay?· So it will be important    20    · · Q.· ·Okay.· Would you be able to access those
21    for your answers to be verbal.· Does that make      21    exhibits today if I ask you to?
22    sense to you?                                       22    · · A.· ·Yes.
23    · · A.· ·Yes.                                       23    · · Q.· ·Okay.· Thank you.· Other than the screen
24    · · Q.· ·Okay.· Terrific.· And then the last        24    that you are using to sort of make eye contact

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 325 of 408 PageID #:6247


                                                                                                Page 10..13
                                              Page 10                                                   Page 12
·1   with all of us, do you have other screens with       ·1   · · A.· ·Yeah.
·2   materials up that you are looking at?                ·2   · · Q.· ·Okay.
·3   · · A.· ·None.· There is a computer sitting          ·3   · · A.· ·So this is a message I got yesterday.
·4   behind me, but it is closed.                         ·4   It came from Jerry yesterday.
·5   · · Q.· ·Fair enough, fair enough.· So you are       ·5   · · Q.· ·Okay.· I have tried to have these
·6   not in a position right now to be able to be         ·6   premarked with numbers.· So if you could please
·7   looking at any materials on your computer?           ·7   look at Exhibit Number 1?
·8   · · A.· ·No.                                         ·8   · · A.· ·I'll get there.· Here it is.· Subpoena?
·9   · · Q.· ·Do you have a cell phone with you?          ·9   · · Q.· ·Correct.· And by the way, forgive me.
10    · · A.· ·I do have a cell phone.                    10    My camera is in front of me, but my exhibits are
11    · · Q.· ·Okay.· Do you agree that you will not      11    to the right of me, so I am occasionally going to
12    use it to communicate or review materials during    12    be turning my head.· I apologize for that.· Yes,
13    the course of the deposition?                       13    so Exhibit 1, you recognize that document?
14    · · A.· ·Yes.· I can agree to that, certainly.      14    · · A.· ·Yes.· Hold on.· There it is.· Yes.
15    · · Q.· ·Thank you.· Did you do anything to         15    · · Q.· ·Okay.· And you recognize that as the
16    prepare for your deposition today, Doctor Zaeske?   16    subpoena that was served on you for documents?
17    · · A.· ·I reread the report that I sent to the     17    Is that your understanding?
18    Court, I guess, or to all of you to remember, you   18    · · A.· ·Correct, right.
19    know, what I had said.· And I also reviewed some    19    · · Q.· ·And you did receive a copy of the
20    of the -- Jerry gave me some ideas of what          20    subpoena?
21    happens like at this moment, in this setting.· So   21    · · A.· ·Yes.
22    I looked at those notes too.                        22    · · Q.· ·Can you turn to the last page, the
23    · · Q.· ·Okay.· When you say notes, are those       23    Exhibit A to the subpoena?
24    like handwritten notes?                             24    · · A.· ·Yes.

                                              Page 11                                                   Page 13
·1   · · A.· ·They were -- yeah.· They were notes that    ·1   · · Q.· ·Did you provide Mr. Bramwell with
·2   I took about what a deposition is about.             ·2   documents that were responsive to every single
·3   · · Q.· ·I understand.· So you had a meeting with    ·3   category listed on Exhibit A?
·4   Mr. Bramwell during which time you took some         ·4   · · A.· ·Yes.
·5   notes?                                               ·5   · · Q.· ·So all of the materials that you sent to
·6   · · A.· ·Yep.                                        ·6   Mr. Bramwell, you have no reason to believe they
·7   · · Q.· ·Okay.· And when did that meeting take       ·7   were not sent to me?
·8   place?                                               ·8   · · A.· ·Yes.
·9   · · A.· ·That meeting took place about 2 weeks       ·9   · · Q.· ·Okay.· So you were mentioning as we were
10    ago.                                                10    talking about your preparation that you reviewed
11    · · Q.· ·And that was the last time you met with    11    the report.· So you did prepare a report in
12    Mr. Bramwell?                                       12    connection with this matter, correct?
13    · · A.· ·Yep.· I think both of us have been on      13    · · A.· ·Correct.
14    respective vacations since then.                    14    · · Q.· ·When were you first contacted about a
15    · · Q.· ·Understood, understood.· And did that      15    possible engagement as an expert in this case?
16    meeting take place in person?                       16    · · A.· ·It was in -- I just remember it was in
17    · · A.· ·No.· Via Zoom.                             17    the Spring.· I don't know what month.· March,
18    · · Q.· ·Thank you.· And how long did the 2 of      18    April.
19    you meet?                                           19    · · Q.· ·Okay.· Who contacted you?
20    · · A.· ·I think about 30 minutes.                  20    · · A.· ·Jerry did.
21    · · Q.· ·Did you -- let me ask you this.· If you    21    · · Q.· ·Did Mr. Bramwell provide you -- strike
22    could please open the file with the exhibits.       22    that.· Did you talk to Doctor Calvente about this
23    Are you able to look at that and look at the        23    engagement?
24    camera at the same time?                            24    · · A.· ·I first heard from Jerry, and he

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 326 of 408 PageID #:6248


                                                                                                Page 14..17
                                              Page 14                                                   Page 16
·1   contacted me several times, and I gave it some       ·1   than a timeline or sort of factual summary,
·2   thought about whether I wanted to do this, and       ·2   Doctor Zaeske, did Mr. Bramwell or Doctor
·3   then I decided that I would.· And then after that    ·3   Calvente provide you with any other documents or
·4   I think I was then -- then I was introduced to       ·4   facts related to the issues involved in the
·5   Doctor Calvente on a Zoom call.                      ·5   litigation?
·6   · · Q.· ·Okay.· So you have met with Doctor          ·6   · · · · · · · MR. BRAMWELL:· I'm sorry.· I had a
·7   Calvente?                                            ·7   hiccup.· Can I ask the court reporter to read
·8   · · A.· ·Yeah, at that one time.                     ·8   back that question?
·9   · · Q.· ·Okay.· Do you recall when that meeting      ·9   · · · · · · ·(Question read)
10    was?                                                10    · · · · · · · THE WITNESS:· No.
11    · · A.· ·Again, it was probably in I think maybe    11    BY MS. WERMUTH:
12    April.                                              12    · · Q.· ·You received no documents from Mr.
13    · · Q.· ·Was Mr. Bramwell on that -- in that        13    Bramwell or Doctor Calvente?
14    meeting with you and Doctor Calvente?               14    · · A.· ·I did not, no.
15    · · A.· ·Yes.· He was in that meeting with us.      15    · · Q.· ·How did you happen to obtain a copy of
16    · · Q.· ·Thank you.· Now, did Mr. Bramwell or       16    the DePaul College of Communication Tenure and
17    Doctor Calvente provide you with any facts, data,   17    Promotion Guidelines?
18    documents that you considered in forming your       18    · · A.· ·So I asked for that subsequent to the
19    opinion in your report?                             19    meeting.· I thought your last question was about
20    · · A.· ·What I was provided was sort of a          20    during the meeting that we had together.· I did
21    timeline of what had happened.                      21    not receive any documents from him at that time.
22    · · Q.· ·Verbal timeline or written timeline?       22    But once I did agree to serve as an expert
23    · · A.· ·A verbal, like a verbal explanation        23    witness, then I asked for a copy of the DePaul
24    of -- I don't know if timeline is the right word,   24    standards or criteria for tenure.

                                              Page 15                                                   Page 17
·1   but a sequence of events.                            ·1   · · Q.· ·Okay.· So -- okay.· And if my question
·2   · · Q.· ·Who provided that timeline to you?          ·2   wasn't clear, let me just -- I'll ask the
·3   · · A.· ·Jerry provided me in requesting my --       ·3   question this way.· In connection with your
·4   you know, to consider the idea of serving as an      ·4   engagement as an expert in this litigation, were
·5   expert witness, Jerry explained what had occurred    ·5   you provided with any facts or documents from
·6   or you know the -- like a tenure denial and then     ·6   Doctor Calvente or Mr. Bramwell?
·7   some -- I guess some appeals, and then that was      ·7   · · · · · · · MR. BRAMWELL:· I'm just going to
·8   reiterated when we met with Calvente.                ·8   object to the grounds that the expert witness
·9   · · Q.· ·How long was the meeting where Doctor       ·9   report that was prepared is the best evidence of
10    Calvente attended?                                  10    this.· Go ahead.
11    · · A.· ·I think probably about 45 minutes.         11    · · · · · · · THE WITNESS:· So am I to answer
12    · · Q.· ·Did you take notes from the meetings       12    this question?
13    with Mr. Bramwell and/or Doctor Calvente?           13    BY MS. WERMUTH:
14    · · A.· ·I took notes from the meetings with Mr.    14    · · Q.· ·Yes.
15    Bramwell because I needed to know what this         15    · · · · · · · MR. BRAMWELL:· Yes.
16    involved.· Not from -- I don't think I took notes   16    · · · · · · · THE WITNESS:· I received no
17    from -- I didn't take notes.· I mean there wasn't   17    documents from Calvente.· I requested the
18    really much more to learn with Calvente.            18    document -- in order to make a comparison of the
19    · · Q.· ·Okay.· And did you provide those notes     19    UNC guidelines for tenure with the DePaul
20    to Mr. Bramwell in connection with the subpoena?    20    guidelines for tenure, I requested through Jerry
21    · · A.· ·I did not.                                 21    a copy of the DePaul guidelines for tenure, and I
22    · · Q.· ·All right.· So I will make a request       22    was provided with a copy of them.· And that is
23    here for those notes, and we can address that at    23    the only document besides the subpoena, and I
24    the conclusion of the deposition.· Okay.· Other     24    think a -- I had to sign a confidentiality

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 327 of 408 PageID #:6249


                                                                                                Page 18..21
                                              Page 18                                                   Page 20
·1   statement.· I think that was another document.       ·1   did -- Jerry -- I don't know.· I don't know that
·2   That was the other document.· But those would        ·2   I have seen that.
·3   have been the only 2.                                ·3   · · Q.· ·Okay.
·4   BY MS. WERMUTH:                                      ·4   · · A.· ·I would have to check, to be honest, to
·5   · · Q.· ·Okay.· And let me just ask you with         ·5   check the email if I saw that early on when I
·6   respect to what you have described as the DePaul     ·6   first agreed to do this.
·7   standards or guidelines, is it your understanding    ·7   · · Q.· ·Okay.· So at some point it will be
·8   that what you received were the standards or         ·8   helpful for you to check to see if you did
·9   guidelines published by the College of               ·9   receive other documents including legal pleadings
10    Communication at DePaul?                            10    and the like.· That would be helpful for us to
11    · · A.· ·Yes.                                       11    know if you received those documents and reviewed
12    · · Q.· ·Now, your report -- strike that.· In       12    them in forming your opinion, okay?
13    connection with the subpoena response, I also       13    · · A.· ·Yes.
14    received from Mr. Bramwell documents related to     14    · · Q.· ·Thank you.· Did you review the
15    the offer that Doctor Calvente received from the    15    protective order that was entered in this case?
16    University of North Carolina.· Did you review       16    · · A.· ·I don't even know what a protective
17    those offer letter documents in connection with     17    order is, so I'm sure I didn't review that, that
18    preparing your report?                              18    I know.
19    · · A.· ·I know that she was sent a letter of       19    · · Q.· ·Thank you.· Are you aware generally of
20    offer, and I knew the date of the offer, but I      20    the nature of the claims asserted by Doctor
21    didn't review the offer.                            21    Calvente?
22    · · Q.· ·Okay.· So you were not provided with a     22    · · A.· ·I'm not -- well, I suspect she is not
23    copy of the offer?                                  23    happy that she was denied tenure.· I have no real
24    · · A.· ·I was not provided a copy of the offer.    24    understanding of what the reasons were for the

                                              Page 19                                                   Page 21
·1   · · Q.· ·Okay.· Any other documents that you were    ·1   tenure denial or what the arguments against it
·2   provided by Mr. Bramwell in connection with your     ·2   are.
·3   engagement?                                          ·3   · · Q.· ·Okay.· So just to be clear, you don't
·4   · · A.· ·None.                                       ·4   know the nature of the legal claims that Doctor
·5   · · Q.· ·Did Mr. Bramwell provide you with any       ·5   Calvente is asserting against DePaul University?
·6   assumptions that you relied upon in making your      ·6   · · A.· ·I do not.
·7   opinion or forming your opinion?                     ·7   · · Q.· ·Do you know Doctor Calvente's race?
·8   · · A.· ·No.· I mean my -- my -- I have been         ·8   · · A.· ·I have no idea.
·9   asked to do something that is very narrow and        ·9   · · Q.· ·Okay.· Do you know her ethnicity?
10    there was really no exchange about anything other   10    · · A.· ·I have no idea.
11    than essentially a comparison between UNC and       11    · · Q.· ·Did you review her CV in connection with
12    DePaul.                                             12    preparing your report?
13    · · Q.· ·Okay.· Do you know Doctor Calvente?        13    · · A.· ·I have never seen her CV.
14    · · A.· ·The first time I ever learned her name     14    · · Q.· ·Did you -- I know you had a meeting with
15    was when I got a message from Attorney Bramwell.    15    her.· Did you interview her and take notes of
16    And the first time I ever met her was in that       16    that meeting with her in connection with that
17    Zoom meeting.· So I didn't know her at all.         17    event?
18    · · Q.· ·You were not familiar with her as a        18    · · A.· ·No.· I didn't talk to her about the --
19    scholar prior to this?                              19    in connection with which event?· With the tenure
20    · · A.· ·Not at all.                                20    denial or --
21    · · Q.· ·Okay.· Have you reviewed the lawsuit or    21    · · Q.· ·I'm sorry.· In connection with your
22    what we call the complaint in this matter?          22    engagement as an expert, did you interview her or
23    · · A.· ·I don't think I -- I don't know that I     23    take notes of your meeting with her?
24    have seen the whole complaint.· I think maybe I     24    · · A.· ·No, I did not.· I didn't interview her.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 328 of 408 PageID #:6250


                                                                                                Page 22..25
                                              Page 22                                                   Page 24
·1   I think the idea was just so she would know who I    ·1   people with strong letterhead in the field of
·2   am.· I wasn't even, to be honest, exactly sure --    ·2   communications with many years of experience,
·3   I was surprised that she was at the meeting.         ·3   with strong research records.· And it helps to
·4   · · Q.· ·Understood.· Do you know how you were       ·4   have an administrative record.· There is a dearth
·5   identified by Doctor Calvente or Mr. Bramwell as     ·5   of people like that.
·6   a potential expert?                                  ·6   · · · · · · · · · · · ·So I'm asked to do that
·7   · · A.· ·No, I really don't.· I mean I have a        ·7   by, you know, Penn State, Indiana, UNC, and other
·8   sense that because -- and this happens to me a       ·8   particularly Big 10 institutions, which is where
·9   lot, is that, you know, I'm at a top ranked          ·9   communication has its strongest foothold as a
10    research institution, and I have an                 10    field.
11    administrative title and a lot of experience in     11    · · Q.· ·Okay.· So when you referred to tenure
12    administration.· So I get called in a lot to do     12    case writing, you are talking about serving as an
13    -- this is my first expert witness, but I do a      13    external referee on tenure cases at other
14    lot of tenure case writing for institutions in      14    institutions?
15    the field because they need letterhead.· They       15    · · A.· ·That's right.
16    need a letterhead like UW Madison.· They need an    16    · · Q.· ·Okay.· Thank you.· Do you know when
17    experienced administrator, and I am.· And they      17    Doctor Calvente obtained her PhD?
18    need someone who is an accomplished scholar.        18    · · A.· ·No.· I have no idea.
19    · · · · · · · · · · · ·So I'm sort of -- I don't    19    · · Q.· ·Do you know which institution conferred
20    want to say a target, but I get called on to do     20    her doctoral degree?
21    stuff like that.· So I'm visible in the field.      21    · · A.· ·I think it was UNC.
22    So that's sort of what I thought, but I don't       22    · · Q.· ·How did you come to learn that?
23    know.· I don't really know.                         23    · · A.· ·When -- well, in the course of -- what I
24    · · Q.· ·That's fair.· Thank you.· So -- and we     24    did was I looked at UNC, the website for UNC when

                                              Page 23                                                   Page 25
·1   are going to come back to your experience in a       ·1   I was looking for the tenure guidelines, and I
·2   minute.· We are going to take a look at your CV.     ·2   could see the -- I could see records of folks who
·3   But can you tell me when you just said that you      ·3   had graduated from there, and it was mentioned
·4   do a lot of, I think what you said was tenure        ·4   there.
·5   case writing where somebody needs a letterhead?      ·5   · · Q.· ·Is that material that you relied on in
·6   · · A.· ·Right.                                      ·6   forming your opinion?
·7   · · Q.· ·What do you mean by that?· What is          ·7   · · A.· ·Actually the only reason -- let's see.
·8   tenure case writing?                                 ·8   Well, it was interesting to me that UNC would
·9   · · A.· ·So when -- I'll give you an example.· So    ·9   hire one of its own because that's really
10    the University of Illinois, let's say, is putting   10    unusual.· So that would have been the only
11    someone up for tenure, okay, and they have to       11    impact.
12    make sure that as an R1 institution, as a strong    12    · · Q.· ·Okay.· So do you still have the web page
13    research institution, that they have external       13    that you looked at that showed her as being a
14    reviewers because all tenure cases have to be       14    graduate of the institution?
15    sent out for review by external referees, and       15    · · A.· ·I don't know if I have it anywhere, but
16    they have to be referees that are from equally or   16    I can look for it.
17    more prestigious institutions with equal or         17    · · Q.· ·You can obtain it?· Okay.
18    better records of publication, research awards,     18    · · · · · · · MR. BRAMWELL:· Ms. Wermuth, if it
19    teaching awards, and so on.                         19    will help, we will stipulate to the fact that
20    · · · · · · · · · · · ·So a lot of times            20    Doctor Calvente obtained her PhD from UNC.
21    institutions, particularly if they need someone     21    · · · · · · · MS. WERMUTH:· That's not what I'm
22    with a strong letterhead like UW Madison, and if    22    asking.· I'm trying to understand what Doctor
23    they need a woman to write for them, will ask me    23    Zaeske reviewed.
24    to be a writer, because there are only so many      24    · · · · · · · MR. BRAMWELL:· Never mind.· I'll

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 329 of 408 PageID #:6251


                                                                                                Page 26..29
                                              Page 26                                                   Page 28
·1   shut up.· Never mind.· Sorry.· I was trying to       ·1   the Dean of DePaul University's College of
·2   help.· Never mind.                                   ·2   Communication, did you review her recommendation?
·3   · · · · · · · MS. WERMUTH:· I'm trying to            ·3   · · A.· ·No.
·4   understand what Doctor Zaeske knows, how she         ·4   · · Q.· ·On her tenure case?
·5   learned it, and what material she relied on.         ·5   · · A.· ·No.
·6   · · · · · · · MR. BRAMWELL:· I get it.· I'm not      ·6   · · Q.· ·Did you review the University Board on
·7   trying to interfere.· I thought that was the         ·7   Promotion and Tenure, that recommendation?
·8   direction you were going.· Never mind.               ·8   · · A.· ·No.
·9   BY MS. WERMUTH:                                      ·9   · · Q.· ·Did you review the Provost's decision?
10    · · Q.· ·Do you know, Doctor Zaeske, about any      10    · · A.· ·No.
11    academic positions that Doctor Calvente held        11    · · Q.· ·Did you review the Appeal Board's
12    prior to being hired into a tenure track job at     12    recommendation?
13    DePaul?                                             13    · · A.· ·No.
14    · · A.· ·No, I do not.                              14    · · Q.· ·Did you review the President's decision?
15    · · Q.· ·Did you know when she was hired at         15    · · A.· ·No.
16    DePaul?                                             16    · · Q.· ·You were aware, however, that she
17    · · A.· ·I don't, though I can imagine it has --    17    appealed her tenure denial?
18    it must have been in the last 7 years.              18    · · A.· ·Yes.
19    · · Q.· ·And you say that because of the timing     19    · · Q.· ·And those were facts that were supplied
20    for a case for tenure to be up for review?          20    to you by Mr. Bramwell?
21    · · A.· ·Right.                                     21    · · A.· ·Yes.
22    · · Q.· ·Okay.· Do you know anything about the      22    · · Q.· ·Okay.· And you were aware that the
23    nature of the search that DePaul undertook at the   23    President then weighed in on her case?
24    time of Doctor Calvente's hire?                     24    · · A.· ·Yes.

                                              Page 27                                                   Page 29
·1   · · A.· ·No.                                         ·1   · · Q.· ·Okay.· And that was a fact that Mr.
·2   · · Q.· ·Do you know anything about the position     ·2   Bramwell provided to you?
·3   that was posted that she responded to at DePaul      ·3   · · A.· ·Yes.
·4   University?                                          ·4   · · Q.· ·Okay.· And do you know prior to her
·5   · · A.· ·No.                                         ·5   appeal at what level in the tenure review she was
·6   · · Q.· ·Are you familiar with her research          ·6   -- at what levels -- I'm sorry.· I'm going to
·7   concentration?                                       ·7   strike that whole question.· Do you know at any
·8   · · A.· ·No.                                         ·8   level what the recommendation was for Doctor
·9   · · Q.· ·Did you review her tenure dossier?          ·9   Calvente for or against tenure?
10    · · A.· ·No.                                        10    · · A.· ·No.· I really don't -- yeah.· I don't
11    · · Q.· ·Are you familiar with her publication      11    really know -- I just know there were appeals and
12    record as it existed in academic year 2018, 2019?   12    she was at the end denied.
13    · · A.· ·No.                                        13    · · Q.· ·Have you reviewed any media, newspaper
14    · · Q.· ·Are you familiar with her service record   14    articles, social media, petitions related to
15    at DePaul?                                          15    Doctor Calvente's tenure denial?
16    · · A.· ·No.                                        16    · · A.· ·No.
17    · · Q.· ·Are you familiar with her teaching         17    · · Q.· ·Now, after you were engaged and in
18    record at DePaul?                                   18    connection with preparing your report, did you
19    · · A.· ·No.                                        19    review Federal Rule of Civil Procedure 26A2?
20    · · Q.· ·Did you review the College of              20    · · A.· ·I did not.
21    Communications' recommendation on her tenure        21    · · Q.· ·Do you understand that under the federal
22    case?                                               22    rules your report must contain a complete
23    · · A.· ·No.                                        23    statement of all opinions you intend to express
24    · · Q.· ·Did you review DePaul University's --      24    in this case?

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 330 of 408 PageID #:6252


                                                                                                Page 30..33
                                              Page 30                                                    Page 32
·1   · · A.· ·Could you please restate the question?      ·1   · · A.· ·I thought we were going to be meeting in
·2   · · Q.· ·Sure.· There are rules that govern civil    ·2   person in Chicago, and I would have wanted to be
·3   practice in federal courts.· Do you understand,      ·3   compensated for mileage and hotel or something
·4   Doctor Zaeske, that your written report under        ·4   like that.· But since that's not -- since we are
·5   those rules must contain a complete statement of     ·5   on Zoom, I am not.
·6   all opinions you intend to express?                  ·6   · · Q.· ·Okay.· So you have not incurred any
·7   · · A.· ·Yes.                                        ·7   costs to date?
·8   · · Q.· ·Okay.· So you understand that any           ·8   · · A.· ·None.
·9   opinion that you intend to make in this case is      ·9   · · Q.· ·All right.· So if you would, Doctor
10    to be contained in your written report?             10    Zaeske, pull up your CV, I would like to talk to
11    · · A.· ·Right.                                     11    you about your background.
12    · · Q.· ·Okay.· Thank you.· And do you also         12    · · A.· ·Certainly.· Is that one of the exhibits?
13    understand that your written report must contain    13    · · Q.· ·Exhibit 2 in the packet.
14    all the facts and the data that you considered in   14    · · A.· ·Okay.· Alrighty.
15    forming your opinion?                               15    · · Q.· ·Okay.· I would like to start with your
16    · · A.· ·Yes.                                       16    education, which is at the bottom of page 1 and
17    · · Q.· ·And you understand that any exhibits       17    top of page 2.· It looks to me as though you
18    that would be used to summarize your opinion are    18    received your Bachelor's, your Master's, and your
19    also to be included in your report?                 19    PhD from the University of Wisconsin Madison?
20    · · A.· ·Yes.                                       20    · · A.· ·Yes.
21    · · · · · · · MR. BRAMWELL:· Objection, vague.      21    · · Q.· ·Okay.· And the Master's, is that like a
22    BY MS. WERMUTH:                                     22    -- was that a required terminal degree, or were
23    · · Q.· ·Now, I notice that in the materials        23    you not thinking about being in a PhD program at
24    served on us in connection with the disclosure of   24    the time, or tell me about the Master's?

                                              Page 31                                                    Page 33
·1   you as an expert that you indicated you're not       ·1   · · A.· ·It is simply required to go into the --
·2   being compensated for your opinion; is that          ·2   to finish the PhD.· It wasn't terminal.· It was a
·3   correct?                                             ·3   -- you know, you had to fulfill it to continue on
·4   · · A.· ·That's correct.                             ·4   to the doctoral program.
·5   · · Q.· ·So you received no compensation for the     ·5   · · Q.· ·Understood.· Okay.· So when were you
·6   preparation of the report?                           ·6   accepted into the doctoral program?
·7   · · A.· ·Correct.                                    ·7   · · A.· ·It would have been in Spring of '89 when
·8   · · Q.· ·Are you being compensated for your time     ·8   I graduated as a Bachelor's -- with my Bachelor's
·9   today appearing at this deposition?                  ·9   degree.
10    · · A.· ·I am not.                                  10    · · Q.· ·So you then entered the PhD program in
11    · · Q.· ·Okay.· Okay.· And will you be              11    the Fall of 1989?
12    compensated for your testimony at trial if this     12    · · A.· ·That's right.
13    case proceeds to trial?                             13    · · Q.· ·Thank you.· And then the Master's was
14    · · A.· ·I will not.                                14    just part of what you had to do towards
15    · · Q.· ·Okay.· And why is it that you decided      15    completion of the doctoral program?
16    not to charge for your services as an expert?       16    · · A.· ·Right.
17    · · A.· ·I saw it as similar to the work that I     17    · · Q.· ·So you had to take qualifying exams at
18    mentioned earlier as, you know, a tenure            18    that point?
19    reviewer, so a service to the discipline.· That's   19    · · A.· ·That's right, yes.
20    basically the reason.· And frankly, I was kind of   20    · · Q.· ·And then you very quickly, I guess even
21    interested.· I never have gone through this         21    before your PhD was conferred, you were hired by
22    process before.· I just wanted to see what it       22    UW Madison in a tenure line position; is that
23    involves as an expert witness.                      23    correct?
24    · · Q.· ·Are you charging for costs incurred?       24    · · A.· ·That's right.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 331 of 408 PageID #:6253


                                                                                                Page 34..37
                                              Page 34                                                    Page 36
·1   · · Q.· ·How did that come to be given that you      ·1   and then there are a number of other divisions.
·2   had not yet obtained the PhD?                        ·2   But there are 13 schools and colleges.· The
·3   · · A.· ·So a number of things happened.· One was    ·3   College of Letters and Science by far the
·4   that the rhetoric area of my department, we had a    ·4   largest, taking up half the faculty on campus,
·5   number of unexpected retirements in the              ·5   and you know, it is about half the campus and
·6   department.· And then actually 2 of the -- 2 of      ·6   half the departments and majors and so on.· So it
·7   the faculty were non-renewed in their fourth         ·7   has got about 45 departments in it.
·8   year.· So then they -- then they left.               ·8   · · · · · · · · · · · ·And the College of Letters
·9   · · · · · · · · · · · ·I had gone on the job         ·9   and Science -- excuse me.· The Department of
10    market, and I had received offers from 2 other R1   10    Communication Arts is one of the roughly 45
11    institutions, as well as Wisconsin.· So I proved    11    departments in the College of Letters and
12    that I could -- that I was marketable because I     12    Science.· And the Department of Communication
13    had a number of things published, and I won         13    Arts has 4 areas of graduate study and 2 areas of
14    awards and things like that.· So my -- because      14    undergraduate study.· I'm happy to say what those
15    there was a lack of faculty in the department, I    15    are if you want.
16    had a heavier load even as a grad student, but      16    · · Q.· ·No, that's fine.· I appreciate that.
17    especially as a beginning professor, which          17    Thank you.· I'm trying to get a sense of the
18    delayed my time in completing my dissertation. I    18    structure of the university.
19    didn't end up defending my dissertation until       19    · · A.· ·Right.
20    Spring of 1997, even though I had -- my tenure      20    · · Q.· ·Because I see reference to division of
21    clock began ticking in the Fall of 1996.            21    the arts, arts and humanities, and I'm trying to
22    · · Q.· ·I see.· And it appears that you were       22    understand what those units are and how they are
23    promoted to associate professor 6 years later in    23    related or not to the College of Letters and
24    2002?                                               24    Science which houses the Department of

                                              Page 35                                                    Page 37
·1   · · A.· ·Right.                                      ·1   Communications?
·2   · · Q.· ·And so -- and was that a promotion that     ·2   · · A.· ·Right.· All right.· So the -- so we have
·3   came with tenure?                                    ·3   the whole university, 13 schools of college --
·4   · · A.· ·Yes.                                        ·4   all the university.· This is like a funnel,
·5   · · Q.· ·So you were promoted and tenured in         ·5   right?· So there are 13 schools and colleges. L
·6   2002?                                                ·6   and S is one of those schools and colleges, but
·7   · · A.· ·Right.                                      ·7   it is a huge one.· Comm Arts is one of the
·8   · · Q.· ·So did you go up early for promotion and    ·8   roughly 45 departments.· But the college for
·9   tenure?                                              ·9   administrative purposes is divided into 4
10    · · A.· ·Yeah, I ended up going early even though   10    sections.· I'll just say sections, okay.
11    I -- even though my tenure clock was ticking.       11    · · · · · · · · · · · ·So there is the Arts and
12    · · Q.· ·Okay.· And you became full professor       12    Humanities -- it's actually a division.· The Arts
13    then in 2007; is that correct?                      13    and Humanities Division.· I'm the Associate Dean
14    · · A.· ·Yes.                                       14    of the Arts and Humanities Division.· I have 16
15    · · Q.· ·And the Department of Communication Arts   15    departments and about 25 centers and institutes
16    sits in what academic unit?                         16    that I administer in my job as Associate Dean for
17    · · A.· ·It is in the College of Letters and        17    Arts and Humanities.· Comm Arts is not one of
18    Science.                                            18    those ironically.· Even though I was the chair of
19    · · Q.· ·And the College of Letters and Science,    19    that department, I'm not the Associate Dean for
20    is that part of a division, part of just the        20    that unit.· It is not in my portfolio.
21    greater academic environment?· Can you explain to   21    · · · · · · · · · · · ·Another division is the
22    me sort of the hierarchy?                           22    Social Science division.· That's Political
23    · · A.· ·Sure, certainly.· So the University of     23    Science, Sociology, Comm Arts, so on.· There is
24    Wisconsin Madison has 13 schools and colleges,      24    the Mathematical, Natural and Biological Sciences

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 332 of 408 PageID #:6254


                                                                                                Page 38..41
                                              Page 38                                                   Page 40
·1   Division, Physics, Math, Biology, so on.· And        ·1   big, and then I stepped off of that Associate
·2   then there is the Computer Data Information          ·2   Dean role.· So I had those concurrently for a
·3   Sciences Division.· So there are 4 divisions of      ·3   while until 2018.
·4   the college.· So that's L and S.                     ·4   · · Q.· ·I see.· So the Associate Dean for
·5   · · · · · · · · · · · ·And then to make things       ·5   Advancement is a fundraising sort of type of a
·6   even more complicated, I'm sorry to say, Anna, is    ·6   role, right?
·7   the Division of the Arts.· And I was called in to    ·7   · · A.· ·Yeah, fundraising communications.
·8   be an Interim Director of the Division of the        ·8   · · Q.· ·And then Associate Dean for Arts and
·9   Arts for the last 2 and a half years.· And that      ·9   Humanities was the sort of academic position?
10    is a division -- it doesn't have tenure lines or    10    · · A.· ·Is, yes.
11    curriculum in it.· It's a part of the university    11    · · Q.· ·So you still have that position now?
12    that provides an umbrella organization for the      12    · · A.· ·That's correct.
13    arts because the arts are siloed in 3 separate      13    · · Q.· ·Are you still currently among the
14    schools and colleges.                               14    faculty in the communication -- or Department of
15    · · Q.· ·Got it.· Okay.· I think I have it.· So     15    Communication Arts?
16    let me ask a couple of follow-up questions.· So     16    · · A.· ·I am still -- I still hold a
17    the College of, is it called Letters and            17    professorship in that department, but I have not
18    Sciences?                                           18    been participating in departmental governance
19    · · A.· ·It is just Letters and Science.            19    since 2011.· So I don't sit on the executive
20    · · Q.· ·So you have the College of Letters and     20    committee, and I don't vote, you know.· I don't
21    Science which has divisions underneath it, which    21    vote.· I really don't know what is going on in
22    then has departments underneath the divisions or    22    terms of departmental politics.· I do not have an
23    housed within?· Do I have that sort of shell game   23    office.· I haven't had an office there since
24    --                                                  24    2011.

                                              Page 39                                                   Page 41
·1   · · A.· ·Right.                                      ·1   · · Q.· ·So let me ask you that question.
·2   · · Q.· ·And separately there is this Division of    ·2   Beginning in 2011, you then no longer
·3   the Arts where it doesn't sit in one of the          ·3   participated in governance in the Department of
·4   colleges.· It is sort of its own unit.· And it       ·4   Communication Arts?
·5   doesn't offer a course of study or curriculum or     ·5   · · A.· ·Yes, correct.
·6   degrees?                                             ·6   · · Q.· ·So that would include participation in
·7   · · A.· ·Correct, right.                             ·7   tenure cases?
·8   · · Q.· ·Okay.· Thank you.· That's super helpful.    ·8   · · A.· ·Right.
·9   So it looks like you were -- had leadership roles    ·9   · · Q.· ·Okay.· And that would include
10    in the Department of Communication Arts from 2006   10    participation in hiring decisions as well?
11    to 2011 being Associate Chair and then Department   11    · · A.· ·Correct.
12    Chair?                                              12    · · Q.· ·Okay.· And so did you in your role as
13    · · A.· ·Yes.                                       13    Associate Dean for Arts and Humanities in the
14    · · Q.· ·Okay.· And then after that you became      14    College of Letters and Science have any role in
15    Associate Dean for Advancement in the College of    15    tenure cases at a different level?
16    Letters and Science; is that right?                 16    · · A.· ·Yes.· So my role -- I have a lot of
17    · · A.· ·That's right.· But I just want to          17    roles in tenure cases and in hiring.· So every
18    explain that I became -- I assumed 2 Associate      18    single person who is brought in for a campus
19    Dean roles in the College of Letters and Science    19    interview in Arts and Humanities, or if it is
20    at the same time.                                   20    Social Sciences, if there is some Humanities,
21    · · Q.· ·I see that.                                21    they are related to Humanities, or their work is
22    · · A.· ·And then one has continued, and then one   22    in Humanities, I meet with them and interview
23    has -- I built this office of communication and     23    them.· I have to actually approve requests for
24    development and fundraising.· Then it has got too   24    campus interviews before they are even allowed to

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 333 of 408 PageID #:6255


                                                                                                Page 42..45
                                              Page 42                                                   Page 44
·1   interview.                                           ·1   · · A.· ·Yes.
·2   · · · · · · · · · · · ·So then I interview -- I      ·2   · · Q.· ·Okay.· Were you involved in the hire of
·3   interview them.· Departments make their hiring       ·3   those 2 individuals that you just non-renewed?
·4   requests to me, and then I have to decide whether    ·4   · · A.· ·I was involved in the one, in one of
·5   I want to advance it.· And then I advance it to      ·5   them.· It was during a time when I was Associate
·6   the Dean and to what is called the Senior Staff      ·6   Dean.· The other was hired before I became
·7   of the college.· And every Monday, we discuss        ·7   Associate Dean.
·8   hiring during the hiring season.· And then all of    ·8   · · Q.· ·Okay.· And I'm assuming that at the time
·9   the Associate Deans weigh in on hiring.· So I        ·9   that you were involved in the hiring of the one,
10    weigh in on hiring biologists and computer          10    that you did anticipate that that individual
11    scientists and mathematicians, political            11    would meet the criteria ultimately for tenure?
12    scientists, as well as English professors, and      12    · · A.· ·Right.· That was -- I mean the whole
13    Comm Arts professors, and history and so on.        13    purpose when I meet with candidates is to assess
14    · · · · · · · · · · · ·And then I'm responsible     14    their tenurability.· That's my job.
15    for overseeing the annual review process for all    15    · · Q.· ·And sometimes you get that right and
16    of the Humanities and Arts faculty, and sometimes   16    sometimes you don't get that right?
17    this crosses over into the Social Sciences.· That   17    · · A.· ·Yes.
18    means reviewing all of their annual reviews and     18    · · Q.· ·Okay.· And then how are you involved in
19    making a recommendation to the Dean as to whether   19    tenure decisions in your role as Associate Dean
20    they should be reappointed or not.· And then I'm    20    for Arts and Humanities?
21    also responsible for overseeing and mentoring of    21    · · A.· ·So UW Madison is a very -- sorry.· There
22    our probationary faculty.                           22    is a giant garbage truck going by.
23    · · Q.· ·I would imagine in connection with the     23    · · Q.· ·I can't hear it, but I understand why it
24    annual review process that you do not uniformly     24    is distracting.· I have a lot of noise outside my
                                              Page 43                                                   Page 45
·1   recommend or approve renewals?                       ·1   window.
·2   · · A.· ·I have non-renewed 2 faculty in the last    ·2   · · A.· ·Okay.· It is gone.· UW Madison has a
·3   3 months.                                            ·3   strong shared governance ethic, practice.· So we
·4   · · Q.· ·Tenure line?                                ·4   have what is called the divisional committees,
·5   · · A.· ·Correct.· We only have -- we only have      ·5   and those are committees of faculty who review
·6   -- if you're faculty, you're tenure staff.· We do    ·6   the tenure dossiers and they make decisions.· So
·7   not -- it is not tenure.                             ·7   major decisions about tenure are made in
·8   · · Q.· ·Okay.· So you don't have like a             ·8   departmental executive committees and divisional
·9   nontenure cadre of teachers?                         ·9   committees.
10    · · A.· ·Yes, we have a nontenure cadre of          10    · · · · · · · · · · · ·Deans and Associate Deans,
11    teachers, but they are not called faculty or        11    and even the Provost tend to be involved in --
12    professor.                                          12    only when there is like a tie, you know, a tie or
13    · · Q.· ·I understand.· Okay.· So in this -- just   13    there is not a clear decision made.· And there is
14    in this past review cycle, you non-renewed 2        14    rarely major intervention, right?· But you know,
15    faculty members?                                    15    like in these cases that I mentioned, you know, I
16    · · A.· ·Right.                                     16    made it clear in my review of the annual review
17    · · Q.· ·Meaning that in your estimation, they      17    letters that the department was not strict enough
18    were not ultimately going to be capable of          18    in its warnings to the faculty member, and that
19    contributing to the academic environment at the     19    they were not meeting expectations, the
20    university at the level that the university         20    expectations of the college.
21    expected?                                           21    · · · · · · · · · · · ·So my -- as an Associate
22    · · A.· ·Correct.                                   22    Dean and then in conjunction with the Dean, the
23    · · Q.· ·So these were 2 probationary faculty       23    interventions come at those annual review times,
24    pre-tenure?                                         24    right?· But it is very difficult -- the major

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 334 of 408 PageID #:6256


                                                                                                Page 46..49
                                              Page 46                                                   Page 48
·1   decisions again are made by the executive            ·1   · · Q.· ·And that -- and it sounds to me like at
·2   committee and the divisional committee.              ·2   least at your process, your institution, where
·3   · · Q.· ·Okay.· And so then is there an approval     ·3   you have been your entire academic career, that
·4   process for the Dean and the Provost, or does the    ·4   many faculty participate in the decisionmaking
·5   decision stop with the divisional committee          ·5   process?
·6   unless there is something unusual about the case?    ·6   · · A.· ·Yes.
·7   · · A.· ·It goes -- so the divisional committee,     ·7   · · Q.· ·And because there are so many individual
·8   technically it is a recommendation to the Dean,      ·8   assessments involved, it is at least conceivable
·9   but the Dean rarely overturns the divisional         ·9   that there will be different opinions along the
10    committee recommendation, but he or she can.· And   10    review process?
11    then the Dean makes a recommendation to either      11    · · A.· ·Yes.
12    the -- I think the Provost.· It is either the       12    · · Q.· ·I'm assuming you would also agree that
13    Provost or the Chancellor.· And then it goes to     13    the grant of tenure is a privilege?
14    the Board of Regents.                               14    · · A.· ·Absolutely.
15    · · Q.· ·Right, as a public institution?            15    · · Q.· ·Not a right or an entitlement?
16    · · A.· ·Right.                                     16    · · A.· ·Exactly.
17    · · Q.· ·Okay.· So when you say the divisional      17    · · Q.· ·Okay.· And you would probably agree with
18    committee's recommendation goes to the Dean,        18    me that is probably among the most important
19    that's not you, correct?                            19    decisions that a college or university makes?
20    · · A.· ·Correct.· It is the overall Dean of the    20    · · A.· ·Yes.
21    College.· So I'm the Associate Dean of one of the   21    · · Q.· ·And because it's a critical decision,
22    divisions of the college, but there is the Dean     22    the institution should be absolutely sure that
23    that is, you know, over the whole college.          23    the case warrants tenure?
24    · · Q.· ·I understand.· Okay.· I understand.· So    24    · · · · · · · MR. BRAMWELL:· Objection to the

                                              Page 47                                                   Page 49
·1   it sounds to me, you can tell me if I'm wrong,       ·1   extent that you are asking about -- you're
·2   that your involvement in connection with the         ·2   deviating from the criteria.· Go ahead.
·3   advancement of probationary faculty really takes     ·3   BY MS. WERMUTH:
·4   place at the review -- the probationary review       ·4   · · Q.· ·You can answer.
·5   period; is that right?                               ·5   · · A.· ·I'm sorry.· Now I lost what the question
·6   · · A.· ·Right.                                      ·6   was.
·7   · · Q.· ·Okay.· Okay.· Now, it sounds to me that     ·7   · · · · · · · MS. WERMUTH:· I'm sorry.· Gina, can
·8   you are a proponent of faculty governance?           ·8   you read that back for Doctor Zaeske, please?
·9   · · A.· ·Yes.                                        ·9   · · · · · · ·(Question read).
10    · · Q.· ·Okay.· And you would probably then agree   10    · · · · · · · THE WITNESS:· Yes, absolutely.
11    with me that the peer review process that is        11    BY MS. WERMUTH:
12    attendant to tenure is an important process?        12    · · Q.· ·So another way to say that would be if
13    · · A.· ·Yes.                                       13    there is any doubt about a case, tenure should be
14    · · Q.· ·Okay.· And that -- I'm assuming that you   14    denied?
15    understand that that review is largely              15    · · · · · · · MR. BRAMWELL:· Objection to the
16    qualitative?                                        16    extent that it is vague and best evidence.· Go
17    · · A.· ·I think it is qualitative, but there are   17    ahead.
18    clear criteria and clear expectations.              18    · · · · · · · THE WITNESS:· If there is any
19    · · Q.· ·Okay.· But you would agree that the        19    doubt?· It makes it sound like a murder case. I
20    decisionmaking process involves the exercise of     20    think yes.
21    academic judgment?                                  21    BY MS. WERMUTH:
22    · · A.· ·Absolutely.                                22    · · Q.· ·Have you ever voted to deny tenure?
23    · · Q.· ·By peers?                                  23    · · A.· ·Yes.
24    · · A.· ·Yes.                                       24    · · Q.· ·To a probationary faculty member?

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 335 of 408 PageID #:6257


                                                                                                Page 50..53
                                              Page 50                                                   Page 52
·1   · · A.· ·Yes.                                        ·1   by a Ivy, but it is not unusual for a public
·2   · · Q.· ·More than once?                             ·2   institution to hire someone who was not tenured
·3   · · A.· ·Well, so I was the -- another thing that    ·3   by an Ivy.
·4   is on my CV is I was the chair of the divisional     ·4   · · Q.· ·Can you think of any candidates that at
·5   committee.· I served on it for 3 years, and I        ·5   least disclosed to you, any candidates from a
·6   chaired it.· So during that time I voted against     ·6   non-Ivy school, that disclosed in the hiring
·7   tenuring people.· And I also, as I mentioned, you    ·7   process that they had been denied tenure?
·8   know, just in the last -- so I didn't have a vote    ·8   · · A.· ·No.
·9   in these 2 non-renewals.· One was a non-tenure,      ·9   · · Q.· ·Okay.· So the only 2 you can think of
10    one was a non-renewal just this last year. I        10    were the 2 from Yale?
11    essentially drove the non-tenuring and              11    · · A.· ·Yes.
12    non-renewing of at least 4 other faculty members    12    · · Q.· ·Are you familiar with the concept of
13    in the last 5 years.                                13    credit for years?
14    · · Q.· ·How many?· Did you say 4 in addition to    14    · · A.· ·Sure.
15    the 2 you already mentioned?                        15    · · Q.· ·Okay.· And what do you understand that
16    · · A.· ·Let me just -- let me think.· Let's say    16    to be?
17    3 for sure.                                         17    · · A.· ·So what I think you mean by credit for
18    · · Q.· ·In addition to the 2 you already           18    years would be if someone -- this is how it goes
19    mentioned?                                          19    at UW Madison.· If you have served in a tenure
20    · · A.· ·Right.· So a total of 5.                   20    track position at another institution for a
21    · · Q.· ·Thank you.· Have you ever in connection    21    number of years, then when you begin your
22    with your hiring responsibilities been presented    22    appointment here, you can be given credit on your
23    with a candidate who has been denied tenure at      23    tenure clock for those years served.· And that
24    another institution?                                24    has to be an agreement with the individual, the

                                              Page 51                                                   Page 53
·1   · · A.· ·Yes.· Just in the last 3 years, we hired    ·1   department chair, and the Associate Dean, and the
·2   a philosopher who had been denied tenure at Yale.    ·2   Dean for that credit.
·3   · · Q.· ·Any others you can think of?                ·3   · · · · · · · · · · · ·It does not -- if you are
·4   · · A.· ·I'm trying to think of any.· I'm sure       ·4   just serving as a post-doc or something like
·5   there are some.· I can't think of any right at       ·5   that, it doesn't warrant that kind of credit.· It
·6   the moment.                                          ·6   has to be in the tenure track.
·7   · · Q.· ·Okay.                                       ·7   · · Q.· ·Understood.· And that would mean that
·8   · · A.· ·Oh, yeah.· Actually I can think of          ·8   the individual would be eligible for tenure -- so
·9   another one.· Also Yale.                             ·9   if UW Madison were to hire someone who was in a
10    · · Q.· ·So you can think of 2 candidates that UW   10    tenure line position at another institution and
11    Wisconsin hired who had been denied tenure at       11    credit them for some number of years of service,
12    Yale?                                               12    they can go up for tenure earlier than the
13    · · A.· ·Right.                                     13    unusual timeline?
14    · · Q.· ·Okay.· Yale is an R1 school?               14    · · A.· ·Yes.
15    · · A.· ·Well, not only is Yale an R1, but it is    15    · · Q.· ·You see that as a job benefit?
16    an Ivy.· And Ivy's routinely -- you know, you are   16    · · A.· ·Well, it cuts both ways, and, you know,
17    kind of like -- you know that if you accept an      17    people negotiate it differently.· Some people,
18    assistant professorship at an Ivy that your         18    and again I especially expect this in the
19    chances of actually being tenured there are slim,   19    post-pandemic, are anxious about meeting the
20    and that you are going to have to likely go         20    tenure requirements.· They want the longest
21    elsewhere, but it happens -- it happens over and    21    tenure clock possible, and they do not want
22    over.· So it is not actually that unusual.          22    credit for -- it is not considered credit.· It is
23    · · · · · · · · · · · ·It would be unusual for      23    actually considered debit.· And so they don't ask
24    another Ivy to hire someone who was not tenured     24    for that.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 336 of 408 PageID #:6258


                                                                                                Page 54..57
                                              Page 54                                                   Page 56
·1   · · · · · · · · · · · ·And some are so confident     ·1   chapters, and reference work entries?
·2   that they are going to get tenure, and what they     ·2   · · A.· ·Yes.
·3   are most anxious about is not being tenured and      ·3   · · Q.· ·And it looks like your most current --
·4   promoted and getting a salary increase and           ·4   these are all peer reviewed?
·5   getting a title change because they are confident    ·5   · · A.· ·Yes.· Well, yeah.· Well, I don't know
·6   that they are going to get their -- usually it's     ·6   that anything I have done is not peer reviewed.
·7   their book out, and then they want to be             ·7   Right.
·8   promoted.· So they look for credit and a shorter     ·8   · · Q.· ·Okay.· So it looks like your most recent
·9   clock.· So it goes both ways.                        ·9   peer reviewed publication then was from 2014?
10    · · Q.· ·Okay.· Understood.· And has -- so UW       10    · · A.· ·That's right.
11    Madison does in fact engage in this practice of     11    · · Q.· ·Okay.· You do have some works in
12    occasionally awarding years of credit?              12    progress I see?
13    · · A.· ·Right.· But again, it has to be            13    · · A.· ·Yes.
14    negotiated and agreed upon by sort of all           14    · · Q.· ·Understood.· Okay.· So tell me what your
15    parties, because sometimes people have, you know,   15    area of research is?
16    maybe more ambitious or positive assessments of     16    · · A.· ·So in the field of -- so I'm in the --
17    their ability to get tenured than their             17    I'm in the field of communication, but I am also
18    department -- you know, they just don't know how    18    -- you know, my book was published basically in a
19    hard it can be.· So they might want to have 3       19    history series, and I have a number of reprints
20    years, and it is only a maximum of 3 years, but     20    in history.· So I operate in history to a certain
21    we say no, we want you to take the full tenure      21    degree.· I operate in political science.· Some of
22    clock, and if you are able to, we will put you up   22    those publications, particularly about
23    earlier.                                            23    petitioning, are in -- and also conference papers
24    · · · · · · · · · · · ·I mean that can be -- it     24    that I have given are in political science.

                                              Page 55                                                   Page 57
·1   can break the negotiations when you are trying to    ·1   · · · · · · · · · · · ·But in the area of -- in
·2   recruit someone.· But we wouldn't want to bring      ·2   the communication field, I'm known at a
·3   someone in on a short clock, and then they not       ·3   rhetorician, the field of rhetoric, or rhetoric
·4   get tenure, because that's a waste of investment.    ·4   and public culture.· And I tend to do very
·5   · · Q.· ·Understood.· Okay.· Can we go back to       ·5   historical -- very historical work in the 19th
·6   Exhibit 2?· Do you still have that in front of       ·6   century.· So I don't know if you want more than
·7   you, Doctor Zaeske?                                  ·7   that.
·8   · · A.· ·Yes.                                        ·8   · · Q.· ·No, that's helpful.· I appreciate that.
·9   · · Q.· ·So I would like to look at your             ·9   So let me just ask you some questions about -- I
10    research?                                           10    mean obviously you have been in administration
11    · · A.· ·Sure.                                      11    for some period of time.· You have been involved
12    · · Q.· ·Which I think begins on page 2; is that    12    as you described for us in hiring practices, in
13    right?                                              13    tenure practices.· But just to be clear, you have
14    · · A.· ·Yes.                                       14    not published in the area of good or bad tenure
15    · · Q.· ·Okay.· So it appears to me that you have   15    processes?
16    one book, one manuscript, right?                    16    · · A.· ·I have not published papers on good or
17    · · A.· ·Yes.                                       17    bad tenure processes, no.
18    · · Q.· ·And that was published just after you      18    · · Q.· ·Okay.· And you have not published any
19    obtained tenure it appears to me?                   19    peer reviewed papers on the topic of academic
20    · · A.· ·Right.                                     20    governance?
21    · · Q.· ·It was probably forthcoming at the time    21    · · A.· ·No.
22    of your tenure?                                     22    · · Q.· ·Okay.· And you have not -- well, let me
23    · · A.· ·Yes, yeah.                                 23    ask you this.· You don't cite any literature in
24    · · Q.· ·And then what follows are articles, book   24    your report that is peer reviewed publications on

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 337 of 408 PageID #:6259


                                                                                                Page 58..61
                                              Page 58                                                    Page 60
·1   the topics of tenure or faculty governance; is       ·1   an offer?
·2   that fair?                                           ·2   · · · · · · · · · · · ·And I believe that I saw
·3   · · A.· ·Yes.· That is fair.· No, I did not.         ·3   the -- just that there was a letter and there was
·4   · · Q.· ·Okay.· Thank you.· And with respect to      ·4   a -- that it was dated.· I don't remember that I
·5   studying or researching the topic of tenure          ·5   -- I mean maybe I received the letter.· I have to
·6   denial and where faculty go once they have been      ·6   say I don't remember.
·7   denied tenure, you have not performed personally     ·7   · · Q.· ·Okay.· Let me go back to the concept of
·8   any studies on that topic; is that right?            ·8   credit, years credit for service.· When would you
·9   · · A.· ·No, I have not.                             ·9   typically see something like that?· Where there
10    · · Q.· ·Okay.· And you don't cite any peer         10    was a long period of service in a tenure line
11    reviewed literature in your report on that topic;   11    position, is that where you would typically see
12    is that right?                                      12    credit for service?
13    · · A.· ·That's correct.                            13    · · A.· ·So you would get credit for service if
14    · · Q.· ·Okay.· Are you familiar with any peer      14    there is a period of time on the tenure clock at
15    reviewed studies on any of the topics we just       15    a comparable institution.· So where you have
16    discussed?· Tenure processes, faculty governance,   16    students who are -- you know, similar in the
17    tenure denial cases?                                17    teaching experience that is going to be similar,
18    · · A.· ·You know, I think I have read some in      18    and, you know, similar research expectations.
19    passing in the past, but I did not delve deeply     19    · · Q.· ·Okay.· And you don't know how much time
20    into those.· I mean I have more than a decade of    20    Doctor Calvente spent at DePaul University?· Do I
21    experience of doing this stuff at a huge            21    understand that correctly?
22    university, so I don't really think it is           22    · · A.· ·No.· Yeah.
23    necessary.                                          23    · · Q.· ·So I'm going to ask you to look at
24    · · Q.· ·Okay.· And I'm just asking for purposes    24    Exhibit 4 from the documents that we sent to Mr.

                                              Page 59                                                    Page 61
·1   of your report preparation.· You didn't -- to the    ·1   Bramwell yesterday.
·2   extent you were aware of any peer reviewed           ·2   · · A.· ·Okay.
·3   literature on those topics, you did not rely on      ·3   · · Q.· ·So does this refresh your memory as to
·4   that literature in forming your opinion?             ·4   whether or not you actually received a copy of
·5   · · A.· ·No, no.                                     ·5   this letter in connection with the materials
·6   · · · · · · · MS. WERMUTH:· By the way I just        ·6   provided to you for purposes of preparing your
·7   noticed that Kathy Stieber joined us.· She is the    ·7   report?
·8   General Counsel of DePaul University.· I just        ·8   · · A.· ·I have to -- I just simply don't -- I
·9   wanted folks to know who that was and why she was    ·9   simply don't remember because my goal was to know
10    here.                                               10    whether or not she had received the offer, and
11    · · Q.· ·Okay.· So when I received materials from   11    you know, what -- I didn't even remember the date
12    Mr. Bramwell in connection with the response to     12    here.· March 8th.
13    the subpoena, I received a copy of Doctor           13    · · Q.· ·Okay.· So you just don't recall one way
14    Calvente's offer letter from the University of      14    or the other?
15    North Carolina.· So when I received that, I had     15    · · A.· ·I honestly don't.· I'm sorry.
16    understood that that was something you relied on.   16    · · Q.· ·Okay.· So can I have you look at Exhibit
17    But I just want to be clear, you did not review     17    5 from the packet of materials that was sent?
18    her physical offer letter from the University of    18    · · A.· ·Certainly.· Okay.
19    North Carolina?                                     19    · · Q.· ·In looking at that, does that refresh
20    · · A.· ·What I remember is seeing the date of      20    your memory as to whether or not you saw these
21    the offer letter because I asked whether she        21    materials?
22    truly had -- because I went to the website for      22    · · A.· ·So this is an email.· No.· I have never
23    UNC, and there was -- she wasn't on the website.    23    seen this.
24    So I said is she really -- does she really have     24    · · Q.· ·Okay.· So if you scroll down to the

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 338 of 408 PageID #:6260


                                                                                                Page 62..65
                                               Page 62                                                  Page 64
·1   bottom where there is an attachment, is that         ·1   at the UNC guidelines about terms for
·2   something you recall reviewing in connection with    ·2   probationary faculty in a moment, because that is
·3   preparing your report?                               ·3   something you reviewed, right, the UNC guidelines
·4   · · A.· ·No.                                         ·4   on promotion?
·5   · · Q.· ·Okay.· And I'm looking at the last 2        ·5   · · A.· ·Yes.
·6   pages.· So the pages -- do you see there is a        ·6   · · Q.· ·Okay.· So do you know -- were you
·7   little marking in the lower right where it starts    ·7   provided with any information about whether UNC
·8   with LC?                                             ·8   had advertised or posted for the position that
·9   · · A.· ·Yes.                                        ·9   Doctor Calvente was offered?
10    · · Q.· ·I'm looking at 4089 and 4090.              10    · · A.· ·No.· I don't know how they did their
11    · · A.· ·I have not --                              11    hiring process.
12    · · Q.· ·Okay.                                      12    · · Q.· ·Okay.· And so you don't know, for
13    · · A.· ·I have not seen this.                      13    example, whether there were multiple positions
14    · · Q.· ·Okay.· Did you make assumptions, any       14    open in the Department of Communications?
15    assumptions about the nature of the offer that      15    · · A.· ·No, I don't.
16    Doctor Calvente received?                           16    · · Q.· ·Okay.· And you don't know for example if
17    · · A.· ·None.· Again, I just wanted to know        17    the position was created specifically for Doctor
18    whether she had truly been offered a position or    18    Calvente?
19    not, and the specifics of it, you know.· I didn't   19    · · A.· ·I don't know.
20    think about or know about it.                       20    · · Q.· ·Okay.· And you don't know whether there
21    · · Q.· ·Okay.· So you didn't think about whether   21    was a competitive search for the position?
22    the offer was for the position of assistant         22    · · A.· ·I don't know.
23    professor?                                          23    · · Q.· ·And you don't know how many candidates,
24    · · A.· ·Well, I asked whether it was a tenure      24    if it were a competitive search, how many

                                               Page 63                                                  Page 65
·1   track position, and it was confirmed to me that      ·1   candidates may have also applied for the
·2   she received an appointment for a tenure track       ·2   position?
·3   position.· I just can't remember whether Jerry       ·3   · · A.· ·No.· I have no idea.· And I think -- I
·4   confirmed that -- that a letter of offer had been    ·4   don't even know if that's public knowledge.
·5   sent, and if he did that verbally, or if I was       ·5   · · Q.· ·Okay.· But that's not something that you
·6   sent a copy of the letter, because I have no -- I    ·6   investigated, correct?
·7   honestly just don't remember anything beyond the     ·7   · · A.· ·No, I don't know.
·8   fact that she received an offer for a tenure         ·8   · · Q.· ·Okay.· So you didn't interview anyone at
·9   track position.                                      ·9   the University of North Carolina I'm assuming?
10    · · Q.· ·Okay.                                      10    · · A.· ·No.
11    · · A.· ·I don't even know when she is starting.    11    · · Q.· ·And did you review any materials that
12    · · Q.· ·Okay.· And you also then don't know what   12    Doctor Calvente submitted to the University of
13    the term of her appointment is, the length of it    13    North Carolina in connection with the potential
14    for example?                                        14    for hire there?
15    · · A.· ·No.                                        15    · · A.· ·No.
16    · · Q.· ·Okay.                                      16    · · Q.· ·Do you know whether she notified the
17    · · A.· ·Well, if it is a tenure track position,    17    University of North Carolina that she had been
18    it is a -- she has the opportunity to get tenure,   18    denied tenure?
19    and it would be an ongoing position, if that's      19    · · A.· ·I have no idea.
20    what you mean by term of it.· If it is only a 2     20    · · Q.· ·Do you know whether she was credited for
21    year position or something like that, it is not a   21    any years of service at the University of North
22    tenure track position.· Then it would be an         22    Carolina?
23    adjunct position.                                   23    · · A.· ·I don't know.
24    · · Q.· ·Well, let me ask you this.· We will look   24    · · Q.· ·Do you know if Doctor Calvente was

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 339 of 408 PageID #:6261


                                                                                                Page 66..69
                                              Page 66                                                    Page 68
·1   provided with the opportunity to have her case       ·1   that it rose to the top of the application pool
·2   reviewed for tenure upon hire at the University      ·2   in the fierce competition for a tenure track job
·3   of North Carolina?                                   ·3   at an R1 university."· Do you see that?
·4   · · A.· ·I don't know.                               ·4   · · A.· ·Uh-huh.
·5   · · Q.· ·You would imagine that the University of    ·5   · · · · · · · MR. BRAMWELL:· I'm going to object
·6   North Carolina can do that, correct?                 ·6   because that misstates the entire sentence.
·7   · · A.· ·That they -- an institution would --        ·7   BY MS. WERMUTH:
·8   yes, they would have the prerogative to hire with    ·8   · · Q.· ·Did the portion of the sentence I read,
·9   tenure.                                              ·9   is that consistent with what you wrote, Doctor
10    · · Q.· ·Okay.· And does the absence of that        10    Zaeske?
11    process here mean that they did not view her file   11    · · A.· ·Let me just make sure I see it in the
12    as being tenurable in the moment?                   12    context of the overall paragraph.
13    · · A.· ·I would imagine that would be the case     13    · · Q.· ·Sure.
14    because she is not at a peer institution.           14    · · A.· ·So Calvente's -- my understanding is
15    · · Q.· ·All right.· Let's take a look at your      15    this is your question.· Did I write "Calvente's
16    report, which is Exhibit 3 in the packet that was   16    record was of such excellence that it rose to the
17    sent to you?                                        17    top of the application pool in a fierce
18    · · A.· ·Okay.                                      18    competition for a tenure track job at an R1
19    · · Q.· ·Do you recognize that document, Doctor     19    university"?· Yes.· That is what I wrote.
20    Zaeske?                                             20    · · Q.· ·And what is the basis for that
21    · · A.· ·Yes.                                       21    statement?
22    · · Q.· ·And what do you recognize it to be?        22    · · A.· ·That is -- so search processes at
23    · · A.· ·The expert witness report that I           23    universities, whether they are -- I mean the
24    prepared for this case.                             24    usual process is that there is a -- you know, a

                                              Page 67                                                    Page 69
·1   · · Q.· ·And on the final page, that is your         ·1   posting.· Applications come in, and they are
·2   signature?                                           ·2   reviewed.· And getting a position at an R1
·3   · · A.· ·Yes.                                        ·3   university, there are very few because of --
·4   · · Q.· ·Give me just a moment.· I'm sorry.· I'm     ·4   there is a lot -- especially the past few years
·5   having a little technical difficulty in this         ·5   because there have been hiring freezes.· So there
·6   moment.· Can we take a super quick break so I can    ·6   is a fierce competition for positions.
·7   try to resolve this technical difficulty?            ·7   · · · · · · · · · · · ·And this is true whether
·8   · · · · · · · MR. BRAMWELL:· Sure.                   ·8   you are doing a full and open search or even if
·9   · · · · · · · THE WITNESS:· Certainly.               ·9   you are doing -- I mean there are many ways of
10    · · · · · · · MS. WERMUTH:· Jerry, what do you      10    doing searches.· One is the open and posted
11    want?· 5 minutes, 10 minutes?                       11    search, and then there is also targeted searches.
12    · · · · · · · MR. BRAMWELL:· 5 minutes is fine.     12    Institutions can do targeted searches.· But there
13    Come back at 11:24?                                 13    is a fierce competition to be the target of a
14    · · · · · · · MS. WERMUTH:· Perfect.· Thank you.    14    targeted search.· You have to rise to the top to
15    · · ·(Off the record at 11:21 to 11:26)             15    be recruited in that way.
16    · · · · · · · MS. WERMUTH:· Gina, we will go back   16    · · Q.· ·But to be clear, you do not know
17    on the record.                                      17    anything about the search process for the
18    · · Q.· ·Doctor Zaeske, we were talking a little    18    position that was offered to Doctor Calvente in
19    bit about the search process at UNC in connection   19    March of this year?
20    with the offer made to Doctor Calvente.· And I      20    · · A.· ·No.· But I know how search processes are
21    would like to point you to the second page of       21    conducted.
22    your report, the second full paragraph, the big     22    · · Q.· ·Right.· But you don't know how it was
23    one.· About 4 lines down you say -- well, 3 lines   23    conducted in this particular instance?
24    down, "Calvente's record was of such excellence     24    · · A.· ·I do not, no.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 340 of 408 PageID #:6262


                                                                                                Page 70..73
                                              Page 70                                                   Page 72
·1   · · · · · · · MR. BRAMWELL:· Objection, asked and    ·1   process at DePaul University.· Did I fairly
·2   answered.                                            ·2   summarize what you testified to a moment ago?
·3   BY MS. WERMUTH:                                      ·3   · · A.· ·Yes.· The conclusion -- yes, because the
·4   · · Q.· ·And you don't know what the applicant       ·4   conclusion makes no sense.· Something happened.
·5   pool looked like in connection with the job that     ·5   · · Q.· ·Okay.· But you are not opining in your
·6   was offered to Doctor Calvente?                      ·6   report on what that something is, correct?
·7   · · A.· ·Not per se.· But again, to be hired at      ·7   · · A.· ·Yes.· I have no idea what it is.
·8   an institution like UNC, it would have to be a       ·8   · · Q.· ·Okay.· And are you familiar with Title 7
·9   strong -- it would have to be a strong pool.         ·9   of the Civil Rights Act of 1964?
10    · · Q.· ·Can you identify the opinion that you      10    · · A.· ·In passing.· Not you know -- I haven't
11    are offering in this case?                          11    read it recently.
12    · · A.· ·Yes.· So the -- so the opinion that I'm    12    · · Q.· ·Okay.· You don't have any specialized
13    offering is that for an individual to be denied     13    training or expertise in that law?
14    tenure at an R2 institution and to be hired at an   14    · · A.· ·No.
15    R1 institution is highly irregular, and that the    15    · · Q.· ·Okay.· And same question with respect to
16    irregularity of it points to something having       16    Section 1981 of the Civil Rights Act?
17    gone astray in the process by which the             17    · · A.· ·No.
18    individual would be non-renewed at an institution   18    · · Q.· ·No specialized training or experience or
19    with lesser standards and then hired at an          19    expertise?
20    institution with higher standards.                  20    · · A.· ·No.
21    · · Q.· ·So the underpinnings of your opinion       21    · · Q.· ·Okay.· So you understand that Doctor
22    then are -- well, strike that.· Let me just         22    Calvente was appointed to the rank of assistant
23    clarify your opinion.· On page 1 of your report,    23    professor at UNC?
24    the first paragraph is your statement of opinion?   24    · · A.· ·The tenure track position, right.

                                              Page 71                                                   Page 73
·1   · · A.· ·That's right.                               ·1   · · Q.· ·Right.· At the rank of assistant
·2   · · Q.· ·And the last sentence provides "that a      ·2   professor?
·3   more prestigious institution with higher tenure      ·3   · · A.· ·I don't know what -- I don't know what
·4   expectations than DePaul has invested in hiring      ·4   rank she was appointed at.
·5   Calvente because they assess her as tenurable        ·5   · · Q.· ·Okay.· You do understand it is an
·6   renders DePaul's decision to deny her tenure         ·6   initial appointment though, correct?
·7   highly questionable."                                ·7   · · A.· ·Yes.
·8   · · A.· ·Correct.                                    ·8   · · Q.· ·So now you had attached to your report
·9   · · Q.· ·Would you say that's the summation of       ·9   as Exhibit 3 to your report UNC -- hang on one
10    your opinion?                                       10    second.· Let me make sure I have the title right.
11    · · A.· ·Yes.                                       11    UNC College of Arts and Sciences Department of
12    · · Q.· ·When you use the phrase highly             12    Communication Policies on Faculty Personnel
13    questionable, or I think on page 5 you say calls    13    Actions.· Do you see that?
14    into question, what do you mean by that?            14    · · A.· ·Yes.
15    · · A.· ·It seems that the -- the justification     15    · · Q.· ·It is attached as Exhibit 3 to your
16    for doing that is unclear.· It is questionable.     16    report.· I think it has like a number 3.3 on it
17    Again, where a higher, more prestigious             17    or some such?
18    institution with higher tenure expectations would   18    · · A.· ·Yes.
19    assess the record as strong, and that a lesser      19    · · Q.· ·Okay.· How did you obtain this document?
20    institution or less prestigious institution with    20    · · A.· ·I Googled it.
21    less stringent tenure practices would assess it     21    · · Q.· ·So you didn't reach out to anyone at
22    as weak, it makes no sense.                         22    UNC's Department of Communication?
23    · · Q.· ·Now, you testified a moment ago that in    23    · · A.· ·No.· I found it online so I didn't have
24    your view, something went astray in the tenure      24    to contact them.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 341 of 408 PageID #:6263


                                                                                                Page 74..77
                                              Page 74                                                   Page 76
·1   · · Q.· ·Okay.                                       ·1   that, that's what I did.
·2   · · A.· ·I was delighted to see that it was dated    ·2   · · Q.· ·So to answer my question, you did in
·3   March of 2021.                                       ·3   fact pull all of those?
·4   · · Q.· ·Right.· Do you know -- you were             ·4   · · A.· ·Yes.
·5   delighted to see that because of why?                ·5   · · Q.· ·Is there any reason you didn't provide
·6   · · A.· ·Because otherwise I would have to either    ·6   those to Mr. Bramwell in connection with the
·7   ask Jerry to ask them, I guess, or I would have      ·7   subpoena?
·8   to ask them.· So I didn't have to contact them.      ·8   · · A.· ·Because they are hyperlinked in the
·9   · · Q.· ·And do you know like the exact date in      ·9   document.
10    March that this was published?                      10    · · Q.· ·So is it your position that anything
11    · · A.· ·No, I do not.                              11    hyperlinked in any of the documents you provided
12    · · Q.· ·Okay.· So you don't know if it comes       12    to me or to Mr. Bramwell to provide to me are
13    before or after the offer made to Doctor            13    documents that you reviewed?
14    Calvente?                                           14    · · A.· ·Yeah, especially in this situation. I
15    · · A.· ·I do not.                                  15    mean it is part of the document -- what the
16    · · Q.· ·Okay.· Now, I see on pages 1 and 2 of      16    College of Arts and Sciences and the Department
17    this document that there are reference to a         17    of Communication are relying on, and what they
18    variety of other university publications that       18    are saying are their procedures are the
19    Exhibit 3.3 is subject to, and those publications   19    procedures of the institution, which are
20    are lettered A through G.· Do you see that?         20    hyperlinked in this document.· So those
21    · · A.· ·Right, yes.                                21    hyperlinks are part of this document, and then
22    · · Q.· ·Okay.· And just above that list of         22    this document itself.
23    publications the policy reads "the department's     23    · · Q.· ·So my question is this.· There are a
24    policies are subject to those set forth in the      24    number of documents that were provided to me by

                                              Page 75                                                   Page 77
·1   following university publications".· Do you see      ·1   Mr. Bramwell in connection with the subpoena.
·2   that?                                                ·2   Many of those documents, some are articles, some
·3   · · A.· ·Yep.                                        ·3   are publications from universities, have
·4   · · Q.· ·Okay.· Did you then -- it looks like        ·4   hyperlinks in them.· My question is to you, in
·5   these are hyperlinks.· Did you go and obtain         ·5   every single document that was provided to me by
·6   copies of all these other documents?                 ·6   Mr. Bramwell that has a hyperlink in it, am I to
·7   · · A.· ·Yes.· So I read those because it is very    ·7   assume that you then clicked on all those
·8   common and the same at UW Madison.· You have --      ·8   hyperlinks?
·9   you have overall university tenure expectations      ·9   · · · · · · · · · · · ·And whether it was from
10    that govern all the divisions of knowledge, again   10    the U.S. News and World Report or whether it was
11    whether it is neuroscience or classics.· So         11    from the Chronicle of Higher Education, or
12    that's to make sure there is consistency at the     12    whether it was from one of these policy
13    highest level of the institution.· And then you     13    documents, am I to assume that everywhere there
14    have them usually by the division of knowledge.     14    has been a hyperlink in a document provided to
15    And then you have them specific to a given          15    me, that you reviewed and relied on that
16    department or a college of, you know, let's say     16    information in forming your opinion?
17    in terms of the -- something smaller like our --    17    · · · · · · · MR. BRAMWELL:· I'm going to object
18    like a smaller college, like the communications     18    to that question as vague and compound.· If you
19    at DePaul or human ecology at UW Madison.           19    have questions about a specific document, please
20    · · · · · · · · · · · ·So it makes sense that the   20    ask that.· But the way you have asked your
21    departmental level, the departmental level has to   21    question is unanswerable by anyone.
22    reflect the overall standards of the institution    22    · · · · · · · MS. WERMUTH:· Okay.· You're
23    so it all floats down.· But you also have to look   23    coaching the witness.
24    up to make sure there is consistency.· So knowing   24    · · · · · · · MR. BRAMWELL:· I'm not coaching the

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 342 of 408 PageID #:6264


                                                                                                Page 78..81
                                              Page 78                                                   Page 80
·1   witness.· Absolutely not.                            ·1   just a couple of pieces of information on here.
·2   BY MS. WERMUTH:                                      ·2   In the first paragraph, I think you will note
·3   · · Q.· ·Okay.· You can answer.                      ·3   that she was being recommended for appointment as
·4   · · A.· ·I would assume that you clicked on these    ·4   assistant professor.· Do you see that?
·5   links.· That you know that I clicked on these        ·5   · · A.· ·Yes.
·6   links in this document because the policy of the     ·6   · · Q.· ·And then if you look at the second
·7   department incorporates the policy of the            ·7   paragraph, she -- Doctor Calvente is notified
·8   institution.· I don't know about the other           ·8   that the tenure track assistant professor
·9   documents -- I can't remember about the other        ·9   appointment will be for a term of 4 years.· Do
10    documents.· I can't -- I don't know.· I mean I      10    you see that?
11    can't remember every little link in the -- you      11    · · A.· ·Yes.
12    know, in the various articles.                      12    · · Q.· ·With the possibility of reappointment
13    · · Q.· ·Do you have a file that you created in     13    for 3 more years.· Do you see that?
14    connection with your preparation of this report,    14    · · A.· ·Yes.
15    whether it's an electronic file or physical file    15    · · Q.· ·All right.· So please go back to Exhibit
16    or both?                                            16    3.3 which are the UNC guidelines, if you would?
17    · · A.· ·Just the downloads of the -- actually I    17    · · A.· ·Okay.
18    think I just sent the links.· I just sent the       18    · · Q.· ·All right.· And if you would go with me
19    links.· And then I think Jerry forwarded them on    19    please to page 7.· Let me know when you are
20    to you.                                             20    there.
21    · · Q.· ·So my question is do you have a physical   21    · · A.· ·Yes.
22    or electronic file that you have maintained in      22    · · Q.· ·Okay.· There is a section roman numeral
23    connection with your engagement as an expert in     23    3, entitled criteria for specific personnel
24    this case?                                          24    actions.· Do you see that?

                                              Page 79                                                   Page 81
·1   · · A.· ·Yes.· I mean I have downloaded the          ·1   · · A.· ·Yes.
·2   various documents that were sent to me and the       ·2   · · Q.· ·And so for example, if you scroll down
·3   report.· So yes.                                     ·3   to the next page, item C is associate professor
·4   · · Q.· ·So your file contains what?· Just so I'm    ·4   personnel actions, right?
·5   clear.                                               ·5   · · A.· ·Right.
·6   · · A.· ·Well, it contains my report.· It            ·6   · · Q.· ·And then if you scroll back up to B, you
·7   contains the subpoena.· Probably some of the         ·7   have assistant professor personnel actions?
·8   articles that I downloaded.· I don't know. I         ·8   · · A.· ·Right.
·9   would have to look.                                  ·9   · · Q.· ·When you look at section 3B, it says
10    · · Q.· ·Is there anything in this document,        10    that the rank of assistant professor denotes a
11    Exhibit 3.3, that you -- strike that.· Is there     11    tenure track position.· Do you see that?
12    anything in your report that relies upon the        12    · · A.· ·Yes.
13    hyperlinks at A, B, C, D, E, F, or G, on pages 2    13    · · Q.· ·And it says like we saw in the letter
14    -- 1 and 2 of Exhibit 3 to your report?             14    with an initial appointment for 4 years.· Do you
15    · · A.· ·I do not think so.· The only -- let me     15    see that?
16    just -- no.· All the quotations and all the         16    · · A.· ·Yes.
17    assessments of what the standards were for --       17    · · Q.· ·Along with the possibility of
18    for tenure are from this document itself.           18    reappointment for 3 additional years.· Do you see
19    · · Q.· ·I'm going to ask you to look at Exhibit    19    that?
20    4 again, please?                                    20    · · A.· ·Yes.
21    · · A.· ·Okay.                                      21    · · Q.· ·And along with a review for the
22    · · Q.· ·So this is the offer letter that Mr.       22    conferral of tenure and promotion?
23    Bramwell sent to me in connection with the          23    · · A.· ·Yes.
24    subpoena response.· So I'm going to point you to    24    · · Q.· ·So at the time -- well, then if you go

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 343 of 408 PageID #:6265


                                                                                                Page 82..85
                                              Page 82                                                   Page 84
·1   on to B-1, so we are now at roman numeral 3, B-1,    ·1   tenurable.
·2   the college sets forth the standards for an          ·2   · · Q.· ·Here is what the guideline states --
·3   initial appointment to assistant professor,          ·3   · · · · · · · MR. BRAMWELL:· The best evidence --
·4   right?                                               ·4   I'm just going to object.
·5   · · A.· ·Yes.                                        ·5   · · · · · · · MS. WERMUTH:· You are interrupting.
·6   · · Q.· ·Which is what Doctor Calvente received      ·6   I didn't even finish my question, Jerry.
·7   an offer of right?                                   ·7   · · · · · · · MR. BRAMWELL:· I can't hear
·8   · · A.· ·Right.                                      ·8   anything when you address me as Jerry.· The best
·9   · · Q.· ·Okay.· So she didn't receive an offer of    ·9   evidence of the guidelines is the guidelines.· So
10    reappointment, right?                               10    go ahead.
11    · · A.· ·Yes.                                       11    · · · · · · · MS. WERMUTH:· Okay.· It is clear on
12    · · Q.· ·Okay.· And so the standard at this point   12    the record that Mr. Bramwell interrupted me
13    in time for initial appointment is the clear        13    before my question was finished.· It is clear on
14    promise of excellence in teaching and               14    the record that he is coaching the witness by
15    scholarship.· Do you see that?                      15    providing answers.· And I'm going to ask the
16    · · A.· ·Yes.                                       16    question, and i expect that I'll get an answer to
17    · · Q.· ·So at the point of time of an initial      17    the question.
18    appointment to assistant professor, the             18    · · Q.· ·I'm talking now, Doctor Zaeske, just
19    individual need not yet have established a record   19    about what the guidelines provide, right?· So
20    of excellence or achievement of excellent, right?   20    according to UNC's College of Communication
21    · · A.· ·In order to get hired as an institution    21    Guidelines, as written in the document attached
22    like UNC or UW Madison or Indiana or whatever,      22    to your report, the initial appointment of
23    you have to pretty much show that your chances of   23    assistant professor requires the promise of
24    tenure are very, very high, and that you have a     24    excellence in teaching and scholarship, correct?

                                              Page 83                                                   Page 85
·1   strong record of publication that is going to be     ·1   · · · · · · · MR. BRAMWELL:· Objection, best
·2   tenurable.· Otherwise you are not going to be        ·2   evidence.
·3   hired.                                               ·3   BY MS. WERMUTH:
·4   · · Q.· ·Okay.· But here is my question, right?      ·4   · · Q.· ·You can answer.
·5   You relied on the UNC College of Communication       ·5   · · A.· ·So what you look for is that the --
·6   Guidelines in forming your opinion, correct?         ·6   there is a record of accomplishment in research
·7   · · A.· ·Right.                                      ·7   and teaching and to some degree outreach that is
·8   · · Q.· ·Okay.                                       ·8   going to project into tenurability, to getting
·9   · · A.· ·Well -- yes, right.                         ·9   tenure.
10    · · Q.· ·Okay.· In fact you do a comparison of      10    · · Q.· ·I'm asking you what the guidelines
11    those guidelines against DePaul's guidelines,       11    provide in writing --
12    right?                                              12    · · A.· ·Right.
13    · · A.· ·Right.                                     13    · · Q.· ·-- to a newly appointed assistant
14    · · Q.· ·According to UNC's own guidelines, the     14    professor, that the standards are such that there
15    individual who is being appointed as an assistant   15    is -- that the appointment requires the promise
16    professor in connection with an initial             16    of excellence in teaching and scholarship.· Is
17    appointment has to show promise of excellence,      17    that correct or is that not correct?
18    right?· That's what the guidelines state?           18    · · · · · · · MR. BRAMWELL:· Objection, best
19    · · · · · · · MR. BRAMWELL:· Objection, asked and   19    evidence.· Best evidence.· Ms. Wermuth, we have
20    answered.                                           20    been through this now 3 times.· You have asked
21    BY MS. WERMUTH:                                     21    the question 3 times.· The best evidence is the
22    · · Q.· ·I'm sorry.· What was your answer?          22    document.· Nobody is arguing as to what the
23    · · A.· ·They have to show -- they have to          23    document says.· The document is the document.
24    demonstrate tenurability, that they are             24    Please move along.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 344 of 408 PageID #:6266


                                                                                                Page 86..89
                                               Page 86                                                  Page 88
·1   · · · · · · · MS. WERMUTH:· I'm not -- I am          ·1   I state that the guidelines that you relied on in
·2   entitled to an answer to the question. I             ·2   your report from UNC provide that an initial
·3   continue to object to your coaching the witness      ·3   appointment of assistant professor requires the
·4   on how to answer the question --                     ·4   clear promise of excellence in teaching and
·5   · · · · · · · MR. BRAMWELL:· I am not coaching       ·5   research?
·6   the witness.                                         ·6   · · · · · · · MR. BRAMWELL:· Objection, asked and
·7   · · · · · · · MS. WERMUTH:· Let me finish. I         ·7   answered, and objection, best evidence.
·8   allowed you.· I have not yet received an answer      ·8   BY MS. WERMUTH:
·9   as to whether or not this is what the guidelines     ·9   · · Q.· ·You can answer.
10    that Doctor Zaeske relied on in her report          10    · · A.· ·The document itself states "the
11    actually provide.· What she keeps telling me is     11    standards for initial appointment are clear
12    what the institution would do.· I'm not asking      12    promise of excellence in teaching and
13    that question.· I'm asking what the guidelines      13    scholarship," and etcetera.· I think the key
14    that she relied on provide.· That's my question.    14    thing to understand is what is meant by clear
15    · · · · · · · MR. BRAMWELL:· I'm not coaching the   15    promise and what that -- of excellence, and what
16    witness -- are you finished?                        16    that looks like in practice.
17    · · · · · · · MS. WERMUTH:· Yes.                    17    · · Q.· ·Okay.· But you don't refer to that --
18    · · · · · · · MR. BRAMWELL:· Okay.· I am not        18    well, strike that.· You didn't interview anybody
19    coaching the witness.· I object to that             19    at the University of North Carolina, correct?
20    characterization.· I find it offensive.· If you     20    · · A.· ·No.
21    believe I'm coaching the witness, I'll invite you   21    · · Q.· ·Okay.· And looking at Section 3-B, again
22    to call the Judge.· His telephone number is         22    the tenure track position of assistant professor
23    312-435-6054, at least according to his website.    23    comes with the possibility of reappointment,
24    I'm not coaching the witness.· You have asked the   24    correct?

                                               Page 87                                                  Page 89
·1   question multiple times.· The witness has            ·1   · · A.· ·Yes.· That's a standard -- that's
·2   answered to the best of her ability.                 ·2   standard.
·3   · · · · · · · · · · · ·Nobody is arguing as to       ·3   · · Q.· ·Okay.· Meaning that it is not guaranteed
·4   what -- you have the document in front of you.       ·4   that you will be reappointed, correct?
·5   She is answering your question.· If you don't        ·5   · · A.· ·Correct.
·6   like the answer, ask another question, ask it        ·6   · · Q.· ·And it is not guaranteed that you will
·7   another way.· But you are now at the point where     ·7   achieve tenure either, correct?
·8   you are starting to badger.                          ·8   · · A.· ·Correct.
·9   · · · · · · · MS. WERMUTH:· I'm entitled to an       ·9   · · Q.· ·In fact, you testified earlier today
10    answer to a very specific question.                 10    that just in the last couple of months, you
11    · · Q.· ·Let me ask you this, Doctor Zaeske.· You   11    non-renewed probationary faculty -- 2
12    relied on the UNC College of Communication          12    probationary faculty because even though you
13    Guidelines in forming your opinion, did you not?    13    believed they had the promise of excellence at
14    · · A.· ·Yes.                                       14    the time of their hire, they did not achieve the
15    · · Q.· ·And in fact, you quote several sections    15    standards of the University of Wisconsin,
16    of the guidelines specifically in your report,      16    correct?
17    correct?                                            17    · · A.· ·That's correct.
18    · · A.· ·Yes.                                       18    · · Q.· ·All right.· Now, if you go to page 8?
19    · · Q.· ·You do not quote from the Section 3-B-1.   19    · · A.· ·Page 8?
20    Am I right about that?                              20    · · Q.· ·Yes.· Scroll to the next page.
21    · · A.· ·I don't know because I would have to       21    · · · · · · · MR. BRAMWELL:· Page 8 of what, Ms.
22    look through my whole report to see if I quoted     22    Wermuth?
23    from that section or not.                           23    · · · · · · · MS. WERMUTH:· I'm sorry.· Thank you
24    · · Q.· ·Okay.· So you're -- am I incorrect when    24    for asking that question.· The UNC Department of

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 345 of 408 PageID #:6267


                                                                                                Page 90..93
                                               Page 90                                                  Page 92
·1   Communication Promotion and Tenure Guidelines,       ·1   · · · · · · · THE WITNESS:· Correct.
·2   3.3.                                                 ·2   BY MS. WERMUTH:
·3   · · · · · · · MR. BRAMWELL:· Okay, thanks.           ·3   · · Q.· ·And that was not what was offered to
·4   BY MS. WERMUTH:                                      ·4   Doctor Calvente, correct?
·5   · · Q.· ·So the same document we were looking at,    ·5   · · A.· ·Apparently based on the letter that you
·6   just the following page, Doctor.· Are you with       ·6   showed me.
·7   me?                                                  ·7   · · Q.· ·And in that same section, that first
·8   · · A.· ·Yep.                                        ·8   paragraph under Subsection C, the last sentence
·9   · · Q.· ·Okay.· So at UNC, a faculty member could    ·9   of the first paragraph indicates this.· "A
10    come in from another institution with an initial    10    recommendation for promotion and/or tenure by the
11    appointment at the rank of associate professor;     11    department chair requires a careful assessment
12    is that right?                                      12    informed by outside references about the
13    · · · · · · · MR. BRAMWELL:· Objection, best        13    qualifications of the candidate and the
14    evidence.                                           14    professional judgment of the assembled full
15    · · · · · · · THE WITNESS:· It is true at any       15    professors.· The professional judgment of the
16    institution.                                        16    tenured associate professors is also considered."
17    BY MS. WERMUTH:                                     17    Do you see that?
18    · · Q.· ·Okay.· But these guidelines provide        18    · · A.· ·Yes.
19    that, correct?                                      19    · · Q.· ·So even in the College of Communication
20    · · A.· ·Yes.                                       20    at the University of North Carolina, there is a
21    · · · · · · · MR. BRAMWELL:· Asked and answered.    21    peer review process for tenure, correct?
22    Best evidence.                                      22    · · A.· ·Yes.
23    BY MS. WERMUTH:                                     23    · · Q.· ·Okay.· And that peer review process
24    · · Q.· ·So -- and that could come without          24    requires careful assessment, correct?

                                               Page 91                                                  Page 93
·1   tenure, right?· You could be appointed to            ·1   · · A.· ·Yes.
·2   initially at UNC to associate professor without      ·2   · · Q.· ·By people within and outside of the
·3   tenure, according to these guidelines?               ·3   institution, correct?
·4   · · A.· ·I don't know that to be the case.· It       ·4   · · A.· ·Yes.
·5   certainly -- that's not the case at my               ·5   · · Q.· ·So there is no guarantee at the time of
·6   institution, and at most strong research             ·6   hire that an individual will in fact be tenured
·7   institutions, because tenure and rank are not        ·7   at the University of North Carolina, correct?
·8   desegregated.                                        ·8   · · A.· ·That's correct.
·9   · · Q.· ·But let's look at what --                   ·9   · · Q.· ·Okay.· Okay.· Now, at several points in
10    · · · · · · · MR. BRAMWELL:· I'm sorry.· Were you   10    your report, Doctor Zaeske, you make assertions
11    finished with your answer?                          11    about the job prospects of faculty denied tenure
12    · · · · · · · THE WITNESS:· Yes.                    12    at what you refer to at R2 schools?
13    BY MS. WERMUTH:                                     13    · · A.· ·R2 schools, yes.
14    · · Q.· ·So looking at Exhibit 3.3, section C,      14    · · Q.· ·So we have been talking about R1 and R2
15    the first sentence says "initial appointment to a   15    today, but I don't think for the record we have
16    rank of associate professor may be with or          16    clarified what that means.· So let's take a
17    without tenure."· Do you see that?                  17    moment to do that, okay?· What is -- when you say
18    · · A.· ·Right.                                     18    R1 and R2, what are you referring to?
19    · · Q.· ·So according to UNC's College of           19    · · A.· ·Actually I think in the report I do
20    Communication, they can bring in and appoint a      20    pretty clearly explain what that is -- what those
21    faculty member at the rank of associate professor   21    are and how those categories are determined, and
22    without tenure?                                     22    then I provided an exhibit that provides a
23    · · · · · · · MR. BRAMWELL:· Objection, best        23    listing, as I recall.· So I think those are
24    evidence.                                           24    pretty clearly defined.· But R1 --

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 346 of 408 PageID #:6268


                                                                                                Page 94..97
                                              Page 94                                                   Page 96
·1   · · Q.· ·But --                                      ·1   classification, did you understand that to be a
·2   · · · · · · · MR. BRAMWELL:· I'm sorry, Ms.          ·2   less prestigious institution than the University
·3   Wermuth.· Do not cut my expert off as she is         ·3   of North Carolina?
·4   speaking.                                            ·4   · · A.· ·Yes.
·5   · · · · · · · MS. WERMUTH:· I'm sorry, Jerry.        ·5   · · Q.· ·Okay.· So the Carnegie Classifications,
·6   · · · · · · · MR. BRAMWELL:· I'm sorry.· I can't     ·6   that's what we are talking about when we refer to
·7   hear anything when you address me by my first        ·7   R1 and R2?
·8   name.                                                ·8   · · A.· ·Correct.
·9   BY MS. WERMUTH:                                      ·9   · · Q.· ·Who administers the Carnegie
10    · · Q.· ·Please finish your answer, Doctor          10    Classifications?
11    Zaeske.                                             11    · · A.· ·They had been administered in the past
12    · · A.· ·So Exhibit 1 is R1 and R2 Carnegie         12    by Carnegie, but now they are administered
13    Classifications.· I'm just looking at my report.    13    through the university of -- through a part of
14    So those were provided.· And then there is a        14    the education school at the University of
15    section in the report where I explain the           15    Indiana.
16    difference.· But the bottomline is that R1          16    · · Q.· ·And what is the methodology that the
17    institutions have higher expectations and higher    17    University of Indiana uses -- I think it is
18    -- for research, and also really for teaching       18    actually Indiana University, uses to classify
19    standards, though there is usually less teaching.   19    schools under the Carnegie Classifications?
20    And then they have more research expenditures and   20    · · A.· ·They have a number of criteria, but the
21    tend to be more prestigious institutions in the     21    major one has to do with research expenditures,
22    United States.                                      22    or in other words, the amount of money generated
23    · · · · · · · · · · · ·R2 institutions have         23    by research, by research grants, and spent on
24    lesser research expectations, generally have        24    research.· That's the major -- that's the major

                                              Page 95                                                   Page 97
·1   higher teaching loads, and tend to be less           ·1   metric that's used.
·2   prestigious institutions in the United States.       ·2   · · Q.· ·Okay.· So one of the metrics is how much
·3   And then I provided a list of those from the --      ·3   the institution actually spends on research,
·4   this is the Carnegie Classifications.                ·4   right?
·5   · · Q.· ·So here is my question.· You and I have     ·5   · · A.· ·Right.
·6   been using R1 and R2 throughout the course of the    ·6   · · Q.· ·Another metric is how many research
·7   deposition.· So my question was for purposes of      ·7   doctorates are conferred?
·8   the deposition, we need to clarify what we are --    ·8   · · A.· ·Right.
·9   what we mean when we use those classifications or    ·9   · · Q.· ·Another metric is the number of
10    when we use those terms, R1 and R2.                 10    non-faculty research staff at the institution,
11    · · · · · · · · · · · ·So let me ask you this.      11    correct?
12    You just said R2 institutions are less              12    · · A.· ·Right.
13    prestigious than R1 institutions.· Are you          13    · · Q.· ·Those are the metrics that are used; is
14    telling me that you think Dartmouth is a less       14    that right?
15    prestigious university than the University of       15    · · A.· ·Right.
16    North Carolina?                                     16    · · Q.· ·Okay.· So Carnegie does not measure
17    · · A.· ·Well, Dartmouth has been reclassified in   17    volume of scholarly output, correct?
18    the R1, if that's what you're getting at.· It was   18    · · A.· ·I don't think they -- no.· No.· They
19    demoted to an R2.· It was considered a loss of      19    don't do that per se like academic analytics or a
20    prestige by Dartmouth.· Then they increased their   20    product like that.
21    research expenditures, and they are back in the     21    · · Q.· ·So they don't measure the quality of the
22    R1 classification.· So it was absolutely            22    scholarly output either?
23    considered a loss of prestige for Dartmouth.        23    · · A.· ·I would say not directly, but indirectly
24    · · Q.· ·My question is when Dartmouth was an R2    24    once -- the ability to get particularly Federal

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 347 of 408 PageID #:6269


                                                                                              Page 98..101
                                              Page 98                                                  Page 100
·1   grants is a measure of the quality of the            ·1   universities have high research activity."· Do
·2   research.                                            ·2   you see that?
·3   · · Q.· ·Okay.· But we are talking about R1 and      ·3   · · A.· ·Page 2 --
·4   R2 classifications, right?· So when Indiana          ·4   · · Q.· ·No.· Page 1.
·5   University is pulling data every 3 years to come     ·5   · · A.· ·Page 1.· Sorry.
·6   up with who -- which institution is ranking          ·6   · · Q.· ·Second paragraph, halfway down that
·7   where, it is not looking at the quality of           ·7   second paragraph, the sentence --
·8   scholarly output, correct?                           ·8   · · A.· ·Right, okay.· Yeah, yeah.
·9   · · · · · · · MR. BRAMWELL:· Objection, asked and    ·9   · · Q.· ·You are with me?
10    answered.                                           10    · · A.· ·Yes, yes.
11    · · · · · · · THE WITNESS:· Yes.· As I said,        11    · · Q.· ·So it says "R2 universities have high
12    there is an indirect measure by -- in order to      12    research activity, but they expect professors to
13    get an NIH, NSF, ACLS grant, you have to have       13    be teachers first."· Do you see that?
14    high quality scholarship, and they are peer         14    · · A.· ·Yes.
15    reviewed, and it is competitive, and quality is     15    · · Q.· ·What is the source -- well, strike that.
16    assessed in that way.· So those are measures of     16    Would you look please at Exhibit 7 in the -- let
17    quality.                                            17    me just make sure I have the right exhibit.
18    BY MS. WERMUTH:                                     18    Yeah.· Exhibit 7 in the packet that was sent
19    · · Q.· ·Are the researchers at Indiana             19    yesterday.
20    University who compute the data for purposes of     20    · · A.· ·Yes.
21    the Carnegie Classifications looking at the         21    · · Q.· ·Okay.· This was material that was
22    content and substance of grants, grant awards, or   22    produced to me in connection with the subpoena
23    scholarly output?                                   23    served on you, okay?· So this is something that
24    · · · · · · · MR. BRAMWELL:· Objection,             24    you looked at in preparing the report?
                                              Page 99                                                  Page 101
·1   foundation, and objection, asked and answered.       ·1   · · A.· ·Yes.
·2   · · · · · · · THE WITNESS:· So they are not          ·2   · · Q.· ·Is there anything in here that says R2
·3   looking directly, but they are looking at the        ·3   universities expect their professors to be
·4   success of those grants in generating dollars.       ·4   teachers first?
·5   BY MS. WERMUTH:                                      ·5   · · A.· ·Well, I don't know about this article
·6   · · Q.· ·Okay.· Carnegie does not measure            ·6   per se -- well, first of all, look, these
·7   educational outcomes for students, correct?          ·7   articles are, you know, I wanted you to see that
·8   · · A.· ·Correct.                                    ·8   my professional knowledge is not -- it's not just
·9   · · Q.· ·All right.· So I would like to look at      ·9   me.· So there are other sources that are saying
10    your report again, not the exhibit, but going to    10    this.
11    page 1 of your report, and the paragraph that       11    · · · · · · · · · · · ·But either in this article
12    reads basis for opinion as a header.· Tell me       12    or others that I have provided, it is clear that,
13    when you are there.                                 13    and it is stated directly that at R2
14    · · · · · · · MR. BRAMWELL:· I'm sorry.· Can you    14    institutions, the teaching load -- what we mean
15    help me with the page, Ms. Wermuth?                 15    when we say here expected to be a teacher first,
16    · · · · · · · MS. WERMUTH:· Page 1                  16    your teaching load might be 4-4, 4 courses a
17    · · · · · · · MR. BRAMWELL:· Page 1.· Thank you.    17    semester in the Fall and Spring, or sometimes
18    · · · · · · · THE WITNESS:· Okay.                   18    they are on quarter systems, or whatever, or 3-3.
19    BY MS. WERMUTH:                                     19    Whereas at an R1 institution, you are considered
20    · · Q.· ·Are you there?                             20    and you are asked to be a researcher first.· So
21    · · A.· ·Yes.                                       21    your teaching load is going to be something like
22    · · Q.· ·Okay.· Great.· So that big paragraph at    22    2-2 or even 2-1 or 1-1 because teaching --
23    the bottom of the second half of the page.· About   23    because research is first.· That's what is meant.
24    halfway down, there is a sentence that begins "R2   24    · · Q.· ·So I have a couple of follow-up

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 348 of 408 PageID #:6270


                                                                                             Page 102..105
                                             Page 102                                                  Page 104
·1   questions.· First of all, do you know what Doctor    ·1   you see that?
·2   Calvente's expected teaching load will be at the     ·2   · · A.· ·Yes.
·3   University of North Carolina?                        ·3   · · Q.· ·And it says doctoral -- category is
·4   · · A.· ·No, I don't.                                ·4   doctoral universities high research activity?
·5   · · Q.· ·Do you know what her teaching load was      ·5   · · A.· ·Yes.
·6   at DePaul University?                                ·6   · · Q.· ·So high research activity is R2?
·7   · · A.· ·No.                                         ·7   · · A.· ·Right.
·8   · · Q.· ·So you referred to Exhibit 7 as an          ·8   · · Q.· ·Very high is R1?
·9   article, but let me just clarify for the record      ·9   · · A.· ·Yes.
10    what I think this is.· This is a download from      10    · · Q.· ·But nevertheless, high research
11    the website where the Carnegie Classifications      11    activity, correct?
12    are described.· Am I right about that?              12    · · A.· ·Yes, but -- yes.· The differences are
13    · · A.· ·That's right.                              13    significant.
14    · · Q.· ·So this is a publication from the folks    14    · · Q.· ·Okay.· There doesn't -- I don't see
15    who do the Carnegie Classifications, correct?       15    anything in here that suggests that this is an
16    · · A.· ·Correct.                                   16    institution that expects professors to be
17    · · Q.· ·So it is not really an article?            17    teachers first.· Do you see anything in here that
18    · · A.· ·Right.                                     18    says that?
19    · · Q.· ·Okay.· Fair enough.· And am I correct      19    · · · · · · · MR. BRAMWELL:· Objection, best
20    though that there is nothing in how Carnegie        20    evidence.· Go ahead.
21    describes their descriptions of classifications     21    · · · · · · · THE WITNESS:· I don't know how it
22    or methodology that indicates that an R2 school     22    compares to the other -- well, the Carnegie
23    requires -- I'm sorry, expects professors to be     23    classifications, the IU classifications, again,
24    teachers first?                                     24    they are about research.
                                             Page 103                                                  Page 105
·1   · · A.· ·No.· They are not focused on that.          ·1   BY MS. WERMUTH:
·2   · · Q.· ·Okay.· And then if you would look at        ·2   · · Q.· ·Right.· Thank you.· And then when you
·3   Exhibit 8 in the packet sent to you last night?      ·3   look at the undergraduate profile on this page,
·4   · · A.· ·Yes.                                        ·4   do you see that?
·5   · · Q.· ·Okay.· Can you tell me what this is?        ·5   · · A.· ·Yes.
·6   · · A.· ·It looks like the Carnegie                  ·6   · · Q.· ·It says 4 year, full-time, selective,
·7   Classification for DePaul.                           ·7   higher transfer-in.· Do you see that?
·8   · · Q.· ·And this is something that you looked at    ·8   · · A.· ·Yes.
·9   in preparing your opinion?                           ·9   · · Q.· ·So it is categorized as a selective
10    · · A.· ·Probably I did, yes.· I don't remember.    10    undergraduate profile, right?
11    · · Q.· ·Okay.· I'll just represent that it was     11    · · A.· ·Yes.
12    produced to me by Mr. Bramwell in connection with   12    · · Q.· ·Meaning the students are high quality?
13    the subpoena served on you, okay?                   13    It is a selective institution?
14    · · A.· ·Okay.                                      14    · · · · · · · MR. BRAMWELL:· Objection, form.
15    · · Q.· ·So in looking at this document, I see      15    Objection, foundation.· Objection, assumes facts
16    that it is -- I'm looking at the second page of     16    not in evidence.
17    it.                                                 17    BY MS. WERMUTH:
18    · · A.· ·Uh-huh.                                    18    · · Q.· ·You can answer.
19    · · Q.· ·And there is like a chart that says        19    · · A.· ·So I don't know how the other
20    classification and then category with 2 columns.    20    institutions -- I mean it might be the same
21    Do you see that?                                    21    arguably as the research where there is high
22    · · A.· ·Right.                                     22    research activity and very high research
23    · · Q.· ·Okay.· And so under the column that says   23    activity.· It might be selective or very
24    classification, there is a line for basic.· Do      24    selective.· So I don't know.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 349 of 408 PageID #:6271


                                                                                             Page 106..109
                                             Page 106                                                  Page 108
·1   · · Q.· ·You don't know.· Okay.· Can you look at     ·1   · · A.· ·Yes, correct.· Yes.
·2   Exhibit 6, please?                                   ·2   · · Q.· ·So where -- so this was produced to me
·3   · · A.· ·Do we know how many doctorates DePaul       ·3   as -- it was attached to your report as a Word
·4   produces every year?                                 ·4   document.· So is this a document that you
·5   · · Q.· ·Do you know the answer to that question?    ·5   personally created?
·6   · · A.· ·I don't know, but I think that's a good     ·6   · · A.· ·I think I might have just block copied
·7   question.                                            ·7   it and dropped it into a Word doc, because I
·8   · · Q.· ·It is not something you looked up for       ·8   couldn't figure out otherwise how to get it
·9   purposes of forming your opinion, correct?           ·9   preserved in a document form.
10    · · A.· ·Yeah, but you are making me think that     10    · · Q.· ·Where did you find this?
11    it would have been a good thing.· You want me to    11    · · A.· ·I think -- isn't the URL right on there?
12    look at number 9?                                   12    · · Q.· ·I don't see it.· Can you tell me where
13    · · Q.· ·No.· Number 6, please.                     13    you see it?
14    · · A.· ·News and announcements?                    14    · · A.· ·Exhibit 3?
15    · · Q.· ·Yes.· This is another download from the    15    · · Q.· ·Point 1.
16    Carnegie Classifications website?                   16    · · A.· ·Okay.· I guess I did not include the
17    · · A.· ·Right.                                     17    URL, but I think I took it from the website of
18    · · Q.· ·This was produced to me by Mr. Bramwell    18    the -- the IU website.
19    in connection with the response to the subpoena.    19    · · Q.· ·Okay.· Can you confirm for me that
20    I'm just curious how did this document -- how did   20    everything in the left column is an R1 school and
21    you rely on this in forming your opinion?           21    everything in the right column is an R2 school?
22    · · A.· ·I think I wanted to know the -- how        22    · · A.· ·I trust the source that I have used, so
23    recent the classifications had been updated and     23    yes.
24    also to establish that, you know, I thought the     24    · · Q.· ·Okay.· And that would follow through all

                                             Page 107                                                  Page 109
·1   statement that said the Carnegie classification      ·1   of the pages?· So page 2, page 3, page 4,
·2   has been the leading framework, so on, was           ·2   everything on the left side of the sheet is R1
·3   explanatory and helpful.                             ·3   and everything on the right side of the sheet is
·4   · · Q.· ·Well, it says "it has been the leading      ·4   R2, correct?
·5   framework for recognizing and describing             ·5   · · A.· ·Yes.
·6   institutional diversity in the U.S. higher           ·6   · · Q.· ·Now, earlier we had talked about Yale
·7   education for the past 4 and a half decades." So     ·7   being an R1 school.· I don't see Yale -- oh,
·8   what about that sentence helped you form the         ·8   wait.· I see it as an R2 school on page 3.· Is
·9   basis of your opinion?                               ·9   that consistent with your knowledge of --
10    · · · · · · · MR. BRAMWELL:· Objection as to        10    · · A.· ·Actually earlier you said Yale was an R1
11    form.· Objection as to format.· Objection as to     11    school, and I said no, Yale is an Ivy League
12    misstates her testimony.· Objection, assumes        12    school.
13    facts not in evidence.                              13    · · Q.· ·Okay.· So you -- it is your
14    · · · · · · · THE WITNESS:· So the bottomline is    14    understanding that Yale is not an R1 school?
15    I wanted to show that I was looking at updated      15    · · A.· ·I find that surprising, but apparently.
16    information.                                        16    · · Q.· ·What about are you familiar with the
17    BY MS. WERMUTH:                                     17    University of Chicago?
18    · · Q.· ·Okay.· So let's take a look then, you      18    · · A.· ·Yes.
19    said that -- so this is Exhibit 3.1.· You said      19    · · Q.· ·And according to the document that you
20    that you attached to your report the listing of     20    produced, the University of Chicago also is an R2
21    R1 and R2 research classifications.· Is that        21    school?
22    right?                                              22    · · A.· ·Surprising.
23    · · A.· ·Right.· Correct.                           23    · · · · · · · MR. BRAMWELL:· I'm sorry, Ms.
24    · · Q.· ·Are you with me there?                     24    Wermuth.· I apologize.· What page?

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 350 of 408 PageID #:6272


                                                                                             Page 110..113
                                             Page 110                                                  Page 112
·1   · · · · · · · MS. WERMUTH:· 2.· It is not            ·1   · · Q.· ·Based on research dollars?
·2   numbered.· It is at the very top of the right        ·2   · · A.· ·Based on research dollars.
·3   column.                                              ·3   · · Q.· ·Even though Northwestern doesn't show up
·4   · · · · · · · MR. BRAMWELL:· I'm sorry.· I see       ·4   on your list of R1 or R2 schools?
·5   it.                                                  ·5   · · · · · · · MR. BRAMWELL:· Objection to the
·6   BY MS. WERMUTH:                                      ·6   characterization of it as her list.
·7   · · Q.· ·Do you think that's accurate, Doctor        ·7   · · · · · · · THE WITNESS:· Yeah.· It is this
·8   Zaeske?                                              ·8   list.
·9   · · A.· ·I think it is surprising, but I don't       ·9   BY MS. WERMUTH:
10    know why it would be wrong on this list.· I don't   10    · · Q.· ·Well, this is a list that you said that
11    see Chicago.                                        11    you cut and pasted, right?
12    · · Q.· ·Page 2?                                    12    · · A.· ·From a website, yeah.· I will find out
13    · · A.· ·Is it under University of Chicago?         13    what the source was.
14    · · Q.· ·Correct.                                   14    · · Q.· ·Yeah.· I'm going to ask for that URL
15    · · · · · · · MR. BRAMWELL:· It may be easier to    15    because I'm not sure that this is an accurate
16    share your screen.                                  16    document.
17    BY MS. WERMUTH:                                     17    · · · · · · · MR. BRAMWELL:· Are you accusing my
18    · · Q.· ·Go to the second page of the document.     18    client -- not my client.· Are you accusing my
19    Don't look alphabetically.· For whatever reason     19    expert of producing inaccurate information, Ms.
20    these are not in alphabetical order.                20    Wermuth?
21    · · A.· ·Okay.· That's probably why.· Oh yes,       21    · · · · · · · MS. WERMUTH:· With Yale and
22    yes, I do see it.· That is strange.                 22    University of Chicago being listed as R2 and
23    · · Q.· ·Are you familiar with Northwestern         23    Northwestern being excluded, I think if I went on
24    University?                                         24    the Carnegie Classification website and looked at

                                             Page 111                                                  Page 113
·1   · · A.· ·Certainly.                                  ·1   their data spreadsheets, I think I would see
·2   · · Q.· ·Do you see Northwestern appearing under     ·2   something different.· That's what I'm saying.
·3   the R1 or R2 list on that document that you          ·3   I'm not saying it is intentional.· I don't know
·4   provided?                                            ·4   the source of this document.· That's why I'm
·5   · · A.· ·I do not.                                   ·5   asking these questions.· I'm not accusing anyone
·6   · · Q.· ·So according then to your theory since      ·6   of anything.· I'm trying to ask questions about
·7   Northwestern is not an R1 nor an R2 school, it       ·7   documents that were produced to me in response to
·8   would be less prestigious than DePaul University     ·8   a subpoena that were allegedly relied upon by the
·9   which is an R2 school?· Is that fair?                ·9   expert in preparing her opinion.· That's what I'm
10    · · A.· ·I would not agree with that.               10    asking, Jerry.
11    · · Q.· ·And okay.· Isn't your theory premised on   11    · · · · · · · MR. BRAMWELL:· I'm sorry, Anna. I
12    R2 schools being less prestigious than R1           12    have asked you multiple times to give me the
13    schools?                                            13    courtesy --
14    · · A.· ·Well, you are making a leap in logic       14    · · · · · · · MS. WERMUTH:· Mr. Bramwell.
15    here from the inclusivity of a list to what my      15    · · · · · · · MR. BRAMWELL:· Thank you.
16    argument is.· You know, there is -- I'm surprised   16    · · · · · · · MS. WERMUTH:· You can call me Anna
17    that Northwestern is not on this list, and I        17    any time.· I'm not offended.
18    don't know -- I don't know why, and I can't         18    · · Q.· ·Go ahead, Doctor.
19    explain that.· But that doesn't mean that I         19    · · A.· ·So this listing really was just to
20    wouldn't -- I mean if we looked at the research     20    provide a sense of what these -- what R1 and R2,
21    expenditures of Northwestern and the number of      21    you know, classifications look like.· They did
22    doctorates produced and compared that to DePaul,    22    not I would say inform my decision.· I mean it is
23    I think we would have data to indicate that there   23    really about the general understanding of an R1
24    is a prestige difference there.                     24    and R2 institution as opposed to the overall

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 351 of 408 PageID #:6273


                                                                                            Page 114..117
                                             Page 114                                                 Page 116
·1   inclusivity of a list.                              ·1   importance of the Carnegie Classifications in the
·2   · · Q.· ·But you did attach it to your report,      ·2   prestige of an institution.
·3   Doctor?                                             ·3   · · Q.· ·You call a newspaper article excellent
·4   · · A.· ·Yes.                                       ·4   evidence of what?· I'm sorry.
·5   · · Q.· ·All right.· I just want to finish out      ·5   · · A.· ·So the prestige of an institution which
·6   some discussion about the Carnegie                  ·6   drives the -- so there is multiple ways that
·7   Classifications.· So if you would please look at    ·7   there is prestige of institutions.· There is
·8   Exhibit 11?                                         ·8   prestige within the academic community itself,
·9   · · A.· ·Okay.                                      ·9   and there is also the prestige with potential --
10    · · Q.· ·Okay.· This is the publication that you   10    with alumni and also with potential applicants to
11    list among the facts and data considered in        11    an institution, right?· And when Dartmouth fell
12    forming your opinion in your report.· Okay?        12    out of the Carnegie R1's, there was, you know,
13    · · A.· ·Right.                                    13    ripples.· There were ripples in the academic
14    · · Q.· ·What is this publication?· I can't        14    community.· There were ripples among alumni.
15    really tell from what was provided to me.          15    There were concerns in the institution about
16    · · A.· ·It is a center that -- you know, a lot    16    enrollments.· There were concerns about whether
17    of institutions have centers that focus on         17    or not a Dartmouth degree was as worthwhile as it
18    educational -- educational studies and             18    has been in the past.
19    educational politics and educational policies, I   19    · · · · · · · · · · · ·So this is an article that
20    should say.· And this is a publication by an       20    just illustrates that even in public, in the
21    expert in higher ed about the Carnegie.            21    lighter public opinion, that this change in the
22    · · Q.· ·Okay.· And do you know what school the    22    Carnegie ranking was -- it is a big deal.
23    James G. Martin Center for Academic Renewal is     23    · · Q.· ·Are you familiar with Kevin Kinser?
24    associated with?                                   24    · · A.· ·No I'm not.

                                             Page 115                                                 Page 117
·1   · · A.· ·I cannot recall.                           ·1   · · Q.· ·Well, according to Kevin Kinser who is
·2   · · Q.· ·This is not a peer reviewed paper,         ·2   quoted in this article in the first page, and
·3   correct?                                            ·3   according to the article, which, again, is a news
·4   · · A.· ·No.· It is in an industry journal or an    ·4   article, "he is an associate professor of
·5   industry, you may call it a magazine as opposed     ·5   Educational Administration and Policy Studies at
·6   to a journal.                                       ·6   the State University of New York at Albany.· He
·7   · · Q.· ·You would agree with me that this author   ·7   is on the advisory board of the Carnegie
·8   actually points out the problems with relying on    ·8   Initiative.· He is quoted as saying "the label
·9   the Carnegie Classifications?                       ·9   should not be viewed as ranking or rating, but
10    · · A.· ·Yes.                                      10    merely a description based on data."· Yes?
11    · · Q.· ·And then Exhibit 14, if you can look at   11    · · A.· ·Well, he said it should not be viewed,
12    that with me, please?                              12    but that's because it is viewed.
13    · · A.· ·Okay.                                     13    · · Q.· ·He goes on to say that "For Dartmouth or
14    · · Q.· ·This is another article that was listed   14    any other school to fall out of R1 category
15    among the facts and data considered by you in      15    shouldn't be considered some deficiency in the
16    preparing your report.· Are you familiar with      16    institution."· Do you see that?
17    this article?                                      17    · · A.· ·Right.· He needed to say that.
18    · · A.· ·Yes.                                      18    · · Q.· ·The basis for your statement?
19    · · Q.· ·And this is an article from the           19    · · A.· ·Well, I can tell you right now I am
20    Washington Post, right?· So that's a newspaper?    20    hiring a professor away from Dartmouth who
21    · · A.· ·Correct.                                  21    doesn't want to be there because it doesn't have
22    · · Q.· ·So this is a news article about           22    graduate education, and it is really focused on
23    Dartmouth falling out of the R1 classification?    23    undergraduate education, and it is not a strong
24    · · A.· ·Right.· It is excellent evidence of the   24    research institution.· It is back in the R1, but

                               Thompson Court Reporters, Inc.
                                    thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 352 of 408 PageID #:6274


                                                                                             Page 118..121
                                              Page 118                                                 Page 120
·1   it is on the edge.                                   ·1   depends on what others say.
·2   · · Q.· ·Do you know where Dartmouth ranks under     ·2   · · · · · · ·MS. WERMUTH:· Gina, do you need a
·3   U.S. News World and Report as compared to            ·3   break?
·4   University of North Carolina?                        ·4   · · · · · · ·COURT REPORTER:· If I could have
·5   · · A.· ·They are different -- well, there are       ·5   like 15 minutes, that would be perfect.
·6   many different rankings in U.S. News and World       ·6   · · · · · · · MR. BRAMWELL:· Since we are at the
·7   Report.· Dartmouth is known as a very -- as a        ·7   noon hour, and the court reporter obviously is
·8   very good undergraduate school.· It is not a         ·8   the most important person in the room, did you
·9   great place if you are a researcher.                 ·9   want to take a half hour for lunch?· Is that
10    · · Q.· ·But you did rely on U.S. News World and    10    enough time, Doctor Zaeske?
11    Report general rankings, right, for purposes of     11    · · · · · · · THE WITNESS:· Yes, that's fine.
12    forming your opinion?· In those general rankings,   12    · (Break taken from 12:32 to 1:03)
13    do you know where Dartmouth falls as compared to    13    BY MS. WERMUTH:
14    UNC?                                                14    · · Q.· ·So Doctor Zaeske, I'll just remind you
15    · · A.· ·I do not.                                  15    that even though we broke, you are still under
16    · · Q.· ·So I think just to make sure this is       16    oath.· You understand that?
17    clear on the record, the Washington Post article    17    · · A.· ·Thank you, yes.
18    is not a peer reviewed publication, right?          18    · · Q.· ·Okay.· So we were going to start or
19    · · A.· ·It is not, which I think is irrelevant.    19    return to your report.· So if you would go to
20    · · Q.· ·Okay.· Okay.· Exhibit 22, please?          20    Exhibit 3 with me for a moment, I would
21    · · A.· ·Exhibit 22?                                21    appreciate that.
22    · · Q.· ·Yes.                                       22    · · A.· ·Yes.
23    · · A.· ·Okay.                                      23    · · Q.· ·Couple of things I just wanted to ask
24    · · Q.· ·All right.· So this article is from        24    you about on page 1 in the second paragraph, near

                                              Page 119                                                 Page 121
·1   Inside Higher Ed.· Do you see that?                  ·1   the end.· So there is a sentence about a third of
·2   · · A.· ·Yes.                                        ·2   the way up from the bottom that begins with
·3   · · Q.· ·Which again is just sort of like an         ·3   "moreover, as a member of the advisory board of
·4   industry magazine type, right?· It is not a peer     ·4   the Carnegie Initiative."· Do you see that?
·5   reviewed publication?                                ·5   · · A.· ·Yes.
·6   · · A.· ·Right.                                      ·6   · · Q.· ·And then you go on to say that this
·7   · · Q.· ·Okay.· And this article seems to be         ·7   person explained that R1 institutions are
·8   explaining that there is a new sort of               ·8   considered to be, and then there is quotation
·9   professional doctoral categorization that            ·9   marks, "the pinnacle of higher education".· So it
10    Carnegie will be using, correct?                    10    looks like that is a quote, but I don't see
11    · · A.· ·Right.                                     11    attribution here.· So I don't know who this
12    · · Q.· ·Okay.· And according to this article,      12    person is and where this statement was made.· Do
13    this new category will mean that a small handful    13    you have that information?
14    of universities will move up to R1 designation?     14    · · A.· ·Right.· So it is a quote, and it is in
15    · · A.· ·Right.                                     15    one of the articles that I cited in the -- in the
16    · · Q.· ·All right.· So let's go back to Exhibit    16    list of documents and data considered here.· I an
17    3, your report.· And by the way, I know it is       17    could back and let you know if it is in the
18    12:30.· I'm happy to keep going, but I'm happy to   18    Mendenhall or the Anderson.· It is probably one
19    break if folks need 15, 20, 30 minutes.· Gina, I    19    or the other of those.
20    know your fingers are working hard.· So if folks    20    · · Q.· ·Or perhaps in the Washington Post
21    need a break, I'm happy to take a break.· Just      21    article?
22    tell me if now is the right time and how much       22    · · A.· ·Or perhaps in that one, yeah.
23    time people would like.                             23    · · Q.· ·All right.· And then you go on to talk
24    · · · · · · ·THE WITNESS:· I'm doing fine.· It      24    about rankings by College Factual and rankings by

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 353 of 408 PageID #:6275


                                                                                            Page 122..125
                                             Page 122                                                 Page 124
·1   U.S. News and World Report.· Do you see that?        ·1   with -- it does have to do with research and
·2   · · A.· ·Yes.                                        ·2   ranking of research programs.· It also includes
·3   · · Q.· ·So what is College Factual?                 ·3   things such as number of living alumni who have
·4   · · A.· ·So these -- okay.· So these are commonly    ·4   made contributions to an institution.· You know,
·5   -- both U.S. News and World Report and College       ·5   so there are a lot of different factors that U.S.
·6   Factual are rankings of institutions that are        ·6   News and World Report include in their
·7   highly available to the public, as opposed to        ·7   assessment.
·8   let's say the NRC rankings, which are rankings of    ·8   · · · · · · · · · · · ·And you know, it's largely
·9   doctoral institutions and doctoral programs, or      ·9   reputational, as opposed to again, like the NRC,
10    academic analytics, which are more available to     10    or academic analytics, which is -- these really
11    academic administrators and academics.              11    look at the number of articles and books
12    · · · · · · · · · · · ·So I provided these          12    published and the venues in which they are
13    frankly because I thought they would be more        13    published and the number of awards that are
14    accessible to the court.                            14    garnered through research and so on.· So it is a
15    · · Q.· ·Okay.· So you chose to use the             15    very different kind of ranking.
16    publically available ones as opposed to the         16    · · Q.· ·Right.· So there is a fair amount of
17    sources that are used in the academic community?    17    subjectivity, you call it reputational, but
18    · · A.· ·Right.                                     18    subjectivity that goes into that particular
19    · · Q.· ·Okay.                                      19    ranking?
20    · · A.· ·Well, also DePaul doesn't have a           20    · · A.· ·I would disagree with that.· It is not
21    doctoral program in communications, so it           21    about subjectivity.· It is about using different
22    wouldn't even be considered.· It wouldn't even be   22    metrics for making an assessment.· They are
23    included, so it is not possible to use that.        23    measuring different things.
24    · · Q.· ·Okay.· And so as you testified earlier,    24    · · Q.· ·Okay.· Including things like feedback
                                             Page 123                                                 Page 125
·1   U.S. News and World Report has a variety of          ·1   from folks who use the service, right?
·2   different types of rankings, right?                  ·2   · · A.· ·Feedback from folks who use which
·3   · · A.· ·Yes.                                        ·3   service?
·4   · · Q.· ·For your proposition here, UNC is ranked    ·4   · · Q.· ·The ranking service.
·5   28 as compared to DePaul's 124, what ranking         ·5   · · A.· ·You mean the U.S. News and World Report
·6   group were you looking at?                           ·6   rankings?· Oh, you mean feedback about the
·7   · · A.· ·So I was looking at the rankings of --      ·7   institutions themselves?
·8   well, as it says "U.S. News and World Report         ·8   · · Q.· ·Well, when I -- so do you know whether
·9   ranking of colleges offering a communications        ·9   or not the U.S. News and World Report uses -- I
10    major".· So I'm not looking at the overall          10    should say employs user feedback in its ranking
11    ranking of DePaul and the overall ranking of UNC.   11    methodology?
12    I'm looking at the ranking of them within           12    · · A.· ·I don't know.
13    institutions that offer a communication major.      13    · · Q.· ·Okay.· Do you know whether it uses
14    · · Q.· ·Okay.· And do you know the methodology     14    discussions with schools in its ranking
15    that U.S. News and World Report uses to make the    15    methodology?
16    rankings it makes or publishes the rankings it      16    · · A.· ·I'm not aware.
17    makes?                                              17    · · Q.· ·Okay.· Now, there are a number, Doctor
18    · · A.· ·So it makes a number of different          18    Zaeske, a number of places in your report where
19    rankings as I mentioned.· So its overall            19    you talk about the job prospects for faculty
20    institutional rankings, there are many things       20    denied tenure from Carnegie Classification R2
21    included in overall rankings of institutions.· It   21    schools, correct?
22    has to do with number of -- it has to do with       22    · · A.· ·Yes.
23    number of applications to attend the institution    23    · · Q.· ·Okay.· So for example, on page 1 in the
24    and number of students admitted.· It has to do      24    first paragraph, you say "professors who are

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                         YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 354 of 408 PageID #:6276


                                                                                             Page 126..129
                                             Page 126                                                  Page 128
·1   denied tenure at R2 universities such as DePaul      ·1   question.
·2   almost never are hired at R1 universities such as    ·2   · · Q.· ·Or am I misreading those?
·3   UNC because their record has been assessed as        ·3   · · · · · · · MR. BRAMWELL:· Objection as to
·4   untenurable."· Do you see that?                      ·4   vague, and objection, Counsel was testifying.
·5   · · A.· ·Yes.                                        ·5   BY MS. WERMUTH:
·6   · · Q.· ·You go on to say "faculty denied tenure     ·6   · · Q.· ·Did I misread any of those articles?
·7   at R2 universities typically find employment at      ·7   · · A.· ·So all the articles that I provided, and
·8   institutions with less rigorous tenure standards     ·8   all the articles that I found, were examples of
·9   such as community colleges, technical schools,       ·9   individuals who had been denied tenure at R1 or
10    and high schools, or they leave the academy".· So   10    R2 institutions, and they were unable to be hired
11    for those 2 sentences that I just read, can you     11    at an R1 institution, and I think none of them,
12    tell me the source of your data here?               12    as I recall, were hired into tenure track
13    · · A.· ·Sure.· So I am speaking from               13    positions.
14    professional experience and a number of examples    14    · · · · · · · · · · · ·And yes, there was the one
15    that I know from both R2 and R1s.· But then I       15    article by -- her last name -- either her first
16    also, you know, provided -- I thought it would be   16    name or last name was Grace, talked about finding
17    helpful to see that it is not just me talking       17    out that she was happier at a non -- in a
18    from my experience, so provided a number of         18    non-tenure track job, though she was continuing
19    articles that backed up that claim that talked      19    to strive for a tenure job position.· But I can
20    about experience of individuals who were denied     20    -- you know, I have at least a handful if not
21    tenure at R2 and R1 universities.                   21    more examples of individuals who were denied
22    · · Q.· ·Okay.· So you are talking about some of    22    tenure even at an R1 institution and have not
23    the feature stories that you attached to your       23    been able to find tenure track positions at R2s
24    report or referenced in your report; is that        24    or anywhere.

                                             Page 127                                                  Page 129
·1   right?                                               ·1   · · · · · · · · · · · ·I mean tenure denial or
·2   · · A.· ·Right.                                      ·2   non-renewal is kind of a kiss of death.· It is
·3   · · Q.· ·Which are primarily anecdotal stories       ·3   very, very hard to be hired at another
·4   from individuals who actually experienced tenure     ·4   institution much less a higher one than the --
·5   denial, right?                                       ·5   higher ranked and higher in prestige and higher
·6   · · A.· ·Right.                                      ·6   in publishing expectations than one has been
·7   · · Q.· ·Some of those articles don't say whether    ·7   denied tenure at.
·8   or not the individual was denied tenure at an R2     ·8   · · Q.· ·So I just want to be clear then because
·9   school.· Would you agree with that?                  ·9   you make some assertions that say things like
10    · · A.· ·Right.                                     10    "almost never", "almost never are hired at R1
11    · · Q.· ·And many say that tenure denial helped     11    universities".· "They typically find employment
12    them actually find the career that they             12    at institutions with less rigorous tenure".· Very
13    preferred, right?                                   13    rarely able to land".· Generally move to lower
14    · · A.· ·Right, right, which was not at an R1       14    ranked universities".
15    institution.                                        15    · · · · · · · · · · · ·I just want to make clear
16    · · Q.· ·Okay.· Although for those who went to      16    that those assertions are not based on any
17    other institutions into tenure track positions,     17    statistics or data that you have either compiled
18    in those articles, I didn't see one article where   18    or reviewed in connection with preparing your
19    that happened and the individual identified         19    report?
20    whether the school they were denied tenure at or    20    · · A.· ·So first of all, the conclusion is based
21    the school where they landed was an R1 or an R2;    21    on my experience and the examples I have seen,
22    am I correct on --                                  22    and then examples I was available to find.· And
23    · · · · · · · MR. BRAMWELL:· Objection.             23    these happen to be anecdotal because I could find
24    · · · · · · · MS. WERMUTH:· I didn't finish the     24    no data on post-employment after tenure denial.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 355 of 408 PageID #:6277


                                                                                             Page 130..133
                                             Page 130                                                  Page 132
·1   So you know, I certainly looked for statistics on    ·1   for faculty denied tenure at an R2 to get hired
·2   that, but it is not out there.                       ·2   at an R1.· And I want to make sure I understand
·3   · · Q.· ·Okay.· So I would like to look at the       ·3   where -- what your source data is.· And I don't
·4   articles that you cited though because I'm           ·4   know if this article is source data for that
·5   struggling -- well, let me ask you this.· Can you    ·5   specific proposition.
·6   look at Exhibit 23, please?                          ·6   · · A.· ·All right.· So this is an article about
·7   · · A.· ·Okay.                                       ·7   -- so the mindset and moving on from, appealing,
·8   · · Q.· ·Can you tell me if there is anything in     ·8   and doing the next thing, and what a person might
·9   this -- well, strike that.· This is an article       ·9   do after getting tenure denial.· So there aren't
10    that comes from the Chronicle of Higher             10    a lot of articles or data out there about what
11    Education, right?                                   11    people do after tenure denial, so I looked at
12    · · A.· ·Yes.                                       12    what I could find.· I was asked to provide you
13    · · Q.· ·Which again is not a peer reviewed         13    with information or documentation of what I
14    publication, correct?                               14    looked at, and I looked at this, so I have
15    · · A.· ·That is correct.                           15    provided it.
16    · · Q.· ·Okay.· And I don't see anything -- so if   16    · · Q.· ·Would you agree that this Exhibit 23 is
17    I'm wrong, please tell me, because I would like     17    really more of like an advice column?
18    to know.· Is there anything in here that talks      18    · · A.· ·I think it is about sharing experiences
19    about what is the fate of an individual -- or I'm   19    and yeah, and some guidance.
20    sorry, what is the fate of a faculty member who     20    · · Q.· ·Okay.· Can you look at Exhibit 16?
21    is denied tenure at an R2 school?                   21    · · · · · · · MR. BRAMWELL:· I'm sorry.· 1, 5 or
22    · · A.· ·I would have to take a moment to, you      22    1, 6?
23    know, look at it conclusively.· And this, you       23    · · · · · · · MS. WERMUTH:· 1, 6.
24    know, goes back to your question about, you know,   24    · · · · · · · THE WITNESS:· Okay.

                                             Page 131                                                  Page 133
·1   the language -- you know, I'm careful in what I'm    ·1   BY MS. WERMUTH:
·2   going to say yes or no to.· So I'm not going to      ·2   · · Q.· ·This is another article that you relied
·3   make a sweeping statement in my report like in       ·3   on in forming your opinion.· Do I understand that
·4   all cases, someone who is denied tenure is going     ·4   correctly?
·5   to do this or that.· I'm going to say typically      ·5   · · A.· ·Yes.
·6   or almost always or whatever.                        ·6   · · Q.· ·Okay.· And this is also from the
·7   · · · · · · · · · · · ·So I think that's             ·7   Chronicle of Higher Education, correct?
·8   responsible because we don't -- it is not helpful    ·8   · · A.· ·Correct.
·9   to speak in universals.· I can't know every          ·9   · · Q.· ·And as I understand it, Peter Ellenbogen
10    single case.· But in most cases, or typically       10    is a pseudonym of someone that doesn't otherwise
11    that is what has happened.· And you just asked me   11    want to be identified.· Do you understand that as
12    to, you know, make a very precise statement about   12    well?
13    something that I would have to look at closely,     13    · · A.· ·Yes.
14    which I'm happy to do, but I would need a little    14    · · Q.· ·According to Peter's story, he was
15    time here to read it through.                       15    denied tenure at a private institution and then
16    · · · · · · · MR. BRAMWELL:· And we will count      16    did find a tenure line job at a public
17    that against your time.                             17    institution, right?
18    BY MS. WERMUTH:                                     18    · · A.· ·You know, again, I would have to look at
19    · · Q.· ·Well, look, we can -- you can take the     19    it for a minute here because there were a lot of
20    opportunity -- I just want to make sure I           20    articles.· Well, I don't think it is a tenure
21    understand.· I mean I know that you read this.      21    track position.· "I now work at a public
22    You cite this article as something you relied on    22    university."· I'm not sure it is a tenure track
23    or considered in forming your opinion.· And so      23    position.
24    your opinion is that it is very rare for folks,     24    · · Q.· ·Okay.· So it is not clear one way or the

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 356 of 408 PageID #:6278


                                                                                             Page 134..137
                                             Page 134                                                  Page 136
·1   other if he obtained a tenure track position,        ·1   · · Q.· ·Yes.· 1, 5.· Thank you.
·2   right?                                               ·2   · · A.· ·All right.· Thank you.· All right.
·3   · · A.· ·Right.· It is not clear.· And in fact, I    ·3   · · Q.· ·What is this article?
·4   think a key thing here is that he indicates "I       ·4   · · A.· ·What is this article?
·5   had no illusion that the administration would        ·5   · · Q.· ·Yeah.· What is Chron?
·6   rubberstamp the decision to hire a faculty member    ·6   · · A.· ·Again, it is a higher ed -- it is a
·7   who had been denied tenure by a university that      ·7   higher ed publication.· It is like -- it is not
·8   rarely does so".                                     ·8   the same as the Chronicle, but it is similar to
·9   · · Q.· ·That's his personal experience, right?      ·9   the Chronicle.· It is an industry publication.
10    · · A.· ·Right.                                     10    · · Q.· ·Are you sure?
11    · · Q.· ·And we don't know if his tenure denial     11    · · · · · · · MR. BRAMWELL:· I'm sorry.· What?
12    was from an R2 school, correct?                     12    · · · · · · · MS. WERMUTH:· I'm just asking if
13    · · A.· ·Right.· And if it was from an R1 school,   13    she is sure.
14    even more so the case.                              14    · · · · · · · THE WITNESS:· It is an industry
15    · · Q.· ·But from this article, we can't tell       15    publication.
16    what type of institution he was denied tenure       16    BY MS. WERMUTH:
17    from, correct?                                      17    · · Q.· ·It is not the Houston Chronicle
18    · · A.· ·Correct.                                   18    newspaper?
19    · · Q.· ·And we can't tell what type of             19    · · A.· ·Well, the Houston Chronicle newspaper
20    institution he found subsequent employment with,    20    does a section like many newspapers about hiring
21    correct?                                            21    and college, and it usually coincides with the
22    · · A.· ·Right.· But the point is that whether      22    applications cycle for undergraduate students.
23    one is denied tenure from an R1 or an R2            23    But it's a report, it is a higher ed report, that
24    institution, it carries a taint, and it makes it    24    is specific to, you know, to universities.

                                             Page 135                                                  Page 137
·1   very hard to get hired.· So again, in the absence    ·1   · · Q.· ·And what is the name of this report that
·2   of, you know, like statistical data, what I'm        ·2   the Houston Chronicle publishes?
·3   providing is first of all, I have 11 years of        ·3   · · · · · · · MR. BRAMWELL:· I'm sorry,
·4   experience or more than that even, if I include      ·4   objection.· It has not been identified as an
·5   being a department chair, with cases like this.      ·5   article published by the Houston Chronicle.
·6   And we are looking at available anecdotal            ·6   BY MS. WERMUTH:
·7   information, a number of case studies that have      ·7   · · Q.· ·You can answer.
·8   been provided.                                       ·8   · · A.· ·So it is an article about higher
·9   · · · · · · · · · · · · You see basically a          ·9   education in a section, like the New York Times
10    restatement of my assessment that once you are      10    does a section about higher education usually in,
11    denied tenure whether it is by an R1 or R2          11    I think it is in the Spring.· The Post does one.
12    institution, it is very difficult to get a job.     12    The Houston Chronicle does one.· The LA Times
13    You carry that, like this guy said.· He was         13    does one.
14    afraid that he would not get hired.· And even,      14    · · · · · · · · · · · ·So it is -- usually they
15    you know, spoke it out loud to the dean that he     15    have reporters who have expertise in higher
16    was a hiring risk, because he was.                  16    education put together these sections.
17    · · · · · · · MS. WERMUTH:· Gina, can you read my   17    · · Q.· ·Okay.· So is this from the Houston
18    question back, please?                              18    Chronicle?
19    · · · · · · ·(Previous question read).              19    · · A.· ·It is a higher education section, and it
20    · · · · · · · THE WITNESS:· Correct.                20    is published by the Chronicle.
21    BY MS. WERMUTH:                                     21    · · Q.· ·The Houston Chronicle?
22    · · Q.· ·Okay.· That was my question.· Thank you.   22    · · A.· ·It is a publication that is devoted to
23    Exhibit 15, please?                                 23    higher education.
24    · · A.· ·15, right?                                 24    · · Q.· ·I'm sorry.· When you say it is the

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 357 of 408 PageID #:6279


                                                                                             Page 138..141
                                             Page 138                                                  Page 140
·1   Chronicle, the Houston Chronicle?· Are we talking    ·1   the things that she had as a tenure track faculty
·2   about the same publication?                          ·2   member, so felt like in many ways better.· She
·3   · · A.· ·Yes.                                        ·3   felt better about what she was doing.
·4   · · Q.· ·And do you know this author, Robin          ·4   · · Q.· ·Okay.· So I'm looking at the book and
·5   Elizabeth Margolis?                                  ·5   there is a chapter in Section 5, Chapter 26,
·6   · · A.· ·I do not.                                   ·6   called My Tenure Denial by Grace Park.· Is that
·7   · · Q.· ·Do you know if she is a specialist in       ·7   the chapter you are referring to?
·8   higher education reporting?                          ·8   · · A.· ·Yes.
·9   · · A.· ·I do not.                                   ·9   · · Q.· ·So that's another anecdotal story about
10    · · Q.· ·Now, you also referred in your report to   10    her tenure denial and moving on from that?
11    a manuscript Presumed Incompetent.· Mr. Bramwell    11    · · A.· ·Right, correct.
12    was gracious enough to send me a copy of the        12    · · Q.· ·Okay.· I would like to turn to Exhibit
13    book, but it is a book, and so I'm curious about    13    3.3.· We have looked at this before.· We are
14    what portions of the book you relied upon in        14    coming back to it.· These are the UNC College of
15    reaching your conclusions?                          15    Communication guidelines?
16    · · A.· ·So there is one -- so you can see these    16    · · A.· ·Okay.
17    articles, what I'm trying to do is share with you   17    · · Q.· ·And interestingly, and I have to ask
18    a number of cases and case studies.· And it is      18    this question.· So I got that copy in connection
19    fine that they are -- they are individual           19    with your report.· So it was attached as an
20    anecdotes, some of them published in the            20    exhibit to your report.· In response to the
21    Chronicle of Higher Ed, some of them published in   21    subpoena I sent to you, Mr. Bramwell also sent me
22    other publications, in which people tell their      22    Exhibit 21.· Will you take a look at that?
23    individual stories about what has -- what           23    · · A.· ·Okay.
24    happened to them after they were denied tenure.     24    · · Q.· ·And this document has the title -- I'm

                                             Page 139                                                  Page 141
·1   So there is a chapter in that, I think the editor    ·1   sorry.· Let me start over.· This PDF file has a
·2   is Neiman (phonetic) I think.                        ·2   title that says Template Task Force Personnel
·3   · · · · · · · · · · · ·Okay.· So there is a          ·3   Procedures Corrected 4.26
·4   chapter in that book that I just mentioned by, I     ·4   (00058788-3).docs-communication 1-1.· Do you see
·5   think it is Grace Park, and it is about like what    ·5   that?
·6   I -- what happened after my tenure denial.· So       ·6   · · · · · · · MR. BRAMWELL:· I'm sorry, I don't.
·7   because I was looking for, you know, information,    ·7   I apologize.· We are looking at 22?
·8   whether it is statistical data or individual case    ·8   · · · · · · · MS. WERMUTH:· 21.
·9   studies of people who had been denied tenure and     ·9   · · · · · · · MR. BRAMWELL:· Oh, I'm sorry.· That
10    what they did, the chapter on my tenure denial      10    would explain my confusion.
11    came up in my search.                               11    · · · · · · · THE WITNESS:· Yes.
12    · · · · · · · · · · · ·So that is the -- so then    12    BY MS. WERMUTH:
13    I used that book, but I used just the my tenure     13    · · Q.· ·So that is the title of the PDF file as
14    denial chapter because that is what was germane     14    it looked when it was sent to me by Mr. Bramwell.
15    to the -- to what I was looking at.· I believe      15    Do you understand what that document title is?
16    that's the one in which the individual said that    16    Is that something that -- let me just strike
17    after tenure denial, she was -- she had a really    17    that.· Did you title this particular document
18    hard time -- and I think even at the time of the    18    with that title?
19    publication of that book, was still trying to get   19    · · A.· ·I did not.
20    a stable job, a tenure track job, or even an        20    · · Q.· ·Okay.
21    adjunct job that lasted more than a year or more    21    · · A.· ·I don't even know what those numbers --
22    than a short term period.                           22    I don't know what those numbers are.
23    · · · · · · · · · · · ·But she did say that even    23    · · Q.· ·Okay, okay.· So you don't know what this
24    though she did not have job stability and many of   24    reference to corrected 4.26 is?

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 358 of 408 PageID #:6280


                                                                                             Page 142..145
                                             Page 142                                                  Page 144
·1   · · A.· ·No.                                         ·1   · · A.· ·Yes.
·2   · · Q.· ·So this is not the document that you        ·2   · · Q.· ·And I see that there is like bates
·3   relied on in forming your opinion?                   ·3   labeling confidential at the bottom of the page,
·4   · · A.· ·So what you are trying to do is point       ·4   and then there is this other labeling that says
·5   out a difference between 21 and 3.3?· Is that it?    ·5   Calvente-DePaul with some numbers that follow.
·6   · · Q.· ·I'm not trying to do that.· I'm trying      ·6   Do you see that?
·7   to find out -- both of these documents were          ·7   · · A.· ·Yes.
·8   produced to me in connection with the subpoena.      ·8   · · Q.· ·And you said you signed a
·9   · · A.· ·Right.                                      ·9   confidentiality order?
10    · · Q.· ·So I don't understand -- I'm trying to     10    · · A.· ·Yes.
11    understand what the 2 documents are.· One was       11    · · Q.· ·Or I'm sorry, a confidentiality
12    attached to your report.· So I'm assuming you       12    agreement?
13    relied on the one attached to your report,          13    · · A.· ·Yes.
14    correct?                                            14    · · Q.· ·And can you tell me what that requires
15    · · A.· ·Yes.· I mean I don't know that there is    15    of you?
16    a difference between the 2.· So it's hard for me    16    · · A.· ·That I don't talk about this case with
17    to know without looking at them closely.            17    anyone.· I can talk about it with Jerry -- well,
18    · · Q.· ·Yeah.· I haven't asked that question.      18    you.
19    I'm just wondering like if you know what this       19    · · Q.· ·Understood.· Thank you.· Okay.· Now, I
20    document with this title Template Task Force        20    see here on Exhibit 3.2 in the first paragraph,
21    Personnel Procedures -- like is that a document     21    in the middle of it, it says "the standards set
22    you ever seen before?                               22    forth are consistent with the current university
23    · · A.· ·I have not seen that document title        23    faculty handbook in making tenure and promotion
24    before.                                             24    recommendations."· Do you see that?

                                             Page 143                                                  Page 145
·1   · · Q.· ·Okay.· So would it be safe to use           ·1   · · A.· ·Yes.
·2   Exhibit 3.3, which was attached to your report as    ·2   · · Q.· ·Did you, like you did with the UNC
·3   the UNC College of Communication -- I'm sorry,       ·3   guidelines, did you reference DePaul University's
·4   Department of Communication Promotion Guidelines?    ·4   faculty handbook?
·5   · · A.· ·Yes.                                        ·5   · · A.· ·I don't know that I was able to find the
·6   · · Q.· ·Okay.· Thank you.· I won't look at 21       ·6   DePaul faculty handbook.· So it wasn't right in
·7   anymore.                                             ·7   the document, so I did not.
·8   · · A.· ·Okay.                                       ·8   · · Q.· ·Okay.· All right.· And I'm sorry because
·9   · · Q.· ·Okay.· So we are going to go back to        ·9   we are going to be -- and I will leave it to you
10    Exhibit 3.3 then.· I just needed clarification on   10    to figure out how you want to manage this, but we
11    what that other document was because I don't        11    are going to be looking at your report, DePaul
12    think we know.· Okay.· Actually let me go quickly   12    College of Communication Guidelines, and UNC
13    -- I'm sorry to do this to you, to Exhibit 3.2      13    Guidelines sort of variously.· I am going to be
14    which are the DePaul guidelines?                    14    jumping from document to document.· It is going
15    · · A.· ·Okay.                                      15    to be a little clunky.· Bear with me.· I only can
16    · · Q.· ·I'm sorry.· I should say the DePaul        16    get one up at a time myself.· I just wanted to
17    College of Communication Guidelines?                17    give you fair warning.
18    · · A.· ·Alrighty.                                  18    · · · · · · · · · · · ·I would like you to go
19    · · Q.· ·And to be clear, these were -- these       19    back to your report for the moment.
20    were not guidelines that you sourced on your own    20    · · A.· ·Okay.
21    on the internet like you did with UNC?              21    · · Q.· ·And to look at page 3.
22    · · A.· ·Correct.                                   22    · · A.· ·Okay.
23    · · Q.· ·These were provided to you by Mr.          23    · · Q.· ·So in the first half of this page, tell
24    Bramwell?                                           24    me if I'm wrong, you compare what you refer to as

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 359 of 408 PageID #:6281


                                                                                             Page 146..149
                                             Page 146                                                  Page 148
·1   2 parallel provisions or sections of UNC's           ·1   just want to know would you say that completing
·2   College of -- Department of Communication            ·2   and disseminating outside of DePaul is another
·3   Guidelines and DePaul's College of Communication     ·3   way of saying producing scholarship?
·4   Guidelines?                                          ·4   · · · · · · · MR. BRAMWELL:· Objection, beyond
·5   · · A.· ·Yes.                                        ·5   the scope of the expert retention.· Go ahead.
·6   · · Q.· ·And you say, it is your premise, I          ·6   · · · · · · · THE WITNESS:· So as I said before,
·7   believe, that UNC's Department of Communication      ·7   one could complete a project and disseminate it
·8   tenure expectations are more demanding than          ·8   outside of DePaul, but it could be a pamphlet
·9   DePaul's.· Is that right?                            ·9   that is thrown into the lake.· I mean
10    · · A.· ·Yes.                                       10    disseminating it beyond DePaul, it's a very --
11    · · Q.· ·You say that that is apparent just on      11    frankly it was very unusual, but it doesn't
12    the face of the 2 documents, the 2 policy           12    necessarily mean it is scholarly.· It just means
13    guidances, right?                                   13    it is done and it appears somewhere other than in
14    · · A.· ·Yes.                                       14    internal communications.
15    · · Q.· ·And you refer specifically to a            15    BY MS. WERMUTH:
16    provision in the DePaul guidelines on page 4        16    · · Q.· ·Well, except that the guidelines do go
17    where the criteria of scholarship is elaborated     17    on to identify the types of acceptable
18    upon, right?                                        18    production, correct?
19    · · A.· ·Uh-huh.                                    19    · · A.· ·That's true.
20    · · Q.· ·Yes?                                       20    · · Q.· ·It doesn't say that you can get tenure
21    · · A.· ·Yes.                                       21    if you complete a pamphlet and throw it in the
22    · · Q.· ·Okay.· And you point specifically to       22    lake, does it?
23    this -- these 2 sentences, "scholarship, research   23    · · A.· ·It does not.
24    and/or creative activities are expected of each     24    · · Q.· ·Right.· It doesn't say you can get

                                             Page 147                                                  Page 149
·1   faculty member within the College of                 ·1   tenured if you write an article for the
·2   Communication.· Faculty members should be able to    ·2   Washington Post, right?
·3   demonstrate success at completing projects and       ·3   · · · · · · · MR. BRAMWELL:· I'm going to object
·4   disseminating the results of these projects in       ·4   to this line of questioning on best evidence
·5   academic and artistic arenas beyond DePaul."· Do     ·5   grounds.
·6   you see that?                                        ·6   BY MS. WERMUTH:
·7   · · A.· ·Yes.                                        ·7   · · Q.· ·You can answer.
·8   · · Q.· ·You would agree with me that completing     ·8   · · A.· ·That's a very -- that's a very freighted
·9   and disseminating projects beyond DePaul is a way    ·9   question given recent developments in higher ed
10    of saying getting published or producing            10    about publication in newspaper and so on.· But it
11    scholarship?· You would agree with that?            11    does not say that.
12    · · A.· ·It is a way -- it is a base minimum of     12    · · Q.· ·You again say there is no reference to
13    completing, yes, completing scholarship -- you      13    excellence in this particular provision.· Is that
14    could be -- they could be published in the          14    right?· In DePaul's guidelines, right?
15    Washington Post or the Houston Chronicle.· It       15    · · A.· ·Correct.
16    doesn't talk about excellence, or, you know, like   16    · · Q.· ·Okay.· Now, I would like for you to look
17    the UNC talks about a programmatic, for example,    17    at UNC's guidelines, which is 3.3?
18    and it uses the expectation of excellence, which    18    · · A.· ·Yes.
19    is absent in the DePaul criteria.                   19    · · Q.· ·Go to page 4.· This is the part that you
20    · · Q.· ·Okay.· So hang on.· So my first question   20    cite regarding expectations for research for
21    was would you agree that completing projects and    21    tenure and promotion, right?
22    disseminating them beyond DePaul is another way     22    · · A.· ·Correct.
23    of saying producing scholarship?· That's my only    23    · · Q.· ·All right.· And so when you look at page
24    question.· I didn't ask you about excellence. I     24    4, the general standards, which precedes that

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 360 of 408 PageID #:6282


                                                                                             Page 150..153
                                             Page 150                                                  Page 152
·1   same -- precedes the section on research, right?     ·1   to excellence in section C on page 4 of UNC's
·2   · · A.· ·Yes.                                        ·2   guidelines under general standards?
·3   · · Q.· ·Are you with me?· Okay.· According to       ·3   · · A.· ·I would not agree.· The word appears
·4   the general standards, there is basically 3          ·4   twice.· Excellence appears twice.· And what it
·5   categories of criteria that are considered,          ·5   says, what it says is, you know, this is again
·6   right?                                               ·6   standard at research institutions, your work
·7   · · A.· ·Yes.                                        ·7   effort and the way you're assessed in your tenure
·8   · · Q.· ·The first being research or scholarship,    ·8   is basically 60 percent on your research, 40
·9   yes?                                                 ·9   percent, 30 or 40 percent on your teaching, and
10    · · A.· ·Yes.                                       10    then like 10 percent on your service.
11    · · Q.· ·The second being teaching, correct?        11    · · · · · · · · · · · ·So what it says is you
12    · · A.· ·Yes.                                       12    can't be just excellent on service because it is
13    · · Q.· ·And the third being service, right?        13    not the key thing.· They expect excellence in
14    · · A.· ·Yes.                                       14    research and teaching.· And service, you know,
15    · · Q.· ·And so with respect to these 3             15    excellence is important or it is key, but it
16    categories, UNC requires excellence in 2 of them,   16    doesn't count as much.· It is not going to carry
17    right, research and teaching?                       17    the day.· And that's why it mentions excellence
18    · · A.· ·Right.                                     18    twice in that point.
19    · · Q.· ·And not necessarily excellence in          19    · · Q.· ·So okay.· I have a couple of questions
20    service, right?                                     20    here.· So what this provision C in the first
21    · · A.· ·Well, they say service is not a            21    sentence says is that service is a further
22    substitute for excellence in research and           22    additional consideration in the overall
23    excellence in teaching, but you know, service to    23    assessment, right?
24    the department, the university committee, and       24    · · A.· ·Yes.
                                             Page 151                                                  Page 153
·1   state, it is not going to be the thing that an       ·1   · · Q.· ·But is not a substitute for excellence
·2   individual does not get tenure, based on that if     ·2   in the other 2 areas?
·3   they are strong in the other 2 areas.· But           ·3   · · A.· ·Right.
·4   strength in service, you know, whether UNC or        ·4   · · Q.· ·Okay.· And by the way, when you just
·5   other R1 institutions is certainly an                ·5   gave me this breakdown of 60, 30, 10, there is
·6   expectation.                                         ·6   nothing in these guidelines that provide for that
·7   · · Q.· ·So here is my question.· You point to       ·7   sort of waiting.· Would you agree with me?
·8   the absence of the word excellence in the one        ·8   · · A.· ·They are not -- well, I think that there
·9   piece of DePaul's criteria that you quote in your    ·9   are -- the percentages aren't baked in there, but
10    report, right, as meaning they don't require        10    it is how it is basically understood because it
11    excellence, right?· Yes?                            11    has to do with your teaching load and the amount
12    · · A.· ·No.· I think there is an overall lack of   12    of time that you have available for research, and
13    expectation of excellence articulated in the        13    therefore you have only, you know, 2-2 or a 2-1.
14    DePaul criteria.                                    14    And sometimes letter of appointment include those
15    · · Q.· ·We will come back to that.· You mention    15    percentages.· Sometimes tenure documents at R1
16    on page 3 of your report the provision of           16    institutions actually tell the tenure reviewer
17    DePaul's guidelines, College of Communication       17    what the breakdown is.· It's usually again, it's
18    Guidelines, right, and say -- and you point --      18    like 60 percent research, 60, 30, 10.· It is a
19    you quote that because there is an absence of a     19    very common breakdown.
20    requirement of excellence articulated in that       20    · · Q.· ·UNC's guidelines do not provide that
21    provision, right?                                   21    breakdown, correct?
22    · · A.· ·In research.                               22    · · A.· ·They do not.
23    · · Q.· ·In research, right, okay.· So would you    23    · · Q.· ·All right.· Can you go to Exhibit 3.2
24    agree with me that there is no specific reference   24    which is the DePaul College of Communication

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 361 of 408 PageID #:6283


                                                                                             Page 154..157
                                             Page 154                                                  Page 156
·1   Tenure and Promotion Guidelines?                     ·1   know what section we are in.· So this is the
·2   · · A.· ·Okay.                                       ·2   section of the guidelines relating to formal
·3   · · Q.· ·And could you go to page 16, please --      ·3   review, personnel committee reports, and voting.
·4   well, strike that.· Go to page -- first, let's go    ·4   Do you see that?
·5   to page 4.                                           ·5   · · A.· ·Yes.
·6   · · A.· ·Okay.                                       ·6   · · Q.· ·So now we are in a portion of that
·7   · · Q.· ·Okay.· And so page 4, under the piece       ·7   guidelines that puts some meat on the bones with
·8   that says criteria for scholarship research          ·8   respect to process.· Would you agree?
·9   and/or creative activities, do you see that          ·9   · · A.· ·Yes.
10    section?                                            10    · · · · · · · MR. BRAMWELL:· Objection to the
11    · · A.· ·Right.                                     11    characterization of meat on the bones.
12    · · Q.· ·And that first paragraph is what you       12    BY MS. WERMUTH:
13    quote from for purposes of your report, correct?    13    · · Q.· ·That was a yes?
14    · · A.· ·Yes.                                       14    · · A.· ·This section is about formal review.
15    · · Q.· ·Okay.· And then you will see that the      15    · · Q.· ·Well, it goes beyond formal review.
16    section actually goes on for 6 pages or so,         16    Let's look at page 16.
17    correct?                                            17    · · A.· ·I'm at 16.
18    · · A.· ·Right.                                     18    · · Q.· ·Okay.· And the last sentence on that
19    · · Q.· ·So it goes on to identify, for example,    19    page, could you read that, please?
20    on page 5, that scholarship is original             20    · · A.· ·The last sentence, "no ranking should be
21    discovery.· It is integration of the development    21    below very good during this review, but the
22    of knowledge.· It is the application of             22    tenure review -- by the tenure review of faculty
23    knowledge.· Do you see that?                        23    members performance should be excellent in at
24    · · A.· ·Yes.                                       24    least 2 of these areas, and very good in the
                                             Page 155                                                  Page 157
·1   · · Q.· ·And it goes on to say that scholarship      ·1   third.
·2   is going to be evaluated on its originality,         ·2   · · Q.· ·So there is a requirement of excellence
·3   right?                                               ·3   in at least 2 categories at the of tenure under
·4   · · A.· ·Uh-huh.                                     ·4   DePaul's guidelines, yes?
·5   · · Q.· ·It's contribution to knowledge, right?      ·5   · · A.· ·"No ranking should be below very good.
·6   · · A.· ·Yes.                                        ·6   · · Q.· ·So --
·7   · · Q.· ·Its conceptual sophistication, right?       ·7   · · · · · · · MR. BRAMWELL:· I'm sorry.· My
·8   Its intellectual river, correct?                     ·8   witness is still speaking, Ms. Wermuth.
·9   · · A.· ·Right.                                      ·9   · · · · · · · MS. WERMUTH:· I'm just asking about
10    · · · · · · · MR. BRAMWELL:· Objection, best        10    the last sentence.
11    evidence.                                           11    · · · · · · · MR. BRAMWELL:· She is still
12    BY MS. WERMUTH:                                     12    speaking.
13    · · Q.· ·Its application of knowledge to address    13    BY MS. WERMUTH:
14    world problems or human problems, yes?              14    · · Q.· ·Please proceed.
15    · · A.· ·Yes.                                       15    · · A.· ·The last sentence says by the tenure
16    · · Q.· ·And then it goes on to identify the        16    review.· So by the end of the tenure review,
17    types of scholarship that is considered, correct?   17    there is an expectation of excellence.· That's
18    · · A.· ·Yes.                                       18    still -- okay.· So yes, at the end of the tenure
19    · · Q.· ·And so the section on research goes on     19    whereas at UNC there is an expectation in hiring
20    for 6 pages?                                        20    that there is evidence of excellence.· Clear
21    · · A.· ·Yes.                                       21    promise which means clear evidence of excellence
22    · · Q.· ·Okay.· Now, if you would go to page 16     22    throughout.
23    with me for a moment.· So this section -- I'm       23    · · · · · · · · · · · ·So you know, you are
24    sorry.· I'm going to take you to page 14 so we      24    asking these very precise questions, but the main

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 362 of 408 PageID #:6284


                                                                                             Page 158..161
                                             Page 158                                                  Page 160
·1   point still stands.· That there is a much higher     ·1   talking.
·2   expectation of excellence throughout the hiring      ·2   · · Q.· ·Doctor Zaeske, I do want to hear what
·3   and annual review and tenure process at UNC.· It     ·3   you have to say.· In this moment though, I need
·4   also -- there is a requirement for a programmatic    ·4   the court reporter to read my question back.
·5   -- a program of research that interrogates           ·5   · · ·(Question read back)
·6   enduring and significant questions.                  ·6   BY MS. WERMUTH:
·7   · · Q.· ·I don't see anything in the UNC             ·7   · · Q.· ·I was asking you whether there was a
·8   guidelines that talks about interrogation of         ·8   reference to enduring and significant questions
·9   enduring and significant questions.· Can you         ·9   being interrogated in the guidelines.· Do I
10    point me to that, please?                           10    understand you are pointing me to this language
11    · · A.· ·Yeah.· It is right at the beginning.· It   11    on page 4 in response?
12    talks about the -- it is on page 4.· You see        12    · · A.· ·Right.· The language I pointed to was
13    general standards is at the top of the page.        13    sustained and programmatic.
14    Standards of Research.· "The Department of          14    · · Q.· ·Okay.· Returning to page 3 of your
15    Communications expects its faculty to be actively   15    report, Doctor Zaeske.
16    involved throughout their careers in achieving      16    · · A.· ·Okay.
17    scholarly research excellence and/or its            17    · · Q.· ·I think what you're saying at the bottom
18    equivalent form in creative artistic activity.      18    of page 3 -- well, strike that.· Why don't you
19    The Department of Communications requires           19    tell me what distinction you are trying to make
20    sustained, programmatic, that is scholarship that   20    where you start with "another important point of
21    coheres around and investigates thematically one    21    comparison," through the bottom of the page?
22    or more clearly defined research problematics,      22    · · · · · · · MR. BRAMWELL:· I'm sorry.· Where
23    production of scholarship."· And then so on.        23    are you?· Oh, I'm looking at the wrong document.
24    · · · · · · · · · · · ·So it is about -- so         24    My apologies.

                                             Page 159                                                  Page 161
·1   that's a big thing that you look at when you are     ·1   · · · · · · · MS. WERMUTH:· Page 3 of the report.
·2   hiring someone and then when you are coaching        ·2   Actually strike that question.
·3   them to -- when you are mentoring them toward        ·3   · · Q.· ·So at the top of page 4, so your
·4   tenure and in the tenure process is whether they     ·4   analysis which follows the quoted sections, let
·5   have a programmatic coherent program of research,    ·5   me take you there.
·6   or whether it is just a bunch of articles on         ·6   · · A.· ·Okay.
·7   different topics, boutique topics of their           ·7   · · Q.· ·So you -- at the bottom of page 3, you
·8   interests scattered around.                          ·8   quote distinct sections from each of the
·9   · · · · · · · · · · · ·So that's why it is really    ·9   guidelines, right?
10    important.                                          10    · · A.· ·Yes.
11    · · · · · · · MS. WERMUTH:· Gina, can you read my   11    · · Q.· ·Okay.· And then at the top of page 4,
12    question back, please?                              12    you provide that "DePaul expects only teaching
13    · · · · · · · THE WITNESS:· Your question was       13    effectiveness where UNC expects proven
14    does --                                             14    excellence, right?
15    · · · · · · · MS. WERMUTH:· Hang on one second.     15    · · A.· ·Yes.
16    · · · · · · · MR. BRAMWELL:· Do not cut my          16    · · Q.· ·And again, this is at the tenure review
17    witness off.                                        17    stage that UNC expects proven excellence in
18    · · · · · · · MS. WERMUTH:· When the court          18    teaching?
19    reporter has received an instruction, she cannot    19    · · A.· ·Yes.
20    take down the record.· I wanted the witness to      20    · · Q.· ·Okay.· Now, you will agree with me that
21    stop talking so we can get what she had to say on   21    UNC also though in its guidelines describes the
22    the record.· Because I had asked Gina a question,   22    teaching requirement as teaching effectiveness?
23    we needed to all stop talking because Gina cannot   23    · · A.· ·UNC uses language about teaching
24    go back and read my question if somebody is         24    effectiveness, yes.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 363 of 408 PageID #:6285


                                                                                             Page 162..165
                                             Page 162                                                  Page 164
·1   · · Q.· ·Right.· Okay.· And as we pointed out,       ·1   · · A.· ·Yeah.· I understand.· Sorry.
·2   DePaul at the time of tenure review requires         ·2   · · Q.· ·"Strong instructor evaluations from both
·3   excellence in 2 of the 3 criteria, right?            ·3   students and peer observers"?
·4   · · A.· ·Right.                                      ·4   · · A.· ·Yes.
·5   · · Q.· ·And one of that criteria is teaching,       ·5   · · Q.· ·"And where appropriate, the publication
·6   right?                                               ·6   of pedagogical material"?
·7   · · A.· ·Right.                                      ·7   · · A.· ·Yes.
·8   · · Q.· ·Okay.· One of those criterion I should      ·8   · · Q.· ·So that's how UNC defines teaching
·9   have said.· That's singular.                         ·9   excellence, right?
10    · · A.· ·Yes.                                       10    · · A.· ·I would say that those are some
11    · · Q.· ·So let's look at page 5 of 3.3, which      11    examples.· You know, when it says includes, you
12    are the UNC guidelines.                             12    know, it would probably be like includes but is
13    · · A.· ·Page 5 of the UNC guidelines, right?       13    not limited to.· There are other ways of
14    · · Q.· ·Yes.· I think that's the right page.       14    demonstrating pedagogical excellence.
15    Give me a minute.                                   15    · · Q.· ·But these are the ones that get
16    · · A.· ·That's standards of teaching is point B.   16    published?
17    · · Q.· ·Yeah, hang on.· Let me make sure that's    17    · · A.· ·You mean in the guidelines?
18    where I want to take you.· No.· I'm sorry.· Page    18    · · Q.· ·Yeah.
19    9.                                                  19    · · A.· ·Right.
20    · · A.· ·I'm there.                                 20    · · Q.· ·So in the document that the up and
21    · · Q.· ·This is specifically in connection with    21    coming probationary faculty member sees and is
22    the guidelines for promotion -- with promotion to   22    going to rely on, right, those are the criteria
23    associate professor with tenure, right?             23    set forth?· Those are the examples of how to
24    · · A.· ·I believe so, yes.                         24    achieve teaching excellence?

                                             Page 163                                                  Page 165
·1   · · Q.· ·Okay.· So if you look at page 8, you        ·1   · · A.· ·Those are -- they are examples.
·2   would see that.· It is Subsection C, associate       ·2   · · Q.· ·Okay.· All right.· So now, if we go to
·3   professor.                                           ·3   DePaul's guidelines, Exhibit 2.2?
·4   · · A.· ·Okay.                                       ·4   · · · · · · · MR. BRAMWELL:· 3.2?
·5   · · Q.· ·So on page 9, so I guess we are at          ·5   · · · · · · · MS. WERMUTH:· I'm sorry.· 3.2.
·6   Subsection big C, little b, on page 9.               ·6   Thank you.
·7   · · A.· ·"Demonstrated commitment to"?               ·7   · · · · · · · MR. BRAMWELL:· No worries.
·8   · · Q.· ·Correct.· So this is the requirement of     ·8   · · · · · · · MS. WERMUTH:· Let me figure out
·9   -- "demonstrated commitment to and achievement of    ·9   what page.· Oh, page 1, look at that.
10    teaching excellence at the time of tenure,"         10    · · Q.· ·So on page 1, there is a section called
11    right?                                              11    Criteria for Teaching.· Do you see that?
12    · · A.· ·Right.                                     12    · · A.· ·Oh, sorry, yes.· I see it.
13    · · Q.· ·And then it goes on in this paragraph to   13    · · Q.· ·All right.· And then there is a -- there
14    explain what a demonstration of teaching            14    is the first sentence, and then there is the
15    excellence includes, right?                         15    second sentence which gives examples of what
16    · · A.· ·Right.                                     16    teaching effectiveness is at DePaul, right?
17    · · Q.· ·Okay.· So according to this document,      17    · · A.· ·Right.
18    "teaching excellence includes the development and   18    · · Q.· ·Okay.· And there is a variety of
19    teaching of a range of courses at the               19    examples given, but I would like to direct your
20    undergraduate and graduate levels," right?          20    attention to the sentence that begins with
21    · · A.· ·Uh-huh.                                    21    "additionally".· So it is 3 lines up from the
22    · · Q.· ·Yes?                                       22    bottom of the page?
23    · · A.· ·Yes.                                       23    · · A.· ·Uh-huh.
24    · · Q.· ·Okay.· Sorry.· We need verbal answers.     24    · · Q.· ·Okay.· So it says "additionally,

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 364 of 408 PageID #:6286


                                                                                             Page 166..169
                                             Page 166                                                  Page 168
·1   teaching is assessed by considering the range of     ·1   looking at one document from the College of
·2   courses taught by the faculty member," right?        ·2   Communications at DePaul and looking at a variety
·3   · · A.· ·Uh-huh.                                     ·3   of documents from the University of North
·4   · · · · · · · MR. BRAMWELL:· Objection, best         ·4   Carolina, did you look at all at like DePaul's
·5   evidence.                                            ·5   mission statement?· Did you give any
·6   BY MS. WERMUTH:                                      ·6   consideration to DePaul's mission?
·7   · · Q.· ·I'm sorry.· Your answer was?· Because we    ·7   · · A.· ·I think I looked on the website, but I
·8   need verbal.                                         ·8   don't see how that is relevant, because the point
·9   · · A.· ·You asked me if I see what you are          ·9   is to compare the criteria by which someone would
10    referring to, and yes, I do.                        10    be hired, you know, and what the expectations
11    · · Q.· ·And that's similar to at least one of      11    were, and if -- I mean DePaul has more of a, as I
12    the examples that UNC gives for excellence?         12    understand it, sort of a mission that is sort of
13    · · A.· ·No.· Again, I don't see these as -- I      13    like a teaching mission and serving a community.
14    don't see these as similar.· First, I note as you   14    That is different from the research mission of an
15    did that teaching is listed first, which is a       15    R1 institution.
16    confirmation that R2 institutions place teaching    16    · · Q.· ·So going back to your report, page 4 of
17    first and not research.· And that's a difference    17    Exhibit 3?
18    in the standards of -- for tenure standards.        18    · · A.· ·Yes.
19    · · · · · · · · · · · ·So that's one thing.· And    19    · · Q.· ·Okay.· The second full paragraph which
20    then, you know, the list of things here that are    20    begins with "there are also significant
21    considered, I think a number of them are assumed    21    differences." Do you see that?
22    that the person wouldn't be in a classroom in a     22    · · A.· ·Yes.
23    place like UNC.· Like command of materials.· Why    23    · · Q.· ·And then the second sentence there says
24    would you put someone in a classroom if they are    24    "the DePaul policy document on tenure and

                                             Page 167                                                  Page 169
·1   not in command of materials.                         ·1   promotion provides no explanation of what an
·2   · · · · · · · · · · · ·So I see a different, you     ·2   assistant professor is expected to do in terms of
·3   know, there is -- it's a different level.· There     ·3   research in order to gain tenure."
·4   is a different level here.· And the other thing      ·4   · · A.· ·Yes.
·5   is that there are -- the graduate -- there is a      ·5   · · Q.· ·Okay.· And you stand by that statement?
·6   very strong -- there are multiple graduate           ·6   · · A.· ·Yes.
·7   programs at UNC, and I'm not aware of -- I don't     ·7   · · Q.· ·So when I take you back to Exhibit 3.2,
·8   think there are graduate programs or strong          ·8   and I take you to page 5?
·9   graduate programs at DePaul.                         ·9   · · A.· ·Uh-huh.
10    · · · · · · · · · · · ·So the faculty members at    10    · · Q.· ·Are you there?
11    DePaul are not engaging in graduate education and   11    · · A.· ·Yes.
12    growing doctorally trained communication            12    · · Q.· ·Do you then take the position that
13    scholars.                                           13    telling faculty in the College of Communication
14    · · Q.· ·Well, there is reference in this very      14    at DePaul that their scholarship must be
15    paragraph to the very last 2 words,                 15    original, must contribute to knowledge, must be
16    "supervision", and on to the next page, "of         16    conceptually sophisticated, must be
17    graduate thesis projects and graduate student       17    intellectually rigorous, that that provides no
18    teaching", right?                                   18    guidance to the faculty member as to what they
19    · · A.· ·Yes.· But I said a doctoral program. I     19    need to do in terms of research?· Is that your
20    don't think it is a doctoral program.· It may be    20    position?
21    a professional program at DePaul in a Master's,     21    · · · · · · · MR. BRAMWELL:· Objection, misstates
22    but I don't think that they have a PhD in           22    the report.· Go ahead.
23    communication.                                      23    · · · · · · · THE WITNESS:· Yes, that is my
24    · · Q.· ·Did you in doing your analysis here,       24    position.· It is not clear what the faculty

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 365 of 408 PageID #:6287


                                                                                             Page 170..173
                                             Page 170                                                  Page 172
·1   member is supposed to do.· By contrast, the UNC      ·1   single authored monograph.· Do you see that.
·2   document provides like, you know, depending on       ·2   · · A.· ·Yep.
·3   the subdiscipline of each -- you know, they have     ·3   · · Q.· ·And just above that you say "most
·4   multiple subdisciplines in their department.         ·4   relevant to this case is the following
·5   It's a department, not a whole college.              ·5   enumeration of publication expectations for
·6   · · · · · · · · · · · ·So what is it that DePaul     ·6   probationary faculty in communication at UNC."
·7   wants the probationary faculty member to do?         ·7   Do you see that?
·8   Like this is the core of mentoring individuals to    ·8   · · A.· ·Yes.
·9   tenure.· They want to know what is it that you       ·9   · · Q.· ·Why do you say that this particular
10    want me to do?· So originality, what does that      10    passage is most relevant to this case?
11    mean?· Or contributing to knowledge?· Or having     11    · · · · · · · MR. BRAMWELL:· Objection, misstates
12    intellectual rigor?· Or applying a theory or        12    the report.
13    something?· So do you want me to write a book?      13    · · · · · · · THE WITNESS:· So in the paragraph
14    Do you want me to write 16 articles?· Do you want   14    above, I say "there are also significant
15    me to do a play or multiple plays, or you know,     15    differences in the specific criteria," and then I
16    make a feature length film, short films?            16    mention something.· And then I just -- you know,
17    · · · · · · · · · · · ·So usually tenure            17    there are a number of things that I mention.· But
18    requirements actually have some articulation of     18    what I wanted to point out specifically was just
19    like the actual product or products that are        19    specifically was this lack of publication
20    expected by the faculty member, the probationary    20    expectations.
21    faculty member, in order to obtain tenure.· And     21    · · · · · · · · · · · ·To me, that seemed like a
22    my point is simply that UNC says what is expected   22    huge difference between the level of like
23    for research and teaching, but particularly         23    excellence in research and the -- I mean, and
24    focusing on research.· I could not find that. I     24    this is common.· It's a common difference between

                                             Page 171                                                  Page 173
·1   could not find that in the DePaul criteria.          ·1   R1 and R2 institutions.· At R1 institutions, you
·2   · · Q.· ·When you look at page 6 of the document     ·2   are expected to publish a single authored
·3   that we are looking at where it lists at length      ·3   monograph with a highly respective academic press
·4   for 2 pages the types of outlets and where --        ·4   and at least 3 substantial articles in peer
·5   what people should do, publish a book, publish       ·5   reviewed journals and to have significant
·6   peer review journal articles, publish edited         ·6   progress on a second monograph for tenure.
·7   books, and so on.· So you're saying that this        ·7   · · · · · · · · · · · ·That is sort of the basic
·8   doesn't give -- that this is the absence of          ·8   thing across the board, whether it is UNC,
·9   articulation of what sort of products the scholar    ·9   Wisconsin, Indiana, Minnesota, or wherever.· And
10    is expected to produce?                             10    that is very different than most, if not all R2
11    · · A.· ·Yes, I'm saying that.· Because what this   11    institutions, where you can be tenured without
12    page says is if books are produced, they are        12    writing a book.· That's the big difference.· You
13    evaluated in this way.· If peer reviewed articles   13    can be tenured without writing a book, or writing
14    are produced, they are evaluated this way.· If      14    a book that is published by like a trade press or
15    edited books are produced -- that's different       15    a much lesser press, or having articles in
16    from saying what is it that you're expected to      16    journals that are not highly cited, that don't
17    produce to get tenure at DePaul.                    17    have a high citation, or don't have a high
18    · · Q.· ·So in looking then at page 4 of your       18    rejection rate.
19    report, back to Exhibit 3?                          19    BY MS. WERMUTH:
20    · · A.· ·I'm there.                                 20    · · Q.· ·So here was my question.· On page 4 of
21    · · Q.· ·Sorry to go back and forth.                21    your report you write this sentence.· "Most
22    · · A.· ·That's okay.· I'm there.                   22    relevant to this case is the following
23    · · Q.· ·You quote from the UNC guidelines, page    23    enumeration of publication expectations for
24    8 of the UNC guidelines, the publication of a       24    probationary faculty in communication at UNC."

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 366 of 408 PageID #:6288


                                                                                             Page 174..177
                                             Page 174                                                  Page 176
·1   And then you quote a passage.· Why is that           ·1   to be different from the dissertation.
·2   particular passage most relevant to this case?       ·2   · · · · · · · · · · · ·So that is what I said.
·3   · · A.· ·Again, because the significant              ·3   So you know, a number of peer reviewed essays or
·4   difference between an R1 institution and how you     ·4   book chapters.· 3 is usually the number that is
·5   hire, and who you are going to hire, and how you     ·5   expected if it's of substantial length, peer
·6   tenure people, is the ability to produce a single    ·6   reviewed.· And that can be sort of nuanced if you
·7   authored monograph that is -- as well as the peer    ·7   book chapters that may be even longer than
·8   reviewed essays.· That is really very different      ·8   articles.· So it goes back and forth.· And that's
·9   from how you hire folks at R2 institutions and       ·9   why it is not a clear algorithm.
10    how they are tenured at R2 institutions.            10    BY MS. WERMUTH:
11    · · · · · · · · · · · ·That expectation of, you     11    · · Q.· ·You had one book that came after your
12    know, publishing at -- publishing with a major      12    tenure review, right?
13    academic press a single authored book and then      13    · · A.· ·My -- the book that was published was
14    having another one well underway just doesn't       14    fully under contract and forthcoming before I
15    exist at R2s.                                       15    went up for tenure.
16    · · Q.· ·You do see from the DePaul guidelines      16    · · Q.· ·But you didn't have a second one in the
17    that the greatest weight is given to a single       17    works at that time?
18    authored monograph at tenure review, right?         18    · · A.· ·No.· I did.· And it formed the basis of
19    · · A.· ·I don't think it said that.                19    one of the articles that I published that was
20    · · Q.· ·Okay.                                      20    included in my tenure dossier, and I included a
21    · · A.· ·That was -- it had a list of all the       21    full outline of the book.· And then I was awarded
22    different -- like different ways one could          22    a year-long fellowship at Harvard to work on the
23    disseminate research, and then it said how it was   23    book.
24    evaluated.· But again, as you see here with UNC,    24    · · Q.· ·A second book?

                                             Page 175                                                  Page 177
·1   and again this is a really standard way of R1        ·1   · · A.· ·Yes, a second book.
·2   saying it, it is a single authored book, at least    ·2   · · Q.· ·What is your second book?· I didn't see
·3   3 peer reviewed articles of substantial length in    ·3   it in your CV.
·4   a prestigious journal, and then evidence of          ·4   · · A.· ·I didn't publish the book because I got
·5   progress on a second book.                           ·5   sucked into administration.
·6   · · · · · · · · · · · ·It is a mantra.· It is        ·6   · · Q.· ·I see.· Fair enough.· Was your book work
·7   like practically tattooed on the forehead of a       ·7   from your dissertation?
·8   probationary faculty member.                         ·8   · · A.· ·The book that was the basis of my tenure
·9   · · Q.· ·But the UNC guidelines don't say at         ·9   dossier?
10    least 3 articles of substantial length in           10    · · Q.· ·Yes.
11    addition to the book.· In fact, the UNC             11    · · A.· ·So it was -- my dissertation was the
12    guidelines say this is not a quantitative --        12    basis of that -- of that book.· What you
13    there is no quantitative algorithm that we apply    13    typically need to do -- not typically.· It's
14    to tenure cases?                                    14    absolutely required.· You can't get credit, like
15    · · · · · · · MR. BRAMWELL:· Objection to best      15    double credit for the same thing, right?· So you
16    evidence, and objection, Counsel is testifying.     16    get the PhD based on one piece of work, the
17    · · · · · · · THE WITNESS:· But as I quoted in my   17    dissertation.· And then tenure committees
18    report, "the publication of a single authored       18    particularly at the -- beyond the department,
19    monograph with a highly regarded university or      19    they look very carefully to see how much
20    academic press is required.· The monograph stands   20    difference there is between the dissertation and
21    at the centerpiece of the candidate's tenure and    21    the book manuscript.
22    promotion file, accompanied by a number of peer     22    · · · · · · · · · · · ·So I did a tremendous
23    reviewed essays and/or book chapters."· And then    23    amount of additional research and wrote
24    it says the monograph has to be original and has    24    additional chapters, which again, you know, I

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 367 of 408 PageID #:6289


                                                                                             Page 178..181
                                             Page 178                                                  Page 180
·1   certainly had to report the differences in           ·1   foregrounded in a way that UNC is, and again,
·2   percentages, like how many new chapters do you       ·2   research institutions, they hire -- they hire
·3   have, and what percentage difference is each         ·3   fast racehorses.· They are supposed to continue
·4   chapter than the dissertation, so you don't get      ·4   to race and race and race and to be productive.
·5   credit twice for the same piece of work.             ·5   I mean -- I mean it is interesting that it says
·6   · · Q.· ·Understood.· Understood.· And you then      ·6   continued capacity to contribute.· That's very
·7   completed that book in the 5 or 6 years post         ·7   sort of back off, back off, in a way that you see
·8   conferral of the PhD?                                ·8   at, you know, in UNC and in other R1s,
·9   · · A.· ·That's right.                               ·9   expectation of productivity throughout the
10    · · Q.· ·Which is would you say about what you      10    career.
11    would expect a faculty member to do for a single    11    · · Q.· ·So when you say racehorses, you are
12    authored monograph?                                 12    talking about faculty who demonstrate capacity to
13    · · A.· ·Absolutely, especially for the first       13    churn out a high level of high quality
14    book.· You know, sometimes the second book, if it   14    scholarship?· Is that what you mean by racehorse?
15    is more ambitious, and it involves a lot of         15    · · A.· ·Yeah.
16    international travel, that might take more than 5   16    · · Q.· ·Would you say that working -- like
17    years, and you are not under the tenure gun.        17    working on a book, but not having it published
18    · · Q.· ·Now, the last point I think you make in    18    within the first 10 years, is that person a
19    your report in terms of comparison of the 2 sets    19    racehorse?
20    of guidelines is that UNC expects continuing        20    · · A.· ·It depends on -- again, like what the --
21    achievements and DePaul does not, right?            21    if someone is doing a study that, you know,
22    · · A.· ·Yes.                                       22    involves multiple languages, or you know, has
23    · · Q.· ·Now, if you look at the DePaul             23    just a tremendous number of archives, and has,
24    guidelines, Exhibit 3.2?                            24    let's say, run into difficulties, that would --

                                             Page 179                                                  Page 181
·1   · · A.· ·Okay.                                       ·1   so that could be a qualification.· But you would
·2   · · Q.· ·Page 20.· In the paragraph, Tenure and      ·2   expect research productivity, yeah, a book to be
·3   Promotion to Associate Professor.· Are you with      ·3   published within 7 years.
·4   me?                                                  ·4   · · · · · · · MS. WERMUTH:· Okay.· All right.· If
·5   · · A.· ·Yes.                                        ·5   we can take a quick break, I may have just a
·6   · · Q.· ·The middle of that paragraph, there is a    ·6   couple of follow-up questions.· Can we do that?
·7   sentence that begins "the candidate must             ·7   · · · · · · · MR. BRAMWELL:· Sure.· Come back at
·8   demonstrate."· Do you see that?                      ·8   what time?· 2:27, 2:28?
·9   · · A.· ·Yep.                                        ·9   · · · · · · · MS. WERMUTH:· How about 2:30?
10    · · · · · · · MR. BRAMWELL:· I'm sorry.· Can you    10    · · · · · · · MR. BRAMWELL:· 2:30, okay.
11    help me out here?                                   11    · · ·(Off the record at 2:24 to 2:33)
12    · · · · · · · MS. WERMUTH:· Sure.· Page 20, first   12    · · · · · · · MS. WERMUTH:· So back on the
13    paragraph, which is a big one.· Right in the        13    record.· At this point in time, I have no further
14    middle --                                           14    questions for you.
15    · · · · · · · MR. BRAMWELL:· Got it.· Got it.       15    · · · · · · · MR. BRAMWELL:· I have a few.· And
16    BY MS. WERMUTH:                                     16    first of all, I just received a text that you
17    · · Q.· ·"Continued capacity to contribute to       17    might not be able to see me.· Is my video on?
18    DePaul's mission of academic excellence."· Do you   18    · · · · · · · THE WITNESS:· I can see.
19    see that?                                           19    · · · · · · · · · EXAMINATION
20    · · A.· ·Yes.                                       20    · · · · · · · · BY MR. BRAMWELL:
21    · · Q.· ·So there is an expectation at DePaul for   21    · · Q.· ·Doctor Zaeske, just a few questions
22    continued excellent contributions, yes?             22    based on the questions that Ms. Wermuth asked
23    · · · · · · · MR. BRAMWELL:· Objection.             23    you.· I understand before we went on break, Ms.
24    · · · · · · · THE WITNESS:· Again, it is not        24    Wermuth, and I won't get the question exactly

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 368 of 408 PageID #:6290


                                                                                             Page 182..185
                                             Page 182                                                  Page 184
·1   right, but she asked you something like if you       ·1   whether they are R1s or R2s?
·2   would be expected to publish a book within 10        ·2   · · A.· ·Yes, that's what it does.
·3   years.· Am I understanding that question             ·3   · · Q.· ·This is a website that is easy to
·4   correctly?                                           ·4   access?
·5   · · A.· ·I think the question was is it              ·5   · · A.· ·Yes.
·6   reasonable to expect publication of a book within    ·6   · · Q.· ·And you as an academic would rely on
·7   10 years I think of -- well, I answered it both      ·7   this website in determining what is an R1 and
·8   in terms of being an assistant professor and         ·8   what is not an R1 -- strike that.· You as an
·9   being a post-tenure.· But publishing a book,         ·9   academic would use this website to determine what
10    let's say the first book on the tenure track, R1    10    is an R1 and what is an R2?
11    institutions, you know, balance the research,       11    · · A.· ·Right, yes, correct.
12    teaching obligation to give lesser teaching in      12    · · Q.· ·I think that Ms. Wermuth asked you about
13    order that faculty can focus on publication.        13    Yale being an R1?
14    · · · · · · · · · · · ·So it is the expectation     14    · · A.· ·Yes.
15    that a book would be published within, you know,    15    · · Q.· ·I search -- I put Yale into a search by
16    the -- within the tenure window, certainly within   16    institution name.· Is that how you would
17    10 years.· If someone has a higher teaching load,   17    determine --
18    which is often and usually the case at R1s --       18    · · A.· ·Yes.
19    excuse me, at R2 universities, then they would      19    · · Q.· ·So if I put Yale in, I see now a web
20    have less time available for doing research         20    page that goes -- shows me an institution Yale
21    because the focus is on teaching.· And then         21    University with a hyperlink?
22    taking more than, you know, 10 years or more to     22    · · A.· ·Yes.
23    publish a book would be reasonable because you      23    · · Q.· ·If I click on that hyperlink, would this
24    don't -- you have a much heavier teaching load      24    give me -- would this take me to a page that

                                             Page 183                                                  Page 185
·1   and you don't have as much time for research.        ·1   shows me the Carnegie Classification for Yale?
·2   · · Q.· ·All right.· Remember that Ms. Wermuth       ·2   · · A.· ·Right.· This is similar to another one
·3   asked you some questions about various schools       ·3   that was in my report.
·4   and where they fell in the Carnegie                  ·4   · · Q.· ·Now, this shows Yale as an R1.· Would
·5   Classifications?                                     ·5   you agree that Yale is an R1?
·6   · · A.· ·Yes.                                        ·6   · · A.· ·Yes.
·7   · · Q.· ·I'm going to share my screen, or at         ·7   · · Q.· ·Let's start over.· Ms. Wermuth asked you
·8   least I'm going to try to share my screen.· I'm      ·8   about Northwestern University; is that right?
·9   sorry.· Let me just turn this phone off.· Doctor     ·9   · · A.· ·Yes.
10    Zaeske, I hope I have done this correctly. I        10    · · Q.· ·If I type Northwestern, there is a bunch
11    have pulled up a website called                     11    of things that pop up.· One of them is
12    Carnegieclassifications.IU.EDU/lookup/lookup.PHP.   12    Northwestern University in Evanston, Illinois?
13    Is that what is showing up on your screen?          13    · · A.· ·Yes.
14    · · A.· ·Yes.                                       14    · · Q.· ·If I click on that hyperlink, what does
15    · · Q.· ·Are you familiar with this website?        15    it say its Carnegie Classification is?
16    · · A.· ·Yes.                                       16    · · A.· ·Very high, R1.
17    · · Q.· ·How are you familiar with it?              17    · · Q.· ·That means it is an R1?
18    · · A.· ·Well, I looked at it when I was, you       18    · · A.· ·Yes.
19    know, trying to explain what Carnegie -- explain    19    · · Q.· ·Let's start over again.· We also have
20    to others in a more general sense what the          20    the University of Chicago?
21    Carnegie Classifications are, for the report, for   21    · · A.· ·Yes.
22    the report for this proceeding.                     22    · · Q.· ·We got the University of Chicago, a
23    · · Q.· ·Now, does this website permit you to       23    private not-for-profit institution in Chicago,
24    enter in an institution's name and determine        24    Illinois?

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 369 of 408 PageID #:6291


                                                                                             Page 186..189
                                             Page 186                                                  Page 188
·1   · · A.· ·Yes.                                        ·1   Princeton, all 3 of them in particular, they hire
·2   · · Q.· ·Click on the hyperlink.· Does that say      ·2   not to tenure.
·3   what its Carnegie Classification is?                 ·3   · · · · · · · · · ·`The R1s, and certainly the
·4   · · A.· ·Yes, very high, R1.· That makes it an       ·4   public schools like UNC, and even Northwestern,
·5   R1.                                                  ·5   it isn't public, but even at Northwestern, they
·6   · · Q.· ·If we were to use this website that I       ·6   hire to tenure.· They would not take -- they
·7   pulled up earlier that I just showed you, would      ·7   would not just do someone a favor.· They have to
·8   that tell you what is an R1 and R2?                  ·8   hire people that have a clear record of
·9   · · A.· ·Yes, it would.                              ·9   productivity established that shows that they
10    · · Q.· ·Just for fun, let's click on DePaul.       10    will -- that they will be able to gain tenure.
11    When I type DePaul in, I see DePaul University.     11    And again, that's the key thing that you look at
12    And I click on that, what does it show?             12    when you are -- as a department when you are
13    · · A.· ·High research activity, so that's R2.      13    interviewing people before you extend them an
14    · · Q.· ·Okay.· Ms. Wermuth asked you some          14    over, the deans look at it.
15    questions, which at least I interpreted as          15    · · · · · · · · · · · ·And you know, I'll just
16    suggesting that she may believe that UNC hired      16    also add this as personal experience.· You know,
17    Doctor Calvente as a favor to her.· Now, she        17    when I was asked about my CV, again, you said it
18    doesn't need to say whether she believes that or    18    is okay to call you Anna.
19    not.· That's how I interpreted those questions.     19    · · · · · · · MS. WERMUTH:· Of course.
20    Do you have an opinion as to whether UNC hired      20    · · · · · · · THE WITNESS:· When Anna asked me
21    Doctor Calvente as a favor to her?                  21    about my CV, you noted my degrees are from UW
22    · · · · · · · MS. WERMUTH:· Objection to the form   22    Madison.· It was very unusual that I was hired at
23    of the question.· The narrative portion in          23    the institution where I earned by PhD, and I had
24    particular that preceded the question ought to be   24    to pass a higher bar to be hired, and I had to

                                             Page 187                                                  Page 189
·1   stricken as narrative and argument.· And I object    ·1   meet higher expectations to be hired.· So for
·2   to form.                                             ·2   example, I had to have offers from 2 other R1
·3   · · · · · · · MR. BRAMWELL:· You can file any        ·3   institutions on the table to show the dean when I
·4   motion you want to strike.                           ·4   was hired at Wisconsin to convince them that my
·5   · · Q.· ·Doctor Zaeske, feel free to answer.         ·5   department wasn't just trying to hire me because
·6   · · A.· ·So I -- you know, I won't opine -- I        ·6   I was one of their own.
·7   really try not to -- I'm not opining on anything     ·7   · · · · · · · · · · · ·They also -- 2 of my
·8   on the tenure denial or the hiring.· But what I      ·8   faculty had been non-renewed and then 2 retired,
·9   can say is general -- how things work, how things    ·9   so there was no fear of duplicating, you know,
10    work in higher ed.· All right.· It is right now     10    like I was duplicating my existing faculty.· So
11    because, and really always, and certainly in the    11    you know, there had to be other circumstances.
12    last 10 years, budgets are so tight that            12    And finally the dean said you have to go
13    institutions cannot make mistakes in hiring         13    somewhere else at some point, you know, fairly
14    because if you do not -- if someone does not get    14    early in your career, which drove me to go to
15    tenure or is not tenured or non-renewed, then a     15    Harvard.· You know, it is one of the reasons to
16    department will lose its chance, probably lose      16    get an idea of what another school was like.
17    its chance to hire again for a long time.           17    · · · · · · · · · · · ·So I'm saying that
18    · · · · · · · · · · · ·Also a tremendous amount     18    institutions that end up hiring their own don't
19    of money is invested in getting research programs   19    do it lightly.· The other thing is it is also
20    started up, even in the humanities, you know,       20    different if you hire someone who has been away
21    much less like in the lab sciences.· And also it    21    for a number of years.· So this year, I have an
22    affects morale.· It takes a tremendous amount of    22    example, we are hiring a historian who has been
23    time to mentor.· So other than those Ivy's that I   23    at the University of Iowa for 5 or 6 years, and
24    mentioned in my report, like Harvard, Yale, and     24    we felt that it was okay to hire him at UW

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 370 of 408 PageID #:6292


                                                                                             Page 190..193
                                             Page 190                                                  Page 192
·1   Madison.· But the thing was he had put some space    ·1   · · Q.· ·You touched on this a little bit, but
·2   between his time as a graduate student here and      ·2   can you provide a little more color as to why you
·3   the time he would be a faculty member.               ·3   need to be able to demonstrate tenurability to be
·4   · · · · · · · · · · · ·So those are all              ·4   hired at an R1?
·5   considerations, but it is not done lightly.· It      ·5   · · A.· ·You just don't hire people that you
·6   is not considered an ideal practice.· So it would    ·6   don't think are going to make it through the
·7   have to be -- there would have to be good reason.    ·7   process.· You have to be convinced that they are
·8   But beyond that, I will not opine.                   ·8   -- that they are going to meet the criteria for
·9   BY MR. BRAMWELL:                                     ·9   tenure.· And that means there has to be a strong
10    · · Q.· ·All right.· Ms. Wermuth spoke a little     10    body of publication, and it's usually like -- you
11    bit about years of credit.· Do you recall that      11    know, it is much easier to see and to assess
12    line of questioning?                                12    publication -- publication record and the
13    · · A.· ·Yes.                                       13    likelihood of continuing a publication record
14    · · Q.· ·Okay.· Would you give years of credit at   14    than it is to assess teaching, unless it is at a
15    the University of Wisconsin if the faculty member   15    peer institution.
16    that you were seeking to hire came from DePaul?     16    · · · · · · · · · · · ·So if I'm hiring someone
17    · · A.· ·No.· We do not -- if someone has tenure    17    away from Iowa like we just did.· We hired this
18    service -- years of tenure at an institution of,    18    fellow away from Iowa.· He won teaching awards at
19    you know, like an R1, because we are an R1, we      19    Iowa.· There is not that much difference down the
20    would give them -- we would give them years of      20    road, at the R1 down the road.· But the key thing
21    credit.· We would not give years of credit for an   21    is that we have to see indicators of things that
22    R2, and especially not, you know, we certainly      22    have already been accomplished.· You know, we
23    wouldn't give 3 years.· Maybe one, but maybe not.   23    hire graduate students who already have book
24    · · · · · · · · · · · ·So no.· And I'll tell you    24    manuscripts that are finished, right, and who

                                             Page 191                                                  Page 193
·1   right now, faculty members are asking for more       ·1   have, you know, multiple articles published.· So
·2   years, and we have automatic -- on their tenure      ·2   there has to be -- and that's because it is so
·3   clock.· And during the pandemic, we have an          ·3   difficult to get jobs at R1 institutions.· It is
·4   across the board if someone asks for a year or       ·4   so competitive.
·5   even 2 years extension on the tenure clock, we       ·5   · · · · · · · · · · · ·And that's another reason
·6   have been granting it.· So institutions are          ·6   why -- you know, the institutions like UNC, they
·7   lengthening the tenure clock right now.· They are    ·7   have a huge pool of people to hire from because
·8   not shortening the tenure clock.                     ·8   hiring particularly in the humanities, and you
·9   · · · · · · · · · · · ·And again, we don't -- we     ·9   know, communication sort of sits between
10    also would not really give a lot of credence to     10    humanities and social sciences, but really both,
11    teaching evaluations at an institution that is so   11    there has been so little hiring.· So it is a very
12    different from UW Madison.· Like if someone were    12    competitive, a very competitive pool.· It is very
13    teaching at Carlton College, small liberal arts     13    hard to get hired.· That's why you have to stand
14    school, it is so different.· It is so different     14    out with your record.
15    than teaching at UW Madison.· So the teaching       15    · · Q.· ·Okay.· I believe Ms. Wermuth asked you
16    evaluations that they brought in would only be so   16    if there was a qualitative aspect to the tenure
17    predictive, and we would expect a lot more data     17    process, and I think your answer was yes.· Am I
18    to be gathered, you know, with our students.        18    remembering that correctly?
19    · · Q.· ·All right.· Who are University of          19    · · A.· ·Yes.
20    Wisconsin's peer schools?· Would you consider       20    · · Q.· ·Is there also a quantitative element?
21    North Carolina a peer school?                       21    · · A.· ·Yes.· Even again in humanities and
22    · · · · · · · MS. WERMUTH:· Objection, relevance.   22    certainly in the social sciences and the
23    · · · · · · · THE WITNESS:· I mean it's an R1.      23    biological and mathematical and physical
24    BY MR. BRAMWELL:                                    24    sciences, there are qualitative.· So most tenure

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 371 of 408 PageID #:6293


                                                                                            Page 194..197
                                             Page 194                                                 Page 196
·1   cases in humanities, and I think, you know,         ·1   to follow its own, abide by its own policies and
·2   Calvente is in humanities.· I haven't seen the      ·2   procedures, correct?
·3   CV.· It is the one book by a prestigious press      ·3   · · A.· ·Yes.
·4   and then evidence of, you know, significant work    ·4   · · · · · · · MS. WERMUTH:· Objection to the
·5   on, and a concept for the second book.· And then    ·5   question on relevance grounds.· This goes beyond
·6   they look at articles, all right.                   ·6   her opinion, which she has clearly identified her
·7   · · · · · · · · · · · ·So one of the first things   ·7   sole opinion in the report.
·8   is you look at the number of articles.· So that's   ·8   BY MR. BRAMWELL:
·9   a quantitative.· So then the next thing you look    ·9   · · Q.· ·And when you evaluate a -- you have
10    at after the number of articles is how long are    10    obviously evaluated would you say hundreds of
11    the articles.· Are they 3 pages long?· 5 pages     11    files for people looking to be hired and looking
12    long?· That's kind of nothing frankly unless you   12    to obtain tenure?
13    are a philosopher.· Are they more substantial      13    · · A.· ·Yes.
14    like 20 pages long or even 40 pages long?          14    · · · · · · · MS. WERMUTH:· Objection, relevance.
15    · · · · · · · · · · · ·Then the next thing you     15    BY MR. BRAMWELL:
16    look at is the rejection rate of the journals.     16    · · Q.· ·And do you ever deviate from your
17    These are included in the tenure dossier, in the   17    institution's policies and procedures?
18    report written up by the department.· So does      18    · · · · · · · MS. WERMUTH:· Objection, relevance.
19    everyone get published in the journal that the     19    · · · · · · · THE WITNESS:· No, I would be in a
20    prospective -- that the probationary faculty       20    world of hurt if I did that.· I do not.
21    member has published in, or is it really hard to   21    BY MR. BRAMWELL:
22    get published?· You know, what you want to do is   22    · · Q.· ·Why would you be in a world of hurt?
23    you want to publish in journals, peer reviewed     23    · · A.· ·Because shared governance is so strong
24    journals that are really, really hard to get,      24    here.· Another thing is if I were to do that,

                                             Page 195                                                 Page 197
·1   that the acceptance rate is 1 percent, 1 or 2       ·1   let's say when I was on an executive committee in
·2   percent.· Those are the most prestigious.· So we    ·2   my department, other people would argue against
·3   check those.                                        ·3   it, and probably call me out for violating
·4   · · · · · · · · · · · ·The other thing they will    ·4   faculty policies and procedures.· So that would
·5   check is the citation -- the citation rating of     ·5   have been at that level.
·6   an individual faculty member.· That's how many      ·6   · · · · · · · · · · · ·On the divisional
·7   times the book or articles that they have in        ·7   committee, we would have other members of the
·8   publication has been cited by other scholars.· So   ·8   committee would be sort of policing -- policing
·9   that's data.· Sometimes institutions use a thing,   ·9   one another.· And then as an Associate Dean,
10    it is a product, it has a vendor, it is called     10    there would be oversight by the Dean and the
11    academic analytics.· That records all the          11    other Associate Deans, and also the other faculty
12    publications of a faculty member and also their    12    members, like if there -- I have been grieved. I
13    awards, the awards they get, whether they are      13    have been grieved several times, and I have had
14    like a book award or a grant award or a            14    these cases appealed, you know.· We have gone
15    fellowship award.                                  15    through appeals that go out to many levels.
16    · · · · · · · · · · · ·So those are all, you       16    · · · · · · · · · · · ·I think it is much better
17    know, in answer to your question, that's data,     17    to stick to the faculty policies and procedures
18    numerical data, quantitative data.                 18    than to violate them and end up having to go
19    · · Q.· ·And that's for generally obtaining        19    through a very lengthy appeal process, and also
20    tenure at an R1?                                   20    to lose the confidence of colleagues because
21    · · A.· ·That's correct.                           21    you're violating faculty policies and procedures.
22    · · Q.· ·Okay.· You would expect an institution    22    · · Q.· ·Ms. Wermuth asked you some questions
23    in all of your years in academia and               23    about some journals that you referenced.· I just
24    administration, you would expect an institution    24    want to go through them fairly quickly.· You are

                               Thompson Court Reporters, Inc.
                                    thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 372 of 408 PageID #:6294


                                                                                             Page 198..201
                                             Page 198                                                  Page 200
·1   an academic and administrator, correct?              ·1   of the question.· Misstates my question and is
·2   · · A.· ·Correct.                                    ·2   argumentative.
·3   · · Q.· ·Do academics and administrators pay         ·3   BY MR. BRAMWELL:
·4   attention to the Carnegie rankings?                  ·4   · · Q.· ·You can answer.
·5   · · A.· ·Yes.                                        ·5   · · A.· ·Okay.· So what I -- I did rephrase the
·6   · · · · · · · MS. WERMUTH:· Objection, vague.        ·6   anecdotal evidence into case studies because as I
·7   BY MR. BRAMWELL:                                     ·7   mentioned, I did try to find statistical data on,
·8   · · Q.· ·Same question with respect to the U.S.      ·8   you know, how many faculty are non-renewed or
·9   News and World Report rankings?                      ·9   non-tenured and what happens to them after that,
10    · · · · · · · MS. WERMUTH:· Objection,              10    and I did not find that.· So what I tried to do
11    foundation, vague.                                  11    is find examples of what happens.
12    · · · · · · · THE WITNESS:· So I can tell you       12    · · · · · · · · · · · ·So I know -- I have a
13    that routinely the Chancellor and the Provost,      13    number of cases, you know.· I can give you some
14    Department Chairs, and Deans, University            14    examples if you wish of people who have not been
15    Communications, and Alumni Publications, and        15    tenured at this R1 institution and what they
16    local newspapers publish the various rankings,      16    ended up doing.· But I also wanted to find case
17    including, you know, of the -- how UW Madison and   17    studies and examples of people that tell their
18    its programs fair in those rankings, you know, in   18    story and say what they have been doing and
19    world rankings as well as U.S. News.                19    consequences for their employability and what
20    BY MR. BRAMWELL:                                    20    happened after they were denied tenure.· And I
21    · · Q.· ·Do you ever have discussions with          21    think that that's hopeful for folks to see those
22    colleagues of other universities about U.S. News    22    case studies, in addition to the, you know, years
23    and World Report rankings?                          23    of experience that I bring in in all the cases
24    · · A.· ·I think I have had -- yeah, I think, you   24    that I'm aware of.

                                             Page 199                                                  Page 201
·1   know, in general.· But actually to be honest we      ·1   · · Q.· ·Ms. Wermuth asked you, she spent a lot
·2   talk about NRC rankings more because that's the      ·2   of time on Exhibit 3.2, if you remember?
·3   hard core -- but those are just for graduate         ·3   · · A.· ·Yes.
·4   programs, doctoral programs.                         ·4   · · · · · · · MS. WERMUTH:· Objection to the
·5   · · Q.· ·What about the Chronicle of Higher          ·5   narrative of the question.
·6   Education?· What is that and do faculty and          ·6   BY MR. BRAMWELL:
·7   administrators generally care about it?              ·7   · · Q.· ·I'm just going to pull it up here to
·8   · · · · · · · MS. WERMUTH:· Objection, relevance,    ·8   page 16.· I'm going to highlight the last
·9   foundation.                                          ·9   sentence.· You see that up there?
10    BY MR. BRAMWELL:                                    10    · · A.· ·Yes.
11    · · Q.· ·You can answer.                            11    · · Q.· ·And the last sentence reads "by the
12    · · A.· ·So the Chronicle of Higher Education is    12    tenure review, a faculty member's performance
13    the most well read publication of the, you know,    13    should be excellent in at least 2 of 3 areas and
14    higher ed as an industry.· It is the most well      14    very good in a third." Do you see that there?
15    read industry publication.· I can tell you in the   15    · · A.· ·Yes.
16    Dean's reception area it sits right there.· It      16    · · Q.· ·And the 3 areas are teaching, research,
17    sits in the Provost's reception area.· I haven't    17    and service?
18    been in the Chancellor's that much recently, but    18    · · A.· ·Yes.
19    it is highly read by academic administrators and    19    · · Q.· ·So I would have thought this would have
20    faculty too.                                        20    been obvious, but since you got a lot of
21    · · Q.· ·Ms. Wermuth asked you about anecdotal      21    questions on it, maybe I'll just delve into it a
22    evidence.· Is that another way of saying a case     22    little bit.· This tells you that you can receive
23    study?                                              23    tenure at DePaul without excellence in research,
24    · · · · · · · MS. WERMUTH:· Objection to the form   24    correct?

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 373 of 408 PageID #:6295


                                                                                             Page 202..205
                                             Page 202                                                  Page 204
·1   · · · · · · · MS. WERMUTH:· I'm going to object      ·1   takes to be hired at UNC?
·2   to the form of the question, and I really object     ·2   · · A.· ·And I said this a few minutes ago, and
·3   to the way Counsel is characterizing my              ·3   that is, you know, clear promise means there is a
·4   examination which is uncivil and unprofessional      ·4   record, a clear record of publication and
·5   and argumentative.                                   ·5   scholarly productivity that shows that the person
·6   BY MR. BRAMWELL:                                     ·6   is tenurable, and they are not going to be hired
·7   · · Q.· ·You can answer.                             ·7   at a place like Wisconsin or UNC without showing
·8   · · A.· ·I'm going to just answer based on what I    ·8   that they are highly productive because they are
·9   have seen here.· This sentence says that you can     ·9   not going to get tenure.
10    get tenure if 2 areas are excellent and a third     10    · · · · · · · · · · · ·And also as I said, right
11    is very good.                                       11    now there is so much competition for positions
12    · · Q.· ·Right.· So you don't need to demonstrate   12    that in order to stand out, you have to be highly
13    excellence -- you don't need to demonstrate         13    productive.· You have to show that you -- that
14    excellence in research to obtain tenure at          14    you're going to generate a lot of articles and
15    DePaul?                                             15    enough articles for sure to get tenure, and that
16    · · A.· ·It does not say that you do.               16    you have strong promise of finishing that book.
17    · · Q.· ·You don't need to demonstrate excellence   17    You are turning the dissertation into a book and
18    in teaching to obtain tenure at DePaul?             18    getting it published, and that you even have --
19    · · · · · · · MS. WERMUTH:· Objection, misstates    19    usually when I'm talking to people I'm
20    the record of evidence.                             20    interviewing, I ask them where do you think --
21    BY MR. BRAMWELL:                                    21    what are their presses that they want to get
22    · · Q.· ·You can answer.                            22    published with?· If they tell me they are going
23    · · A.· ·So this sentence just says you have to     23    to get published at Rutledge or something like
24    be excellent in 2 of 3 areas.· So one you don't     24    that, I'm going to think no, this is not a good

                                             Page 203                                                  Page 205
·1   have to be excellent in.· It could be teaching,      ·1   candidate.· I want to see them getting published
·2   it could be research, it could be service, based     ·2   at a university press, a prestigious university
·3   on what is said here.                                ·3   press.
·4   · · Q.· ·And at North Carolina, you need to          ·4   · · · · · · · · · · · ·Then I ask them what they
·5   demonstrate excellence in both teaching and          ·5   are going to be -- what they are likely to work
·6   research, right?                                     ·6   on as their second project.· This is even as they
·7   · · A.· ·Right.· And then it says that service       ·7   are interviewing, you know, for an assistant
·8   won't get you there.· Service won't get you          ·8   professorship.· So they have to clearly
·9   tenure.                                              ·9   demonstrate that they have -- that they know what
10    · · Q.· ·Looking at -- let's see if I can find it   10    it takes, that they have progressed
11    here.· Here it is.· Remember when Ms. Wermuth       11    significantly, they have stuff in the pipeline,
12    showed you on page 7 of Exhibit 3.3, I think        12    and that they are tenurable.· That's what is
13    there was a lot of time spent discussing the        13    meant by clear promise.
14    clear promise of excellence in teaching and         14    · · Q.· ·Okay.· Anything else you would like to
15    scholarship and/or equivalent creative artistic     15    share with us this afternoon?
16    activity and completion of all requirements for     16    · · · · · · · MS. WERMUTH:· Objection to the form
17    the doctorate or other terminal degree.             17    of the question.
18    · · · · · · · MS. WERMUTH:· I'm going to object     18    BY MR. BRAMWELL:
19    to the form the question, especially insofar as     19    · · Q.· ·You can answer.
20    it mischaracterizes the examination and             20    · · A.· ·I think that's it.
21    improperly characterizes the examination.           21    · · · · · · · MR. BRAMWELL:· All right.· I'll
22    BY MR. BRAMWELL:                                    22    pass you back to Ms. Wermuth and see if she has
23    · · Q.· ·So Doctor Zaeske, what does this           23    anything else.
24    sentence mean to you with respect to what it        24    · · · · · · · MS. WERMUTH:· I do.

                                Thompson Court Reporters, Inc.
                                     thompsonreporters.com                                                          YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 374 of 408 PageID #:6296


                                                                                                             Page 206..209
                                            Page 206                                                                       Page 208
                                                         ·1     STATE OF ILLINOIS· )
·1   · · · · · · · FURTHER EXAMINATION                   · ·   ·· · · · · · · · · ·)· SS.
·2   · · · · · · · · ·BY MS. WERMUTH:                    ·2     COUNTY OF McHENRY· )
                                                         ·3
·3   · · Q.· ·Doctor Zaeske, Mr. Bramwell took you       ·4
·4   through the website at the Indiana University       ·5     · · ·I, GINA MARIE ZANGARA, C.S.R., do hereby
                                                         · ·   ·certify that DOCTOR SUSAN ZAESKE was by me first
·5   Carnegie Classification?                            ·6     duly sworn, to testify the truth, the whole
·6   · · A.· ·Right.                                     · ·   ·truth, and nothing but the truth, and that the
                                                         ·7     above deposition, pages 4 through 207, inclusive,
·7   · · Q.· ·In that exercise, the 2 of you             · ·   ·was recorded by me and reduced to typewriting by
·8   demonstrated that Yale is in fact an R1             ·8     me.
                                                         ·9     · · ·I FURTHER CERTIFY that the foregoing
·9   institution, right?                                 · ·   ·transcript of the said deposition is a true and
10    · · A.· ·Right.                                    10     correct transcript of the testimony given by the
                                                         · ·   ·said witness at the time and place specified
11    · · Q.· ·And the 2 of you demonstrated that        11     hereinbefore.
12    University of Chicago is in fact an R1             12     · · ·I FURTHER CERTIFY that I am not a relative
                                                         · ·   ·or employee or attorney for counsel of any of the
13    institution, right?                                13     parties, nor a relative or employee of such
14    · · A.· ·Right.                                    · ·   ·attorney or counsel, or financially interested
                                                         14     directly or indirectly in this action.
15    · · Q.· ·And the 2 of you demonstrated that        15     · · ·IN WITNESS WHEREOF, I have hereunto set my
16    Northwestern University is in fact an R1           · ·   ·hand at Crystal Lake, Illinois, this 20th day of
                                                         16     July, 2021.
17    institution, right?                                17
18    · · A.· ·Correct.                                  18
                                                         · ·   ··   ·   ·   ·   ·   ·   ·   ________________________
19    · · Q.· ·Okay.· So that would then tell us that    19     ·   ·   ·   ·   ·   ·   ·   Gina Marie Zangara
20    the exhibit that you attached as Exhibit 1 to      · ·   ··   ·   ·   ·   ·   ·   ·   Certified Shorthand Reporter
                                                         20     ·   ·   ·   ·   ·   ·   ·   McHenry County, IL
21    your report, Exhibit 3.1, is an inaccurate         · ·   ··   ·   ·   ·   ·   ·   ·   CSR License No. 084-003242.
22    listing; is that fair?                             21
23    · · A.· ·It is, yes.                               22
                                                         23
24    · · Q.· ·Thank you.· Just to close this out, you   24


                                            Page 207                                                                       Page 209
                                                         ·1     · · · · · · · · · ·ERRATA SHEET
·1   have not reviewed Doctor Calvente's record of
                                                         ·2     Deposition of DOCTOR SUSAN ZAESKE on 7-8-21
·2   scholarship, correct?
                                                         ·3     ·Page· · · · ·Line· · · · · Correction
·3   · · A.· ·No.
                                                         ·4     _________________________________________________
·4   · · · · · · · MS. WERMUTH:· I have nothing
                                                         ·5     _________________________________________________
·5   further.
                                                         ·6     _________________________________________________
·6   · · · · · · · MR. BRAMWELL:· Just one other
                                                         ·7     _________________________________________________
·7   thing.
                                                         ·8     _________________________________________________
·8   · · · · · · · · FURTHER EXAMINATION
                                                         ·9     _________________________________________________
·9   · · · · · · · · · BY MR. BRAMWELL:
                                                         10     _________________________________________________
10    · · Q.· ·You know that University of North
                                                         11     _________________________________________________
11    Carolina Chapel Hill is an R1?
                                                         12     _________________________________________________
12    · · A.· ·Yes.
                                                         13     _________________________________________________
13    · · · · · · · MR. BRAMWELL:· Okay.· That's it.
                                                         14     _________________________________________________
14    We will reserve signature.
                                                         15     _________________________________________________
15
                                                         16     _________________________________________________
16   (Off the record at 3:07 p.m.)
                                                         17     _________________________________________________
17
                                                         18     _________________________________________________
18
                                                         19     _________________________________________________
19
                                                         20     _________________________________________________
20
                                                         21     _________________________________________________
21
                                                         22     _________________________________________________
22
                                                         23     _________________________________________________
23
                                                         24     _________________________________________________
24

                               Thompson Court Reporters, Inc.
                                    thompsonreporters.com                                                                             YVer1f
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 375 of 408 PageID #:6297




               Exhibit H
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 376 of 408 PageID #:6298


                                                             Page 2                                                      Page 4
   1       There were present at the taking of this                    1              (Whereupon the witness was
   2 deposition via videoconference the following
   3 counsel:                                                          2               duly sworn.)
   4                                                                   3
        LAW OFFICES OF FITZGERALD BRAMWELL by
   5    MR. FITZGERALD T. BRAMWELL                                     4   witness herein, called for examination, having been
        225 West Washington, Suite 2200                                5   first duly sworn via videoconference, was examined
   6    Chicago, Illinois 60606
                                                                       6   and testified as follows:
        312.924.2884
   7    bramwell@fitzgeraldbramwell.com                                7               DIRECT EXAMINATION
   8       on behalf of the Plaintiff;                                 8   BY MR. BRAMWELL:
   9    COZEN O'CONNOR by
        MS. ANNA WERMUTH and                                           9       Q Good morning. Is it Dr.
  10    MS. NANDINI SANE                                              10       A Yes.
        123 North Wacker Drive, Suite 1800
  11    Chicago, IL 60606
                                                                      11       Q Did I pronounce it correctly?
        312.474.7876 | 312.878.2023 (fax)                             12       A Yeah, thank you. Yeah.
  12    awermuth@cozen.com                                            13       Q Okay; good. Can you please state your
        nsane@cozen.com
  13                                                                  14   name and spell it for the record?
           on behalf of the Defendants.                               15       A Sure.
  14
     ALSO PRESENT:
  15                                                                  17    Q All right. And, Dr.             you've just
        DR. LISA CALVENTE
                                                                      18 taken an oath to tell the truth. Do you understand
  16    MS. KATHRYN STIEBER
  17                                                                  19 that?
  18                                                                  20    A Uh-huh. Yes, I do.
  19
  20                                                                  21    Q Okay; good. Have you ever been deposed
  21                                                                  22 before?
  22
  23
                                                                      23    A Never.
  24                                                                  24    Q Okay. Well, then I'll just go over some
                                                             Page 3                                                      Page 5
   1             INDEX
   2 Witness:                     Page
                                                                       1   ground rules.
   3 JEAN-CLAUDE BRUNO                                                 2            I'm going to ask you questions and I'm
   4 Direct Examination by Mr. Bramwell        4
   5
                                                                       3   going to ask you to give me answers that are true,
   6            EXHIBITS                                               4   complete, and accurate. Do you understand that?
                                                                       5       A I do.
                                                                       6       Q Okay; good. The court reporter is, I
                                                                       7   guess, in my upper left-hand corner of the screen.
                                                                       8   She's going to be taking down everything that we
                                                                       9   say. To that end, we need to take care not to talk
                                                                      10   over each other. So if I ask a question let me
                                                                      11   finish the question, then, you know, wait for any
                                                                      12   objections, then please give an answer. That way
                                                                      13   we'll have a good, clean record.
                                                                      14            Is that understood?
                                                                      15       A Yes.
                                                                      16       Q Okay; good. You need to give clear
                                                                      17   answers, and we all do this, right, words like
                                                                      18   "uh-huh," "um-hum," you know, they're natural,
                                                                      19   we've been speaking that way since we were -- you
                                                                      20   know, since we first learned the English language,
                                                                      21   but you just need to give clear answers because
                                                                      22   "um-hum," "uh-uh," "uh-huh" don't show up well in a
  23 NOTE: Exhibits were provided for inclusion with                  23   transcript. So yes is good, yeah, no.
           deposition transcripts.
  24                                                                  24            If I ask you to give a clear answer,

                                                                                                              2 (Pages 2 - 5)
                                                       Veritext Legal Solutions
  www.veritext.com                                                                                             888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 377 of 408 PageID #:6299


                                                     Page 10                                                      Page 12
   1            You spoke to Alexa Murphy about this?           1       A I am.
   2       A No.                                                2       Q How are you familiar with it?
   3       Q Okay. And nobody has promised you                  3       A Well, the document was written by the
   4   anything for your testimony here today, right?           4   Board and I had, I think, a hand in framing the
   5       A No.                                                5   document the way -- if this is the final document,
   6                (Document was marked                        6   I had a hand in framing the document so that it
   7                 Exhibit 1 for identification.)             7   would be more balanced.
   8   BY MR. BRAMWELL:                                         8       Q Do you have any belief -- do you have any
   9       Q Okay. Dr.              Ms. Wermuth has given       9   reason to believe this is not the final document?
  10   me permission to e-mail documents directly to you,      10       A I haven't had a chance to look through
  11   and obviously she will be copied on these mails.        11   it.
  12            I'm going to send you a document that          12       Q Oh, please look through it. Please look
  13   I have marked as Exhibit No. 1. This is a document      13   through it.
  14   Bates label -- I'm sorry. This is a document that       14       A So I -- I'd have to read through it just
  15   is attached as an exhibit to Dr. Calvente's             15   because
  16   complaint. It is page number 147 through 150 of
  17   her 188-page complaint.
  18            Please let me know when the document's
  19   arrived, and then you can open it.
  20       A Okay. I'm still waiting for it.
  21       Q Okay. Sometimes the Internets are slow.
  22       A Okay.                                             22 but I'd have to read through it.
  23       Q Has it arrived?                                   23    Q Please read through it. Take your time.
  24       A It's arrived. I will open it.                     24    A
                                                     Page 11                                                      Page 13
   1      Q     Okay.                                           1 document.
   2           MS. WERMUTH: I do not have it so -- but          2    Q It's true, complete, and accurate in all
   3   you can go ahead and open it, Professor, and I will      3 respects?
   4   let you know as soon as I have it.                       4
   5           THE WITNESS: Okay.
   6           MS. WERMUTH: Okay.
   7           THE WITNESS: So what I have here is a
   8   four-page document that is the University Board on
   9   Promotion and Tenure document in Lisa's case. Is
  10   that --
  11   BY MR. BRAMWELL:
  12       Q Okay. And when you say -- I'm sorry. I
  13   just broke one of my rules. Please continue.
  14       A Is that what you sent me? That's --
  15   that's what you want me to open?                        15      A That's correct.
  16       Q Yes, please.                                      16      Q Okay. Now I have a series of questions,
  17       A Okay.                                             17   and it's in part due to my own ignorance so I hope
  18       Q All right. And when we say "Lisa," are            18   that you will illuminate me. I'm curious how the
  19   you talking about Lisa Calvente?                        19   UBPT works, and by "UBPT" that's the University
  20       A Yes.                                              20   Board on Promotion and Tenure?
  21       Q And she's one of your former colleagues?          21      A Sure.
  22       A Yes.                                              22      Q Okay. I'm curious how it works. I'm a
  23       Q And the document that I have marked as            23   tenure-track professor at DePaul. I'm going up for
  24   Exhibit 1, are you familiar with it?                    24   tenure. I assemble my dossier. The college -- my

                                                                                                     4 (Pages 10 - 13)
                                             Veritext Legal Solutions
  www.veritext.com                                                                                      888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 378 of 408 PageID #:6300


                                                     Page 14                       Page 16
   1   local unit, rather, takes a vote. The head of my        1
   2   college sends a report, you know, prepares a
   3   report. Then what happens?
   4       A So once the local unit, once the college
   5   level review takes place, the local unit and the
   6   reports, the chair writes a document, then the --
   7   if it goes to that level. If there's another level
   8   at the college then the college does a report, then
   9   the dean does a report. And so once the entire
  10   dossier is complete, that gets uploaded to a
  11   particular platform or server and it's available
  12   for the University Board to review.
  13             The associate provost at the
  14   University schedules all of the tenure and
  15   promotion cases and does so in accordance with, you
  16   know, trying to group the cases by college so you
  17   minimize probably the wear and tear on chairs and
  18   deans having to move through for interviews, but
  19   over the course of the season, so to speak, maybe
  20   eight weeks, all of the tenure and promotion cases
  21   are scheduled.
  22             The Board meets typically on the first
  23   day of the tenure and review cycle to review the
  24   cases for that day, and we typically have between
                                                     Page 15                       Page 17
   1 six and eight cases to review on a particular day.        1
   2




   9             And so when the candidate first comes
  10   into the room, and they come in before the chair or
  11   the dean, the Board members ask the individual
  12   questions to get clarification on points that they
  13   had when they reviewed the case. They take notes
  14   in -- on the particular case. Then the chair and
  15   the dean come in and other questions are asked.
  16   Usually those questions are lengthier or there are
  17   more questions depending on really how strong or
  18   weak the case is.
  19             Once the individual -- once the
  20   individuals who are being interviewed have left,
  21   typically there are about 15 minutes, sometimes
  22   more time is taken just because the case warrants
  23   it,
                                                                                    ,

                                                                         5 (Pages 14 - 17)
                                              Veritext Legal Solutions
  www.veritext.com                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 379 of 408 PageID #:6301


                                                   Page 18                                                        Page 20
                                                              1
                                                                                      I think they need to go to the
                                                              3   provost by a certain date. I don't have the exact
                                                              4   dates committed to memory. And that's it really.
                                                              5            And then once it's out of the Board's
                                                              6   hands it's out of the Board's hands, and any
                                                              7   further decision-making really belongs to the
                                                              8   provost.
                                                              9       Q Okay. Thank you.
                                                             10            So a few questions on that. Does the
                                                             11   provost participate at all at the UBPT level?
                                                             12       A The provost is present in the back of the
                                                             13   room but does not participate.
                                                             14       Q So when you say she's present in the back
                                                             15   of the room, is this just for interviews or is this
                                                             16   for the entire process?
                                                             17       A For the entire -- when you say "entire
                                                             18   process," what do you mean by entire process?
  19   Q I'm sorry. Can you repeat that, please?             19       Q Okay. Good question. Let's ask it this
  20 There was a little hiccup.                              20   way. So I'll just break it up.
  21                                                         21            She's there for the interviews of both
                                                             22   the faculty member and the dean?
                                                             23       A Yes, correct.
                                                             24
                                                   Page 19                                                        Page 21
                                                              1



                                                              4    Q Okay.
                                                              5    A Yes.
                                                              6    Q Does she take notes or does she just sit
                                                              7 and observe?
                                                              8    A She's behind me. I assume she takes
                                                              9 notes. I don't know what she's doing.
                                                             10    Q Okay.




                                                             15       Q I'm curious as to -- I'm curious. It
                                                             16   will draw an objection, but I'm curious. Please.
                                                             17       A I --
                                                             18          MS. WERMUTH: Objection -- let me object,
                                                             19   Bruno, please, if I may.
                                                             20            Objection; foundation.
                                                             21   BY MR. BRAMWELL:
                                                             22       Q Go ahead.
                                                             23       A So let me ask you again, do you want me
                                                             24   to speculate then? Because I don't know --

                                                                                                    6 (Pages 18 - 21)
                                         Veritext Legal Solutions
  www.veritext.com                                                                                      888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 380 of 408 PageID #:6302


                                                           Page 34                                                  Page 36
   1                                                                  1




                                                                      5          I think the -- whoops. I think I lost
                                                                      6 you. Hello?
                                                                      7     Q Hello? Can you hear me? I can see you.
                                                                      8 I can hear you.
                                                                      9     A Let me see if I can -- oh, sorry.
                                                                     10



  13      Q     Did they affect -- Strike that.
  14             With respect to Dr. Calvente's --
  15   rather, let's strike that again.
  16             Earlier you testified as to what
  17   normally occurs during the UBPT process. Did
  18   Dr. Calvente's process follow that general
  19   trajectory?
  20       A It did.
  21       Q Okay. So that means that there was an
  22   interview with Dr. Calvente and an interview with
  23   Dr. Alexa Murphy, right?
  24       A That's correct.
                                                           Page 35                                                  Page 37




                                                                                                      10 (Pages 34 - 37)
                                                 Veritext Legal Solutions
  www.veritext.com                                                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 381 of 408 PageID #:6303


                                                                         Page 86                                                                         Page 88
   1 within case, nor of kin or counsel to any of the                               1            DEPOSITION REVIEW
                                                                                                CERTIFICATION OF WITNESS
   2 parties.                                                                       2
   3        Witness my official signature and seal as                                       ASSIGNMENT REFERENCE NO: 4493471
                                                                                    3       CASE NAME: Calvente, Lisa v. Ghanem, Salma, Et Al.
   4 Notary Public in and for Kane County, Illinois, on                                     DATE OF DEPOSITION: 3/15/2021
   5 the 29th day of March, A.D. 2021.                                              4       WITNESS' NAME:
                                                                                    5       In accordance with the Rules of Civil
   6        <%20091,Signature%>                                                         Procedure, I have read the entire transcript of
   7          JUNE M. FUNKHOUSER, CSR, RMR                                          6   my testimony or it has been read to me.
                                                                                    7       I have made no changes to the testimony
              Notary Public                                                             as transcribed by the court reporter.
   8          License No. 084-003024                                                8
                                                                                        _______________
              One North Franklin Street, Suite 3000
   9          Chicago, Illinois 60606                                              10     Sworn to and subscribed before me, a
                                                                                      Notary Public in and for the State and County,
              Phone: (312) 442-9087                                                11 the referenced witness did personally appear
  10                                                                                  and acknowledge that:
                                                                                   12
  11                                                                                      They have read the transcript;
  12                                                                               13     They signed the foregoing Sworn
                                                                                              Statement; and
  13                                                                               14     Their execution of this Statement is of
  14                                                                                          their free act and deed.
                                                                                   15
  15                                                                                      I have affixed my name and official seal
  16                                                                               16
                                                                                      this ______ day of_____________________, 20____.
  17                                                                               17
  18                                                                                          ___________________________________
                                                                                   18         Notary Public
  19                                                                               19         ___________________________________
  20                                                                                          Commission Expiration Date
                                                                                   20
  21                                                                               21
  22                                                                               22
                                                                                   23
  23                                                                               24
  24                                                                               25

                                                                         Page 87                                                                         Page 89
   1                 Veritext Legal Solutions                                       1          DEPOSITION REVIEW
                      1100 Superior Ave                                                       CERTIFICATION OF WITNESS
   2                    Suite 1820                                                  2
                     Cleveland, Ohio 44114                                                  ASSIGNMENT REFERENCE NO: 4493471
   3                  Phone: 216-523-1313                                           3       CASE NAME: Calvente, Lisa v. Ghanem, Salma, Et Al.
                                                                                            DATE OF DEPOSITION: 3/15/2021
   4
                                                                                    4       WITNESS' NAME: Jean-Claude Bruno
       March 30, 2021
                                                                                    5       In accordance with the Rules of Civil
   5                                                                                    Procedure, I have read the entire transcript of
       To: MS. WERMUTH                                                              6   my testimony or it has been read to me.
   6                                                                                7       I have listed my changes on the attached
       Case Name: Calvente, Lisa v. Ghanem, Salma, Et Al.                               Errata Sheet, listing page and line numbers as
   7                                                                                8   well as the reason(s) for the change(s).
       Veritext Reference Number: 4493471                                           9       I request that these changes be entered
   8                                                                                    as part of the record of my testimony.
                                                  Deposition Date: 3/15/2021       10
   9                                                                                        I have executed the Errata Sheet, as well
  10 Dear Sir/Madam:                                                               11   as this Certificate, and request and authorize
                                                                                        that both be appended to the transcript of my
  11
                                                                                   12   testimony and be incorporated therein.
     Enclosed please find a deposition transcript. Please have the witness
                                                                                   13   _______________           ________________________
  12                                                                                    Date              Jean-Claude Bruno
     review the transcript and note any changes or corrections on the              14
  13                                                                                        Sworn to and subscribed before me, a
     included errata sheet, indicating the page, line number, change, and          15   Notary Public in and for the State and County,
  14                                                                                    the referenced witness did personally appear
     the reason for the change. Have the witness’ signature notarized and          16   and acknowledge that:
  15                                                                               17       They have read the transcript;
     forward the completed page(s) back to us at the Production address                     They have listed all of their corrections
  16 shown                                                                         18           in the appended Errata Sheet;
  17 above, or email to production-midwest@veritext.com.                                    They signed the foregoing Sworn
  18                                                                               19           Statement; and
                                                                                            Their execution of this Statement is of
     If the errata is not returned within thirty days of your receipt of
                                                                                   20           their free act and deed.
  19
                                                                                   21       I have affixed my name and official seal
     this letter, the reading and signing will be deemed waived.                   22   this ______ day of_____________________, 20____.
  20                                                                               23           ___________________________________
  21 Sincerely,                                                                                 Notary Public
  22 Production Department                                                         24
  23                                                                                          ___________________________________
  24 NO NOTARY REQUIRED IN CA                                                      25         Commission Expiration Date


                                                                                                                                             23 (Pages 86 - 89)
                                                               Veritext Legal Solutions
  www.veritext.com                                                                                                                               888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 382 of 408 PageID #:6304




                  Exhibit I
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 383 of 408 PageID #:6305




                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 LISA CALVENTE,                                    )
                                                   )
                           Plaintiff,              )
                                                   )     Case No.: 1:20-cv-03366
         v.                                        )
                                                   )
 SALMA GHANEM and DEPAUL                           )
 UNIVERSITY,                                       )
                                                   )
                           Defendants.             )


                                          DECLARATION


        1.         My name is Lucy Rinehart. I am over the age of eighteen (18) years and fully

capable of making this declaration.

        2.         I am employed by DePaul University as the Associate Provost for Academic

Planning and Faculty, and I am authorized to make this declaration on DePaul University’s behalf.

        3.         The documents bates stamped DePaul 34653-36928 is the full and complete tenure

and promotion file maintained by the Academic Affairs Office for

        4.         The documents bates stamped DePaul 36929-37299 is the full and complete tenure

and promotion file maintained by the Academic Affairs Office for

        5.         The documents bates stamped DePaul 37300-38093 is the full and complete tenure

and promotion file maintained by the Academic Affairs Office for

        6.         The documents bates stamped DePaul 008594-009701 is the full and complete

tenure and promotion file maintained by the Academic Affairs Office for

        7.         The documents bates stamped DePaul 10073-10373 is the full and complete tenure

and promotion file maintained by the Academic Affairs Office for


LEGAL\51175326\1
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 384 of 408 PageID #:6306




        8.         The documents bates stamped DePaul 000796-001889 is the full and complete

tenure and promotion file maintained by the Academic Affairs Office for Lisa Calvente.

        9.         I have knowledge of the facts stated herein and I declare under penalty of perjury

pursuant to 28 USC § 1746 that the foregoing is true and correct to the best of my knowledge,

information and belief.



        Executed on this 2nd day of March, 2020.




                                                Lucy Rinehart




                                                   2
LEGAL\51175326\1
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 385 of 408 PageID #:6307




                                                       University Board on Promotion and Tenure




CONFIDENTIAL                                         Calvente-DePaul 038086
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 386 of 408 PageID #:6308




CONFIDENTIAL                                         Calvente-DePaul 038087
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 387 of 408 PageID #:6309




CONFIDENTIAL                                         Calvente-DePaul 038088
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 388 of 408 PageID #:6310




                  Exhibit J
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 389 of 408 PageID #:6311



                                                                      Page 1

 1                 IN THE UNITED STATES DISTRICT COURT
 2                      NORTHERN DISTRICT OF ILLINOIS
 3                             EASTERN DIVISION
 4      LISA CALVENTE,                       )
 5                Plaintiff,                 )
 6                       vs                  )    No. 20-cv-3366
 7      SALMA GHANEM and DePAUL              )
 8      UNIVERSITY,                          )
 9                Defendants.                )
10
11                The deposition of SYDNEY DILLARD called
12      for examination pursuant to Notice and the Rules
13      of Civil Procedure for the United States
14      District Courts pertaining to the taking of
15      depositions, taken before DENISE A. JOHNSON, a
16      certified shorthand reporter within and for the
17      State of Illinois, via video conference per
18      Executive Order 2020-14, on the 1st day of
19      December, 2020, at the hour of 9:03 a.m.
20
21      Reported By:          DENISE A. JOHNSON, C.S.R.
22      License No.:          084-004004
23
24


                                   Veritext Legal Solutions
     www.veritext.com                                                    888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 390 of 408 PageID #:6312


                                                    Page 2                                                     Page 4
   1   APPEARANCES:                                           1               (Witness sworn.)
   2     FITZGERALD BRAMWELL LAW OFFICES, by
         MR. FITZGERALD BRAMWELL,                             2               SYDNEY DILLARD,
   3     225 West Washington Street, Suite 2200               3   having been first duly sworn, was examined and
         Chicago, Illinois 60606
                                                              4   testified as follows:
   4     (312) 924-2884
         bramwell@fitzgeraldbramwell.com                      5              DIRECT EXAMINATION
   5        Representing the Plaintiff;                       6   BY MR. BRAMWELL:
   6
         COZEN O'CONNOR, by
                                                              7      Q. Thank you very much. Dr. Dillard,
   7     MS. ANNA WERMUTH,                                    8   thank you for being here. Now that we're on the
         MS. NANDINI SANE,                                    9   record, my name is Jerry Bramwell, J-e-r-r-y,
   8     123 North Wacker Drive, Suite 1800
         Chicago, Illinois 60606                             10   B-r-a-m-w-e-l-l. Dr. Dillard, you have just
   9     (312) 382-3100                                      11   taken an oath to tell the truth. Do you
         awermith@cozen.com
                                                             12   understand that?
  10     nsane@cozen.com
            Representing the Defendants.                     13      A. Yes, I do.
  11                                                         14      Q. All right. Excellent. Have you ever
  12
  13 Also Present: Ms. Lisa Calvente
                                                             15   been deposed before?
             Ms. Salma Ghanem                                16      A. No.
  14         Ms. Kathryn Stieber                             17      Q. Then I will go over some instructions
  15
  16                                                         18   briefly. I'm going to ask you questions. And I
  17                                                         19   need you to give me answers that are true,
  18
                                                             20   complete, and accurate. Do you understand that?
  19
  20                                                         21      A. Yes, I do.
  21                                                         22      Q. Excellent. The court reporter is
  22
  23
                                                             23   writing down everything we say. This is not a
  24                                                         24   video deposition, so no video is being recorded
                                                    Page 3                                                     Page 5
   1            INDEX                     1                       that I know of, but the court reporter is
   2   WITNESS                     EXAMINATION
                                          2                       writing down everything that we say. And
   3   SYDNEY DILLARD                     3                       because of that, we need to take care not to
   4    By Mr. Bramwell (direct)       4  4                       talk over each other. Do you understand that?
   5    By Ms. Wermuth (cross)         1245                          A. Yes.
   6    By Mr. Bramwell (redirect)      174
                                          6                          Q. We also need to make sure that we give
   7                                      7                       clear answers. So words like uh-huh and huh-huh
   8                                      8                       look a lot alike on a transcript, so clear
   9                                      9                       answers, yes, no, just to make sure the record
  10                                     10                       is clear. Do you understand that?
  11                                     11                          A. Yes, I do.
  12                                     12                          Q. If you don't understand a question,
  13        EXHIBITS                     13                       please ask me to clarify it and I will try to
  14   NUMBER              MARKED FOR ID 14                       rephrase it. Are we agreed?
  15      (EXHIBITS PREVIOUSLY MARKED.) 15                           A. Okay.
  16                                     16                          Q. If you answer a question, I'm going to
  17                                     17                       assume that you understood that question. Are
  18                                     18                       we agreed?
  19                                     19                          A. I'm sorry. I didn't hear the last
  20                                     20                       part. You said something are we agreed. Is
  21                                     21                       that what you just said?
  22                                     22                          Q. No, no. Let me repeat it. If you
  23                                     23                       answer a question, I'm going to assume that you
  24                                     24                       understood the question. Is that agreed?

                                                                                                    2 (Pages 2 - 5)
                                              Veritext Legal Solutions
  www.veritext.com                                                                                   888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 391 of 408 PageID #:6313


                                                   Page 62                                                    Page 64
   1 want the court reporter to read it back. We can          1      Q. I'm going to be -- I'm going to be
   2 do either.                                               2   sending right now an exhibit that I have marked
   3   A. No. I just want to get a refresher                  3   as Exhibit D as in delta.
   4 because I kind went on a tangent. Go ahead.              4      A. Okay.
   5                                                          5      MR. BRAMWELL: Ms. Wermuth, you should have
                                                              6   it. Madam Court Reporter, you should have it.
                                                              7   BY MR. BRAMWELL:
                                                              8      Q. Dr. Dillard, you should have it, too.
                                                              9    This is one of the confidential documents. So
                                                             10   we will ask that you delete it and destroy it
                                                             11   after the deposition is over. It's Bates
                                                             12   labeled Calvente-DePaul 0009774 through 9776.
                                                             13   Do you have that in front of you?
                                                             14      A. You're asking me?
                                                             15      Q. Yes, Dr. Dillard.
                                                             16      A. No, I don't have it.
                                                             17      MS. WERMUTH: Mr. Bramwell, I also do not
                                                             18   have the exhibit you are referencing.
                                                             19      MR. BRAMWELL: I just E-mailed it because I
                                                             20   have a 30-second delay on my E-mail to catch
                                                             21   anything that should be --
                                                             22      MS. WERMUTH: I have it.
                                                             23   BY MR. BRAMWELL:


                                                   Page 63                                                    Page 65


   2      Q. Why did you --
   3      A. Seeing their case and then trying to,
   4   you know, see what are different ways to have
   5   these conversations -- these uncomfortable
   6   conversations because they were open about
   7   their -- much more vocal about their concerns
   8   and what happened to them ended up having an
   9   impact on their careers thinking that, you know,
  10   maybe I can use the same venues that those who
  11   were in opposition to them as a way to have
  12   these conversations and still nothing came
  13   about.
  14          So essentially seeing them applying it
  15   to my own situations and actually Lisa's, too,
  16   because I included information about Lisa's
  17   mistreatment in there and nothing happening then
  18   kind of starts to build a picture of what's
  19   important. We investigate the people of color
  20   when complaints are made about them, but we
  21   don't investigate the people that are not of
  22   color, you know, U.S. minorities or however you
  23   want to place it when complaints are anonymous
  24   about them.

                                                                                                17 (Pages 62 - 65)
                                            Veritext Legal Solutions
  www.veritext.com                                                                                  888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 392 of 408 PageID #:6314


                                      Page 66                                   Page 68




                                      Page 67                                   Page 69




                                                                    18 (Pages 66 - 69)
                                Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 393 of 408 PageID #:6315


                                                Page 70                                                 Page 72
   1                                                    1      MS. WERMUTH: I'm sorry. Mr. Bramwell, I do
                                                        2   not yet have those. What is it that you are
   3       Q. We've been at this for now, I think, a    3   describing? I'm sorry. Here it is.
   4   little -- almost an hour and a half. Can we      4      MR. BRAMWELL: It's arrived now? If you will
   5   take five minutes to, you know, attempt any      5   deal with a little bit of political humor, it's
   6   bodily necessities and come back, let's say, at  6   almost like the people who slid down the mail
   7   10:30?                                           7   and are now doing it with the Internet.
   8       A. Sounds good.                              8      MS. WERMUTH: Mr. Bramwell, real quick,
   9               (A short break was taken.)           9   these are documents that you received from
  10   BY MR. BRAMWELL:                                10   Ms. Cunningham. Did you Bates label these and
  11       Q. So, Dr. Dillard, the next line of        11   send them to me or what -- I'm trying to --
  12   questions that I'm intending on asking might be 12      MR. BRAMWELL: They were not Bates labeled.
  13   a little sensitive. And I apologize for that in 13   They were sent to you, and I can pull up the
  14   advance. I'm not trying to upset or offend or   14   date off line if you would like.
  15   otherwise make life harder for you.             15      MS. WERMUTH: Okay.
  16       A. Um-hum.                                  16      MR. BRAMWELL: But they were sent to you in
  17                                                   17   advance.
                                                       18      MS. WERMUTH: And you received them on or
                                                       19   around August 5th of 2019?
  20       MS. WERMUTH: Objection, conclusory -- 20            MR. BRAMWELL: I don't remember when I
  21                                                   21   received them, but they were sent to you -- I
  22       MS. WERMUTH: -- calls for a legal           22   did not receive them in 2019. This litigation
  23   conclusion, calls for speculation.              23   wasn't even filed in 2019.
  24                                                   24      MS. WERMUTH: I'm just looking at the first
                                                Page 71                                                 Page 73
   1                                                    1   cover letter, which says it was sent to you by
                                                        2   facsimile on that date.
                                                        3      MR. BRAMWELL: No, it does not --
                                                        4      MS. WERMUTH: I'm sorry. You're right. It
                                                        5   doesn't. This is to the EEOC. I'm sorry.
                                                        6      MR. BRAMWELL: That's quite all right.
                                                        7   Ms. Wermuth, these materials were forwarded to
                                                        8   you on Thursday, November 12th at 3:56 p.m. You
   9      Q. I'm going to send you and Ms. Wermuth 9        responded on Friday, November 13th, at 1:32 p.m.,
  10   as well as the court reporter a document that I 10   "Thank you. We have received this."
  11   have marked as Exhibit A. I will try to get it  11   BY MR. BRAMWELL:
  12   to you a little faster. I will turn off my      12
  13   30-second delay here. So that should be on its
  14   way right now. Please tell me when it arrives.
  15       A. Okay.
  16       Q. Has it arrived?
  17       A. I have to refresh. Give me a second.
  18   No, I still haven't gotten it. What is it
  19   titled?
  20       Q. It's a 12-page document, and it's the
  21   materials that Jemelle Cunningham sent to me.
  22       A. Okay. Yes. Now, I have it.
  23       Q. Now, I am going to make this a little
  24   bit easier --                                                                                         .

                                                                                          19 (Pages 70 - 73)
                                         Veritext Legal Solutions
  www.veritext.com                                                                            888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 394 of 408 PageID #:6316


                                      Page 74                                   Page 76




                                      Page 75                                   Page 77




                                                                    20 (Pages 74 - 77)
                                Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 395 of 408 PageID #:6317


                                      Page 78                                   Page 80




                                      Page 79                                   Page 81




                                                                    21 (Pages 78 - 81)
                                Veritext Legal Solutions
  www.veritext.com                                                      888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 396 of 408 PageID #:6318


                                      Page 82                                                   Page 84




                                                10   BY MR. BRAMWELL:
                                                11       Q. So to summarize -- and I will draw an
                                                12   objection, but we'll just have to work through
                                                13   it -- you would agree that the college of
                                                14   communications at DePaul is a racially hostile
                                                15   environment?
                                                16       A. I would agree, yes.
                                                17       Q. I have E-mailed you as well as
                                                18   Ms. Wermuth a document that I have marked as
                                                19   Exhibit B. It should be sitting in your in-box
                                                20   now. It's a confidential document, so it's got
                                                21   to be destroyed after this deposition. And it's
                                                22   Bates labeled Calvente-DePaul 9765 to 9769. Do
                                                23   you see that there?
                                                24       A. What is the -- you said what exhibit
                                      Page 83                                                   Page 85
                                                 1 letter is it?
                                                 2    Q. Sure, B as in bravo.
                                                 3    A. B, okay. Yes, I do see it.




                                                                                  22 (Pages 82 - 85)
                                Veritext Legal Solutions
  www.veritext.com                                                                     888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 397 of 408 PageID #:6319


                                                  Page 86                                                 Page 88
                                                             1     A. I do.
                                                             2




                                                            14      Q. No worries. It's always weird taking a
                                                            15   deposition -- this is just an aside. It's
                                                            16   always weird because you want to have a good
                                                            17   transcript, but some of the ways that we
                                                            18   communicate don't always come through on the
                                                            19   transcript.
                                                            20      A. It only happens when I'm reading. I'm
                                                            21   sorry. But, yes, I do remember this interaction
                                                            22   with Barbara Schaffer.
                                                            23

                                                  Page 87                                                 Page 89




  14      Q. Now, I just sent you as well as
  15   Ms. Wermuth and the court reporter a document
  16   that I labeled as Exhibit C. I'm sorry. Can
  17   you hear me okay? I've been told that I'm
  18   a little bit quiet.
  19      A. Yes, I can hear you.
  20      Q. I have sent you a document, Exhibit C.
  21   And it's Bates labeled Calvente-DePaul 9760
  22   through 9761. This is another confidential
  23   document. Do you have that document now in
  24   front of you?

                                                                                             23 (Pages 86 - 89)
                                           Veritext Legal Solutions
  www.veritext.com                                                                               888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 398 of 408 PageID #:6320


                                      Page 90                                                     Page 92
   1




                                      Page 91                                                     Page 93




                                                                                . Earlier you asked
                                                14   me about the environment -- how is it a hostile
                                                15   environment, how is it intimidating, how is it
                                                16   ostracizing. These are examples of how it is
                                                17   ostracizing.
                                                18         And that's just -- again, just the
                                                19   general space where you know you are a part of a
                                                20   protected class, but you don't feel like you are
                                                21   protected. In fact, you feel like if you speak
                                                22   up like a person, say, like Lisa Calvente you
                                                23   get retaliated against.
                                                24         Not to mention when you try to use the

                                                                                   24 (Pages 90 - 93)
                                Veritext Legal Solutions
  www.veritext.com                                                                      888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 399 of 408 PageID #:6321


                                                 Page 94                         Page 96
   1   policies and procedures that are in place to
   2   protect you, you get either no results; or you
   3   get a response that, like you said, is like a
   4   rattlesnake's shaking of the tail, a warning --
   5   undertone of a warning.
   6      Q. I'm going to transmit in a minute when
   7   I can remove my work product from it -- I think
   8   I've got that done now -- a document that I have
   9   marked as Exhibit R as in Romeo. It should be
  10   coming through the Internet right now.
  11          I will share my screen while it is --
  12   that is happening so that we can keep this
  13   moving. This is a document also marked
  14   confidential, but it's Calvente-DePaul 11079
  15   to 11082.
  16      MS. WERMUTH: I'm sorry, Jerry. It's not in
  17   my E-mail box yet. What's the number -- it's R.
  18   I see it now. And can I just -- I'm sorry. I
  19   called you Jerry again, Mr. Bramwell.
  20          Can I just make sure I understand that
  21   you're marking your exhibits with letters? And
  22   so I'm assuming that that's how they'll be
  23   marked in the deposition transcript. And so at
  24   some point, I will have to figure out if I also
                                                 Page 95                         Page 97
   1   enter exhibits how to sort of pick up because
   2   you've got at least up to U at this point. So
   3   we'll have to figure that out, Mr. Bramwell.
   4      MR. BRAMWELL: I'm using letters. And, yes,
   5   you will choose whatever marking -- I imagine
   6   you will use numbers, but you mark however you
   7   mark and --
   8      MS. WERMUTH: I mean, normally I would
   9   sequence after where you left off. But if you
  10   are at U, I don't know that I will have the
  11   ability to do that. So in any event -- okay.
  12      MR. BRAMWELL: It's the challenges of our
  13   Zoom deposition world.
  14      MS. WERMUTH: Yes, that's for sure. We'll
  15   get through it.
  16      MR. BRAMWELL: Yes. Okay.
  17   BY MR. BRAMWELL:
  18      Q. So, Dr. Dillard, I'm sorry.
  19      A. You're fine. I'm trying to read the
  20   document so I can refresh my memory. Go ahead.
  21      Q. That's quite all right. I had a
  22   different name on the tip of my tongue, and
  23   that's not who she is. I'm terrible with names.
  24   I really am.

                                                                     25 (Pages 94 - 97)
                                          Veritext Legal Solutions
  www.veritext.com                                                       888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 400 of 408 PageID #:6322


                                                                                  Page 182                                                                       Page 184
                                                                                              1           DEPOSITION REVIEW
   1     aforesaid.                                                                                      CERTIFICATION OF WITNESS
   2          I further certify that the signature to                                         2
                                                                                                      ASSIGNMENT REFERENCE NO: 4332875
   3     the foregoing deposition was not waived by                                           3       CASE NAME: Calvente, Lisa v. Ghanem, Salma, Et Al.
                                                                                                      DATE OF DEPOSITION: 12/1/2020
   4     counsel for the respective parties.                                                  4       WITNESS' NAME: Sydney Dillard
   5          I further certify that the taking of this                                       5       In accordance with the Rules of Civil
                                                                                                  Procedure, I have read the entire transcript of
   6     deposition was pursuant to Notice and that there                                     6   my testimony or it has been read to me.
                                                                                              7       I have made no changes to the testimony
   7     were present at the deposition the attorneys                                             as transcribed by the court reporter.
   8     hereinbefore mentioned.                                                              8
                                                                                                _______________           ________________________
   9          I further certify that I am not counsel                                         9 Date              Sydney Dillard
                                                                                             10     Sworn to and subscribed before me, a
  10     for nor in any way related to the parties to                                           Notary Public in and for the State and County,
  11     this suit, nor am I in any way interested in the                                    11 the referenced witness did personally appear
                                                                                                and acknowledge that:
  12     outcome thereof.                                                                    12
                                                                                                    They have read the transcript;
  13          IN TESTIMONY WHEREOF: I have hereunto                                          13     They signed the foregoing Sworn
  14     set my hand and affixed my notarial seal this                                                  Statement; and
                                                                                             14     Their execution of this Statement is of
  15     14th day of December, 2020.                                                                    their free act and deed.
                                                                                             15
  16                                                                                                I have affixed my name and official seal
  17                                                                                         16
                                                                                                this ______ day of_____________________, 20____.
  18                                                                                         17
                                                                                                        ___________________________________
  19                    <%25406,Signature%>                                                  18         Notary Public
  20                    DENISE A. JOHNSON                                                    19         ___________________________________
                                                                                                        Commission Expiration Date
  21                  CERTIFIED SHORTHAND REPORTER                                           20
                                                                                             21
  22                                                                                         22
  23                                                                                         23
                                                                                             24
  24                                                                                         25

                                                                                  Page 183                                                                       Page 185
   1                 Veritext Legal Solutions                                                 1          DEPOSITION REVIEW
                       1100 Superior Ave                                                                CERTIFICATION OF WITNESS
   2                     Suite 1820                                                           2
                      Cleveland, Ohio 44114                                                           ASSIGNMENT REFERENCE NO: 4332875
   3                  Phone: 216-523-1313                                                     3       CASE NAME: Calvente, Lisa v. Ghanem, Salma, Et Al.
   4   December 17, 2020
                                                                                                      DATE OF DEPOSITION: 12/1/2020
   5   Sydney Dillard
                                                                                              4       WITNESS' NAME: Sydney Dillard
       syndeyjd@gmail.com
                                                                                              5       In accordance with the Rules of Civil
   6
       Case Name: Calvente, Lisa v. Ghanem, Salma, Et Al.                                         Procedure, I have read the entire transcript of
   7                                                                                          6   my testimony or it has been read to me.
       Veritext Reference Number: 4332875                                                     7       I have listed my changes on the attached
   8                                                                                              Errata Sheet, listing page and line numbers as
       Deposition Date: 12/1/2020                                                             8   well as the reason(s) for the change(s).
   9                                                                                          9       I request that these changes be entered
       Dear Sir/Madam:                                                                            as part of the record of my testimony.
  10                                                                                         10
       Enclosed you will find a transcript of your deposition.                                      I have executed the Errata Sheet, as well
  11                                                                                         11 as this Certificate, and request and authorize
       As the reading and signing have not been expressly                                       that both be appended to the transcript of my
  12
                                                                                             12 testimony and be incorporated therein.
       waived, please review the transcript and note any
                                                                                             13 _______________           ________________________
  13
       changes or corrections on the errata sheet                                               Date              Sydney Dillard
  14                                                                                         14
       included, indicating the page, line number, change and                                       Sworn to and subscribed before me, a
  15                                                                                         15 Notary Public in and for the State and County,
       reason for the change. Sign at the bottom of the sheet                                   the referenced witness did personally appear
  16                                                                                         16 and acknowledge that:
       in the presence of a notary and forward the errata sheet                              17     They have read the transcript;
  17                                                                                                They have listed all of their corrections
       back to us at the address shown above or email to                                     18         in the appended Errata Sheet;
  18                                                                                                They signed the foregoing Sworn
       production-midwest@veritext.com.                                                      19         Statement; and
  19                                                                                                Their execution of this Statement is of
       If the errata is not returned within thirty days of your receipt of
                                                                                             20         their free act and deed.
  20
                                                                                             21     I have affixed my name and official seal
       this letter, the reading and signing will be deemed waived.
  21                                                                                         22 this ______ day of_____________________, 20____.
       Sincerely,                                                                            23         ___________________________________
  22                                                                                                    Notary Public
     Production Department                                                                   24
  23                                                                                                    ___________________________________
  24 NO NOTARY REQUIRED IN CA                                                                25         Commission Expiration Date


                                                                                                                                               47 (Pages 182 - 185)
                                                                             Veritext Legal Solutions
  www.veritext.com                                                                                                                                         888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 401 of 408 PageID #:6323




                Exhibit K
 Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 402 of 408 PageID #:6324



                                                                      Page 1

 1                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
 2                             EASTERN DIVISION
 3
 4      LISA CALVENTE,                             )
                                                   )
 5                              Plaintiff,         )
                                                   )
 6                      -vs-                       )
                                                   )
 7      SALMA GHANEM and DePAUL                    )
        UNIVERSITY,                                )
 8                                                 )
                                Defendants.        )
 9
10
11
12                       Remotely held deposition of ALEXANDRA G.
13      MURPHY taken before CAROL CONNOLLY, CSR, CRR, and Notary
14      Public, pursuant to the Federal Rules of Civil Procedure
15      for the United States District Courts pertaining to the
16      taking of depositions, commencing at 9:00 a.m. on the 4th
17      day of March, A.D., 2021.
18
19
20
21
22
23
24
25

                                  Veritext Legal Solutions
     www.veritext.com                                                    888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 403 of 408 PageID #:6325


                                                     Page 2                                                                                Page 4
   1       There were present at the taking of this                    1 Exhibit 9          December 3, 2019 email       230
                                                                                        from Stephanie Smith
   2 deposition the following counsel:                                 2                to Alexandra Murphy, etc.
   3       LAW OFFICES OF FITZGERALD & BRAMWELL by                     3 Exhibit 11          Questions Prepared by the   136
           MR. FITZGERALD T. BRAMWELL (via Zoom)                                        Appeals Board for Alexandra
                                                                       4                Murphy
   4       225 West Washington Street                                  5 Exhibit 12          October 18, 2018 email      222
           Suite 2200                                                                   from Lisa Calvente to
   5       Chicago, Illinois 60606                                     6                Salma Ghanem, etc.
                                                                       7 Exhibit 13          October 19, 2018 email      222
           (312) 942-2884                                                               from Lisa Calvente to
   6       bramwell@fitzgeraldbramwell.com                             8                Alexandra Murphy, etc.
   7                                                                   9 Exhibit 14          July 30, 2019 email from    110
                                                                                        Barbara Willard to
               appeared on behalf of the Plaintiff;                   10                Alexandra Murphy and
   8                                                                                    attachments, etc.
   9       COZEN O'CONNOR, P.C. by                                    11
                                                                           Exhibit 16       October 18, 2018 email       228
           MS. ANNA WERMUTH (via Zoom)                                12                from Hai Train to
  10       123 North Wacker Drive                                                       Alexandra Murphy, etc.
           Suite 1800                                                 13
                                                                           Exhibit 17   Lists of External       222
  11       Chicago, Illinois 60606                                    14            Reviewers and Research
           (312) 382-3100                                                           for Review, June 1, 2018
  12       awermuth@cozen.com                                         15            email
                                                                      16 Exhibit 18     Student Assessment of       159
  13                                                                                Faculty Performance
               appeared on behalf of the Defendants.                  17
  14                                                                     Exhibit 20     August 14, 2016 letter    201
                                                                      18            from Alexandra Murphy
  15                                                                                to Lisa
  16                                                                  19
  17                                                                     Exhibit 21     August 29, 2018 letter    201
                                                                      20            from Alexandra Murphy
  18                                                                                to Lisa
  19                                                                  21
  20                                                                     Exhibit 22     July 31, 2017 letter     201
                                                                      22            from Alexandra Murphy
  21                                                                                to Lisa
  22                                                                  23
  23                                                                     Exhibit 23     Criteria for Tenure and    16
                                                                      24            Promotion, College of
  24                                                                                Communication, June 5, 2017
  25                                                                  25

                                                             Page 3                                                                        Page 5
   1              INDEX                                                1 Exhibit 24             DePaul University              161
   2      DEPOSITION OF ALEXANDRA G. MURPHY                                                 OTE Faculty Historical
   3           TAKEN March 4, 2021
                                                                       2                    Report, Calvente
   4
   5 EXAMINATION BY                           PAGE                     3 Exhibit 25             DePaul University              161
   6 Mr. Bramwell                          6                                                OTE Faculty Historical
   7            --------                                               4                    Report, Dillard
   8            EXHIBITS MARKED                                        5 Exhibit 26             DePaul University              161
   9                                 PAGE                                                   OTE Faculty Historical
  10 Exhibit 1      January 9, 2019 letter   18
                from Alexandra Murphy to
                                                                       6                    Report, McEwan
  11            Members of the University                              7 Exhibit 27             DePaul University,             166
                Board on Promotion and Tenure                                               Teaching Evaluations,
  12                                                                   8                    Breanna McEwan
     Exhibit 2      February 21, 2019 email     111                    9 Exhibit 28             College of Communication             166
  13            from Lea Palmeno to Alexandra                                               Recommendation For Tenure
                Murphy, et al., etc.
  14
                                                                      10                    and Promotion to Associate
     Exhibit 3      April 17, 2019 email      111                                           Professor
  15            from Alexandra Murphy                                 11
                to Sydney Dillard, etc.                                    Exhibit 29           DePaul University,             166
  16                                                                  12                    Teaching Evaluations,
     Exhibit 4      February 9, 2018 email     124
                                                                                            Breanna McEwan
  17            from Taveras DeMoya to
                Tim Cole, et al., etc.
                                                                      13
  18                                                                       Exhibit 30           January 9, 2019 letter from     169
     Exhibit 5      March 30, 2018 email       234                    14                    Alexandra Murphy to
  19            from Alexandra Murphy                                                       Members of the University
                to Salma Ghanem, etc.                                 15                    Board on Promotion and Tenure
  20
                                                                      16
     Exhibit 6      November 16, 2018 email      138
  21            from Alexandra Murphy to
                                                                      17
                Hai Train, etc.                                       18                  CERTIFIED QUESTIONS
  22                                                                  19
     Exhibit 7      October 20, 2018 email     183                    20 No. 1                                           141
  23            from Alexandra Murphy                                 21 No. 2                                           212
                to Lisa Calvente, etc.
                                                                      22
  24
     Exhibit 8      December 3, 2019 email      230
                                                                      23
  25            from Stephanie Smith                                  24
                to Alexandra Murphy, etc.                             25

                                                                                                                                 2 (Pages 2 - 5)
                                                       Veritext Legal Solutions
  www.veritext.com                                                                                                               888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 404 of 408 PageID #:6326


                                                               Page 6                                                            Page 8
   1              ALEXANDRA G. MURPHY,                         1             answer, please.
   2   called as a witness herein, having been first duly      2                  A I don't know. Once I was deposed, that was it.
   3   sworn, was examined upon oral interrogatories and       3             That's all I knew of the case.
   4   testified as follows:                                   4                  Q You were never called as a witness at trial?
   5                 EXAMINATION                               5                  A No.
   6                By Mr. Bramwell:                           6                  Q That's the only time you've been deposed?
   7       Q Dr. Murphy, you've just taken an oath to tell     7                  A Yes.
   8   the truth. Do you understand that?                      8                  Q I'll go over some instructions since it's been
   9       A I do.                                             9             a while, and here they are. I'm going to ask you
  10       Q Can you please state your name for the record? 10               questions, you are going to give me answers that are
  11       A Alexandra Murphy.                                11             true, complete, and accurate. Do you understand?
  12       Q And that's -- Can you spell that?                12                  A Yes.
  13       A A-L-E-X-A-N-D-R-A, M-U-R-P-H-Y.                  13                  Q The court reporter is writing down everything
  14       Q And how would you prefer that I address you? 14                 that we say. We need to take particular care since this
  15   Is Dr. Murphy okay?                                    15             is a deposition over Zoom not to talk over each other. I
  16       A That's fine. Lexa is fine.                       16             will try to let you complete your answer, I will try not
  17       Q If you give me permission to use your first      17             to talk over you. The attorneys sometimes are not as
  18   name, I'll use it.                                     18             good as -- good at this as we should be, but we'll try
  19           Lexa, what's the month and year of your birth? 19             not to make objections and talk over your answers. And
  20       A                                                  20             I'll try not to talk over her. Are we agreed?
  21       Q Okay. I'm also an             baby.              21                  A Yes.
  22           Have you ever been deposed before?             22                  Q You're going to need to give answers. Words
  23       A Yes.                                             23             like uh-huh, uhn-uhn look a lot alike on a transcript.
  24       Q When were you deposed?                           24             It's a verbal tic. We all do it. I don't think I have
  25       A I don't remember the exact year. Probably        25             read a transcript where I haven't slipped into that once
                                                               Page 7                                                            Page 9
   1 around 8 years ago.                                                 1   or twice, but just keep that in mind. You need to give
   2     Q   Eight years ago. So while you were at DePaul?               2   clear answers because again we have a court reporter.
   3     A   Yes.                                                        3          Do you understand?
   4     Q   What was the nature of the suit in which you                4       A Yes.
   5 were deposed?                                                       5       Q If you don't understand a question, please ask
   6     A   I was a witness in a tenure case.                           6   me to clarify. I sometimes don't give the clearest
   7     Q   Whose case was that?                                        7   questions. So if you don't understand the question,
   8     A   Melissa Bradshaw.                                           8   please ask me to clarify. Are we agreed?
   9     Q   Okay. And what was she alleging?                            9       A Yes.
  10     MS. WERMUTH: Objection. Relevance.                             10       Q If you answer a question, I'm going to assume,
  11     MR. BRAMWELL: Q You can answer.                                11   and everyone else will assume, that you understood that
  12     A   She was alleging -- I don't remember to be                 12   question. Do you understand that?
  13 honest what the basis of the suit was. I can't recall              13       A Yes.
  14 the exact -- I can't recall the exact language of the              14       Q Okay. Obviously you have counsel -- Are you
  15 suit to be honest.                                                 15   represented by counsel here this morning?
  16     Q   Was it a discrimination claim?                             16       A Yes.
  17     A   It was. She did not get tenure so she was                  17       MS. WERMUTH: Yes. Mr. Bramwell, I represent the
  18 suing to -- I don't remember what the basis of her suit            18   university and its agents, decision-maker agents, so yes.
  19 was.                                                               19       MR. BRAMWELL: Okay.
  20     Q   Okay. Do you know if the case went to trial or             20       MS. WERMUTH: I represent the university.
  21 if the case settled?                                               21       MR. BRAMWELL: I'm sorry. Ms. Wermuth, you just
  22     A   I don't know.                                              22   broke up at the end there. I'm sorry.
  23     MS. WERMUTH: Objection. Relevance.                             23       MS. WERMUTH: I said I think you know I represent
  24     MR. BRAMWELL: Q You can answer. I'm sorry, Lexa.               24   the university.
  25 Your attorney -- I have a hard time -- You give me your            25       MR. BRAMWELL: Okay. Do you represent Lexa

                                                                                                                     3 (Pages 6 - 9)
                                                         Veritext Legal Solutions
  www.veritext.com                                                                                                   888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 405 of 408 PageID #:6327


                                                                Page 38                                                           Page 40
   1       MR. BRAMWELL: Q The area of study has grown very 1                  college?
   2   quickly. Can you help unpack that, please?                 2                A No.
   3       A When I started in 1998 I believe we had about        3                Q So I only have to take courses in your college
   4   400 majors, 500 majors, and we had only one degree that    4            if I want to get a degree within some sort of
   5   we offered, that was a general communications degree that  5            communication field?
   6   only had like maybe one journalism class, that type of     6                A If you want to get a degree in our college,
   7   thing.                                                     7            then you have to take our core courses and the
   8          We fast forward to today, we have about 1300        8            requirements they have.
   9   majors, and we offer about 8 undergraduate degrees, and    9                Q So if I want to graduate with a degree in
  10   so the amount of students that were interested in the     10            economics, I don't ever have to set foot in the College
  11   studies grew very quickly during that time.               11            of Communications?
  12       Q And when you say we have 1300 majors, you're        12                A It depends, because I believe there are some
  13   talking about DePaul?                                     13            programs that require within their program to take a
  14       A The College of Communications at DePaul.            14            communication course. I think computer and digital
  15       Q No. You -- now I'm wholly -- help me -- again,      15            media, some of their programs require students to take
  16   I'm chuckling a little bit, not derisively. I'm laughing  16            our business and professional communication course. I
  17   at my own confusion here.                                 17            believe accounting has it as an option, but maybe not a
  18          If I understood, earlier I think you mentioned     18            requirement, but it would depend on their degree. It
  19   the college -- that communication became its own college 19             wouldn't be us deciding that.
  20   during your -- during the time of your employment.        20                Q Would you characterize the College of
  21          You need to speak up.                              21            Communications as a small college?
  22       A Right.                                              22                A Yes.
  23       Q That was in 2011 approximately?                     23                Q And -- why?
  24       A I believe so. Yes. 2010.                            24                A Just based on size.
  25       Q The exact date isn't critical for purposes of       25                Q Size of what?
                                                                Page 39                                                           Page 41
   1 this communication. I'm just trying to understand. So                 1       A Size of faculty and size of students.
   2 there were four different majors within the College of                2       Q Okay. Approximately how many students are in
   3 Communications or 400 majors at DePaul University?                    3   the College of Communications year to year?
   4     A    4 --                                                         4       A Right now again we're hovering at about 1400.
   5     MS. WERMUTH: One quick second. Objection. Vague.                  5       Q And how many faculty?
   6 Confusing. Compound.                                                  6       A We have 52 full-time positions.
   7         Go ahead, Lexa.                                               7       Q Okay. And those are all tenure positions or
   8     MR. BRAMWELL: Q Lexa, only you need to understand                 8   tenure track positions?
   9 the question.                                                         9       A No.
  10     A    There were about 400 when I started in the                  10       Q Okay. How many tenure or tenure track faculty
  11 communication program. There were probably about 600 to              11   do you have?
  12 800 by the time we became a college. Once we were a                  12       A I'm giving bit of an estimate because I don't
  13 college we had about 2,000 graduate majors. We're now                13   have the numbers in front of me, but I believe 34,
  14 covering 1400.                                                       14   something like that.
  15     Q    1400 majors just out of communication alone?                15       Q Okay. And what constitutes the rest?
  16     A    Yes.                                                        16       A Term faculty.
  17     Q    Wow. And does the College of Communication                  17       Q Those are what, adjuncts, lecturers? Help me
  18 offer courses that you have to take if you want to                   18   out. I know every school does it -- every university --
  19 graduate from DePaul? And -- that question actually                  19   every university does it differently -- every college
  20 probably should draw an objection. That was not a                    20   does it differently. Help me out. How do you do it?
  21 well-done question.                                                  21       A We do it the way the university does it which
  22         Let's say I want to major in chemistry at                    22   is the term faculty line is a nontenured track but
  23 DePaul. Okay?                                                        23   full-time position.
  24     A    Uh-huh.                                                     24       Q Okay. There are lecturers, there are adjunct,
  25     Q    Do I have to take any courses at -- within your             25   what are they?

                                                                                                                  11 (Pages 38 - 41)
                                                          Veritext Legal Solutions
  www.veritext.com                                                                                                     888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 406 of 408 PageID #:6328


                                                           Page 42                                                           Page 44
   1       A Adjunct are part-time so they are lecturers.             1       A That's right.
   2       Q Okay. Any other title of faculty that exists             2       Q Excellent. What is communication studies?
   3   in the College of Communication?                               3       A Communication studies covers as I was
   4       A No.                                                      4   mentioning before looking at -- we create the same
   5       Q Okay. What -- and again forgive me because I             5   meaning in the context of interaction. So the emphasis
   6   don't know this stuff. What's a lecturer? What do they         6   is on relational communication, communication language
   7   do? What are their expectations?                               7   and meaning, rhetoric, intercultural communication,
   8       A They teach more. So they instead of being on a           8   environmental communication, kind of cuts across some of
   9   six-course load -- tenure track is actually on a               9   these areas, organizational communication. I think I
  10   six-course load with expectation they're doing research.      10   touched on the main ones.
  11   Term faculty are a nine-course load, and they do less         11       Q It seems like I did not ask a good question or
  12   research -- they aren't expected to do research. They         12   I did not understand one of your prior answers. So I
  13   are supposed to just keep up with their professional          13   understand that the College of Communications is broken
  14   development.                                                  14   down into four subject areas, is that right?
  15       Q What do you mean by professional development,           15       A Program areas really more, yeah.
  16   keep up with their professional development?                  16       Q Program areas. I'm sorry. That's
  17       A Most of our lecturers are people that are               17   communication studies, PRAD, journalism and media and
  18   coming from professional careers, so in journalism or         18   cinema studies, right?
  19   advertising or public relations, and so they are teaching     19       A Right.
  20   courses that are relevant to that, and so rather than         20       Q Okay. So communication studies, okay. I just
  21   doing research, which is what is meant to keep you            21   want to make sure I got that. What is PRAD?
  22   relevant in terms of your classroom instruction, they         22       A Public relations and advertising.
  23   need to stay up to date on the professional expectations      23       Q How does that differ from communication
  24   and relevancy of what they're teaching.                       24   studies?
  25       Q Okay. I should have asked this earlier. Do              25       A You typically are looking at the extension of
                                                           Page 43                                                           Page 45
   1   you have any -- Lexa, do you have any professional             1   meaning to a broader public. They would be looking at
   2   certifications?                                                2   more mass communication models of communication.
   3       A No.                                                      3      Q What journalism?
   4       Q Do you have any licenses other than a driver's           4      A Journalism again would be more to a broader
   5   license?                                                       5   public, so they would be still looking at how they craft
   6       A No.                                                      6   stories, tell stories, report, but they're presenting to
   7       Q So you've got the college of communications,             7   a broader public.
   8   independent college, approximately 52 faculty,                 8      Q Okay. And the faculty advisor of DePaulia is
   9   approximately 34 tenure track faculty. Do I have that          9   out of journalism?
  10   right?                                                        10      A Yes, she is.
  11       A Approximately, yes.                                     11      Q Who is the faculty advisor of the DePaulia
  12       Q Approximately. Is the college broken down into          12   again?
  13   any divisions or departments?                                 13      A Marla Krause.
  14       A We don't have -- we don't have departments, but         14      Q Then media and cinema studies, what's that?
  15   we have program areas.                                        15      A They explore a variety of different mediated
  16       Q Okay. What are these program areas?                     16   communications. So they'll look at television, film,
  17       A Communication studies.                                  17   more popular culture, radio, that kind of thing.
  18       Q Okay.                                                   18      Q What's your area? What's your program area?
  19       A Public relation and advertising, journalism,            19      A Communication studies.
  20   and media and cinema studies.                                 20      Q Okay. What about Dr. Calvente, what was hers?
  21       Q Is public relations and advertising sometimes           21   What is hers?
  22   called PRAD?                                                  22      A Communication studies.
  23       A It's called PRAD also.                                  23      Q Is communication studies the largest area of
  24       Q Also written PRAD, but pronounced differently.          24   the College of Communications?
  25   Did I get that right, Lexa?                                   25      A No.

                                                                                                             12 (Pages 42 - 45)
                                                   Veritext Legal Solutions
  www.veritext.com                                                                                                 888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 407 of 408 PageID #:6329


                                                          Page 82                                                           Page 84
   1   we speak about her case? Her case was submitted to the        1   of the faculty are doing professionally?
   2   UBPT by January 30th.                                         2       MS. WERMUTH: Object to form. Foundation.
   3       Q Right. I'm having -- I'm trying to understand           3       MR. BRAMWELL: Q You can answer.
   4   what would prompt this volunteered statement that you         4       A When you say professionally, are you talking
   5   wished her well. I don't remember if that's exactly what      5   about research, are you talking about teaching, are you
   6   you said, but what would prompt this volunteered              6   talking about service?
   7   statement at that point in time as opposed to any other       7       Q Let's go with teaching and research.
   8   point in time?                                                8       A So in terms of research, some people will be
   9       A I think because I ran into her and we had just          9   aware, some won't. It kind of depends. We do some
  10   both been -- had gone through the UBPT process that was      10   publicizing of maybe articles that might have come out or
  11   very present.                                                11   books that have come out. In terms of -- we do some
  12       Q Is it fair to say that the faculty at the              12   examples where people faculty come in and talk about the
  13   College of Communications is a fairly collegial group?       13   research they're doing.
  14       MS. WERMUTH: I'm sorry. I didn't hear you                14          In terms of teaching, those would be just in
  15   Mr. Bramwell.                                                15   their own -- sometimes we've done teaching workshops
  16       MR. BRAMWELL: That's fine. I'll speak up.                16   where we've had different -- again lecturers or things
  17       Q Is it fair to say that the faculty at the              17   that are focused on teaching and some people will talk
  18   College of Communications is a fairly collegial group?       18   about their teaching in that context.
  19       MS. WERMUTH: Object to form.                             19       Q Do you do e-mail blasts and sort of spotlights
  20          Go ahead.                                             20   and things like that?
  21       MR. BRAMWELL: Q You can answer.                          21       A Some. Usually if it's a big thing like a book
  22       A I believe so.                                          22   coming out, then we might do an e-mail blast.
  23       Q Why do you -- why do you say that?                     23       Q Okay. Is part of your job as dean to -- I'll
  24       A I'm sorry. Why do I say I believe so or why do         24   draw some objections, but just have to work through
  25   I think they're collegial?                                   25   them -- understand the relationships amongst the faculty,
                                                          Page 83                                                           Page 85
   1       Q Both.                                                   1   help manage egos and things like that?
   2       A I think that in my experience people are                2       MS. WERMUTH: Object to the form.
   3   professional and friendly and there's, you know, some         3       MR. BRAMWELL: Q You can answer.
   4   socializing.                                                  4       A I think it's an explicit part of being a dean
   5       Q All right. So let's take a look at that a               5   but, you know, I think if issues come to me, then I would
   6   little bit. So you say professional, collegial. Is it         6   have to try to address them.
   7   fair to say that amongst your 34 tenure and tenure track      7       Q Okay. Actually -- I want to jump back in time.
   8   faculty that they're generally aware of what everybody is     8   I'm sorry for jumping around. I'm maybe not as organized
   9   doing professionally?                                         9   or smart as other people.
  10       MS. WERMUTH: Objection. Foundation. I'll object          10          You mentioned that you had applied to UC
  11   to the narrative portion of the questioning.                 11   Boulder at one point, correct?
  12       MR. BRAMWELL: Q You can answer.                          12       A Yes.
  13       A I don't know. I can't speak for everyone, if           13       Q And UC Boulder is a research school, right?
  14   they know what everybody is doing work-wise. Is that         14       A Yes.
  15   what you're asking?                                          15       Q Whereas DePaul is a teaching college?
  16       Q In part, but let me see if I can ask the               16       A Yes. Well, DePaul is a teaching -- I see it as
  17   question a better way.                                       17   a balance between the two.
  18           You got 34 -- approximately tenure track and         18       Q What do you mean there's a balance between the
  19   tenure faculty, right?                                       19   two?
  20       A Yes.                                                   20       A I think, for example, the Westchester position
  21       Q For the rest of this deposition, if I say              21   that I was offered was semesters where they taught four
  22   tenure -- if I say -- actually no, I'm not going to go       22   classes each semester, and if you did a different paper,
  23   that way. Never mind. Scratch that.                          23   that was great. I see that as a full teaching college.
  24           Okay. So how does the fact -- how does the           24   I think DePaul -- and one of the things I liked about it
  25   faculty keep abreast, if at all, as to what other members    25   is it was a balance so they expect a balance between the

                                                                                                            22 (Pages 82 - 85)
                                                  Veritext Legal Solutions
  www.veritext.com                                                                                               888-391-3376
Case: 1:20-cv-03366 Document #: 89 Filed: 12/23/21 Page 408 of 408 PageID #:6330


                                                                 Page 238                                                                  Page 240
   1     THE WITNESS: You want me to answer now?                             1 STATE OF ILLINOIS )
   2     MR. BRAMWELL: Q Please.                                                            ) SS:
   3                                                                         2 COUNTY OF C O O K )
                                                                             3
                                                                             4        The within and foregoing deposition of the
                                                                             5 aforementioned witness was taken before CAROL CONNOLLY,
                                                                             6 CSR, CRR and Notary Public, at the place, date and time

   8     MS. WERMUTH: Objection. Assumes facts not of                        7 aforementioned.
                                                                             8        There were present during the taking of the
   9 record.
                                                                             9 deposition the previously named counsel.
  10     MR. BRAMWELL: Q You can answer.
                                                                            10        The said witness was first duly sworn and was
  11
                                                                            11 then examined upon oral interrogatories; the questions
                                                                            12 and answers were taken down in shorthand by the
                                                                            13 undersigned, acting as stenographer and Notary Public;
                                                                            14 and the within and foregoing is a true, accurate and
                                                                            15 complete record of all of the questions asked of and
  16     MS. WERMUTH: Hang on one second. Assumes facts not
                                                                            16 answers made by the forementioned witness, at the time
  17 of record.
                                                                            17 and place hereinabove referred to.
                                                                            18        The signature of the witness was not waived,
                                                                            19 and the deposition was submitted, pursuant to Rule 30 (e)
                                                                            20 and 32 (d) 4 of the Rules of Civil Procedure for the
                                                                            21 United States District Courts, to the deponent per copy
                                                                            22 of the attached letter.
                                                                            23
  24     Q     All right. Now,       actually came over from                24
  25 another school, right?                                                 25

                                                                 Page 239                                                                  Page 241
   1     A     Yes.                                                          1        The undersigned is not interested in the within
   2     Q     Where had         been before? Can you refresh my             2 case, nor of kin or counsel to any of the parties.
                                                                             3        Witness my official signature and seal as
   3 recollection? Do you remember?
                                                                             4 Notary Public in and for Cook County, Illinois on this
   4     A     I believe she was at Western Illinois.                        5 18th day of March, 2021.
   5     Q     And she was tenured though at Western Illinois,               6
   6 right?                                                                  7
   7     A     Yes.                                                          8
   8     Q     Why didn't she come over to DePaul with tenure?                                 <%20551,Signature%>
                                                                             9                 CAROL CONNOLLY, CSR, CRR
   9     A     DePaul does not typically provide tenure to
                                                                                               CSR No. 084-003113
  10 faculty that are coming in. It's fair.
                                                                            10                 Notary Public
  11     Q     Is Western Illinois a peer school?                                              One North Franklin Street
  12     A     I don't know where they are in terms of                      11                 Suite 3000
  13 comprehensive university or what tier they are.                                           Chicago, Illinois 60606
  14     MR. BRAMWELL: I'm going to pass you to Ms. Wermuth.                12                 Phone: (312) 386-2000
                                                                            13
  15     MS. WERMUTH: We'll just take five minutes.
                                                                            14
  16     MR. BRAMWELL: Come back at 4:25.
                                                                            15
  17     MS. WERMUTH: Perfect.                                              16
  18          (Off the record)                                              17
  19     MS. WERMUTH: Okay. We have no questions, and we'll                 18
  20 reserve signature.                                                     19
  21     MR. BRAMWELL: Excellent.
                                                                            20
                                                                            21
  22          (Off the record)
                                                                            22
  23                  ------                                                23
  24                                                                        24
  25                                                                        25

                                                                                                                    61 (Pages 238 - 241)
                                                         Veritext Legal Solutions
  www.veritext.com                                                                                                            888-391-3376
